          Case 18-33678-sgj11 Doc 1 Filed 11/06/18                               Entered 11/06/18 14:02:39                   Page 1 of 353
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
  Northern
 ____________________             Texas
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Taco Bueno Restaurants, Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              2 ___
                                           ___ 0 – ___
                                                    0 ___
                                                       0 ___
                                                          8 ___
                                                             8 ___
                                                                2 ___
                                                                   1 ___
                                                                      4
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                           300 E. John Carpenter Freeway Ste. 800
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                           Irving                      TX       75062
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           Dallas
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                https://www.tacobueno.com/
                                           ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         x None of the above


                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            ___ ___ ___ ___

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         x Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                         
                                                         x   A plan is being filed with this petition.

                                                         
                                                         x   Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        
                                         x No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          See Schedule 1
      business partner or an             
                                         x Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               Northern District of Texas
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor        _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       
                                       x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       
                                       x A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have      
                                       x No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  
                                       x Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                       
                                       x 1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000               
                                                                        x $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million               
                                                                            x $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                          11 / 06 / 2018
                                            Executed on _________________
                                                        MM / DD / YYYY


                                         /s/ Philip Parsons
                                            _____________________________________________
                                                                                                        Philip Parsons
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                   Chief Financial Officer
                                            Title _________________________________________




18.   Signature of attorney
                                         /s/ Paul E. Heath
                                            _____________________________________________              Date         11 / 06 / 2018
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY


                                            Paul E. Heath
                                            _________________________________________________________________________________________________
                                            Printed name
                                            Vinson  & Elkins LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            2001 Ross Ave Ste. 3900
                                            _________________________________________________________________________________________________
                                            Number     Street
                                            Dallas
                                            ____________________________________________________           TX
                                                                                                           ____________ 75201
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                            (214) 220-7700
                                            ____________________________________                            pheath@velaw.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                            09355050
                                            ______________________________________________________ TX
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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                                           Schedule 1

             Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                               CBI Restaurants, Inc.
                               Taco Bueno Equipment Company
                               Taco Bueno Franchise Company L.P.
                               Taco Bueno Restaurants, Inc.
                               Taco Bueno Restaurants L.P.
                               Taco Bueno West, Inc.
                               TB Corp.
                               TB Holdings II, Inc.
                               TB Holdings II Parent, Inc.
                               TB Kansas LLC




US 5849794
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 Fill in this information to identify the case and this filing:


 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         x                                               List of Affiliate Debtors
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 11 / 06 / 2018
                    ______________                          /s/ Philip Parsons
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Philip Parsons
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Financial Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

     In re:                                                      §   Case No. [•]
                                                                 §
     TACO BUENO RESTAURANTS, INC.,                               §   (Chapter 11)
     et al.,                                                     §
                                                                 §   (Joint Administration Pending)
                      Debtors.1                                  §
                                        LIST OF EQUITY HOLDERS

                                                         Address of Equity Holder              Percentage of
    Debtor                Equity Holders
                                                                                               Equity Held
                                                         300 E. John Carpenter                 100.00%
    Taco Bueno                                           Freeway, Suite 800,
                          CBI Restaurants, Inc.
    Restaurants, Inc.                                    Irving, TX, 75062




                  CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

        Pursuant to Federal Rules of Bankruptcy Procedures 1007(a)(1) and 7007.1, Taco Bueno
Restaurants, Inc. a Delaware corporation, and its affiliated debtors and debtors in possession
(each, a “Debtor”), hereby state as follows:

      1.       Debtor TB Holdings II Parent, Inc. owns 100% of Debtor TB Holdings II, Inc.

      2.       Debtor TB Holdings II, Inc. owns 100% of Debtor TB Corp.

      3.       Debtor TB Corp. owns 100% of Debtor CBI Restaurants, Inc.

      4.       Debtor CBI Restaurants, Inc. owns 100% of Debtor Taco Bueno Restaurants, Inc.

      5.       Debtor Taco Bueno Restaurants, Inc. owns 100% of each of the following Debtors: (i)
               Taco Bueno Equipment Company, (ii) TB Kansas LLC, and (iii) Taco Bueno West,
               Inc.



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: CBI Restaurants, Inc. (3490); Taco Bueno Equipment Company (0677); Taco Bueno
      Franchise Company L.P. (2397); Taco Bueno Restaurants, Inc. (8214); Taco Bueno Restaurants L.P. (6189);
      Taco Bueno West, Inc. (6200); TB Corp. (8535); TB Holdings II, Inc. (7703); TB Holdings II Parent, Inc. (3347);
      and TB Kansas LLC (6158). The location of the Debtors’ corporate headquarters and the Debtors’ service address
      is: 300 East John Carpenter Freeway, Suite 800, Irving, Texas 75062.
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   6.    Debtor Taco Bueno Restaurants, Inc. owns 1% and is the general partner of the
         following Debtors: (i) Taco Bueno Franchise Company L.P. and (ii) Taco Bueno
         Restaurants L.P.

   7.    Debtor Taco Bueno West, Inc. owns 99% and is a limited partner of each of the
         following Debtors: (i) Taco Bueno Franchise Company L.P. and (ii) Taco Bueno
         Restaurants L.P.

   8.    Non-Debtor Tomatillo Holdings L.P. owns 100% of Debtor TB Holdings II Parent, Inc.
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 Fill in this information to identify the case and this filing:


 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         x                                               List of Equity Holders and Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    11 / 06 / 2018
        Executed on ______________                          /s/ Philip Parsons
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Philip Parsons
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Financial Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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͗ĞďƚŽƌŶĂŵĞ͗ Taco Bueno Restaurants, Inc. et al.                                                                                                                                         පŚĞĐŬŝĨƚŚŝƐŝƐĂŶĂŵĞŶĚĞĚĮůŝŶŐ
hŶŝƚĞĚ^ƚĂƚĞƐĂŶŬƌƵƉƚĐǇŽƵƌƚĨŽƌƚŚĞ͗               Northern District of Texas (Dallas Division)
ĂƐĞŶƵŵďĞƌ;ŝĨŬŶŽǁŶͿ͗



KĨĨŝĐŝĂů&ŽƌŵϮϬϰ

ŚĂƉƚĞƌϭϭŽƌŚĂƉƚĞƌϵĂƐĞƐ͗>ŝƐƚŽĨƌĞĚŝƚŽƌƐtŚŽ,ĂǀĞƚŚĞϯϬ>ĂƌŐĞƐƚhŶƐĞĐƵƌĞĚůĂŝŵƐĂŶĚƌĞEŽƚ
                                                                                                                                                                                                                                   ϭϮͬϭϱ
/ŶƐŝĚĞƌƐ
ůŝƐƚŽĨĐƌĞĚŝƚŽƌƐŚŽůĚŝŶŐƚŚĞϯϬůĂƌŐĞƐƚƵŶƐĞĐƵƌĞĚĐůĂŝŵƐŵƵƐƚďĞĨŝůĞĚŝŶĂŚĂƉƚĞƌϭϭŽƌŚĂƉƚĞƌϵĐĂƐĞ͘/ŶĐůƵĚĞĐůĂŝŵƐǁŚŝĐŚƚŚĞĚĞďƚŽƌĚŝƐƉƵƚĞƐ͘ŽŶŽƚŝŶĐůƵĚĞĐůĂŝŵƐďǇĂŶǇƉĞƌƐŽŶŽƌĞŶƚŝƚǇǁŚŽŝƐĂŶ
ŝŶƐŝĚĞƌ͕ĂƐĚĞĨŝŶĞĚŝŶϭϭh͘^͘͘ΑϭϬϭ;ϯϭͿ͘ůƐŽ͕ĚŽŶŽƚŝŶĐůƵĚĞĐůĂŝŵƐďǇƐĞĐƵƌĞĚĐƌĞĚŝƚŽƌƐ͕ƵŶůĞƐƐƚŚĞƵŶƐĞĐƵƌĞĚĐůĂŝŵƌĞƐƵůƚŝŶŐĨƌŽŵŝŶĂĚĞƋƵĂƚĞĐŽůůĂƚĞƌĂůǀĂůƵĞƉůĂĐĞƐƚŚĞĐƌĞĚŝƚŽƌĂŵŽŶŐƚŚĞŚŽůĚĞƌƐŽĨ
ƚŚĞϯϬůĂƌŐĞƐƚƵŶƐĞĐƵƌĞĚĐůĂŝŵƐ͘



EĂŵĞŽĨĐƌĞĚŝƚŽƌĂŶĚĐŽŵƉůĞƚĞŵĂŝůŝŶŐĂĚĚƌĞƐƐ͕                     EĂŵĞ͕ƚĞůĞƉŚŽŶĞŶƵŵďĞƌ͕ĂŶĚĞŵĂŝůĂĚĚƌĞƐƐ EĂƚƵƌĞŽĨƚŚĞĐůĂŝŵ                      /ŶĚŝĐĂƚĞŝĨĐůĂŝŵ                  ŵŽƵŶƚŽĨƵŶƐĞĐƵƌĞĚĐůĂŝŵ
ŝŶĐůƵĚŝŶŐǌŝƉĐŽĚĞ                                                  ŽĨĐƌĞĚŝƚŽƌĐŽŶƚĂĐƚ                                                                 ŝƐĐŽŶƚŝŶŐĞŶƚ͕    /ĨƚŚĞĐůĂŝŵŝƐĨƵůůǇƵŶƐĞĐƵƌĞĚ͕ĨŝůůŝŶŽŶůǇƵŶƐĞĐƵƌĞĚĐůĂŝŵ
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                    Taco Supremo, LLC                                Taco Supremo, LLC
ϭ                   ƚƚŶ͗ Guillermo Perales                          ƚƚŶ͗Guillermo Perales                           Lender                                                     Ψ129,896,018          Ψ25,000,000       Ψ104,896,018
                    4055 Valley View Ln                              W,KE͗713‐975‐1559
                    Dallas, TX 75244                                 D/>͗ customer.service@sunholdingsgroup.com



                    Icon International, Inc.                           Icon International, Inc.
                    Attn: Jean Louis                                   Attn: Jean Louis
Ϯ
    1               75 Remittance Drive, Dept. 1487                    PHONE: 203‐388‐2807                            dƌĂĚĞ                                                                                                  Ψ595,396
                    Chicago, IL 60675‐1487                             EMAIL: JLouis@ICON‐INTL.com




                    Spirit Master Funding X, LLC - Tabu I Ml        Spirit Master Funding X, LLC – Tabu I ML
                    2727 N Harwood Street                           Attn: Travis Carter
ϯ                   Suite 300                                       PHONE: 972-476-1968                               Rent                                                                                                   $431,754
                    Dallas, Tx 75201                                EMAIL: tcarter@spiritrealty.com




                    TM Advertising LP                               TM Advertising LP
                    3030 Olive Street #400                          Attn: Cortney Fly
ϰ                                                                                                                     dƌĂĚĞ                                                                                                  Ψ218,653
                    Dallas, TX 75219                                PHONE: 972-556-1100
                                                                    EMAIL: Cortney.Fly@tm.com




                    Brightview Enterprise Solutions LLC             Brightview Enterprise Solutions LLC
                    6530 W Campus Oval                              Attn: Blake Truman
ϱ                   Suite 300                                       PHONE:                                            dƌĂĚĞ                             Disputed                                                             $186,521
                    New Albany, OH 43054                            EMAIL: Blake.Truman@brightview.com




                    Valassis                                        Valassis
                    P. O. Box 3245                                  Attn: Melissa Pembroke
ϲ                                                                                                                     dƌĂĚĞ                                                                                                   $177,693
                    Boston, MA 02241-3245                           PHONE: 888-238-6437
                                                                    EMAIL: not available




                    Tabu Property II, LLC - ML                      Tabu Property II, LLC - ML
                    1370 Avenue of The Americas                     Attn: David Ledy
ϳ                                                                                                                      Rent                                                                                                   $147,983
                    21st FLoor                                      PHONE: 212-581-4540
                    New York, NY 10019                              EMAIL: dledy@usrallc.com




                    Sagenet                                         Sagenet
                    P O Box 843553                                  Attn: Dale Higganbotham
ϴ                   Kansas City, MO 64184-3553                      PHONE: 918-270-7139                               dƌĂĚĞ                                                                                                   $109,452
                                                                    EMAIL: dale@sagenet.com




1
        TPG Growth III Management, LLC, an affiliate of the Debtors' equity sponsor, holds an unsecured claim of approximately $2,604,713 arising under a management services agreement with the Debtors.
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  EĂŵĞŽĨĐƌĞĚŝƚŽƌĂŶĚĐŽŵƉůĞƚĞŵĂŝůŝŶŐĂĚĚƌĞƐƐ͕   EĂŵĞ͕ƚĞůĞƉŚŽŶĞŶƵŵďĞƌ͕ĂŶĚĞŵĂŝůĂĚĚƌĞƐƐ EĂƚƵƌĞŽĨƚŚĞĐůĂŝŵ             /ŶĚŝĐĂƚĞŝĨĐůĂŝŵ                  ŵŽƵŶƚŽĨƵŶƐĞĐƵƌĞĚĐůĂŝŵ
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               Tabu Property IV, LLC - ML           Tabu Property IV, LLC - ML
               490 South Highland Ave               Attn: Robert Lang
  ϵ                                                 PHONE: 412-661-8160                           Rent                                                                                               $107,738
               Pittsburgh, PA 15206
                                                    EMAIL: rlang@KaminRealty.com




               American Realty Capital Operating    American Realty Capital Operating
               Partnership IV, LP                   Partnership IV, LP
  ϭϬ           2325 E Camelback Rd                  Attn: Debra March                             Rent                                                                                               $102,835
               Ste 1100                             PHONE: 407-378-2492
               Phoenix, AZ 85016                    EMAIL: Dmarch@vereit.com




               National Retail Properties Inc       National Retail Properties Inc
  ϭϭ           450 S Orange Ave Ste 900             Attn: Brooke Edge                             Rent                                                                                               $100,938
               Orlando, FL 32801                    EMAIL: Brooke.Edge@nnnreit.com




               Deloitte Tax LLP                     Deloitte Tax LLP
               P O Box 844708                       Attn: Chase Berg
  ϭϮ                                                                                              Professional Services                                                                              $95,000
               Dallas, TX 75284-4708                PHONE: 214-777-7000
                                                    EMAIL: chaberg@deloitte.com




               XPIENT                               XPIENT
               11525 Carmel Commons Blvd.           Attn: James Harrison
  ϭϯ                                                                                              Trade                                                                                              $89,111
               Charlotte, NC 28226                  PHONE: 704-295-7000
                                                    EMAIL: james.harrison@xenial.com




               Haynes And Boone                     Haynes and Boone
               P. O. Box 841399                     Attn: Rob Lauer
  ϭϰ                                                                                              Professional Services                                                                              $72,230
               Dallas, TX 75284-1399                PHONE:
                                                    EMAIL: Rob.Lauer@haynesboone.com




               Expert Repair LLC                    Expert Repair LLC
               4700 N Hiatus Rd                     Attn: Mike Farmer
  ϭϱ                                                PHONE: 405-206-0819                           dƌĂĚĞ                                                                                              $61,345
               Suite 154
               Sunrise, FL 33351                    EMAIL: mikefarmer@expertrepair.com




               Microsoft Licensing GP               Microsoft Licensing GP
               1950 N. Stemmons Fwy. Ste. 5010      Attn: Marc Nguyen
  ϭϲ                                                PHONE:                                        dƌĂĚĞ                                                                                              $47,069
               LB#842467
               Dallas, TX 75207                     EMAIL:marc.nguyen@softwareone.com




               LeHigh Hanson, Inc.                  LeHigh Hanson, Inc.
               300 E John Carpenter Freeway         Attn: Brianne Brandle
  ϭϳ           Suite 1645                           PHONE: (972) 653-5537                         Rent                                                                                               $45,985
               Irving, TX 75062                     EMAIL: Brianne.Brandle@LehighHanson.com




               Ecolab Pest Elimination              Ecolab Pest Elimination
               26252 Network Place                  Attn:
  ϭϴ                                                                                              dƌĂĚĞ                                                                                              $45,147
               Chicago, IL 60673-1262               PHONE: 800-325-1671




               Innovative Computer Service, LLC     Innovative Computer Service, LLC
               108 W. Main St.                      Attn: Richard Pogorelc
  ϭϵ           P. O. Box 1445                       PHONE:                                        dƌĂĚĞ                                                                                              $43,778
               Purcell, OK 73080                    EMAIL: rpogorelc@icspointofsale.com




KĨĨŝĐŝĂů&ŽƌŵϮϬϰ                                       ŚĂƉƚĞƌϭϭŽƌŚĂƉƚĞƌϵĂƐĞƐ͗>ŝƐƚŽĨƌĞĚŝƚŽƌƐtŚŽ,ĂǀĞƚŚĞϯϬ>ĂƌŐĞƐƚhŶĞĐƵƌĞĚůĂŝŵƐ                                                           WĂŐĞϮ
             Case 18-33678-sgj11 Doc 1 Filed 11/06/18                                                Entered 11/06/18 14:02:39                                     Page 12 of 353

  EĂŵĞŽĨĐƌĞĚŝƚŽƌĂŶĚĐŽŵƉůĞƚĞŵĂŝůŝŶŐĂĚĚƌĞƐƐ͕   EĂŵĞ͕ƚĞůĞƉŚŽŶĞŶƵŵďĞƌ͕ĂŶĚĞŵĂŝůĂĚĚƌĞƐƐ EĂƚƵƌĞŽĨƚŚĞĐůĂŝŵ             /ŶĚŝĐĂƚĞŝĨĐůĂŝŵ                  ŵŽƵŶƚŽĨƵŶƐĞĐƵƌĞĚĐůĂŝŵ
  ŝŶĐůƵĚŝŶŐǌŝƉĐŽĚĞ                                ŽĨĐƌĞĚŝƚŽƌĐŽŶƚĂĐƚ                                                        ŝƐĐŽŶƚŝŶŐĞŶƚ͕    /ĨƚŚĞĐůĂŝŵŝƐĨƵůůǇƵŶƐĞĐƵƌĞĚ͕ĨŝůůŝŶŽŶůǇƵŶƐĞĐƵƌĞĚĐůĂŝŵ
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               MD Management Real Estate            MD Management Real Estate Development
               Development                          Attn: Javier Valesquez
  ϮϬ           5201 Johnson Dr Ste 100              PHONE: 913/831-2996 Ext 272                   Rent                                                                                               $39,324
               Mission, KS 66205                    EMAIL: javier@mdmgt.com




               ADP, Inc.                            ADP, Inc.
               P. O. Box 842875                     Attn: Dennis West
  Ϯϭ                                                                                              dƌĂĚĞ                                                                                              $38,152
               Boston, MA 02284-2875                PHONE: 770-360-2172
                                                    EMAIL: Dennis.West@ADP.com




               Weber Vista, LP                      Weber Vista, LP
               16000 Dallas Parkway #300            Attn: Greg Frantz
  ϮϮ                                                                                              Rent                                                                                               $37,500
               Dallas, TX 75248                     PHONE: 214-763-1336
                                                    EMAIL: greg.frantz@weberandcompany.com




               Hudson Energy Services               Hudson Energy Services
               P O Box 731137                       Attn:
  Ϯϯ           Dallas, TX 75373-1137                PHONE: 866-483-7664                           dƌĂĚĞ                                                                                              $35,655
                                                    EMAIL:




               William J. Schulte Jr.               William J. Schulte Jr.
               P O Box 631                          Attn: William Schulte
  Ϯϰ                                                                                              Rent                                                                                               $35,257
               El Reno, OK 73036                    PHONE: 405-203-3533
                                                    EMAIL: bs111@aol.com




               W-LD Legends Owner VII LLC           W-LD Legends Owner VII LLC
               P.O. Box 505333                      Attn: Heather Trower
  Ϯϱ                                                PHONE: 816-876-2533                           Rent                                                                                               $34,459
               St. Louis, MO 63150
                                                    EMAIL: htrower@legacydevelopment.com




               John Michael Lanni                   John Michael Lanni
               256 Emerald Bay                      Attn: Michael Lanni
  Ϯϲ                                                                                              Rent                                                                                               $32,706
               Laguna Beach, CA 92651               PHONE: 949-290-8053
                                                    EMAIL: jmichael@gmail.com




               Manuel V. or Nora B. Guerrero        Manuel V. or Nora B. Guerrero
               1334 Toomey Place                    Attn: Kenneth Guerrero
  Ϯϳ                                                PHONE: 310-291-3025                           Rent                                                                                               $31,906
               Harbor City, CA 90710
                                                    EMAIL: Kenneth.guerrero@gmail.com




                Lahmer Air Conditioning & Heating   Lahmer Air Conditioning & Heating
                4815 River Oaks Blvd                Attn: Vickie Williams
  Ϯϴ            River Oaks, TX 76114                PHONE: 817-207-0002                           dƌĂĚĞ                                                                                              $31,733
                                                    EMAIL: call.lahmerac@att.net




               Ink Link Marketing LLC               Ink Link Marketing LLC
               7950 Nw 155 St                       Attn: K. Miller
  Ϯϵ                                                PHONE: 305-631-2283                           dƌĂĚĞ                                                                                              $31,336
               Suite 108
               Miami Lakes, FL 33016                EMAIL: kmiller@inklinkmarketing.com




               CD Maintenance Company               CD Maintenance Company
               525 Technology Park                  Attn: Matt Tipple
  ϯϬ           Suite 125                            PHONE: 321-926-3103                           dƌĂĚĞ                                                                                              $30,276
               Lake Mary, FL 32746                  EMAIL: matt@cdmaintenancecompany.com




KĨĨŝĐŝĂů&ŽƌŵϮϬϰ                                       ŚĂƉƚĞƌϭϭŽƌŚĂƉƚĞƌϵĂƐĞƐ͗>ŝƐƚŽĨƌĞĚŝƚŽƌƐtŚŽ,ĂǀĞƚŚĞϯϬ>ĂƌŐĞƐƚhŶĞĐƵƌĞĚůĂŝŵƐ                                                           WĂŐĞϯ
        Case 18-33678-sgj11 Doc 1 Filed 11/06/18                                  Entered 11/06/18 14:02:39               Page 13 of 353

 Fill in this information to identify the case and this filing:


 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         x    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    11 / 06 / 2018
        Executed on ______________                          /s/ Philip Parsons
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Philip Parsons
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Financial Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                              WRITTEN CONSENT OF
                           THE BOARDS OF DIRECTORS OF
                    SUBSIDIARIES OF TB HOLDINGS II PARENT, INC.

                                       November 6, 2018

        The undersigned, being the members of the boards of directors (each, a “Board”), of (i) the
corporate subsidiaries of TB Holdings II Parent, Inc., a Delaware corporation (the “Parent
Company”), (ii) the general partner and limited partner of the limited partnership subsidiaries of
the Parent Company, and (iii) the corporate manager and member of the limited liability company
subsidiary of the Parent Company listed on the signature pages hereto (collectively, the
“Subsidiaries”), acting for and on behalf of each of the Subsidiaries by written consent in lieu of
a meeting, DO HEREBY CONSENT to the taking of the following actions, and DO HEREBY
ADOPT the following resolutions pursuant to the bylaws, limited partnership agreement, or
similar organizational document of each of the Subsidiaries:

Chapter 11 Filing

        WHEREAS, the Board of Directors of the Parent Company has authorized the Parent
Company to file or cause to be filed with the United States Bankruptcy Court for the Northern
District of Texas or another appropriate court (the “Bankruptcy Court”) voluntary petitions for
relief pursuant to chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

        WHEREAS, on November 5, 2018, each Board adopted a resolution authorizing each
Subsidiary to enter into the restructuring support agreement and perform the obligations
contemplated therein which such Subsidiary executed on November 6, 2018 and which became
effective on November 6, 2018 (the “Restructuring Support Agreement”);

       WHEREAS, on November 5, 2018, each Board authorized each Subsidiary to solicit votes
in accordance with the Restructuring Support Agreement to accept or reject a plan of
reorganization of each Subsidiary (the “Plan”) in accordance with section 1125 of the Bankruptcy
Code and within the meaning of section 1126 of the Bankruptcy Code (the “Solicitation”) and
each Board has since received the results of such Solicitation (the “Solicitation Results”);

       WHEREAS, each Board has conducted its own evaluation of the financial state of each
Subsidiary, reviewed the strategic alternatives available to such Subsidiary, the Solicitation
Results, and the related circumstances and situation, and consulted with the financial and legal
advisors of such Subsidiary;

       WHEREAS, each Board on behalf of each Subsidiary desires concurrently with the Parent
Company to file or cause to be filed with the Bankruptcy Court voluntary petitions for relief
pursuant to chapter 11 of the Bankruptcy Code; and

       WHEREAS, the Parent Company has authorized each Subsidiary to file or cause to be
filed with the Bankruptcy Court a voluntary petition for relief pursuant to chapter 11 of the
Bankruptcy Code, and each Subsidiary is authorized and directed to take such actions as are
necessary to accomplish same consistent with such authorization;
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        NOW, THEREFORE, BE IT RESOLVED, each Board has determined that it is
desirable and in the best interests of each Subsidiary to file with the Bankruptcy Court voluntary
petitions for relief pursuant to chapter 11 of the Bankruptcy Code as set forth below;

        FURTHER RESOLVED, each Board hereby authorizes each Subsidiary to file or cause
to be filed with the Bankruptcy Court voluntary petitions for relief pursuant to chapter 11 of the
Bankruptcy Code;

       FURTHER RESOLVED, each Board hereby authorizes and empowers the officers of
each of each Subsidiary and Haywood Miller (collectively, the “Authorized Officers”), acting
alone or with one or more other Authorized Officers, to execute, deliver, and file or cause to be
filed with the Bankruptcy Court on behalf of such Subsidiary, voluntary petitions pursuant to
chapter 11 of the Bankruptcy Code (the “Petitions”), in such form as prescribed by the Official
Forms promulgated in connection with the Bankruptcy Code;

       FURTHER RESOLVED, that, upon the filing of the Petitions as authorized by the
preceding paragraph, each Authorized Officer, acting alone or with one or more other Authorized
Officers is hereby authorized to execute, deliver, and file or cause to be filed with the Bankruptcy
Court, on behalf of each Subsidiary, all papers, motions, applications, schedules, and pleadings
necessary, appropriate, or convenient to facilitate the chapter 11 bankruptcy case and all of its
matters and proceedings, and any and all other documents necessary, appropriate, or convenient
in connection with the commencement of the chapter 11 case, each in such form or forms as the
Authorized Officer may approve on behalf of such Subsidiary;

        FURTHER RESOLVED, each Board hereby authorizes and empowers the Authorized
Officers of each Subsidiary to execute, deliver and file or cause to be filed with the Bankruptcy
Court, on behalf of such Subsidiary, all papers and pleadings that such Authorized Officers believe
to be necessary or desirable to effect, cause or further the reorganization of each Subsidiary under
chapter 11 of the Bankruptcy Code and any and all other documents, including a Chapter 11 Plan
providing for the restructuring, reorganization, sale, or liquidation of each Subsidiary, and a
Disclosure Statement for the Chapter 11 Plan, together with any amendments or modifications
thereto, or any restatements thereof;

Retention of Professionals

        FURTHER RESOLVED, that the engagement of Vinson & Elkins LLP as general
bankruptcy counsel to represent and assist each Subsidiary in carrying out its duties under the
Bankruptcy Code in Bankruptcy Court, and to take any and all actions to advance each
Subsidiary’s rights and obligations, including filings and pleadings, is hereby ratified and
approved, and each of the Authorized Officers is hereby authorized and directed to take such
actions as may be required to so engage such firm for such purposes; and in connection therewith,
each of the Authorized Officers, with power of delegation, is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers to, and cause to be filed an
appropriate application for authority to retain the services of Vinson & Elkins LLP;

       FURTHER RESOLVED, that the engagement of Houlihan Lokey Capital, Inc. as
investment banker to represent and assist each Subsidiary in carrying out its duties under the
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Bankruptcy Code in Bankruptcy Court, and to take any and all actions to advance each
Subsidiary’s rights and obligations, is hereby ratified and approved, and each of the Authorized
Officers is hereby authorized and directed to take such actions as may be required to so engage
such firm for such purposes; and in connection therewith, each of the Authorized Officers, with
power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers to, and cause to be filed an appropriate application for
authority to retain the services of Houlihan Lokey, Inc.;

        FURTHER RESOLVED, that the engagement of Berkley Research Group, LLC to
provide each Subsidiary with a Chief Restructuring Officer and certain additional personnel and
designate Haywood Miller as Chief Restructuring Officer of each Subsidiary along with certain
additional personnel, as restructuring advisors to represent and assist each Subsidiary in carrying
out its duties under the Bankruptcy Code in Bankruptcy Court, and to take any and all actions to
advance each Subsidiary’s rights and obligations, is hereby ratified and approved, and each of the
Authorized Officers (other than Haywood Miller) is hereby authorized and directed to take such
actions as may be required to so engage such person and firm for such purposes; and in connection
therewith, each of the Authorized Officers, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers to, and cause to be
filed an appropriate application for authority to retain the services of Berkley Research Group,
LLC;

        FURTHER RESOLVED, that the engagement of Jones Lang LaSalle Americas, Inc. as
real estate advisor to represent and assist each Subsidiary in carrying out its duties under the
Bankruptcy Code in Bankruptcy Court, and to take any and all actions to advance each
Subsidiary’s rights and obligations, is hereby ratified and approved, and each of the Authorized
Officers is hereby authorized and directed to take such actions as may be required to so engage
such firm for such purposes; and in connection therewith, each of the Authorized Officers, with
power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers to, and cause to be filed an appropriate application for
authority to retain the services of Jones Lang LaSalle Americas, Inc.;

        FURTHER RESOLVED, that the engagement of Prime Clerk LLC as notice and claims
agent to represent and assist each Subsidiary in carrying out its duties under the Bankruptcy Code
in Bankruptcy Court, and to take any and all actions to advance each Subsidiary’s rights and
obligations, is hereby ratified and approved, and each of the Authorized Officers is hereby
authorized and directed to take such actions as may be required to so engage such firm for such
purposes; and in connection therewith, each of the Authorized Officers, with power of delegation,
is hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers to, and cause to be filed an appropriate application for authority to retain the services of
Prime Clerk LLC;

        FURTHER RESOLVED, that each of the Authorized Officers is hereby authorized and
directed to employ any other professionals to assist each Subsidiary in carrying out its duties under
the Bankruptcy Code; and in connection therewith, each of the Authorized Officers, with power
of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers and fees, and to cause to be filed an appropriate application for authority to
retain the services of any other professionals as necessary;
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Cash Collateral and Adequate Protection

        FURTHER RESOLVED, that each of the Authorized Officers is hereby authorized,
directed, and empowered in the name of, and on behalf of, each Subsidiary, as debtor and debtor
in possession, to seek approval of a debtor-in-possession financing and cash collateral order in
interim and final form (a “DIP Order”) and to negotiate, execute and deliver any and all
agreements, instruments or documents, by or on behalf of each Subsidiary, necessary, appropriate,
or convenient to implement the DIP Order, as well as any additional or further agreements for
post-petition financing and the use of cash collateral in connection with the chapter 11 case, and
each other agreement, instrument or document to be executed and delivered in connection
therewith, by or on behalf of each Subsidiary pursuant thereto or in connection therewith, all with
such changes therein and additions thereto as any Authorized Officer approves, such approval to
be conclusively evidenced by the taking of such action or by the execution and delivery thereof;

General

       FURTHER RESOLVED, that each of the Authorized Officers is hereby authorized, on
behalf of each Subsidiary, to certify and attest to any documents that he or she may deem
necessary, appropriate, or convenient to consummate any transactions necessary to effectuate the
foregoing resolutions; provided, such attestation shall not be required for the validity of any such
documents; and

       FURTHER RESOLVED, that all actions heretofore taken by any officer, employee or
representative of each Subsidiary in its name or for its account in connection with any of the above
matters are hereby in all respects ratified, confirmed and approved.

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                    IN WITNESS WHEREOF, each of the undersigned has executed this Written Consent
            as of the date first written above.

                                                             SANJAY BANKER
                                                             CHRIS KELLY
                                                             OMAR JANJUA

                                                             In their capacity as Directors of each of:

                                                             CBI Restaurants, Inc.
                                                             Taco Bueno Equipment Company
                                                             Taco Bueno Restaurants, Inc.
                                                             Taco Bueno West, Inc.
                                                             TB Corp.
                                                             TB Holdings II, Inc.



                                                             Sanjay Banker



                                                             Chris Kelly



                                                             Omar Janjua




                                              Signature Page to Written Consent
                                                  of the Boards of Directors of
                                           Subsidiaries of TB Holdings II Parent, Inc.
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                                                             SANJAY BANKER
                                                             CHRIS KELLY
                                                             OMAR JANJUA

                                                             In their capacity as Directors of Taco Bueno
                                                             Restaurants, Inc., Manager and Member of:

                                                             TB Kansas LLC



                                                             Sanjay Banker



                                                             Chris Kelly



                                                             Omar Janjua



                                                             SANJAY BANKER
                                                             CHRIS KELLY
                                                             OMAR JANJUA

                                                             In their capacity as Directors of Taco Bueno
                                                             Restaurants, Inc., the General Partner, and Taco
                                                             Bueno West, Inc., the sole Limited Partner of:

                                                             Taco Bueno Franchise Company L.P.
                                                             Taco Bueno Restaurants L.P.


                                                             Sanjay Banker



                                                             Chris Kelly



                                                             Omar Janjua



                                              Signature Page to Written Consent
                                                  of the Boards of Directors of
                                           Subsidiaries of TB Holdings II Parent, Inc.
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 Fill in this information to identify the case and this filing:


 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         x                                               Corporate Resolutions
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 11 / 06 / 2018
                    ______________                          /s/ Philip Parsons
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Philip Parsons
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Financial Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                In re: Taco Bueno Restaurants Inc., et al.
                                                                                       Consolidated Creditor Matrix

                          Name                                 Address 1                            Address 2                Address 3                  City   State    PostalCode   Country
1000BULBS.COM                              2140 MERRITT DR.                                                                                   GARLAND          TX      75041
1320 CENTRAL MGMT INC.                     CANDLEWOOD SUITES WICHITA FALLS         1320 CENTRAL FRWY                                          WICHITA FALLS    TX      76305
13546 South Blackbob, LLC                  332 Sheridan Avenue                                                                                Piedmont         CA      94611
24/7 LOYAL SERVICE LLC                     PO BOX 600591                                                                                      DALLAS           TX      75360
2H REFRIGERATION                           DBA 2H REFRIGERATION                    P. O. BOX 758                                              CLEVELAND        OK      74020
3D Electric                                Address Unknown
609 WHITE HILLS, LTD.                      P. O. Box 600327                                                                                   Dallas           TX      75360
609 WHITE HILLS, LTD. 8222 DOUGLAS         C/O REMINGTON PARTNERS                  P O BOX 600327                                             DALLAS           TX      75360‐0327
6429 McCart Associates, LLC                3100 Monticello Avenue                  Suite 240                                                  Dallas           TX      75205
7U BROKEN ARROW TIGERS BASEBALL TEAM       ATTN: BRITTNEY FOWLER                   4704 S MAPLE AVE                                           BROKEN ARROW     OK      74011
84 LUMBER COMPANY                          1019 ROUTE 519                                                                                     EIGHTY FOUR      PA      15330
A & A ACTIVE BACKFLOW                      1611 N IH35E                            SUITE 410                                                  CARROLLTON       TX      75006
A CASINO EVENT INC                         5451 W 32ND AVE                                                                                    WHEAT RIDGE      CO      82012
A GLORIOUS CHURCH FELLOWSHIP               G3 YOUTH DEPT ELI W                     915 N 19TH ST                                              COLLINSVILLE     OK      74021
A LA CART FOODSERVICE CONSULTING GRP       14125 MEMORIAL DR                       STE 104                                                    HOUSTON          TX      77079
A TO T LAMPS INC.                          730 VALLEY RIDGE CIRCLE                                                                            LEWISVILLE       TX      75057
A&A ACTIVE BACKFLOW LLC                    1611 N IH 35 E                          SUITE 410                                                  CARROLLTON       TX      75006
A&E Paving                                 Address Unknown
A&W TRUCKING                               13920 SENLAC #200                                                                                  FARMERS BRANCH   TX      75234
A+ FOOD INDUSTRY INSPECTIONS, INC.         3245 MAIN ST #235‐166                                                                              FRISCO           TX      75034
A+ WORLEY STRIPING,INC.                    1251 HIDE A WAY LANE WEST                                                                          HIDEAWAY         TX      75771
A‐1 LOCKSMITH                              dba A‐1 LOCKSMITH                       2508 HIGHLANDER WAY, STE. 230                              CARROLLTON       TX      75006
AAA BACKFLOW TESTING                       PO BOX 80216                                                                                       AUSTIN           TX      80216
AARFID LLC                                 DBA THE INFINITE AGENCY LLC             P O BOX 51706                                              LAFAYETTE        LA      70505
Aaron, Derek                               Address on File
Aaron, Drosia                              Address on File
Aaron, Jc                                  300 East John Carpenter Freeway         Suite 800                                                  Irving           TX      75062
Aaron, Kristofer                           Address on File
Aaron, Raheem                              Address on File
AARON, REBECCA                             Address on File
ABADI, SHAHLA                              Address on File
Abair, Hakeem                              Address on File
ABAIR, LETARRA                             Address on File
ABARCA, DOMENICA                           300 East John Carpenter Freeway         Suite 800                                                  Irving           TX      75062
Abbe, Cailey                               Address on File
Abbott, Joshua                             Address on File
ABC HOME & COMMERCIAL SERVICES             DBA ABC HOME & COMMERCIAL SERVICES      9475 E. HIGHWAY 290                                        AUSTIN           TX      78724‐2303
ABC Roofing                                Address Unknown
ABDALLA, MADINA                            Address on File
ABDELKHALEQ, ODAI                          Address on File
Abdel‐Latif, Janeen                        300 East John Carpenter Freeway         Suite 800                                                  Irving           TX      75062
ABDEL‐LATIF, SHAHER                        300 East John Carpenter Freeway         Suite 800                                                  Irving           TX      75062
Abdul‐Alim, Aadam                          Address on File
ABDULLAH, RENAS                            Address on File
ABELKOP, JASON                             300 East John Carpenter Freeway         Suite 800                                                  Irving           TX      75062
Abelkop, Jason                             1140 Swathmore Dr. NW                                                                              Atlanta          GA      30327
ABELL, GREGORY                             Address on File
Abell, Thomas                              Address on File
ABERA, LETAY                               300 East John Carpenter Freeway         Suite 800                                                  Irving           TX      75062
ABERNATHY, CHRISTOPHER                     Address on File
ABERNATHY, ERICK                           Address on File
ABERNATHY, SAVANNAH                        Address on File
ABERNATHY, SUSAN                           300 East John Carpenter Freeway         Suite 800                                                  Irving           TX      75062
ABILA, EDWARD                              Address on File
ABILENE COMMERCIAL KITCHENS                2533 S. TREADAWAY BLVD.                                                                            ABILENE          TX      79602
ABILENE COOPER ATHLETIC CLUB INC           CINDY HAWKINS                           PO BOX 6182                                                ABILENE          TX      79608
ABILENE MAINTENANCE SUPPLIES               DBA ABILENE MAINTENANCE SUPPLIES        873 N. MOCKINGBIRD                                         ABILENE          TX      79603

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                                                                               In re: Taco Bueno Restaurants Inc., et al.
                                                                                      Consolidated Creditor Matrix

                        Name                                     Address 1                      Address 2                             Address 3                  City   State PostalCode   Country
ABILENE SOUTHERN LITTLE LEAGUE               ATTN: DAVID BECKHAM                  2438 INDUSTRIAL PMB 232                                              ABILENE          TX   79605
ABILENE VOLUNTEER SERVICES COUNCIL           P O BOX 451                                                                                               ABILENE          TX   79604
Abkemeier, Zach                              Address on File
ABNEY, SARAH                                 Address on File
Abney, Trace                                 Address on File
A‐BOLT ELECTRIC LLC                          13806 SW PECAN RD                                                                                         CACHE            OK   73527
ABRAHAM BENEVIDES                            DBA FUSE CONSTRUCTION                4220 PHOENIX                                                         CARROLLTON       TX   75010
ABRAHAM, ERICKA                              300 East John Carpenter Freeway      Suite 800                                                            Irving           TX   75062
Abraham, Patrick                             Address on File
ABRAM, THERESA                               Address on File
ABRAMS, TERRANCE                             Address on File
ABRASBA FOUNDATION                           B.A.G. INVESTMENTS                   10100 CULVER BLVD                         SUITE D                    CULVER CITY      CA   90232
ABREGO, MELANIE                              Address on File
Abshier, Kyrsten                             300 East John Carpenter Freeway      Suite 800                                                            Irving           TX   75062
ACADEMY AT LARSON ELEMENTARY PTA             JULIE OLSON                          2620 AVENUE K                                                        GRAND PRAIRIE    TX   75050
ACALCO, MARIA                                Address on File
ACCRUENT, LLC                                DEPT 3636                            P O BOX 123636                                                       DALLAS           TX   75312‐3636
ACCURATE ENVIRONMENTAL                       P. O. BOX 613                                                                                             STILLWATER       OK   74076
ACCURATE MECHANICAL LLC                      205 E. 13TH AVE.                                                                                          N KANSAS CITY    MO   64116
ACE MART RESTAURANT SUPPLY CO.               P. O. BOX 974297                                                                                          DALLAS           TX   75397‐4297
Ace Security Solutions                       Address Unknown
ACEVEDO CAMACHO, LIADYSVETTE                 Address on File
ACEVEDO, CHARLENE                            Address on File
ACEVEDO, MARIA                               Address on File
Acevedo, Nicole                              Address on File
ACEVES, ALEXA                                Address on File
Aceves, Luis                                 Address on File
ACHMETOV, AMBER                              Address on File
ACKERSON, ASHLEY                             Address on File
ACME BRICK COMPANY                           P O DRAWER 99198                                                                                          FORT WORTH       TX   76199‐0198
ACME SIGN                                    PO BOX 2977                                                                                               ABILENE          TX   79604‐2977
Acosta, Angelo                               Address on File
ACOSTA, ANTONIO                              Address on File
Acosta, Ashley                               Address on File
ACOSTA, CAROLANE                             300 East John Carpenter Freeway      Suite 800                                                            Irving           TX   75062
Acosta, Celina                               Address on File
Acosta, Elvira                               Address on File
ACOSTA, ILEANA                               Address on File
ACOSTA, JACQUELINE                           Address on File
Acosta, Jesus                                Address on File
ACOSTA, JORDAN                               Address on File
ACOSTA, KIMBERLY                             Address on File
Acosta, Patricia                             Address on File
ACOSTA, PEDRO                                Address on File
Acosta, Tiffany                              Address on File
Acosta, Vanessa                              Address on File
Acosta, Viky                                 Address on File
ACREY, SARA                                  Address on File
ACUNA, MICHELLE                              Address on File
ADAIR, DANTE                                 Address on File
Adair, Samantha                              Address on File
ADAME, MARIA                                 300 East John Carpenter Freeway      Suite 800                                                            Irving           TX   75062
Adames Jr., David                            300 East John Carpenter Freeway      Suite 800                                                            Irving           TX   75062
ADAMS ROAD, L.L.C.                           C/O BAUER & ASSOCIATES, INC.         4821 S. SHERIDAN, #201                                               TULSA            OK   74145
Adams, Aarick                                Address on File
ADAMS, ALICIA                                300 East John Carpenter Freeway      Suite 800                                                            Irving           TX   75062
ADAMS, ALICIA                                Address on File

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                                                                               In re: Taco Bueno Restaurants Inc., et al.
                                                                                      Consolidated Creditor Matrix

                       Name                                      Address 1                         Address 2                Address 3                   City   State    PostalCode   Country
Adams, Bobby                                 Address on File
ADAMS, CHAD                                  Address on File
Adams, Clorissa                              300 East John Carpenter Freeway      Suite 800                                                  Irving            TX      75062
Adams, Dakotah                               Address on File
ADAMS, DALE                                  300 East John Carpenter Freeway      Suite 800                                                  Irving            TX      75062
ADAMS, DAVID                                 Address on File
Adams, Deja                                  Address on File
ADAMS, DUSTIN                                Address on File
Adams, Francesca                             Address on File
ADAMS, JAMES                                 Address on File
Adams, Jeffrey                               Address on File
Adams, Justin                                Address on File
ADAMS, KAYLEIGH                              Address on File
ADAMS, KIOSHA                                Address on File
Adams, Kirstyn                               300 East John Carpenter Freeway      Suite 800                                                  Irving            TX      75062
ADAMS, MAZINE                                Address on File
ADAMS, MICHELLE                              Address on File
ADAMS, MISTY                                 Address on File
ADAMS, PAM                                   300 East John Carpenter Freeway      Suite 800                                                  Irving            TX      75062
ADAMS, RUTHIE                                Address on File
ADAMS, SHAQUITA                              300 East John Carpenter Freeway      Suite 800                                                  Irving            TX      75062
ADAMS, SHAWNETTE                             Address on File
ADAMS, STEVEN                                Address on File
ADAMS, TAHRIQUE                              300 East John Carpenter Freeway      Suite 800                                                  Irving            TX      75062
ADAMS, TAZAE                                 Address on File
Adams, Walter                                Address on File
ADAMSON, JEREMY                              Address on File
ADAMSON, SHVYANSTY                           Address on File
Adamson, Tyshanay                            Address on File
ADCOCK, DARIAN                               Address on File
ADCOCK, SUMNER                               Address on File
ADCOX, DAVION                                Address on File
ADDICKS, DALAL                               Address on File
Addicks, Jacob                               Address on File
Addison, Kaleb                               Address on File
ADDO, PRINCE                                 Address on File
Adebayo, Elizabeth                           300 East John Carpenter Freeway      Suite 800                                                  Irving            TX      75062
ADEDAYO, IFEAKANWA                           Address on File
Adegoke, Sonya                               Address on File
Adkins, Brandon                              300 East John Carpenter Freeway      Suite 800                                                  Irving            TX      75062
Adkins, Christopher                          Address on File
Adkins, Dalton                               Address on File
Adkins, Haley                                Address on File
Adkins, Kaeron                               Address on File
ADKINS, KIARRA                               Address on File
Adkins, Thomas                               Address on File
ADKISSON, SAVANNAH                           Address on File
Adley, Larry                                 Address on File
ADMIRAL SAFE COMPANY                         11063‐D S. MEMORIAL #514                                                                        TULSA             OK      74133
ADMIRE, JESSICA                              Address on File
Admire, Jessica                              300 East John Carpenter Freeway      Suite 800                                                  Irving            TX      75062
Adney, Chad                                  300 East John Carpenter Freeway      Suite 800                                                  Irving            TX      75062
ADP SCREENING 36307 TREASURY                 PO BOX 645177                                                                                   CINCINNATI        OH      45264‐5177
ADP, INC.                                    P. O. BOX 842875                                                                                BOSTON            MA      02284‐2875
ADRIAN ELECTRIC LLC                          SAMUEL SCOTT ADRIAN                  4168 FM 987                                                KAUFMAN           TX      75142
ADVANTAGE SALES & MARKETING, INC DBA THE 
SUNFLOWER GROUP                              PO BOX 31001‐1766                                                                               PASADENA          CA      91110‐1766

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                                                                             In re: Taco Bueno Restaurants Inc., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                 Address 1                        Address 2                Address 3                   City   State PostalCode    Country
ADVANTAGE SECURITY, INC.                   13693 E ILIFF AVE SUITE 200                                                                     AURORA            CO   80014
Aery, Alexander                            Address on File
AERY, ISAAC                                Address on File
AFCO CREDIT CORP                           DEPT 0809                            PO BOX 120809                                              DALLAS            TX   75312‐0809
AFFRICANO, KRISTIANNA                      Address on File
AGHO, OSAYANDE                             300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
AGILE 205‐250 THE ESPLANADE                250 THE ESPLANADE STE. 400                                                                      TORONTO           ON   M5A 1J2       CANADA
AGR Plumbing Service & Repairs             Address Unknown
AGUADO, ANGELICA                           300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
Aguayo, Julian                             Address on File
AGUERO, ISRRAEL                            Address on File
AGUERO, LEVI                               Address on File
AGUILAR, ALEJANDRA                         300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
AGUILAR, ALFONSO                           Address on File
AGUILAR, ALMA                              300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
AGUILAR, ASHLEY                            Address on File
Aguilar, Claudia                           300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
Aguilar, Jesse                             Address on File
Aguilar, Jose                              Address on File
Aguilar, Jose                              Address on File
AGUILAR, KRISTAL                           Address on File
AGUILAR, MARIA                             300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
Aguilar, Maria                             Address on File
AGUILAR, MARIBEL                           300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
Aguilar, Marisol                           Address on File
AGUILAR, MICHELLE                          Address on File
AGUILAR, MIKE                              Address on File
AGUILAR, OTILIA                            300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
AGUILAR, PATRICIA                          Address on File
AGUILAR, RAQUEL                            Address on File
AGUILAR, ROSA                              300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
AGUILAR, ROSALVA                           300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
Aguilar, Rosendo                           Address on File
AGUILAR, STEPHANIE                         Address on File
Aguilera, Mariah                           Address on File
AGUINAGA, GENARO                           300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
AGUINAGA, NORBERTO                         Address on File
Aguirre, Bryam                             300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
Aguirre, Carlos                            Address on File
AGUIRRE, ELVIRA                            Address on File
Aguirre, Eusebio                           Address on File
AGUIRRE, JUAN                              Address on File
Aguirre, Julia                             Address on File
AGUIRRE, LETICIA                           Address on File
Aguirre, Tiffany                           Address on File
Agustin, Ray                               Address on File
AHADZADEH, FARAHMAND                       Address on File
AHDOKOBO, MELANIE                          Address on File
Ahdosy, Allen                              Address on File
Ahmed, Faroque                             300 East John Carpenter Freeway      Suite 800                                                  Irving            TX   75062
Ahmed, Gazi                                Address on File
AHP OF OKLAHOMA INC.                       212 W OKLAHOMA                                                                                  GUTHRIE           OK   73044
AHSAN, SAIRA                               Address on File
AHUMADA, AJAX                              Address on File
AIG Speciality Insurance Company           175 Water Street                                                                                New York          NY   10038
Ainesworth, Shawn                          Address on File
AINSWORTH, ALEXANDOR                       Address on File

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                                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                                               Consolidated Creditor Matrix

                       Name                                               Address 1                         Address 2                 Address 3                 City   State    PostalCode   Country

AIO ACQUISITION, INC. DBA PERSONNEL CONCEPTS INC      PO BOX 5750                                                                                      CAROL STREAM    IL      60197‐5750
AIR GAS USA                                           PO BOX 676015                                                                                    DALLAS          TX      75267
Air Solutions                                         Address Unknown
AIR TEMP REFRIGERATION P. O. BOX 3068                 300 MAIN ST                                                                                      BROWNWOOD       TX      76801
AIR‐AD PROMOTIONS, INC                                P. O. BOX 202066                                                                                 ARLINGTON       TX      76006
AIRE DYNAMICS                                         DBA AIRE DYNAMICS                    3250 S. STORY RD. STE. 102                                  IRVING          TX      75038
AIRE‐MASTER OF AMERICA INC                            PO BOX 2310                                                                                      NIXA            MO      65714

AIRGAS INC‐USA, LLC DBA AIRGAS NATIONAL CARBONATION   PO BOX 602792                                                                                    CHARLOTTE       NC      28260
AIRWATCH, LLC                                         P. O. BOX 742332                                                                                 ATLANTA         GA      30374‐2332
AITCHESON, EDWARD                                     Address on File
AJUDUA, KORTNEY                                       Address on File
Aken, Mondot                                          Address on File
AKHTAR, TANJIMA                                       Address on File
AKINS, MERTEZ                                         Address on File
Akins, Raashad                                        Address on File
Akiuo, Anterina                                       Address on File
AKIUO, KESLY                                          Address on File
AKUSHEY, VIVIAN                                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Al hamadani, Yousif                                   Address on File
AL JUBOORI, HUSSEIN                                   Address on File
ALAMIA, MONICA                                        Address on File
ALANIZ, BELINDA                                       Address on File
ALANIZ, MARIA                                         Address on File
Alaniz, Pedro                                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Alarcon, Manuela                                      Address on File
ALARCON, SAYRA                                        Address on File
Alatorre rodriguez, Juan                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Alba, Juan                                            Address on File
Albacha, Tony                                         Address on File
ALBARATI‐PARRISH, JASMINE                             Address on File
ALBERTSON, BRANDY                                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Albertson, Kimberly                                   Address on File
ALBERTSON, TYLER                                      Address on File
ALBERTY, MAYRA                                        Address on File
Albonetti, Sequoia                                    Address on File
Albright, Mason                                       Address on File
ALCALA, CALEB                                         Address on File
ALCALA, CARRIE                                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ALCALA, CARRIE                                        Address on File
Alcala, Liobardo                                      Address on File
ALCALA, MARIA                                         Address on File
ALCANTARA, ISABEL                                     Address on File
ALCARAZ, MELANIE                                      Address on File
ALCEENEE, TYREON                                      Address on File
Alchammat, Mohamad                                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Alcheikh, Maher                                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Alcocer, Liliana                                      Address on File
Alcorchas Montalvo, Hector                            Address on File
ALCORN, ASHLEY                                        Address on File
ALCORN, IYEISHA                                       Address on File
Alcorn, Rieoby                                        Address on File
ALDACO, AMANDA                                        Address on File
Aldajih, Yousif                                       Address on File
Aldana, Alejandro                                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ALDANA, FRANCISCO                                     Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                        Name                               Address 1                         Address 2                 Address 3                 City   State    PostalCode   Country
ALDANA, LUIS                           Address on File
ALDANA, RICHARD                        Address on File
Aldarraji, Ruqaya                      Address on File
ALDAVE, ALFREDO                        Address on File
ALDRICH, TYLER                         Address on File
ALDRIDGE, ANDREA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ALDRIDGE, JESSICA                      Address on File
ALEGRIA, CONSUELO                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ALEGRIA, MARCOS                        Address on File
ALEJANDRO, MARLY                       Address on File
Aleman, Oscar                          Address on File
Aleman, Yajayra                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ALENCASTRO, MARIA                      Address on File
ALEX, LABRESHIA                        Address on File
ALEXANDER OPEN SYSTEM, INC             PO BOX 872380                                                                                    KANSAS CITY     MO      64187‐2380
ALEXANDER, AMANDA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ALEXANDER, AMANDA                      1601 32ND                            APT 627                                                     WICHITA FALLS   TX      76302
ALEXANDER, AMELIA                      Address on File
ALEXANDER, ANGILENE                    Address on File
Alexander, Brandon                     Address on File
ALEXANDER, BYRON                       Address on File
Alexander, Cara                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ALEXANDER, CHRISTIAN                   Address on File
ALEXANDER, CHRISTOPHER                 Address on File
ALEXANDER, DARRELL                     Address on File
Alexander, Dixie                       Address on File
ALEXANDER, DOSHIE                      Address on File
Alexander, Eric                        Address on File
Alexander, Eric                        Address on File
ALEXANDER, GARY                        Address on File
ALEXANDER, JAMES                       Address on File
Alexander, Jennifer                    Address on File
ALEXANDER, JEREMY                      Address on File
ALEXANDER, JOSHUA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ALEXANDER, KATHERINE                   Address on File
Alexander, Kaylea                      Address on File
Alexander, Keemon                      Address on File
ALEXANDER, KEVIN                       Address on File
ALEXANDER, KYLA                        Address on File
Alexander, Micheal                     Address on File
ALEXANDER, PAMELA                      Address on File
Alexander, Rodrick                     Address on File
ALEXANDER, TRAEMAINE                   Address on File
alexander, William                     Address on File
ALFARO DE MARTINEZ, ELIA               Address on File
ALFARO, JUAN                           Address on File
ALFERT, GLORIA                         Address on File
ALFOED, PATSY                          Address on File
ALFORD, ALEX                           Address on File
Alford, Chrystazia                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ALFORD, SAMUEL                         Address on File
ALFORD, TYLAR                          Address on File
ALI, IRFAN                             Address on File
Ali‐Williams, Mcosi                    Address on File
ALIYEVA, NIGYAR                        Address on File
ALIYU, KAYLA                           Address on File
Alkhatib, Nazir                        Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                            Name                               Address 1                         Address 2                 Address 3                 City    State PostalCode   Country
ALL ABOUT DOORS INC                        PO BOX 48793                                                                                     FORT WORTH      TX    76148
ALL AMERICAN PUBLISHING                    PO BOX 100                                                                                       CALDWELL        ID    83606
All Pro Plumbing ‐ Denison, TX             Address Unknown
ALL REPAIR PLUMBING, INC.                  PO BOX 3129                                                                                      BURLESON        TX    76097‐3129
ALL STAR YOUTH SPORTS ASSOC                SAUNDRIA JACKSON                     1245 BOYSENBERRY AVE                                        DESOTO          TX    75115
ALL THE GOOD DAY                           CHARLES SCHECHNER                    1245 BEDFORD RD                                             BEDFORD         TX    76021
ALLAN, ELIZABETH                           Address on File
Allbright, Courtney                        Address on File
ALLEGIANT SERVICE GROUP                    P. O. BOX 196                                                                                    RAYMORE         MO    64083
ALLEN 4214 HWY 80 E, JASON                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX    75062
ALLEN JR, JIMMY                            Address on File
ALLEN SR, JASON                            Address on File
ALLEN, ASHLEY                              Address on File
Allen, Brad                                Address on File
Allen, Brandon                             Address on File
ALLEN, BRANDON                             Address on File
ALLEN, BRYTTNE                             Address on File
Allen, Clyde                               Address on File
Allen, Dayci                               Address on File
ALLEN, DEIDRA                              Address on File
Allen, Greggory                            Address on File
ALLEN, JACOB                               Address on File
ALLEN, JASON                               Address on File
Allen, Jessica                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX    75062
Allen, Kaitlyn                             Address on File
ALLEN, KAMESHALA                           Address on File
Allen, Kenneth                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX    75062
ALLEN, KENNETH                             Address on File
Allen, Khrystalynn                         Address on File
ALLEN, KYLIE                               Address on File
ALLEN, LEEANNA                             Address on File
ALLEN, LETICIA                             Address on File
ALLEN, LORI                                Address on File
Allen, Michael                             Address on File
ALLEN, NOAH                                Address on File
Allen, Patricia                            Address on File
Allen, Peggy                               Address on File
Allen, Quentin                             Address on File
Allen, Raymond                             Address on File
ALLEN, ROLANDO                             Address on File
ALLEN, SARA                                Address on File
Allen, Tiffany                             Address on File
ALLEN, TINA                                Address on File
ALLEN, TRESSA                              Address on File
Allen, Zachary                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX    75062
ALLEN‐ROBINSON, BRITTNY                    Address on File
ALLENSWORTH & PORTER LLC                   100 CONGRESS AVENUE, SUITE 700                                                                   AUSTIN          TX    78701
ALLGOOD, DAVID                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX    75062
ALLGOOD, DAVID                             Address on File
ALLIANCE CTR                               9800 HILLWOOD PKWY                   STE 300                                                     FORT WORTH      TX    76177
ALLIED SER710 WEST B                       710 WEST BROADWAY                                                                                ARDMORE         OK    73401
ALLIED WASTE SERVICES                      P.O. BOX 78829                                                                                   PHOENIX         AZ    85062‐8829
ALLIED WASTE SERVICES #538                 P.O. BOX 78829                                                                                   PHOENIX         AZ    85062‐8829
ALLISON, KEVIN                             Address on File
ALLISON, TIMOTHY                           Address on File
ALLISON, VANESSA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX    75062
ALLISON, VANESSA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX    75062

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                          Name                                       Address 1                        Address 2                 Address 3                 City      State    PostalCode   Country
ALLNUTT, LEIGH                                  Address on File
ALLOWAY, CORY                                   Address on File
ALLRED, DAVID                                   Address on File
ALLRED, DAVID                                   Address on File
Allred, Jamee                                   Address on File
ALLRIGHT PLUMBING & HEATING                     5625 APALOOSA DRIVE                                                                              COLORADO SPRINGS   CO      80923
ALLSTAR LOT MAINTENANCE LLC                     JAMES R MYERS II                     101 QUAIL CREEK DRIVE                                       CROWLEY            TX      76036
ALMADER, ERICK                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
ALMAND, JACOB                                   Address on File
ALMANZA, MA.                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Almaraz, Clara                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
ALMAZAN, MARIA                                  Address on File
ALMEIDA JIMENEZ, JOSUE                          Address on File
ALMEIDA, MICHAEL                                Address on File
ALMENDAREZ, LUIS                                Address on File
Alnassir, Maryam                                Address on File
Alonso, brighton                                Address on File
ALONSO, JUAN                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
ALONSO, MARIA                                   Address on File
Alonso, Yamileth                                Address on File
Alonso, Zimri                                   Address on File
Alonzo, Anthony                                 Address on File
ALONZO, ERNESTO                                 Address on File
ALONZO, VICENTE                                 Address on File
Alozie, Philip                                  Address on File
ALPHA ADELPHI                                   SHELLI JILES                         2803 IRVING STREET                                          MUSKOGEE           OK      74403
ALPHA MEDIA DBA KKUS, KOO1, KOYE,KYKX           210 S BROADWAY                                                                                   TYLER              TX      75702
ALPHA TEST                                      2209 WISCONSIN ST. STE.100                                                                       DALLAS             TX      75229‐2060
ALPHA TESTING, INC.                             2209 WISCONSIN ST                    STE 100                                                     DALLAS             TX      75229
ALPHAGRAPH2722 N JOSEY                          2722 N. JOSEY LANE STE# 100                                                                      CARROLLTON         TX      75007
ALPHAGRAPHICS                                   DBA ALPHAGRAPHICS #114               3505 N. BELT LINE RD.                                       IRVING             TX      75062
ALSTON, ANTHONY                                 Address on File
ALSTON, DOMANICK                                Address on File
ALTA LOMA                                       1545 S HARBOR BLVD                   #168                                                        FULLERTON          CA      92832
Alta Loma Productions LLC                       1545 S Harbor Blvd. #168                                                                         Fullerton          CA      92832
ALTAMETRICS, LLC                                PO BOX 809123                                                                                    CHICAGO            IL      60680‐9123
ALTAMIRANO, CECILIA                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
ALTUN, MARIA                                    Address on File
Alva, Lashonna                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
ALVARADO MACKEY, PINA                           Address on File
ALVARADO, ABIGAIL                               Address on File
Alvarado, Alonso                                Address on File
Alvarado, Ana                                   Address on File
ALVARADO, ANTONIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
ALVARADO, BRIGIDO                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
ALVARADO, CECILIA                               Address on File
Alvarado, Danya                                 Address on File
ALVARADO, DIANE                                 Address on File
ALVARADO, ELVIA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Alvarado, Erica                                 Address on File
ALVARADO, ILSE                                  Address on File
ALVARADO, JENENE                                Address on File
ALVARADO, KEVIN                                 Address on File
ALVARADO, MAYRA                                 Address on File
Alvarado, Monica                                Address on File
Alvarado, Rachelle                              Address on File
Alvarado, Rosa                                  Address on File

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                           Name                                   Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
ALVARADO, STEPHANY                            Address on File
Alvarado, Valerie                             Address on File
ALVARADOS                                     DBA ALVARADOS QUALITY SERVICE        PO BOX 503                                                  ENID              OK      73702
ALVAREZ MORALES, ROGER                        Address on File
Alvarez Pacheco, Fernando                     Address on File
ALVAREZ, ALEXIS                               Address on File
ALVAREZ, ALEXIS                               Address on File
Alvarez, Angel                                Address on File
ALVAREZ, ANTONIO                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
ALVAREZ, ARMANI                               Address on File
ALVAREZ, CLEMENTE                             Address on File
Alvarez, David                                Address on File
ALVAREZ, EMMANUEL                             Address on File
ALVAREZ, ESEQUIEL                             Address on File
ALVAREZ, ISAIAH                               Address on File
ALVAREZ, JENNIFER                             Address on File
ALVAREZ, JOSE                                 Address on File
ALVAREZ, KATIA                                Address on File
Alvarez, Ladonna                              Address on File
ALVAREZ, LESLIE                               Address on File
Alvarez, Maria                                Address on File
Alvarez, Natasha                              Address on File
ALVAREZ, NIKKI                                Address on File
ALVAREZ‐RAYMER, CORY                          Address on File
ALVARIZ, ALBERTO                              Address on File
ALVAVEZ, ERNESTINA                            Address on File
ALVERSON, DANA                                Address on File
ALVIDREZ, ABIGAIL                             Address on File
ALVIN PECK COMPANY, INC.                      2704 BENEVENTO WAY                                                                               CEDAR PARK        TX      78613
ALYATIM MANAGEMENT GROUP, LLC                 215 Stanford Drive                                                                               Allen             TX      75002
AMACIFEN, JESSICA                             Address on File
AMADOR, CORNELIO                              Address on File
Amador, Mikaela                               Address on File
AMADOR‐LYONS, BRENDAN                         Address on File
Amaechi, Anthonia                             Address on File
AMAECHI, FAVOUR                               Address on File
AMAECHI, JENIFER                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
AMAECHI, MARY‐SUNSHINE                        Address on File
AMAECHIOKONJI, ALEXANDRIA                     Address on File
Amana Microwave Warranty                      Address Unknown
AMARILLO SAFE & KEY                           DBA AMARILLO SAFE & KEY              3265 COMMERCE                                               AMARILLO          TX      79109
Amaya, Aron                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
AMAYA, JOEANTHONY                             Address on File
AMAYA, MELISSA                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
AMAYA, PAULITA                                Address on File
AMAYA, RAUL                                   Address on File
AMAYA, REBECCA                                Address on File
Amazon Restaurants                            7 West 34th Street                   10th Floor                                                  New York          NY      10001
AMBRIZ, KAYLA                                 Address on File
Ambrosio, Angelica                            Address on File
AMBROSIO, ROGELIO                             Address on File
AMEDZRO, FLORENCE                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
AMERICA TO GO                                 1001 6th Avenue                                                                                  New York          NY      10018
AMERICAN CANCER SOCIETY INC                   STARSHA HOPE                         8400 SILVER CROSSING                                        OKLAHOMA CITY     OK      73132
AMERICAN ELECTRIC POWER PO BOX24422           P O BOX 371496                                                                                   PITTSBURGH        PA      15250‐7496
AMERICAN EXPRESS                              P O BOX 650448                                                                                   DALLAS            TX      75265‐0448
American Express                              P.O.Box 981535                                                                                   El Paso           TX      79998

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                                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                    Consolidated Creditor Matrix

                        Name                                                  Address 1                           Address 2                Address 3                  City   State    PostalCode   Country
AMERICAN EXPRESS‐01008/AUCOIN                              PO BOX 650448                                                                                    DALLAS           TX      75265‐0448
AMERICAN FILTRATION                                        DBA AMERICAN FILTRATION              3697 HIGHPOINT DR., STE. 101                                SAN ANTONIO      TX      78217
AMERICAN LABOR LAW COMPANY                                 21088 COMMERCE POINT DR                                                                          WALNUT           CA      91789
AMERICAN MARAZZI TILE INC.                                 PO BOX 209058                                                                                    DALLAS           TX      75320‐9058
AMERICAN MOWING AND MAINTENANCE                            5132 HARVARD DR                                                                                  BARTLESVILLE     OK      74006
AMERICAN PAYROLL ASSN                                      P O BOX 251042                                                                                   PLANO            TX      75025‐1042
AMERICAN PAYROLL ASSOC                                     660 N MAIN AVE., SUITE 100                                                                       SAN ANTONIO      TX      78205‐1217

AMERICAN REALTY CAPITAL OPERATING PARTNERSHIP IV, LP       2325 E CAMELBACK RD                  STE 1100                                                    PHOENIX          AZ      85016
AMERICAN RED CROSS                                         DALLAS CHAPTER                       4800 HARRY HINES BLVD                                       DALLAS           TX      75235
AMERICAN RESTAURANT ASSOCIATION INC.                       P. O. BOX 51482                                                                                  SARASOTA         FL      34232
AMERICAN SOUTHWEST PROP                                    2341 W. ALBANY, SUITE A                                                                          BROKEN ARROW     OK      74012‐1407
American Southwest Properties, Inc. and Memorial Drive, 
L.L.C.                                                     5807 S Garnett Rd                    Ste L                                                       Tulsa            OK      74146
AMERICAN WASTE CONTROL, INC                                1420 W. 35TH ST.                                                                                 TULSA            OK      74107‐3814
Ames, Pacia                                                Address on File
Ames, Philip                                               Address on File
AMEZQUITA, JOSE                                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
AMIE, BRIANNA                                              Address on File
Amin, Farida                                               Address on File
Amin, Zahdul                                               Address on File
AMIRSHAHPARI, NIMA                                         Address on File
AMMERMAN, DUSTIN                                           Address on File
AMMIEL, IMANI                                              Address on File
AMOAH, HARRIET                                             Address on File
AMOS, COUGAR                                               Address on File
Amos, Kyla                                                 Address on File
Amos, Nathaniel                                            Address on File
AMOS, TTORREY                                              Address on File
AMY MIMS DBA IN STEP DANCE CO                              4528 WINDSOR PARK LANE                                                                           KILGORE          TX      75662
AMYX, ALLEN                                                Address on File
AMYX, JOSEPH                                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
ANALYTICAL                                                 865 GREENVIEW DR.                                                                                GRAND PRAIRIE    TX      75050
Anand, Manvi                                               Address on File
ANAYA RAMOS, DAMARIS                                       Address on File
ANAYA, SEAN                                                Address on File
ANCHONDO JR., ANTONIO                                      Address on File
ANDERSON GLASS                                             DBA ANDERSON GLASS                   P. O. BOX 397                                               LORENA           TX      76655
ANDERSON III, MACK                                         Address on File
Anderson McMurry, Angelica                                 Address on File
ANDERSON, ADAM                                             Address on File
ANDERSON, AKEYLAH                                          Address on File
Anderson, Alexander                                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Anderson, Alice                                            Address on File
Anderson, Andrew                                           Address on File
Anderson, Ashley                                           Address on File
ANDERSON, ATICAN                                           Address on File
Anderson, Barry                                            Address on File
Anderson, Brittany                                         Address on File
ANDERSON, CATHERINE                                        Address on File
Anderson, Catherine                                        Address on File
ANDERSON, CHRISTINE                                        Address on File
ANDERSON, DAJSHIA                                          Address on File
Anderson, Dalton                                           Address on File
ANDERSON, DEREK                                            Address on File
ANDERSON, DONRICUIS                                        Address on File
ANDERSON, DOUGLAS                                          Address on File

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                                                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                                       Consolidated Creditor Matrix

                           Name                                               Address 1                                              Address 2                Address 3                    City   State    PostalCode   Country
ANDERSON, ERIK                                            Address on File
ANDERSON, GARRETT                                         Address on File
Anderson, Jerrick                                         Address on File
ANDERSON, JESSICA                                         Address on File
ANDERSON, JOE                                             Address on File
ANDERSON, JOESPH                                          Address on File
Anderson, Jordan                                          Address on File
ANDERSON, JULIE                                           Address on File
Anderson, Kassidy                                         Address on File
ANDERSON, KRISTIN                                         Address on File
ANDERSON, K'SEAN                                          Address on File
ANDERSON, MACKENZIE                                       Address on File
ANDERSON, MARCUS                                          300 East John Carpenter Freeway                          Suite 800                                                   Irving             TX      75062
ANDERSON, MARIA                                           300 East John Carpenter Freeway                          Suite 800                                                   Irving             TX      75062
ANDERSON, MARIA                                           300 East John Carpenter Freeway                          Suite 800                                                   Irving             TX      75062
Anderson, Mary                                            Address on File
Anderson, Michael                                         Address on File
Anderson, Nadia                                           300 East John Carpenter Freeway                          Suite 800                                                   Irving             TX      75062
ANDERSON, SAUNDRA                                         Address on File
ANDERSON, STONEY                                          Address on File
ANDERSON, TAMMY                                           Address on File
ANDERSON, TERRICA                                         300 East John Carpenter Freeway                          Suite 800                                                   Irving             TX      75062
ANDERSON, VENITA                                          Address on File
ANDINO, ALEIDA                                            Address on File
Andis, Kyler                                              Address on File
ANDIS, SAMANTHA                                           Address on File
Andrade, Devalyn                                          Address on File
ANDRADE, MARIA                                            Address on File
ANDRADE, SAUL                                             300 East John Carpenter Freeway                          Suite 800                                                   Irving             TX      75062
ANDRADE, VELIA                                            Address on File
Andrew Craig Breihan, Trustee of the Andrew C. Breihan 
Separate Property Trust dated February 10, 2016 (50%);    Trustee of the Daniel J. Breihan Separate Property 
Daniel Joseph Breihan                                     Trust dated February 10, 2016 (50%)                      182 Stonesteps Way                                          Encinitas          CA      92024
Andrew, Demetria                                          Address on File
Andrew, Makayla                                           Address on File
ANDREWS, ANDRE                                            Address on File
ANDREWS, AUSTIN                                           Address on File
Andrews, Keith                                            300 East John Carpenter Freeway                          Suite 800                                                   Irving             TX      75062
Andrews, Kristin                                          Address on File
ANDREWS, LUCAS                                            Address on File
Andujar Martinez, Marangelly                              Address on File
ANDYS PLUMBING                                            DBA ANDYS PLUMBING                                       208 NW EUCLID AVE                                           LAWTON             OK      73507
ANGEL PAULINO                                             DBA PAULINOS CONSTRUCTION                                8659 CR 128                                                 CELINA             TX      75009
ANGEL, JAQUELIN                                           Address on File
ANGELES, ZULEIMAN                                         Address on File
Angeletta, Bryel                                          Address on File
Angelov, Dennis                                           Address on File
ANGELS OF AMERICAS FALLEN                                 10010 DEVONWOOD CRT                                                                                                  COLORADO SPRINGS   CO      80920
ANGLE, BLAKE                                              Address on File
Angleman, Sharon                                          Address on File
Anglin, Brian                                             Address on File
Angon, Brenda                                             Address on File
ANGUIANO, JOSE                                            Address on File
ANGUIANO, MARIA                                           300 East John Carpenter Freeway                          Suite 800                                                   Irving             TX      75062
Anguiano, Zachary                                         300 East John Carpenter Freeway                          Suite 800                                                   Irving             TX      75062
Angulo, Ashley                                            Address on File
ANJOY, INC.                                               45110 W HORSE MESA RD                                                                                                MARICOPA           AZ      85139

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                            Name                               Address 1                             Address 2                Address 3                 City   State PostalCode   Country
ANN BREWER RESEARCH, INC.                  12607 WENONGA LANE                                                                                  LEAWOOD         KS   66209
ANNETTE PERRY ELEMENTARY PTA               PTA                                     1261 S MAIN ST                                              MANSFIELD       TX   76063
ANQUOE, EMILEO                             Address on File
ANSERSEN ELEMENTARY PTA                    1200 S WILLOW AVE                                                                                   BROKEN ARROW    OK   74012
ANTENER, WADE                              Address on File
Antero, Maria                              Address on File
ANTHONY JR., RICKY                         Address on File
Anthony, Gloria                            300 East John Carpenter Freeway         Suite 800                                                   Irving          TX   75062
ANTHONY, JOCELLA                           Address on File
ANTHONY, KEVIN                             Address on File
Anthony, Patricia                          300 East John Carpenter Freeway         Suite 800                                                   Irving          TX   75062
Anthony, Randy                             Address on File
ANTINMARCHI, KATHERINE                     Address on File
ANTLEY, ASHLEY                             Address on File
Antoine, Leonard                           300 East John Carpenter Freeway         Suite 800                                                   Irving          TX   75062
Antone, Megan                              Address on File
ANTONELLO, JOHN                            Address on File
Antonio, Brenda                            300 East John Carpenter Freeway         Suite 800                                                   Irving          TX   75062
Antonucci, Mary                            Address on File
ANTOON ENTERPRISES                         600 De Soto Street                                                                                  Alexandria      LA   71303
ANTWINE, AMANDA                            Address on File
ANZEK, LANDON                              Address on File
ANZORA, JERRY                              Address on File
AONRISK                                    P O BOX 95135                                                                                       CHICAGO         IL   60694‐5135
APONTE MELENDEZ, LINO                      Address on File
APONTE, JESSENIA                           Address on File
Aponte, Lino                               Address on File
APPERSON, MATTHEW                          Address on File
APPLE INC.                                 PO BOX 846095                                                                                       DALLAS          TX   75284‐6095
APPLIED OLAP INC.                          3322 S. MEMORIAL PKWY. STE. 647                                                                     HUNTSVILLE      AL   35801
AQUILA                                     P.O. BOX 4649                                                                                       CAROL STREAM    IL   60197‐4649
AQUUINO, ABRAHAM                           Address on File
Aradillas, Cirilo                          Address on File
Aradillas, Esmeralda                       300 East John Carpenter Freeway         Suite 800                                                   Irving          TX   75062
Aradillas, Jennifer                        Address on File
Aragon, Dakota                             Address on File
Aragon, Erica                              300 East John Carpenter Freeway         Suite 800                                                   Irving          TX   75062
ARAMARK                                    AUCA NATIONAL CONSOLIDATED LOCKBOX      PO BOX 22808 NETWORK PLACE                                  CHICAGO         IL   60673‐1228
Aranda de Urchison, Silvia                 Address on File
ARBAUGH, JEFFREY                           Address on File
ARC CAFÉ HLD001, LLC ML 2006               2325 E Camelback Road                   Suite 1100                                                  Phoenix         AZ   85016
ARC CAFÉ USA001, LLC                       2325 E Camelback Road                   Suite 1100                                                  Phoenix         AZ   85016
ARC CAFÉ USA001, LLC ML 2006               2325 E Camelback Road                   Suite 1100                                                  Phoenix         AZ   85016
Arcadio, Sebastian                         Address on File
ARCE, MARCELINO                            Address on File
ARCE, MARGARITA                            Address on File
ARCE, MICHELLE                             Address on File
ARCH INSURANCE COMPANY                     300 PLAZA THREE                         3RD FLOOR                                                   JERSEY CITY     NJ   07311
ARCHA, ZANE                                Address on File
Archer, Alix                               300 East John Carpenter Freeway         Suite 800                                                   Irving          TX   75062
ARCHER, CHARLES                            Address on File
Archer, Chy‐Anne                           Address on File
Archer, Joseph                             300 East John Carpenter Freeway         Suite 800                                                   Irving          TX   75062
ARCHIBALD, EMILY                           Address on File
Archibeque, Heather                        300 East John Carpenter Freeway         Suite 800                                                   Irving          TX   75062
ARCHILA, EMMA                              Address on File
ARCHILA, JOSELYNE                          Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                         Name                                 Address 1                          Address 2                Address 3                 City   State    PostalCode    Country
ARCHINAL, DON                             Address on File
ARCHULETA, DESIREE                        Address on File
ARDEN, CHRISTOPHER                        Address on File
ARDEN, DYLAN                              Address on File
ARDEN, TABITHA                            Address on File
ARDOIN, CASEY                             Address on File
AREHART, ZACHARY                          Address on File
Arellanes, Idalia                         Address on File
ARELLANO PARGA, ROSA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ARELLANO, CHRISTINA                       Address on File
ARELLANO, JAIRO                           Address on File
Arellano, Jesus                           Address on File
ARELLANO, JOELELIZA                       Address on File
Arellano, Natalie                         Address on File
Arellano, Rosalba                         Address on File
Arellanos, Marlene                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
AREMU, BILIKISU                           Address on File
ARENA JR, NAIRO                           Address on File
AREVALO, MARIA                            Address on File
ARGO, JUSTIN                              Address on File
Arguello, Andrea                          Address on File
Arias, Adrian                             Address on File
ARIAS, CLARISSA                           Address on File
ARIAS, FRANCIS                            Address on File
Arias, Maria                              Address on File
ARINWINE, TIFFANI                         Address on File
Arispe, JonMichael                        Address on File
Arista, Marco                             Address on File
ARJON, CHRISTOPHER                        Address on File
ARLEDGE, DESTINY                          Address on File
ARLINGTON                                 PO BOX 90020                                                                                     ARLINGTON       TX      76004‐3020
ARMADILLO SERVICE CO., INC.               P. O. BOX 7983                                                                                   AMARILLO        TX      79114‐7983
ARMENDARIZ, ANTHONY                       Address on File
ARMENDARIZ, CAESAR                        Address on File
ARMENDARIZ, GISELA                        Address on File
ARMENDARIZ, JUAN                          Address on File
ARMENDARIZ, KIMBERLY                      Address on File
ARMENDARIZ, MARIA                         Address on File
ARMIJO, CHRISTOPHER                       Address on File
ARMOSTRONG, KEVIN                         Address on File
ARMOUR, SHAWN                             Address on File
Armstead, Brodgerick                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Armstead, Jermaine                        Address on File
ARMSTRONG ELECTRICAL SUPPLY CO.           510 S. 3RD ST.                                                                                   ABILENE         TX      79602
ARMSTRONG MIDDLE SCHOOL PTA               MICHELLE DENEY                       3805 TIMBERLINE DR                                          PLANO           TX      75074
ARMSTRONG RELOCATION                      1405 CRESCENT                                                                                    CARROLLTON      TX      75006
Armstrong, Bonnie                         Address on File
Armstrong, Devin                          Address on File
ARMSTRONG, FRANKIE                        Address on File
Armstrong, Isis                           Address on File
ARMSTRONG, KARA                           Address on File
ARMSTRONG, KYA                            Address on File
Armstrong, Precious                       Address on File
Armstrong, Shelbie                        Address on File
ARMSTRONG, VALLE                          Address on File
ARNALL GOLDEN GREGORY LLP                 171 17TH ST NW                       SUITE 2100                                                  ATLANTA         GA      30363
ARNALY ARRIAGA                            511 WALKERVILLE RD. RR1                                                                          CLEVELAND       NS      B0E 1J0       CANADA

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                        Name                               Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Arndt, Justis                          Address on File
ARNETT, JOSHUA                         Address on File
ARNOLD, ANGELA                         Address on File
Arnold, AubreyAnna                     Address on File
Arnold, CeeJae                         Address on File
ARNOLD, CHARLES                        Address on File
ARNOLD, GILLIAN                        Address on File
ARNOLD, IAN                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ARNOLD, JACOB                          Address on File
ARNOLD, JAKOB                          Address on File
Arnold, Jenay                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ARNOLD, JOSHUA                         Address on File
ARNOLD, KOLBY                          Address on File
ARNOLD, LAUREN                         Address on File
ARNOLD, LISA                           Address on File
ARNOLD, NORMAN                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ARNOLD, NORMAN                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
AROCHA, ALEXXUS                        Address on File
AROCHA, ANDREW                         Address on File
ARRATIA, BRENDA                        Address on File
ARRATIA, ORLANDO                       Address on File
Arredondo, Amber                       Address on File
ARREDONDO, BEATRICE                    Address on File
ARREGUIN DE LEON, MARIA                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ARREGUIN, ANDREA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Arreguin, Hillary                      Address on File
ARREGUIN, SAMANTHA                     Address on File
Arreola, Luz                           Address on File
Arriaga, Adrian                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ARRIAGA, ALEXANDRO                     Address on File
ARRIAGA, ANDREA                        Address on File
ARRIAGA, ISABEL                        Address on File
ARRIAGA, SERGIO                        Address on File
Arrow Sign Company                     Address Unknown
ARROYO, JENNIFER                       Address on File
ARROYO, MARTHA                         Address on File
Arroyo, Rosemary                       Address on File
Arroyo, Yamely                         Address on File
ARROYOS, LYON                          Address on File
Arthur, Jerrad                         Address on File
ARTHURS, JESTIN                        Address on File
ARTIS, DAIJA                           Address on File
ARTUI, ARTUI                           Address on File
ARVIZO TRUJILLO, KEVIN                 Address on File
ARVIZO, ANA                            Address on File
ARVIZU, MARIA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
arvizu, tzitzijanny                    Address on File
ARZOLA, CERENA                         Address on File
ARZOLA, KIMBERELY                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ARZOLA, KIMBERLY                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Arzola, Martin                         Address on File
ASBELL, ASHLEY                         Address on File
Asbell, Shelby                         Address on File
ASBERRY, DERRICK                       Address on File
Asberry, Gabrielle                     Address on File
ASBERRY, NE'TOYNA                      Address on File
Asberry, Sammantha                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062

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                                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                Consolidated Creditor Matrix

                        Name                                              Address 1                           Address 2                            Address 3                     City   State    PostalCode   Country
ASCENCIO, CLAUDIA                                    Address on File
ASCENCIO, ELIZABETH                                  Address on File
ASG SECURITY ACCT 954772257                          PROTECTION 1 ALARM MONITORING INC      PO BOX 219044                              954772257                    KANSAS CITY         MO      64121‐9044
Ash, Aaron                                           Address on File
Ash, Chris                                           Address on File
ASH, ERIC                                            Address on File
Ash, William                                         Address on File
ASHBY, KEVIN                                         Address on File
ASHCRAFT, STEPHEN                                    Address on File
ASHER HONEY BEES                                     JOHN B SHARPLEY                        37500 US HWY 177                                                        ASHER               OK      74826
Ashford, Lainee                                      300 East John Carpenter Freeway        Suite 800                                                               Irving              TX      75062
Ashkar, Mohammad                                     Address on File
ASHLEY MAZEROLLE 3900 TEASLEY                        3912 TITAN TRL                                                                                                 DENTON              TX      76209
ASHLEY, BRYAN                                        Address on File
ASHLEY, KARRA                                        Address on File
Ashley, Michael                                      300 East John Carpenter Freeway        Suite 800                                                               Irving              TX      75062
ASHLEY, SHAMARI                                      Address on File
ASHLEY, THOMAS                                       Address on File
ASHLOCK, HARLOLD                                     Address on File
ASHWORTH, ERIC                                       Address on File
ASIME, KEMOFIN                                       Address on File
ASKEW, KENCADE                                       Address on File
ASPEN CREEK PTA                                      JULIE HAWKSWORTH                       2800 W FLORENCE ST                                                      BROKEN ARROW        OK      74011
ASPREC, BRIAN                                        Address on File
ASSANI, SOUZI                                        Address on File
ASSISTANT LEAGUE OF COLORADO SPRINGS                 405 NEVADA AVE                                                                                                 COLORADO SPRINGS    CO      80906
ASSOCIATED DESIGN PROFESSIONALS, INC                 3520 AUSTIN BLUFFS PARKWAY             STE 200                                                                 COLORADO SPRINGS    CO      80918
Astro Foods                                          10720 Miller Rd, Suite 300             Ernesto                                    Jauregui                     Dallas              TX      75238
AT&T CORP                                            AT&T TELECONFERENCE SERVICES           P O BOX 5002                                                            CAROL STREAM        IL      60197‐5002
AT&T WIRELESS PO BOX 8220                            P O BOX 6463                                                                                                   CAROL STREAM        IL      60197‐6463
Atchison, Alecia                                     Address on File
Atchison, Emanuel                                    Address on File
Atchley, Ty                                          Address on File
ATENCIO, ALEX                                        Address on File

ATHOS GROUP DBA INNOVATIVE SURVEILLANCE SOLUTIONS    600 E LAS COLINAS BLVD                 SUITE 550                                                               IRVING              TX      75039
Atkins, Alexandrea                                   Address on File
ATKINS, ANGEL                                        Address on File
ATKINS, MARY                                         Address on File
ATKINS, NOLAN                                        Address on File
ATKINS, TERRENCE                                     Address on File
ATKINSON, BRODEE                                     Address on File
ATKINSON, DAMION                                     Address on File
Atkinson, Donna                                      300 East John Carpenter Freeway        Suite 800                                                               Irving              TX      75062
Atkinson, Ryan                                       Address on File
ATMOS ENERGY                                         P. O. BOX 790311                                                                                               ST. LOUIS           MO      63179‐0311
ATTIAH, LAUREN                                       Address on File
AUBREY 380 AREA CHAMBER OF COMMERCE                  205 S MAIN                                                                                                     AUBREY              TX      76227
AUCOIN, ADAM                                         Address on File
AUGUST GRUNEWALD, DBA HECMIS, DBA HARPER ELECTRIC 
CIMS                                                 2380 EVENING SONG                                                                                              LITTLE ELM          TX      75068
AUGUSTIN, ALESHA                                     300 East John Carpenter Freeway        Suite 800                                                               Irving              TX      75062
Ault, Joseph                                         Address on File
Aussieker, Austin                                    Address on File
AUSTIN POLICE DEPARTMENT                             ALARM ADMINISTRATION                   P. O. BOX 684279                                                        AUSTIN              TX      78768‐4279
Austin, Alexandria                                   Address on File
AUSTIN, BEN                                          Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                        Name                                       Address 1                          Address 2                Address 3                  City   State PostalCode   Country
AUSTIN, CARL                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
AUSTIN, CARL                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
AUSTIN, DYLAN                                  Address on File
AUSTIN, ELLIS                                  Address on File
AUSTIN, JACOB                                  Address on File
AUSTIN, JEMARIA                                Address on File
AUSTIN, LUKE                                   Address on File
AUSTIN‐TRAVIS COUNTY HEALTH & HUMAN SERVICES   EHSD                                 P. O. BOX 1088                                              AUSTIN           TX   78767
AUTISM SPEAKS                                  NICHOLE VAZQUES                      6380 LBJ FREEWAY STE 285                                    DALLAS           TX   75240
AUTOMATIC FIRE CONTROL INC                     1708 S.E. 22ND ST.                                                                               OKLAHOMA CITY    OK   73129‐7512
AUTOQUOTES INC.                                8800 BAYMEADOWS WAY W                SUITE 500                                                   JACKSONVILLE     FL   32256
Avalos, Isabella                               Address on File
AVALOS, MARIA                                  Address on File
AVALOS, RUBY                                   Address on File
AVELAR, CECILIA                                Address on File
AVELAR, MARIA                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
AVELAR, RAMON                                  Address on File
Avellaneda, Brandon                            Address on File
AVELLANEDA, JORGE                              Address on File
Aven, Jennifer                                 Address on File
Avendano, Brittany                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
AVERETT, KEELIE                                Address on File
AVERITT EXPRESS                                PO BOX 102197                                                                                    ATLANTA          GA   30368‐2197
AVERU                                          DBA AVERUS                           3851 CLEARVIEW CT.                                          GURNEE           IL   60031
Avey, Larry                                    Address on File
AVGERENOS, MAXIM                               Address on File
AVILA, ELDA                                    Address on File
AVILA, ERNESTO                                 Address on File
AVILA, GUSTAV                                  Address on File
Avila, Helin                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
AVILA, MARIA                                   Address on File
AVILA, NOE                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
AVILA, RODRIGO                                 Address on File
AVILA, SABRINA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
AVILES, ANAMIR                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
AVILES, STEPHANY                               Address on File
AVINA, PATRICIA                                Address on File
Avington, Monisha                              Address on File
AVTEL TECHNOLOGIES, INC.                       P.O. BOX 107                                                                                     AMARILLO         TX   79105
AWE STAR MINISTRIES                            CATHY MOORE                          PO BOX 470265                                               TULSA            OK   74147
AWESOME ON THE SPECTRUM                        DARLA HILL                           PO BOX 1642                                                 MANSFIELD        TX   76063
Axtell, Mariah                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
AYALA GUTIERREZ, HAROL                         Address on File
AYALA HERRERA, Abril                           Address on File
AYALA JR, DAVID                                Address on File
AYALA, CASSANDRA                               Address on File
Ayala, Ernesto                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
AYALA, GERSON                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Ayala, Jessica                                 Address on File
AYALA, JESUS                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Ayala, Milik                                   Address on File
Ayala, Paola                                   Address on File
Ayers, Khristopher                             Address on File
AYI, BILAL                                     Address on File
AYLLON, ANTELMO                                Address on File
Aylor, Kyle                                    Address on File
AYOTTE, CARTER                                 Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                          Name                               Address 1                          Address 2                Address 3                 City    State    PostalCode   Country
AYRES, RICHARD                           Address on File
A‐Z PLUMBING CO.                         P. O. BOX 3029                                                                                   HARKER HEIGHTS   TX      76548
Azcarate, Tatiana                        Address on File
AZMA, MOHAMMAD                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
B K ELECTR1418 EAST                      1418 EAST SIXTH ST.                                                                              TULSA            OK      74120‐4024
Babaheidarian, Shahnaz                   Address on File
BABARAN, JUSTIN                          Address on File
BABBIT, SHEILA                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Babineaux, Ronnesha                      Address on File
BACA ESCALANTE, DEISY                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BACA, ANGELA                             Address on File
BACA, ANTONIO                            Address on File
BACA, DWAYNE                             Address on File
BACA, JUSTICE                            Address on File
Baca, Nichole                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Baca, Regina                             Address on File
BACA, SAMANTHA                           Address on File
BACA, SEBASTIAN                          Address on File
Bacety‐Roman, Vasthinaed                 Address on File
BACHA, ZACHARY                           Address on File
Bachala, Pranathi                        Address on File
BACK, AMBER                              Address on File
BACK, MEGAN                              Address on File
Bacon, Barton                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BACON, NICOLE                            Address on File
BACY, JOSHUA                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BADGER III, RONALD                       Address on File
BADGER, DAMEOND                          Address on File
Badillo, Toni                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Badillo‐ledezma, David                   Address on File
BAEZ, JOSE                               Address on File
Baeza, Daniel                            Address on File
Baeza, Sandra                            Address on File
BAEZ‐GONZALEZ, ANFERNEE                  Address on File
BAGBY, THOMAS                            Address on File
BAGBY, TIMOTHY                           Address on File
Baggett, Crystal                         Address on File
Baggett, Justin                          Address on File
Baghaei, Chelsea                         Address on File
BAGHARIA, MELODY                         Address on File
BAHADURI, WAHIDA                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Baiady, Timothy                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BAILEY, CHRISTOPHER                      Address on File
Bailey, Crystal                          Address on File
BAILEY, ERIC                             Address on File
Bailey, Jaedyn                           Address on File
Bailey, Jaime                            Address on File
Bailey, Jatin                            Address on File
BAILEY, JOHNNY                           Address on File
Bailey, Justin                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BAILEY, KIMBERLY                         Address on File
Bailey, Kristy                           Address on File
BAILEY, LASHANKTRA                       Address on File
Bailey, Nacoria                          Address on File
BAILEY, PHOEBE                           Address on File
BAILEY, ROBERT                           Address on File
BAILEY, RYAN                             Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                        Name                               Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Bailey, Skyler                         Address on File
BAIRD, BRANDON                         Address on File
BAISDEN, FREDRICK                      Address on File
BAIZABAL, KEYLA                        Address on File
Baize, Zane                            Address on File
BAKER DISTRIBUTING                     P O BOX 848459                                                                                   DALLAS          TX      75284‐8459
BAKER, ALEXSIS                         Address on File
Baker, Ashley                          Address on File
BAKER, BERTINA                         Address on File
BAKER, BRADEN                          Address on File
BAKER, BRANDY                          Address on File
BAKER, BRITTANY                        Address on File
Baker, Byron                           Address on File
BAKER, CHARLIE                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BAKER, CHERE'                          Address on File
BAKER, DALLAS                          Address on File
BAKER, DALTON                          Address on File
Baker, Eadyn                           Address on File
Baker, J                               Address on File
BAKER, JAMES                           Address on File
BAKER, JOSEPH                          Address on File
BAKER, KATHRYN                         Address on File
BAKER, KEVIN                           Address on File
Baker, Kirsten                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BAKER, MEAGAN                          Address on File
BAKER, MEAIRREA                        Address on File
BAKER, NICHOLAS                        Address on File
BAKER, ROBERT                          Address on File
BAKER, SHAWN                           Address on File
BAKER, SKYLER                          Address on File
BAKER, TRISTEN                         Address on File
Baker, Tyler                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BAKER, VAUGHAN                         Address on File
BALBOA, MARKUS                         Address on File
BALCH SPRINGS POLICE DEPT              ALARM ENFORCEMENT SECTION            12500 ELAM ROAD                                             BALCH SPRINGS   TX      75180
BALDERAS VAZQUEZ, DANIELA              Address on File
BALDERAS, ADAM                         Address on File
BALDERAS, ANA                          Address on File
BALDIVIA, CHRISTOPHER                  Address on File
BALDWIN, ERIN                          Address on File
BALDWIN, SCOTT                         Address on File
BALENTINE, ERIC                        Address on File
BALES, JUSTIN                          Address on File
Balham, Isabelle                       Address on File
Ball, Mickayla                         Address on File
Ballance, Kristi                       Address on File
BALLARD, CHRISTOPHER                   Address on File
Ballard, Daniel                        Address on File
BALLARD, JACOB                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Ballard, Kaelynn                       Address on File
Ballesteros, Miguel                    Address on File
BALLEW, ANALINA                        Address on File
BALLINGER, RITCHIE                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BALOGUN, CHRISTIANA                    Address on File
BALORAN, TIANA                         Address on File
Balsters, Pierson                      Address on File
Baltazar, Madison                      Address on File

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                                                                    In re: Taco Bueno Restaurants Inc.., et al.
                                                                           Consolidated Creditor Matrix

                   Name                                 Address 1                        Address 2                Address 3                  City   State    PostalCode   Country
Baltrip, Kisham                   Address on File
Bamaca, Belsy                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BAMACA, LETICIA                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BAMACA, MONICA                    Address on File
BancFirst                         394 E 141st St                                                                                   Glenpool         OK      74066
BANCFIRST                         808 S MAIN                                                                                       STILLWATER       OK      74076‐0001
BancFirst                         2400 Old Shawnee Rd                                                                              Muskogee         OK      74401
BANDA, ALEX                       Address on File
Banda, Alicia                     Address on File
BANDA, ORALIA                     Address on File
BANEGAS, MIRNA                    Address on File
Bank of America                   8320 N. Oak Trafficway                                                                           Kansas City      MO      64118
Bank of America                   2728 Vivion Road                                                                                 Kansas City      MO      64119
Bank of America                   175 North Clairborne                                                                             Olathe           KS      66062
Bank of America                   7809 State Ave.                                                                                  Kansas City      KS      66111
Bank of America                   501 N. Woodlawn                                                                                  Wichita          KS      67208
Bank of America                   2959 N. Rock Rd.                                                                                 Wichita          KS      67226
Bank of America                   1801 N. Hwy. 66                                                                                  Catoosa          OK      74015
Bank of America                   10343 East 71st                                                                                  Tulsa            OK      74133
Bank of America                   4847 S Peoria Ave                                                                                Tulsa            OK      74136
Bank of America                   7110 South Lewis                                                                                 Tulsa            OK      74136
Bank of America                   1101 South Josey Lane                                                                            Carrollton       TX      75006
Bank of America                   3028 North Josey Lane                                                                            Carrollton       TX      75007
Bank of America                   7001 Independece Parkway                                                                         Plano            TX      75024
Bank of America                   7001 Independence Parkway                                                                        Plano            TX      75025
Bank of America                   4001 Cross Timbers Rd                                                                            Flower Mound     TX      75028
Bank of America                   5019 Preston Rd                                                                                  Frisco           TX      75034
Bank of America                   700 West Avenue A                                                                                Garland          TX      75040
Bank of America                   2405 W. I‐20                                                                                     Grand Prairie    TX      75052
Bank of America                   3660 North Beltline Road                                                                         Irving           TX      75062
Bank of America                   7300 N. MacArthur                                                                                Irving           TX      75063
Bank of America                   1102 West Main Street                                                                            LEWISVILLE       TX      75067
Bank of America                   440 East FM 3040                                                                                 LEWISVILLE       TX      75067
Bank of America                   3500 West Eldorado Parkway                                                                       McKinney         TX      75070
Bank of America                   101 East Park Boulevard                                                                          Plano            TX      75074
Bank of America                   2015 Coit Road                                                                                   Plano            TX      75075
Bank of America                   850 W. Arapaho Rd.                                                                               Richardson       TX      75080
Bank of America                   1431 East Spring Valley Road                                                                     Richardson       TX      75081
Bank of America                   2601 Ridge Road                                                                                  Rockwall         TX      75087
Bank of America                   1000 W Rusk Rd                                                                                   Rowlett          TX      75088
Bank of America                   156 Belt Line Rd.                                                                                Cedar Hill       TX      75104
Bank of America                   1227 East Pleasant Run                                                                           Desoto           TX      75115
Bank of America                   190 W. Cartwright Rd.                                                                            Mesquite         TX      75149
Bank of America                   1400 North Town East Boulevard                                                                   Mesquite         TX      75150
Bank of America                   14900 North Town East Boulevard                                                                  Mesquite         TX      75150
Bank of America                   2106 North Galloway Avenue                                                                       Mesquite         TX      75150
Bank of America                   11868 Preston Road                                                                               Dallas           TX      75230
Bank of America                   6750 Greenville Avenue                                                                           Dallas           TX      75231
Bank of America                   13355 Noel Road                                                                                  Dallas           TX      75240
Bank of America                   6085 Campbell Road                                                                               Dallas           TX      75248
Bank of America                   4970 North O'Connor Road                                                                         Irving           TX      75280
Bank of America                   P.O. Box 831547                                                                                  Dallas           TX      75283
Bank of America                   18229 Midway Road                                                                                Dallas           TX      75287
Bank of America                   5903 Wesley                                                                                      Greenville       TX      75402
Bank of America                   1020 East Pioneer Parkway                                                                        Arlington        TX      76010
Bank of America                   720 North Watson Road                                                                            Arlington        TX      76011
Bank of America                   925 North Collins Street                                                                         Arlington        TX      76011

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                        Name                                       Address 1                         Address 2                Address 3                    City   State    PostalCode   Country
Bank of America                               1206 South Bowen Road                                                                            Arlington          TX      76013
Bank of America                               1904 Central Drive                                                                               Bedford            TX      76013
Bank of America                               4040 S Cooper                                                                                    Arlington          TX      76015
Bank of America                               4220 Green Oaks Boulevard West                                                                   Arlington          TX      76016
Bank of America                               1001 South Main Street                                                                           Grapevine          TX      76051
Bank of America                               3100 East Southlake Boulevard                                                                    Southlake          TX      76051
Bank of America                               8625 Bedford‐Euless Road                                                                         Hurst              TX      76053
Bank of America                               103 West Harwood Road                                                                            Hurst              TX      76054
Bank of America                               2821 Matlock Rd.                                                                                 Mansfield          TX      76063
Bank of America                               3160 E Broad St                                                                                  Mansfield          TX      76063
Bank of America                               500 West 7th Street                                                                              FORT WORTH         TX      76102
Bank of America                               3532 Joyce Drive                                                                                 FORT WORTH         TX      76116
Bank of America                               4751 South Hulen Street                                                                          FORT WORTH         TX      76132
Bank of America                               6100 Rufe Snow Drive                                                                             FORT WORTH         TX      76148
Bank of America                               12524 N Beach St                                                                                 FORT WORTH         TX      76244
Bank of America                               1440 Keller Parkway                                                                              Keller             TX      76248
Bank of America                               2733 Midwestern Parkway                                                                          Wichita Falls      TX      76308
Bank of America                               4901 Bosque Boulevard                                                                            Waco               TX      76710
Bank of America                               401 Hewitt Dr.                                                                                   Waco               TX      76712
Bank of America                               3440 Bell St. #328                                                                               Amarillo           TX      79109
Bank of America                               2200 South 27th Street                                                                           ABILENE            TX      79604
Bank of America, N.A.                         901 Main Street                      Floor 14                                                    Dallas             TX      75202
Bank of Oklahoma                              4544 S. 33rd W Ave.                                                                              Tulsa              OK      74107
Bank of Oklahoma                              6505 East 101st Street                                                                           Tulsa              OK      74133
BANK OF TEXAS                                 TRUST SERVICES                       DEPARTMENT #1660                                            TULSA              OK      74182
Bank of Texas                                 792 Watters Rd                                                                                   Allen              TX      75070
Bank of Texas                                 307 W Washington                                                                                 Sherman            TX      75090
Banker, Sanjay                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BANKS, ANTHONY                                Address on File
Banks, Brandon                                Address on File
BANKS, BRITTANY                               Address on File
Banks, Dewayne                                Address on File
BANKS, DOMANIQUE                              Address on File
BANKS, GERGORY                                Address on File
BANKS, JESSICA                                Address on File
BANKS, MARQUITA                               Address on File
Banks, Veronica                               Address on File
BANNER SCHOOL ACTIVITY FUND                   KIM STRINGER                         2455 N BANNER RD                                            EL RENO            OK      73036
BARAJAS, ANGEL                                Address on File
BARAJAS, BLANCA                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BARAJAS, BLANCA                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Barajas, Daniel                               Address on File
BARAJAS, JESUS                                Address on File
BARAJAS, LUIS                                 Address on File
BARAJAS, ROBERT                               Address on File
BARAJAS, TIMOTHY                              Address on File
BARAK, INC DBA HOLIDAY INN EXPRESS HOTELS     201 HWY 287 N                                                                                    MANSFIELD          TX      76063
BARANONA, ABIGAIL                             Address on File
BARAY, ERNESTINE                              Address on File
BARBA, ALEXIS                                 Address on File
Barber, Channeisha                            Address on File
BARBER, J                                     Address on File
BARBER, JAZZMIN                               Address on File
BARBER, JORDAN                                Address on File
BARBER, KALEB                                 Address on File
Barber, Pamela                                Address on File
BARBER, PORCHIA                               Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                          Name                               Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Barber, Rees                             Address on File
BARBER, ROBERT                           Address on File
BARBER, TEQUILA                          Address on File
Barboza, Latoya                          Address on File
BARBRE GROMAJOR REALVENTURE              4200 S. HULEN, SUITE 422                                                                         FORT WORTH      TX      76109
Barbre Group Investments, LLC            4200 S Hulen                         Suite 422                                                   FORT WORTH      TX      76209
Barcenas, Matthew                        Address on File
BARCLAY, ALEXIS                          Address on File
BARCO, CLARABETH                         Address on File
BARDALES, JUAN                           Address on File
Bardalez, Sylvia                         Address on File
Bardeaux, Alexander                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BARFIELD, VEDA                           Address on File
BARHAM, REBEKAH                          Address on File
Barker, Brittany                         Address on File
Barker, David                            Address on File
BARKER, JACOB                            Address on File
BARKER, TASHA                            Address on File
BARKER, ZACHARY                          Address on File
BARKSDALE, DESTANI                       Address on File
Barksdale, Ethan                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Barkus, Jimmy                            Address on File
Barlow, Jessica                          Address on File
Barlow, Kyla                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Barlow, Misty                            Address on File
BARMORE, JONATHAN                        Address on File
Barnard, Aleisha                         Address on File
Barnes Jr, Jeffrey                       Address on File
BARNES, BRIANA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Barnes, Damor                            Address on File
BARNES, DAVIONNA                         Address on File
BARNES, GARRETT                          Address on File
Barnes, Heather                          Address on File
BARNES, JACOB                            Address on File
BARNES, JAMES                            Address on File
Barnes, Jeremy                           Address on File
BARNES, JUSTIN                           Address on File
BARNES, REGINA                           Address on File
BARNES, RODGERICK                        Address on File
BARNES, SKYLA                            Address on File
Barnes‐anderson, Heather                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Barnett, Amanda                          Address on File
Barnett, Amauri                          Address on File
BARNETT, CYNTHIA                         Address on File
BARNETT, EVELYN                          Address on File
BARNETT, JENNIFER                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Barnett, Princess                        Address on File
BARNETT, SHAUN                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BARNETT, THOMAS                          Address on File
BARNEY, RODALYNN                         Address on File
Barnhill, Regina                         Address on File
BARNWELL JR, JONATHAN                    Address on File
BARRAGAN, MARIA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Barranco, Eduardo                        Address on File
BARRAZA, MANUELA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BARRECA, SHANEN                          Address on File
BARRENTINE, CASEY                        Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                          Name                                 Address 1                        Address 2                Address 3                 City   State    PostalCode   Country
BARRENTINE, MICHAEL                      Address on File
Barrera Perez, Lluvia                    Address on File
BARRERA, ANTONIO                         Address on File
BARRERA, GUADALUPE                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BARRERA, MARIA                           Address on File
BARRERA, REINA                           Address on File
BARRERA, SAMUEL                          Address on File
BARRET, MAKAYLA                          Address on File
Barrett, Aareil                          Address on File
Barrett, Athena                          Address on File
BARRETT, SAMANTHA                        Address on File
Barrientos, Albino                       Address on File
Barrientos, Alexis                       Address on File
BARRIENTOS, CRYSTAL                      Address on File
Barrientos, Micah                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BARRIENTOS, STORMY                       Address on File
BARRIER, JERNEQWA                        Address on File
BARRINGTON, LINDA                        Address on File
BARRIOS BIVIANO, YESENIA                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BARRIOS, INGRID                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BARRIOS, JENNEFER                        Address on File
BARRIOS, JESSICA                         Address on File
BARRIOS, JOSELITA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Barrios, Maria                           Address on File
Barron, Brandon                          Address on File
Barron, Brittnee                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Barron, Garyon                           Address on File
BARRON, GIOVANNY                         Address on File
Barron, Jesse                            Address on File
BARRON, MARIBEL                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BARRON, PERLA                            Address on File
Barron, Samantha                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Barron, Yenaida                          Address on File
BARRON‐SUTTON, LA'                       Address on File
BARROW, DEVIN                            Address on File
Barry 3D, LLC                            3630 N Briarcliff Road                                                                           Kansas City     MO      64116
BARRY 3D, LLC                            C/O USFP PROPERTY MANAGEMENT         4706 BROADWAY, STE. 240                                     KANSAS CITY     MO      64112
BARSH, SAVANNAH                          Address on File
BARTEE, MARTEZ                           Address on File
Barthold, MacKenzie                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BARTHOLD, MACKENZIE                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Bartlett, Colby                          Address on File
Bartlett, Michael                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Bartlett, Terrie                         Address on File
BARTLETT, ZACHARY                        Address on File
BARTLEY, MORGAN                          Address on File
BARTOLO, ORA                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BARTOLO, ORA LEE                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BARTON, CARLOS                           Address on File
Barton, Rochelle                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Bartone Anderson, Nathan                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Barton‐Lind, Ashley                      Address on File
Bartow, Jeannette                        Address on File
BARTZ, JACOB                             Address on File
BASCUS, TONY                             Address on File
Basey, Dejuandre                         Address on File
BASH, JUSTIN                             Address on File

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                        Name                                     Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
Bass, Ashley                                 Address on File
Bass, Brandon                                Address on File
Bass, Dana                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
BASS, TABITHA                                Address on File
Bass, Xa'Quasha                              Address on File
BASSETT, BROOKE                              Address on File
Bassett, Christian                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
BASURTO, CARMEN                              Address on File
BATES, ABBEY                                 Address on File
BATES, AUSTIN                                Address on File
BATES, BRIANA                                Address on File
BATES, DONNETTE                              Address on File
Bates, Joe                                   Address on File
BATES, MICHAEL                               Address on File
BATES, MISTY                                 Address on File
Bates, Rico                                  Address on File
Bates, Trevon                                Address on File
BATSON, AUSTIN                               Address on File
Batson, Destiny                              Address on File
BATTAGLIA, ASHLEY                            Address on File
BATTENFIELD, LINDSEY                         Address on File
Batterson, Harleigh                          300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
BATTISTE, TRISHAWN                           Address on File
Battle, Davoyae                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
BATTLE, MARKECE                              Address on File
BAUER, DEREK                                 Address on File
BAUER, MICHAEL                               Address on File
BAUGH, JOANNA                                Address on File
BAUHAUS INTERIORS GROUP 1444 OAK LAWN AVE.   1645 STEMMONS FREEWAY, STE A                                                                     DALLAS            TX      75207
BAUHAUS INTERIORS GROUP INC.                 1645 STEMMONS FWY                    SUITE A                                                     DALLAS            TX      75207
Baul, Caleb                                  Address on File
Baul, Makayla                                Address on File
BAUM, JAMES                                  Address on File
BAUMANN, JOHN                                Address on File
BAUMGARDNER, HUNTER                          Address on File
BAUMGARNER, TOMMY                            Address on File
BAUTISTA, JASMINE                            Address on File
BAUTISTA, LAURA                              Address on File
Bautista, Lesli                              Address on File
Bautista, Leslie                             Address on File
Bautista, Maria                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
BAUTISTA‐GOMEZ, ELEIRE                       Address on File
Bauza, Laurent                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
BAXTER, JACK                                 Address on File
BAXTER, SANDRA                               Address on File
Baxter, William                              Address on File
Bay Valley                                   Marti Miller                         Account Manager
BAY, DAVID                                   Address on File
Bayco Enterprises, LLC                       PO Box 277                                                                                       SKIATOOK          OK      74070
BAYLON INGLES, OSCAR                         Address on File
BAYNES, JACKIE                               Address on File
BAYONA, REYES                                Address on File
BAYSINGER, AMANDA                            Address on File
BAYSINGER, SARAH                             Address on File
BAZZY, DYLAN                                 Address on File
BCI TECHNOLOGIES, INC.                       1202 N SOUTHWEST PKWY                                                                            GRAND PRAIRIE     TX      75050
BDC PROPERTIES                               5000 OVERTON PLAZE                   STE 300                                                     FORT WORTH        TX      76109

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                      Name                                        Address 1                          Address 2                Address 3                  City     State    PostalCode   Country
Beach, Austin                                 Address on File
BEACON PLUMBING                               JEREMIAH SMITH                       3819 PAPUAN DRIVE                                           COLORADO SPRINGS   CO      80922
BEAL, JAMARKIUS                               Address on File
BEAL, TAHJE                                   Address on File
Beals, Kristy                                 Address on File
Beam, Ryan                                    Address on File
BEAMAN, TYLER                                 Address on File
BEAMIS, MICHAEL                               Address on File
Bean, Brittany                                Address on File
Bean, Edmund                                  Address on File
Bean, Jasmin                                  Address on File
BEANS, MAHAGANY                               Address on File
BEAR CLAW LANDSCAPING INC                     7355 CORSICANA DR                                                                                COLORADO SPRINGS   CO      80923
BEAR CREEK COMMUNITY BAPTIST CHURCH           TONIA GRAHAM                         2700 FINLEY RD                                              IRVING             TX      75062
BEAR, DAYLA                                   Address on File
BEARD, JACOBY                                 Address on File
BEARD, TERRELL                                Address on File
Beare, Ethan                                  Address on File
BEASCHOCHIA, CHELSIA                          Address on File
Beasley, Damien                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Beasley, Latonya                              Address on File
BEASLEY, XAVIER                               Address on File
BEASON, LATISHA                               Address on File
BEATTIE, SYDNEE                               Address on File
Beatty, Ronald                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Beaver, Joseph                                Address on File
BEAVER, TYESHA                                Address on File
Beavers, Ashley                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BEAVERS, JUSTIN                               Address on File
BECCHINA, EDDIE                               Address on File
BECERRA, GLADYS                               Address on File
Bechter, Tara                                 Address on File
Beck, Althea                                  Address on File
Beck, Chad                                    Address on File
BECK, EMILY                                   Address on File
BECK, VALISSIA                                Address on File
BECKA, GWENDLYN                               Address on File
BECKER, JERAMIAH                              Address on File
BECKER, KELSIE                                Address on File
Beckford, Casey                               Address on File
BEDDOE, SARAH                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BEDDOE, SARAH                                 Address on File
Beddoe, Sarah                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BEDFORD FI1816 BEDFO                          1816 BEDFORD ROAD                                                                                BEDFORD            TX      76021
BEDFORD POLICE DEPARTMENT                     RECORDS DIVISION                     2121 L. DON DODSON DR.                                      BEDFORD            TX      76021
Bedford, Dakota                               Address on File
BEDFORD, MARQUALE                             Address on File
Bediako, Keirden                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BEDUNAH, LINDA                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BEEBE, MICKEY                                 Address on File
Beecham, Darryl                               Address on File
Beecham, Hayden                               Address on File
Begay, Lula                                   Address on File
BEGAY, NEDRA                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Beggs, Chase                                  Address on File
Beggs, Matthew                                Address on File
BEHR, CHADWICK                                Address on File

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                        Name                                      Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
BEHR, CHRISTOPHER                             Address on File
BEHR, RITA                                    Address on File
BEIGHLEY BECK, FELIX                          Address on File
BEIGHLEY‐BECK, ANTHONY                        Address on File
BEJARANO JR, MARCOS                           Address on File
BEJARANO, JOSEFINA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BELCHER, IVY                                  Address on File
Belden, Fredrick                              Address on File
Belding, Cynthia                              Address on File
Belding, Jude                                 Address on File
BELET, DANYS                                  Address on File
BELL, AMANDA                                  Address on File
Bell, Autumn                                  Address on File
Bell, Billy                                   Address on File
Bell, Branden                                 Address on File
Bell, Cameron                                 Address on File
BELL, CHARLES                                 Address on File
Bell, Curtis                                  Address on File
BELL, JACOBY                                  Address on File
BELL, JNAJAHA                                 Address on File
Bell, Julian                                  Address on File
BELL, KENYANA                                 Address on File
BELL, LADONSHAE                               Address on File
BELL, LAMARCUS                                Address on File
Bell, Lucretia                                Address on File
BELL, QUINNENIETRA                            Address on File
BELL, REGINA                                  Address on File
BELL, SHANTA                                  Address on File
BELL, TOYA                                    Address on File
Bell, Tyler                                   Address on File
BELLAMY, EMMA                                 Address on File
BELLMAN, STEVEN                               Address on File
Bellows, Secret                               Address on File
BELMAN, JANET                                 Address on File
BELOW, CARLOS                                 Address on File
Belt Jr jr, Harold                            Address on File
Belt, Harold                                  Address on File
Belt, Taylor                                  Address on File
BELT, WILLIAM                                 Address on File
BELTON SCHOOL DISTRICT #124                   CHRISTINA MC DONALD                  110 W WALNUT                                                BELTON          MO      64012
Beltran, Cesar                                Address on File
BELTRAN, DANIELA                              Address on File
BELTRAN, ERIKA                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BELTRAN, GABRIELA                             Address on File
Beltran, Lianet                               Address on File
Beltran, Robert                               Address on File
BELZONE, JACK                                 Address on File
BEN BARBER CAREER TECH ACADEMY PTSA           MELISSA PERSINEN                     1120 W DEBBIE LANE                                          MANSFIELD       TX      76063
BEN E. KEITH FOODS                            P. O. BOX 1588                                                                                   AMARILLO        TX      79105
BENAVIDES, RODOLFO                            Address on File
BENAVIDEZ, JOE                                Address on File
Benavidez, Tiarra                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Bender, Chelsea                               Address on File
Benderman, Veronica                           Address on File
Benedict, Luke                                Address on File
BENEDICT, SHANE                               Address on File
BENEFIELD, ELIZABETH                          Address on File

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                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                               Consolidated Creditor Matrix

                       Name                               Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
BENETT, CARLOS                        Address on File
Benford, Antonio                      Address on File
Benham, Jeff                          Address on File
BENHMIDA, OMAR                        Address on File
BENHUMEA, ULISES                      Address on File
BENITEZ, J                            Address on File
BENITEZ, JOSE                         Address on File
Benitez, Luis                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BENJAMIN, BLAKE                       Address on File
Benn, Cheyann                         Address on File
BENN, MARTIN                          Address on File
Benn, Savanna                         Address on File
BENNEFIELD, CODY                      Address on File
BENNER, DYLAN                         Address on File
BENNETT, AMANDA                       Address on File
Bennett, Audra                        Address on File
BENNETT, BRANDI                       Address on File
Bennett, Cassidy                      Address on File
Bennett, Chrestina                    Address on File
Bennett, Corey                        Address on File
Bennett, Cree                         Address on File
BENNETT, CYNTHIA                      Address on File
Bennett, DiNickos                     Address on File
BENNETT, JEFFERY                      Address on File
BENNETT, WILLIAM                      Address on File
Bennight, Robert                      Address on File
Benoit, Richard                       Address on File
BENOIT, TARA                          Address on File
BENSON, DEMITA                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BENSON, MCKINLEY                      Address on File
Benson, Nicholas                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BENSON, SARA                          Address on File
BENSON, SHERIDAN                      Address on File
BENSON, ZANTOYIA                      Address on File
BENT, CYNTHIA                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BENT, CYNTHIA                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BENTANCUR, ANTONIO                    Address on File
BENTLEY, MIRACLE                      Address on File
BENTLEY, RAYNA                        Address on File
BENTLEY, THOMAS                       Address on File
BENTON OIL COMPANY, INC.              P. O. BOX 31                                                                                     LUBBOCK          TX      79414
BENTON, JESSICAJEWEL                  Address on File
BENTON, LEAH                          Address on File
BENTON, WALTER                        Address on File
BENTSI‐ENCHILL, ERICA                 Address on File
BERDEJA, ROSS                         Address on File
BERDEN, TIARA                         Address on File
BERG, KYLE                            Address on File
Berg, Michael                         Address on File
BERGER, KELLY                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BERGER, SKIELYN                       Address on File
BERGGREN, KEVIN                       Address on File
BERGIN, CATHERINE                     Address on File
BERKELEY RESEARCH GROUP LLC           2200 POWELL STREET                   SUITE 1200                                                  EMERYVILLE       CA      94608
BERKER AREA BAND CLUB                 PO BOX 850751                                                                                    RICHARDSON       TX      75085
BERLIN, ALLEN                         Address on File
Berliner, Ronnie                      Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                      Name                                     Address 1                          Address 2                Address 3                    City   State    PostalCode   Country
BERMEA, MARINA                             Address on File
Bermudez, Mirenis                          Address on File
BERNA, DAVID                               Address on File
BERNAL, CARLOS                             Address on File
BERNAL, CRISTIAN                           Address on File
Bernal, Devon                              Address on File
BERNAL, FRANCISCA                          300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BERNAL, JENNIFER                           Address on File
BERNAL, JULIA                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Bernal, Maria                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BERNAL, MARIA                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Bernal, Tania                              Address on File
BERNARD, MONTY                             Address on File
BERNAT, CHRISTOPHER                        Address on File
BERNHART, KASEY                            Address on File
BERRIOS, MIRANDA                           Address on File
BERROSPE, FELIPA                           Address on File
Berry, Ashley                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Berry, Chase                               Address on File
BERRY, JADA                                Address on File
BERRY, JORDAN                              Address on File
Berry, Shanna                              Address on File
Berry, Steven                              Address on File
BERRYHILL, DAVID                           Address on File
berryhill, holly                           Address on File
BERRYHILL, TAYLOR                          Address on File
Berryman, Jonathen                         Address on File
BERTRAM, SARAH                             Address on File
BERUMEN, LIONEL                            Address on File
Besand, Ian                                Address on File
Beshear, Andy                              700 Capitol Avenue                   Suite 118                                                   Frankfort          KY      40601
BESON, CODY                                Address on File
BESS, PATIENSE                             Address on File
Besze‐Marlow, Kate                         Address on File
BETANCOURT, JOSEPH                         Address on File
BETANCOURT, MARIBEL                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BETANCOURT, VICTORIA                       Address on File
BETHANY, SHUNQUALA                         Address on File
Bettenhausen, Jacob                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Betts, Keymaria                            Address on File
BETTY HAUN ELEMENTARY PTA                  4500 QUINCY LANE                                                                                 PLANO              TX      75024
Betzler, Kathie                            Address on File
Beugre, Allen                              Address on File
BEVERLY, PATRICIA                          Address on File
Beverly, Rhae'von                          Address on File
BEWSON, TEVON                              Address on File
BEXFIELD, VICTORIA                         Address on File
BEYETTE, HOPE                              Address on File
Bezzard, Thomas                            Address on File
BG HUDSON MIDDLE SCHOOL PTA                4405 HUDSON PARK                                                                                 SACHSE             TX      75048
BH FREEMAN ELEMENTARY SCHOOL PTA           JILL WIDEMAN                         1220 W WALNUT                                               GARLAND            TX      75040
BI CENTENNIAL LLC                          1675 BROADWAY STE 2010                                                                           DENVER             CO      80202
BIAS, MEGAN                                Address on File
Bibbs, Christine                           Address on File
BIBLE, ALEXANDRIA                          Address on File
Bickerdike, Spencer                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BICKFORD, ABIGAIL                          Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
BICKFORD, DEANNA                         Address on File
Biddle, Cecil                            Address on File
Biddle, Skyler                           Address on File
Biddlecome, Shirley                      Address on File
BIEDA, JORDAN                            Address on File
Bielomaz, Linda                          Address on File
Bien, Brad                               Address on File
BIG BOB'S PORTA POTTY'S INC.             P O BOX 3750                                                                                     LAWTON           TX      73502
BIG COUNTRREFRIGERAT1349 TRACY           REFRIGERATION SERV.                  1349 TRACY LYNN DR.                                         ABILENE          TX      79601
BIG HORN TRAVEL CENTER, LLC              1401 Markum Ranch Road East                                                                      FORT WORTH       TX      76126
BIG TIME BILLBOARDS LLC                  P O BOX 278                                                                                      LOWELL           AR      72745
BIGBIE, JESSICA                          Address on File
BIGGINS, AKIL                            Address on File
BIGGINS, LORI                            Address on File
Biggoose, Leroy                          Address on File
BIGGS, ALAN                              Address on File
BIGGS, DARIEYN                           Address on File
BIGHAM, SYDNEE                           Address on File
BILBRO, CHRISTIAN                        Address on File
Bilby, Chelsie                           Address on File
BILES, JOSEPH                            Address on File
Bill Stubbs & Co.                        4216 North Portland #101                                                                         Oklahoma City    OK      73112
Billeda, Teressa                         Address on File
BILLEN, DAVID                            Address on File
BILLINGS, HAYLEY                         Address on File
BILLINGSLY, VICTORIA                     Address on File
Billington, Chris                        Address on File
Bill's Lawn Care                         Address Unknown
BILLY, TYLER                             Address on File
BINDER, BRANDON                          Address on File
Bing, Tyria                              Address on File
BINGHAM, BRYAN                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BINGLE, ETHEL                            Address on File
BINION, ANITA                            Address on File
BINION, SHIRLEY                          Address on File
Binion, Zackery                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BINNS, JOHN                              Address on File
BINSWANGER GLASS                         P O BOX 679331                                                                                   DALLAS           TX      75267‐9331
Bintas, Mifaleen                         Address on File
BIRCHFIELD, BRANDON                      Address on File
BIRCHLER, TAMMY                          Address on File
BIRD, LARRY                              Address on File
BIRDOW, DAVINA                           Address on File
BIRDOW, FAIZON                           Address on File
BIRDSONG, JOHN                           Address on File
BIRDWELL, FELISHA                        Address on File
Birdwell, Jessica                        Address on File
BIRDWELL, JODIE                          Address on File
BIRHANE, MIKAEL                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Bisaram, Kayann                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BISHOP II, CURTIS                        Address on File
Bishop, Amber                            Address on File
Bishop, Beau                             Address on File
BISHOP, BREAWNA                          Address on File
BISHOP, KATIE                            Address on File
BISHOP, MICHAEL                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Bishop, Phyllis                          Address on File

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                                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                Consolidated Creditor Matrix

                       Name                                         Address 1                                 Address 2                Address 3                     City   State    PostalCode   Country
Bishop, Richard                                   Address on File
BISHOP, TIFFANY                                   Address on File
BISSEN, TY CHRISTIAN                              999‐18TH ST                               SUITE 3100                                                  DENVER              CO      80202
BISSEN, TY‐CHRISTIAN                              Address on File
Bittinger, Justin                                 Address on File
BITTNER, TIFFANY                                  Address on File
BIVENS, DON                                       Address on File
Bivens, Donovan                                   Address on File
BIVENS, JOHN                                      Address on File
Bivens, Misti                                     Address on File
BIXBY CENTRAL PTA                                 201 S. MAIN ST.                                                                                       BIXBY               OK      74008
BIXBY FRATERNAL ORDER OF POLICE LODGE 189         PO BOX 643                                                                                            BIXBY               OK      74008
Bixby Holdings, LP                                P. O. Box 2556                                                                                        ABILENE             TX      79604

BIXBY NORTHEAST ELEMENTARY AND INTERMEDIATE POT   11901 E 131ST STREET SOUTH                                                                            BROKEN ARROW        OK      74011
BIXBY PUBLIC SCHOOLS                              9401 E 161ST ST                                                                                       BIXBY               OK      74008
BIXBY PUBLPO BOX 70                               PO BOX 70                                                                                             BIXBY               OK      74008‐0070
Bizzell, Javel                                    Address on File
BIZZELL, LATEAKA                                  Address on File
BIZZELL, OTEKA                                    Address on File
BK Electric                                       Address Unknown
BLACK HILLS ENGERY                                P.O. BOX 6001                                                                                         RAPID CITY          SD      57709‐6001
BLACK, ALEISHA                                    Address on File
BLACK, BRANDON                                    Address on File
BLACK, DAYSHA                                     Address on File
BLACK, JARED                                      Address on File
BLACK, KATHERINE                                  Address on File
Black, Kayla                                      Address on File
Black, Keeleyanna                                 Address on File
Black, Marley                                     Address on File
Black, Riley                                      Address on File
BLACK, TERI                                       300 East John Carpenter Freeway           Suite 800                                                   Irving              TX      75062
BLACK, THOMAS                                     Address on File
BLACK, TYNON                                      Address on File
BLACKARD, DAVID                                   Address on File
BLACKBOB MARKET CENTER LLC                        6464 SUNSET BLVD., STE. 850                                                                           LOS ANGELES         CA      90028
BLACKBURN & NELSON                                444 E BERT KOUNS IND LP                                                                               SHREVEPORT          LA      71106
BLACKBURN, STEPHANIE                              Address on File
BLACKBURN‐NELSON, LLC                             9300 Mansfield Road                       Suite 119                                                   Shreveport          LA      71118
Black‐Garcia, Isabella                            300 East John Carpenter Freeway           Suite 800                                                   Irving              TX      75062
Blackhawk Network Inc.                            10615 Professional Circle                 Suite 102                                                   Reno                NV      89521
BLACKHAWK NETWORK, INC.                           P O BOX 932859                            WELLS FARGO BANK                                            ATLANTA             GA      31193
Blackman, Keundra                                 300 East John Carpenter Freeway           Suite 800                                                   Irving              TX      75062
BLACKMON, JOSIEPHINE                              Address on File
Blackmon, Rachel                                  Address on File
BLACKSON BRICK COMPANY, INC.                      4474 SIGMA RD                                                                                         DALLAS              TX      75244
BLACKSTOCK, RICHARD                               Address on File
BLACKWELL, AMBER                                  Address on File
BLACKWELL, ERIC                                   Address on File
Blackwell, Majesty                                Address on File
BLACKWELL‐KISER, KAYLEE                           Address on File
BLACKWOLF, AARON                                  Address on File
BLADE, DANIELL                                    Address on File
BLADES, LANCE                                     Address on File
BLAGG, ANDREA                                     Address on File
BLAINE, BRANDON                                   Address on File
BLAIR DESIGN & CONSTRUCTION INC.                  BLAIR GENERAL MAINTENANCE CONTRACTOR      9712 SKILLMAN ST                                            DALLAS              TX      75243

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                            Name                                    Address 1                         Address 2                Address 3                 City   State    PostalCode   Country
Blair General Maintenance Contractor           Address Unknown
BLAIR, KYLE                                    Address on File
Blair, Shaquala                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BLAKE, HUNTER                                  Address on File
BLAKELY, BARBARA                               Address on File
BLAKELY, GABRIEL                               Address on File
BLAKELY, MARY                                  Address on File
BLAKENSHIP, BRANDIE                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BLAKEY, CLARICE                                Address on File
Blanchard, Bear                                Address on File
Blanchard, Evan                                Address on File
BLANCO, BERTA                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BLANCO, IVETH                                  Address on File
BLANCO, JASMINE                                Address on File
BLANCO, LAURA                                  Address on File
BLAND, ANDAIZHA                                Address on File
Bland, Christopher                             Address on File
BLAND, ROBERT                                  Address on File
BLANKE, EUNISSA                                Address on File
Blanke, JoVohn                                 Address on File
BLANKENSHIP BROTHERS INC.                      DBA FASTSIGNS                        1401 S MERIDIAN AVE                                         OKLAHOMA CITY   OK      73108
BLANKENSHIP, BRANDIE                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BLANKENSHIP, DONNA                             Address on File
Blankenship, Jade                              Address on File
BLANKENSHIP, WILSON                            Address on File
BLANOCK, GREG                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BLANOCK, GREG                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BLASSINGAME, BRIANNA                           Address on File
BLAYLOCK, CHANDLER                             Address on File
BLEDSOE, TYLER                                 Address on File
BLETHROW, SARRAH                               Address on File
BLEVINS, ANGELENA                              Address on File
Blevins, Crystal                               Address on File
BLEVINS, JESSICA                               Address on File
BLEVINS, JOHNIE                                Address on File
BLEVINS, TERI                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BLISS ELECTRIC INC                             2620 N POLE RD                                                                                   MOORE           OK      73160
BLISS, COLE                                    Address on File
BLISSETT, TYLIQ                                Address on File
BLITZ UNITED 03 BOYS GOLD                      ATTN: RACHEL BRADLEY                 P O BOX 471077                                              TULSA           OK      74147
BLOCK & COMPANY, INC.                          605 W 47TH                           STE 200                                                     KANSAS CITY     MO      64112
BLOCKER, CHRISTOPHER                           Address on File
BLOOMER, DONTAE                                Address on File
Blue Cross and Blue Shield of Texas            1001 E Lookout Drive                                                                             Richardson      TX      75082
BLUE ISLE SOFTWARE INC 18455 MIR               3310 SW 190TH AVE                                                                                MIRAMAR         FL      33029
BLUE MOON REALTY ADVISORS, INC.                1155 S. WESTMORELAND AVE             SUITE 302                                                   LOS ANGELES     CA      90006
BLUE RIBBON AWARDS                             DBA BLUE RIBBON AWARDS               2915 W. 15TH ST.                                            PLANO           TX      75075
BLUEBONNET WASTE CONTROL                       P O BOX 223845                                                                                   DALLAS          TX      75222‐3845
BLUELINE RENTAL LLC                            P O BOX 840062                                                                                   DALLAS          TX      75284‐0062
BLYTHE, TAMIKA                                 Address on File
BO, JENNIFER                                   Address on File
BOALS, SARAH                                   Address on File
BOARD OF POLICE COMMISSIONERS                  ATTN: ACCOUNTING OFFICE              1125 LOCUST ST.                                             KANSAS CITY     MO      64106
BOATRIGHT, NATHANIAL                           Address on File
BOATWRIGHT, TAMRA                              Address on File
BOB, ALFRED                                    Address on File
Bobadilla, Cristian                            Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                             Name                               Address 1                          Address 2                Address 3                 City   State PostalCode   Country
BOBADILLA, MAYRA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Bobo, Timothy                               Address on File
BOCHELEN, JOSHUA                            Address on File
Bodden, Brandan                             Address on File
Bode, Clive                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
BODI, LEYTON                                Address on File
BODINE, DESTINY                             Address on File
BODY, WILLIAM                               Address on File
Boehm, Erin                                 Address on File
Boerstler, Britani                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Boevers, Elizabeth                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Boger, Brian                                Address on File
Boger, Jaaquon                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Boger, Justin                               Address on File
Boggess, Travis                             Address on File
BOGLE, AUBREY                               Address on File
BOH, MARSHA                                 Address on File
BOHANNAN, KRISTEN                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
BOHANNAN, KRISTEN                           Address on File
Bohanon, Kyndall                            Address on File
Bohn, Kimball                               Address on File
Bohn, Maxwell                               Address on File
BOHNERT, KEVIN                              Address on File
BOHR, TREVOR                                Address on File
BOHUSLAVICKY, JACKLYN                       Address on File
BOIKE, NOLAN                                Address on File
Bojang, Aminatta                            Address on File
Bolay, Drake                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
BOLDEN, JAWAN                               Address on File
Bolden, Tyesha                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
BOLEN, BRANDI                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
BOLEN, STEPHANIE                            Address on File
BOLEN, TIMOTHY                              Address on File
Boles, Gina                                 Address on File
BOLES, RICHARD                              Address on File
Boles, Travis                               Address on File
BOLEWARE, TEMPEST                           Address on File
BOLEWARE, TRACY                             Address on File
BOLEY, BRANDON                              Address on File
BOLIN, BLAKE                                Address on File
Bolin, Nicholas                             Address on File
BOLING, GARRETT                             Address on File
BOLING, ROBERT                              Address on File
Bolling, Evan                               Address on File
Bolling, Jaci                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
BOLNER, DANILLE                             Address on File
BOLSON, NICKOLES                            Address on File
Bolton, Tawanna                             Address on File
BOLTON, TRINITY                             Address on File
BOLZAN, ANGELA                              Address on File
Bond, Brayden                               Address on File
BONDS, TOBY                                 Address on File
Bonilla De Cruz, Yolibeth                   300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
BONILLA, ANA                                Address on File
BONILLA, BENITO                             Address on File
BONILLA, FATIMA                             Address on File
Bonilla, George                             Address on File

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                                                                                   In re: Taco Bueno Restaurants Inc.., et al.
                                                                                          Consolidated Creditor Matrix

                       Name                                          Address 1                          Address 2                Address 3                  City   State PostalCode   Country
Bonilla, Jose                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Bonilla, Luis                                    Address on File
Bonilla, Rosa                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
BONILLA, SHEILA                                  Address on File
BONNER, BAYLEN                                   Address on File
Bonner, Brendon                                  Address on File
BONNER, COURTNEY                                 Address on File
BONNER, NELDA                                    Address on File
BOOKER, GREGERY                                  Address on File
Bookman, London                                  Address on File
BOONE, MACIE                                     Address on File
Boone, Melissa                                   Address on File
BOONE, TYGER                                     Address on File
BOONE, WINTER                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Boor, Hannah                                     Address on File
BOOTH, JASPER                                    Address on File
BORDWINE, DARIN                                  Address on File
BORDWINE, KIRA                                   Address on File
BOREN, JADEN                                     Address on File
Borens, Kaylyn                                   Address on File
BORHAN, HONOR                                    Address on File
BORJAS, SARAH                                    Address on File
BORLAY, LOMBEH                                   Address on File
BORNEMAN, CALEB                                  Address on File
Borras, Jessica                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Borrego, Cristall                                Address on File
Borrego, Yolanda                                 Address on File
BORTZ, DOROTHY                                   Address on File
BOS, AARON                                       Address on File
BOSCH, ISRAEL                                    Address on File
Bosch, Jacob                                     Address on File
BOSCO, DAVID                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
BOSICK, CHELSEA                                  Address on File
BOSS, JOSEPH                                     Address on File
Bossa Olmos, Liliana                             Address on File
BOSSE, SHAELLE                                   Address on File
BOSSOLONO, JOSEPH                                Address on File
BOSTON, TARAE                                    Address on File
BOSWELL SENIOR CELEBRATION                       LESLIE BALDWIN                       PO BOX 79492                                                SAGINAW          TX   76179
Botello, Jesse                                   Address on File
BOTELLO, ROSA                                    Address on File
BOTKIN, MICHAEL                                  Address on File
BOTTLING GROUP LLC                               PEPSI BEVERAGES COMPANY              P O BOX 75948                                               CHICAGO          IL   60675‐5948

BOTTLING GROUP LLC DBA PEPSI BEVERAGES COMPANY   LOCKBOX 84188                        1950 N STEMMONS FRWY STE 50                                 DALLAS           TX   75207
BOUCHER, NATALIE                                 Address on File
BOUGH, BENJAMIN                                  Address on File
Bougio, Kyle                                     Address on File
BOUMA, JUSTIN                                    Address on File
BOUNDS, BECKY                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
BOUNDS, STEVEN                                   Address on File
BOUNEMRI, ANGELA                                 Address on File
BOURLAND, ANGELA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
BOURLAND, STEPHEN                                Address on File
Bouse, Dane                                      Address on File
BOVANCE, CHRISTOPHER                             Address on File
Bowden, Chance                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062

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                                                                       In re: Taco Bueno Restaurants Inc.., et al.
                                                                              Consolidated Creditor Matrix

                      Name                               Address 1                          Address 2                Address 3                     City   State PostalCode   Country
BOWEN LANDSCAPE                      1865 MCGEE LN., #1                                                                               LEWISVILLE          TX   75077
Bowen, Anthony                       300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
Bowen, Keith                         Address on File
Bowen, Lane                          300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
BOWEN, SHEILA                        300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
Bowens, Darius                       300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
BOWENS, DON                          Address on File
Bower, Angelica                      Address on File
Bowerman, Samantha                   300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
Bowers, Marie                        Address on File
Bowie, Alexandria                    Address on File
Bowie, Jamie                         Address on File
BOWIE, LEE                           Address on File
Bowker, Miranda                      Address on File
Bowles, Alicia                       Address on File
Bowles, Cheyenne                     Address on File
BOWLES, JEREMY                       Address on File
BOWLES, MIKAYLA                      Address on File
Bowling, Brandon                     300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
Bowman, Rayne                        300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
Bowman, Sandra                       Address on File
BOWMAN, SHANNA                       Address on File
Bowser, James                        300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
Bowser, Toni                         300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
BOX, KYLE                            Address on File
BOYAT, CRISNA                        Address on File
BOYCE, ANTHONY                       Address on File
BOYCE, CHRISTOPHER                   Address on File
BOYCE, JEREMIAH                      Address on File
Boyce, Kevon                         Address on File
BOYD II, JORY                        Address on File
BOYD, BRYCE                          Address on File
Boyd, Charisma                       Address on File
Boyd, Haley                          300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
Boyd, Jonathon                       Address on File
BOYD, JOSHUA                         Address on File
BOYD, KEVIN                          Address on File
Boyd, Marco                          Address on File
Boyd, Melody                         Address on File
Boyd, Rachelle                       Address on File
Boyd, Shawnira                       Address on File
BOYD, SHELBY                         Address on File
BOYD, SHENISE                        Address on File
BOYD, SKYLER                         Address on File
Boyd, Terrence                       Address on File
BOYD‐SCOTT, ELIJAH                   Address on File
Boyer, Nolan                         Address on File
BOYETT, SEAN                         Address on File
Boykins, Ashley                      Address on File
BOYLE, ERIC                          Address on File
BOYLES, BAILEY                       Address on File
BOYLES, GARY                         Address on File
Boyzo, Luis                          300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
Bozarth, Shyann                      Address on File
BOZEMAN, MAXWELL                     Address on File
Brabson, Lauren                      Address on File
Brack, Dalton                        300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                        Name                               Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
BRACKETT, KEVIN                        Address on File
Bradbury, Lyric                        Address on File
Braden, Mindy                          Address on File
BRADFORD, MICHAEL                      Address on File
BRADLEY INVESTORS LP                   1675 BROADWAY STE 2010                                                                           DENVER          CO      80202
Bradley, Andrew                        Address on File
BRADLEY, ANGELA                        Address on File
BRADLEY, APRIL                         Address on File
Bradley, Blake                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BRADLEY, BRANDON                       Address on File
Bradley, Carlisha                      Address on File
BRADLEY, DENNIS                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BRADLEY, ELIZABETH                     Address on File
BRADLEY, FREDERICK                     Address on File
Bradley, Javarius                      Address on File
Bradley, Sylvester                     Address on File
Bradley, Thomas                        Address on File
BRADSHAW, DAVIS                        Address on File
BRADSHAW, DOUGLAS                      Address on File
Bradshaw, Jacob                        Address on File
BRADSHAW, KALEB                        Address on File
BRADSHAW, LARRY                        Address on File
Bradshaw, Steven                       Address on File
Bradshaw, Tina                         Address on File
BRADY, CAITLIN                         Address on File
BRADY, CHRIS                           Address on File
Brady, Jon                             Address on File
BRADY, TARA                            Address on File
Braggs, Vincent                        Address on File
Braggs, William                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Braile, Alexandria                     Address on File
Brainard, Dillon                       Address on File
BRAMLAGE, MERCEDES                     Address on File
Branch, Christabella                   Address on File
Branch, Jessica                        Address on File
Branch, Kaley                          Address on File
Branch, Ora                            Address on File
BRANCH, RYAN                           Address on File
BRAND, CHRISTOPHER                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Brandon, Delana                        Address on File
Brandon, Joya                          Address on File
Brandon, Kirsten                       Address on File
BRANDON, MICHAEL                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BRANDON, MICHAEL                       Address on File
BRANDON'S PLUMBING                     17450 S SOONER RD                                                                                NORMAN          OK      73071
BRANDT, PARISH                         Address on File
BRANGER, STEVE                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BRANHMBHATT, AESHA                     Address on File
Brannon, Lisa                          Address on File
Brannon, Yasmine                       Address on File
BRANSCOM, TAYLOR                       Address on File
BRANT, MARCI                           Address on File
BRANTLEY, AMBER                        Address on File
BRASEL, CHRISTINA                      Address on File
BRASHER & CO. 3210 4TH ST.             508 GARMON DR                                                                                    EARLY           TX      76802
BRASUELL, SHELBY                       Address on File
BRASWELL, JONTAVIA                     Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                        Name                                    Address 1                         Address 2                Address 3                    City   State    PostalCode   Country
BRATONE‐ANDERSON, NATHAN                   Address on File
Bratton, Danielle                          Address on File
Braune, Mary                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BRAVO PRODUCTIONS ENTERTAINMENT, INC.      P O BOX 670625                                                                                   DALLAS             TX      75367‐0625
BRAVO, ALEX                                Address on File
Bravo, Kaitlyn                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BRAWLEY, BRADLEY                           Address on File
Brawley, Mason                             Address on File
Braxton, Thomas                            Address on File
BRAY, AARON                                Address on File
BRAY, ALISHA                               Address on File
BRAY, CASEY                                Address on File
BRAY, JAMES                                Address on File
BRAY, MARANDA                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Brayboy, Lataundria                        Address on File
Brazil, Talia                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BREAUX, NYEOKEE                            Address on File
BREAZZEAL, HOPE                            Address on File
BREAZZEAL, JONATHON                        Address on File
Breedlove, Caleb                           Address on File
Breedlove, Dominic                         Address on File
BREEDLOVE, TREVOR                          Address on File
BREESE, KOLBY                              Address on File
BREIHAN FAMILY TRUST A                     2733 KING ARTHUR CT.                                                                             LA JOLLA           CA      92037
BREIHAN, ANDREW CRAIG                      182 STONESTEPS WAY                                                                               ENCINITAS          CA      92024
BREIHAN, DANIEL JOSEPH                     182 STONESTEPS WAY                                                                               ENCINITAS          CA      92024
BRENNAN, JOSEPH                            Address on File
Brenson, Kia                               Address on File
BRENT TALLENT                              2720 PRAIRIE CREEK CT.                                                                           PLANO              TX      75075
Brent, Marlon                              Address on File
BRENTS, ROLAND                             Address on File
BRENZIKOFER, TAYLOR                        Address on File
BRESE, JENNIFER                            Address on File
Bresnehen, Francis                         Address on File
BRETON, DONOVAN                            Address on File
BRETSCHNEIDER, PAUL                        Address on File
BREUNIG, ANGELA                            Address on File
BREWER BAND BOOSTERS                       KRISTI SOUTHERN                      1025 W LOOP 820 N                                           FORT WORTH         TX      76108
BREWER, AMBER                              Address on File
Brewer, Brandon                            Address on File
BREWER, CARL                               Address on File
BREWER, CORY                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Brewer, Cory                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BREWER, JAY                                Address on File
BREWER, JEREMY                             Address on File
Brewer, Joey                               Address on File
Brewster, Sarah                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Briand Investments, LLC                    11005 Gabriel's Path                                                                             Shreveport         LA      71106
BRIANS PLUMBING INC                        901 OHIO AVE.                                                                                    WICHITA FALLS      TX      76301
Brice, Deceveon                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BRICE, SHAWNIE                             Address on File
BRIDGES, BRANDON                           Address on File
Bridges, Brittonia                         300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BRIDGES, TESSA                             Address on File
BRIDGES, TYSHA                             Address on File
Bridgewater, Kaydriona                     Address on File
Bridgewater, Taberne                       Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                       Name                                    Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
BRIETZKE, JOSEPH                           Address on File
BRIGGS, JORDAN                             Address on File
Briggs, Kaitlin                            Address on File
Bright, Zactavious                         Address on File
BRIGHTVIEW ENTERPRISE SOLUTIONS LLC        6530 W CAMPUS OVAL                   SUITE 300                                                   NEW ALBANY      OH      43054
Brim, Julie                                Address on File
BRIMLETT, RICHARD                          Address on File
BRINGSPLENTY, DUSTY                        Address on File
BRINKLEY, JASMINE                          Address on File
Brinley, Byron                             Address on File
Brinsfield, Tonya                          Address on File
BRIONES, EDER                              Address on File
Briones, Jaime                             Address on File
BRIONES, LUIS                              Address on File
BRIONES, RUBEN                             Address on File
BRISCOE, BRANDY                            Address on File
Briscoe, Cody                              Address on File
Briscoe, Michael                           Address on File
Briseno, Silvia                            Address on File
BRISTOW, DEJON                             Address on File
Brito, Aaron                               Address on File
BRITO, JANETTE                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BRITO, JOHAN                               Address on File
BRITT, TERREN                              Address on File
BRITTAIN & CRAWFORD, LLC                   3908 S FREEWAY                                                                                   FORT WORTH      TX      76110
BRITTAIN, BEAU                             Address on File
BRITTAIN, CORBIN                           Address on File
Brittenham, Dakota                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Britton, Alexander                         Address on File
BRITTON, CHRISTOPHER                       Address on File
Brizendine, Elissa                         Address on File
Brizuela Lopez, Maria                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BROADERICK, LESLIE                         Address on File
Broadway, Charles                          Address on File
BROCCOLI, ANDREW                           Address on File
BROCK, ALLISON                             Address on File
BROCK, AMANDA                              Address on File
Brock, Darresheia                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Brock, Dozia                               Address on File
Brock, Ladawn                              Address on File
Brock, Michael                             Address on File
BROCK, ROSA                                Address on File
Brock, Shannon                             Address on File
BROCKMAN, EDWARD                           Address on File
Broden, Shekinah                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BRODRICK, CHELSEA                          Address on File
BROKEN ARROW CHURCH OF CHRIST/KIDS KARE    505 E KENOSHA ST                                                                                 BROKEN ARROW    OK      74012
BROKEN ARROW PLAZA ASSOCIATES, LLC         1401 S BOULDER AVE STE 200                                                                       TULSA           OK      74119
BROKEN ARROW PUBLIC SCHOOLS                JACKIE ZIMMER                        701 S MAIN ST                                               BROKEN ARROW    OK      74312
BROKEN ARROW SOCCER CLUB                   1001 S MAIN ST                                                                                   BROKEN ARROW    OK      74012
Brooks Grease Services                     Address Unknown
BROOKS IND12330 EAST                       12330 EAST 51ST STREET                                                                           TULSA           OK      74146
BROOKS IND4420 S.W.                        4420 S.W. 29TH STREET                                                                            OKLAHOMA CITY   OK      73119‐1004
Brooks, Anastacia                          Address on File
Brooks, Andrew                             Address on File
Brooks, Blake                              Address on File
BROOKS, DRENAY                             Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                      Name                                     Address 1                          Address 2                Address 3                 City   State PostalCode   Country
Brooks, Harvie                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Brooks, Isaiah                             Address on File
BROOKS, JOLI                               Address on File
BROOKS, JORDAN                             Address on File
Brooks, Julia                              Address on File
BROOKS, MARIAH                             Address on File
BROOKS, MEYANDRA                           Address on File
Brooks, Noah                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Brooks, Quentavis                          Address on File
Brooks, Terryl                             Address on File
Brooks, Thelma                             Address on File
Brooks, Timyia                             Address on File
Broomhall, Niccolo                         Address on File
Brooner, David                             Address on File
BROONER, LOREN                             Address on File
BROPHY, DARRIAN                            Address on File
Brosam, Michaela                           Address on File
Brothers, Amanda                           Address on File
Brothers, Mathew                           Address on File
Brougher, Ryan                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Broussard, Kyle                            Address on File
BROUSSARD, OMARI                           Address on File
BROUWER, LINDA                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
BROWN CENTRAL APPRAISAL DISTRICT           403 FISK                                                                                         BROWNWOOD       TX   76801
Brown, Aaliyah                             Address on File
BROWN, ALEXANDRA                           Address on File
Brown, Alexis                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Brown, Alexis                              Address on File
BROWN, AMBER                               Address on File
Brown, Amber                               Address on File
BROWN, ANTHONY                             Address on File
Brown, Antonio                             Address on File
Brown, Arlan                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
BROWN, AUSTEIN                             Address on File
BROWN, BRANDI                              Address on File
Brown, Brandon                             Address on File
BROWN, BRENDA                              Address on File
Brown, Caitlyn                             Address on File
Brown, Caleb                               Address on File
Brown, Camryn                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
BROWN, CARMELLA                            Address on File
Brown, Carolyn                             Address on File
BROWN, CHELSEA                             Address on File
BROWN, CHRISTI                             Address on File
BROWN, CHRISTIE                            Address on File
Brown, Christopher                         Address on File
Brown, Christy                             Address on File
BROWN, CLAYTON                             Address on File
BROWN, CODY                                Address on File
BROWN, CONNIE                              Address on File
BROWN, COREY                               Address on File
BROWN, CRYSTAL                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
BROWN, DARIA                               Address on File
Brown, Darrius                             Address on File
BROWN, DARRON                              Address on File
Brown, Davarrion                           Address on File
Brown, Dejia                               Address on File

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                                                                      In re: Taco Bueno Restaurants Inc.., et al.
                                                                             Consolidated Creditor Matrix

                     Name                               Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
BROWN, DELAINA                      Address on File
BROWN, DERRICK                      Address on File
BROWN, DERRICK                      Address on File
BROWN, DESAREE                      Address on File
BROWN, DEVONE                       Address on File
Brown, Domontreal                   Address on File
BROWN, DQUAN                        Address on File
Brown, Eavin                        Address on File
BROWN, EBONY                        Address on File
BROWN, ERIC                         Address on File
BROWN, ERIN                         Address on File
BROWN, FATASHIA                     Address on File
BROWN, FREDDIE                      Address on File
Brown, Freedom                      Address on File
Brown, Ga'Niyah                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Brown, Garrett                      Address on File
Brown, Heather                      Address on File
BROWN, HEATHER                      Address on File
BROWN, HUNTER                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BROWN, JAMES                        Address on File
Brown, Jamesha                      Address on File
Brown, Jarett                       Address on File
BROWN, JASON                        Address on File
BROWN, JEANETTE                     Address on File
BROWN, JEFF                         Address on File
BROWN, JENNIFER                     Address on File
BROWN, JONATHAN                     Address on File
BROWN, JOSHUA                       Address on File
BROWN, JOSHUA                       Address on File
Brown, Justyce                      Address on File
BROWN, KAELENE                      Address on File
BROWN, KARGIL                       Address on File
BROWN, KARL                         Address on File
BROWN, KATELYNN                     Address on File
Brown, Keasia                       Address on File
BROWN, KENDRA                       Address on File
BROWN, KEYANA                       Address on File
BROWN, KIARRA                       Address on File
BROWN, KOBE                         Address on File
BROWN, KOURTNEY                     Address on File
Brown, Kristina                     Address on File
BROWN, KYLE                         Address on File
Brown, Latashia                     Address on File
Brown, Latoya                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Brown, Lavada                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BROWN, MARK                         Address on File
BROWN, MARLANDO                     Address on File
Brown, Marvin                       Address on File
Brown, Marvin                       Address on File
BROWN, MICAELA                      Address on File
BROWN, MICHAEL                      Address on File
BROWN, MICHAEL                      Address on File
BROWN, NAKIA                        Address on File
Brown, Necea                        Address on File
Brown, Nicholas                     Address on File
Brown, Paisha                       Address on File
BROWN, PAUL                         Address on File

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                                                                                     In re: Taco Bueno Restaurants Inc.., et al.
                                                                                            Consolidated Creditor Matrix

                      Name                                             Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
BROWN, QUENTIN                                     Address on File
BROWN, QWAAN                                       Address on File
BROWN, RACHEL                                      Address on File
BROWN, RICHARD                                     Address on File
BROWN, RONALD                                      Address on File
Brown, Ryan                                        Address on File
BROWN, RYAN                                        Address on File
BROWN, SHYHEIM                                     Address on File
Brown, Stefanie                                    Address on File
BROWN, SUZANN                                      Address on File
BROWN, TANASHA                                     Address on File
Brown, Tatyana                                     Address on File
BROWN, TAYLOR                                      Address on File
BROWN, TEKNIKA                                     Address on File
BROWN, TEUNDRIA                                    Address on File
Brown, Ti'Anah                                     Address on File
Brown, Tiffany                                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BROWN, TINA                                        Address on File
Brown, Trevor                                      Address on File
BROWN, TRINITY                                     Address on File
BROWN, TRISTAN                                     Address on File
Brown, Tyler                                       Address on File
BROWN, TYNIKA                                      Address on File
Brown, William                                     Address on File
BROWN, ZACH                                        Address on File
BROWNING, BROOKE                                   Address on File
BROWNING, CAITLIN                                  Address on File
BROWNING, DENISE                                   Address on File
Browning, Gabriel                                  Address on File
BROWNING, NICOLE                                   Address on File
Browning, Preston                                  Address on File
BROWN‐PAYNE, LYRIC                                 Address on File

BRUCE ALAN WOLPERT DBA PICTURE THIS GREEN SCREEN   4235 MILLVIEW LN                                                                                 DALLAS          TX      75287
BRUCE, ARIEL                                       Address on File
BRUCE, BREANNA                                     Address on File
BRUCE, CASSI                                       Address on File
BRUCE, CHRIS                                       Address on File
BRUCE, SARAH                                       Address on File
Brucker, Jessica                                   Address on File
BRUCKMANN, LUIS                                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BRUER, MELISSA                                     Address on File
Bruffy, Brenden                                    Address on File
BRULE, MIKO                                        Address on File
BRUMAKER, STERLING                                 Address on File
BRUMFIELD, OB                                      Address on File
Brumlow, Logan                                     Address on File
BRUMMETT, STARLA                                   Address on File
BRUNE, AUBREY                                      Address on File
Bruner, Alex                                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Bruner, Angel                                      Address on File
BRUNER, KENNETH                                    Address on File
Bruner, Koryeon                                    Address on File
BRUNER, LAQUITA                                    Address on File
Bruner, Maeahja                                    Address on File
BRUNER, QUANTRAIL                                  Address on File
Bruner, Ron                                        Address on File

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                                                                                     In re: Taco Bueno Restaurants Inc.., et al.
                                                                                            Consolidated Creditor Matrix

                         Name                                          Address 1                          Address 2                Address 3                    City   State    PostalCode   Country
BRUNER, TERRELL                                    Address on File
Bruno, Jessenia                                    Address on File
Brunson, Steven                                    Address on File
BRYAN CAVE LEIGHTON PAISNER LLP                    211 N BROADWAY STE 3600                                                                          ST. LOUIS          MO      63102
BRYAN CAVE LLP                                     PO BOX 503089                                                                                    ST. LOUIS          MO      63150‐3089
BRYAN HODGE EXCAVATION INC                         32446 S COOKSON BLUFF RD                                                                         PARK HILL          OK      74451
Bryan, Rodney                                      Address on File
Bryant, Amanda                                     Address on File
BRYANT, AMBER                                      Address on File
Bryant, Christian                                  Address on File
BRYANT, CHRISTIAN                                  Address on File
BRYANT, DALE                                       Address on File
Bryant, Deshaun                                    Address on File
BRYANT, ELISHA                                     Address on File
Bryant, Isaiah                                     300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Bryant, Kelli                                      Address on File
BRYANT, RHODA                                      Address on File
BRYANT, RICHARD                                    Address on File
Bryant, Stephine                                   Address on File
BRYANT, TRISTON                                    Address on File
BRYANT, WILLIAM                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BRYANT‐NORWOOD, SAMIYA                             Address on File
BRYCE, MARCEL                                      300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BRYCE, SHANON                                      Address on File
Bryley, Derrick                                    Address on File
BRYSON, JOHN                                       Address on File
BUALICEX, IMMANUEL                                 Address on File
BUCHANAN, FELIICITY                                Address on File
BUCHANAN, KAYLA                                    Address on File
Buck, Brandon                                      Address on File
BUCKINGHAM UNITED METHODIST CHURCH                 1212 WEST BUCKINGHAM RD                                                                          GARLAND            TX      75040
BUCKLER, DANIELLE                                  Address on File
Buckner, Derreco                                   Address on File
Buckner, Marcel                                    Address on File
BUCKNER, SEBASTAIN                                 Address on File
Buckwalter, Taylor                                 Address on File
Buechline, Billy                                   300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Buechline, Denise                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BUENDIA SR, FERDINAND                              Address on File
BUENDIA, FERDINAND                                 Address on File
BUENO DEVELOPMENT GROUP                            2909 Highway 62                                                                                  Jeffersonville     IN      47130
BUENO FAMILY FUND                                  1605 LBJ FREEWAY, STE. 800                                                                       FARMERS BRANCH     TX      75234
Bueno Gonzalez, Gustavo                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062

BUENO RESTAURANT GROUP (Ibrahim Investment Corp)   4613 Kellner Place                                                                               Plano              TX      75093
BUENO, MUY                                         Address on File
BUENO, TACO                                        Address on File
BUENROSTRO, GABRIELA                               Address on File
Buford, Lezlie                                     Address on File
BUGARIN, GEOFFREY                                  Address on File
BUGHER, JEFF                                       Address on File
BUILDING SPECIALTIES                               P. O. BOX 202753                                                                                 DALLAS             TX      75320‐2753
BUILDING SUPPORT SERVICES INC                      4495 W KIOWA CREEK RD                                                                            ELBERT             CO      80106
Bukowski Brothers Plumbing                         Address Unknown
BULKLEY, LELDON                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BULKLEY, LELDON                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
BULLARD, ANASTASIA                                 Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                          Name                               Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
BULLARD, DENNARD                         Address on File
BULLOCK, EMILY                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BULLOCK, EMILY                           Address on File
BULLOCK, JORDAN                          Address on File
BULLOCK, KYLE                            Address on File
BULOCK, DERON                            Address on File
Bulock, TeEricka                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Bulock, Traimaine                        Address on File
Bultongez, Elton                         Address on File
BUMGARDNER, LUCAS                        Address on File
Bump, Felicia                            Address on File
BUNCH, CHERYL                            Address on File
BUNCH, CORTNEY                           Address on File
BUNCH, JASON                             Address on File
BUNCH, JESSE                             Address on File
BUNCH, NICOLE                            Address on File
BUNN O MATIC                             COMMERCIAL DIVISION                  24315 NETWORK PLACE                                         CHICAGO          IL      60673‐1243
BUNZEL, TIFFANY                          Address on File
BUOY, DAKOTA                             Address on File
BUOY, SKYLER                             Address on File
Burch, Dylan                             Address on File
BURCHFIELD, TIFFANY                      Address on File
Burciaga, Jose                           Address on File
BURDEN, DAYQUAN                          Address on File
BURDEN, DEVEYONTAY                       Address on File
BURDEN, KYLIE                            Address on File
BURDETT II, DENNIS                       Address on File
Burdex, Tamera                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BURDICK, CURTIS                          Address on File
BURDINE, KENNETH                         Address on File
BURDINE, PAIGE                           Address on File
Burfict, Marqui                          Address on File
BURGER, FRED                             Address on File
Burgess, Charles                         Address on File
Burgess, Cory                            Address on File
BURGESS, DANGELO                         Address on File
Burgess, Fawn                            Address on File
Burgess, Jaci                            Address on File
Burgess, Laressa                         Address on File
Burgess, Orion                           Address on File
Burgess, Sage                            Address on File
Burgett, Stewart                         Address on File
BURGIN, JAMES                            Address on File
BURGIN, LUCAS                            Address on File
BURGOS, BLANCA                           Address on File
BURGOS, LILLIAN                          Address on File
BURGOS, MARIA                            Address on File
BURGOS, STEPHANIE                        Address on File
BURK, JAYCEE                             Address on File
Burk, Rebecca                            Address on File
Burk, Tara                               Address on File
BURKE, JAZMINE                           Address on File
Burkett, Dallas                          Address on File
Burkett, Jacob‐meachle                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
BURKETT, KIMBERLY                        Address on File
BURKETT, KORI                            Address on File
BURKETT, LOGAN                           Address on File

                                                                                          Page 41 of 333
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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                      Name                                    Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
Burkhalter, Deon                          Address on File
BURKLOW, ZACHARY                          Address on File
BURKS, AMBER                              Address on File
BURKS, AMY                                Address on File
Burks, Joshua                             Address on File
BURKS, JUSTIN                             Address on File
BURLEIGH, DERRECK                         Address on File
BURLEIGH, HAYDEN                          Address on File
BURLESON YOUTH ASSOCIATION, INC           HEATHER CONFESSORE                   PO BOX 162                                                  BURLESON          TX      76097
Burleson, Jeffrey                         Address on File
Burley, Tiera                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
BURNETT, CHANCE                           Address on File
BURNETT, ERIN                             Address on File
BURNETT, JOEY                             Address on File
BURNETT, LATISHA                          Address on File
BURNETT, TYRONE                           Address on File
BURNEY‐DOBBIN, TANYA                      Address on File
Burnham, Schylon                          Address on File
Burns, Ashlynn                            Address on File
Burns, Derek                              Address on File
BURNS, JADAISA                            Address on File
BURNS, JAMES                              Address on File
BURNS, KALEB                              Address on File
BURNS, KAYLEIGH                           Address on File
Burns, Kenneth                            Address on File
BURNS, KEVIN                              Address on File
BURNS, MICHAEL                            Address on File
Burns, Renata                             Address on File
BURNS, ROBERT                             Address on File
BURNS, SCOTT                              Address on File
burns, Tyshaun                            Address on File
Burr, Bailey                              Address on File
BURR, MATHEW                              Address on File
BURRELL, DONNA                            Address on File
BURRELL, KANISHA                          Address on File
BURRIS, BILL                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
BURRIS, BILL                              Address on File
BURRIS, CHRISTOPHER                       Address on File
Burris, Maria                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
BURRIS, SETH                              Address on File
Burris, Suzanne                           Address on File
BURROUGHS CONSTRUCTION                    DBA BURROUGHS CONSTRUCTION           810 NW 12TH ST                                              ARDMORE           OK      73401
BURROWS, KIARA                            Address on File
BURT, DAVID                               Address on File
Burt, DeAuna                              Address on File
BURT, MATTHEW                             Address on File
BURTON, JEREMIAH                          Address on File
Burton, Robert                            Address on File
BURTON, ZACHARY                           Address on File
BURY, DYLAN                               Address on File
BUSBY, JORDAN                             Address on File
Bush Barber, Jeremy                       Address on File
BUSH, BRANDI                              Address on File
BUSH, CHELSEA                             Address on File
Bush, Howard                              Address on File
Bush, Jaycie                              Address on File
BUSH, JUWAN                               Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                        Name                                    Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Bush, Kaitlyn                               Address on File
BUSH, NICOLE                                Address on File
BUSH, RICHARD                               Address on File
BUSHYHEAD, WILLIAM                          Address on File
BUSKIRK, JESSE                              Address on File
Bussell, Peter                              Address on File
Bussey, Lakeisha                            Address on File
Bustamante, Mark                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BUSTILLOS, MARTHA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BUSTOS, ANGELICA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BUSTOS, GUDALUPE                            Address on File
Bustos, Maria                               Address on File
BUTLER, AMBER                               Address on File
Butler, Avery                               Address on File
BUTLER, BEVERLY                             Address on File
Butler, Blake                               Address on File
BUTLER, BRADLEY                             Address on File
Butler, Camron                              Address on File
Butler, Chelsey                             Address on File
BUTLER, DERRICK                             Address on File
BUTLER, DEYJUAN                             Address on File
BUTLER, DYLAN                               Address on File
BUTLER, EDSENIO                             Address on File
BUTLER, HOPE                                Address on File
Butler, Janna                               Address on File
BUTLER, LARRY                               Address on File
Butler, Richard                             Address on File
Butler, Robert                              Address on File
Butler, Tiffany                             Address on File
BUTLER, TRISTIN                             Address on File
BUTTRUM, SCOTT                              Address on File
Butts, John                                 Address on File
Buuck, April                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BUXTON COMPANY                              2651 S. POLARIS DR.                                                                              FORT WORTH      TX      76137
BUYCKES, TERRANCE                           Address on File
Buycks, Demarkus                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
BUZBEE, JULIA                               Address on File
BVE PRECISION CONCRETE INC.                 P O BOX 161476                                                                                   FORT WORTH      TX      76161
BWA DISTRIBUTORS                            99 REGENCY PKWY. STE. 207                                                                        MANSFIELD       TX      76063
Byers, Brandon                              Address on File
BYERS, CAROL                                Address on File
Bynum, Darian                               Address on File
BYNUM, JORDAN                               Address on File
BYNUM, SONYA                                Address on File
BYRD ELECTRIC CO.                           P. O. BOX 4785                                                                                   WICHITA FALLS   TX      76308
Byrd, Ashley                                Address on File
BYRD, DAMON                                 Address on File
BYRD, DAWUAN                                Address on File
BYRD, HEATHER                               Address on File
BYRD, JHAMIA                                Address on File
Byrd, Joeby                                 Address on File
Byrd, Lilly                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Byrd, Malik                                 Address on File
BYRN, NOAH                                  Address on File
BYROM, SANDRA                               Address on File
BYRON NELSON HS BAND BOOSTER CLUB           2775 BOBCAT BLVD                                                                                 TROPHY CLUB     TX      76262
C & S DEVELOPMENT SERVICES, LLC             1545 RANGER HWY                                                                                  WEATHERFORD     TX      76086

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                         Name                               Address 1                          Address 2                Address 3                   City   State PostalCode   Country
C B PLUMBING CO.                        P O BOX 30531                                                                                    AMARILLO          TX   79120
Caballero, Ceasar                       Address on File
Cabe, Tyler                             Address on File
Cabezuela, Colin                        Address on File
CABRALES, JONATHAN                      Address on File
CABRERA, JOSE                           Address on File
CABRERA, NATALIE                        Address on File
CABRERA, WILLIAM                        Address on File
Cabrere, Maria                          Address on File
CABUENA, GRACE                          Address on File
Caceres, Normaida                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
CACHE PUBLIC SCHOOL                     102 E H AVE                                                                                      CACHE             OK   73527
CACHO CABRERA, RAMON                    Address on File
CACHO, JOSE                             Address on File
CADE, CLEON                             Address on File
Cade, Jaquanda                          Address on File
CADENA, ALEXA                           Address on File
CADENAS, VICTORIA                       Address on File
Cady, Avery                             Address on File
Caesar, Mahogany                        Address on File
CAFFEY, DILLON                          Address on File
CAGLE, ROGER                            Address on File
CAIN ELECTRICAL SUPPLY                  P. O. BOX 16489                                                                                  FORT WORTH        TX   76162
CAIN, CADE                              Address on File
Cain, Demetris                          Address on File
CAIN, JORDAN                            Address on File
Cain, Mallorie                          Address on File
Caja, Sara                              Address on File
CALAMAAN, ALICIA                        Address on File
CALDERA, MANUEL                         Address on File
Calderon, Carmen                        Address on File
Calderon, Darianna                      Address on File
CALDERON, ISABEL                        300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Calderon, Jennifer                      Address on File
CALDERON, LYDIA                         Address on File
Calderon, Mauricio                      Address on File
CALDWELL, ALELIA                        Address on File
CALDWELL, CARL                          Address on File
Caldwell, Cordarrow                     Address on File
CALDWELL, DARRELL                       Address on File
Caldwell, Jose                          Address on File
CALDWELL, LACRESHA                      Address on File
CALDWELL, LAKISHA                       Address on File
CALDWELL, MAKIYA                        Address on File
Caldwell, Micheal                       Address on File
CALDWELL, TESHAWANNA                    Address on File
CALDWELL, TIMOTHY                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
CALERO, JACQUELINE                      Address on File
CALERO, NANCY                           Address on File
CALFY, MELISSA                          Address on File
CALHOUN, JACQUIA                        Address on File
CALHOUN, THOMAS                         Address on File
CALIP, KEONNA                           Address on File
CALL PAYROLL, DO                        Address on File
CALL PAYROLL, DO                        Address on File
CALL PAYROLL, DO                        Address on File
CALL PAYROLL, DO                        Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                       Name                                    Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
CALL PAYROLL, DO                           Address on File
CALL, CIERRA                               Address on File
Callahan, Jeremy                           Address on File
CALLAWAY, MACKENZI                         Address on File
CALLIDUS SOFTWARE INC DBA LITMOS           4140 DUBLIN BLVD                                                                                 DUBLIN          CA      94568
CALLIS, JEREMY                             Address on File
CALLIS, MATTHEW                            Address on File
CALLISON, JACQUELIN                        Address on File
CALLISON, KIEFER                           Address on File
CALLOWAY, ROLANDO                          Address on File
CALVARY BAPTIST CHURCH                     9333 LINWOOD AVE                                                                                 SHREVEPORT      LA      71106
CALVERT, COURTNEY                          Address on File
CALVERT, LATOYA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Calvert, Preston                           Address on File
CALVILLO, LADONNA                          Address on File
Calvo, Ricky                               Address on File
CALZADA, JESSICA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CALZADA, JOSE                              Address on File
CALZADA, LUIS                              Address on File
CALZADA, MARIA                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Calzada, Mario                             Address on File
Camacho, Angelica                          Address on File
Camacho, Candelaria                        Address on File
Camacho, Jesse                             Address on File
CAMACHO, LORENA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Camacho, Mason                             Address on File
CAMACHO, SALENA                            Address on File
Camarena, Erica                            Address on File
Camarillo, Juan                            Address on File
CAMARILLO, JULIUS                          Address on File
CAMARILLO, VICKI                           Address on File
CAMILO, MARCELINA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CAMILO, OTILIO                             Address on File
CAMO CONTRACTING                           416 S BUTLER                                                                                     KARNES CITY     TX      78118
CAMP QUEST OKLAHOMA                        CINDY COOPER                         21414 E 39TH ST SOUTH                                       BROKEN ARROW    OK      74014
CAMP, BRANDY                               Address on File
Camp, Jaida                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CAMP, LAGENA                               Address on File
Campa, Jesus                               Address on File
CAMPBELL, BENJAMIN                         Address on File
CAMPBELL, BRION                            Address on File
Campbell, Christopher                      Address on File
CAMPBELL, GABRIANA                         Address on File
CAMPBELL, JACOB                            Address on File
Campbell, James                            Address on File
Campbell, Julie                            Address on File
CAMPBELL, KALAM                            Address on File
CAMPBELL, LEE                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Campbell, Macy                             Address on File
Campbell, Malcolm                          Address on File
CAMPBELL, MYCALA                           Address on File
CAMPBELL, RAQUEL                           Address on File
CAMPBELL, REBECCA                          Address on File
CAMPOS, ARLENE                             Address on File
CAMPOS, CARLOS                             Address on File
CAMPOS, EMILY                              Address on File
CAMPOS, ISABEL                             Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                          Name                                  Address 1                          Address 2                Address 3                    City   State    PostalCode   Country
CAMPOS, JORGE                               Address on File
Campos, Jose                                Address on File
CAMPOS, JUAN                                Address on File
CAMPOS, MARIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
CAMPOS, MARISSA                             Address on File
Campos, Martin                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
CAMPOS, MARTIN                              Address on File
Campos, Raul                                Address on File
CAMPOS, SEBASTIAN                           Address on File
CAMPOS, THOMAS                              Address on File
CAMPUZANO, GUSTAVO                          300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
CAMPUZANO, JOSEFINA                         300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
CAMPUZANO, JUAN                             Address on File
CAMPUZANO, MAURICIO                         Address on File
CANADAY, JAC'QUELINE                        Address on File
Canadian County Treasurer                   201 N Choctaw Ave                                                                                El Reno            OK      73036
Canadian County Treasurer                   PO Box 1095                                                                                      El Reno            OK      73036‐1095
CANADIAN CP.O. BOX 1                        P.O. BOX 1095                                                                                    EL RENO            OK      73036‐1095
Canady, Donnie                              Address on File
Canales, Austin                             Address on File
CANCINO, SKYLER                             Address on File
CANDELARIO, VALERIE                         Address on File
CANDICE WRIGHT DBA CANDICE GRIFFIN EVENTS   3005 RHAPSODY DR                                                                                 COLORADO SPRINGS   CO      80920
CANDLEWOOD SUITES (SAJ,LLC)                 10008 E. 73RD ST. SOUTH                                                                          TULSA              OK      74133
Canedo, Daniel                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
CANEDY, GABRIEL                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Canela, Guadalupe                           Address on File
Canela, Karine                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Canfield, Bryce                             Address on File
Canfield, Jared                             Address on File
CANN/MANSFIELD                              3190 E BROAD ST                                                                                  MANSFIELD          TX      76063
Cannady, Barbara                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Cannon jr, Vern                             Address on File
CANNON, ANGELA                              Address on File
Cannon, Gregory                             Address on File
Cannon, Jaret                               Address on File
Cannon‐Thomas, Brandon                      Address on File
CANO, ALBERTO                               Address on File
Cano, Gavin                                 Address on File
CANO, JESSE                                 Address on File
Cano, Martin                                Address on File
CANO, ROCIO                                 Address on File
CANON FINANCIAL SERVICES, INC.              158 GAITHER DR STE 200                                                                           MT LAUREL          NJ      08054
Canon, Douglas                              Address on File
Canoy, Lindsay                              Address on File
CANTABRANA, JOSE                            Address on File
CANTERBURY, COURTLAND                       Address on File
CANTRELL, CARMEN                            Address on File
Cantrell, Christopher                       Address on File
Cantrell, Deeann                            Address on File
CANTRELL, KARA                              Address on File
CANTU, EZEQUIEL                             Address on File
Cantu, Jose                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
CANTU, KEVIN                                Address on File
CANTU, NOE                                  Address on File
CAPEHART, JESSE                             Address on File
CAPERS, ADAM                                Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                        Name                                       Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
CAPETILLO, AIDAN                               Address on File
CAPITAL AREA RETAIL DEVELOPMENT II, INC.       DBA SLAUGHTER CROSSING               606 W. 12TH ST.                                             AUSTIN           TX      78701
CAPRON, BRYCE                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CAPTIVEAIRE SYS (GREASEMASTER)                 P. O. BOX 60270                                                                                  CHARLOTTE        NC      28260
CAPUANO, JACOB                                 Address on File
CAPUANO, JACOB                                 Address on File
Capulin, Mariela                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CARBAJAL, AMBER                                Address on File
CARDEN, ZACHERY                                Address on File
CARDENAS DE CHAIREZ, FLORINDA                  Address on File
Cardenas, Albert                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CARDENAS, ALEXANDER                            Address on File
CARDENAS, BRYAN                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CARDENAS, CRISTIAN                             Address on File
Cardenas, Eduardo                              Address on File
Cardenas, Jesse                                Address on File
CARDENAS, JOSE                                 Address on File
CARDENAS, LEONARDO                             Address on File
CARDENAS, LETICIA                              Address on File
Cardenas, Mariela                              Address on File
Cardenas, Matthew                              Address on File
CARDENAS, NANCY                                Address on File
CARDENAS, THOMAS                               Address on File
CARDER, BRANDON                                Address on File
CARDONA, CARLOS                                Address on File
Cardona, Janie                                 Address on File
Cardona, Perla                                 Address on File
CARDOSI, MARIAH                                Address on File
CARDOSO, SABINO                                Address on File
Cardoza, Martin                                Address on File
CAREERBUILDER.COM 13047                        13047 COLLECTION CENTER DR.                                                                      CHICAGO          IL      60693‐0130
CAREY, REUBEN                                  Address on File
CAREY, STEVEN                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CAREY, WILLIAM                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CARGIL, BOBBY                                  Address on File
Cargil, Tomasina                               Address on File
CARGILL MEAT SOLUTIONS CORPORATION             151 N MAIN                           P O BOX 2519                                                WICHITA          KS      67202‐1410
CARGLE, ANTONIO                                Address on File
Carl, Brittany                                 Address on File
CARL, LEE                                      Address on File
CARL, SHALAYNE                                 Address on File
CARL, SHANNON                                  Address on File
Carlan, William                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Carleo, Hilary                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CARLETON, ROBERT                               Address on File
Carlile, Chris                                 Address on File
Carlile, Kyle                                  Address on File
CARLIN, CHARLES                                Address on File
CARLOS, MARIA                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CARLOZZO GENERAL CONTRACTOR LLC                7412 S. GUM AVE.                                                                                 BROKEN ARROW     OK      74011
CARLSON, TRAVIS                                Address on File
CARLTON, JONATHAN                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CARLTON, RYAN                                  Address on File
CARMACK, ROBERT                                Address on File
Carmichael, Cassie                             Address on File
Carmona, Amy                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CARMONA, CARMEN                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                          Name                               Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
CARMONA, JESUS                           Address on File
Carnathan, Hailey                        Address on File
CARNEY, ALTHIA                           Address on File
Carney, Dakota                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CAROLINA BUENO, LLC                      224 East 8th Street                                                                              Tulsa           OK      74119
CAROLINA, KEELIN                         Address on File
CAROLINA, KYTREIONA                      Address on File
CAROLINE K. EAGLE LLC                    6424 FALLON COURT                                                                                PLANO           TX      75093
Caron, Nicole                            Address on File
Carothers, Wyatt                         Address on File
CARPENTER, CACY                          Address on File
Carpenter, Christianna                   Address on File
CARPENTER, COLE                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Carpenter, Daniel                        Address on File
CARPENTER, DAVID                         Address on File
CARPENTER, DEMARIO                       Address on File
CARPENTER, JOHN                          Address on File
CARPENTER, JORDON                        Address on File
CARPENTER, KIMBERLY                      Address on File
CARPENTER, MACKENZIE                     Address on File
CARPENTER, MICHAEL                       Address on File
CARPENTER, MINDY                         Address on File
CARPENTER, RYAN                          Address on File
CARPER, BROOKLYNN                        Address on File
CARPIO, HENRY                            Address on File
Carpitcher, Ronnie                       Address on File
Carr, Brandon                            Address on File
Carr, Brenda                             Address on File
Carr, Christian                          Address on File
CARR, DONNA                              Address on File
CARR, ERIC                               Address on File
CARR, JAKOB                              Address on File
Carr, Michael                            Address on File
CARR, SCOTT                              Address on File
CARRANCO ARREDONDO, MARTIN               Address on File
CARRANZA DE CRUZ, MARIBEL                Address on File
CARRANZA ROMERO, KLIFF                   Address on File
Carranza, Ashley                         Address on File
CARRANZA, ELVIS                          Address on File
CARRANZA, GERMAN                         Address on File
Carranza, Paola                          Address on File
Carrasco, Brandy                         Address on File
CARRASCO, ERICA                          Address on File
CARRASCO, HUNTER                         Address on File
CARRENO, SUSAN                           Address on File
CARREON, ALYSSA                          Address on File
Carrera Hernandez, Jaime                 Address on File
CARRERA, BEATRIZ                         Address on File
CARRERA, CHRISTIAN                       Address on File
CARRICK, DALTON                          Address on File
Carrico, Anthony                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CARRILLO, ADAN                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CARRILLO, ANGEL                          Address on File
Carrillo, Antonio                        Address on File
CARRILLO, DAVID                          Address on File
Carrillo, Diana                          Address on File
Carrillo, Gerardo                        Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                        Name                                 Address 1                          Address 2                             Address 3                    City   State    PostalCode   Country
CARRILLO, JASMINE                        Address on File
Carrillo, Jennifer                       Address on File
CARRILLO, JUAN                           Address on File
CARRILLO, LETICIA                        Address on File
Carrillo, Sam                            Address on File
CARRILLO, URIEL                          Address on File
Carrillo, Virginia                       Address on File
CARRINGTON, PAYTON                       Address on File
CARRION, JENNIFER                        Address on File
CARRISALEZ, LETICIA                      300 East John Carpenter Freeway      Suite 800                                                                 Irving            TX      75062
CARRIZAL, OLA                            Address on File
CARRIZALES, DELTA                        Address on File
Carrizales, Odalyss                      Address on File
Carrizalez, Liliana                      Address on File
CARROLL, CHASIDY                         Address on File
CARROLL, JOHN                            Address on File
CARROLL, JOHN                            Address on File
Carroll, Mikayla                         300 East John Carpenter Freeway      Suite 800                                                                 Irving            TX      75062
Carroll, Susan                           Address on File
Carroll, Taylor                          300 East John Carpenter Freeway      Suite 800                                                                 Irving            TX      75062
CARROLL, WILLIAM                         Address on File
CARROLLTON                               P.O. BOX 115120                                                                                                CARROLLTON        TX      75011‐5120
CARROLLTON FARMERS BRANCH ISD            JASON DIBBLE                         RANCHVIEW HS TRACK & FIELD                 8401 VALLEY RANCH PARKWAY E    IRVING            TX      75063
CARROLTON‐BRANCH I.SP O BOX 11           BRANCH I.S.D.                        P O BOX 110611                                                            CARROLLTON        TX      75011‐0611
Carrolton‐Farmers ISD                    Furneaux Elementary                  3210 Furneaux Lane                                                        Carrollton        TX      75007
Carson, Cody                             300 East John Carpenter Freeway      Suite 800                                                                 Irving            TX      75062
CARSON, EMANUEL                          Address on File
CARSON, FREDDY                           Address on File
CARSON, JUDITH                           300 East John Carpenter Freeway      Suite 800                                                                 Irving            TX      75062
CARSON, NICHOLAS                         Address on File
CARSON, RAVEN                            Address on File
CARTAGENA, ARAMIS                        Address on File
CARTER COU20 B. STE.                     20 B. STE. SW ROOM 104                                                                                         ARDMORE           OK      73401
Carter County Treasurer                  20 B. Ste. SW Room 104                                                                                         Ardmore           OK      73401
Carter, Anthony                          Address on File
Carter, Antonia                          Address on File
Carter, Arlene                           Address on File
Carter, Arnold                           Address on File
CARTER, ASIA                             Address on File
CARTER, BETTY                            300 East John Carpenter Freeway      Suite 800                                                                 Irving            TX      75062
Carter, Bobbie                           Address on File
CARTER, BOBBY                            Address on File
CARTER, BRITTANY                         Address on File
CARTER, BRITTANY                         Address on File
CARTER, BRITTANY                         Address on File
Carter, Bruce                            Address on File
CARTER, CARRIE                           Address on File
CARTER, DAMONTRIAYNA                     Address on File
Carter, Herman                           300 East John Carpenter Freeway      Suite 800                                                                 Irving            TX      75062
CARTER, JACQUEZ                          Address on File
CARTER, JANELLE                          Address on File
Carter, Jarrian                          Address on File
Carter, Johnna                           Address on File
CARTER, JORDYN                           Address on File
CARTER, LAKOBYIE                         Address on File
Carter, Maxine                           300 East John Carpenter Freeway      Suite 800                                                                 Irving            TX      75062
CARTER, PARIS                            Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                      Name                                  Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
Carter, Roell                           Address on File
Carter, Roneka                          Address on File
CARTER, ROSIE                           Address on File
CARTER, RYAN                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CARTER, RYAN                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CARTER, RYAN                            Address on File
CARTER, SEAN                            Address on File
CARTER, SHAYLA                          Address on File
Carter, Stanley                         Address on File
Carter, Tamika                          Address on File
Carter, Terry                           Address on File
CARTER, TIARA                           Address on File
CARTHEN, MARSHON                        Address on File
CARTWRIGHT, BRADLEY                     Address on File
CARTY, ALYSSA                           Address on File
Caruso, Evan                            Address on File
Caruther, Shaneice                      Address on File
Carver, Bailey                          Address on File
Carver, Destiny                         Address on File
Carver, Kaya                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CARVER, KUMMIA                          Address on File
CARY SERVIPO BOX 510                    PO BOX 5101                                                                                      ABILENE          TX      79608
CASAS, BRANDON                          Address on File
Case, Michael                           Address on File
CASEBIER, JENNY                         Address on File
Casey, Justin                           Address on File
CASEY, KELSEY                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Casey, Mary                             Address on File
Casey, Thomas                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Cash, Gloria                            Address on File
CASH, MIKAYLA                           Address on File
Cash, Parker                            Address on File
CASILLAS, ELIAS                         Address on File
Casillas, Nathan                        Address on File
CASON, JAMES                            Address on File
CASS COUNTY                             COLLECTOR OF REVENUE                 201 W WALL ST                                               HARRISONVILLE    MO      64701‐2397
CASS COUNTY HEALTH DEPARTMENT           300 S. MAIN ST.                                                                                  HARRISONVILLE    MO      64701
CASSADY, ISABELLA                       Address on File
CASSARES, NATALIE                       Address on File
Casselberry, Callie                     Address on File
CASSIDY, SOPHIA                         Address on File
Cassil, Joshua                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CASSO, LINDA                            Address on File
CASTANEDA, ALEX                         Address on File
CASTANEDA, ANGELICA                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CASTANEDA, CHRISTIAN                    Address on File
CASTANEDA, ELENA                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Castaneda, Ernesto                      Address on File
CASTANEDA, JULIO                        Address on File
CASTANEDA, LAURA                        Address on File
CASTANON CONTRERAS, JAIRO               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CASTANON JR, LORENZO                    Address on File
CASTELLANOS, ASHLEY                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CASTELLANOS, FIDEL                      Address on File
CASTELLANOS, MARTHA                     Address on File
CASTILLEJA, ARMANDO                     Address on File
Castilleja, Ivan                        Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                         Name                               Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
CASTILLEJA, ORALIA                      Address on File
Castillo, Anthony                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Castillo, Bridget                       Address on File
CASTILLO, CARINA                        Address on File
Castillo, Christopher                   Address on File
CASTILLO, CINDY                         Address on File
Castillo, Cinthia                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Castillo, Connie                        Address on File
Castillo, Cynthia                       Address on File
CASTILLO, DANIEL                        Address on File
CASTILLO, HEIDI                         Address on File
CASTILLO, JOSE                          Address on File
CASTILLO, JOSE                          Address on File
CASTILLO, JUAN                          Address on File
CASTILLO, JULIA                         Address on File
CASTILLO, KAREN                         Address on File
CASTILLO, MATHEW                        Address on File
CASTILLO, MIGUEL                        Address on File
CASTILLO, NICOLE                        Address on File
Castillo, Oziris                        Address on File
CASTILLO, RICARDO                       Address on File
Castillo, Rosa                          Address on File
CASTILLO, ROXANNA                       Address on File
CASTILLO, SARAH                         Address on File
CASTILLO, STEVEN                        Address on File
CASTILLO, VENNESA                       Address on File
CASTILLON, HECTOR                       Address on File
Castle, Christian                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CASTLE, CRYSTAL                         Address on File
CASTLER, TAYLOR                         Address on File
CASTOE, SEAN                            Address on File
CASTORENA, NADIA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Castro, Adelita                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CASTRO, ALEJANDRA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Castro, Alicia                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Castro, Alonso                          Address on File
Castro, Bruno                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Castro, Bryan                           Address on File
CASTRO, CHRISTOPHER                     Address on File
CASTRO, DANIELLA                        Address on File
CASTRO, EDIVALDO                        Address on File
Castro, Emma                            Address on File
Castro, Eriela                          Address on File
CASTRO, GLORIA                          Address on File
CASTRO, JOSUE                           Address on File
CASTRO, KEVIN                           Address on File
CASTRO, MARIANA                         Address on File
Castro, Mateo                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Castro, Melissa                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CASTRO, PERLA                           Address on File
Castro, Rigoberto                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CASWELL, ALEXANDRA                      Address on File
Caswell, Cody                           Address on File
CATALAN, FRANCISCO                      Address on File
Catalan, Marisela                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CATALAN, MAYRA                          Address on File
CATALAN, SARAI                          Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                            Name                                Address 1                          Address 2                             Address 3                  City   State PostalCode   Country
CATALYST AGENCY                             9502 STANTON RD                                                                                               LANTANA          TX   76226
CATALYST MECHANICAL & ELECTRICAL LLC        2402 REGENCY PLACE                   SUITE D                                                                  MOORE            OK   73160
Catano, Loni                                Address on File
CATCHINGS, COREY                            Address on File
CATEMAXCA, ROSA                             Address on File
Cates, Cassandra                            Address on File
CATHEY, DEVONTE                             Address on File
CATHOLIC JR., KENNETH                       Address on File
CATLETT, GARY                               Address on File
CATOE, KRISTOFER                            Address on File
CATOOSA PUBLIC SCHOOLS 2000 S CHEROKEE      DELLA PARISH                         WELLS MIDDLE SCHOOL                        2000 S CHEROKEE               CATOOSA          OK   74015
CATOOSA YOUTH CHEERLEADING                  REGINA GRAND                         502 S GRAVITT                                                            CATOOSA          OK   74015
CATRON, TABITHA                             300 East John Carpenter Freeway      Suite 800                                                                Irving           TX   75062
CAUDILL, COURTNEY                           Address on File
CAUDLE, SHELBY                              Address on File
Cauley, Joseph                              Address on File
Cavarrubias, Bianca                         300 East John Carpenter Freeway      Suite 800                                                                Irving           TX   75062
Cavazos, Elijah                             Address on File
Cave, Anthony                               Address on File
Cavers, Ajah                                300 East John Carpenter Freeway      Suite 800                                                                Irving           TX   75062
CAVIN, JAMES                                Address on File
CAVINESS, BRANDYE                           Address on File
Caywood, Dakota                             Address on File
CAZARES, RAVEN                              Address on File
CAZAS, OMAR                                 Address on File
CBS MECHANICAL SERVICES, INC.               5000 ENERGY PLACE                    BLDG 100                                                                 DENTON           TX   76207
CCH                                         P. O. BOX 4307                                                                                                CAROL STREAM     IL   60197‐4307
CCP SLAUGHTER MOPAC PADS LP                 8333 DOUGLAS AVE., STE. 1500                                                                                  DALLAS           TX   75225
CD MAINTENANCE COMPANY                      525 TECHNOLOGY PARK                  SUITE 125                                                                LAKE MARY        FL   32746
Cearley, Taylor                             Address on File
CEBALLOS, RENATA                            Address on File
Ceballos, Ricardo                           Address on File
CECENAS, MARIA                              Address on File
CEDAR RIDGE ELEMENTARY PTA                  9817 S MINGO RD                                                                                               TULSA            OK   74133
CEDILLO, BASILIA                            Address on File
Cedillo, Karissa                            Address on File
Cefalone, Isabella                          Address on File
Celine, Heaven                              Address on File
CELL, JACOB                                 Address on File
CENTER OPERATING COMPANY, LP                ATTN: CINDY WILLIAM                  2500 VICTORY AVE.                                                        DALLAS           TX   75219
CENTERPOINT ENERGY                          P. O. BOX 4981                                                                                                HOUSTON          TX   77210‐4981
CENTERPOINT ENERGY ARKLA                    P.O. BOX 4583                                                                                                 HOUSTON          TX   77210‐4583
CENTRAL RESTAURANT PRODUCTS                 P O BOX 78070                                                                                                 INDIANAPOLIS     IN   46278‐0070
Central State Gaskets                       Address Unknown
CENTRAL STATES BUENO, LLC                   224 East 8th Street                                                                                           Tulsa            OK   74119
CENTRAL STATES SERVICES                     P. O. BOX 1476                                                                                                LAKE OZARK       MO   65049
CENTRIC ACTUARIAL SOLUTIONS                 6800 COLLEGE BLVD                    STE 245                                                                  OVERLAND PARK    KS   66211
CENTRO MEDIA INC.                           222 W. HUBBARD                       DEPT CH 10762                                                            PALATINE         IL   60055‐0762
CEPHAS, MARVIN                              Address on File
Cera, Davne                                 Address on File
Cera, Omar                                  Address on File
CERA, SYRUS                                 Address on File
CERDA, MARTHA                               300 East John Carpenter Freeway      Suite 800                                                                Irving           TX   75062
CERDA, MICHAEL                              Address on File
CERQUOZZI, TIFFANY                          Address on File
Cervantes de la Sancha, Felix               Address on File
CERVANTES, DENISE                           Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                          Name                               Address 1                            Address 2                Address 3                  City   State    PostalCode   Country
Cervantes, Jessica                       Address on File
CERVANTES, MARIA                         300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
CERVANTES, NANCY                         Address on File
CERVANTES, YESENIA                       Address on File
CESAR SANDOVAL                           P. O. BOX 1302                                                                                     ABILENE          TX      79604
CESTARI, PATTI                           Address on File
Chacon, Amparo                           Address on File
Chacon, Joseph                           Address on File
CHACON, MARCO                            Address on File
CHACON, NATALIA                          Address on File
CHACON, NOEL                             Address on File
CHACON, PEDRO                            Address on File
CHADWICK, CHRISTOPHER                    Address on File
CHAFTON, RYAN                            Address on File
CHAIN LINK LP                            1000 TERMINAL RD                                                                                   FORT WORTH       TX      76106
CHAIREZ, ALFREDO                         Address on File
CHAIREZ, JESUS                           Address on File
Chaitezvi, Adelaide                      Address on File
Chalakee, Cody                           Address on File
CHALKER, KALEB                           Address on File
CHALLIS, LOGAN                           Address on File
Chamberlain, Christopher                 Address on File
CHAMBERS BRICK SALES INC.                P. O. BOX 207                                                                                      FORT WORTH       TX      76101
CHAMBERS, BRESHAWNA                      Address on File
CHAMBERS, CYNTHIA                        300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
CHAMBERS, CYNTHIA K                      300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Chambers, Eddie                          Address on File
Chambers, JaErica                        Address on File
CHAMBERS, JAMES                          Address on File
CHAMBERS, LORNA                          Address on File
CHAMBERS, RAHEEM                         Address on File
CHAMBERS, SHINORA                        Address on File
Chambers, Trenton                        300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
CHAMBERS, TREVOR                         Address on File
Chambers, Zoe                            Address on File
Champion, Christina                      300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Champion, Keven                          Address on File
CHANCE, ALANTAY                          Address on File
CHANCEY, DEBRA                           Address on File
CHAND, ELISE                             300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
CHANDLER, ASHLEY                         Address on File
Chandler, Conner                         Address on File
Chandler, Dramon                         300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Chandler, Kirby                          Address on File
CHANDLER, KYLE                           Address on File
CHANDLER, REBECCA                        Address on File
Chandler, Sabrina                        Address on File
CHANDLER, SHELBY                         Address on File
Chandler, Sylvia                         300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
CHANDLER'S COMMERCIAL SERVICE            DBA CHANDLER'S COMMERCIAL SERVICE      4209 CANDLEWIND LN.                                         FORT WORTH       TX      76133
Chaney, Christine                        300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Chaney, Douglas                          Address on File
Chaney, Effie                            Address on File
CHANEY, ELIZABETH                        300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Chaney, Joshua                           Address on File
CHANEY, KASEY                            Address on File
CHANEY, LEE                              Address on File

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                         Name                                    Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
Chaney, Stephany                             Address on File
CHANTHAVONG, TOBIAS                          Address on File
CHAPARRO MENDIAS, ADRIANA                    Address on File
Chaparro, Roman                              Address on File
CHAPARRO, SHAYLA                             Address on File
Chapin, Margaret                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CHAPMAN, DENISE                              Address on File
CHAPMAN, JACOBB                              Address on File
CHAPMAN, JALYNN                              Address on File
Chapman, Javondric                           Address on File
CHAPMAN, JOEL                                Address on File
CHAPMAN, TREYSON                             Address on File
CHAPMAN'S FULL SERVICE MAINTENANCE           P. O. BOX 10639                                                                                  KILLEEN          TX      76547‐0639
CHAPPA, MELINDA                              Address on File
Chappell, Ashley                             Address on File
Chappell, Carl                               Address on File
Chappell, Esaias                             Address on File
Chappelle, Khyra                             Address on File
CHARBONEAU, HEATHER                          Address on File
Chargualaf, Gabrielle                        Address on File
CHARLES CANNON DBA C3 CONSTRUCTION           PO BOX 231                                                                                       BLUE SPRINGS     MO      64013
CHARLES HASKELL ELEMENTARY PTO               HEATHER SELBY                        1701 NW 150TH ST                                            EDMOND           OK      73013
CHARLES, SABREE                              Address on File
CHARLESWORTH, ALEXANDER                      Address on File
CHARLTON, CARRIE                             Address on File
CHARLTON, JASON                              Address on File
CHASE COURIERS INC. 1002 N CENTRAL EXPWY     1220 CHAMPION CIR STE 114                                                                        CARROLLTON       TX      75006
Chase Paymentech                             2200 Ross Avenue                                                                                 Dallas           TX      75201
CHATKIN, PATRICK                             Address on File
CHAUDHARY, SHIVANSH                          Address on File
Chavarria, Celia                             Address on File
CHAVARRIA, JESSIE                            Address on File
Chavarria, Julia                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CHAVERO, EUGENIA                             Address on File
CHAVERS, JEREMY                              Address on File
Chavers, Tinika                              Address on File
CHAVERS, ZACHARY                             Address on File
CHAVES, MANUEL                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Chavez Garcia, Jessica                       Address on File
Chavez Gomez, Alex                           Address on File
CHAVEZ RAMIREZ, CECILIA                      Address on File
CHAVEZ, ADAM                                 Address on File
CHAVEZ, AMANDA                               Address on File
CHAVEZ, ANNA                                 Address on File
CHAVEZ, ANTHONY                              Address on File
Chavez, Areisy                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CHAVEZ, BORIS                                Address on File
CHAVEZ, BRENDA                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CHAVEZ, CATALINA                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CHAVEZ, CATALINA                             Address on File
CHAVEZ, CHANEL                               Address on File
CHAVEZ, FATIMA                               Address on File
CHAVEZ, FELIPA                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CHAVEZ, JENNIFER                             Address on File
CHAVEZ, KRISTIAN                             Address on File
CHAVEZ, MARIA                                Address on File
CHAVEZ, NICOLE                               Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                       Name                                     Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
CHAVEZ, RANDY                               Address on File
Chavez, Roxanna                             Address on File
CHAVEZ, SIMONE                              Address on File
CHAVIRA, ANA                                Address on File
CHAVIRA, MIRNA                              Address on File
Chavis, Kyannah                             Address on File
Cheadle, Ebony                              Address on File
CHEADLE, LADARYRON                          Address on File
CHEADLE, LYRIC                              Address on File
CHEATER, AUBREY                             Address on File
CHEATHAM, ANDRE                             Address on File
CHEATHAM, MORRIS                            Address on File
CHEATHEM, EBONY                             Address on File
CHEATTEAM, MICSAN                           Address on File
Cheek, Cierra                               Address on File
Cheek, Thomas                               Address on File
CHEEKS, AALIYAH                             Address on File
CHELF, MARY                                 Address on File
CHELF, WENDY                                Address on File
CHENOWETH, JAMES                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
CHEROKEE LANDSCAPE LLC                      P. O. BOX 12902                                                                                  LONGVIEW          TX      75607
CHERRATI, HAYAT                             Address on File
CHERRY, ANDRAE                              Address on File
CHERRY, ANTONIO                             Address on File
CHERRY, BOBBY                               Address on File
Cherry, Ja'Sondria                          Address on File
Cherry, Martin                              Address on File
CHERRY, MITCHELL                            Address on File
CHERRY, MONTIA                              Address on File
Cherry, Ronnie                              Address on File
Cheshire, Crystal                           Address on File
Chesnut, Justin                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
CHESTNUT CROSSING PROPERTY OWNER'S ASSOC.   P. O. BOX 1889                                                                                   NIXA              MO      65714
Chevier, Corey                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
CHICAGO TITLE OKLAHOMA CO.                  3401 NW 63RD ST                      SUITE 300                                                   OKLAHOMA CITY     OK      73116
CHICAS, BLANCA                              Address on File
Chicas, Lorena                              Address on File
Chicas, Lorena                              Address on File
CHICKASHA CHAMBER OF COMMERCE               221 CHICKASHA AVENUE                 P O BOX 1717                                                CHICKASHA         OK      73023‐1717
CHICO, RAEDENE                              Address on File
CHIDSEY, JOHN                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Chidsey, John                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
CHIEMEKA, UCHE                              Address on File
CHIKWE, CHIDIEGINU                          Address on File
CHILDERS, ERIC                              Address on File
CHILDERS, JOSHUA                            Address on File
Childers, Taylor                            Address on File
CHILDRESS, JENNIFER                         Address on File
CHILDRESS, RITA                             Address on File
CHILDRESS, STEVEN                           Address on File
CHILDRESS, ZACHARY                          Address on File
Childs, Jackson                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
CHILDS, QUALON                              Address on File
CHILEL ESTEBAN, ELIDA                       Address on File
CHILEL ESTEBAN, LAURA                       Address on File
Chiles, Emerald                             Address on File
CHILTON, JOSH                               Address on File

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                                                                                    In re: Taco Bueno Restaurants Inc.., et al.
                                                                                           Consolidated Creditor Matrix

                          Name                                        Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
CHIPPEAUX, CALEB                                  Address on File
CHIPPIS, TYLER                                    Address on File
CHIQUITO, JUAN                                    Address on File
Chisholm Trail Development, LLC                   221 48th Ave. NW                                                                                 Norman           OK      73072
CHISHOLM TRAIL SPORTS CLUB                        828 NORTON DR.                                                                                   SAGINAW          TX      76179
CHISM, JOHN                                       Address on File
CHISM, MICHELLE M                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CHITWOOD, DAKOTA                                  Address on File
CHOICE, DECORIUS                                  Address on File
Chong, Sandra                                     Address on File
CHOUDHURY, MAHBUB                                 Address on File
CHOWDHURY, MOHAMMED                               Address on File
CHRETIEN, KERA                                    Address on File
Chrisman, Tracy                                   Address on File
CHRISSCOTT LP                                     DBA CHRISSCOTT, LP                   5623 N WESTERN STE B                                        OKLAHOMA CITY    OK      73118
Chrisscott, L.P.                                  5623 Northwestern                                                                                Oklahoma City    OK      73118
CHRISTAL, BRANDICE                                Address on File
CHRISTENSEN, JOSEPH                               Address on File
Christenson, Matthew                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CHRISTIAN, CHRISTOPHER                            Address on File
CHRISTIAN, HAILEY                                 Address on File
CHRISTIAN, LAYTONYA                               Address on File
CHRISTIAN, WILLIE                                 Address on File
CHRISTIE, KIERRA                                  Address on File
CHRISTOPHER, ANTHONY                              Address on File
CHRISTOPHER, PRISCILLA                            Address on File
CHRIST'S ANGELS LEAVING EVERLASTING BLESSINGS     1210 YUKON DR                                                                                    GLENN HEIGHTS    TX      75154
CHRONISTER, CANDIE                                Address on File
CHRONISTER, KAREN                                 Address on File
Chrystal, Kortne                                  Address on File
CHUANG, YA                                        Address on File
CHURCH, JEANNIE                                   Address on File
CHURCH, RICHARD                                   Address on File
CHURCHILL, GARYON                                 Address on File
Chymiak Investments KS, LLC                       7500 W 151 ST St #24052                                                                          Overland Park    KS      66223
CIFUENTES, JUVILIO                                Address on File
CIFUENTES, YARENI                                 Address on File

CINDY CAPENER DBA HOUSE OF FUNK THEATRE COMPANY   CINDY CAPENER                        2553 VALLEY VIEW LANE                                       FARMERS BRANCH   TX      75234
CINTAS CORPORATION NO 2                           PO BOX 631025                                                                                    CINCINNATI       OH      45263‐1025
CINTAS NATIONAL ACCOUNTS                          P O BOX 635208                                                                                   CINCINNATI       OH      45263‐5208
CINTRON, MARIA                                    Address on File
Cintron, Milmarie                                 Address on File
CISNEROS, KEVIN                                   Address on File
CISNEROS, MARIA                                   Address on File
Cisneros, Summer                                  Address on File
CITIES IN SCHOOL                                  825 GRAND AVE                                                                                    ARDMORE          OK      73401
Citizens National Bank                            #1 Carnegie                                                                                      BROWNWOOD        TX      76801
CITY GLASS OKC, INC                               821 N.W. 5TH                                                                                     OKLAHOMA CITY    OK      73106
CITY OF ABACCOUNTING                              ACCOUNTING DIVISION                  PO BOX 60                                                   ABILENE          TX      79604
CITY OF ABILENE‐ALARM PROGRAM                     PO BOX 141596                                                                                    IRVING           TX      75014‐1596
CITY OF ABUTILITY SEP.O. BOX 3                    UTILITY SERVICE OFFFICE              P.O. BOX 3479                                               ABILENE          TX      79604‐3479
CITY OF ALLEN                                     305 CENTURY PKWY.                                                                                ALLEN            TX      75013
CITY OF ALLEN ALARM PROGRAM                       P. O. BOX 141209                                                                                 IRVING           TX      75014
CITY OF AMARILLO                                  P. O. BOX 100                                                                                    AMARILLO         TX      79105‐0100
CITY OF AMARILLO                                  P. O. BOX 1971                                                                                   AMARILLO         TX      79105‐1971
CITY OF ARDMORE WAT P.O. BOX 249                  P.O. BOX 249                                                                                     ARDMORE          OK      73402‐0249

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                                                                                      In re: Taco Bueno Restaurants Inc.., et al.
                                                                                             Consolidated Creditor Matrix

                            Name                                     Address 1                             Address 2                            Address 3                   City    State    PostalCode   Country
CITY OF ARLINGTON                                 P.O. BOX 1065                                                                                                  ARLINGTON          TX      76004
CITY OF ARLINGTON                                 MS 07‐0100                             P. O. BOX 90231                                                         ARLINGTON          TX      76004‐3231
CITY OF ARLINGTON                                 MAIL STOP 01‐0241                      101 W. ABRAM ST.                                                        ARLINGTON          TX      76010
CITY OF AUSTIN                                    P. O. BOX 2267                                                                                                 AUSTIN             TX      78783‐2267
CITY OF BALCH SPRINGS                             13503 ALEXANDER RD                                                                                             BALCH SPRINGS      TX      75181‐3401
CITY OF BARTLESVILLE                              401 S. JOHNSTONE                                                                                               BARTLESVILLE       OK      74003
CITY OF BEDFORD                                   PUBLIC WORKS DEPARTMENT                1813 RELIANCE PKWY.                                                     BEDFORD            TX      76021
CITY OF BEDFORD PO BOX 961040                     PO BOX 206430                                                                                                  DALLAS             TX      75320‐6430
CITY OF BELTON                                    506 MAIN ST.                           P. O. BOX 230                                                           BELTON             MO      64012
CITY OF BIXBY                                     P.O. BOX 70                                                                                                    BIXBY              OK      74008
CITY OF BLUE SPRINGS                              903 W. MAIN ST.                                                                                                BLUE SPRINGS       MO      64015
CITY OF BR                                        PO BOX 610                                                                                                     BROKEN ARROW       OK      74013‐0610
CITY OF BROWNWOOD                                 P O BOX 1389                                                                                                   BROWNWOOD          TX      76804
CITY OF BU141 W. REN                              141 W. RENFRO                                                                                                  BURLESON           TX      76028
CITY OF BURLESON                                  ALARM PROGRAM                          P. O. BOX 140068                                                        IRVING             TX      75014‐0068
CITY OF CAPO BOX 115                              REVENUE COLLECTIONS                    P. O. BOX 115125                                                        CARROLLTON         TX      75011‐5125
CITY OF CARROLLTON ALARM PERMITS                  ALARM PERMITS SECTION                  2025 E JACKSON                                                          CARROLLTON         TX      75006
CITY OF CEDAR HILL                                POLICE DEPT.‐ALARM UNIT                285 UPTOWN BLVD. BLDG. 200                                              CEDAR HILL         TX      75104
CITY OF CEDAR HILL                                285 UPTOWN BLVD.                       PO BOX 205232                                                           CEDAR HILL         TX      75320‐5232
CITY OF CHICKASHA                                 117 N 4TH ST                                                                                                   CHICKASHA          OK      73018
CITY OF CLAREMORE                                 PO BOX 249                                                                                                     CLAREMORE          OK      74018‐0249
CITY OF CLEBURNE                                  P.O. BOX 657                                                                                                   CLEBURNE           TX      76033
CITY OF CLEBURNE                                  10 N. ROBINSON                                                                                                 CLEBNURNE          TX      70633
CITY OF CLEBURNE‐ENVIRONMENTAL HEALTH             P. O. BOX 677                                                                                                  CLEBNURNE          TX      76033
City of Colorado Springs                          PO Box 1575                            Mail Code 225                                                           Colorado Springs   CO      80901‐1575
CITY OF COLORADO SPRINGS                          P O BOX 1575, MC155                                                                                            COLORADO SPRINGS   CO      80901‐1575
CITY OF COLORADO SPRINGS                          30 NEVADA AVE                          SUITE 401                                                               COLORADO SPRINGS   CO      80903
CITY OF COLORADO SPRINGS CITY FINANCE ACCTS REC   PO BOX 1575 MC 250                                                                                             COLORADO SPRINGS   CO      80901
CITY OF CONROE                                    P.O. BOX 3066                                                                                                  CONROE             TX      77305‐3066
CITY OF DALLAS                                    HIGH RISK REGISTRATION/INSPECTION      1551 BAYLOR ST. #400                                                    DALLAS             TX      75226
CITY OF DALLAS                                    RESTAURANT/BAR INSPECTIONS             7901 GOFORTH                                                            DALLAS             TX      75238
CITY OF DASPECIAL COPO BOX 139                    SPECIAL COLLECTIONS                    PO BOX 139076                                                           DALLAS             TX      75313‐9076
CITY OF DENISON WATER UTILITIES                   P.O. BOX 347                                                                                                   DENISON            TX      75021‐0347
CITY OF DENTON                                    PO BOX 660150                          221 N. ELM                                                              DALLAS             TX      75266‐0150
CITY OF DENTON                                    ATTN: CUSTOMER SERVICE                 601 E. HICKORY ST., STE. F                                              DENTON             TX      76205‐4305
CITY OF DEPO BOX 961                              PO BOX 660150                                                                                                  DALLAS             TX      75266‐0150
CITY OF DESOTO                                    211 E. PLEASANT RUN RD.                                                                                        DESOTO             TX      75115
CITY OF DUNCAN                                    P O BOX 969                                                                                                    DUNCAN             OK      73534
CITY OF DUNCANVILLE                               P O BOX 381449                                                                                                 DUNCANVILLE        TX      75138‐1449
CITY OF EDMOND                                    P.O. BOX 268927                                                                                                Oklahoma City      OK      73126‐8927
CITY OF EL RENO                                   101 N CHOCTAW                          P O DRAWER 700                                                          EL RENO            OK      73036
CITY OF ENDEPT OF FIP O BOX 17                    DEPT OF FINANCE                        P O BOX 1768                                                            ENID               OK      73702
CITY OF ENID 401 OWEN K. GARRIOTT RD.             401 W. OWEN K. GARRIOTT RD.                                                                                    ENID               OK      73701
CITY OF FARMERS BRANCH                            ALARM REGISTRATION/FALSE ALARM         13000 WILLIAM DODSON PKWY.                                              FARMERS BRANCH     TX      75234‐6253
City of Farmers Branch, TX                        PO Box 26364                                                                                                   Colorado Springs   CO      80936
City of Farmers Branch, TX                        130000 William Dodson Parkway                                                                                  Farmers Branch     TX      75234
City of Farmers Branch, TX                        13000 William Dodson Parkway                                                                                   Colorado Springs   TX      75234
City of Farmers Branch, TX                        PO Box 819010                                                                                                  Farmers Branch     TX      75381‐9010
CITY OF FOREST HILL                               PERMITS DEPARTMENT                     3219 CALIFORNIA PKWY.                                                   FOREST HILL        TX      76119
City of Fort Worth                                Consumer Health                        818 Missouri Ave.                                                       Fort Worth         TX      76104
City of Fort Worth                                Consumer Health                        1800 University                             Room 219                    Fort Worth         TX      76107‐3497
CITY OF FORT WORTH 1000 THROCKMORTON              P&D ALARMS UNIT                        PO BOX 99426                                                            FORT WORTH         TX      76199‐0426
CITY OF FORT WORTH CONSUMER HEALTH                CONSUMER HEALTH                        818 MISSOURI AVE.                                                       FORT WORTH         TX      76104
City of Fort Worth Fire Dept                      Revenue Group                          PO Box 17026                                                            Fort Worth         TX      76102
City of Fort Worth Fire Dept                      505 W Felix St                                                                                                 Ft Worth           TX      76115
City of Fort Worth Fire Dept                      Revenue Group                          200 Texas St.                                                           Fort Worth         TX      76102
CITY OF FORT WORTH FIRE DEPT REV                  505 W FELIX ST                                                                                                 FORT WORTH         TX      76115

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                                                                                                        Consolidated Creditor Matrix

                             Name                                    Address 1                                       Address 2                                  Address 3                    City   State    PostalCode   Country
City of Fort Worth Water Dept                   920 Fournier St                                                                                                                  Fort Worth         TX      76102
City of Frisco Health And Food Safety           6101 Frisco Square Blvd.                                                                                                         Frisco             TX      75034
City of Frisco Health And Food Safety           6859 Main St.                                                                                                                    Frisco             TX      75034
CITY OF FRISCO‐WATER                            P. O. BOX 2730                                                                                                                   FRISCO             TX      75034
City of Garland                                 1500 Highway 66                                                                                                                  Garland            TX      75040
City of Garland                                 Health Department                                   200 N. Fifth Street                                                          Garland            TX      75040
City of Garland                                 Tax Office                                          PO Box 462010                                                                Garland            TX      75046‐2010
City of Garland                                 Health Department                                   PO Box 469002                                                                Garland            TX      75046‐9002
CITY OF GARLAND                                 LYNN ROBINSON                                       600 W AVE A                                                                  GARLAND            TX      75040
CITY OF GARLAND                                 P.O. BOX 461508                                                                                                                  GARLAND            TX      75046‐1508
City of Garland Tax Office                      Charles E. Duckworth Utility Services Building      217 N. Fifth St.                                                             Garland            TX      75040
CITY OF GLENPOOL UTILITIES                      P.O. BOX 129                                        14526 S ELWOOD AVE                                                           GLENPOOL           OK      74033
CITY OF GR307 W. DAL                            RECORDS SECTION                                     307 W. DALLAS RD.                                                            GRAPEVINE          TX      76051
City of Granbury                                116 West Bridge                                                                                                                  Granbury           TX      76048
CITY OF GRANBURY                                GRANBURY MUNICIPAL UTILITIES                        P.O. BOX 969                                                                 GRANBURY           TX      76048‐0969
CITY OF GRANBURY 116 W. BRIDGE                  116 WEST BRIDGE                                                                                                                  GRANBURY           TX      76048
City of Grand Prairie                           Police Dept                                         1525 Arkansas Lane                                                           Grand Prairie      TX      75052
City of Grand Prairie                           Police Dept                                         PO Box 532473                                                                Grand Prairie      TX      75053‐2473
City of Grand Prairie Revenue                   326 W Main St                                                                                                                    Grand Prairie      TX      75050
City of Grand Prairie Revenue                   PO Box 534045                                                                                                                    Grand Prairie      TX      75053‐4045
CITY OF GRAPEVINE                               PO BOX 2503                                                                                                                      GRAPEVINE          TX      76099‐2503
City of Greenville Police Dept                  3000 Lee St                                                                                                                      Greenville         TX      75401
City of Greenville Police Dept                  PO Box 1049                                                                                                                      Greenville         TX      75403‐1049
CITY OF GREENVILLE PUBLIC H P O 1049            PUBLIC HEALTH DIVISION                              P O BOX 1049                                                                 GREENVILLE         TX      75403‐1049
CITY OF GRPO BOX 534                            PO BOX 534045                                                                                                                    GRAND PRAIRIE      TX      75053‐4045
CITY OF GRPO BOX 660814                         PO BOX 660814                                                                                                                    DALLAS             TX      75266‐0814
CITY OF GRPOLICE DEPPO BOX 532                  POLICE DEPT                                         PO BOX 532473                                                                GRAND PRAIRIE      TX      75053‐2473
City of Guthrie                                 101 N 2nd St                                                                                                                     Guthrie            OK      73044
City of Guthrie                                 101 N 2nd St                                        PO Box 908                                                                   Guthrie            OK      73044
CITY OF HA5024 BROAD                            5024 BROADWAY                                                                                                                    HALTOM CITY        TX      76117
City of Haltom City                             5024 Broadway                                                                                                                    Haltom City        TX      76117
City of Haltom City                             PO Box 143096                                                                                                                    Irving             TX      75014‐3096
City of Haltom City                             5024 Broadway Ave.                                                                                                               Haltom City        TX      76117
CITY OF HAP105 MAIN S                           PO BOX 183                                          105 MAIN ST                                                                  HASLET             TX      76052
CITY OF HARKER HEIGHTS                          305 MILLERS CROSSING                                                                                                             HARKER HEIGHTS     TX      76548
CITY OF HUTCHINSON                              P.O. BOX 1567                                                                                                                    HUTCHINSON         KS      67504‐1567
CITY OF IR825 W. IRVPO BOX 152                  PO BOX 152288                                                                                                                    IRVING             TX      75015‐2288
City of Irving                                  Public Health & Environmental                       PO Box 152288                                                                Irving             TX      75015‐2288
City of Irving                                  Public Health & Environmental                       825 W. Irving Blvd.                                                          Irving             TX      75045‐2288
CITY OF IRVING PUBLIC HEALTH                    PUBLIC HEALTH & ENVIRONMENTAL                       P. O. BOX 152288                                                             IRVING             TX      75015‐2288
City of Kansas City, MO                         Taxes‐Revenue                                       414 E. 12th Street                         City Hall, 2nd Floor              Kansas City        MO      64106
City of Kansas City, MO                         PO Box 801751                                                                                                                    Kansas City        MO      64180‐1751
City of Keller                                  Attn: Alarm Permits                                 PO Box 770                                                                   Keller             TX      76248
City of Keller                                  Alarm Program                                       PO Box 142585                                                                Irving             TX      75014‐2585
City of Keller                                  Attn: Alarm Permits                                 1100 Bear Creek Parkway                                                      Keller             TX      76244
City of Keller                                  Alarm Program                                       1100 Bear Creek Parkway                                                      Keller             TX      76244
CITY OF KELLER                                  WATER                                               P.O. BOX 427                                                                 KELLER             TX      76244
City of Kilgore                                 PO Box 990                                                                                                                       Kilgore            TX      75663
City of Kilgore                                 815 N. Kilgore St.                                                                                                               Kilgore            TX      75662
CITY OF LAKE WORTH                              3085 ADAM GRUBB                                                                                                                  LAKE WORTH         TX      76135
City of Lawton                                  212 SW 9th St.                                                                                                                   Lawton             OK      73501
City of Lawton                                  License & Permits Center                            212 SW 9th                                                                   Lawton             OK      73501
City of Lawton                                  103 SW 4th St.                                      Water Dept. #1                                                               Lawton             OK      73501‐4080
CITY OF LEPO BOX 951917                         PO BOX 951917                                                                                                                    DALLAS             TX      75395‐0001
City of Lewisville                              Health Division                                     PO Box 299002                                                                Lewisville         TX      75029‐9002
City of Lewisville                              Health Division                                     151 W. Church Street                                                         Lewisville         TX      75057
CITY OF LEWISVILLE                              151 W. CHURCH ST.                                                                                                                LEWISVILLE         TX      75057

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                                                                                      Consolidated Creditor Matrix

                              Name                                 Address 1                       Address 2                 Address 3                   City        State    PostalCode   Country
City of Lewisville ‐ Alarm Division           PO Box 299002                                                                                   Lewisville             TX      75029‐9002
City of Lewisville ‐ Alarm Division           151 W. Church Street                                                                            Lewisville             TX      75057
City of Longview                              PO Box 1952                                                                                     Longview               TX      75606
City of Longview                              300 W. Cotton St.                                                                               Longview               TX      75601
CITY OF MANSFIELD                             1200 E. BROAD ST.                                                                               MANSFIELD              TX      76063
CITY OF MCKIN                                 UTILITIES                           P.O. BOX 8000                                               MCKINNEY               TX      75070‐8000
City of McKinney                              Permits & Inspections               PO Box 517                                                  Mc Kinney              TX      75070
City of McKinney                              Alarm Program                       222 N. Tennessee St.                                        Mc Kinney              TX      75069
City of McKinney                              Permits & Inspections               222 N. Tennessee St.                                        Mc Kinney              TX      75069
City of McKinney/Alarm Program                PO Box 140549                                                                                   Irving                 TX      75039
CITY OF MCKINNEY/ALARM PROGRAM                ALARM PROGRAM                       PO BOX 140549                                               IRVING                 TX      75039
CITY OF MCPERMITS & PO BOX 517                PERMITS & INSPECTIONS               PO BOX 517                                                  MCKINNEY               TX      75070
CITY OF MEP.O. BOX 8                          P.O. BOX 850137                                                                                 MESQUITE               TX      75185‐0137
CITY OF MEPO BOX 850                          PO BOX 850287                                                                                   MESQUITE               TX      75185‐0287
City of Mesquite                              Alarm Program                       PO Box 140786                                               Mesquite               TX      75014‐0786
City of Mesquite                              Alarm Program                       1515 N. Galloway Ave                                        Mesquite               TX      75149
City of Mesquite                              Alarm Section                       1515 N. Galloway Ave                                        Mesquite               TX      75149
City of Mesquite                              Alarm Section                       PO Box 850137                                               Mesquite               TX      75185‐0137
City of Mesquite Health Office                1616 N. Galloway Ave.                                                                           Mesquite               TX      75149
City of Mesquite Health Office                PO Box 850137                                                                                   Mesquite               TX      75185‐0137
City of Midwest City                          Attn: Customer Service/License      100 N. Midwest Blvd.                                        Midwest City           OK      73110
City of Midwest City                          100 N Midwest Boulevard                                                                         Midwest City           OK      73110
City of Midwest City                          100 N Midwest Boulevard                                                                         Oklahoma City          OK      73110
City of Midwest City                          PO Box 268896                                                                                   Oklahoma City          OK      73126‐8896
City of Midwest City                          PO Box 10570                                                                                    Midwest City           OK      73140‐1570
CITY OF MO301 NORTH                           301 NORTH BROADWAY                                                                              MOORE                  OK      73160
City of Moore                                 301 North Broadway                                                                              Moore                  OK      73160
CITY OF MOORE                                 PO BOX 6830                                                                                     MOORE                  OK      73153‐0830
CITY OF MUCITY CLERKPO BOX 192                CITY CLERKS OFFICE                  PO BOX 1927                                                 MUSKOGEE               OK      74402
City of Muskogee                              City Clerk’s Office                 PO Box 1927                                                 Muskogee               OK      74402
City of Muskogee                              City Clerk’s Office                 229 W Okmulgee Ave                                          Muskogee               OK      74401
CITY OF MUSTANG                               1501 N MUSTANG RD                                                                               MUSTANG                OK      73064‐3903
CITY OF NOCITY CLERKP O BOX 37                CITY CLERKS OFFICE                  P O BOX 370                                                 NORMAN                 OK      73070
City of Norman                                City Clerk’s Office                 201 W Gray St                                               Norman                 OK      73069
City of Norman                                City Clerk’s Office                 PO Box 370                                                  Norman                 OK      73070
CITY OF NORMAN                                PO BOX 5599                                                                                     NORMAN                 OK      73070‐5599
CITY OF NORTH RICHLAND CONSUMER               CONSUMER HEALTH DIVISION            4301 CITY POINT DRIVE                                       NORTH RICHLAND HILLS   TX      76180
City of North Richland Hills                  Consumer Health Division            4301 City Point Drive                                       North Richland Hills   TX      76180
City of North Richland Hills                  Consumer Health Division            6801 Glenview Dr.                                           North Richland Hills   TX      76180
City of North Richland Hills                  Consumer Health Division            7200C Dick Fisher Dr S                                      North Richland Hills   TX      76180
CITY OF OKLAHOMA                              LICENSE DIVISION                    420 W MAIN 8th FLOOR                                        OKLAHOMA CITY          OK      73102
City of Oklahoma City                         License Division                    420 W Main 8th Floor                                        Oklahoma City          OK      73102
City of Oklahoma City                         Permit And Id Division              420 W Main 8th Floor                                        Oklahoma City          OK      73102
City of Oklahoma City                         Permit And Id Division              PO Box 268837                                               Oklahoma City          OK      73126‐8837
CITY OF OKPO BOX 265 WATER                    PO BOX 26570                                                                                    OKLAHOMA CITY          OK      73126‐0570
City of Olathe                                PO Box 768                                                                                      Olathe                 KS      66051
City of Olathe                                100 E. Santa Fe St.                                                                             Olathe                 KS      66061‐3409
CITY OF OLATHE                                P. O. BOX 2100                                                                                  OLATHE                 KS      66051‐2100
City of Plano                                 1520 Ave. K                         Ste. 210                                                    Plano                  TX      75074
City of Plano                                 1520 K Avenue                                                                                   Plano                  TX      75074
City of Plano                                 PO Box 860358                                                                                   Plano                  TX      75086‐0358
CITY OF PLANO                                 PO BOX 861990                                                                                   PLANO                  TX      75086‐1990
City of Richardson                            False Alarm Program                 PO Box 630008                                               Irving                 TX      75063
City of Richardson                            Alarm Program                       PO Box 141089                                               Irving                 TX      75014‐1089
City of Richardson                            Attn:  Alarms                       411 W. Arapaho Rd                                           Richardson             TX      75080
City of Richardson                            Alarm Program                       411 W. Arapaho Rd                                           Richardson             TX      75080‐455
City of Richardson                            False Alarm Program                 411 W. Arapaho Rd                                           Richardson             TX      75080‐455

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                                                                                   In re: Taco Bueno Restaurants Inc.., et al.
                                                                                          Consolidated Creditor Matrix

                             Name                                    Address 1                         Address 2                             Address 3                   City   State    PostalCode   Country
City of Richardson                             Attn:  Alarms                          PO Box 831907                                                           Richardson        TX      75083‐1907
CITY OF RIPO BOX 831                           PO BOX 831907                                                                                                  RICHARDSON        TX      75083‐1907
CITY OF ROANOKE                                108 S. OAK ST                                                                                                  ROANOKE           TX      76262
City of Rockwall                               Alarm Program                          PO Box 140455                                                           Irving            TX      75014‐0455
City of Rockwall                               Alarm Program                          385 S. Goliad                                                           Rockwall          TX      75087
CITY OF ROCKWALL FOOD385 S. GOLIAD             FOOD LICENSE DEPARTMENT                385 S. GOLIAD                                                           ROCKWALL          TX      75087
CITY OF ROCKWALL ‐UTILITY DEPARTMENT           UTILITY DEPARTMENT                     385 S. GOLIAD                                                           ROCKWALL          TX      75087
CITY OF ROUND ROCK                             UTILITY BILLING DEPT                   221 E. MAIN ST.                                                         ROUND ROCK        TX      78664
City of Rowlett                                Po Box 370                             4401 Rowlett Rd.                           2nd Floor                    Rowlett           TX      75030
City of Rowlett                                3901 Main St                                                                                                   Rowlett           TX      75088
City of Rowlett                                Po Box 99                              3901 Main Street                                                        Rowlett           TX      75030‐0099
City of Rowlett                                4000 Main Street                                                                                               Rowlett           TX      75088
CITY OF ROWLETT                                P. O. BOX 660054                                                                                               DALLAS            TX      75266‐0054
CITY OF ROWLETT PO BOX 370                     3901 MAIN ST                                                                                                   ROWLETT           TX      75088
City of Sachse                                 Community Development Dept.            5560 Hwy. 78                                                            Sachse            TX      75048
City of Sachse                                 3815 Sachse Road Building B                                                                                    Sachse            TX      75048‐3835
CITY OF SACHSE 5560 HWY. 78                    3815 SACHSE ROAD BUILDING B                                                                                    SACHSE            TX      75048‐3835
CITY OF SAN MARCOS                             UTILITY CUSTOMER SERVICE DIVISION      636 E. HOPKINS ST.                                                      SAN MARCOS        TX      78666‐6314
CITY OF SAPO                                   PO BOX 338                                                                                                     SAND SPRINGS      OK      74063‐0338
City of Sapulpa                                425 E Dewey                                                                                                    Sapulpa           OK      74067
City of Sapulpa                                PO Box 1130                                                                                                    Sapulpa           OK      74067‐1130
CITY OF SAPULPA                                CITY HALL                              425 EAST DEWEY                                                          SAPULPA           OK      74066
CITY OF SAPULPA PO BOX 1130                    PO BOX 1130                                                                                                    SAPULPA           OK      74067‐1130
CITY OF SHAWNEE                                PO BOX 1448                                                                                                    SHAWNEE           OK      74802‐1448
CITY OF SHERMAN PO BOX 1106                    P.O. BOX 869084                                                                                                SHERMAN           TX      75086‐9084
CITY OF SO667 N CARR                           FINANCE ADMINISTRATION                 1400 MAIN ST STE 440                                                    SOUTHLAKE         TX      76092
City of Southlake                              1400 Main St Ste 440                                                                                           Southlake         TX      76092
City of Southlake                              667 N Carroll Ave                                                                                              Southlake         TX      76092
CITY OF SOUTHLAKE‐UTILITY                      UTILITY BILLING DEPARTMENT             1400 MAIN ST., SUITE 200                                                SOUTHLAKE         TX      76092
City of Stillwater Police Department           PO Box 1725                                                                                                    Stillwater        OK      74076
City of Stillwater Police Department            701 S Lewis St                                                                                                Stillwater        OK      74074
CITY OF STILLWATER POLICE DEPARTMENT           ALARM ADMINISTRATOR                    PO BOX 1725                                                             STILLWATER        OK      74076
CITY OF STPO BOX 144                           PO BOX 1449                                                                                                    STILLWATER        OK      74076‐1449
CITY OF SULPHUR SPRINGS                        125 S DAVIS                                                                                                    SULPHUR SPRINGS   TX      75482‐2717
CITY OF TERRELL                                P O BOX 310                                                                                                    TERRELL           TX      75160
City of Tulsa                                  PO Box 451                                                                                                     Tulsa             OK      74101
City of Tulsa                                  5051 S 129th E Ave.                                                                                            Tulsa             OK      74134
City of Tulsa                                  Dept. 2583                                                                                                     Tulsa             OK      74182
City of Tulsa                                  Treasury Division                      Dept 2583                                                               Tulsa             OK      74182
City of Tulsa                                  Treasury Division                      PO Box 451                                                              Tulsa             OK      74101‐0451
City of Tulsa                                  175 East 2nd Street, Suite 690                                                                                 Tulsa             OK      74103
City of Tulsa                                  Treasury Division                      175 East 2nd Street                        Suite 690                    Tulsa             OK      74103
CITY OF TULSA                                  DEPT. 2583                             175 E. 2ND ST.                                                          TULSA             OK      74182
CITY OF WA401 SOUTH                            P.O. BOX 173                                                                                                   WAXAHACHIE        TX      75168
CITY OF WACO                                   P.O. BOX 2570                                                                                                  WACO              TX      76702‐2570
CITY OF WACO                                   P.O. BOX 2649                                                                                                  WACO              TX      76702‐2649
City of Waxahachie                             401 South Rogers                       PO Box 173                                                              Waxahachie        TX      75165
City of Waxahachie                             401 South Rogers                                                                                               Waxahachie        TX      75165
City of Waxahachie                             PO Box 173                                                                                                     Waxahachie        TX      75168
City of Waxahachie                             401 S. Rogers                                                                                                  Waxahachie        TX      75165
CITY OF WAXAHACHIE                             P.O. BOX 39                                                                                                    WAXAHACHIE        TX      75168‐0039
City of Weatherford                            PO Box 255                                                                                                     Weatherford       TX      76086
City of Weatherford                            303 Palo Pinto Street                                                                                          Weatherford       TX      76086
CITY OF WEPO BOX 255                           PO BOX 255                                                                                                     WEATHERFORD       TX      76086
City of Wichita                                City Licensing                         455 N. Main                                1st Floor                    Wichita           KS      67202
City of Wichita                                1891 Forest Ln.                                                                                                Garland           TX      75042
City of Wichita                                PO Box 547                                                                                                     Wichita           KS      67201‐0547

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                                                                                        Consolidated Creditor Matrix

                           Name                                      Address 1                      Address 2                               Address 3                    City   State    PostalCode   Country
CITY OF WICHITA                               455 N. MAIN                           TREASURY DIVISION/ACCOUNTS REC.            PO BOX 547                    WICHITA            KS      67201‐0547
CITY OF WICHITA                               PUBLIC WORKS & UTILITIES              P. O. BOX 2922                                                           WICHITA            KS      67201‐2922
City of Wichita Falls                         Alarm Section                         610 Holliday St                                                          Wichita Falls      TX      76301
City of Wichita Falls                         Public Safety Training Center         710 Flood St.                                                            Wichita Falls      TX      76301
City of Wichita Falls                         Public Health District                1700 Third St.                                                           Wichita Falls      TX      76301‐2199
CITY OF WICHITA‐ALARMS                        P. O. BOX 1162                                                                                                 WICHITA            KS      67201
CITY OF WIP.O. BOX 1                          P.O. BOX 1440                                                                                                  WICHITA FALLS      TX      76307‐7532
City of Yukon                                 Yukon Police Department               100 S. Ranchwood Blvd.                                                   Yukon              OK      73099
CITY OF YUKON                                 P O BOX 850500                                                                                                 YUKON              OK      73085
CITY OF YUKON UTILITY BILLING DEPT.           UTILITY BILLING DEPARTMENT            P.O. BOX 850500                                                          YUKON              OK      73085
City Treasurer‐KCMO                           Fire Prevention Division              635 Woodland Ave.                          #2103                         Kansas City        MO      64106
CITY UTILITIES P.O. BOX 551                   P.O. BOX 551                                                                                                   SPRINGFIELD        TX      65801
Civitarese, Jami                              300 East John Carpenter Freeway       Suite 800                                                                Irving             TX      75062
CJD INVESTMENT LLC                            913 CAROUSEL DR.                                                                                               BEDFORD            TX      76021
CJD Investment, LLC                           913 Carousel                                                                                                   Bedford            TX      76021
CLAAR, LILY                                   Address on File
CLAMPITT, CHRISTI                             Address on File
CLANCY, IAN                                   Address on File
Clanton, Brian                                Address on File
CLARDY, ROBERT                                Address on File
CLAREMORE SOCCER CLUB                         LINDSEY ERWIN                         3105 HARBOUR TOWN PL                                                     CLAREMORE          OK      74019
CLARIDGE, TRAVIS                              Address on File
CLARK, ANDREW                                 Address on File
CLARK, BENNIE                                 Address on File
CLARK, BRITTANY                               Address on File
Clark, Cameron                                Address on File
Clark, Camryn                                 Address on File
CLARK, DARIUS                                 Address on File
CLARK, DAVID                                  Address on File
Clark, Destiny                                Address on File
CLARK, EMILY                                  Address on File
CLARK, ERIKA                                  Address on File
CLARK, GAGE                                   Address on File
Clark, Georganne                              Address on File
Clark, Haleigh                                300 East John Carpenter Freeway       Suite 800                                                                Irving             TX      75062
Clark, Hannah                                 Address on File
Clark, Hunter                                 Address on File
Clark, Jaquer                                 Address on File
CLARK, JESSICA                                Address on File
CLARK, JORDAN                                 Address on File
Clark, Juakania                               Address on File
CLARK, KENNETH                                Address on File
Clark, Kerry                                  Address on File
Clark, Kevin                                  Address on File
CLARK, KONIQUA                                Address on File
CLARK, LAKIA                                  Address on File
Clark, Landon                                 Address on File
Clark, MarKayla                               Address on File
CLARK, MEGAN                                  Address on File
CLARK, RANDALL                                Address on File
CLARK, SARA                                   Address on File
Clark, Shyanna                                Address on File
CLARK, VICKI                                  Address on File
Clark, William                                Address on File
CLARKE, MAKAYLA                               Address on File
CLARKSTON, DANIEL                             Address on File
CLARKSTON, ELIZABETH                          Address on File

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                                                                                    Consolidated Creditor Matrix

                           Name                                 Address 1                         Address 2                Address 3                 City   State    PostalCode   Country
CLARKSTON, JENNIFER                        Address on File
CLARY, CANISHA                             Address on File
CLARY, CONNIE                              Address on File
CLARY, KAITLYNN                            Address on File
CLARY, PAMELA                              Address on File
Claspill, Devin                            Address on File
Claunch, Jordan                            Address on File
CLAUS, GRACE                               Address on File
CLAY COUNTY COLLECTOR                      SANDRA REEVES                        P. O. BOX 219808                                            KANSAS CITY     MO      64121‐9808
CLAY, DAVID                                Address on File
CLAY, JAMES                                Address on File
Clay, Jeremiah                             Address on File
CLAYBORN, JULIUS                           Address on File
Claycomb, Joseph                           Address on File
Clayton, Alexander                         Address on File
CLAYTON, CHRISTOPHER                       Address on File
CLAYTON, CIARA                             Address on File
Clayton, Dayelan                           Address on File
CLAYTON, JOSH                              Address on File
CLAYTON, MARCUS                            Address on File
CLAYTON, TOMMY                             Address on File
CLAYWELL, JACKLYN                          Address on File
CLEANING GUYS LLC                          5255 TEAGUE ROAD                                                                                 FORT WORTH      TX      76140
CLEARAJNA LLC                              9900 PRESTHOPE DR                    SUITE 100                                                   FRISCO          TX      75035
Cleburne Police Department‐Alarm Unit      PO Box 677                                                                                       Cleburne        TX      76033
Cleburne Police Department‐Alarm Unit      302 W Henderson St                                                                               Cleburne        TX      76033
CLEBURNE POLICE DEPARTMENT‐ALARM UNIT      302 W HENDERSON ST                                                                               CLEBNURNE       TX      76033
CLEMENT, ANGELITA                          Address on File
Clement, Caitlynn                          Address on File
CLEMENT, MICHAEL                           Address on File
CLEMENT, PHILLIP                           Address on File
Clemmer, Denise                            Address on File
CLEMMER, HEATHER                           Address on File
CLEMMONS, TAYLOR                           Address on File
Clemons, Dejanique                         Address on File
CLEMONS, D'NESHA                           Address on File
CLEMONS, HERMAN                            Address on File
Cleveland County Health Dept               250 12 Ave Ne                                                                                    Norman          OK      73071
Cleveland County Treasurer                 201 S Jones Suite 100                                                                            Norman          OK      73069
Clevenger, Brandon                         Address on File
Clevenger, Rebecca                         Address on File
CLICK, JASON                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CLICK, JASON                               Address on File
CLICK, MCKENNA                             Address on File
CLIFFORD POWER SYSTEMS INC.                P O BOX 875500                                                                                   KANSAS CITY     MO      64187‐5500
CLIFFORD, JAMES                            Address on File
CLIFTON, CAMERON                           Address on File
CLIFTON, GARY                              Address on File
Cline, Anthony                             Address on File
CLINE, KAYLEE                              Address on File
Clint, Clarence                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CLINTON, ANDREA                            Address on File
CLINTON, DOUGLAS                           Address on File
CLINTON, RACHAEL                           Address on File
CLINTON, TAQUINZIA                         Address on File
Close, Jeffrey                             Address on File
CLOTFELTER, MYKALA                         Address on File

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                                                                                               Consolidated Creditor Matrix

                           Name                                  Address 1                                   Address 2                             Address 3                  City   State    PostalCode   Country
Cloud, Kendal                                  Address on File
CLOUDAGY, LLC                                  25 HIGHLAND PARK VILLAGE                                                                                             DALLAS           TX      75205
CLOW, JASON                                    Address on File
COAST MORTGAGE CORP. & INTERNATIONAL LOAN & 
MORTGAGE CO.                                   P. O. BOX 7817                                                                                                       BEVERLY HILLS    CA      90212
Coates, Christopher                            300 East John Carpenter Freeway             Suite 800                                                                Irving           TX      75062
Coates, Kendall                                Address on File
COATS, CATLIN                                  Address on File
Coats, Emily                                   300 East John Carpenter Freeway             Suite 800                                                                Irving           TX      75062
Cobb, Adrianne                                 Address on File
Cobb, Ashley                                   Address on File
Cobb, Eddie                                    300 East John Carpenter Freeway             Suite 800                                                                Irving           TX      75062
Cobb, Jason                                    300 East John Carpenter Freeway             Suite 800                                                                Irving           TX      75062
Cobb, Jimmy                                    Address on File
Cobb, Joshua                                   300 East John Carpenter Freeway             Suite 800                                                                Irving           TX      75062
COBBIN, CHRISTAL                               300 East John Carpenter Freeway             Suite 800                                                                Irving           TX      75062
Coble, Chalmer                                 300 East John Carpenter Freeway             Suite 800                                                                Irving           TX      75062
COBLE, CHRISTIAN                               Address on File
Coblentz, M'Kaeleh                             Address on File
Cobos, Alexis                                  Address on File
COBURN, BRENT                                  Address on File
COBURN, CAMERON                                Address on File
COCA‐COLA USA                                  PO BOX 102703                                                                                                        ATLANTA          GA      30368
COCHRAN, CHRISTOPHER                           Address on File
Cochran, Dawn                                  Address on File
Cochran, Dylan                                 Address on File
COCHRAN, JUSTIN                                Address on File
COCHRAN, MARK                                  Address on File
Cochrane, Alvin                                Address on File
COCKRELL ELEMENTARY                            WHITNEY BROWN                               1075 ESCALANTE TRAILS                                                    PROSPER          TX      75078
COCKRELL, ALBERT                               Address on File
CODDINGTON, LEXSIS                             Address on File
CODY, DYLAN                                    Address on File
COE, KYLE                                      Address on File
COFFEY, THOMAS                                 Address on File
Coffman, Cynthia                               Ralph L. Carr Colorado Judicial Center      1300 Broadway                              10th Floor                    Denver           CO      80203
Coffman, Natasha                               Address on File
COFFMAN, REBECCA                               Address on File
COFFMAN, STEVEN                                Address on File
Cofield, Sydney                                Address on File
Cogdill, Kaylee                                Address on File
Cogott, David                                  Address on File
Cogswell, Michael                              Address on File
COHEN, PAIGE                                   Address on File
Coit, Teresa                                   Address on File
COIT/LEGACY L.P.                               P O BOX 833009                                                                                                       RICHARDSON       TX      75083‐3009
Coit/Legacy Limited Partnership                P.O. Box 833009                                                                                                      Dallas           TX      75083
COKER, BETHINY                                 Address on File
Coker, Brandon                                 Address on File
COKER, CAI                                     Address on File
Colberg, Christopher                           Address on File
COLBERT, AMMADI                                Address on File
Colbert, Benita                                Address on File
COLBERT, CODY                                  Address on File
Colbert, Donte                                 Address on File
COLBERT, ERICA                                 Address on File
Colbert, Rachel                                300 East John Carpenter Freeway             Suite 800                                                                Irving           TX      75062

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                                                                                           Consolidated Creditor Matrix

                           Name                                 Address 1                                Address 2                             Address 3                   City   State    PostalCode   Country
COLBERT, STACY                              Address on File
COLE CREDIT PROPERTY TRUST V INC.           ARCP MT LAWTON OK LLC                      P O BOX 29650/ ID:PT5064                                                 PHOENIX           AZ      85038‐9650
Cole, Brittany                              300 East John Carpenter Freeway            Suite 800                                                                Irving            TX      75062
Cole, Carter                                Address on File
Cole, Cassandra                             Address on File
Cole, Elton                                 Address on File
Cole, Jessica                               Address on File
COLE, KEIAIRA                               Address on File
COLE, KIMBERLE                              Address on File
COLE, MACKENZIE                             Address on File
Cole, Marcus                                Address on File
COLE, MONTEZ                                Address on File
COLE, PATRINA                               Address on File
COLE, PRECYNTHIA                            Address on File
Cole, Tomesha                               Address on File
Cole, Willie                                Address on File
COLEMAN, ALCINDOR                           Address on File
Coleman, Andre                              Address on File
Coleman, Anthony                            Address on File
COLEMAN, ANTHONY                            Address on File
Coleman, Carl                               Address on File
Coleman, Cederous                           Address on File
COLEMAN, CODY                               Address on File
Coleman, Isaiah                             Address on File
Coleman, Kaciayonna                         Address on File
COLEMAN, KENNETH                            Address on File
COLEMAN, LACORIA                            Address on File
COLEMAN, LAMONNIA                           Address on File
Coleman, Michael                            Address on File
Coleman, Rickey                             Address on File
COLEMAN, SCARLETT                           Address on File
COLEMAN, SHAYUNSA                           Address on File
COLEMAN, TRAVON                             Address on File
Coleman, Zaydah                             Address on File
COLEY, CORT                                 Address on File
COLGATE, JINX                               Address on File
COLIN, JESSICA                              300 East John Carpenter Freeway            Suite 800                                                                Irving            TX      75062
COLIN, MATTHEW                              300 East John Carpenter Freeway            Suite 800                                                                Irving            TX      75062
Colin, Matthew                              300 East John Carpenter Freeway            Suite 800                                                                Irving            TX      75062
Colin, Saul                                 Address on File
Collazo Becerra, Lydia                      Address on File
Collier, Margaret                           Address on File
COLLIER, SHAWN                              Address on File
COLLIN COUCOLLECTORPO BOX 800               COLLECTOR                                  PO BOX 8046                                                              MCKINNEY          TX      75070‐8046
Collin County Tax Assessor                  PO Box 8046                                                                                                         Mckinney          TX      75070‐8046
Collin County Tax Assessor                  Collin County Administration Building      2300 Bloomdale Rd                          Suite 2324                    McKinney          TX      75071
COLLINS, AARON                              Address on File
Collins, Angila                             Address on File
COLLINS, ANTHONY                            Address on File
Collins, Ashlynn                            Address on File
Collins, Byron                              Address on File
Collins, Chris                              Address on File
COLLINS, CRYSTAL                            Address on File
COLLINS, DALLAS                             Address on File
COLLINS, DENISE                             Address on File
COLLINS, ERICA                              300 East John Carpenter Freeway            Suite 800                                                                Irving            TX      75062
COLLINS, ERICA                              300 East John Carpenter Freeway            Suite 800                                                                Irving            TX      75062

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                Address 1                          Address 2                Address 3                  City     State    PostalCode   Country
Collins, Gabrielle                         Address on File
Collins, James                             Address on File
COLLINS, JASMINE                           Address on File
COLLINS, JEAN                              Address on File
Collins, Jeannie                           Address on File
Collins, Jessica                           Address on File
Collins, Kevin                             Address on File
COLLINS, LAKENYA                           Address on File
COLLINS, LANDRI                            Address on File
Collins, Marcus                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
COLLINS, MISTY                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Collins, Mitchell                          300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
COLLINS, PADEN                             Address on File
COLLINS, PETER                             Address on File
COLLINS, SENETHRA                          Address on File
COLLINS, SHANA                             Address on File
COLLINS, TIMOTHY                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
COLLINS, TIMOTHY M                         300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
COLLINS, ZHONA                             Address on File
COLLINS‐JIMENEZ, ANISSA                    Address on File
COLLINSVILLE CRIMSON CADETS BOOSTERS       ATTN: TRACEY JARRARD                 P O BOX 274                                                 COLLINSVILLE       OK      74021
Collinsworth, Sarmento                     Address on File
COLLUM, CLEFTON                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
COLLUM, DOYLE                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Colman, Bryan                              Address on File
Colmenares, Amber                          Address on File
COLMENERO, ELIZABETH                       Address on File
Colmenero, Javier                          Address on File
COLON, JOYLEN                              Address on File
COLON, KIEONA                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
COLO‐PAC PRODUCE, INC.                     4345 ONEIDA ST                                                                                   DENVER             CO      80216
Colorado Department of Revenue             Taxation Division                                                                                Denver             CO      80261
COLORADO DEPARTMENT OF REVENUE             1375 SHERMAN ST                                                                                  DENVER             CO      80261‐0008
COLORADO DEPARTMENT OF REVENUE             REGISTRATION CONTROL SECTION         PO BOX 17087                                                DENVER             CO      80261‐0087
COLORADO LOGOS, INC.                       7717 W 6TH AVE SUITE H                                                                           LAKEWOOD           CO      80214
Colorado Premium Beef                      Address Unknown
COLORADO SPRINGS FIREFIGHTERS FOUNDATION   3265 W CAREFREE CIRCLE               BLDG. C                                                     COLORADO SPRINGS   CO      80917
Colorado Springs Police Dept               7399 S Tucson Way Ste A‐6                                                                        Centennial         CO      80112
COLORADO SPRINGS SKY SOX                   4385 TUTT BLVD                                                                                   COLORADO SPRINGS   CO      80922
COLORADO SPRINGS UTILITIES                 P O BOX 340                                                                                      COLORADO SPRINGS   CO      80901
COLOREDGE, INC.                            LOCKBOX 3672                         PO BOX 8500                                                 PHILADELPHIA       PA      19178‐3672
COLORES, BRANDON                           Address on File
Colpaert, Alexander                        Address on File
COLSON, DAVID                              Address on File
COLSON, MCKENNA                            Address on File
Colston, Carson                            Address on File
COLSTON, CHRISTIAN                         Address on File
COLSTON, KEENAN                            Address on File
COLTON, ANNETT                             Address on File
COLVIN, KAYLEEN                            Address on File
Colvin, Lauren                             Address on File
COLVIN, SHADEN                             Address on File
COMANCHE ABIDING LIFE FELLOWSHIP           121 BUNKER HILL                                                                                  COMANCHE           TX      76442
COMANCHE C315 SW 5T                        315 SW 5TH ROOM 300                                                                              LAWTON             OK      73501‐4326
Comanche County Health Dept                P O Box 87                           1010 S. Sheridan                                            Lawton             OK      73502
Comanche County Treasurer                  315 SW  5th  Room 300                                                                            Lawton             OK      73501‐4326
COMANCHE SPRINGS ELEMENTARY PTA            TRACY MATTILA                        8100 COMANCE SPRINGS DR                                     FORT WORTH         TX      76131

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                                                                                      In re: Taco Bueno Restaurants Inc.., et al.
                                                                                             Consolidated Creditor Matrix

                         Name                                           Address 1                          Address 2                Address 3                     City   State    PostalCode   Country
COMBS JR, STEPHEN                                   Address on File
COMBS, KRISTY                                       Address on File
COMDATA INC.                                        DBA STORED VAUE SOLUTIONS            3802 RELIABLE PARKWAY                                       CHICAGO             IL      60686‐0038
COMEAUX, LAURIE                                     Address on File
COMIDA BUENO                                        11406 HWY 64 East                                                                                Tyler               TX      75707
COMIDA BUENO II                                     11406 Highway 64 East                                                                            Tyler               TX      75707
COMMERCIAL ELECTRONICS                              3421 HOLLENBERG                                                                                  BRIDGETON           MO      63044
COMMERCIAL FOODSERVICE REPAIR INC.                  410 E WASHINGTON ST                                                                              GREENVILLE          SC      29601
Commercial Kitchen & Laundry Solutions              Address Unknown
COMMERCIAL KITCHEN PARTS & SERVICE                  PO BOX 831128                                                                                    SAN ANTONIO         TX      78283
COMMERCIAL LIGHTING COMPANY                         P. O. BOX 270651                                                                                 TAMPA               FL      33688
COMMERCIAL STRIPING AND SIGNAGE, INC                825 GARNER ST                                                                                    COLORADO SPRINGS    CO      80905
COMMUNITY COFFEE COMPANY LLC                        PO BOX 919149                                                                                    DALLAS              TX      75391‐9149
COMMUNITY WASTE DISPOSAL                            2010 CALIFORNIA CROSSING                                                                         DALLAS              TX      75220‐2310
Compean, Angela                                     Address on File
COMPLETE MAINTENANCE                                1079 W. ROUND GROVE RD.              STE. 300‐357                                                LEWISVILLE          TX      75067
COMPLETE PAYMENT RECOVERY SERVICES INC.             P O BOX 30184                                                                                    TAMPA               FL      33630‐3184
COMPTON, HUNTER                                     Address on File
COMPTROLLER OF PUBLIC ACCOUNTS                      PO BOX 149348                                                                                    AUSTIN              TX      78714‐9348
COMPUTER SCIENCES CORPORATION                       TRIBRIDGE HOLDINGS                   P O BOX 829848                                              PHILADELPHIA        PA      19182‐9848
COMSTOCK, NESHA                                     Address on File
CONARD, ALBERTA                                     Address on File
CONAT, BRADY                                        Address on File
CONCHA, ELVIA                                       Address on File
CONCHA, MONICA                                      300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
CONCUR TECHNOLOGIES                                 62157 COLLECTIONS CENTER DR.                                                                     CHICAGO             IL      60693
CONDE, CHRISTINA                                    Address on File
CONDE, JUAN                                         Address on File
CONDIT, STEVEN                                      Address on File
Cone, Noah                                          Address on File
CONFLUENT DEVELOPMENT, LLC                          2240 BLAKE ST STE 200                                                                            DENVER              CO      80205
Conn, Jessica                                       300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
CONNALLY, JULIA                                     Address on File
Connelly, Amber                                     Address on File
Connelly, Kaylis                                    Address on File
Conner, Donnie                                      Address on File
Conner, Jessica                                     Address on File
Conner, MacKenzie                                   300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
CONNESS, KAYLA                                      Address on File
CONNOLLY, DEAN                                      Address on File
CONNOR, TAMEKIA                                     Address on File
Conrad, LaJeana                                     Address on File
CONSOLIDATED ELECTRICAL DISTRIBUTORS, INC.          DBA CAIN ELECTRICAL SUPPLY           P O BOX 206562                                              DALLAS              TX      75320‐6562
CONTEE, COURTNEY                                    Address on File
CONTINENTAL TRADE EXCHANGE LTD DBA INTERNATIONAL 
MONETARY SYSTEM                                     PO BOX 511307                                                                                    NEW BERLIN          WI      53151
CONTRERAS MARTINEZ, BENJAMIN                        Address on File
CONTRERAS, ALFONSO                                  Address on File
Contreras, Alma                                     Address on File
CONTRERAS, ANA                                      Address on File
CONTRERAS, ANTHONY                                  Address on File
CONTRERAS, BRET                                     Address on File
CONTRERAS, EMMA                                     Address on File
CONTRERAS, ERIC                                     Address on File
Contreras, Kobe                                     Address on File
CONTRERAS, LEE                                      Address on File
Contreras, Ma                                       Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                      Name                                         Address 1                          Address 2                Address 3                   City   State PostalCode   Country
CONTRERAS, MARIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
CONTRERAS, MARITZA                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Contreras, Melissa                             Address on File
CONTRERAS, TYBIAS                              Address on File
CONTRESAS, ALVARO                              Address on File
Convento, Karina                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Convermex                                      Address Unknown
CONWAY, KRISTEN                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
COOK JR, JOHN                                  Address on File
COOK, ALEX                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
COOK, ALEXANDER                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
COOK, ANGELA                                   Address on File
COOK, BRIDGETT                                 Address on File
Cook, Caleb                                    Address on File
COOK, CYNTHIA                                  300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
COOK, GUSTAVIA                                 Address on File
COOK, IESHIA                                   Address on File
COOK, JEFFREY                                  Address on File
COOK, JEREMY                                   Address on File
COOK, JESSICA                                  Address on File
Cook, Josh                                     Address on File
Cook, Joyce                                    Address on File
COOK, KAITLYNN                                 Address on File
COOK, MAXWELL                                  Address on File
Cook, Milan                                    Address on File
COOK, MILES                                    Address on File
Cook, Morgan                                   Address on File
COOK, SHABANNA                                 Address on File
Cook, Shawn                                    Address on File
COOK, TAYLOR                                   Address on File
COOK, TONYA                                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Cooke, Haili                                   Address on File
Cooke, Sheyne                                  Address on File
COOKING EQUIPMENT SPECIALIST, L.L.C.           3040 E. MEADOWS BLVD.                                                                            MESQUITE          TX   75150
COOKS, LATORYA                                 Address on File
COOKS, MARIYAH                                 Address on File
COOLER SOLUTIONS                               BILLY J. EAVES JR.                   11610 LAKE NICOL RD                                         TUSCALOOSA        AL   35406
Coombes, Laura                                 Address on File
Coon, Jonathan                                 300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
COONCE, WANDA                                  Address on File
COONER, KRAMER                                 Address on File
COONROD, LISA                                  Address on File
COOPER ELEMENTARY PTA                          STACEY COTHREN                       1200 KINGSBRIDGE DR                                         GARLAND           TX   75040
COOPER, ANDREW                                 Address on File
COOPER, BRYSON                                 Address on File
COOPER, CASSANDRA                              Address on File
Cooper, Cedeqah                                Address on File
Cooper, Chad                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
COOPER, CHRIS                                  Address on File
COOPER, CHRISTIAN                              Address on File
COOPER, GABRIELLE                              Address on File
Cooper, Jacklyn                                Address on File
COOPER, JALETA                                 Address on File
COOPER, JEREMY                                 Address on File
Cooper, Jesse                                  Address on File
COOPER, JUSTIN                                 Address on File
Cooper, Kaleb                                  Address on File

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                           Name                                  Address 1                          Address 2                Address 3                 City       State    PostalCode   Country
Cooper, Kristi                               Address on File
Cooper, Michael                              300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
COOPER, MICHELE                              Address on File
Cooper, Starla                               300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
Cooper, Tyannessia                           300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
COOPER, TYLER                                Address on File
COOSE, MATTHEW                               Address on File
Cope, Martha                                 Address on File
Cope, Sarah                                  Address on File
Copeland, Candace                            Address on File
COPELAND, DILLON                             Address on File
Copeland, Matthew                            Address on File
Copeland, Melonie                            Address on File
COPELIN, DESTINY                             Address on File
Coplen, William                              Address on File
COPLEY, BABETTE                              300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
COPLEY, MURLE                                300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
COPLEY, MURLE                                300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
COPPEDGE, JESSICA                            Address on File
Copper Ridge Metro District                  8390 E Crescent Pkwy                 Suite 500                                                   Greenwood Village   CO      80111
COPPER RIDGE METROPOLITAN DISTRICT           C/O BILING SERVICES                  8390 E CRESCENT PKWY, STE 600                               GREENWOOD VILLAGE   CO      80111‐2814
COPPERLEAF VILLAGE SHOPPING CENTER           6431 NORWOOD                                                                                     MISSION HILLS       KS      66208
Copperleaf Village, LLC                      6431 Norwood                                                                                     Mission Hills       KS      66208
COPUS, KIMBERLY                              Address on File
Corado, Cristal                              Address on File
CORBETT, ARYEONA                             Address on File
CORBIT, JAMES                                Address on File
Corbitt, Jwellian                            Address on File
Cordes, Hannah                               Address on File
Cordoba, Yobana                              Address on File
CORDOVA, ANTONIA                             Address on File
CORDOVA, CRYSTAL                             Address on File
Cordova, Eduardo                             300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
CORDOVA, FABIAN                              Address on File
CORDOVA, LITANY                              Address on File
Cordova, Sandra                              Address on File
COREAS, OSCAR                                300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
CORELLA‐CASTELLANOS, RAMON                   Address on File
Coreno, Antonio                              Address on File
Corey, Samantha                              Address on File
Coria, Enoelia                               Address on File
Cork, Ka'Deshia                              Address on File
CORKUM, JOANNE                               Address on File
Corman, Hugh                                 Address on File
Cornejo, Omar                                Address on File
Cornejo, Tays                                300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
CORNELISON, JACOB                            Address on File
CORNELIUS, VICTORY                           Address on File
CORNERSTONE LANDSCAPE LLC                    P O BOX 1688                                                                                     CLEBNURNE           TX      76033
CORNFORTH KEY                                DBA DAN CORNFORTH LOCK & SAFE        3201 N. 4TH                                                 ENID                OK      73701
CORNISH, STEPHEN                             Address on File
CORONA, ERIKA                                300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
CORONA, JOVANNY                              Address on File
CORONADO, ALAN                               Address on File
CORONADO, ANTHONY                            Address on File
CORONADO, ARTURO                             Address on File
Coronado, Chris                              300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062

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                                                                                      Consolidated Creditor Matrix

                       Name                                      Address 1                          Address 2                Address 3                  City   State PostalCode   Country
Coronado, Jessika                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Coronado, Stephanie                          Address on File
Coronado, Victor                             Address on File
CORONEL, SONIA                               Address on File
CORRARO, CHRISTOPHER                         Address on File
CORREA, CINTHIA                              Address on File
CORREA, YADIRA                               Address on File
CORREA, YASMIENE                             Address on File
Correro, Josh                                Address on File
CORRIGAN, REBEKAH                            Address on File
CORRIGO INC DEPT 0439                        PO BOX 120439                                                                                    DALLAS           TX   75312
Cortes, Alberto                              Address on File
CORTES, ALEJANDRO                            Address on File
CORTES, ISAAC                                Address on File
CORTES, TANIA                                Address on File
Cortez, Alma                                 Address on File
CORTEZ, CIERA                                Address on File
Cortez, Desirea                              Address on File
Cortez, Dora                                 Address on File
CORTEZ, JESUS                                Address on File
CORTEZ, MIGUEL                               Address on File
CORTEZ, MIRIAM                               Address on File
CORTEZ, NICOLASA                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Cortez, Regino                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
CORTEZ, RUDOLPH                              Address on File
CORTEZ, XAVIER                               Address on File
CORTINA, SHALEE                              Address on File
CORTINAS, JAMES                              Address on File
CORTINAS, JASMINE                            Address on File
Cortinas, Jonathan                           Address on File
Cortinez, Elizabeth                          Address on File
CORWIN, ASHLEY                               Address on File
COSERV ELECTRIC                              PO BOX 650785                                                                                    DALLAS           TX   75265‐0785
COSERV GAS                                   P. O. BOX 650785                                                                                 DALLAS           TX   75265‐0785
Cosey, Christy                               Address on File
Cosgrove, Kelley                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Cosper, Tamalaya                             Address on File
COSTILLA, AGUSTINA                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
COSTILLA, FELIX                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
COSTILLA, HERMINIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
COSTILLA, LETICIA                            Address on File
Costilla, Lizbeth                            Address on File
COSTILLA, MARIA                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
COSTILLA, VIRGINIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
COSTILLA‐ROSAS, JULIA                        Address on File
COTHAM, TYLER                                Address on File
Cotner, Christine                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
COTTEN, BILL                                 Address on File
COTTER, CHARITY                              Address on File
Cotter, Desaree                              Address on File
COTTINGHAM & BUTLER CLAIMS SERVICES, INC.    800 MAIN ST.                                                                                     DUBUQUE          IA   52001
Cotton, Alicia                               Address on File
Cotton, Jaona                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
COTTON, JMEE                                 Address on File
COTTON, MIKAIL                               Address on File
COUCH, AMBER                                 Address on File
COUCH, JOHNATHAN                             Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                      Name                                      Address 1                          Address 2                Address 3                 City    State    PostalCode   Country
COUGHENOUR, JUSTIN                          Address on File
Coughran, Cynthia                           Address on File
COULTER & COMPANY                           13711 E 66TH ST. N                                                                               OWASSO           OK      74055
Coulter, Dominic                            Address on File
Coulter, Elijah                             Address on File
Coultrip, Noelle                            Address on File
COUNTRYSIDE ELEMENTARY SCHOOL PTO           JENNY SAVAGE                         16007 W 124TH TERRACE                                       OLATHE           KS      66062
Counts, Lauren                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
COURTNEY, ASHLEY                            Address on File
Courtney, Reyaunna                          Address on File
COURTS, PAUL                                Address on File
COVARRUBIAS, ADELITA                        Address on File
COVARRUBIAS, AGUSTIN                        Address on File
Covarrubias, Joyce                          Address on File
COVARRUVIAS, CHERYL                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
COVARRUVIAS, REYNA                          Address on File
COVINGTON, ALEANNA                          Address on File
Cowan, Lisa                                 Address on File
COWAN, LORA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
COWAN, TERI                                 Address on File
COWAN, WESLEY                               Address on File
COWANS, BRANDON                             Address on File
Cowen, Ian                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Cox, Aaron                                  Address on File
COX, ADAM                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Cox, Alyssa                                 Address on File
COX, AUDREY                                 Address on File
COX, CALISE                                 Address on File
Cox, Dallas                                 Address on File
COX, DEANN                                  Address on File
Cox, Destani                                Address on File
COX, DEVIN                                  Address on File
Cox, Faith                                  Address on File
COX, GESSICA                                Address on File
Cox, Hahanna                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
COX, JAMIE                                  Address on File
Cox, Jared                                  Address on File
Cox, Jonathan                               Address on File
COX, JULIE                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
COX, JULIE                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Cox, Michael                                Address on File
COX, PERRY                                  Address on File
COX, ROBIN                                  Address on File
Cox, Romeo                                  Address on File
Cox, Shawntel                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
COX, WESLEY                                 Address on File
COYLE, NICHOLAS                             Address on File
COYNE, HAYLEY                               Address on File
Cozart JR, Rodger                           Address on File
Cozart, Tatyana                             Address on File
Cozart, Tyrone                              Address on File
Cozine, Damon                               Address on File
COZZINI BROS., INC.                         350 HOWARD AVE.                                                                                  DES PLAINES      IL      60018
CP25, LLC                                   2117 STURBRIDGE CT                                                                               WINTER SPRINGS   FL      32708
CRABTREE, BRYANNA                           Address on File
CRAFTON, BRITTNEY                           Address on File
CRAIG, DELORES                              Address on File

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                                                                                    In re: Taco Bueno Restaurants Inc.., et al.
                                                                                           Consolidated Creditor Matrix

                         Name                                         Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Craig, Gabriel                                    Address on File
CRAIG, KAREN                                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CRAIN, CHASE                                      Address on File
CRAIN, JERRELL                                    Address on File
CRAIN, MARION                                     Address on File
CRAIN, TIFFANY                                    Address on File
CRAKAAL, WILLIAM                                  Address on File
Cramer, Alicia                                    Address on File
CRANDELL, JOSHUA                                  Address on File
Crane, Elijah                                     Address on File
CRANE, NICOLE                                     Address on File
Crane, Skyler                                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CRANFILL, CALEB                                   Address on File
CRAVENS, JEORSHELL                                Address on File
Cravens, Solomon                                  Address on File
CRAVER, CHASITY                                   Address on File
Crawford, Baylee                                  Address on File
CRAWFORD, DAVID                                   Address on File
Crawford, Dontae                                  Address on File
Crawford, Dylan                                   Address on File
Crawford, Kamrehn                                 Address on File
CRAWFORD, KESHIA                                  Address on File
CRAWFORD, LATRICE                                 Address on File
CRAWFORD, RAYSHAWN                                Address on File
CRAWFORD, RUTGER                                  Address on File
CRAWFORD, SAMUEL                                  Address on File
CRAWFORD, THOMAS                                  Address on File
CRAWFORD, WILLIAM                                 Address on File
CRAYCROFT, SHARON                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CRAYTON, PIERRE                                   Address on File
CREATIVE ADVERTISING PRODUCTS, LLC                635 BERT KOUNS                       SUITE 300                                                   SHREVEPORT      LA      71118
CREATIVE MATTERS                                  DBA CREATIVE MATTERS                 11532 WENTWORTH                                             FRISCO          TX      75035
CREATIVE REALITIES, INC.                          22 AUDREY PL                                                                                     FAIRFIELD       NJ      07004
CREATIVE STITCHES INC DBA APPLAUSE PROMOTIONAL 
PRODUCTS                                          578 N BEACH ST                                                                                   FORT WORTH      TX      76111
CREEK COUN317 EAST L                              317 EAST LEE. RM 201                                                                             SAPULPA         OK      74066‐4338
Creek, Trevor                                     Address on File
Creel, Heather                                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Cregan, Abby                                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Crenshaw, Morgan                                  Address on File
CRENSHAW, WALKER                                  Address on File
CRESPI, SAMUEL                                    Address on File
CRESPO, BRAYAN                                    Address on File
CRESPO, SANDRA                                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CREWSE, SABRA                                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CREWSE, SABRA                                     Address on File
CRIBBS, COLLIN                                    Address on File
CRIBBS, ISAAC                                     Address on File
Cribbs, Keith                                     Address on File
CRIPPS, JOSHUA                                    Address on File
CRISP, CORBIN                                     Address on File
Crisp, Michael                                    Address on File
Criss, Ashleigh                                   Address on File
Crist, Avery                                      Address on File
Cristel, Martinez                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Crittendon, Zion                                  Address on File
Crittle, Braylon                                  Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                          Name                               Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
CROCKETT, AAMARI                         Address on File
CROCKHAM, CHERISCH                       Address on File
Crone, Stephanie                         Address on File
CROOK, CAMILLE                           Address on File
CROOK, CAROL                             Address on File
CROOK, CURTISHA                          Address on File
Crook, Leonna                            Address on File
Crosby Jr, Marvin                        Address on File
CROSBY, ALVEREA                          Address on File
CROSBY, DAVION                           Address on File
Crosby, Decedric                         Address on File
CROSBY, ROBERT                           Address on File
Crosby, Skila                            Address on File
Crosby‐Thomas, Cassandra                 Address on File
Cross, Herbert                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CROSS, MELISSA                           Address on File
CROSS, SHABRIA                           Address on File
Cross, Skylar                            Address on File
CROSS, TAHARI                            Address on File
CROSSLAND, MARIAH                        Address on File
Crossley, Daniel                         Address on File
Crosson, Richard                         Address on File
CROUCH, AMANDA                           Address on File
Crouch, Olivia                           Address on File
CROW, BRADEN                             Address on File
Crow, Kylie                              Address on File
CROWDER, AUNDREA                         Address on File
CRUM, LILLENE                            Address on File
CRUM, LLOYD                              Address on File
CRUMP, TREVOR                            Address on File
Cruse, Shaun                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CRUTCHER, KATHY                          Address on File
CRUTCHER‐INGRAM, JAMES                   Address on File
Crutchfield, Brayden                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CRUTCHFIELD, RYAN                        Address on File
cruz ayala, jean                         Address on File
Cruz II, Daniel                          Address on File
Cruz, Alan                               Address on File
CRUZ, ALEJANDRA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CRUZ, ANGELA                             Address on File
CRUZ, ANTHONY                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Cruz, Anthony                            Address on File
Cruz, Antonio                            Address on File
CRUZ, BRUCE                              Address on File
Cruz, Carlamarie                         Address on File
Cruz, Clayton‐Alexander                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CRUZ, DANIEL                             Address on File
CRUZ, DIEGO                              Address on File
Cruz, Jessica                            Address on File
CRUZ, JOSEPH                             Address on File
CRUZ, JUAN                               Address on File
CRUZ, KAREN                              Address on File
CRUZ, KIMBERLY                           Address on File
CRUZ, MAGDALENA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CRUZ, MARIA                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
CRUZ, MARIA                              Address on File
CRUZ, MARTNA                             Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                        Name                                  Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
Cruz, Natalie                             Address on File
CRUZ, NELSON                              14785 PRESTON RD                     SUITE 550                                                   DALLAS           TX      75254
CRUZ, NOEMI                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CRUZ, NOHEMY                              Address on File
Cruz, Oscar                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Cruz, Oscar                               Address on File
CRUZ, SILVIA                              Address on File
CRUZ‐GARAZA, MICHELLE                     Address on File
Cruzrivera, Ruben                         Address on File
CRUZ‐TOLER, JORDAN                        Address on File
CRYNES, CHRISTIEN                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CRYNES, CHRISTIEN                         Address on File
CRYSTAL LAKE PARTNERS, INC.               14 S 9TH ST                                                                                      TERRE HAUTE      IN      47807
CSC                                       PO BOX 13397                                                                                     PHILADELPHIA     PA      19101‐3397
CSI COMMUNICATIONS GROUP                  P. O. BOX 123170                                                                                 FORT WORTH       TX      76121
CSI OF OKLAHOMA, INC.                     8455 E. 590 RD.                                                                                  CATOOSA          OK      74015
CT CUSTOM STAINLESS                       2400 N KAUFMAN                                                                                   ENNIS            TX      75119
CUA, YARA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CUADRA, DELVIS                            Address on File
CUE, KALI                                 Address on File
Cuellar, Maria                            Address on File
CUETO, MARIA                              Address on File
Cuevas, Irene                             Address on File
Cuevas, Montserrat                        Address on File
CUJKO, DEREK                              Address on File
CULBERSON, TERRENCE                       Address on File
CULBERTSON, AMANDA                        Address on File
Culbertson, Zachary                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Culbreath, Demetria                       Address on File
CULINARY FOCUS, LLC                       8300 ESTERS BLVD, SUITE 930                                                                      IRVING           TX      75063
CULINARY KITCHEN & BEYOND                 RAQUEL MIRELES                       2156 W NORTHWEST#312                                        DALLAS           TX      75220
Cullen, Eric                              Address on File
CULLIGAN OF GREATER KANSAS CITY           PO BOX 8743142                                                                                   KANSAS CITY      MO      64184‐4141
CULLIGAN WP.O. BOX 1                      DBA CULLIGAN OF ENID                 P.O. BOX 1309                                               ENID             OK      73702
CULLISON, CODY                            Address on File
CULLOP, TYLER                             Address on File
CULLUM, WILLIAM                           Address on File
Culp, Cody                                Address on File
CULPEPER, TRA                             Address on File
Culpepper, Brooklyn                       Address on File
CUMMINGS, BILLY                           Address on File
CUMMINGS, CAMERON                         Address on File
CUMMINGS, CANDICE                         Address on File
Cummings, Tamra                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CUMMINGS, TAYLOR                          Address on File
CUMMINGS, TREVOR                          Address on File
CUMULUS RADIO CORPORATIOIN                3649 MOMENTUM PLACE                                                                              CHICAGO          IL      60689‐5336
Cunio, Ashlie                             Address on File
Cunniff, Cody                             Address on File
Cunniff, Jayne                            Address on File
CUNNINGHAM PLUMBING                       2723 W. 40TH ST.                                                                                 TULSA            OK      74107
Cunningham, Hayden                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
CUNNINGHAM, MARIAH                        Address on File
Cupp, Jennifer                            Address on File
Cupps, Lisa                               Address on File
CURATOLO, EDWARD                          Address on File
CURIEL, JULIA                             Address on File

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                         Name                                  Address 1                             Address 2                Address 3                     City   State    PostalCode   Country
CURINGTON, STEPHANIE                       Address on File
CURLL, JUSTIN                              Address on File
Currey, Justin                             300 East John Carpenter Freeway         Suite 800                                                   Irving              TX      75062
Curry Alexander, Cotey                     Address on File
Curry Jr, Lakefa                           Address on File
CURRY, ASHLEY                              Address on File
Curry, Dillon                              Address on File
CURRY, KEN                                 Address on File
Curry, Kenneth                             Address on File
CURRY, KEVIN                               Address on File
CURRY, LAKEFA                              Address on File
CURRY, RHONDA                              Address on File
Curtis, Cassie                             Address on File
Curtis, Josh                               Address on File
Curtis, Kathy                              Address on File
CURTIS, MONTRELL                           Address on File
CURTIS, TONY                               Address on File
CURY, JONATHON                             Address on File
CUSHINBERRY, TORRENCE                      Address on File
Cushionberry, Veronica                     Address on File
CUSHMAN & WAKEFIELD OF TEXAS INC           VALUATION & ADVISORY                    2555 E CAMELBACK STE 300                                    PHOENIX             AZ      85016
Custer, Katie                              Address on File
CUSTOM STAINLESS                           20 S MAY                                                                                            OKLAHOMA CITY       OK      73107‐6832
Cuthbert, Samaria                          Address on File
CUTLER, EVERETT                            Address on File
CUTSHAW, SCOTT                             300 East John Carpenter Freeway         Suite 800                                                   Irving              TX      75062
Cutting Edge Landscaping                   Address Unknown
CUTTING EDGE QUALITY LAWN CARE             DBA CUTTING EDGE QUALITY LAWN CARE      P. O. BOX 521                                               JENKS               OK      74037
Cutts, Xzavier                             300 East John Carpenter Freeway         Suite 800                                                   Irving              TX      75062
CUYLER, NATHANIEL                          Address on File
CZARNECKI, BLANCA                          Address on File
CZEPYHA, MARIETTA                          Address on File
CZEPYHA, PATRICE                           Address on File
D&L ENTERTAINMENT SERVICES INC.            4120 MAIN ST                                                                                        DALLAS              TX      75226
DA SILVA MONTEIRO, ANABELA                 Address on File
DA VINCI ACADEMY ELEMENTARY PTO            ATTN: BRIAN TILLMAN                     1335 BRIDLE OAKS LN                                         COLORADO SPRINGS    CO      80921
DABBS, BRITTANY                            Address on File
DABRNEY, BRITTANY                          Address on File
DADE, CHAMERIA                             300 East John Carpenter Freeway         Suite 800                                                   Irving              TX      75062
DAGNON‐TOYA, ISE‐OLUWA                     Address on File
Dagraca, Joseline                          Address on File
DahMir Investments, LLC                    2806 Sentry Oak Way                                                                                 Sugar Land          TX      77479
Daigle, Steven                             Address on File
Daigneault, Trent                          Address on File
DAILEY, DAMON                              Address on File
DAILEY, DEVAN                              Address on File
DAILY, PRYCE                               Address on File
DAINO, JOSHUA                              Address on File
Dake, Kyono                                300 East John Carpenter Freeway         Suite 800                                                   Irving              TX      75062
DAKE, LACEY                                Address on File
DAKTRONICS INC.                            SDS‐12‐2222                             P. O. BOX 86                                                MINNEAPOLIS         MN      55486‐2222
DALE, JESSICA                              Address on File
DALE, ROBERT                               Address on File
DALES, DAVID                               Address on File
DALES, DYLAN                               Address on File
DALEY, KE‐ANDRE                            Address on File
DALLAS BASKETBALL LIMITED                  2909 TAYLOR ST.                                                                                     DALLAS              TX      75226

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                           Name                                     Address 1                         Address 2                              Address 3                   City   State    PostalCode   Country
DALLAS COUASSESSOR                             500 ELM STREET                                                                                                 DALLAS            TX      75202
Dallas County Tax Assessor‐Collector           2014 Main First Floor                                                                                          Dallas            TX      75201
DALLAS PROMPTER, INC                           PO BOX 571233                                                                                                  DALLAS            TX      75357
DALLAS WATCITY HALL                            CITY HALL 2D SOUTH                                                                                             DALLAS            TX      75277
DALLAS, KATRENA                                Address on File
DALTEX JANITORIAL SERVICES LLC                 P O BOX 742661                                                                                                 DALLAS            TX      75374
DALTON, DRAVEN                                 Address on File
DALTON, MARCEDES                               Address on File
Damian, Alexia                                 Address on File
DAMON, MELODIE                                 Address on File
DANCER, LINDON                                 Address on File
Danes Electric                                 Address Unknown
Dangelillo, Russella                           Address on File
DANIEL JR, DENNIS                              Address on File
DANIEL W. BAKER                                212 S 6TH ST                                                                                                   KINGFISHER        OK      73750
Daniel, Brooke                                 Address on File
DANIEL, JENNIFER                               Address on File
Daniel, Rebecca                                Address on File
Daniell, Stephanie                             Address on File
Daniell, Tanner                                Address on File
Daniels, Alice                                 Address on File
Daniels, Amaari                                Address on File
DANIELS, AMANDA                                Address on File
DANIELS, ANN                                   Address on File
Daniels, Aseanti                               Address on File
DANIELS, DAMEREO                               Address on File
Daniels, Donald                                Address on File
Daniels, Hallie                                Address on File
DANIELS, JASMINE                               Address on File
Daniels, Khristian                             Address on File
DANIELS, KRISTI                                Address on File
DANIELS, LANDON                                Address on File
Danker, Michael                                Address on File
Danna, Ericka                                  Address on File
DANNENBERG, MICHELLE                           Address on File
Dansby, Nicholas                               Address on File
DANTZLER, KELVIN                               Address on File
Dantzler, Marenda                              Address on File
Darby, Christopher                             Address on File
Darden, Caymin                                 Address on File
Darden, Idashia                                Address on File
Darden, Sukoyya                                Address on File
DARDEN, TONY                                   300 East John Carpenter Freeway      Suite 800                                                                 Irving            TX      75062
Darden, Tony                                   300 East John Carpenter Freeway      Suite 800                                                                 Irving            TX      75062
Darifair Foods                                 4131 Sunbeam Road                    Tim Helms                                  VP Business Development        Jacksonville      FL      32251
DARLING, TIMOTHY                               Address on File
Darlington, Cheyanne                           Address on File
DARNABY ELEMENTARY PTA                         TREASURER‐PTA                        7625 E 87TH ST                                                            TULSA             OK      74133
DARNELL, BRITTNEY                              Address on File
Darnell, Prestin                               Address on File
DAROIS, LINDSAY                                Address on File
Darrough, Dralyn                               300 East John Carpenter Freeway      Suite 800                                                                 Irving            TX      75062
DART, DERRICK                                  Address on File
Darty, Kaven                                   Address on File
DATABANK HOLDINGS LTD                          P O BOX 732200                                                                                                 DALLAS            TX      75373‐2200
DATAFLOW SERVICES PO BOX 120544                PO BOX 205367                                                                                                  DALLAS            TX      75320‐5367
DATTA, SOMA                                    Address on File

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                                                                                   In re: Taco Bueno Restaurants Inc.., et al.
                                                                                          Consolidated Creditor Matrix

                            Name                                     Address 1                          Address 2                Address 3                    City   State    PostalCode   Country
DAUGHERTY, DESTINEE                              Address on File
Daugherty, Eric                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Daukei, Jarod                                    Address on File
DAVENPORT, BRYCE                                 Address on File
DAVENPORT, DE'ANDRE                              Address on File
Davenport, Donte                                 Address on File
Davenport, John                                  Address on File
DAVENPORT, JONATHAN                              Address on File
DAVENPORT, NICOLE                                Address on File
DAVENPORT, SEAN                                  Address on File
DAVENPORT, TEMIKA                                Address on File
Daves, James                                     Address on File
David F. Hokanson, Jr. and Nikki S.C. Hokanson   15340 Carter St                                                                                  Overland Park      KS      66221
David, Brittany                                  Address on File
DAVID, KEAMON                                    Address on File
Davidson, Brandon                                Address on File
Davidson, Danny                                  Address on File
DAVIDSON, FREEDLE, ESPENHOVER & OVERBY, P.C.     KERRVILLE OFFICE                     222 SIDNEY BAKER S., SUITE 635                              KERRVILLE          TX      78028
Davidson, Jamari                                 Address on File
DAVIDSON, KATIE                                  Address on File
DAVIDSON, REBECCA                                Address on File
DAVIDSON, SARAH                                  Address on File
Davidson, Steven                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
DAVIDSON, THOMAS                                 Address on File
DAVILA TINOCO, GERARDO                           Address on File
DAVILA, CHRISTIAN                                Address on File
DAVILA, DOMINIC                                  Address on File
DAVIS II, CHARLES                                Address on File
DAVIS II, GREGORY                                Address on File
DAVIS TECHNOLOGY SOLUTIONS                       2543 N PECKHAM ST                                                                                WICHITA            KS      67228
DAVIS VISION, INC                                JPO BOX 848370                                                                                   DALLAS             TX      75284‐8370
Davis Vison                                      711 Troy‐Schenectady Road                                                                        Latham             NY      12110
DAVIS, AARON                                     Address on File
DAVIS, AIREANNA                                  Address on File
Davis, Aletta                                    Address on File
DAVIS, ALEXIS                                    Address on File
DAVIS, AMANDA                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
DAVIS, ASHLEY                                    Address on File
Davis, Ashley                                    Address on File
DAVIS, ASHLYN                                    Address on File
DAVIS, AZANI                                     Address on File
DAVIS, BARBARA                                   Address on File
DAVIS, BRANDI                                    Address on File
Davis, Brandon                                   Address on File
DAVIS, BRYANT                                    Address on File
DAVIS, CHARLINE                                  Address on File
Davis, Christian                                 Address on File
DAVIS, COREY                                     Address on File
DAVIS, CORZETTI                                  Address on File
Davis, Crystal                                   Address on File
DAVIS, CRYSTAL                                   Address on File
DAVIS, DANIEL                                    Address on File
DAVIS, DANNIELLE                                 Address on File
Davis, Demarious                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Davis, Destiney                                  Address on File
DAVIS, DSHAWNA                                   Address on File
DAVIS, ELANDREA                                  Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                        Name                               Address 1                          Address 2                Address 3                 City   State PostalCode   Country
Davis, Evelyn                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
DAVIS, FAITH                           Address on File
Davis, Gina                            Address on File
DAVIS, GREGORY                         Address on File
Davis, Hannah                          Address on File
Davis, Heather                         Address on File
DAVIS, HUNTER                          Address on File
Davis, Jada                            Address on File
DAVIS, JARED                           Address on File
Davis, Javari                          Address on File
DAVIS, JAYLAN                          Address on File
Davis, Jennifer                        Address on File
Davis, Jennifer                        Address on File
Davis, Jeremiah                        Address on File
Davis, Jeremy                          Address on File
Davis, Jermmie                         Address on File
Davis, Jon                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Davis, Jonathan                        Address on File
Davis, Jonathan                        Address on File
DAVIS, JORDAN                          Address on File
DAVIS, JOVANNA                         Address on File
DAVIS, KAREN                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
DAVIS, KATHARYNE                       Address on File
Davis, Katie                           Address on File
Davis, Keaton                          Address on File
Davis, Keira                           Address on File
Davis, Kelton                          Address on File
DAVIS, KESHAWNA                        Address on File
Davis, Kristen                         Address on File
Davis, Kristina                        Address on File
DAVIS, KYLE                            Address on File
Davis, Lachristopher                   Address on File
Davis, Lakisha                         Address on File
DAVIS, LANCE                           Address on File
DAVIS, LAURA                           Address on File
Davis, Lawrence                        Address on File
DAVIS, LOGAN                           Address on File
DAVIS, L'TECIA                         Address on File
Davis, Mariah                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
DAVIS, MARQUES                         Address on File
DAVIS, MARQUESHA                       Address on File
Davis, Mary                            Address on File
DAVIS, MATTHEW                         Address on File
DAVIS, MELISSA                         Address on File
DAVIS, MORGEN                          Address on File
DAVIS, PRIAONA                         Address on File
Davis, Randy                           Address on File
Davis, Robert                          Address on File
DAVIS, ROBERT                          Address on File
DAVIS, ROBERT                          Address on File
DAVIS, ROSALIND                        Address on File
DAVIS, RUTH                            Address on File
Davis, Ryan                            Address on File
DAVIS, SAMANTHA                        Address on File
DAVIS, SARAH                           Address on File
DAVIS, SAVANAH                         Address on File
Davis, Shakeyl                         Address on File

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                                                                                   In re: Taco Bueno Restaurants Inc.., et al.
                                                                                          Consolidated Creditor Matrix

                      Name                                           Address 1                          Address 2                Address 3                 City     State    PostalCode   Country
Davis, Shane                                     Address on File
DAVIS, SHANIQUA                                  Address on File
Davis, Shannon                                   Address on File
DAVIS, STEPHEN                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
DAVIS, STEPHEN                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Davis, Taijoriun                                 Address on File
DAVIS, TAMARA                                    Address on File
DAVIS, TARYN                                     Address on File
Davis, Tashawna                                  Address on File
Davis, Taylor                                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Davis, Taylor                                    Address on File
DAVIS, TIMOTHY                                   Address on File
DAVIS, TIMOTHY                                   Address on File
Davis, Tony                                      Address on File
DAVIS, TRINTON                                   Address on File
Davis, Tyrone                                    Address on File
DAVIS, ZRIC                                      Address on File
Davisson, Patricia                               Address on File
DAVY, BRITTANY                                   Address on File
DAWDY, DARRIN                                    Address on File
DAWKINS, BRANISHA                                Address on File
Dawson, Alayceia                                 Address on File
DAWSON, CAMERON                                  Address on File
DAWSON, DENEEN                                   Address on File
DAWSON, JOSHUA                                   Address on File
DAWSON, KEITH                                    Address on File
Dawson, Travis                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Dawson, Tyler                                    Address on File
Day, Bryan                                       Address on File
DAY, COLE                                        Address on File
DAY, DYLAN                                       Address on File
Day, Magan                                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Day, Makayla                                     Address on File
DAY, NICHOLLE                                    Address on File
DAY, SAMMERA                                     Address on File
DAY, VICKI                                       Address on File
DAYMARK FOOD SAFETY SYSTEMS                      12836 SOUTH DIXIE HWY                                                                            BOWLING GREEN     OH      43402
DBA BRYAN SEALING & WATERPROOFING                PETER GAMBOA                         P O BOX 171506                                              IRVING            TX      75017

DBA CHRISTOPHER RUSSELL LANDSCAPE ARCHITECTURE   CHRISTOPHER A RUSSELL                5925 LAKE VISTA #2                                          DALLAS            TX      75206
DBA DJD CONSULTING LLC                           DANIEL JOHN DEMOLLI                  768 HUNTINGTON PL                                           HIGHLANDS RANCH   CO      80126
DBA ELLIOTT'S CONCRETE CORING & CUTTING          CALVIN VANCE ELLIOTT                 32 NW 27TH ST                                               LAWTON            OK      73505‐6210
DBA OVERTIME SPORTS GRAPHICS                     DEBRA A WATKINS                      9899 EVERGLADES DR                                          PEYTON            CO      80831
DBA ROCKIN' J ELECTRIC                           ROBERT JUSTIN WHITAKER               2850 OLD DECATUR RD                                         DECATUR           TX      76234
DBR PUBLISHING CO LLC                            P O BOX 470303                                                                                   TULSA             OK      74147‐0303
DCX BOOSTER CLUB                                 LAURA FOY                            12008 SILVERSON DR                                          OKLAHOMA CITY     OK      73162
DE GOMEZ ESPINOZA, JUANA                         Address on File
DE GROOT, DOUGLAS                                Address on File
DE HERRERA, VICTORIA                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
DE HOYOS, VALENTIN                               Address on File
DE JESUS, ANGELICA                               Address on File
DE LA CERDA, TRENT                               Address on File
DE LA CRUZ JR., JUAN                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
De la Cruz Marreros, Irene                       Address on File
DE LA CRUZ, JESUS                                Address on File
DE LA CRUZ, VICTOR                               Address on File
DE LA CRUZ, YASMIN                               Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                             Name                               Address 1                          Address 2                Address 3                  City   State PostalCode   Country
De la Garza Trevino, Ismael                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
DE LA ROSA DURAN, JOHANNA                   Address on File
De La Rosa, Elia                            Address on File
DE LA ROSA, ELIDIA                          Address on File
De la Rosa, Lucrecio                        Address on File
DE LA SANCHA, ANASTACIO                     Address on File
De La Serna, Jose                           Address on File
De Leon Mendoza, Alvaro                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
DE LEON, CROTILDE                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
DE LEON, DANIEL                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
DE LEON, ENCARNACION                        Address on File
De Los Santos, Margie                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
De Luna, Ivy                                Address on File
DE NINO, JOSEFINA                           Address on File
DE OLEA, CECILIA                            Address on File
DE SANTIAGO, ERIKA                          Address on File
De Santiago, Guillermo                      Address on File
Deakins, Buddy                              Address on File
DEAL, MATTHEW                               Address on File
DEALVA, ISABEL                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Dean, Anthony                               Address on File
Dean, Aryanna                               Address on File
DEAN, BRANDEE                               Address on File
DEAN, BREONA                                Address on File
Dean, Darius                                Address on File
Dean, Earl                                  Address on File
DEAN, JAMES                                 Address on File
Dean, Janet                                 Address on File
Dean, Jody                                  Address on File
DEAN, ROD                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
DEAN, RODNEY                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Dean, Scott                                 Address on File
Dean, Shanika                               Address on File
DEANE, DESTINY                              Address on File
DEANNE, LUCAS                               Address on File
DEAN'S SHOP (WALTER MOTT)                   PO BOX 10                                                                                        STAPLES          TX   78670
Dearman, Allison                            Address on File
DEARY, JERMAINE                             Address on File
DEASON, CASEY                               Address on File
DEASON, JACK                                Address on File
Deatherage, Bailey                          Address on File
DEATON, AMBER                               Address on File
Deaver, Roy                                 Address on File
DEBEAUX, JESSICA                            Address on File
DEBELLA, NIKOLAS                            Address on File
DEBERRY, COOPER                             Address on File
DeBoer, Michael                             Address on File
DEBOSE, RASHEAH                             Address on File
DeBoskie, Gregory                           Address on File
DeBouse, Xavianna                           Address on File
DeBrune, Corey                              Address on File
DECCA SERVICES LLC                          P O BOX 2226                                                                                     ALBANY           TX   76430
Dechow, Reagan                              Address on File
DECKER ELECTRIC                             4500 W. HARRY                                                                                    WICHITA          KS   67209
DECKER ELECTRIC                             9605 HOLLY SPRINGS DR                                                                            AUSTIN           TX   78748
Decker, Cameron                             Address on File
Decker, Justin                              Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
Decker, Kimberly                           Address on File
DEEL, LOREN                                Address on File
Deer, Daryl                                Address on File
DeFevere, Nicole                           Address on File
DEFFENBAUGH DISPOSAL SERVICES              P.O. BOX 3249                                                                                    SHAWNEE          KS      66203‐0249
DEFIANT SAFE COMPANY, INC.                 DBA DEFIANT SAFE COMPANY             P O BOX 671334                                              DALLAS           TX      75267‐1334
DEGIUSTI, JO                               Address on File
Degner, Teara                              Address on File
DEHAAN, CHRISTOPHER                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DEHAARTE, SHURLAND                         Address on File
DEHART, RANDALL                            Address on File
Dejarnett, Jacob                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DEL VALLE, RAVEN                           Address on File
DELA CRUZ, SARAH                           Address on File
Delacerda, Nathanael                       Address on File
DELACRUZ, ENRIQUE                          Address on File
DELACRUZ, JUAN                             Address on File
DELACRUZ, MARLENI                          Address on File
Delancy, Keadon                            Address on File
Delaney, Jazmine                           Address on File
DELAROSA CASTANEDA, JELANI                 Address on File
DELAROSA, ANTHONY                          Address on File
DELATORRE, ABIGAIL                         Address on File
DELAURIE, HILLIERY                         Address on File
Delaware Secretary Of State                PO Box 5509                                                                                      Binghampton      NY      13902‐5509
Delaware Secretary Of State                33 Lewis Road                                                                                    Binghamtom       NY      13905
DELEON, ARLYN                              Address on File
DELEON, ELIBERTO                           Address on File
DELEON, ELYSSA                             Address on File
DELEON, GABRIEL                            Address on File
DELEON, ILSE                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Deleon, Julia                              Address on File
DELEON, MIRTA                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DELEON, NOHELIA                            Address on File
DELEON, SUSANO                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DELFIN, JULIO                              Address on File
DELGADILLO, MARIA                          Address on File
DELGADO, DAVID                             Address on File
DELGADO, EDUARDO                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DELGADO, ELIZABETH                         Address on File
DELGADO, JASMINE                           Address on File
DELGADO, JASMINE                           Address on File
Delgado, Juan                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Delgado, Kannisha                          Address on File
DELGADO, KIMBERLY                          Address on File
DELGADO, LUIS                              Address on File
DELGADO, MARTHA                            Address on File
Delgado, Matthew                           Address on File
Delgado, Roxana                            Address on File
DELGADO, SHANNON                           Address on File
DELIRA, LETICIA                            Address on File
Delk, Alexis                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DELL MARKETING                             C/O DELL USA LP                      P O BOX 676021                                              DALLAS           TX      75267‐6021
Dell'Antonia, Montana                      Address on File
Dellantonia, Samantha                      Address on File
DELLEY, KASIE                              Address on File
DEL‐MAX RESTAURANT SUPPLY                  PO BOX 1131                                                                                      SHERMAN          TX      75091

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                         Name                                     Address 1                         Address 2               Address 3                  City   State    PostalCode   Country
DELOERA, MIGUEL                             Address on File
DELOITTE TAX LLP                            P O BOX 844708                                                                                   DALLAS           TX      75284‐4708
Delong, Vanessa                             Address on File
DELOZIER‐MAY, BECKY                         Address on File
DELUXE BUSINESS CHECKS AND SOLUTIONS        P O BOX 742572                                                                                   CINCINNATI       OH      45274‐2572
DEMING, TAYLORE                             Address on File
DEMINT, LOREN                               Address on File
DEMMIN, ZACHARY                             Address on File
Denham, Allyson                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Denn, Matthew                               Carvel State Office Bldg.            820 N. French St                                            Wilmington       DE      19801
DENNINGTON, LEE                             Address on File
DENNIS, ASHLEY                              Address on File
DENNIS, CIERRA                              Address on File
DENNIS, ELUNDA                              Address on File
DENNIS, JASMINE                             Address on File
Dennis, Mark                                Address on File
DENNISON, DARREL                            Address on File
DENNISON, DAVID                             Address on File
DENNISTON, ELIZABETH                        Address on File
DENNY, JOANNA                               Address on File
DENSON, TANNER                              Address on File
Denson, Zakedric                            Address on File
Dent, Anthony                               Address on File
DENTON COUCOLLECTORPO BOX 124               COLLECTOR                            P O BOX 90223                                               DENTON           TX      76202‐5223
DENTON COUNTY RECLAMATION & ROAD DISTRICT   4848 LEMMON AVE                                                                                  DALLAS           TX      75219
Denton County Tax Assessor Collector        PO Box 90223                                                                                     Denton           TX      76202‐5223
Denton County Tax Assessor Collector        1505 E. Mckinney Street                                                                          Denton           TX      76209‐4525
DENTON DYNAMOS (SPECIAL OLYMPICS TEXAS)     PO BOX 666                                                                                       DENTON           TX      76202
DENTON HS BRONCO NAMD BOOSTER               CHRIS LINDAHL                        1007 FULTON ST                                              DENTON           TX      76201
DENTON POLICE DEPT                          RECORDS SECTION                      601 E HICKORY ST, STE E                                     DENTON           TX      76205
DENTON TEXAS HOTELS LLC                     DBA SPRINGHILL SUITES                1434 CENTER PLACE                                           DENTON           TX      76205
DENTON TRIANGLE LIONS CLUB                  3405 SAGE WOOD                                                                                   DENTON           TX      76207
Denton, Sally                               Address on File
DEORDIO, SPENCER                            Address on File
Department Of Environmental Quality         Admin Svcs‐Accts. Receivable         PO Box 2036                                                 Oklahoma City    OK      73101‐2036
Department Of Environmental Quality         Admin Svcs‐Accts. Receivable         707 N. Robinson Ave                                         Oklahoma City    OK      73102
DEPASQUALE, DANNI                           Address on File
Depaz, Irene                                Address on File
DERBOVEN, MEGAN                             Address on File
DERICHSWEILER, LOEGAN                       Address on File
Dermott, Jacob                              Address on File
DERRICK, PAUL                               Address on File
DERRICK‐BRYANT, TRAVIS                      Address on File
DERROUGH, TIMERICK                          Address on File
Derryberry, Jessica                         Address on File
Desai, Jayni                                Address on File
Desai, kamlesh                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DESCOTEAUX, ETHAN                           Address on File
DESDUNES, KEVIN                             Address on File
DeShazer, Barbara                           Address on File
DESHAZER, DYLAN                             Address on File
Deshong, Dylan                              Address on File
Deshotel, Cassandra                         Address on File
DESOTO WATPO BOX 550                        PO BOX 550                                                                                       DESOTO           TX      75123‐0550
DeSpain, Katarina                           Address on File
DESSEIN, CHAUNCEY                           Address on File
Devane, Janine                              Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                         Name                                      Address 1                          Address 2                Address 3                 City      State    PostalCode   Country
DeVault, Johnathon                             Address on File
Dever, Braden                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
DEVILLE, GIRARD                                Address on File
DEVORE, BROOK                                  Address on File
DEVORE, CHARLES                                Address on File
DEVRIES, AMANDA                                Address on File
DEVRIES, CARLA                                 Address on File
DEWEY, SHARON                                  Address on File
DEWINT, GARY                                   Address on File
Dewitt, Bethany                                Address on File
DEWITT, JORDAN                                 Address on File
DEWOODY, CHASE                                 Address on File
Dews, Kaijionay                                Address on File
DEZWAAN MARTINEZ, JASON                        Address on File
DFW DANCE FORCE                                LYNN NYKAZA                          1557 SALADO TRAILS                                          BEDFORD            TX      76087
DFW DIRECT MARKETING                           903 N BOWSER                         STE 124‐3                                                   RICHARDSON         TX      75080
DFW EXTREME                                    10618 EAST CREST LANE                                                                            DALLAS             TX      75217
DHC ENTERPRISES, INC. DBA SKYLINE DISPLAY      DBA SKYLINE DISPLAY AND DESIGN       6586 S KENTON ST                                            CENTENNIAL         CO      80111
DHUKPOUR, MOURWAL                              Address on File
DIAMOND LANDSCAPES, LLC                        1620 ROSEMONT DR.                                                                                COLORADO SPRINGS   CO      80911
DIAMOND LANDSCAPING                            1620 ROSEMONT DR                                                                                 COLORADO SPRINGS   CO      80911
DIAMOND, ADARIUS                               Address on File
DIANGAR, ROSALIE                               Address on File
DIAS, LUZ                                      Address on File
DIATTA, EMMANUEL                               Address on File
DIAZ BONILLA, LUZ                              Address on File
Diaz De Leon, Riko                             Address on File
Diaz, Adriana                                  Address on File
Diaz, Angel                                    Address on File
Diaz, Angela                                   Address on File
Diaz, Anna                                     Address on File
Diaz, Ariana                                   Address on File
DIAZ, BERNARDO                                 Address on File
DIAZ, CLAUDIA                                  Address on File
Diaz, Ebelyn                                   Address on File
DIAZ, ELIZABETH                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
DIAZ, FANNY                                    Address on File
DIAZ, GUADALUPE                                Address on File
DIAZ, GUADALUPE                                Address on File
DIAZ, JAYSON                                   Address on File
DIAZ, JORGE                                    Address on File
DIAZ, JOSE                                     Address on File
Diaz, Joseph                                   Address on File
DIAZ, KRISTY                                   Address on File
Diaz, Laura                                    Address on File
Diaz, Luis                                     Address on File
Diaz, Marco                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
DIAZ, MARIA                                    Address on File
Diaz, Noemi                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
DIAZ, THOMAS                                   Address on File
DIAZ, YOVANI                                   Address on File
DIAZ, ZACKARY                                  Address on File
DIBBLE, MICHAEL                                Address on File
Dibner, Laurie                                 Address on File
Dickens, Andrew                                Address on File
DICKENS, BRITNEY                               Address on File
Dickens, Lorenzo                               Address on File

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                                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                Consolidated Creditor Matrix

                         Name                                         Address 1                               Address 2                Address 3                 City   State    PostalCode   Country
DICKENSON, JOSHUA                                 Address on File
DICKERSON, COURTNEY                               Address on File
Dickerson, Jasmine                                Address on File
DICKERSON, JASON                                  Address on File
Dickerson, LaKesha                                Address on File
Dickerson, Michael                                300 East John Carpenter Freeway           Suite 800                                                   Irving          TX      75062
DICKERSON, STEVEN                                 Address on File
Dickerson, Terran                                 Address on File
DICKEY, MEGAN                                     Address on File
Dickey, Nathan                                    300 East John Carpenter Freeway           Suite 800                                                   Irving          TX      75062
DICKSON, DENISE                                   Address on File
DICKSON, MARCO                                    Address on File
DIEBALL, AARON                                    Address on File
DIECKMAN, ALEK                                    Address on File
DIEGEL, AMBRIEL                                   Address on File
Diego, Christian                                  Address on File
DIEHL, ROBERT                                     Address on File
DIEHL, SHAYE                                      Address on File
DIESEL DISPLAYS LLC                               P O BOX 204626                                                                                        DALLAS          TX      75320‐4626
Diggers Diamond Electric                          Address Unknown
DIGGS, MICHAEL                                    300 East John Carpenter Freeway           Suite 800                                                   Irving          TX      75062
Diggs, Tushay                                     Address on File
DIGGY'S DREAM TEAM                                1612 MOCKINGBIRD DR                                                                                   SAN MARCOS      TX      78666
Dilbeck, Anthony                                  300 East John Carpenter Freeway           Suite 800                                                   Irving          TX      75062
Dildine, Mason                                    Address on File
DILLARD, STEVEN                                   Address on File
Dillard, Tonya                                    Address on File
Dillinger, Tina                                   Address on File
DILLON, BRANDON                                   Address on File
DILLON, BRIANNA                                   Address on File
DILLON, STEPHANIE                                 300 East John Carpenter Freeway           Suite 800                                                   Irving          TX      75062
DILLON, THOMAS                                    Address on File
DIMAS, ERNESTINA                                  300 East John Carpenter Freeway           Suite 800                                                   Irving          TX      75062
DIMAS, MARIA                                      300 East John Carpenter Freeway           Suite 800                                                   Irving          TX      75062
DIMAS, MIREYA                                     Address on File
DIMICK, GRAYSON                                   Address on File
DIMON, BRITTNEY                                   Address on File
DINKOLOBO, STEVE                                  Address on File
DIOP, CIARA                                       Address on File
Diosdado, Brandon                                 Address on File
Diosdado, Maria                                   Address on File
DIPPLE, RACHAEL                                   Address on File
DIRECT CONNECT                                    4600 NW 32ND ST                                                                                       OKLAHOMA CITY   OK      73122
Direct Source (JRMI)                              Address Unknown
DIRICKSON, LEVI                                   Address on File
DISH NETWORK                                      P.O. BOX 105169                                                                                       ATLANTA         GA      30348‐5169
DISPENSER SERVICES OF TEXAS, INC. 500 109TH ST.   DBA DISPENSER SERVICES OF TEXAS INC.      500 109TH ST.                                               ARLINGTON       TX      76011‐6805
DIVELBISS, ZAVIER                                 Address on File
DIVELBLISS, SCOTT                                 Address on File
Dixon, Chad                                       300 East John Carpenter Freeway           Suite 800                                                   Irving          TX      75062
Dixon, Cody                                       Address on File
Dixon, De'Keidric                                 Address on File
DIXON, DEREK                                      Address on File
DIXON, DEWEY                                      Address on File
DIXON, HEIDI                                      Address on File
DIXON, KRYSTAL                                    Address on File
DIXON, LACRESHA                                   Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                       Name                                        Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Dixon, Linda                                   Address on File
DIXON, ROBERT                                  Address on File
DIXON, STACI                                   Address on File
DIXON, TYLOR                                   Address on File
Dixson, Shaun                                  Address on File
DJERF, DAVID                                   300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Djerf, David                                   Address on File
DNR Service Company                            Address Unknown
DO NOT USE, DO                                 Address on File
DOAK, JUSTIN                                   Address on File
Dobbins, Savannah                              Address on File
DOBBS, CHARLANDRIA                             Address on File
Dobbs, Gary                                    Address on File
Doberstein, ANTONIO                            Address on File
DOBIS‐GUTIERREZ, ANTHONY                       Address on File
DOBNEY, COLLIN                                 Address on File
Dobos, CheyAnne                                Address on File
Dobyns, Brady                                  Address on File
DOCK, JERRY                                    Address on File
Dockens, Keontay                               Address on File
DOCKERY, LAMONTE                               Address on File
Doctor, Darian                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
DODD EDUCATION AND SUPPORT                     LESLIE SWAN                          1227 BOW CREEK DR                                           DUNCANVILLE     TX      75116
Dodd, Lauren                                   Address on File
Dodd, Robert                                   Address on File
DODD, WILLIAM                                  Address on File
Dodge, Veronica                                Address on File
DODSON, BRANDIN                                Address on File
DODSON, BRYCE                                  Address on File
Dodson, Clifton                                Address on File
DODSON, JEFFREY                                Address on File
DODSON‐THOMPSON‐MANSFIELD, PLLC                20 NE 38TH ST                                                                                    OKLAHOMA CITY   OK      73105
DODY, SHANNON                                  Address on File
Doerr, Gilbert                                 Address on File
DOGLE, GARION                                  Address on File
Doh, Triston                                   Address on File
DOLAN, JESSE                                   Address on File
Doles, Bradly                                  Address on File
DOLLAR, REBELEE                                Address on File
DOLLISON, ROBERT                               Address on File
DOLMAN, RUNGRAT                                Address on File
DOMESTIC VIOLENCE INTERVENTION SERVICE, INC.   4300 S. HARVARD AVE                                                                              TULSA           OK      74135
DOMINGUES, SINAHI                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
DOMINGUEZ, ASHLEY                              Address on File
DOMINGUEZ, GUADALUPE                           Address on File
DOMINGUEZ, HORTENCIA                           Address on File
Dominguez, Israel                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
DOMINGUEZ, JENNIFER                            Address on File
Dominguez, Jose                                Address on File
DOMINGUEZ, JOSE                                Address on File
DOMINGUEZ, JUSTINA                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
DOMINGUEZ, MALENY                              Address on File
Dominguez, Maria                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
DOMINGUEZ, MARTIN                              Address on File
Dominguez, Paola                               Address on File
DOMINGUEZ, ROBERTO                             Address on File
DOMINGUEZ, ROSALIA                             Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                        Name                                    Address 1                          Address 2                         Address 3                   City   State    PostalCode   Country
DOMINGUEZ, SHAUN                            Address on File
Dommert, Haley                              Address on File
Donaghey, Bobbi                             Address on File
DONAGHEY, TIFANY                            Address on File
DONALD, LACY                                Address on File
DONALDSON, MAKAYLA                          Address on File
DONALDSON, SHEYANNE                         Address on File
DONAYRE, MARCELA                            Address on File
DONELAN, DAKOTA                             Address on File
DONELSON, GALE                              300 East John Carpenter Freeway      Suite 800                                                            Irving            TX      75062
DONELSON, WENDALL                           Address on File
Dong, Ruipeng                               Address on File
DONIHOO, JACK                               Address on File
DONJUAN, MARIA                              Address on File
DONNA SHEPHARD INTERMEDIATE SCHOOL          TERRI MOUNGUIA                       1280 FM 1187                                                         MANSFIELD         TX      76063
Donnell, Tiara                              Address on File
Donohue, Amber                              Address on File
DONOSO, VERONICA                            300 East John Carpenter Freeway      Suite 800                                                            Irving            TX      75062
DONOVAN, ASHLEY                             Address on File
DONOVAN, MARK                               Address on File
DONOVAN, ZACHARY                            Address on File
DON'S LAWN SERVICE                          DBA DON'S LAWN SERVICE               P. O. BOX 2531                                                       CLEBNURNE         TX      76033
Dooley, Connor                              Address on File
Dooley, Rodney                              Address on File
DOOR CONTROLS INC. P.O. BOX 410064          DEPT 3332                            PO BOX 123332                                                        DALLAS            TX      75312‐3332
DOOR CONTROLS SERVICES, INC.                MARGARET LUCAS                       DEPT 251 PO BOX 220                                                  BETTERNDORF       IA      52722
Doordash                                    116 New Montgomery Street                                                                                 San Francisco     CA      94105
DORATY, CODY                                Address on File
DORLAND, KARLY                              Address on File
DORLEY, TONYA                               Address on File
DORMA USA, INC DBA DOOR CONTROLS, INC.      P O BOX 896542                                                                                            CHARLOTTE         NC      28289
DORMONT MANUFACTURING CO.                   PO BOX 536302                                                                                             PITTSBURGH        PA      15253‐5905
Dorris, Austin                              300 East John Carpenter Freeway      Suite 800                                                            Irving            TX      75062
Dorris, Romik                               Address on File
Dorsett, Traci                              Address on File
Dorsey, Deyonna                             Address on File
DORSEY, SHAWN                               Address on File
DORSEY, TYLER                               Address on File
DOSO, ISSOMAILA                             Address on File
Doss, Christian                             Address on File
DOSSEY, JEFFERY                             Address on File
Dotson, Devon                               300 East John Carpenter Freeway      Suite 800                                                            Irving            TX      75062
DOTSON, MALIK                               Address on File
DOTSON, NICOLE                              Address on File
DOTSON, XAVIER                              300 East John Carpenter Freeway      Suite 800                                                            Irving            TX      75062
DOTSON, ZSHAVON                             Address on File
DOTSRTY, KRISHA                             Address on File
DOTTS, JASON                                Address on File
Double B                                    1211 Sheffield Lane                  Brian                                      Laufer                    Glenview          IL      60025
Doud, William                               Address on File
DOUGHTY, APRIL                              Address on File
DoughXpress Warranty                        Address Unknown
DOUGLAS, DEVIN                              300 East John Carpenter Freeway      Suite 800                                                            Irving            TX      75062
DOUGLAS, EMILE                              Address on File
DOUGLAS, FELICIA                            Address on File
DOUGLAS, LATRICIA                           Address on File
DOUGLAS, LINDSEY                            Address on File

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                       Name                                         Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Douglas, Lindsey                                Address on File
Douglas, Nick                                   Address on File
Douglas, Shawn                                  Address on File
Douglass, Celeste                               Address on File
DOVE JR, EDWARD                                 Address on File
DOVE, KHALIF                                    Address on File
Dover, Deshown                                  Address on File
Dowd, Evan                                      Address on File
Dowdell, Azuree                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Dowden, Tiffany                                 Address on File
Dowdy, Benjamin                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
DOWKER, HANNAH                                  Address on File
Dowker, Samuel                                  Address on File
DOWLING, CASEY                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
DOWLING, CHARLES                                Address on File
Downey, Jimmy                                   300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
DOWNING, NATASHA                                Address on File
DOWNS, BENJEMAN                                 Address on File
Downs, Christopher                              Address on File
Downs, James                                    Address on File
DOWNS, JOSEPH                                   Address on File
Downs, Kara                                     Address on File
DOWNS, MYA                                      Address on File
DOWNS, TAYLOR                                   Address on File
Doyle, Ayla                                     Address on File
Doyle, Heather                                  Address on File
DOZIER, MICHAEL                                 Address on File
DR PEPPER SNAPPLE GROUP INC.                    P O BOX 910433                                                                                   DALLAS          TX      75391‐0433
DR. PEPPER SNAPPLE GROUP INC. 5301 LEGACY DR.   ATTN: AMY AMOS 2B 457                5301 LEGACY DR.                                             PLANO           TX      75024
Drackley, Keaton                                Address on File
Drake, Deaven                                   Address on File
Drake, Emily                                    Address on File
Drake, Kieran                                   Address on File
Drake, Nicholas                                 Address on File
DRAKE, TERRANCE                                 Address on File
DRAPER, KYRON                                   Address on File
DRAPER, SARAH                                   Address on File
DREW, DESTINY                                   300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
DREW, DIAMOND                                   Address on File
DREW, DOMINIQUE                                 Address on File
DREW, ISAAC                                     Address on File
DREW, TOMMY                                     Address on File
DRISCOLL, HEATHER                               Address on File
DRISKILL, SHAWN                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Driver, Justin                                  Address on File
DROUILLARD, JON                                 Address on File
Dructor, Sarah                                  Address on File
Drummond, Alexander                             Address on File
Drummond, Jay                                   Address on File
Drysdale, Dustin                                Address on File
DSE HOCKEY CLUB LP                              2601 AVENUE OF THE STARS                                                                         FRISCO          TX      75034
DSI HOLDINGS CORPORATION                        SERVICEMASTER RESTORE                2400 WISCONSIN AVE                                          DOWNERS GROVE   IL      60515
Du Bois, Kenneth                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Duarte, Brandon                                 Address on File
Duarte, Jazmin                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
DUARTE, JESSICA                                 Address on File
Dubberley, Paul                                 Address on File

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                                                                                   Consolidated Creditor Matrix

                       Name                                   Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
Dubbs, Derrick                            Address on File
DUBEY, TODD                               Address on File
DuBois, Brittany                          Address on File
DuBose Jr., Cary                          Address on File
DuBose, Karen                             Address on File
DUBROC, JONATHAN                          Address on File
Duck, Daffy                               Address on File
DUCK, DAISSY                              Address on File
Duck, Donald                              Address on File
DUCOING, LUIS                             Address on File
DUCOTE, KAINAN                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DUDLEY, LARRY                             Address on File
Duelos, Rachael                           Address on File
Dues, Maya                                Address on File
DUFF & PHELPS LLC                         14850 QUORUM DR., STE. 500                                                                       DALLAS           TX      75254
DUFF, KYLE                                Address on File
DUFFEY, MONTY                             Address on File
DUFFIE, CARDERRO                          Address on File
DUFFIE, TIMOTHY                           Address on File
DUFFLE, JOEY                              Address on File
Dufrene, Etienne                          Address on File
Dufresne, Cassandra                       Address on File
Dugan, Rebecca                            Address on File
Dugdale, April                            Address on File
DUGGER, JAXSON                            Address on File
DUGGER, MARCUS                            Address on File
Duggins, Jennifer                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DUKE, CHERRITA                            Address on File
DUKE, HUNTER                              Address on File
DUKE, JORDAN                              Address on File
Dukes, Myla                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Dukuly, Morlitha                          Address on File
DULL, KAYLA                               Address on File
DUMOND, KIERSTEN                          Address on File
Dunbar, Heidi                             Address on File
DUNCAN CHAMBER OF COMMERCE AND INDUSTRY   911 WALNUT                           PO BOX 699                                                  DUNCAN           OK      73534‐0699
DUNCAN DISPOSAL                           P.O. BOX 78829                                                                                   PHOENIX          AZ      85062‐8829
Duncan, Isabel                            Address on File
DUNCAN, JACOB                             Address on File
Duncan, Nicholas V                        100 Park Avenue                      Suite 1200                                                  Oklahoma City    OK      73102
Duncan, Violet                            Address on File
DUNCANVILLE ISD YOUTH & GOVERMENT         KENNEMER MIDDLE SCHOOL               710 SOUTH CEDAR                                             DUNCANVILLE      TX      75137
DUNGAN, WILLIAM                           Address on File
Dunivan, Sarah                            Address on File
DUNKLEBERGER, BRANDI                      ATTN: OKLAHOMA POREE BASEBALL        9009 IANS PLACE                                             Oklahoma City    OK      73160
DUNLAP, AARON                             Address on File
Dunlap, Angellica                         Address on File
Dunlap, Lorelei                           Address on File
DUNLAP, PAMELA                            Address on File
Dunman Electric, LLC                      Address Unknown
DUNN, AMBER                               Address on File
DUNN, BRAJAH                              Address on File
DUNN, BRITTANY                            Address on File
DUNN, KELLI                               Address on File
DUNN, LAINEY                              Address on File
DUNN, YASHICA                             Address on File
DUNNE ENGINEERING INC                     ICON CONSULTING ENGINEERS INC.       2840 W SOUTHLAKE STE 110                                    SOUTHLAKE        TX      76092

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                                                                                     In re: Taco Bueno Restaurants Inc.., et al.
                                                                                            Consolidated Creditor Matrix

                             Name                                      Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
DUNNING, AMBER                                     Address on File
Duop, Rachel                                       Address on File
Dupras, Kristin                                    Address on File
Duque, Celeste                                     Address on File
Duque, Christina                                   Address on File
Duque, Eduardo                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Duran de Grijalva, Maria                           Address on File
DURAN, CARMEN                                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DURAN, IVET                                        Address on File
Duran, Juana                                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DURAN, MIGUEL                                      Address on File
DURAN, MIGUEL                                      3650 n 1st                                                                                       ABILENE          TX      79603
Durant, Alyssa                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Durant, Jennifer                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Durant, Mykale                                     Address on File
DURANT, RAY                                        Address on File
DURGIN, BLAKE                                      Address on File
DURHAM, AMBRA                                      Address on File
Durham, Zion                                       Address on File
DURKIN, SHANNON                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DURKIN, SHANNON                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DURMIS, SHELBI                                     Address on File
DURO‐LAST INC.                                     525 MORLEY DR.                                                                                   SAGINAW          MI      48601
DUROSSETTE, WHITNEY                                Address on File
DUROY, JEREMY                                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
DURRETT, HEATHER                                   Address on File
DURUS, MARIA                                       Address on File
DUSINA, CHASE                                      Address on File
Dustin, Kelsey                                     Address on File
Dutton, Daniel                                     Address on File
Dutton, Jessica                                    Address on File
DUTY, CHRISTOPHER                                  Address on File
Duvall, Jennifer                                   Address on File
Duvall, Nicholas                                   Address on File
DYER, JUSTIN                                       Address on File
DYER, NATHANIEL                                    Address on File
DYER, NOAH                                         Address on File
DYER, SPENCER                                      Address on File
Dyke‐Miller, Marvin                                Address on File
DYNAK, NICOLE                                      Address on File
E Z Car Audio, Video, Electrical                   Address Unknown
EAGAN, NATASHA                                     Address on File
Eagan, Zach                                        Address on File
EAGLE, CAROLINE                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
EAGLE, CAROLINE                                    Address on File
EAGLIN, KEVIN                                      Address on File
Eaglin, Michael                                    Address on File
EARL, ANTHONY                                      Address on File
Earl, Brittany                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
EARLES, JAMES                                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
EARLS, EDWARD                                      Address on File
Earls, Jeremiah                                    Address on File
EARLY, ALAN                                        Address on File
EARLY, CYNTHIA                                     Address on File
Earnest, Cheyenne                                  Address on File
EARTHLINK HOLDINGS CORP, DBA EARTHLINK BUSINESS 
1058                                               1170 PEACHTREE STREET                STE 900                                                     BIRMINGHAM       AL      35246‐1058

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                        Name                                   Address 1                            Address 2                Address 3                    City   State    PostalCode   Country
EASLEY, DAVID                              Address on File
EAST, CRYSTAL                              Address on File
EASTER, VENEISHA                           Address on File
EASTER, WILLIE                             Address on File
Eastland, Leenay                           Address on File
EASTMAN, JOSHUA                            300 East John Carpenter Freeway        Suite 800                                                   Irving             TX      75062
EASTMAN, JOSHUA                            Address on File
Eastwood, Caitlin                          Address on File
EASTWOOD, MARK                             Address on File
EASTWOOD, REBECCA                          Address on File
EASTWOOD, SHERI                            Address on File
EAT DRINK, LLP                             926 Clear Creek Dr                                                                                 Texarkana          TX      75503
EATMON, KODY                               Address on File
EATON CORPORATION                          P. O. BOX 730455                                                                                   DALLAS             TX      75373‐0455
EATON, BRITTNEY                            Address on File
Eaton, Cynthia                             Address on File
Eaton, Railene                             Address on File
EATON, TROY                                Address on File
EBERT, BRITTANY                            Address on File
ECHEVARRIA, AARON                          Address on File
ECHEVERRIA, VIRGINIA                       Address on File
ECHOIS, NEZARIA                            Address on File
ECHOLS, GARY                               Address on File
ECHOLS, JAHMAI                             Address on File
ECHOLS, LAURA                              Address on File
ECHOLS, STACEY                             Address on File
ECKER, TRACY                               Address on File
ECOLAB EQUIPMENT CARE                      GCS SERVICE INC.                       24673 NETWORK PLACE                                         CHICAGO            IL      60673‐1246
ECOLAB FOOD SAFETY SPECIALTIES             24198 NETWORK PLACE                                                                                CHICAGO            IL      60673
ECOLAB INC ECOSURE                         26397 NETWORK PLACE                                                                                CHICAGO            IL      60673‐1263
ECOLAB PEST ELIMINATION                    26252 NETWORK PLACE                                                                                CHICAGO            IL      60673‐1262
ECOLAB, INC.                               P. O. BOX 70343                                                                                    CHICAGO            IL      60673
ECOSYSTEMS LANDSCAPE SERVICES              DBA ECOSYSTEMS LANDSCAPE SERVICES      1700 DUNGAN LN.                                             AUSTIN             TX      78754
ECS TEXAS LLP                              14026 THUNDERBOLT                      SUITE 800                                                   CHANTILLY          VA      20151‐3232
Edberson, Devon                            Address on File
Eddins, Twyla                              Address on File
EDDY, LOREN                                Address on File
Edebor, Andrew                             Address on File
Edens, William                             Address on File
EDGMON, JESSICA                            Address on File
EDISON HOME RUN CLUB                       JONI WALKER                            9164 EAST LATIMER COURT                                     TULSA              OK      74115
EDMOND, TEVIN                              Address on File
Edmonds, Tatyana                           Address on File
Edmonds, Trevor                            Address on File
Edmondson, Ke'Auna                         300 East John Carpenter Freeway        Suite 800                                                   Irving             TX      75062
EDMONDSON, REBECCA                         Address on File
EDMONSON, CORY                             Address on File
Edmundson, Traevon                         Address on File
EDSON, LILY                                Address on File
EDUCATIONAL CENTER INTERNATIONAL ACADEMY   302 N TOWN EAST BLVD                                                                               SUNNYVALE          TX      75228
EDWARD, NERLEEN                            Address on File
EDWARDS, AARON                             Address on File
Edwards, Alec                              Address on File
EDWARDS, ANTONIO                           Address on File
Edwards, Ashley                            Address on File
Edwards, Branden                           Address on File
Edwards, Brian                             Address on File

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                                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                    Consolidated Creditor Matrix

                           Name                                           Address 1                               Address 2                Address 3                  City     State    PostalCode   Country
EDWARDS, CHRISTINA                                    Address on File
EDWARDS, DAKOTA                                       Address on File
EDWARDS, DAMAR                                        Address on File
Edwards, Desmond                                      Address on File
Edwards, Imonti                                       Address on File
EDWARDS, JENNIFER                                     Address on File
Edwards, Jillian                                      Address on File
EDWARDS, JORDAN                                       Address on File
Edwards, June                                         Address on File
Edwards, Kejuan                                       Address on File
Edwards, Nolan                                        300 East John Carpenter Freeway           Suite 800                                                   Irving             TX      75062
EDWARDS, OCTAVIA                                      Address on File
Edwards, Parker                                       Address on File
EDWARDS, RACHAUN                                      Address on File
EDWARDS, RAVEN                                        Address on File
EDWARDS, SHERRI                                       Address on File
EDWARDS, TAMIE                                        Address on File
Edwards, Thomas                                       300 East John Carpenter Freeway           Suite 800                                                   Irving             TX      75062
EDWARDS, TRISTEN                                      Address on File
Edwards, Zac                                          Address on File
Edwardsen, Brandy                                     Address on File
Eggleston, Tyler                                      Address on File
EGUAE‐OSA, JONATHAN                                   Address on File
Eidson, Michael                                       Address on File
Ekanim, Adrienne                                      Address on File
EKIS, SARAH                                           Address on File
Ekmeiro, Any                                          Address on File
EKSTROM, LARRY                                        Address on File
EL PASO COUNTRY SCHOOL DISTRICT 49                    VISTA RIDGE FOOTBALL                      10850 E WOODMEN RD                                          PEYTON             CO      80831
El Paso County                                        200 S Cascade                             Suite 150                                                   Colorado Springs   CO      80903‐2208
El Paso County Public Health                          1675 W Garde Of The Gods Rd Ste 2044                                                                  Colorado Springs   CO      80907

EL PASO COUNTY PUBLIC HEALTH                          ENVIRONMENTAL HEALTH DIVISION             1675 W GARDE OF THE GODS RD STE 2044                        COLORADO SPRINGS   CO      80907
El Paso County Treasurer                              PO Box 2018                                                                                           Colorado Springs   CO      80901‐2018
El Paso County Treasurer                              1675 Garden of the Gods Rd                                                                            Colorado Springs   CO      80907
EL RENO CHAMBER & DEVELOPMENT CORP                    206 N BICKFORD                                                                                        EL RENO            OK      73036
Elder, Anita                                          300 East John Carpenter Freeway           Suite 800                                                   Irving             TX      75062
ELDER, BRYAN                                          Address on File
Elder, Bryce                                          Address on File
Elderth, Chelsea                                      Address on File
Eldred, George                                        Address on File
Eldridge, Crystal                                     Address on File
ELDRIDGE, JESSICA                                     Address on File
ELDRIDGE, SONYA                                       Address on File
ELEWODALU, ERIC                                       Address on File
Elghosein, Fatmah                                     Address on File
ELIAS, PATRICIA                                       300 East John Carpenter Freeway           Suite 800                                                   Irving             TX      75062
ELITE PROPERTIES OF AMERICA DBA CLASSIC CONSULTING 
ENG & SURVEY                                          619 N CASCADE AVE SUITE 200                                                                           COLORADO SPRINGS   CO      80903
ELIZALDE, MARIA                                       300 East John Carpenter Freeway           Suite 800                                                   Irving             TX      75062
ELIZARDI, ARIEL                                       Address on File
ELK PLAZA SHOPPING CENTER                             2401 W BOIS D'ARC                                                                                     DUNCAN             OK      73533
ELKINS, JOSEPH                                        Address on File
ELLIOTT, CRIS                                         Address on File
Elliott, Mendy                                        Address on File
Elliott, Nicole                                       Address on File
Elliott, Ryan                                         300 East John Carpenter Freeway           Suite 800                                                   Irving             TX      75062

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                       Name                                    Address 1                         Address 2                Address 3                  City   State    PostalCode   Country
ELLIOTT, WILLIAM                          Address on File
Ellis County                              109 South Jackson                                                                                Waxahachie       TX      75165
Ellis County                              Drawer 188                                                                                       Waxahachie       TX      75168‐0188
ELLIS, ANDREW                             Address on File
Ellis, Cameron                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
ELLIS, CHASE                              Address on File
ELLIS, DALTON                             Address on File
Ellis, Jace                               Address on File
ELLIS, JOHNNY                             Address on File
ELLIS, JORDAN                             Address on File
ELLIS, KEVIN                              Address on File
ELLIS, MICHAEL                            Address on File
Ellis, Michelle                           Address on File
Ellis, Miguel                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
ELLIS, ROBBIE                             Address on File
ELLIS, SHELBY                             Address on File
ELLIS, TERRENCE                           Address on File
Ellis, Trenton                            Address on File
Ellis, Zhane                              Address on File
Ellison, Christina                        Address on File
ELLISON, MARC                             Address on File
ELLISON, REBEKA                           Address on File
Ellison, Robin                            Address on File
ELLISON, SANDRA                           Address on File
ELLSWORTH, STEPHANIE                      Address on File
ELMER, JOY                                Address on File
Elmore, Dedra                             Address on File
Elmore, Jordan                            Address on File
ELMORE, TELIA                             Address on File
Elousouani, Reyna                         Address on File
ELROD ENTERPRISES INC.                    PEST FORCE                           P O BOX 401                                                 MIDLOTHIAN       TX      76065
ELSEY, LEEANN                             Address on File
ELSTON‐NATIONWIDE CARRIERS                2701 BROWN TRAIL                     STE 301                                                     BEDFORD          TX      76021
Ely, Faithe                               Address on File
EMAMI, RAMONA                             Address on File
EMANUEL, JOSHUA                           Address on File
EMANUEL, TARIQ                            Address on File
EMARTHLA, DAKOTA                          Address on File
Embers, Darius                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
EMBERS, PRESTON                           Address on File
EMBRY, DEANA                              Address on File
EMEH, CLINTON                             Address on File
EMERGENCY                                 8700 DIPLOMACY ROW                                                                               DALLAS           TX      75247
Emerson, Ashton                           Address on File
EMERT, SHAY                               Address on File
EMMA, INC.                                75 REMITTANCE DR                     STE 6222                                                    CHICAGO          IL      60675‐6222
Emmer, Jacob                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
EMMERT, MERIAH                            Address on File
EMPLOYERS EDGE LLC                        5290 E. YALE CIRCLE, STE. 205                                                                    DENVER           CO      80222
ENABULELE, ELIZABETH                      Address on File
ENCARNACION, PATRICIA                     Address on File
ENERCON                                   P. O. BOX 269031                                                                                 OKLAHOMA CITY    OK      73126
Engelman, Mya                             Address on File
ENGH, JUSTIN                              Address on File
ENGINEER NETWORK SYSTEMS, INC.            14451 EWING AVE SOUTH                                                                            BURNSVILLE       MN      55306
England, Alexis                           Address on File
England, Denisa                           Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                         Name                                  Address 1                          Address 2                                Address 3                    City   State    PostalCode   Country
England, Devin                             Address on File
ENGLISH, KODY                              Address on File
ENGLISH, KOLE                              Address on File
ENGLISH, LATOSHA                           Address on File
ENGLISH, SYRIAH                            Address on File
English, Tommy                             300 East John Carpenter Freeway      Suite 800                                                                   Irving             TX      75062
Engram, Caleb                              Address on File
ENGRAM, MICHEAL                            Address on File
ENHORABUENA, SAUL                          Address on File
ENNIS INC                                  ADAMS MCCLURE                        P O BOX 841741                                                              DALLAS             TX      75284‐1741
Enriquez, Dulce                            300 East John Carpenter Freeway      Suite 800                                                                   Irving             TX      75062
Enriquez, Joel                             300 East John Carpenter Freeway      Suite 800                                                                   Irving             TX      75062
Enriquez, Joshua                           Address on File
ENRIQUEZ, MARIA                            Address on File
ENRIQUEZ, VALENTIN                         Address on File
ENS, TERRY                                 300 East John Carpenter Freeway      Suite 800                                                                   Irving             TX      75062
ENSEY, RALPH                               Address on File
ENTECH ENGINEERING INC                     505 ELKTON DR                                                                                                    COLORADO SPRINGS   CO      80907
ENTERGY                                    P O BOX 8104                                                                                                     BATON ROUGE        LA      70891‐8104
ENVIRONMENTAL PEST CONTROL LLC             P O BOX 6235                                                                                                     LAWTON             OK      73506
ENVIROSTAR WASTE SERVICE, INC              P.O. BOX 24285                                                                                                   BLUE SPRINGS       MO      64013‐4285
EPEL, MURAILA                              Address on File
Ephraim, Quatavion                         300 East John Carpenter Freeway      Suite 800                                                                   Irving             TX      75062
Eppinette, Blake                           Address on File
Eppinger, Tiernan                          Address on File
Epple, Aaron                               Address on File
ERAM, LUCKY                                Address on File
ERAM, REIMITA                              Address on File
Erazo, Makayla                             Address on File
Erdberg, Philip                            87 Via Navarro                                                                                                   Greenbrae          CA      94904
ERIC L. DAVIS ENGINEERING, INC.            P O BOX 2637                         120 E MAIN ST                                                               FORNEY             TX      75126
ERIC WHITE                                 720 W SPRING CREEK PWY                                                                                           PLANO              TX      75023
Erickson, Emilee                           Address on File
ERIMWIOGHEA, LOVETH                        Address on File
Erives, Florida                            Address on File
ERNST & YOUNG US, LLC                      PITTSBG NTNL BNK‐PITT640382          C/O ERNST & YOUNG US LLP                   PO BOX 640382                    PITTSBURGH         PA      15264‐0382
Ernst, Joyce                               300 East John Carpenter Freeway      Suite 800                                                                   Irving             TX      75062
Ernst, Mike                                300 East John Carpenter Freeway      Suite 800                                                                   Irving             TX      75062
Erpet, Makary                              Address on File
ERSERY, BRAYE                              Address on File
Ervin, Anastasia                           Address on File
Ervin, Lakia                               Address on File
ERVIN, MARCUS                              Address on File
Ervin, Shidae                              Address on File
Ervin, Treahnna                            Address on File
Erwin, Ivy                                 Address on File
ERWIN, SHYANNA                             Address on File
Escalante, Jasmin                          Address on File
Escalante, Jonathan                        Address on File
ESCALERA, JOSEPH                           Address on File
Escamilla, Beverly                         Address on File
ESCAMILLA, EMILY                           Address on File
Escamilla, Nicholas                        300 East John Carpenter Freeway      Suite 800                                                                   Irving             TX      75062
Escamilla, Valerie                         Address on File
ESCAMILLA, VAN                             300 East John Carpenter Freeway      Suite 800                                                                   Irving             TX      75062
ESCARENO, MARINA                           300 East John Carpenter Freeway      Suite 800                                                                   Irving             TX      75062
ESCARENO, NORMA                            Address on File

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                                                                                    In re: Taco Bueno Restaurants Inc.., et al.
                                                                                           Consolidated Creditor Matrix

                            Name                                Address 1                                Address 2                Address 3                   City   State    PostalCode   Country
Escobar Herrera, Jordan                     Address on File
ESCOBAR, ANA                                Address on File
ESCOBAR, JONATHAN                           Address on File
ESCOBAR, MARCELA                            300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062
Escobedo, Gloria                            Address on File
ESCOBEDO, HILDA                             Address on File
Escobedo, Ruben                             Address on File
ESCOBEDO, SABIAN                            Address on File
Escobedo, Veronica                          Address on File
ESCUTIA, JUAN                               Address on File
Esmond, Johnny                              300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062
Espada, Preciosa                            Address on File
ESPANA, MARISOL                             Address on File
Esparza, Casandra                           Address on File
ESPARZA, EMMA                               Address on File
ESPARZA, ERICK                              Address on File
ESPARZA, GEORGE                             300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062
Esparza, Noely                              Address on File
Espere, Catherine                           Address on File
ESPINDOLA, ANGELINA                         Address on File
ESPINO, CRISTIAN                            Address on File
Espino, Jonathan                            Address on File
ESPINOS, ANDRIA                             Address on File
ESPINOSA, HAILEY                            Address on File
ESPINOSA, LISA                              Address on File
ESPINOZA, AARON                             Address on File
Espinoza, Amairani                          300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062
ESPINOZA, CHRISTINA                         Address on File
ESPINOZA, CLAUDIA                           Address on File
ESPINOZA, DELIA                             Address on File
ESPINOZA, ELBA                              300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062
ESPINOZA, EVANGELINA                        300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062
Espinoza, Iris                              Address on File
ESPINOZA, JOSE                              Address on File
Espinoza, Juan                              Address on File
Espinoza, Laura                             300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062
ESPINOZA, LEODEGARIO                        Address on File
Espinoza, Michael                           300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062
ESPINOZA, MIGUEL                            Address on File
ESPRESATTI, MARIA                           300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062
ESQIVEL, MAYRA                              300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062
ESQUEJO, LILIAN                             300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062
Esquibel, Jose                              Address on File
Esquivel Cabrera, Abelardo                  Address on File
ESQUIVEL, ALAILA                            Address on File
Esquivel, Carlos                            Address on File
Esquivel, Claudia                           300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062
ESQUIVEL, ELIZABETH                         Address on File
Esquivel, Johnathan                         Address on File
Esquivel, Norma                             Address on File
ESQUIVEL, VANESSA                           Address on File
ESQUIVIAS, ALEXANDRIA                       Address on File
ESSEX, BRAD                                 Address on File
Essue, Andrew                               Address on File
ESTATE OF MARGARET J THOMAS                 D KENT LOWREY (LOWREY & MILIKIN, LLP)      PO BOX 61                                                   LONGVIEW          TX      75606
Esteban Chavez, Gudiel                      Address on File
Esteban, Liz                                300 East John Carpenter Freeway            Suite 800                                                   Irving            TX      75062

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                 Address 1                         Address 2                Address 3                    City   State    PostalCode   Country
ESTER JR, JOSEPH                           Address on File
Esters, Diane                              Address on File
Estes, DaQuan                              Address on File
Estes, Jared                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Estrada, Alyssa                            Address on File
Estrada, Andrew                            Address on File
ESTRADA, ESMERALDA                         Address on File
ESTRADA, EVANGELINA                        Address on File
ESTRADA, JOVANNY                           Address on File
ESTRADA, LILIA                             Address on File
ESTRADA, RODOLFO                           Address on File
ESTREDA, GLORIA                            Address on File
Estrella Batista, Vimarry                  Address on File
ESTUPINAN, JUAN                            Address on File
Ethington, Ariel                           Address on File
Ethington, Thomas                          Address on File
ETHRIDGE, KATRINA                          Address on File
ETTER, JACOB                               Address on File
Euless Police Department                   1102 W. Euless Blvd.                                                                             Euless             TX      76040
EVANS WARNER, CANDI                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
EVANS, ANTWONETT                           Address on File
EVANS, AUSTIN                              Address on File
EVANS, CHRISTINA                           Address on File
Evans, Colonel                             Address on File
Evans, Derraka                             Address on File
Evans, Dominique                           Address on File
Evans, Heather                             Address on File
Evans, Jace                                Address on File
EVANS, JOHN                                Address on File
Evans, Joshua                              Address on File
Evans, Kaleb                               Address on File
EVANS, LELAND                              Address on File
EVANS, MELISSA                             Address on File
EVANS, PHILLIP                             Address on File
Evans, Rebecca                             Address on File
Evans, Tamie                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
EVANS, TERRANCE                            Address on File
EVENS‐WARNER, CANDI                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
EVENT LOUNGE, LLC.                         850 N DOROTHY DR STE 504                                                                         RICHARDSON         TX      75081
EVENT RENTS DENVER LLC                     13305 JAMES E CASEY AVE                                                                          ENGLEWOOD          CO      80112
EVEN‐TEMP OF WICHITA INC                   216 S. COMMERCE                                                                                  WICHITA            KS      67202
EVERHART, SHETARA                          Address on File
EVERLY, JASON                              Address on File
EVERLY, VADIA                              Address on File
EVERYTHING MARKETING LLC                   SMART MARKET                         9151 YOUREE DRIVE                                           SHREVEPORT         LA      71115
EWING, AIDEN                               Address on File
EWING, MELISSA                             Address on File
EWING, MIORY                               Address on File
EXCEL DUNCANVILLE LP                       17140 BERNARDO CENTER DR             STE 300                                                     SAN DIEGO          CA      92128
Exendine, Christopher                      Address on File
EXENDINE, GINA                             Address on File
EXPERT REPAIR LLC                          4700 N HIATUS RD                     SUITE 154                                                   SUNRISE            FL      33351
EYAMBE, LARNE                              Address on File
EZ CATER, Inc.                             45 Bromfield Street                  8th Floor                                                   Boston             MA      02108
EZ FORMS                                   PO BOX 796755                                                                                    DALLAS             TX      75379
EZELL, JESSICA                             Address on File
EZELL, LINDSEY                             Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                         Name                                   Address 1                          Address 2                Address 3                    City   State PostalCode   Country
EZELL'S REFRIGERATION SERVICE               418 W WADE                                                                                       EL RENO            OK   73036‐3622
Faagai, Sierra                              Address on File
FAAMATAU‐CHAPLIN, LORI                      Address on File
FABIAN, CADE                                Address on File
FACEBOOK INC.                               15161 COLLECTIONS CTR DR                                                                         CHICAGO            IL   60693
Faciane, Jiliane                            Address on File
FACILITEC SOUTHWEST                         2300 COLD SPRINGS RD.                                                                            FORT WORTH         TX   76106
FACILITY SOLUTIONS GROUP P.O. BOX 952143    PO BOX 896508                                                                                    CHARLOTTE          NC   28289‐6508
Factor, Amy                                 Address on File
FADAEI, ABOLGHASEM                          300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
FAGAN DODD, CHASE                           Address on File
FAGAN, MARISSA                              Address on File
Fagan, Sabrina                              Address on File
FAHNTRAPP, JASON                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
FAIR, HUNTER                                Address on File
Fair, Lawrence                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
FAIRBANKS, TRE'AUNTAE                       Address on File
Fairchild, Mariah                           Address on File
FAIRLEY, COURTNEY                           Address on File
FAIRMAN, MARC                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
Fairman, Marc                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
FAIRWAY HOLDING DBA WALSH AND SIMMONS       111 WINNEBAGO                                                                                    ST. LOUIS          MO   63118
FAJARDO, JUVENCIO                           Address on File
FALK, SARAH                                 Address on File
Falls, Kailey                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
FALTER, JACOB                               Address on File
FAMILY HOSPICE LTD DBA GENTIVA HOSPICE      SAMANTHA RUSSELL                     2824 TERRELL RD STE 500                                     GREENVILLE         TX   75402‐5529
Fann, Brandon                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
FANNING, CAIN                               Address on File
FANNING, CHAD                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
Fanning, Chad                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
Fanning, Cody                               Address on File
Fanning, Jill                               Address on File
Farata, Angel                               Address on File
Farata, Anxious                             Address on File
FARATA, MAIRIN                              Address on File
FARGHAL, ZIAD                               Address on File
FARIAS, MIREYA                              Address on File
FARLEY, CALLA                               Address on File
FARLEY, COLYN                               Address on File
FARLEY, DE'ANDRE                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
FARLEY, DOUGLAS                             Address on File
Farley, Tyler                               Address on File
Farmer, Andrew                              Address on File
FARMER, BRITTANY                            Address on File
Farmer, Crystal                             Address on File
FARMER, DALTON                              Address on File
Farmer, Danielle                            Address on File
FARMER, ISAIAH                              Address on File
FARMER, MARQUEZ                             Address on File
FARMER, SIERRA                              Address on File
Farmer, Trinquavies                         300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
FARMERS BRANCH PO BOX 26364                 P.O. BOX 819010                                                                                  FARMERS BRANCH     TX   75381‐9010
FARMERSVILLE ISD                            501 A HWY 78 NORTH                                                                               FARMERSVILLE       TX   75442
FARNSWORTH, BRANDY                          Address on File
FAROOQUI, KAMERON                           Address on File
Farrar, Brandon                             Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                         Name                                   Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
FARRAR, STEPHANIE                           Address on File
FARRAR, STEPHANIE                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
FARRELL, JAMES                              Address on File
Farries, Murlon                             Address on File
FARRIS, KRISTY                              Address on File
FARRIS, LARRY                               Address on File
FARRIS, MATTHEW                             Address on File
Farrow, Chequita                            Address on File
FARROW, NICOLAS                             Address on File
Fast Emergency Plumbing Service             Address Unknown
FAST FOOD AUTOMATION SERVICES               905 HONEYSPOT RD.                                                                                STRATFORD         CT      06615‐7147
FATASHIA BROWN, FATASHIA                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Fatherree, Ashlynn                          300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
FAULK, JONATHAN                             Address on File
Faulkinberry, Bethany                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
FAULKNER, DA'JHON                           Address on File
FAULKNER, DALTON                            Address on File
FAULKNER, MANUEL                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
FAUST, LILLIAN                              Address on File
FAVELA, ERIKA                               Address on File
Favela, Kathryn                             Address on File
FAVERO, FALISHA                             Address on File
Fay, Kearsten                               Address on File
FAYE, MATTHEW                               Address on File
FC STONE LLC                                1251 NW BRIARCLIFF PKWY              SUITE 800                                                   KANSAS CITY       MO      64116
FEASTER, RYAN                               Address on File
Featherman, Brian                           Address on File
FEBLES, MICHAEL                             Address on File
FEBRES, GABRIELA                            Address on File
FEDERAL WAGE & LABOR LAW INSTITUTE LTD      7001 W. 43RD ST.                                                                                 HOUSTON           TX      77092
FEDEX                                       P. O. BOX 660481                                                                                 DALLAS            TX      75266‐0481
FEDEX FREIGHT                               P O BOX 10306                                                                                    PALATINE          IL      60055‐0306
FEILDS, DRUCILLA                            Address on File
FELICE CEDENO, LEONARDO                     Address on File
Feliciano, Karina                           Address on File
Felix‐Jones, Jeremiah                       Address on File
FELTON, JAMES                               Address on File
FELTZ, DYLAN                                Address on File
Fenn, Blake                                 Address on File
Fenn, Teresa                                Address on File
FENNELL, DESTINY                            Address on File
FENNOY, HEATHER                             Address on File
Ferachi, Madeline                           Address on File
FERGERSON, BRANDON                          Address on File
Ferguson II, Donald                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Ferguson Montague, Morgan                   Address on File
Ferguson, Abram                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Ferguson, Danielle                          Address on File
FERGUSON, KYLE                              Address on File
FERGUSON, MICHAEL                           Address on File
FERGUSON, PEGGY                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Ferguson, Precious                          Address on File
FERGUSON, STEVEN                            Address on File
FERNANDEZ, CHELSIE                          Address on File
FERNANDEZ, DYLN                             Address on File
FERNANDEZ, ELICIA                           Address on File
FERNANDEZ, FRANCISCO                        300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                Address 1                          Address 2                Address 3                     City   State    PostalCode   Country
Fernandez, Jairo                           Address on File
FERNANDEZ, JESSICA                         Address on File
FERNANDEZ, JOE                             Address on File
Fernandez, Rian                            Address on File
FERNANDEZ, RICHARD                         Address on File
FERNANDEZ, STONE                           Address on File
FERNANDEZ, VICTOR                          Address on File
Fernandez, Wilmer                          Address on File
FERRELL, THOMAS                            Address on File
FERRER, KAREN                              Address on File
FERRER, LILIANA                            Address on File
Ferris, Christopher                        Address on File
FERRUFINO, ALBA                            Address on File
Fertitta, Carmen                           300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
Fesenbek, Matthew                          300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
FETTIS, DAVID                              Address on File
FFE REPS, LLC                              101‐C GREENVILLE AVE                 SUITE 73                                                    ALLEN               TX      75002
FIALO, TONY                                Address on File
Fiarris, Bonnie                            Address on File
Fichtner, Caleb                            Address on File
Field, Brittany                            300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
FIELD, RACHAEL                             Address on File
FIELDER, ZAKARI                            Address on File
FIELDS, ALEXIS                             Address on File
FIELDS, ANDREA                             300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
Fields, Autumn                             Address on File
FIELDS, BRIDGETTE                          Address on File
Fields, Brieann                            Address on File
Fields, Ciquia                             Address on File
Fields, David                              Address on File
Fields, Dazzalyn                           Address on File
FIELDS, DEHNDRAY                           Address on File
Fields, Demetry                            Address on File
FIELDS, DEZMOND                            Address on File
Fields, Frank                              Address on File
FIELDS, JAMES                              Address on File
FIELDS, JEREMY                             Address on File
FIELDS, KALEB                              Address on File
FIELDS, KATESHA                            Address on File
Fields, Marissea                           Address on File
FIELDS, MARTCHELLO                         Address on File
Fields, Michelle                           Address on File
Fields, Montana                            Address on File
FIELDS, RAVEN                              Address on File
FIERCE SOFTBALL                            ADRIANA FUENTEZ                      1220 W JONATHAN WAY                                         MUSTANG             OK      73064
Fierro Madore, Colton                      Address on File
FIFE, AUSTIN                               Address on File
Fifth Third                                P.O. BOX 630900                                                                                  Cincinnati          OH      45263‐0900
Fifth Third (Smart Safe)                   P.O. BOX 630900                                                                                  Cincinnati          OH      45263‐0900
Figuereido, Simone                         Address on File
Figueroa, Andres                           Address on File
FIGUEROA, ARTURO                           Address on File
FIGUEROA, CAMERON                          Address on File
FIGUEROA, CELSA                            Address on File
FIGUEROA, MARC                             Address on File
Figueroa, Michael                          300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
FILGO OIL CO.                              P. O. BOX 565421                                                                                 DALLAS              TX      75356

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                         Name                                        Address 1                        Address 2                Address 3                  City   State    PostalCode   Country
Fillmore, dashawn                              Address on File
FILTER SERVICE OF WICHITA                      PO BOX 157                                                                                       VALLEY CENTER    KS      67147
Finch, Jordan                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
FINCH, JUSTIN                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
FINCH, WILLIE                                  Address on File
Fincher, Jordan                                Address on File
FINCHER, JUSTIN                                Address on File
Findley, Diane                                 Address on File
Finisson, Kazuko                               Address on File
FINLEY, DIAMOND                                Address on File
FINLEY, DOLLIE                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
FINLEY, EMERALD                                Address on File
FINLEY, FREDRICK                               Address on File
FINLEY, GAVIN                                  Address on File
FINLEY, JAZMYNE                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
FINLEY, JOHN                                   Address on File
FINLEY, JONATHAN                               Address on File
FINN, NATASHIA                                 Address on File
Fire Inspection Plus                           1294 S INCA STREET                                                                               DENVER           CO      80223
FIREBALLZ                                      LISA MOSMEYER                        111 BROOKSIDE DR                                            MOORE            OK      73160
FIRKINS, CRYSTAL                               Address on File
Firpo, Dwen                                    Address on File
FIRST ADVANTAGE LNS SCREENING SOLUTIONS, INC   P O BOX 742576                                                                                   ATLANTA          GA      30374‐2576
FIRST AID & SAFETY OF TEXAS P O BOX 703613     P O BOX 703613                                                                                   DALLAS           TX      75370
FIRST ASSEMBLY OF GOD                          107 N STANLEY PO BOX 1027                                                                        BIXBY            OK      74008
FIRST ASSEMBLY OF GOD                          DALAYNA DILLION                      P.O. BOX 1027                                               BIXBY            OK      74008
FIRST ASSEMBLY OF GOD                          5702 WESLEY ST.                                                                                  GREENVILLE       TX      75402
FIRST BAPTIST CHURCH OF OWASSO                 13307 E 96TH ST                                                                                  OWASSO           OK      74055
FIRST BAPTIST CHURCH OF WYLIE                  AMIE MAYES                           100 N FIRST                                                 WYLIE            TX      75098
FIRST BAPTIST CHURCH SPERRY YOUTH              PO BOX 907                                                                                       SPERRY           OK      74073
First Financial Bank                           101 College Park                                                                                 Weatherford      TX      76086
First National Bank TX                         201 E. Central Texas Expy                                                                        Harker Heights   TX      76548
First United Bank                              815 South Main Street                                                                            Sapulpa          OK      74066
FIRSTBAPTIST CHURCH OF ROANOKE                 GAYLE NOE                            PO BOX 1280                                                 ROANOKE          TX      76262
Fischer, Sofia                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
FISH WINDOW CLEANING                           DBA FISH WINDOW CLEANING             P. O. BOX 413631                                            KANSAS CITY      MO      64141
FISH WINDOW CLEANING                           PO BOX 1411                                                                                      DENTON           TX      76202
FISHER, A'CHAUNTI                              Address on File
FISHER, ANDREA                                 Address on File
FISHER, ASPYN                                  Address on File
FISHER, CHE'BON                                Address on File
FISHER, COY                                    Address on File
FISHER, DYLAN                                  Address on File
FISHER, JALEESHA                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
FISHER, JEREMY                                 Address on File
Fisher, Kelly                                  Address on File
FISHER, KYLIE                                  Address on File
Fisher, Mikayla                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
FISHER, ROCHELLE                               Address on File
FISHER, SAMONE                                 Address on File
FISHER, STEVEN                                 Address on File
FISHER, TAYA                                   Address on File
Fites, Amy                                     Address on File
Fitts, Abbie                                   Address on File
FITTS, DENZEL                                  Address on File
Fitts, Jennifer                                Address on File
Fitzgerald, David                              Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                          Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
FITZGERALD, MARINA                        Address on File
FITZPATRICK, DAN                          Address on File
FITZPATRICK, JUANITA                      Address on File
FITZPATRICK, RYAN                         Address on File
FITZSIMMONS, LACEY                        Address on File
FIVES, TIBER                              Address on File
FIX SYSTEMS                               908 AUDELIA RD #200‐126                                                                          RICHARDSON      TX      75081‐5150
FIXCO, NEVIN                              Address on File
FIXICO, JASON                             Address on File
Fixico, Kelsie                            Address on File
FIXICO, MONICA                            Address on File
Fixico, Sawyer                            Address on File
FLADELAND, HANNAH                         Address on File
FLANAGAN, BRIAN                           Address on File
Flanagan, Jordan                          Address on File
FLANAGAN, KELSEY                          Address on File
FLANAGAN, MICHAEL                         Address on File
Flannery, Edward                          Address on File
FLEEKS, BRITNEY                           Address on File
FLEMING, ALEXANDRIA                       Address on File
FLEMING, CHRISTOPHER                      Address on File
FLEMING, CHRISTOPHER                      Address on File
Fleming, Cyrus                            Address on File
FLEMING, DAMECO                           Address on File
FLEMING, EMILY                            Address on File
Fleming, James                            Address on File
FLEMING, JUSTINE                          Address on File
Fleming, Lauren                           Address on File
Fleming, Rayvon                           Address on File
FLEMING, ZACHARY                          Address on File
Flemings, DaZhon                          Address on File
FLEMINGS, JEFFREY                         Address on File
FLEMINGS, LARRY                           Address on File
FLETCHER, ALISON                          Address on File
Fletcher, Frances                         Address on File
FLETCHER, FRANK                           Address on File
FLETCHER, QUINCY                          Address on File
Fletcher, Taylor                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
FLETCHER, WILLIAM                         Address on File
Fleury, Shane                             Address on File
Flick, Ezekiel                            Address on File
FLIGHT3 MARKETING LLC                     6679 HUNTERS PKWY                                                                                FRISCO          TX      75035
FLIPPEN, MONIQUE                          Address on File
Flood, Reilley                            Address on File
FLORENTINE, CASSONDRA                     Address on File
FLORES RAMIREZ, ARIANA                    Address on File
FLORES SALDANA, REYNA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
FLORES URBINA, DEISY                      Address on File
FLORES, ABBYGALE                          Address on File
FLORES, ABRAHAM                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
FLORES, ADAM                              Address on File
Flores, Alonzo                            Address on File
FLORES, AMANDA                            Address on File
FLORES, AMANDA                            Address on File
FLORES, AMILCAR                           Address on File
FLORES, AMILCAR                           Address on File
FLORES, AMILCAR                           Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                       Name                                    Address 1                          Address 2                Address 3                    City   State    PostalCode   Country
FLORES, ANDRES                             Address on File
FLORES, ANGELICA                           Address on File
FLORES, ANTHONY                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Flores, Antonio                            Address on File
FLORES, CAMERON                            Address on File
FLORES, CLAUDIA                            Address on File
FLORES, CRYSTAL                            Address on File
FLORES, DARLENE                            Address on File
FLORES, DIEGO                              Address on File
FLORES, DORIS                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
FLORES, ERIC                               Address on File
Flores, Gustavo                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
FLORES, HEATHER                            Address on File
Flores, Ida                                Address on File
Flores, Isabel                             Address on File
FLORES, ISRAEL                             Address on File
FLORES, IVORY                              Address on File
FLORES, JESUS                              Address on File
FLORES, JULIANA                            Address on File
FLORES, KIM                                Address on File
Flores, Korina                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
FLORES, KRISTINA                           Address on File
FLORES, LAUREN                             Address on File
Flores, Lorena                             Address on File
Flores, Mariano                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
FLORES, MAYRA                              Address on File
FLORES, MERIAH                             Address on File
FLORES, NOE                                Address on File
FLORES, NORMA                              Address on File
Flores, Rose                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
FLORES, SERGIO                             Address on File
Flores, Sonia                              Address on File
FLORES, STACY                              Address on File
FLORES, TAMYAH                             Address on File
Flores, Zachary                            Address on File
FLORES‐RODRIQUEZ, ENRIQUE                  Address on File
FLOREZ, HEATHER                            Address on File
FLORIO, JOHNATHAN                          Address on File
Flournoy, Devon                            Address on File
FLOWER MOUND CHAMBER OF COMMERCE           700 PARKER SQUARE #100                                                                           FLOWER MOUND       TX      75028
FLOWERMOUND ELEMENTARY PTA                 CHERYL GUNN                          4009 COMMONWEALTH DR                                        FLOWER MOUND       TX      75028
FLOWERS, BRITTNEY                          Address on File
FLOWERS, DELHETRIC                         Address on File
FLOWERS, DOMINQUE                          Address on File
Flowers, Leroy                             Address on File
Flowers, Maddi                             Address on File
Flowers, Marcus                            Address on File
Flowers, Rhiannon                          Address on File
FLOWERS, SARAH                             Address on File
Flowers, Tyler                             Address on File
FLOYD, CHARLES                             Address on File
FLOYD, MELISSA                             Address on File
FLUELLEN, TREAVONTIS                       Address on File
FLURRY, TRISTAN                            Address on File
Flury, Joseph                              Address on File
FLYER & DOOR HANGER DELIVERY SERVICE       12526 HIGH BLUFF DR STE 300                                                                      SAN DIEGO          CA      92130
Flynn, Faithann                            Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                          Name                                     Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
FLYNN, WILLIAM                                 Address on File
Fodor, Lauren                                  Address on File
FOLEY, GABRIELLE                               Address on File
FOLLIS, PATRICIA                               Address on File
FOLLMER, LENA                                  Address on File
Folske, Valerie                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
FONDEVILLA, MARK                               Address on File
Fondon, Kyle                                   Address on File
FONSECA TORRES, JUDISSA                        Address on File
FONSECA, CHRISTIAN                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
FONSECA, EDUARDO                               Address on File
Fonseca, Raquel                                Address on File
Fontenot, Alyssa                               Address on File
FONTENOT, TRISHA                               Address on File
Fonzetti, Sarah                                Address on File
FOOD BY PAIGE                                  4332 AMHERST AVE                                                                                 DALLAS           TX      75225
FOOD SAFETY TRAINING SPECIALISTS PO BOX 2885   5147 HARVARD BX 298                                                                              TULSA            OK      74135
FOOR, MACKENZIE                                Address on File
FOOR, MADELINE                                 Address on File
Foor, Marc                                     Address on File
Forbes, Clinton                                Address on File
FORBES, HEVER & WALLACE                        P O BOX 329                                                                                      STONEWALL        TX      78671‐0329
FORD GLASS & MIRROR, LLC.                      3200 BIGHAM BLVD                                                                                 FORT WORTH       TX      76116
FORD, ALICIA                                   Address on File
FORD, ANDREW                                   Address on File
FORD, BRANDON                                  Address on File
FORD, BRONCHEE                                 Address on File
Ford, Camya                                    Address on File
FORD, CHARLOTTE                                Address on File
FORD, DACORIAN                                 Address on File
FORD, ETHAN                                    Address on File
FORD, HOPE                                     Address on File
Ford, Jacob                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
FORD, JADA                                     Address on File
FORD, JEREMY                                   Address on File
Ford, Joe                                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
FORD, JUNE                                     Address on File
Ford, Kennedi                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
FORD, MABLE                                    Address on File
FORD, PRISCILLA                                Address on File
FORD, STEWART                                  Address on File
FORD, YSABELLE                                 Address on File
Foreman, Jahni                                 Address on File
Foreman, Jordan                                Address on File
FOREMAN, MEGAN                                 Address on File
FOREMAN, SHANNON                               Address on File
FOREST HILL UTILITIES 6800 FOREST HILL         3219 CALIFORNIA PARKWAY                                                                          FOREST HILL      TX      76119
FOREST, JOE                                    Address on File
FORESTER, ROBERT                               Address on File
FORESYTHE, MARK                                Address on File
Forrest, Apryl                                 Address on File
FORRESTER, CHRISTIAN                           Address on File
FORRESTER, JEFFREY                             Address on File
FORRESTER, MARY                                Address on File
Forrister, Dana                                Address on File
FORT WORTH WATER DEPARTMENT                    P.O. BOX 961003                                                                                  FORT WORTH       TX      76161‐0003
FORTIZ, VANESSA                                Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                        Name                                     Address 1                            Address 2                Address 3                  City   State    PostalCode   Country
FORTNER, MADISON                             Address on File
Fortune, Brianna                             Address on File
FOSHEE, ARIANNA                              Address on File
Foster, Barry                                300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Foster, Bethany                              300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Foster, Bonnie                               Address on File
FOSTER, BRYANT                               300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Foster, Bryant                               Address on File
FOSTER, CALVIN                               Address on File
FOSTER, DARVELL                              Address on File
Foster, Erik                                 300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
FOSTER, JASON                                Address on File
FOSTER, KOURTNEY                             Address on File
FOSTER, MALCOM                               300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Foster, Olga                                 Address on File
FOSTER, RANDALL                              Address on File
FOSTER, RAYCHEL                              300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
FOSTER, SHANEISHA                            Address on File
FOSTER, SYDNEY                               Address on File
Foster, Tonya                                Address on File
FOTHERGILL, RACHEL                           Address on File
FOULSTON SIEFKIN LLP                         1551 N WATERFRONT PKWY                 SUITE 100                                                   WICHITA          KS      67206
FOUNTAIN, MICHAEL                            Address on File
FOURIE, CHRIS                                Address on File
Fowler, Edith                                300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
FOWLER, JEREMY                               Address on File
FOWLER, NICOLE                               Address on File
Fowler, Ravon                                Address on File
Fowlkes, Heavan                              Address on File
FOX, ANDREA‐NATASHA                          Address on File
Fox, Cameron                                 Address on File
Fox, Davin                                   300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Fox, Kathy                                   Address on File
FOX, TYLER                                   Address on File
Fox, Zailey                                  Address on File
FOXWORTH GALBRAITH LUMBER                    P O BOX 161399                                                                                     FORT WORTH       TX      76161
FOY, SAMUEL                                  Address on File
Fraire, Andrea                               Address on File
Fraire, Jennifer                             Address on File
FRAIRE, MARIA                                Address on File
FRALEY, AIDAN                                Address on File
FRALEY, CHRISTOPHER                          Address on File
FRAMPTON, CAROLE                             Address on File
FRANCHISE TIMES 2500 CLEVELAND AVE.          2808 ANTHONY LANE SOUTH                                                                            MINNEAPOLIS      MN      55418
FRANCHISE UPDATE, INC. 6489 CAMDEN AVE.      P O BOX 20547                                                                                      SAN JOSE         CA      95160
FRANCIS, CATHERINE                           Address on File
Francis, Christopher                         Address on File
FRANCIS, DONALD                              Address on File
FRANCIS, FABIANA                             Address on File
FRANCIS, MATTHEW                             Address on File
FRANCO, ALFREDO                              Address on File
FRANCO, GUSTAVO                              Address on File
FRANCO, RAUL                                 Address on File
franco, Steven                               Address on File
Francois, Tyler                              Address on File
FRANCONNECT                                  11800 SUNRISE VALLEY DR. STE. 150                                                                  RESTON           VA      20191
FRANK C ROBSON PROPERTIES                    DBA FRANK C. ROBSON PROPERTIES         P. O. 986                                                   CLAREMORE        OK      74018

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                                                                                    In re: Taco Bueno Restaurants Inc.., et al.
                                                                                           Consolidated Creditor Matrix

                          Name                                        Address 1                          Address 2                Address 3                   City   State PostalCode   Country
FRANK PASQUALETTI, SR. AND PATRICIA PASQUALETTI   2315 KEYSTONE TRAIL                                                                              CORTLAND          OH   44410
FRANK, DENNIS                                     Address on File
Frank, Esther                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
FRANKEN, WILLIAM                                  Address on File
FRANKLIN MACHINE PRODUCTS                         P O BOX 781570                                                                                   PHILADELPHIA      PA   19178‐1570
FRANKLIN, AARON                                   Address on File
Franklin, Donavan                                 Address on File
Franklin, Jacob                                   Address on File
FRANKLIN, JACOB                                   Address on File
Franklin, Jayna                                   Address on File
FRANKLIN, JHONAE                                  Address on File
Franklin, Kiera                                   Address on File
Franklin, Shelby                                  Address on File
FRANKLIN, TRAVIS                                  Address on File
FRANKS, DE'ANDRE                                  Address on File
FRANKS, DOMINEEC                                  Address on File
Franks, Jermaine                                  Address on File
Franks, Justin                                    Address on File
FRASER II, ANGUS                                  Address on File
FRASURE, ISAIAN                                   Address on File
FRAUSTO, ANGELICA                                 Address on File
FRAUSTO, PATRICIA                                 Address on File
FRAZIER, AKAI                                     Address on File
Frazier, Alexus                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
FRAZIER, ANDREA                                   Address on File
FRAZIER, ANTHONY                                  Address on File
FRAZIER, BRADY                                    Address on File
Frazier, Brooke                                   Address on File
Frazier, Cheyanna                                 Address on File
FRAZIER, HADASSAH                                 Address on File
Frazier, Laya                                     Address on File
FRAZIER, MATTHEW                                  Address on File
Frazier, Nathan                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Frazier, Noelle                                   Address on File
FRAZIER, ROSE                                     Address on File
FRAZIER, TEELA                                    Address on File
Frazier, Tyler                                    Address on File
FRAZIER, ZACHERY                                  Address on File
FRC GENESIS FUNDSUB II, LLC                       2311 Cedar Springs Road              Suite 300                                                   Dallas            TX   75201
Frederick, Timothy                                Address on File
Frederick, Tristan                                Address on File
Frederick, Trula                                  Address on File
FREDRICK, KEONE                                   Address on File
FREEMAN HEIGHTS BAPTIST CHURCH                    ANGELA FRANKLIN                      1120 N GARLAND AVE                                          GARLAND           TX   75040
Freeman, Brody                                    Address on File
FREEMAN, DANIELLE                                 Address on File
Freeman, Erin                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Freeman, Gabriel                                  Address on File
Freeman, Jazell                                   Address on File
Freeman, Jesse                                    Address on File
Freeman, John                                     Address on File
FREEMAN, KLEA                                     Address on File
Freeman, Kortni                                   Address on File
FREEMAN, MARYAM                                   Address on File
Freeman, Miranda                                  300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
FREEMAN, MONTEL                                   Address on File
Freeman, Nathan                                   Address on File

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                         Name                                     Address 1                          Address 2                Address 3                 City      State    PostalCode   Country
freeman, shane                                Address on File
FREEMAN, SHONTEL                              Address on File
FREEMAN, TREY                                 Address on File
FREEMAN, WILLIAM                              Address on File
FREEMAN, WILLIAM                              Address on File
Freeney, Elijah                               Address on File
FREEOK, INC                                   6013 MARLOW LANE                                                                                 OKLAHOMA CITY      OK      73132
FREITUS, JOSEPH                               Address on File
FRELIX, JAMARCUS                              Address on File
FRENCH, CIERRA                                Address on File
French, Ira                                   Address on File
French, ShaQuille                             Address on File
FRESHMAN ACADEMY PTSA                         PIPER HANEWINKLE                     301 W NEW ORLEANS ST                                        BROKEN ARROW       OK      74011
Freuck, Justin                                Address on File
Frey, Danielle                                Address on File
Friday, Autumn                                Address on File
Friday, Collin                                Address on File
Friday, Dakota                                Address on File
FRIDAY, LUTHER                                Address on File
Friend, Rhonda                                Address on File
Friend, William                               Address on File
FRIENDSHIP BAPTIST CHURCH                     DANNY CALHOUN                        14100 E 86TH ST N                                           OWASSO             OK      74055
Frisbee, Sylvia                               Address on File
Frisco Police Department                      7200 Stonebrook Pkwy.                                                                            Frisco             TX      75034
FRITTS, KATHARINE                             Address on File
Fritz, Zoe                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
FRONTIER ELEMENTARY                           ATTN: JOVEE KNAGGE                   3755 MEADOW RIDGE RD                                        COLORADO SPRINGS   CO      80920
FRONTIER WILDLIFE CONTROL                     6001 KELLY ELLIOTT ROAD                                                                          ARLINGTON          TX      76001
Frost, Gabriela                               Address on File
FROST, SHAUNTE                                Address on File
FROZEN DRINK MADNESS INC. 438 LOVE BIRD LN.   422 SKYLINE DR                                                                                   MURPHY             TX      75094
FRUCTUOSO, DOMENICA                           Address on File
FRUNK, BEN                                    Address on File
FRY, KATHRYN                                  Address on File
Frye, Bryan                                   Address on File
FRYE, EMILY                                   300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
FRYE, KRISTINA                                Address on File
Frye, Shanade                                 Address on File
FRYER II, TONY                                Address on File
FRYMASTER/DEAN                                P.O. BOX 951679                                                                                  DALLAS             TX      75395
FRYSON, EMMANUEL                              Address on File
FT WORTH INDEPENDENT SCHOOL DIST              KANIETTA KIDD                        100 N UNIVERSITY DR                                         FORT WORTH         TX      76107
FTI Consulting, Inc.                          Three Times Square                   9th Floor                                                   New York           NY      10036
FTP Investments, LLC                          2315 Keystone Trail                                                                              Cortland           OH      44410
Fuel, Julian                                  Address on File
Fuentes, Allan                                Address on File
FUENTES, DESIREY                              Address on File
FUENTES, FLOR                                 Address on File
FUENTES, GLENDA                               Address on File
FUENTES, MARISSA                              Address on File
FUENTES, MONICA                               Address on File
Fuentes, Oscar                                Address on File
Fuentes, Osvaldo                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
FUENTES, THELMA                               Address on File
FUERZAN, DANIENA                              Address on File
FUGUA, GREGORY                                Address on File
FUKSA, HANNAH                                 Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                      Name                                         Address 1                          Address 2                Address 3                 City      State    PostalCode   Country
FULFER, AUBREY                                 Address on File
Fulfer, Debra                                  Address on File
Fulgham, Ashleigh                              Address on File
FULGHAM, CHARLIE                               Address on File
Fuller, Dairess                                Address on File
FULLER, INGRID                                 Address on File
Fuller, Jacob                                  Address on File
Fuller, Jakayla                                Address on File
Fuller, Jeffery                                Address on File
Fuller, Lorenzo                                Address on File
FULLER, RAY                                    Address on File
FULLER, REUBEN                                 Address on File
Fulmer, Carson                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Fulton, Alicia                                 Address on File
Fulton, Jaslyn                                 Address on File
Funderburk, Alyssa                             Address on File
FUNDERBURK, DON                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
FUNDERBURK, DONALD                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
FUNDERBURK, WESLEY                             Address on File
Funes, Erica                                   Address on File
FUNK, DONALD                                   Address on File
Funston, Logan                                 Address on File
Fuqua, Darren                                  Address on File
Furgerson, Conner                              Address on File
FUSTON, LATASHA                                Address on File
FUTURE ENERGY SOLUTIONS CONTRACTS NO. 1 LLLP   5400 NW 35TH AVE                                                                                 FORT LAUDERDALE    FL      33309
FUTURE OWASSO RAMS CHEERLEADING INC.           CRENETTE RHOADES                     11016 N 147TH E AVE                                         OWASSO             OK      74055
FUXA, NICHOLAS                                 Address on File
Fye, Kirk                                      Address on File
G AMBER CORP DBA TMR DIRECT                    2110 BUSCH AVENUE                                                                                COLORADO SPRINGS   CO      80904
Gabal, Sarah                                   Address on File
GABBARD, AMY                                   Address on File
GABBARD, DEVI                                  Address on File
GABBARD, JANETTE                               Address on File
Gabbard, Jordan                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
GABBIN, JOSHUA                                 Address on File
Gabel, Kaitlin                                 Address on File
GABEL, TAYLOR                                  Address on File
GABINO, ANA                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Gabino, Ires                                   Address on File
GABINO, MARGARITA                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
GABINO, MARIA                                  Address on File
Gachii, Faith                                  Address on File
GADDIS, BRANDAN                                Address on File
GADDIS, JORDAN                                 Address on File
GAETA, LILIANA                                 Address on File
GAFFNEY, DOMINIC                               Address on File
Gafney, Jaylin                                 Address on File
GAGE, ALEXANDRIA                               Address on File
Gage, Michael                                  Address on File
GAGE, NATALIE                                  Address on File
GAGE, SAVANNAH                                 Address on File
Gagnon, April                                  Address on File
GAHAGAN, TIFFANI                               Address on File
Gailley, Caden                                 Address on File
GAINES, CEDRICK                                Address on File
Gaines, Christian                              Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
GALBRAITH, CARLA                           Address on File
GALBREATH, CHINIQUE                        Address on File
Gale, Morgan                               Address on File
GALES, KELSIE                              Address on File
Galindez, Alberto                          Address on File
GALINDO, LUIS                              Address on File
GALINDO, ROBERT                            Address on File
GALLAGER, SARA                             Address on File
Gallagher, Mike                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GALLAGHER, VICTOR                          Address on File
GALLARDO, ALEXANDRA                        Address on File
Gallardo, Christopher                      Address on File
Gallardo, Jose                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GALLARDO, SULIQUEY                         Address on File
GALLARDO, YAHAIRA                          Address on File
GALLEGOS, CARLOS                           Address on File
Gallegos, Christian                        Address on File
Gallegos, Enrique                          Address on File
Gallegos, Lilibeth                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Gallegos, Pablo                            Address on File
GALLEGOS, VALERIE                          Address on File
Gallegos‐Salazar, Osiel                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GALLEN JR., JEFFREY                        Address on File
Gallimore, Kamiesha                        Address on File
GALLO, GRICELDA                            Address on File
GALLO, JOSE                                Address on File
GALLO, NANCY                               Address on File
Galloway, David                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Galloway, Evan                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GALLOWAY, JESSICA                          Address on File
GALVAN, ANDREW                             Address on File
GALVAN, FREDDIE                            Address on File
GALVAN, FREDRICK                           Address on File
GALVAN, JUAN                               Address on File
GALVAN, MACARIO                            Address on File
GALVAN, MARYEA                             Address on File
GALVAN, MICAH                              Address on File
GALVAN, MONICA                             Address on File
GALVAN, RUBEN                              Address on File
Galvan, Ulysses                            Address on File
Gamble, Barry                              Address on File
GAMBLE, JOHNNY                             Address on File
GAMBLE, REBECCA                            Address on File
Gamble, Tannika                            Address on File
Gamblin, Chloe                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GAMBOA, GRECIA                             Address on File
GAMBOA, JUAN                               Address on File
GAMBOA, PETRA                              Address on File
Gamboa, Sabrina                            Address on File
GAMBOA, STEPHANIE                          Address on File
GAMBREL, EVA                               Address on File
Gamez, Maria                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GAMEZ, RAUL                                Address on File
GAMEZ, ROBERTO                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Gamiz, Beatriz                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GAMMON, MCKENZIE                           Address on File
GAMON, CRISTINA                            Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                            Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
GANDY, ISAIAH                               Address on File
GANDY, TAMMY                                Address on File
Gann, Cassandra                             Address on File
Gann, Clayton                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARAS, JASON                                Address on File
GARAY, NATHANIAL                            Address on File
GARAY, ROBERT                               Address on File
GARBO'S LOCKSMITH SERVICE                   P. O. BOX 566                                                                                    ABILENE          TX      79604
Garbutt, Alexander                          Address on File
Garcia Aguilera, Stephanie                  Address on File
GARCIA MEZA, ROMEO                          Address on File
GARCIA PEREZ, GABRIELA                      Address on File
Garcia, Abram                               Address on File
GARCIA, ADELA                               Address on File
GARCIA, ADRIAN                              Address on File
GARCIA, ADRIAN                              Address on File
GARCIA, ADRIANA                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, ALEX                                Address on File
Garcia, Alexus                              Address on File
GARCIA, ALYSSA                              Address on File
GARCIA, ANDREW                              Address on File
Garcia, Angel                               Address on File
Garcia, Angie                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, ANTHONY                             Address on File
GARCIA, ANTONIO                             Address on File
GARCIA, AUSTEN                              Address on File
Garcia, Bailee                              Address on File
GARCIA, BENITA                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Garcia, Brandon                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, BRANDON                             Address on File
GARCIA, BRANDY                              Address on File
Garcia, Brenda                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Garcia, Brenda                              Address on File
GARCIA, BRIAN                               Address on File
Garcia, Carlos                              Address on File
GARCIA, CECILIA                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, CHRISTINA                           Address on File
GARCIA, CORINA                              Address on File
Garcia, Cristal                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Garcia, Cristian                            Address on File
GARCIA, DAVID                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, DAVID                               Address on File
GARCIA, DESTINY                             Address on File
GARCIA, EDITH                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, ELENA                               Address on File
GARCIA, ELIZABETH                           Address on File
Garcia, Emily                               Address on File
Garcia, Ernestina                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Garcia, Estephani                           Address on File
GARCIA, EVA                                 Address on File
GARCIA, EVELIA                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Garcia, Francis                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, FRANCISCO                           Address on File
Garcia, Gabriel                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, GABRIEL                             Address on File
GARCIA, GLADIS                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, HEATHER                             Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
GARCIA, HERMINIO                        Address on File
GARCIA, ISAAC                           Address on File
Garcia, Isaiahs                         Address on File
GARCIA, ISMAEL                          Address on File
GARCIA, ISRAEL                          Address on File
GARCIA, JANET                           Address on File
GARCIA, JASMINE                         Address on File
Garcia, Jayden                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Garcia, Jennifer                        Address on File
GARCIA, JESUS                           Address on File
Garcia, John                            Address on File
Garcia, Johnny                          Address on File
GARCIA, JONATHAN                        Address on File
Garcia, Jorge                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GARCIA, JOSE                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GARCIA, JOSE                            Address on File
Garcia, Jose                            Address on File
GARCIA, JOSEFINA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Garcia, Joseph                          Address on File
Garcia, Josue                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GARCIA, JOSUE                           Address on File
GARCIA, JUAN                            Address on File
Garcia, Juan                            Address on File
GARCIA, JULIA                           Address on File
GARCIA, JULIAN                          Address on File
GARCIA, KAIAH                           Address on File
GARCIA, KAREN                           Address on File
Garcia, Karla                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Garcia, Keith                           Address on File
Garcia, Kiralynn                        Address on File
GARCIA, KRISTIN                         Address on File
GARCIA, LARISSA                         Address on File
GARCIA, LAURA                           Address on File
Garcia, Laura                           Address on File
GARCIA, LEONOR                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GARCIA, LIZBETH                         Address on File
GARCIA, LORI                            Address on File
GARCIA, LUIS                            Address on File
GARCIA, LUIS                            Address on File
Garcia, Luna                            Address on File
GARCIA, LUZ                             Address on File
GARCIA, LUZ                             Address on File
GARCIA, MABELL                          Address on File
GARCIA, MACY                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GARCIA, MALENY                          Address on File
Garcia, Marc‐Anthony                    Address on File
GARCIA, MARCELINA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GARCIA, MARIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GARCIA, MARIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GARCIA, MARIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GARCIA, MARIA                           Address on File
GARCIA, MARIA                           Address on File
GARCIA, MARIA                           Address on File
GARCIA, MARIA                           Address on File
GARCIA, MARILU                          Address on File
GARCIA, MARISSA                         Address on File
Garcia, Marvin                          Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                          Name                                 Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
GARCIA, MAYELA                             Address on File
GARCIA, MIRIAM                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, MIRTA                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Garcia, Moises                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, NICOLE                             Address on File
GARCIA, PATRICK                            Address on File
Garcia, Pedro                              Address on File
Garcia, Ramona                             Address on File
GARCIA, RAUL                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Garcia, Rebekkah                           Address on File
GARCIA, REYNALDO                           Address on File
Garcia, Rocio                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, ROSA                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Garcia, Rosa                               Address on File
GARCIA, ROSALBA                            Address on File
Garcia, Rosemary                           Address on File
GARCIA, SALLY                              Address on File
GARCIA, SAMANTHA                           Address on File
Garcia, Sandra                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Garcia, Selene                             Address on File
GARCIA, SEVANA                             Address on File
GARCIA, SILVIA                             Address on File
GARCIA, TAIMEL                             Address on File
GARCIA, VERONICA                           Address on File
GARCIA, VINCENT                            Address on File
GARCIA, VIOLETA                            Address on File
GARCIA, VIRGINIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARCIA, VIRGINIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Garcia, Yamileth                           Address on File
GARCIA, YEDAR                              Address on File
GARCIA, YVONNE                             Address on File
GARCIA, YVONNE                             Address on File
GARCIA, ZACHARY                            Address on File
GARCIA, ZITA                               Address on File
GARCIA‐CASTILLO, WENDY                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Gardea, Christian                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GARDEN DEPOT                               DBA 4‐D LAWN AND LANDSCAPE CO        P O BOX 6678                                                LAWTON           OK      73506
GARDNER, BRIDGET                           Address on File
GARDNER, JACQUELINE                        Address on File
GARDNER, MONTERRIA                         Address on File
GARDNER, PAUL                              Address on File
GARDNER, RITA                              Address on File
GARDNER, SACHA                             Address on File
GARDNER, TIFFANY                           Address on File
Garduno, Alejandro                         Address on File
Garfield County Treasurer                  114 W Broadway Ave # 104                                                                         ENid             OK      73701
Garfield County Treasurer                  PO Box 489                                                                                       Enid             OK      73702‐0489
GARFIELD CPO BOX 489                       PO BOX 489                                                                                       ENID             OK      73702‐0489
Gargas, Kaegan                             Address on File
GARLAND COMM INDUSTRIES LLC                39934 TREASURY CENTER                                                                            CHICAGO          IL      60694‐9900
GARLAND HIGH SCHOOL FOOTBALL BOOSTER       ASHLEY AOLCOMB                       PO BOX 460216                                               GARLAND          TX      75046
Garland Independent School District        501 S. Jupiter                                                                                   Garland          TX      75042
Garland Independent School District        PO Box 461407                                                                                    Garland          TX      75046‐1407
GARLAND INDIESTRICTPO BOX 461              DISTRICT                             PO BOX 461407                                               GARLAND          TX      75046‐1407
Garland Police Department                  1891 Forest Lane                                                                                 Garland          TX      75042
Garland Police Department                  Alarm Section                        1891 Forest Ln.                                             Garland          TX      75042
Garland Police Department                  Alarm Enforcement Clerk              7891 Forest Ln                                              Garland          TX      75042

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                          Name                                      Address 1                       Address 2                                Address 3                  City   State PostalCode   Country
Garland Police Department                       Alarm Enforcement Clerk              PO Box 469002                                                            Garland          TX   75046‐9002
GARLAND POLICE DEPARTMENT                       ATTN ALARM UNIT                      P.O. BOX 469002                            1891 FOREST LANE              GARLAND          TX   75042
Garland, Brittney                               300 East John Carpenter Freeway      Suite 800                                                                Irving           TX   75062
Garland, Lisa                                   Address on File
Garland, Misty                                  Address on File
GARLAND, TWYIANA                                Address on File
Garner, Ashley                                  Address on File
Garner, Debra                                   300 East John Carpenter Freeway      Suite 800                                                                Irving           TX   75062
Garner, Kashon                                  Address on File
Garner, Keesha                                  Address on File
GARNER, LANA                                    Address on File
Garner, Mari                                    Address on File
GARNER, MARIA                                   Address on File
GARNER, PAMELA                                  Address on File
Garner, Tyler                                   300 East John Carpenter Freeway      Suite 800                                                                Irving           TX   75062
GARNHART, ANDREA                                Address on File
GARNHART, ANDREW                                Address on File
GARNHART, KRISTEN                               Address on File
GARRAMONE, CHAUNCEY                             Address on File
Garren, Jane                                    Address on File
Garretson, Jamario                              Address on File
GARRETT JR, RICHARD                             Address on File
GARRETT SPEAKERS INTERNATIONAL, INC.            P O BOX 153448                                                                                                IRVING           TX   75015‐3448
GARRETT, AJA                                    Address on File
GARRETT, CHRISTIAN                              Address on File
GARRETT, DAVID                                  300 East John Carpenter Freeway      Suite 800                                                                Irving           TX   75062
GARRETT, DAVID                                  Address on File
GARRETT, DE'AONTE                               300 East John Carpenter Freeway      Suite 800                                                                Irving           TX   75062
GARRETT, DE'JAUN                                Address on File
GARRETT, DEMODRICK                              Address on File
GARRETT, DONNA                                  Address on File
GARRETT, IESIA                                  Address on File
GARRETT, JADE                                   Address on File
Garrett, James                                  Address on File
GARRETT, JOSHUA                                 Address on File
Garrett, Latasha                                Address on File
GARRETT, LAURA                                  Address on File
GARRETT, MICHAEL                                Address on File
Garrett, Shalinda                               Address on File
GARRETT, STEPHEN                                Address on File
GARRISON, ASIJAH                                Address on File
GARRISON, KAYLA                                 Address on File
GARRISON, NATHANIEL                             Address on File
GARRISON, SEAN                                  Address on File
GARRITY, JACOB                                  Address on File
GARTMAN, MICHAEL                                Address on File
GARVIE, RICHARD                                 Address on File
GARVIN, NICK                                    300 East John Carpenter Freeway      Suite 800                                                                Irving           TX   75062
Gary, D'Every                                   Address on File
GARZA JR, REYMUNDO                              Address on File
GARZA, ANDRIANNA                                Address on File
GARZA, ASHLY                                    Address on File
GARZA, DESIRAE                                  Address on File
GARZA, EZEQUIAL                                 Address on File
GARZA, GABRIEL                                  Address on File
GARZA, JENNIFER                                 Address on File
GARZA, JONATHAN                                 Address on File

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                           Name                                   Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
GARZA, JUAN                                   Address on File
Garza, Julian                                 Address on File
GARZA, KRYSTAL                                Address on File
Garza, Matthew                                Address on File
GARZA, TYLER                                  Address on File
GASCA, AARON                                  Address on File
GASKINS, GAUGE                                Address on File
GASPAR, JUAN                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Gass, Amanda                                  Address on File
GASSAWAY, TEQUEESCIE                          Address on File
Gates Weeks, Braden                           Address on File
Gates, Constance                              Address on File
GATES, DYLAN                                  Address on File
Gates, Sierra                                 Address on File
Gator Spring Valley Partners, LLLP            7850 NW 146th Street                 4th Floor                                                   Miami Lakes      FL      33016
Gatzke, Justin                                Address on File
GAUDREAULT, TIMOTHY                           Address on File
Gauna, Loryn                                  Address on File
Gauna, Michelle                               Address on File
GAUTHIER, ETTA                                Address on File
GAVIN, RODRIGUEZ                              Address on File
Gavino, Yousy                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GAY, ANDREANA                                 Address on File
GAY, DIAWANDA                                 Address on File
Gay, Harold                                   Address on File
GAY, JESSICA                                  Address on File
GAY, KNAKRICIA                                Address on File
GAYLE, DARREN                                 Address on File
GAYTAN, ALMA                                  Address on File
GAYTAN, BRYAN                                 Address on File
GAYTAN, FERNANDA                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GAYTAN, JAIME                                 Address on File
GAYTAN, JOSE                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GAYTAN, KEYD                                  Address on File
GAYTAN, MARIA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Gaytan, Stephanie                             Address on File
Gayton, Brittany                              Address on File
GAZPAR, MARIA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GE CAPITAL                                    P O BOX 740441                                                                                   ATLANTA          GA      30374‐0441
Gebhardt, Brandi                              Address on File
GEE, ANTHONY                                  Address on File
GEE, CRYSTAL                                  Address on File
GEILER, LOGAN                                 Address on File
Geissler, Carl                                Address on File
Gelacio, Crystal                              Address on File
Gelvin, Peyton                                Address on File
GEMMEL, NATHANIEL                             Address on File
GENERAL PARTS, INC                            MI 10                                P. O. BOX 9201                                              MINNEAPOLIS      MN      55480‐9201
GENONE, ANTHONY                               Address on File
GENONE, JORDAN                                Address on File
GENPAK LLC                                    P. O. BOX 277796                                                                                 ATLANTA          GA      30384‐7796
GENTRY, ERIC                                  Address on File
Gentry, Erick                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
George Patrick’s Plumbing                     Address Unknown
GEORGE, BERNEY                                Address on File
GEORGE, CHRISTOPHER                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
George, Christopher                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
GEORGE, CHRYSTLE                        Address on File
GEORGE, JESSICA                         Address on File
GEORGE, KELLI                           Address on File
GEORGE, RIVER                           Address on File
GEPNER, GABE                            Address on File
Gerhart, Davin                          300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
GERLACH, GAGE                           Address on File
Germany, Kriesha                        Address on File
Gerou, Aaron                            Address on File
GERP,LLC                                164 Avila St                                                                                     San Francisco     CA      94123
Gerschick, Mathew                       Address on File
GETZ, ERIN                              Address on File
GETZ, NOAH                              Address on File
GEVARA, JOEY                            Address on File
GHANT, TORRIAN                          Address on File
Ghant, Zella                            Address on File
GHOLSON, MARY                           Address on File
GIANNI, JESUS                           Address on File
GIANNI, TONI                            Address on File
Gibbons, Audrey                         Address on File
GIBBONS, KAYLYN                         Address on File
GIBBONS, LATHAN                         Address on File
GIBBS, JOHN                             Address on File
GIBBS, NAJAE                            Address on File
GIBBS, SHADAE                           Address on File
Gibbs, Takisha                          Address on File
GIBSON II, JAMES                        Address on File
GIBSON, ASHLEY                          Address on File
GIBSON, DARIUS                          Address on File
GIBSON, DOREN                           Address on File
GIBSON, JONATHAN                        Address on File
GIBSON, JOSEPH                          Address on File
GIBSON, LYLE                            Address on File
GIBSON, MICHAEL                         Address on File
GIBSON, PAUL                            Address on File
GIBSON, SHERRIE                         Address on File
GIBSON, TYLER                           Address on File
Gibson, William                         Address on File
GIDDENS, ZACHARY                        Address on File
GIESKEN, LAUREN                         Address on File
Giesler, Ruby                           Address on File
GIFFORD, CHANCE                         Address on File
Gifford, Gina                           Address on File
GIL, MARIO                              Address on File
Gilbert, Amanda                         Address on File
GILBERT, DA'SHANELLE                    Address on File
GILBERT, DESTINY                        Address on File
Gilbert, Drake                          300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
GILBERT, NICHOLAS                       Address on File
GILBERT, SAMUEL                         Address on File
GILBERT, TIM                            Address on File
Gilbert, Xavier                         Address on File
Gilbertson, Scott                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Gilbreath, Troy                         Address on File
GILES, CRISTAL                          Address on File
Giles, Kamiah                           Address on File
GILES, SARAH                            Address on File

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                                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                Consolidated Creditor Matrix

                         Name                                            Address 1                            Address 2                Address 3                  City   State    PostalCode   Country
GILKEY, MARCUS                                       Address on File
Gill, Austin                                         Address on File
GILL, GARRETT                                        Address on File
GILL, KEDRICK                                        905 N. COMMERCE                                                                                    ARDMORE          OK      73401
GILL, KHALID                                         Address on File
GILL, KIDRICK                                        300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
GILL, SEAN                                           Address on File
GILLARD, LOGAN                                       Address on File
Gillean, Amber                                       Address on File
GILLELAN, ALEXIS                                     Address on File
GILLENWATER, XAVIER                                  Address on File
Gillet, Misty                                        300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Gilley, Baylee                                       Address on File
GILLIAM, ANTHONY                                     Address on File
Gilliam, Jade                                        Address on File
GILLIARD, JASMINE                                    300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Gillihan, Kaylee                                     Address on File
Gilliland, Alissa                                    Address on File
Gilliland, Jordan                                    Address on File
GILLINGHAM, ALEXANDER                                Address on File
GILLIS, TROY                                         Address on File
GILL'S CONTAINER SERVICE, INC.                       17102 SE WOODLAWN                                                                                  LAWTON           OK      73501
Gills, Marcus                                        Address on File
GILLUM, TRAECHELLE                                   Address on File
Gilmer, Brandon                                      300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Gilmer, Cody                                         Address on File
Gilmore, Noah                                        Address on File
Gilmore, Patrick                                     Address on File
Gilsleider, Luke                                     300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
GILSTRAP, SYLVIA                                     Address on File
Gilton, Ron                                          Address on File
GILTON, RON                                          Address on File
Gilyard, Deyavion                                    Address on File
Giovinazzo, Hope                                     Address on File
GIPSON, KANEISHA                                     Address on File
Gipson, Kolton                                       Address on File
GIPSON, RASHADRICK                                   Address on File
GIPSON, YTAION                                       Address on File

GIRL SCOUTS OF AMERICA (GREATER WACO SERVICE UNIT)   12012 PARK THIRTY FIVE CIRCLE                                                                      AUSTIN           TX      78753
GIRLS SCOUTS WESTERN OKLAHOMA INC                    R JOHNSON MOORE GIRL SCT ROBOTICS      6100 N ROBINSON                                             OKLAHOMA CITY    OK      73118
Girtman, Roger                                       Address on File
GISD (GARLAND INDEPENDENT HIGH SCHOOL)               LUNA ELEMENTARY PTA                    1050 LOCHNESS LN                                            GARLAND          TX      75044
GISD EDUCATION FOUNDATION                            P O BO X460517                                                                                     GARLAND          TX      75046‐0517
GISSANDANER, KAITLYN                                 Address on File
Givens, Michael                                      Address on File
GIVINGS, BRIAN                                       Address on File
Givings, Myori                                       Address on File
Givings, Ryan                                        Address on File
GLADDEN, FELICIA                                     Address on File
GLADNEY, KEN                                         300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
GLADNEY, KENNETH                                     300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
GLADNEY, LISA                                        Address on File
GLANTZ, SHANIA                                       300 East John Carpenter Freeway        Suite 800                                                   Irving           TX      75062
Glasco, Trasetta                                     Address on File
GLASER, BEVERLY                                      Address on File
GLASS DOCTOR                                         505 SW LEE BLVD                                                                                    LAWTON           OK      73501

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                      Name                                     Address 1                          Address 2                Address 3                   City   State PostalCode   Country
GLASS MAN WADE LLC                         505 W PINE ST                                                                                    COWETA            OK   74429
GLASS, CRYSTAL                             Address on File
GLASS, DE'VODRICK                          Address on File
GLASS, DIANA                               Address on File
Glass, Keara                               Address on File
GLASS, MICHAEL                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Glass, Rachel                              Address on File
GLASS, TAILEIA                             Address on File
Glaze, Galvin                              Address on File
GLAZE, RICHARD                             Address on File
GLAZE, TAMMY                               Address on File
GLENN TAP PROPERTY OWNERS ASSOC            209 FRENCH PARK PLACE SUITE 103                                                                  EDMOND            OK   73034
GLENN, MAIZE                               Address on File
GLENN, TY                                  Address on File
GLENPOOL PUBLIC SCHOOLS                    SUSAN JONES                          PO BOX 1149                                                 GLENPOOL          OK   74033
GLICK, WENDY                               Address on File
Glisson, Malinda                           Address on File
GLM INC                                    Address Unknown
GLOBALSCAPE                                P. O. BOX 2567                                                                                   SAN ANTONIO       TX   78299‐2567
GLOCK, HARLEY                              Address on File
GLORIA, HECTOR                             Address on File
GLORIA, NADIA                              Address on File
GLOVER, COLTON                             Address on File
GLOVER, EMILIO                             Address on File
GLOVER, JAMESTA                            Address on File
GLOVER, LACY                               Address on File
GLOVER, LATISHA                            Address on File
GLOVER, MARJORIE                           Address on File
GLOVER, MATTHEW                            Address on File
GLOVER, REGINALD                           Address on File
GLOVER, RON                                Address on File
Glover, Solomon                            Address on File
GLOVER, WILLIAM                            Address on File
GOAD, ALEXANDRIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Goad, Samuel                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
GOAD, TIFFANY                              Address on File
Goddard, Bailey                            Address on File
Goddard, Charlie                           Address on File
Goddard, Garett                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
GODDARD, GARRETT                           Address on File
Goddard, Kara                              Address on File
Godfrey, Christopher                       Address on File
GODFREY, RYAN                              Address on File
Godfrey, Shaquala                          Address on File
GODINEZ, ANDREW                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
GODINEZ, ANDREW                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
GODINEZ, GRISELDA                          Address on File
Godlewski, Carl                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
GODOY, LIDIA                               Address on File
GODOY, REBECA                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
GOECKER, BRIAN                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Goecker, Brian                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Goerner, Zachery                           Address on File
Goetz, Kathryn                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
GOFF, DAMIAN                               Address on File
GOFF, SHANDLE                              Address on File
GOFRESH‐TULSA                              DBA GOFRESH‐TULSA                    1691 N 161 E AVE.                                           TULSA             OK   74116

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                       Name                                        Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
GOINES REESE, MYKAYLA                          Address on File
GOINGS, ASHLEY                                 Address on File
GOINS, DURON                                   Address on File
GOINS, ERIC                                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GOLAN RABIN DBA SOURCE CONTRACT                11451 NW 36TH AVE                                                                                MIAMI           FL      33167
GOLDBERG, ROBERT                               P O BOX 248                                                                                      CRYSTAL BAY     NV      89402
GOLDEN SPREAD SEPTIC TANK & PUMPING            DBA GOLDEN SPREAD PUMPING            106 RENDEZVOUS                                              AMARILLO        TX      79108
Golden, Brandon                                Address on File
GOLDEN, DJUAN                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GOLDEN, JOHNTHAN                               Address on File
Golden‐lewis, Cash                             Address on File
GOLDESBERRY, LEEANN                            Address on File
GOLDMAN, HEATHER                               Address on File
Goldman, Teresa                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GOLDMAN, TERESA                                Address on File
GOLDSMITH, NIKKI                               Address on File
GOLDSTON, DEMETRIUS                            Address on File
GOLLIHAR, MITCHELL                             Address on File
GOLMOHAMMADI, MEHRI                            Address on File
GOLSTON, KESHAUN                               Address on File
Gomes, Kaualani                                Address on File
GOMEZ BENITEZ, EDILIA                          Address on File
GOMEZ STEVENS, BROC                            Address on File
GOMEZ, ADRIANA                                 Address on File
GOMEZ, ALICIA                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Gomez, Anthony                                 Address on File
GOMEZ, ANTONIO                                 Address on File
GOMEZ, ARACELI                                 Address on File
GOMEZ, ARMANDO                                 Address on File
GOMEZ, CAROLINA                                Address on File
Gomez, Carolina                                Address on File
Gomez, Christian                               Address on File
GOMEZ, CHRISTIAN                               Address on File
Gomez, Christopher                             Address on File
GOMEZ, CHRISTOPHER                             Address on File
GOMEZ, DESSERAE                                Address on File
GOMEZ, DO                                      Address on File
Gomez, Edgar                                   Address on File
GOMEZ, ERIKA                                   Address on File
Gomez, Felipe                                  Address on File
Gomez, Francisco                               Address on File
Gomez, Guadalupe                               Address on File
Gomez, Harmonie                                Address on File
GOMEZ, JACQUELINE                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GOMEZ, JACQUELINE                              Address on File
GOMEZ, JOANNY                                  Address on File
GOMEZ, JOCELYN                                 Address on File
GOMEZ, JORGE                                   Address on File
GOMEZ, JUAN                                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GOMEZ, KATHERINE                               Address on File
GOMEZ, LEONOR                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Gomez, Leslie                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GOMEZ, MARIA                                   Address on File
GOMEZ, MERCADEZ                                Address on File
Gomez, Monica                                  Address on File
Gomez, Nancy                                   Address on File
GOMEZ, NATASHA                                 Address on File

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                        Name                                        Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
GOMEZ, OLGA                                     Address on File
GOMEZ, RAYMUNDO                                 Address on File
Gomez, Rosa                                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GOMEZ, SERGIO                                   Address on File
GOMEZ, VICTORIA                                 Address on File
Goner, Jamal                                    Address on File
Gonsalves, Michelle                             Address on File
GONZA EXECUTIVE SEARCH, LLC                     DBA GONZA EXECUTIVE SEARCH, LLC      1504 BAY ROAD, STE. 2105                                    MIAMI BEACH     FL      33139
GONZALES DE TORRES, JOVITA                      Address on File
Gonzales Villa, Martha                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Gonzales, Admarcos                              Address on File
Gonzales, Adrian                                Address on File
Gonzales, Andrea                                Address on File
GONZALES, BRANDON                               Address on File
GONZALES, CHRISTOPHER                           Address on File
GONZALES, DANIEL                                Address on File
GONZALES, EDUARDO                               Address on File
GONZALES, GREGORY                               Address on File
GONZALES, INGRIS                                Address on File
Gonzales, Ivan                                  Address on File
GONZALES, JEREMY                                Address on File
GONZALES, JESSICA                               Address on File
Gonzales, Jose                                  Address on File
GONZALES, JOSE                                  Address on File
GONZALES, KAILA                                 Address on File
Gonzales, Manuel                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GONZALES, MARIA                                 Address on File
GONZALES, MARIA                                 Address on File
GONZALES, MARIA                                 Address on File
GONZALES, MARTIN                                Address on File
Gonzales, Matthew                               Address on File
Gonzales, Mirlo                                 Address on File
GONZALES, PETE                                  Address on File
GONZALES, SABRENA                               Address on File
GONZALES, YOLANDA                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GONZALES‐WILBURN, CRUZ                          Address on File
GONZALEZ 11655 AUDELIA RD., ANAYELI             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GONZALEZ PADILLA, ANAYELI                       Address on File
Gonzalez Vidal, Aixa                            Address on File
GONZALEZ, ADRIANA                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Gonzalez, Adrianna                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Gonzalez, Alexander                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Gonzalez, Alexander                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GONZALEZ, ALICE                                 Address on File
GONZALEZ, ALONDRA                               Address on File
Gonzalez, Anabel                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
GONZALEZ, ANGEL                                 Address on File
Gonzalez, Angel                                 Address on File
Gonzalez, Angel                                 Address on File
Gonzalez, Angelica                              Address on File
Gonzalez, Angie                                 Address on File
Gonzalez, Ashley                                Address on File
Gonzalez, Blanca                                Address on File
Gonzalez, Brianna                               Address on File
Gonzalez, Bryan                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Gonzalez, Carolina                              Address on File
Gonzalez, Christopher                           Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                 City   State PostalCode   Country
Gonzalez, Citlalli                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
GONZALEZ, CRISTINA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
GONZALEZ, CYNTHIA                      Address on File
GONZALEZ, DANIEL                       Address on File
GONZALEZ, DAVID                        Address on File
GONZALEZ, DINA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Gonzalez, Dina                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
GONZALEZ, DOROTHY                      Address on File
GONZALEZ, DOUGLAS                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
GONZALEZ, EVA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
GONZALEZ, FLOR                         Address on File
GONZALEZ, FRANCELI                     Address on File
GONZALEZ, FREDY                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
GONZALEZ, GEORGE                       Address on File
GONZALEZ, GONZALO                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
GONZALEZ, GONZALO                      Address on File
GONZALEZ, GRACIELA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
GONZALEZ, GUADALUPE                    Address on File
Gonzalez, Hailey                       Address on File
GONZALEZ, HECTOR                       Address on File
GONZALEZ, HILDA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
GONZALEZ, IGNACIO                      Address on File
GONZALEZ, IRMA                         Address on File
Gonzalez, Ivan                         Address on File
GONZALEZ, JACOB                        Address on File
GONZALEZ, JACQUELIN                    Address on File
GONZALEZ, JAIME                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Gonzalez, Jaksiry                      Address on File
GONZALEZ, JANIE                        Address on File
GONZALEZ, JESUS                        Address on File
GONZALEZ, JOHNATHAN                    Address on File
Gonzalez, Jorge                        Address on File
GONZALEZ, JORGE                        Address on File
Gonzalez, Jose                         Address on File
GONZALEZ, JOSE                         Address on File
GONZALEZ, JOSE                         Address on File
GONZALEZ, JOSE                         Address on File
Gonzalez, Jose                         Address on File
GONZALEZ, JOSEFINA                     Address on File
GONZALEZ, JOSEPHINE                    Address on File
GONZALEZ, JOVANIE                      Address on File
GONZALEZ, JOVITA                       Address on File
GONZALEZ, JOVONI                       Address on File
GONZALEZ, JUAN                         Address on File
GONZALEZ, JUANA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
GONZALEZ, KARINA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Gonzalez, Leticia                      Address on File
GONZALEZ, LYNDA                        Address on File
Gonzalez, Madeline                     Address on File
GONZALEZ, MARCOS                       Address on File
Gonzalez, Margarita                    Address on File
GONZALEZ, MARIA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Gonzalez, Maria                        Address on File
Gonzalez, Maria                        Address on File
GONZALEZ, MARIA                        Address on File
Gonzalez, Maria                        Address on File
GONZALEZ, MARIBAL                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062

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                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                               Consolidated Creditor Matrix

                      Name                                Address 1                          Address 2                Address 3                    City   State    PostalCode   Country
GONZALEZ, NANCY                       Address on File
GONZALEZ, NORMA                       Address on File
GONZALEZ, OCTAVIO                     Address on File
Gonzalez, Omar                        Address on File
GONZALEZ, PATRICIA                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
GONZALEZ, PEDRO                       Address on File
Gonzalez, Priscila                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Gonzalez, Reyna                       300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
GONZALEZ, RICARDO                     300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
GONZALEZ, ROSEMARY                    Address on File
GONZALEZ, ROXANA                      Address on File
Gonzalez, Rudy                        Address on File
GONZALEZ, SANTIAGO                    Address on File
GONZALEZ, SHEILA                      Address on File
GONZALEZ, SONJA                       Address on File
Gonzalez, Starla                      Address on File
GONZALEZ, VANESSA                     Address on File
GONZALEZ, VERONICA                    Address on File
Gonzalez, Victor                      300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Gonzalez, Victor                      Address on File
Gonzalez, Viviano                     Address on File
GONZALEZ‐TORRES, MICHAEL              Address on File
GOOCH, KAYTLIN                        Address on File
GOOD, JOHN                            Address on File
Goode, Kimberly                       Address on File
GOODEN, JALEEL                        Address on File
GOODGION, SOMER                       Address on File
GOODMAN, DEMETRI                      Address on File
GOODMAN, HALEY                        Address on File
GOODMAN, SUSAN                        Address on File
GOODMAN, TYLER                        Address on File
GOODNIGHT MECHANICAL                  P. O. BOX 28                                                                                     CLEVELAND          OK      74020
Goodson, Diquan                       300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
GOODWIN & MARSHALL INC                2405 MUSTANG DR                                                                                  GRAPEVINE          TX      76051
Goodwin, Christina                    Address on File
Goodwin, Clint                        Address on File
Goodwin, Kayleigh                     Address on File
GOOLDY, ALLYSON                       Address on File
GORDON DOUGLAS LIPP                   DBA G. DOUGLAS LIPP & ASSOC          3927 EDGEVALE CT                                            FAIR OAKS          CA      75628
GORDON LANDSCAPES LLC                 P. O. BOX 2371                                                                                   LAWTON             OK      73502
Gordon, Connor                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
GORDON, DELTA                         Address on File
GORDON, DENNIS                        Address on File
Gordon, Kamran                        Address on File
Gordon, Latanja                       Address on File
GORDON, TOVIA                         Address on File
Goree, Tyler                          Address on File
GORHAM, DRAKE                         Address on File
Gorman, Joshua                        Address on File
GORMAN, KRISTIN                       Address on File
GORMAN, PATRICK                       Address on File
GORRE, DEVON                          Address on File
Gorrell, Tatum                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Goryl, Devin                          Address on File
Gosnell, Katie                        Address on File
GOSS, ADAM                            Address on File
Gossett, Debbie                       Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                         Name                                 Address 1                          Address 2                Address 3                    City   State    PostalCode   Country
GOSSETT, ISRAEL                           Address on File
GOTCHER, MELANI                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Gotcher, Peter                            Address on File
GOTT, FRANCIS                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Goudeau, Serenity                         300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
GOULD, SUSAN                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
GOURD, NORA                               Address on File
GOWDY, DONNA                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Gower, Amanda                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Goytia, Gabriel                           Address on File
GRACE CHILD DEVELOPMENT CENTER            LILA BOYLAN                          6316 N TULSA                                                OKLAHOMA CITY      OK      73112
GRACE, ASHLEY                             Address on File
Graciano, Julia                           Address on File
Grady County Health Dept                  2116 Iowa St                                                                                     Chickasha          OK      73018
Grady County Treasurer                    PO Box 280                                                                                       Chickasha          OK      73023
Grady County Treasurer                    320 W Choctaw Ave                                                                                Chickasha          OK      73018
Grady, Michael                            Address on File
GRAEBER, WILLIAM                          Address on File
GRAFF, CHANCE                             Address on File
GRAGE, SAMANTHA                           Address on File
GRAHAM, CAMARON                           Address on File
GRAHAM, CIERRAH                           Address on File
Graham, Ginebra                           Address on File
Graham, Jaiden                            Address on File
GRAHAM, JASON                             Address on File
GRAHAM, JAZMINE                           Address on File
Graham, Jennifer                          Address on File
GRAHAM, JOLENE                            Address on File
GRAHAM, KEVIN                             Address on File
Graham, Lafayette                         Address on File
Graham, Robert                            Address on File
GRAINGER DEPT 568‐829021476               P.O. BOX 419267                      DEPT. 807790233                                             KANSAS CITY        MO      64141‐6267
GRAJEDA, JAIME                            Address on File
Gramajo, Aide                             Address on File
GRAMAJO, BRIAN                            Address on File
GRAMAJO, LEVINSON                         Address on File
Gramajo, Vidalia                          Address on File
GRAMAJO, VIDALIA                          Address on File
GRAMMAN, MELISSA                          Address on File
GRANADINO, ESTEBANA                       300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
GRANADOS, MARTIN                          Address on File
GRANAJO, BRAYAM                           Address on File
GRANBURY WELDING & METALS                 614 N. CROCKETT                                                                                  GRANBURY           TX      76048
Grant, Braven                             Address on File
GRANT, CHARLES                            Address on File
GRANT, CHRISTIE                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
GRANT, DAEQUINE                           Address on File
Grant, Destin                             Address on File
GRANT, DOMINIQUE                          Address on File
Grant, Ernest                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Grant, Jackiea                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
GRANT, JALEN                              Address on File
Grant, Keciko                             Address on File
GRANT, KEITH                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Grant, Taylor                             Address on File
Grant, Tyrese                             Address on File
GRAPEVINE                                 3072 MUSTANG DRIVE                                                                               GRAPEVINE          TX      76051

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                                                                                   In re: Taco Bueno Restaurants Inc.., et al.
                                                                                          Consolidated Creditor Matrix

                           Name                                      Address 1                        Address 2                  Address 3                     City   State PostalCode   Country
Grapevine Police Department                      Records Section                      307 W. Dallas Rd.                                           Grapevine           TX   76051
Grapevine/Colleyville Tax Office                 3072 Mustang Drive                                                                               Grapevine           TX   76051
Grau, Angel                                      Address on File
Graves, Alicia                                   Address on File
GRAVES, BETTY                                    Address on File
GRAVES, CAMERON                                  Address on File
GRAVES, COLBY                                    Address on File
GRAVES, COURTNEY                                 Address on File
Graves, Iisha                                    300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
GRAVES, JALIN                                    Address on File
GRAVES, KAIT'LYN                                 Address on File
GRAVES, LORI                                     300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
GRAVES, TYLER                                    Address on File
Gray, Alexis                                     Address on File
Gray, Branden                                    Address on File
Gray, Candace                                    Address on File
GRAY, DANIELLE                                   Address on File
GRAY, GABRIANA                                   Address on File
Gray, Ian                                        Address on File
Gray, Jaydan                                     300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
Gray, Kenneth                                    Address on File
GRAY, MARISSA                                    Address on File
Gray, Regina                                     Address on File
Gray, Shawn                                      Address on File
Gray, Shawn                                      Address on File
GRAY, TARA                                       Address on File
Gray, Tessa                                      Address on File
GRAY, TRENT                                      Address on File
Grayham, Buffy                                   Address on File
GRAYSON COUNTY                                   ASSESSOR & COLLECTOR OF TAXES        P.O. BOX 2107                                               SHERMAN             TX   75091‐2107
Grayson County Health Department                 Environmental Health Division        515 N Walnut                                                Sherman             TX   75090
Grayson County Health Department                 Environmental Health Division        205 N. Houston                                              Denison             TX   75021‐3014
Grayson County Tax Assessor‐Collector            100 W. Houston                       Ste. 11                                                     Sherman             TX   75090
GRAYSON, NAUTICA                                 Address on File
GRAYSON, NICOLE                                  Address on File
GRAYSON, NUBIAN                                  Address on File
Grayson, Shameka                                 Address on File
GRAYSON‐COLLIN ELECTRIC COOPERATIVE              P. O. BOX 548                        1096 N. WACO                                                VAN ALSTYNE         TX   75495
GRAZIANI, KENNETH                                Address on File
GREASHAM, DENORIA                                Address on File
Great American E&S Insurance Company             301 E 4th Street                                                                                 Cincinnati          OH   45202
GREEN GUARD                                      4159 SHORELINE DR                                                                                ST. LOUIS           MO   63045
Green, Adasia                                    300 East John Carpenter Freeway      Suite 800                                                   Irving              TX   75062
GREEN, ALISSA                                    Address on File
GREEN, ANALYSSIA                                 Address on File
Green, Cameron                                   Address on File
GREEN, CHEYENNE                                  Address on File
GREEN, CHRISTI                                   Address on File
GREEN, CIERRA                                    Address on File
GREEN, DANIEL                                    Address on File
GREEN, DEVON                                     Address on File
Green, Don'Tavius                                Address on File
GREEN, JAYLIN                                    Address on File
Green, Jeremy                                    Address on File
Green, Jocelyn                                   Address on File
GREEN, JOSHUA                                    Address on File
GREEN, KALAIJAHA                                 Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                 Address 1                           Address 2              Address 3                   City   State    PostalCode   Country
GREEN, KATIE                               Address on File
Green, Kelcee                              Address on File
Green, Kenashae                            Address on File
Green, Laquadrin                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Green, Loni                                Address on File
GREEN, MALIKK                              Address on File
GREEN, NICHOLE                             Address on File
GREEN, QUINSHALA                           Address on File
GREEN, RACHEL                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Green, Sydney                              Address on File
Green, Theodis                             Address on File
GREENAWALP, CHRISTIAN                      Address on File
GREENBELT TURF MANAGEMENT                  DBA GREENBELT TURF MANAGEMENT        1138 BEAR HOLLOW                                            WILSON            OK      73463
GREENE COUNTY                              COLLECTOR OF REVENUE                 940 BOONVILLE                                               SPRINGFIELD       MO      65802
GREENE, CAMILLA                            Address on File
GREENE, CHRISTOPHER                        Address on File
Greene, Journey                            Address on File
Greene, Patricia                           Address on File
GreenGate                                  Scott Bricker                        Director of Sales
GREENMASTER LANDSCAPE CONTRACTORS INC.     P.O. BOX 1291                                                                                    STILLWATER        OK      74076
GREENVILLE ELECTRIC                        PO BOX 660071                        2810 WESLEY ST                                              GREENVILLE        TX      75401
GREENVILLE HS PTSA PROM 2016               DEAVON MCNAIR                        505 NORTHGATE TRAIL                                         GREENVILLE        TX      75402
GREENWOOD, BREIETTA                        Address on File
GREENWOOD, DE'ANDRE                        Address on File
GREER, DANYELLE                            Address on File
GREER, SHARI                               Address on File
GREESON, AUDREY                            Address on File
GREGG COUNP.O. BOX 1                       P.O. BOX 1431                                                                                    LONGVIEW          TX      75606‐1431
Gregg County Tax Collector                 101 E Methvin, Ste 215                                                                           Longview          TX      75601
Gregg County Tax Collector                 PO Box 1431                                                                                      Longview          TX      75606‐1431
Gregg, DellaAnn                            Address on File
GREGG, PAUL                                Address on File
GREGG, TERESA                              Address on File
GREGORIO, VANESA                           Address on File
GREGORY, FRANCIS                           Address on File
Gregory, Kenneth                           Address on File
Gregory, Sandra                            Address on File
GRENNAN, LOGAN                             Address on File
Gresham, Cody                              Address on File
GREY, MEGAN                                Address on File
GRIDER, JORDAN                             Address on File
GRIDPOINT INC.                             2801 CLAREDON BLVD STE 100                                                                       ARLINGTON         VA      22201
GRIER, CHRISTOPHER                         Address on File
GRIER, JAVARIS                             Address on File
GRIFFEN, CHRISTOPHER                       Address on File
GRIFFEN, DONJA                             Address on File
Griffin, Ahston                            Address on File
GRIFFIN, DALTON                            Address on File
GRIFFIN, DEBRA                             Address on File
Griffin, Deziree                           Address on File
GRIFFIN, HALEY                             Address on File
GRIFFIN, JAGEN                             Address on File
Griffin, Johnny                            Address on File
Griffin, Jumarius                          Address on File
GRIFFIN, MICHELLE                          Address on File
Griffin, Shontre                           Address on File
GRIFFIN, TISHA                             Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
GRIFFIN, TYKEIA                         Address on File
GRIFFIN‐BECK, SUSAN                     Address on File
GRIFFITH, ARAYA                         Address on File
GRIFFITH, DEAN                          Address on File
GRIFFITH, LAURA                         Address on File
GRIFFITH, NATHAN                        Address on File
GRIFFITH, ROBERT                        Address on File
GRIGGS, CHARLES                         Address on File
GRIGGS, MARY                            Address on File
Grijalva, Pamela                        Address on File
Grimes, Amy                             Address on File
GRIMES, DONALD                          Address on File
GRIMES, KATIE                           Address on File
GRIMES, MITCHELL                        Address on File
Grimes, Samantha                        Address on File
Grimes, Shawna                          Address on File
GRIMES, TONI                            Address on File
GRINIE, STEPHANIE                       Address on File
GRINNELL, MEAGAN                        Address on File
GRIPP, CHAUNCEY                         Address on File
GRISSOM, SHAYNA                         Address on File
GRISWOLD, KAITLYN                       Address on File
Gritts, Clinton                         Address on File
GROEN                                   P O BOX 91570                                                                                    CHICAGO          IL      60693
Gromacki, Caressa                       Address on File
GROOMS, JASON                           Address on File
GROSS, ALESIA                           Address on File
GROSS, BRANDY                           Address on File
GROSS, MERCEDES                         Address on File
Grossardt, JaNae                        Address on File
GROTEGUT, SHEILA                        Address on File
GROUND FLOOR MEDIA                      923 MARKET STREET                                                                                DENVER           CO      80202
Grove, LeeMarcus                        Address on File
GROVER, STEVEN                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GRUBBS, CRYSTAL                         Address on File
Grubhub                                 111 W. Washington Street             Suite 2100                                                  Chicago          IL      60602
GRUMBLES, DAKOTA                        Address on File
GRYLLS, AMANDA                          Address on File
GSC LIGHTING & SUPPLY                   16506 CORNERSTONE DRIVE                                                                          BELTON           MO      64012
Guajardo, Alexis                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Guajardo, Brittany                      Address on File
GUAJARDO, DEBORAH                       Address on File
GUAJARDO, FELICIA                       Address on File
GUAJARDO, MELANIE                       Address on File
Guardado, Cristian                      Address on File
Guardado, Katherine                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GUARDADO, MARSHAL                       Address on File
Guardiola, Krystal                      Address on File
GUARRIELLO, ISABELLA                    Address on File
Gudgel, Ethan                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GUERRA, AVELINO                         Address on File
GUERRA, CLARA                           Address on File
GUERRA, ESMERALDA                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GUERRA, ESMERALDA                       Address on File
Guerra, Hector                          Address on File
GUERRA, JESUS                           Address on File
GUERRA, JORGE                           Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                         Name                                 Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
GUERRA, THAYS                             Address on File
GUERRERA, SARA                            Address on File
GUERRERO, ANA                             Address on File
GUERRERO, ANDREW                          Address on File
GUERRERO, DIANA                           Address on File
GUERRERO, EDGAR                           Address on File
GUERRERO, FRANCIS                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GUERRERO, JUAN                            Address on File
GUERRERO, JULIANA                         Address on File
Guerrero, Kain                            Address on File
GUERRERO, MANUEL V. & NORA B.             1334 TOOMEY PLACE                                                                                HARBOR CITY      CA      90710
GUERRERO, MARITZA                         Address on File
GUERRERO, ROBERTO                         Address on File
GUERRERO, RUBEN                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Guest, Aleisha                            Address on File
Guevara, Jacquelyn                        Address on File
GUEY, JAREN                               Address on File
GUIDO, NELSON                             Address on File
GUILE, ELIZABETH                          Address on File
GUILFOYLE, NICHOLAS                       Address on File
GUILLAUMIN, BLANCA                        Address on File
GUILLEN, STEPHANIE                        Address on File
Guinard, Jason                            Address on File
Guinard, Jonathan                         Address on File
Guinard, Megan                            Address on File
GUINN, DEVIN                              Address on File
GUIRARDELLI, MARIA                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GULILAT, TAYE                             Address on File
GUNDERSON, AVERY                          Address on File
Gunn, Rebecca                             Address on File
Gunter, Makayla                           Address on File
GUNTER, ROCHELLE                          Address on File
GUOBADIA, ROSE                            Address on File
GURDEN, JAMES                             Address on File
Gurley, Jesse                             Address on File
GURTNER, RACHEL                           Address on File
GURULE, DEANN                             Address on File
GUSMAN, AMANDA                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
GUTARRA, GLORIA                           Address on File
Guthery, Rebekah                          Address on File
GUTHRIE CHAMBER OF COMMERCE               P O BOX 995                                                                                      GUTHRIE          OK      73044
GUTHRIE, BRANDI                           Address on File
GUTHRIE, JARED                            Address on File
GUTHRIE, JEANNA                           Address on File
Guthrie, Julie                            Address on File
GUTHRIE, TYREE                            Address on File
GUTIEREZ, JASMINE                         Address on File
GUTIERREZ GARCIA, HILDA                   Address on File
GUTIERREZ, ALBIAN                         Address on File
GUTIERREZ, ALLISON                        Address on File
Gutierrez, Alondra                        Address on File
GUTIERREZ, AMELIA                         Address on File
GUTIERREZ, AMELIA                         Address on File
Gutierrez, Angel                          Address on File
GUTIERREZ, BONNIE                         Address on File
Gutierrez, Claudia                        Address on File
GUTIERREZ, DIANE                          Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                       Name                                     Address 1                          Address 2                Address 3                  City   State PostalCode   Country
GUTIERREZ, ERNESTO                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Gutierrez, Gladis                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Gutierrez, Gloria                           Address on File
Gutierrez, Gonzalo                          Address on File
GUTIERREZ, JOAQUIN                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Gutierrez, Jorge                            Address on File
GUTIERREZ, JUAN                             Address on File
GUTIERREZ, JULIA                            Address on File
GUTIERREZ, MARIA                            Address on File
GUTIERREZ, PATRICIA                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
GUTIERREZ, RAMON                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Gutierrez, Tiara                            Address on File
GUTIERREZ, TYLER                            Address on File
Gutierrez, Uriel                            Address on File
GUTIERREZ, VIRIDIANA                        Address on File
GUTIERREZ‐ALJANDRO, LARRI                   Address on File
Guy, Adrian                                 Address on File
GUY, CHARLES                                Address on File
GUY, CURTISHA                               Address on File
Guy, Eric                                   Address on File
Guy, Jason                                  Address on File
GUY, KRYSTAL                                Address on File
GUYTON, IKOWA                               Address on File
GUYTON, WHITNEY                             Address on File
GUZMAN, ALECIA                              Address on File
Guzman, Alexys                              Address on File
GUZMAN, ALICIA                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
GUZMAN, ARACELI                             Address on File
Guzman, Axel                                Address on File
Guzman, Crystal                             Address on File
Guzman, Diego                               Address on File
GUZMAN, HIRMA                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Guzman, Iris                                Address on File
GUZMAN, IRMA                                Address on File
GUZMAN, JOSE                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
GUZMAN, JOSE                                Address on File
Guzman, Luis                                Address on File
GUZMAN, MAKAYLA                             Address on File
Guzman, Manuel                              Address on File
Guzman, Maury                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
GUZMAN, NOEMI                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
GUZMAN, OSCAR                               Address on File
GUZMAN, SANDRA                              Address on File
Guzman, Sarahi                              Address on File
GUZMAN, TREY                                Address on File
GWATHNEY, MARK                              Address on File
Gwin, Mila                                  Address on File
H&E EQUIPMENT SERVICES, INC.                P O BOX 849850                                                                                   DALLAS           TX   75284
H&H SIGN CO, INC.                           PO BOX 206                                                                                       WACO             TX   76703‐0206
HA BRUNO LLC DBA MFV EXPOSITIONS            210 ROUTE 4 EAST STE 204                                                                         PARAMUS          NJ   07652
HABIBA, UMMA                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
HACKNEY, KATHLEEN                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Hackney, Zachary                            Address on File
HADDAQUI, AYOUB                             Address on File
HADDOX, SHILOH                              Address on File
Hadley, David                               Address on File
HADLEY, GARETT                              Address on File

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                                                                                     In re: Taco Bueno Restaurants Inc.., et al.
                                                                                            Consolidated Creditor Matrix

                         Name                                          Address 1                          Address 2                Address 3                     City   State    PostalCode   Country
HADLEY, JORDON                                     Address on File
HADLOCK, TAMARA                                    Address on File
Hadnot, Jason                                      Address on File
HADNOT, SEMAJ                                      Address on File
Hafford, Nicole                                    Address on File
Hagan, Albert                                      Address on File
HAGAN, HEATHER                                     Address on File
HAGAR RESTAURANT SERVICE, INC. 5932 E SKELLY DR.   6200 N.W. 2nd STREET                                                                             OKLAHOMA CITY       OK      73127
HAGAR, TIMOTHY                                     Address on File
HAGER, COURTNEY                                    Address on File
HAGERMAN, SULEMA                                   300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
Hagger, Travis                                     Address on File
Hagler, Kacy                                       300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
Hahn, Coleman                                      Address on File
HAHN, MICHAEL                                      Address on File
HAIL, STACY                                        Address on File
HAIR, DOMINIQUE                                    Address on File
Hair, Elizabeth                                    Address on File
Haire, Brandon                                     Address on File
Haisler, Gina                                      300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
HALBERT‐HELTON, JOSEPH                             Address on File
HALE & ASSOCIATES SURVEY CO, INC.                  PENN PARKER CENTER, BLDG C           1601 SW 89TH ST STE C‐200                                   OKLAHOMA CITY       OK      73519
HALE, ANN                                          Address on File
Hale, Anthony                                      Address on File
HALE, BRADY                                        Address on File
HALE, BRANDON                                      Address on File
HALE, HEATHER                                      Address on File
HALE, JENNIFER                                     Address on File
HALE, JORDAN                                       Address on File
HALE, KAYCE                                        Address on File
Hale, Kristen                                      Address on File
HALE, LAUREN                                       Address on File
HALE, MARK                                         Address on File
HALES, MALIA                                       Address on File
HALEY, BENJAMIN                                    Address on File
HALEY, BRECKYN                                     Address on File
HALEY, ISABEL                                      Address on File
HALEY, KAYLA                                       Address on File
HALEY, OSCAR                                       Address on File
Haley, Tyler                                       300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
HALIBURTON, DYNYSHRIEA                             Address on File
HALL ELECTRICAL SERVICES, INC.                     P. O. BOX 292813                                                                                 LEWISVILLE          TX      75029‐2813
HALL, AARON                                        Address on File
HALL, AARON                                        Address on File
Hall, Andrew                                       300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
Hall, Angela                                       Address on File
Hall, Brindorean                                   Address on File
HALL, BURGANDI                                     Address on File
HALL, CHARLES                                      Address on File
HALL, CHRISTIAN                                    Address on File
HALL, CHYENNE                                      Address on File
HALL, CRYSTAL                                      Address on File
Hall, Dannie                                       Address on File
Hall, David                                        300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
Hall, David                                        Address on File
HALL, EMILY                                        Address on File
Hall, Jessica                                      300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
HALL, JOEY                             Address on File
HALL, JONATHAN                         Address on File
Hall, Joshua                           Address on File
Hall, Joshua                           Address on File
Hall, Kasidee                          Address on File
HALL, KELLIAH                          Address on File
Hall, Kevin                            Address on File
Hall, Kimdrick                         Address on File
Hall, La                               Address on File
HALL, LINDSAY                          Address on File
HALL, MARECO                           Address on File
hall, mark                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HALL, MELISSA                          Address on File
HALL, MICHELLE                         Address on File
Hall, Montique                         Address on File
HALL, PAMELA                           Address on File
Hall, Rachel                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
hall, Ruby                             Address on File
Hall, Sententious                      Address on File
HALL, SHAWANA                          Address on File
HALL, STEVEN                           Address on File
Hall, Tevin                            Address on File
HALL, TONY                             Address on File
Hall, Tyler                            Address on File
Hall, Tyreese                          Address on File
Hall, William                          Address on File
HALL‐ALEXANDER, DESHANIQUE             Address on File
HALLAM, ZACHARIAH                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Hallam, Zachariah                      Address on File
Hall‐Browning, Alexia                  Address on File
HALLET, JAYNICE                        Address on File
Halley, Uriah                          Address on File
Hallmark, Caleb                        Address on File
HALLMARK, FANCY                        Address on File
HALPAINY, KANNON                       Address on File
HALTOM CITY WATER                      P O BOX 52747                                                                                    PHOENIX          AZ      85072‐2747
HALUMS, RONNIE                         Address on File
HAM, JOSHUA                            Address on File
HAMAMIYAH, MOHAMMAD                    Address on File
HAMBLIN, BRANDON                       Address on File
HAMBRICK, AUDREY                       Address on File
HAMBURGER, STEVEN                      Address on File
HAMILTON, ALEIGHA                      Address on File
Hamilton, Alexander                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Hamilton, Britney                      Address on File
Hamilton, Chasity                      Address on File
Hamilton, Clayton                      Address on File
HAMILTON, CODY                         Address on File
HAMILTON, DERAN                        Address on File
Hamilton, Doniven                      Address on File
Hamilton, Iris                         Address on File
HAMILTON, JENNIFER                     Address on File
HAMILTON, JESSIE                       Address on File
HAMILTON, KANDI                        Address on File
Hamilton, Kenisha                      Address on File
Hamilton, Niedra                       Address on File
Hamilton, Robynn                       Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                      Name                                      Address 1                          Address 2                Address 3                 City     State    PostalCode   Country
Hamilton, Shernique                         Address on File
HAMILTON, THOMAS                            Address on File
HAMILTON, WAYMON                            Address on File
HAMILTON‐GOODMAN, SYLVIA                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Hamlett, Alisa                              Address on File
HAMM, LEE                                   Address on File
HAMMANS, DYLAN                              Address on File
Hammer, Dale                                Address on File
Hammer, Darrinda                            Address on File
Hammett, Beatrix                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HAMMETT, TERRI                              Address on File
HAMMOND, DERRICK                            Address on File
Hammond, Hailey                             Address on File
HAMMONS, DREW                               Address on File
Hammons, Michael                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HAMMONTREE, BRANDON                         Address on File
HAMON, CAMILLE                              Address on File
HAMPTON INN                                 COX HOSPITALITY GROUP LLC            1202 MOCKINGBIRD LAND                                       SULPHUR SPRINGS   TX      75482
HAMPTON JR, GAVIN                           Address on File
Hampton, Alexandria                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HAMPTON, CHRITOPHER                         Address on File
HAMPTON, DIONE                              Address on File
HAMPTON, FALLON                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Hampton, Fallon                             Address on File
Hampton, Kenneth                            Address on File
Hampton, Lindsey                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Hampton, Trevon                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Hampton, Vivian                             Address on File
HAMRICK, WADE                               Address on File
HAMRICK, WILLIAM CHAD                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HANAVAN, SHYANN                             Address on File
Hancock DNU, Paola                          Address on File
Hancock, Paola                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HAND, AUSTIN                                Address on File
Hand, Mersades                              Address on File
Hand, Zoya                                  Address on File
Handy, Drew                                 Address on File
HANDY, JAYLON                               Address on File
Haney, Henry                                Address on File
HANINGER LLC DBA ENCORE PRO STAFFING        1515 E 71ST STE 101                                                                              TULSA             OK      74136
Hankes, Kyler                               Address on File
Hankins, Felicia                            Address on File
Hankins, Jacolb                             Address on File
HANKINS, SHANE                              Address on File
Hanley, Brittany                            Address on File
HANLON, AMBER                               Address on File
HANNA, ABRAAM                               Address on File
HANNA, CHELBY                               Address on File
Hannie, Keith                               Address on File
HANSARD, MARI'A                             Address on File
HANSBERRY, CALEB                            Address on File
HANSEN, MARK                                Address on File
HANSEN, MARK                                Address on File
HANSEN, MAX                                 Address on File
HANSEN, PAMELA                              Address on File
HANSEN, TRAVIS                              Address on File
HANSHAW, ANNALISE                           Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
HANSLEY, JAMES                         Address on File
HAPTONSTALL, AUSTIN                    Address on File
Haralson, Matthew                      Address on File
HARBIN, JASON                          Address on File
HARDAWAY, DEMONTE                      Address on File
HARDAWAY, KALEM                        Address on File
HARDEMAN, JESSICA                      Address on File
HARDEMAN, JOSHUA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HARDEMAN, NIKISA                       Address on File
HARDEMAN, TONICCO                      Address on File
Hardeman, Veronica                     Address on File
HARDEN, DAMIAN                         Address on File
HARDEN, ELIZABETH                      Address on File
HARDEN, JOY                            Address on File
HARDER, MARCIA                         Address on File
HARDIMAN, KRISTY                       Address on File
HARDIMAN, TAYLOR                       Address on File
Hardin, Conord                         Address on File
Hardin, Journee                        Address on File
Hardin, Samuel                         Address on File
HARDING CHARTER PREP SCHOOL            3333 N SHARTEL AVE                                                                               OKLAHOMA CITY   OK      73118
HARDING, CEIDY                         Address on File
HARDING, JODY                          Address on File
HARDING, KAILIN                        Address on File
HARDING, NEKIA                         Address on File
Harding, Tierra                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Hardman, Adam                          Address on File
HARDMAN, EMERALD                       Address on File
Hardman, James                         Address on File
HARDRICK, DAVIAN                       Address on File
HARDWELL, JEREMIAH                     Address on File
HARDWICK, MARK                         Address on File
HARDY, AUTUMN                          Address on File
Hardy, David                           Address on File
HARDY, KALEIGH                         Address on File
HARDY, SHANEKA                         Address on File
Hardy, Shelby                          Address on File
HARDY, TYLER                           Address on File
HARDY, WILLIAM                         Address on File
HARDYWAY, SUZANNE                      Address on File
Hargis, Alan                           Address on File
Hargon, John                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HARGRAVES, ERIC                        Address on File
Hargraves, Matthew                     Address on File
HARGROVE, SHANTELL                     Address on File
Hargues, Taylor                        Address on File
Harjo, Ahalok                          Address on File
HARJO, BILLY                           Address on File
Harjo, Colten                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Harjo, Elaina                          Address on File
Harjo, Jakoby                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Harjo, Randall                         Address on File
Harkcom, Chelsea                       Address on File
Harkins, Dakota                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Harkins, Emmanuel                      Address on File
HARKLEROAD, MARSHALL                   Address on File
HARLOW, BREANNA                        Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                           Name                                    Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
HARMON, KEYONIA                                Address on File
HARMON, SIMONE                                 Address on File
Harmon, Sonya                                  Address on File
HARNAGE, QUALON                                Address on File
Harnish, Madison                               Address on File
HAROLD & JOAN VALCESCHINI REVOCABLE TRUST      ATTN:HAROLD VALCESCHINI              79 PARTRIDGE DR.                                            NOVATA          CA      94945
Harold and Joan Valceschini Revocable Trust    79 Partridge Drive                                                                               Novata          CA      94945
HARP ELECTRIC COMPANY                          5009 W 62ND ST                                                                                   TULSA           OK      74131
HARP, MICHAEL                                  Address on File
HARPEL, BRITTENE                               Address on File
HARPER PLUMBING                                PO BOX 106                                                                                       SAN MARCOS      TX      78667
HARPER, ALEXIS                                 Address on File
HARPER, DARIUS                                 Address on File
HARPER, DEANNDRIA                              Address on File
HARPER, DEASYA                                 Address on File
Harper, Emprice                                Address on File
HARPER, JENNIFER                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HARPER, MARILYN                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HARPER, MARILYN                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HARPER, REBECCA                                Address on File
Harper, Toni                                   Address on File
Harper, Zachary                                Address on File
HARRELL, ARTAVION                              Address on File
HARRELL, DONTREZ                               Address on File
Harrell, Eric                                  Address on File
HARRELL, NICOLE                                Address on File
Harrington, Cameron                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Harrington, Erica                              Address on File
Harris Clark, Sharon                           Address on File
HARRIS WILLIAMS LLC DBA HARRIS WILLIAMS &CO.   1001 HAXALL POINT 9TH FLOOR                                                                      RICHMOND        VA      23219
HARRIS, AARON                                  Address on File
HARRIS, ALEX                                   Address on File
HARRIS, AMBER                                  Address on File
HARRIS, ANDREAL                                Address on File
Harris, Andrew                                 Address on File
HARRIS, ANGELA                                 Address on File
HARRIS, ANTHONY                                Address on File
Harris, Bethany                                Address on File
Harris, Billy                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Harris, Billy                                  Address on File
Harris, Brandon                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Harris, Brandon                                Address on File
Harris, Brittani                               Address on File
HARRIS, BYUNSHA                                Address on File
HARRIS, CALEB                                  Address on File
Harris, Camellia                               Address on File
HARRIS, CARL                                   Address on File
HARRIS, CATALINA                               Address on File
Harris, Christopher                            Address on File
HARRIS, COREY                                  Address on File
Harris, Crystal                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Harris, Daniel                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HARRIS, DESIVRAE                               Address on File
HARRIS, DIONTAE                                Address on File
HARRIS, DORITA                                 Address on File
HARRIS, ELLIS                                  Address on File
HARRIS, ERIC                                   Address on File

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                                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                 Consolidated Creditor Matrix

                            Name                                            Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
HARRIS, HAILEY                                          Address on File
Harris, Jacqualine                                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HARRIS, JALESHA                                         Address on File
HARRIS, JASMINE                                         Address on File
Harris, Jay                                             Address on File
HARRIS, JORDAN                                          Address on File
Harris, Justin                                          Address on File
HARRIS, JUSTINE                                         Address on File
Harris, Katelynne                                       Address on File
HARRIS, KEONDRE                                         Address on File
Harris, Kiel                                            Address on File
HARRIS, KIP                                             Address on File
Harris, Kyla                                            Address on File
HARRIS, LAMYA                                           Address on File
HARRIS, MARIO                                           Address on File
Harris, Megan                                           Address on File
Harris, Nathan                                          Address on File
HARRIS, NOAH                                            Address on File
Harris, Phillip                                         Address on File
HARRIS, RENALDO                                         Address on File
HARRIS, RYAN                                            Address on File
Harris, Scott                                           Address on File
Harris, Steven                                          Address on File
Harris, Tony                                            Address on File
Harris, Tony                                            Address on File
HARRIS, TRUVON                                          Address on File
Harris, Wendolyn                                        Address on File
Harris, Zorey                                           Address on File
HARRIS‐GEARING, SETH                                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Harrison, Adriana                                       Address on File
HARRISON, BARBARA                                       Address on File
HARRISON, BRIAN                                         Address on File
HARRISON, CARRIE                                        Address on File
Harrison, Cory                                          Address on File
HARRISON, DEREK                                         Address on File
Harrison, Destinee                                      Address on File
HARRISON, DUSTIN                                        Address on File
Harrison, Emmanuel                                      Address on File
Harrison, Jadon                                         Address on File
Harrison, Jeffery                                       Address on File
HARRISON, JEFFERY                                       Address on File
Harrison, Joyslyn                                       Address on File
Harrison, Kierra                                        Address on File
Harrison, Lee                                           Address on File
HARRISON, MYLES                                         Address on File
Harrison, Nathan                                        Address on File
HARRISON, RORY                                          Address on File
Harrizon, Yasmin                                        Address on File
HARRY RINKER IRREVOCABLE FAMILY TRUST                   PO BOX 7250                                                                                      NEWPORT BEACH   CA      92658
Harry S. Rinker Irrevocable Family Trust established 
December 17, 2012 STIPULATION 10‐2‐18                   PO Box 7250                                                                                      Newport Beach   CA      92658
HARSHA, AUSTIN                                          Address on File
HART, ANDREW                                            Address on File
Hart, Cameron                                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HART, DEIDRA                                            Address on File
HART, DEMERRIS                                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HART, FELICIA                                           Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
HART, JAKE                                 Address on File
HART, JENNA                                Address on File
HART, MARILYN                              Address on File
Hart, Rusty                                Address on File
Hart, Sherri                               Address on File
Hart, Sherry                               Address on File
HARTER, RANDY                              Address on File
HARTFIELD, DMITRY                          Address on File
HARTFIELD, MEAGAN                          Address on File
HARTFORD FIRE INSURANCE COMPANY            P. O. BOX 731178                                                                                 DALLAS           TX      75373‐1178
HARTLEY, DAVID                             Address on File
Hartman, Dominic                           Address on File
HARTMANN, EMILY                            Address on File
HARTSOCK, ERIC                             Address on File
Hartwick, Dustin                           Address on File
HARVARD PETROLEUM COMPANY LLC              PO BOX 936                                                                                       ROSWELL          NM      88202‐0936
Harvard Petroleum Company, LLC             200 E. 2nd Street                                                                                Roswell          NM      88201
HARVEY, AMBER                              Address on File
HARVEY, CARMEL                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HARVEY, CYNTHIA                            Address on File
HARVEY, DEQUEVON                           Address on File
HARVEY, REBEKAH                            Address on File
HARVEY, SHAUN                              Address on File
HARWARD, UNA                               Address on File
HASENAUER, JOSH                            Address on File
Hasey, Herman                              Address on File
HASKELL, LASHONDA                          Address on File
HASKINS, BRITTANY                          Address on File
Haslerig, Johnathan                        Address on File
HASSELBAR, HAYLEY                          Address on File
HASSELSCHWERT, CHRIS                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Hasselschwert, Christopher                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HASSEN, ASCHEA                             Address on File
Hassen, Yousuf                             Address on File
HASSINGER, MICHELLE                        Address on File
HASSLER, DYLAN                             Address on File
HASSLER, HEATHER                           Address on File
HASTINGS, ABIGAYLE                         Address on File
HASTINGS, CODY                             Address on File
HASTINGS, RACHEL                           9510 N 165TH E AVE                                                                               OWASSO           OK      74055
HASTON, JESSICA                            Address on File
HATCH, ASHTON                              Address on File
HATCHER, JOSHUA                            Address on File
HATCHER, VIOLET                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HATCO ELEC                                 1023 EXPLORER, STE. D                                                                            DUNCANVILLE      TX      75137
HATFIELD, JUANITA                          Address on File
HATHAWAY, DESMON                           Address on File
HATHCOCK, WAYNE                            Address on File
HATLEY, TYLER                              Address on File
HATLEY, WILLIAM                            Address on File
Hattabaugh, Julia                          Address on File
HATTER, CHRISTOPHER                        Address on File
HATTER, MOESHA                             Address on File
HATZFELD, DESIREE                          Address on File
HAUCK, IAN                                 Address on File
Hauger, Stephanie                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Haughn, Tyler                              Address on File

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                                                                                    In re: Taco Bueno Restaurants Inc.., et al.
                                                                                           Consolidated Creditor Matrix

                           Name                                       Address 1                          Address 2                Address 3                   City   State PostalCode   Country
Hause, Kendall                                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Hause, Parker                                     Address on File
Havenar, Kalvin                                   Address on File
HAVENAR, KASEY                                    Address on File
HAVLIK, SHELBY                                    Address on File
HAWES, AARON                                      Address on File
Hawk, Candice                                     Address on File
Hawk, Joseph                                      Address on File
HAWKINS ELECTRICAL SERVICE CO, INC DBA HAWKINS 
COMMERCIAL APPLIA                                 3000 S WYANDOT ST                                                                                ENGLEWOOD         CO   80110
Hawkins Mullis, Christian                         Address on File
HAWKINS, ALEIGHA                                  Address on File
HAWKINS, AMANDA                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
HAWKINS, AMANDA                                   Address on File
HAWKINS, AURESHAE                                 Address on File
HAWKINS, AVERY                                    Address on File
HAWKINS, CODY                                     Address on File
HAWKINS, DEVON                                    Address on File
HAWKINS, DEWAYNE                                  Address on File
HAWKINS, HANNAH                                   Address on File
HAWKINS, HEATHER                                  Address on File
Hawkins, Jalen                                    Address on File
HAWKINS, JERMAINE                                 Address on File
HAWKINS, KIMYETTA                                 Address on File
Hawkins, Kristina                                 Address on File
Hawkins, Micheal                                  Address on File
Hawkins, Shakera                                  Address on File
HAWKINS, TRELANDA                                 Address on File
Hawkins, Trevion                                  Address on File
HAWLEY, ADAM                                      Address on File
Hawley, Joshua                                    Supreme Ct. Bldg.                    207 W. High St.                                             Jefferson City    MO   65101
HAWORTH, ALEC                                     Address on File
HAWORTH, LESLIE                                   Address on File
HAWPE, HEATHER                                    Address on File
HAWTHORNE, ALICIA                                 Address on File
HAWTHORNE, ANTONIO                                Address on File
HAWTHORNE, JAMES                                  Address on File
HAWTHORNE, JOE                                    Address on File
HAWTHORNE, LARHONDA                               Address on File
HAWTHORNE, RYDELDRICK                             Address on File
Hawthorne, Shayerhonda                            Address on File
HAWTHORNE, WILLIAM                                Address on File
Hay, Coit                                         Address on File
Hay, Julia                                        300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
HAY, VANNA                                        Address on File
HAYES IV, WILLIAM                                 Address on File
Hayes, Christopher                                Address on File
HAYES, JESSICA                                    Address on File
HAYES, KRYSTAL                                    Address on File
Hayes, Solomon                                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Hayes, Willow                                     Address on File
Hayes, Zachary                                    Address on File
Hayhurst, Alisha                                  300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
HAYMAN, MICHAEL                                   Address on File
HAYNES AND BOONE 901 MAIN ST.                     P. O. BOX 841399                                                                                 DALLAS            TX   75284‐1399
Haynes, Asia                                      Address on File
HAYNES, CECILLE                                   Address on File

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                       Name                                       Address 1                          Address 2                Address 3                    City   State    PostalCode   Country
HAYNES, JEREMY                                Address on File
Haynes, Katie                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Haynes, Marcus                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
HAYS COUNTY TAX OFFICE                        712 S STAGECOACH TRAIL                                                                           SAN MARCOS         TX      78666‐6073
HAYS, ALEXIS                                  Address on File
HAYS, DIAMOND                                 Address on File
HAYS, SHAUNA                                  Address on File
HAYTER, MASHAYLA                              Address on File
HAYWARD, BRAYDON                              Address on File
HAYWARD, DEWONE                               Address on File
Hayward, Shane                                Address on File
HAYWOOD, ELVIS                                Address on File
HAYWOOD, KENNETH                              Address on File
HAYWORTH, HEATHER                             Address on File
Hazlewood, James                              Address on File
HBD TECHNOLOGY                                DBA HBD TECHNOLOGY                   P. O. BOX 1057                                              DERBY              KS      67037
HEAD, CHERYL                                  Address on File
HEADSPETH, DILLON                             Address on File
HEAGLER, JACOB                                Address on File
HEALD, CARISSA                                Address on File
HEALTH CARE SERVICE CORPORATION               P O BOX 655082                                                                                   DALLAS             TX      75265‐5082
Heard, Jessica                                Address on File
Heard, Katherine                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Heard, Lela                                   300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
HEARST, DION                                  Address on File

HEARTLAND PAYMENT SYSTEMS ONE HEARTLAND WAY   ATTN: XPIENT                         ONE HEARTLAND WAY                                           JEFFERSONVILLE     IN      47130
HEATH, DAWNA                                  Address on File
HEATH, KATHRYNE                               Address on File
HEATH, KEYLIE                                 Address on File
Heath, Mikaila                                Address on File
HEATH, ZEMON                                  Address on File
HEATHER SIMENTAL DBA GEEK GIRL EDITING        253 10TH AVE #534                                                                                SAN DIEGO          CA      92101
HEATWAVE S6529 E 14TP.O. BOX 5                6529 E 14TH ST.                      P.O. BOX 580009                                             TULSA              OK      74112
HEAVNER, THOMAS                               Address on File
HEBCO DEVELOPMENT INC.                        P. O. BOX 83995                                                                                  SAN ANTONIO        TX      78283
HECK JR., EVERETT                             Address on File
HECKE, MITCHELL                               Address on File
HECTOR, SHAWNA                                Address on File
Hedge, Alyssa                                 Address on File
HEDGEMAN, NANCY                               Address on File
Hedges, Damian                                Address on File
Hefley, Amber                                 Address on File
Hefley, Brooklyn                              Address on File
Heggen, Mary                                  Address on File
HEIDELBERG, ANTHONY                           Address on File
Heieck, Chance                                Address on File
HEIKKINEN, ISABELLA                           Address on File
HEILAMAN, SARAH                               Address on File
Heimlich, Scott                               Address on File
HEISLER, AUTUMN                               Address on File
HEITMILLER, CODY                              Address on File
HELD, BRIAN                                   Address on File
HELFAND, SARAH                                Address on File
Hellard, James                                Address on File
Heller Investments, L.L.C.                    3515 E 31st St                       Ste #A                                                      Tulsa              OK      74135
HELLER‐LUD6726 S. KN                          3515 E 31ST STREET                   SUITE #A                                                    TULSA              OK      74135

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
HELM‐TURNER, CHLOE                       Address on File
HELSTERN, DANIEL                         Address on File
HELTNE, TRAVIS                           Address on File
HELTON, FULTON                           Address on File
Helton, Heather                          Address on File
Helton, Kevin                            Address on File
HELTON, SARAH                            Address on File
HELTON, TRACE                            Address on File
HEMENWAY, BENJAMIN                       Address on File
HEMPHILL, CHAUNTE                        Address on File
HEMPHILL, JORDAN                         Address on File
HEMPHILL, KELLY                          Address on File
Hemsoth, Joshua                          Address on File
Hence, Kela                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Hence, Kyla                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HENDERSON, AQUARIUS                      Address on File
HENDERSON, AUTUMN                        Address on File
HENDERSON, CALVIN                        Address on File
Henderson, Cameron                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Henderson, Charlesha                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HENDERSON, CHRISTOPHER                   Address on File
HENDERSON, DAYSHON                       Address on File
HENDERSON, DEMARCUS                      Address on File
HENDERSON, DE'QUACE                      Address on File
HENDERSON, DIAMOND                       Address on File
HENDERSON, DON                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Henderson, Ethen                         Address on File
HENDERSON, HERMAN                        Address on File
Henderson, Heromi                        Address on File
HENDERSON, HUNTER                        Address on File
Henderson, Isaiah                        Address on File
HENDERSON, LYNDA                         Address on File
HENDERSON, MARSHAUN                      Address on File
HENDERSON, MISSMYOKIA                    Address on File
HENDERSON, RYAN                          Address on File
HENDERSON, RYAN                          Address on File
HENDERSON, TRENTON                       Address on File
HENDERSON, VICTORIA                      Address on File
HENDERSON, ZACHARY                       Address on File
HENDREN, TORI                            Address on File
HENDRICKS, ROSS                          Address on File
HENDRICKSON, CHEYENNE                    Address on File
Hendrickson, Taylor                      Address on File
Hendrix, Dylan                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HENDRIX, JEFFREY                         Address on File
Hendrix, Lexie                           Address on File
Hendrix, Matthew                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HENNESY, BRAD                            Address on File
HENRIGUEZ, NOREENE                       Address on File
Henriquez, Blanca                        Address on File
Henry Henderson, Teresa                  Address on File
Henry, Andrea                            Address on File
Henry, Bailey                            Address on File
Henry, Chantz                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Henry, Dakota                            Address on File
Henry, Dawson                            Address on File
HENRY, ERIC                              Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
Henry, Heather                             Address on File
Henry, Jackie                              Address on File
Henry, Madisen                             Address on File
Henry, Rudy                                Address on File
Henry, Samantha                            Address on File
Henry, Shytia                              Address on File
Henry, Tasha                               Address on File
HENRY, VANESSA                             Address on File
HENSHALL, DALTON                           Address on File
Hensley, Amber                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HENSLEY, KATHY                             Address on File
HENSLEY, KERESSICA                         Address on File
HENSLEY, NICOLE                            Address on File
Hensley, Tracy                             Address on File
HENSON, JAMES                              Address on File
HENSON, JIMI                               Address on File
HENSON, KADEE                              Address on File
Henson, Kirk                               Address on File
Henson, Seth                               Address on File
HENZ, TOMMY                                Address on File
HEPPEL, SARIYA                             Address on File
HER, ALEX                                  Address on File
HER, NYAJKUB                               Address on File
HERATH, THILAN                             Address on File
Herbert, Randi                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Herbison, Anthoney                         Address on File
Herbison, LeAundre                         Address on File
Herbison, Sypriss                          Address on File
HERITAGE SERVICE GROUP OK                  PO BOX 71595                                                                                     CHICAGO          IL      60694‐1595
Heritage, Chandler                         Address on File
Hermansen, Joel                            Address on File
HERMOSILLO, RICARDO                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HERNADEZ, AGUSTIN                          Address on File
HERNANDEZ GALINDO, MARCO                   Address on File
HERNANDEZ LAZO, LEIDY                      Address on File
Hernandez Rodriguez, Alan                  Address on File
HERNANDEZ SALAZAR, ELVIRA                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HERNANDEZ, AARON                           Address on File
HERNANDEZ, AIDE                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HERNANDEZ, ALEJANDRO                       Address on File
HERNANDEZ, ALEJANDRO                       Address on File
Hernandez, Alicia                          Address on File
HERNANDEZ, ANA                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HERNANDEZ, ANA                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Hernandez, Ana                             Address on File
HERNANDEZ, ANICIA                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HERNANDEZ, ANTHONY                         Address on File
Hernandez, Arthur                          Address on File
HERNANDEZ, AUSTIN                          Address on File
Hernandez, Brenda                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HERNANDEZ, CARLOS                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HERNANDEZ, CARLOS                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HERNANDEZ, CARMEN                          Address on File
HERNANDEZ, CARMEN                          Address on File
HERNANDEZ, CERBANDO                        Address on File
HERNANDEZ, CHANDON                         Address on File
HERNANDEZ, CHRISTIN                        Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Hernandez, Clara                        Address on File
Hernandez, Claudia                      Address on File
HERNANDEZ, CRISTINA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Hernandez, Crystal                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Hernandez, Daniel                       Address on File
Hernandez, Daniela                      Address on File
Hernandez, Eddie                        Address on File
Hernandez, Edson                        Address on File
Hernandez, Enrique                      Address on File
HERNANDEZ, ERIKA                        Address on File
Hernandez, Evelyn                       Address on File
HERNANDEZ, FABIOLA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, FLOR                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, FRANCO                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, GINA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, GIOVANNI                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, GUADALUPE                    Address on File
HERNANDEZ, HALEY                        Address on File
Hernandez, Jacob                        Address on File
Hernandez, James                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, JAQUELINE                    Address on File
Hernandez, Jeniffer                     Address on File
HERNANDEZ, JEOVANY                      Address on File
Hernandez, Jessica                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Hernandez, Jesus                        Address on File
HERNANDEZ, JONAS                        Address on File
HERNANDEZ, JONATHAN                     Address on File
HERNANDEZ, JOSUE                        Address on File
HERNANDEZ, JUAN                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Hernandez, Juan                         Address on File
Hernandez, Juan                         Address on File
HERNANDEZ, KARINA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Hernandez, Lauren                       Address on File
HERNANDEZ, LAYIANA                      Address on File
HERNANDEZ, LAZARA                       Address on File
Hernandez, Lorin                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, LUIS                         Address on File
Hernandez, Lurbin                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, MARCELA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, MARIA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, MARIA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, MARIA                        Address on File
HERNANDEZ, MARIA                        Address on File
Hernandez, Maria                        Address on File
HERNANDEZ, MARIBEL                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, MARLENY                      Address on File
HERNANDEZ, MARTINA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HERNANDEZ, MATTHEW                      Address on File
HERNANDEZ, MICHAEL                      Address on File
Hernandez, Michael                      Address on File
HERNANDEZ, NADIA                        Address on File
HERNANDEZ, NATASHA                      Address on File
Hernandez, Nicholas                     Address on File
HERNANDEZ, NORMA                        Address on File
HERNANDEZ, OSCAR                        Address on File
Hernandez, Paola                        Address on File
HERNANDEZ, PATRICIA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State PostalCode   Country
HERNANDEZ, PEDRO                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Hernandez, Ralph                        Address on File
Hernandez, Raul                         Address on File
HERNANDEZ, RAY                          Address on File
HERNANDEZ, REECE                        Address on File
HERNANDEZ, REGINA                       Address on File
HERNANDEZ, RENDI                        Address on File
HERNANDEZ, ROBERT                       Address on File
Hernandez, Rosalva                      Address on File
Hernandez, Ruben                        Address on File
HERNANDEZ, SAID                         Address on File
HERNANDEZ, SAID E                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
HERNANDEZ, SAVANNAH                     Address on File
HERNANDEZ, SERGIO                       Address on File
HERNANDEZ, SOBEIDA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Hernandez, Stephanie                    Address on File
Hernandez, Tanner                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
HERNANDEZ, TOMMY                        Address on File
HERNANDEZ, TONATIUH                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
HERNANDEZ, TRHEICY                      Address on File
HERNANDEZ, TYLER                        Address on File
HERNANDEZ, VALERIA                      Address on File
HERNANDEZ, VERONICA                     Address on File
Hernandez, Victoria                     Address on File
HERNANDEZ, VIVIANA                      Address on File
HERNANDEZ, WELLINGTON                   300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
HERNANDEZ, WENDY                        Address on File
HERNANDEZ, YVONNE                       Address on File
HERNANDEZ‐REYES, ANAHI                  Address on File
HERNANI, JENNIFER                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Herndon, Evelyn                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
HERNDON, JOYCE                          Address on File
HERNDON, KAYLYNN                        Address on File
Herndon, Neikelle                       Address on File
HERNSHALL, DORIS                        Address on File
HEROD HARRIS, TANYA                     Address on File
Herod, Walter                           Address on File
Herr, Jonnie                            Address on File
HERRERA FIGUEROA, STEPHANY              Address on File
HERRERA, ALEXIS                         Address on File
HERRERA, ALICIA                         Address on File
Herrera, Alvino                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Herrera, Alyssa                         Address on File
HERRERA, BRITTANY                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
HERRERA, CRYSTAL                        Address on File
HERRERA, DANIEL                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Herrera, Erica                          Address on File
HERRERA, ERIKA                          Address on File
HERRERA, GUADALUPE                      Address on File
HERRERA, JESUS                          Address on File
HERRERA, JESUS                          Address on File
HERRERA, JUAN                           Address on File
HERRERA, KAQUAN                         Address on File
Herrera, Kassandra                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
HERRERA, KAYLEE                         Address on File
Herrera, Luis                           Address on File
HERRERA, ROSA                           Address on File

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                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                               Consolidated Creditor Matrix

                      Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
HERRERA, ROSALINA                     Address on File
HERRERA, SARA                         Address on File
HERRERA, SELENA                       Address on File
Herrera, Sulema                       Address on File
HERRERA, ZADID                        Address on File
HERRIAN, CHRISTOPHER                  Address on File
Herrin, Matthew                       Address on File
Herring, Bayani                       Address on File
HERRING, CHRISTIAN                    Address on File
Herring, Kelton                       Address on File
HERRING, TELESA                       Address on File
HERRON ELECTRIC COMPANY               PO BOX 815                                                                                       MONUMENT         CO      80132
Herron, Derek                         Address on File
HERRON, SHAQUALA                      Address on File
Herskind, Sabastion                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HESLER, REGEENA                       Address on File
HESLIP JR, JAMES                      Address on File
Heslip, Brooke                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Heslip, Cathleen                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HESS LANDSCAPE                        DBA HESS LANDSCAPE                   1108 S. ARMSTRONG AVE.                                      DENISON          TX      75020
HESS, KIMBERLY                        Address on File
HESS, ZACHARY                         Address on File
HESTER, DANYELL                       Address on File
Hester, Myca                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HESTER, TIARRAH                       Address on File
Hester, Tyler                         Address on File
HESTER, WILLIAM                       Address on File
HETTICK, JOSHUA                       Address on File
HEUN, SHAUNA                          Address on File
HEURING, KADY                         Address on File
HEVALOW, LANA                         Address on File
HEWITT, JUSTIN                        Address on File
Hewitt, Nicole                        Address on File
HIATT, DOUGLAS                        Address on File
Hibbert, John                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HIBBITTS, MEAGAN                      Address on File
Hibdon, Madison                       Address on File
HICKERSON, ANDRE                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Hickey, Dedrick                       Address on File
HICKEY, HEATHER                       Address on File
HICKEY, MICHELLE                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Hickman, Allen                        Address on File
HICKMAN, BRANDY                       Address on File
HICKMAN, CATHY                        Address on File
HICKMAN, GENESIS                      Address on File
Hickman, LaTanga                      Address on File
Hickman, Lynetta                      Address on File
Hickman, Paxton                       Address on File
Hicks, Andrea                         Address on File
HICKS, BRADEN                         Address on File
Hicks, Brianne                        Address on File
HICKS, CARTER                         Address on File
HICKS, CHARLES                        Address on File
HICKS, CHRISTINA                      Address on File
Hicks, Dyaire                         Address on File
HICKS, EDDIE                          Address on File
Hicks, Frank                          Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                       Name                                     Address 1                          Address 2                                 Address 3                      City   State    PostalCode   Country
HICKS, JEFFERY                              Address on File
HICKS, KYLE                                 Address on File
HICKS, MALACHI                              Address on File
Hicks, Matthew                              Address on File
HICKS, MIDORI                               Address on File
HICKS, NATASHIA                             Address on File
Hicks, Nyco                                 300 East John Carpenter Freeway      Suite 800                                                                         Irving          TX      75062
Hicks, Raymeon                              Address on File
HICKS, SANDRA                               300 East John Carpenter Freeway      Suite 800                                                                         Irving          TX      75062
HICKS, SARA                                 Address on File
HICKS, SARAH                                Address on File
HICKS, SETH                                 Address on File
Hicks, Shanna                               Address on File
HICKS, TANESHIA                             Address on File
Hicks, Tiffany                              Address on File
HICKS, ZOEY                                 Address on File
HICKS‐FRANKLIN, KEVIN                       Address on File
HIDALGO, BETINA                             300 East John Carpenter Freeway      Suite 800                                                                         Irving          TX      75062
HIDER, FRONCENICK                           Address on File
Hidrogo, Bryan                              300 East John Carpenter Freeway      Suite 800                                                                         Irving          TX      75062
HIGDON, STEFANI                             Address on File
HIGGINBOTHAM, AMBER                         Address on File
Higginbotham, Jacob                         Address on File
HIGGINS, DEL                                Address on File
Higgins, Kyra                               Address on File
HIGGS, SEAN                                 Address on File
High, Seth                                  Address on File
HIGHLAND EAST JUNIOR HIGH CHOIR BOOSTER     4613 MACKENZIE DRIVE                                                                                                   MOORE           OK      73160
HIGHLAND TERRACE BAPTIST CHURCH             AMY LITCHFIELD                       3939 JOE RAMSEY BLVD                                                              GREENVILLE      TX      75402
HIGHTEC GRAFIX                              7660 PEBBLE DR                                                                                                         FORT WORTH      TX      76118
HIGH‐TECH VINYL REPARI                      DBA HIGH‐TECH VINYL REPAIR           P. O. BOX 1943                                                                    EULESS          TX      76039
Hightower, Austin                           Address on File
Hightower, Jordan                           Address on File
Hightower, Sydney                           Address on File
Hightower, Tracy                            Address on File
Hightower, William                          300 East John Carpenter Freeway      Suite 800                                                                         Irving          TX      75062
HILEMAN, BROOKE                             Address on File
Hilex Poly Co., LLC                         2804 North Kingsgate Drive           Salim Bana                                 Director of International Sales        Orange          CA      92567
HILL, AARON                                 Address on File
Hill, Anita                                 Address on File
HILL, ANNA                                  Address on File
HILL, ANTON                                 Address on File
HILL, APRIL                                 Address on File
Hill, Billy                                 300 East John Carpenter Freeway      Suite 800                                                                         Irving          TX      75062
Hill, Brenden                               Address on File
HILL, CHRISTOPHER                           Address on File
HILL, CLAYTION                              Address on File
HILL, COLTON                                Address on File
Hill, Cynthia                               Address on File
HILL, DARRIEN                               300 East John Carpenter Freeway      Suite 800                                                                         Irving          TX      75062
Hill, Destiny                               Address on File
Hill, Destiny                               Address on File
HILL, GAGE                                  Address on File
HILL, GAVIN                                 Address on File
HILL, GREGG                                 Address on File
HILL, HARRY                                 Address on File
Hill, Hunter                                Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                    City   State    PostalCode   Country
HILL, JEFFERY                          Address on File
HILL, JOSHUA                           Address on File
Hill, Jr, Curtis                       302 West Washington Street           5th Floor                                                   Indianapolis       IN      46204
HILL, KEVIN                            Address on File
HILL, KRIS                             Address on File
HILL, LES                              Address on File
HILL, LISA                             Address on File
HILL, LYNDSEY                          Address on File
HILL, MEGAN                            Address on File
HILL, MERCADES                         Address on File
HILL, MICAH                            Address on File
HILL, MISTY                            Address on File
HILL, QUAYMOND                         Address on File
Hill, Sharronda                        Address on File
Hill, Sheena                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Hill, Sydney                           Address on File
Hill, Tenola                           Address on File
HILL, TRAVIS                           Address on File
HILL, TYRONE                           Address on File
HILL, VALERIE                          Address on File
HILL, WESLEY                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Hill, Weslie                           Address on File
HILLHOUSE, JEFFREY                     Address on File
HILLS, AUSTIN                          Address on File
Hilton Springs, LLC                    923 Ensign Peak Court                                                                            Lawrenceville      GA      30044
Hilton, Emmanuel                       Address on File
Hilton, Michel                         Address on File
HIMES, CODY                            Address on File
Hindsley, Dillon                       Address on File
HINEMAN, ADAM                          Address on File
Hines, Dolan                           Address on File
HINES, KELLEN                          300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
HINES, KUPFREIHA                       Address on File
Hines, Valarie                         300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
HINESTROZA, EMERITA                    Address on File
HINGEY, CHANCE                         Address on File
Hinkle, David                          Address on File
Hinojosa, Daniel                       300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
HINOJOSA, HUIBERTO                     Address on File
HINSON, CODY                           Address on File
Hinton, Ronnie                         Address on File
Hipolito, Cassandra                    Address on File
HIPP, DARLA                            Address on File
Hipple, Briana                         Address on File
Hiser Lane LLC                         4018 South Hempstead Circle                                                                      San Diego          CA      92116
HISER LANE LLC                         MICHELE R. SERRA                     4018 S HEMPSTEAD CIR                                        SAN DIEGO          CA      92116
HISER, CAMERON                         Address on File
HITCHYE, TYLER                         Address on File
HITER, ASHLEY                          Address on File
HITES, VICTORIA                        Address on File
HITSMAN, MATHEW                        Address on File
Hitt, Heather                          Address on File
HIX CORPORATION                        1201 E. 27TH TERRACE                                                                             PITTSBURG          KS      66762
Hix, John                              Address on File
HM ELECTRONICS, INC.                   2848 WHIPTAIL LOOP                                                                               CARLSBAD           CA      92010
Hoang, Tana                            Address on File
Hobbs, Jessica                         Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                        Name                                       Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
Hobbs, Keith                                   Address on File
Hobbs, Shayla                                  Address on File
Hobby, Anthony                                 Address on File
Hobson, Brett                                  Address on File
Hobson, Keristen                               Address on File
HOCKENHULL, STEPHANIE                          Address on File
HOCKENHULL, STEVEN                             Address on File
HOCKER, CHRISTOPHER                            Address on File
HOCTOR, REILLY                                 Address on File
Hodge, Rekia                                   Address on File
Hodnett, Stefanie                              Address on File
Hodo, Nathaniel                                Address on File
Hodson, Nathaniel                              Address on File
Hofer, Avery                                   Address on File
HOFER, TRISTAN                                 Address on File
HOFFMAN, SUSAN                                 10 SKY TERRACE PLACE                                                                             SPRING            TX      77381
HOFFMANN, ELIZABETH                            Address on File
Hogan, Alike                                   Address on File
Hogan, Justus                                  Address on File
HOGAN, KELLI                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HOGAN, SYMARIEL                                Address on File
Hogan, Victor                                  Address on File
HOGG, MATTHEW                                  Address on File
HOKANSON JTWROS, DAVID F. & NIKKI S.C.         15340 CARTER ST.                                                                                 OVERLAND PARK     KS      66221
Holahta, Charles                               Address on File
HOLBERT, ALISSA                                Address on File
HOLBERT, BRIANNA                               Address on File
HOLBERT, JALISHIA                              Address on File
Holbrook, Jeremy                               Address on File
HOLCOMB, MARY                                  Address on File
Holden, Brandon                                Address on File
Holden, Connor                                 Address on File
HOLDEN, TIFFANY                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Holder, Derek                                  Address on File
HOLDERS INC.                                   7027 E 40TH ST.                                                                                  TULSA             OK      74145‐4511
HOLEMS, DREW                                   Address on File
HOLIDAY, ADARRYLL                              Address on File
Holifield, Connor                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Holifield, Jacob                               Address on File
HOLLABAUGH PLUMBING, INC.                      3100 S. VERNON                                                                                   AMARILLO          TX      79103
HOLLAND, ASHLEY                                Address on File
Holland, Cody                                  300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Holland, Frank                                 Address on File
HOLLAND, JENNIFER                              Address on File
Holland, Jordan                                Address on File
HOLLAND, JOSHUA                                Address on File
HOLLAND, SCHANTA                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Holland‐Smith, Jakob                           Address on File
HOLLARS, TRENT                                 Address on File
Holleman, Brianna                              Address on File
Hollenbeck, Monica                             Address on File
Holley, Christan                               Address on File
HOLLEY‐CARROLL, ALEXIS                         Address on File
HOLLINGSWORTH, HUNTER                          Address on File
HOLLINGSWORTH, RACHEL                          Address on File
HOLLIS II, JOSEPH                              Address on File
HOLLIS, ETHAN                                  Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                          Name                                Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
HOLLIS, KARRI                             Address on File
HOLLIS, MICHAEL                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HOLLISTER, DARREL                         Address on File
Holloway, Anthony                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HOLLOWAY, ANTHONY                         Address on File
HOLLOWAY, BAILEY                          Address on File
Holloway, Brandon                         Address on File
Holloway, Brenton                         Address on File
Holloway, Gregory                         Address on File
HOLLOWAY, KRISTAPHOR                      Address on File
Holloway, Laura                           Address on File
Holloway, Peggy                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HOLMAN, JORDAN                            Address on File
Holman, Kiana                             Address on File
Holmes Billings, Xavier                   Address on File
HOLMES JR., CHESTER                       Address on File
HOLMES, AMBER                             Address on File
HOLMES, CORDARIUS                         Address on File
Holmes, Derek                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HOLMES, DWAYNE                            Address on File
Holmes, Emannie                           Address on File
HOLMES, JERRY                             Address on File
HOLMES, JERRY                             Address on File
HOLMES, MICHAEL                           Address on File
Holmes, Raechelle                         Address on File
HOLMES, RAKYIA                            Address on File
HOLMES, SEBASTAIN                         Address on File
HOLMES, SHERITA                           Address on File
Holmes, Spencer                           Address on File
Holmes, Teri                              Address on File
Holmes, Zykiyah                           Address on File
Holt, James                               Address on File
Holt, Jordan                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HOLT, LACI                                Address on File
Holt, Rebel                               Address on File
Holt, Richard                             Address on File
HOLT, TARA                                Address on File
Holter, Douglas                           Address on File
HOLY FAMILY CATHEDRAL SCHOOL              820 S BOULDER                                                                                    TULSA             OK      74119
HOMAN, KRYSTAL                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HOME OF HOPE INC.                         P. O. BOX 903                                                                                    VINITA            OK      74301
HOME TURF                                 DBA HOME TURF                        811 N. MILL ST.                                             MUSKOGEE          OK      74401
HOMEWOOD SUITES                           DBA HOMEWOOD SUITES                  700 HEBRON PKWY                                             LEWISVILLE        TX      75057
HONEA, JEWEL                              Address on File
HONOR, JAMAL                              Address on File
HOOD COUNTY APPRAISAL DIST                P O BOX 819                                                                                      GRANBURY          TX      76048
Hood County Appraisal District            PO Box 819                                                                                       Granbury          TX      76048
Hood County Appraisal District            100 E. Pearl St.                                                                                 Granbury          TX      76048
Hood County Tax Office                    PO Box 1178                          1410 W Pearl St                                             Granbury          TX      76048
Hood County Tax Office                    1410 Pearl St.                                                                                   Granbury          TX      76048
HOOD, DEONDRE                             Address on File
HOOD, DOMINIC                             Address on File
HOOD, HAICHA                              Address on File
HOOD, NICHOLAS                            Address on File
Hood, Sarah                               Address on File
Hooker, James                             Address on File
HOOKER, KEANDRA                           Address on File

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                                                                                     In re: Taco Bueno Restaurants Inc.., et al.
                                                                                            Consolidated Creditor Matrix

                          Name                                         Address 1                          Address 2                Address 3                  City    State    PostalCode   Country
HOOKER, LINDA                                      Address on File
HOOKS, ANGEL                                       Address on File
HOOKS, ASHTON                                      Address on File
HOOKS, FELICIA                                     Address on File
HOOKS, SHENTAURUS                                  Address on File
Hooper, Bettye                                     Address on File
Hoos, Johnathan                                    Address on File
HOOSER, MARIAH                                     Address on File
Hooten, Mickala                                    Address on File
HOOVER, MACKENZIE                                  Address on File
HOPE, KASSANDRA                                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HOPE, ZOE                                          Address on File
HOPGOOD, AMARI                                     Address on File
HOPKINS COUNTY CHAMBER OF COMMERCE                 300 W CONNALLY ST                                                                                SULPHUR SPRINGS   TX      75482
HOPKINS COUNTY TAX ASSESSOR‐COLLECTOR              ATTN: COUNTY TAX COLLECTOR           128 JEFFERSON ST, STE D                                     SULPHUR SPRINGS   TX      75483‐0481
HOPKINS, ALEXANDER                                 Address on File
Hopkins, Carly                                     Address on File
HOPKINS, DE'AVANTE                                 Address on File
Hopkins, Grace                                     Address on File
Hopkins, Kawaun                                    Address on File
HOPKINS, KIARRA                                    Address on File
HOPKINS, RYAN                                      Address on File
HOPKINS, TREYVON                                   Address on File
Hopkins‐Norman, Gabrielle                          300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Hopper, Jessica                                    Address on File
Hopper, Lorie                                      300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HOPPER'S GLASS                                     880 EAST BAYLEY                                                                                  WICHITA           KS      67211
Hopson, William                                    Address on File
HOPSON‐JEFFERS, JACOB                              Address on File
HORN, COURTNEY                                     Address on File
HORN, JUSTIN                                       Address on File
Horn, Lauren                                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HORN, PATRICK                                      10681 W 74TH PL                                                                                  ARVADA            CO      80005
HORN, TONIA                                        Address on File
HORNBUCKLE, DA'MONTRE                              Address on File
HORNE, FELISA                                      Address on File
Horsley III, George                                Address on File
Horton, Deborah                                    Address on File
Horton, Donta                                      Address on File
Horton, Heaven                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Horton, Jalen                                      Address on File
Horton, Jerome                                     Address on File
Horton, Malia                                      300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HORTON, TREVON                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Horton, Tyler                                      Address on File
HORTON‐SMITH, TINESHA                              Address on File
HORVATH, CHEYANNE                                  Address on File

HOSHIZAKI SOUTH CENTRAL DISTRIBUTION CENTER INC.   15121 FRYE RD                                                                                    FORT WORTH        TX      76155
HOSKINS, HUNTER                                    Address on File
Hostetler, Solomon                                 300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
HOSTETTER, PORSHA                                  Address on File
Hotchkins, Chantell                                Address on File
HOUCHIN ELEMENTARY SCHOOL                          3200 N WEBSTER                                                                                   MOORE             OK      73160
HOUCK, SIDNEY                                      Address on File
HOUGH, JORAE                                       Address on File



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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                              Address 1                            Address 2                Address 3                  City   State    PostalCode   Country

HOULIHAN LOKEY CAPITAL, INC.            ACCTS RECEIVABLE                     10250 CONSTELLATION BLVD, 5TH FLOOR                         LOS ANGELES      CA      90067
HOUSDAN, SONYA                          Address on File
House, Brittany                         Address on File
House, Nancy                            Address on File
HOUSEHOLDER, TAIMA                      Address on File
HOUSTON R‐CO, INC.                      DBA 3RD COAST COMMUNICATIONS         11840 GLOGER ST                                             HOUSTON          TX      77039
Houston, Laquisha                       Address on File
HOUSTON, MORGAN                         Address on File
HOUSTON, RUBY                           Address on File
Hovermale, Brandy                       Address on File
HOWARD, ALEXUS                          Address on File
Howard, Amy                             Address on File
HOWARD, CARRIE                          Address on File
Howard, Corey                           Address on File
HOWARD, DEBORAH                         Address on File
HOWARD, DILLIAN                         Address on File
Howard, Geoffery                        Address on File
HOWARD, HAILEY                          Address on File
Howard, Joseph                          Address on File
HOWARD, KRISTIN                         Address on File
HOWARD, LIKISHA                         Address on File
Howard, Montavias                       Address on File
Howard, Nia                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HOWARD, NICHOLAS                        Address on File
Howard, Shane                           Address on File
HOWARD, TASHA                           Address on File
HOWARD, TASHARA                         Address on File
HOWARD, TISHIA                          Address on File
Howarth, Brandan                        Address on File
Howarth, Brandan                        Address on File
Howe, Beth                              Address on File
HOWE, NICOLE                            Address on File
HOWELL, CRYSTAL                         Address on File
HOWELL, ESSENCE                         Address on File
HOWELL, JESSIE                          Address on File
HOWELL, KENNETH                         Address on File
HOWELL, LUCINDA                         Address on File
Hoy, Jamari                             Address on File
Hoy, Kennedy                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HOYER, KERRI                            Address on File
Hoyle Holt Allied                       Address Unknown
HOYLE, JASMAINE                         Address on File
HOYLE, SHANDA                           Address on File
HOYT, LAURYN                            Address on File
HP Hwy 360, Ltd.                        7557 Rambler Road                    Suite 980                                                   Dallas           TX      75321
HP HWY 36012720 HILL                    7557 RAMBLER ROAD                    STE 980                                                     DALLAS           TX      75231
Hrapek, Amanda                          Address on File
Hua, Danny                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HUA, KINH                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
HUANG, BETA                             Address on File
HUAZANO, HECTOR                         Address on File
Hubbard, Linda                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Hubbard, Trashelle                      Address on File
Hubbard, Zyana                          Address on File
HUBBART, PATRICK                        Address on File
Hubble, Angela                          Address on File

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                         Name                                       Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
HUBBLE, BRENDEN                                 Address on File
Huberty, Abby                                   Address on File
Hubkey, Derek                                   Address on File
HUBKEY, NATALIE                                 Address on File
HUCK, KENNETH                                   Address on File
HUCKABEE, JOHNATHAN                             Address on File
HUCKINS, KRISTEN                                Address on File
HUDDY, ANGELA                                   300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HUDSON ENERGY SERVICES                          P O BOX 731137                                                                                   DALLAS          TX      75373‐1137

HUDSON MIDDLE SCHOOL CHEERLEADER BOOSTER CLUB   MICHELLE WILSON                      4405 HUDSON DR                                              SACHSE          TX      75048
HUDSON, ALYSSA                                  Address on File
HUDSON, GAGE                                    Address on File
Hudson, Jalilah                                 Address on File
Hudson, Jimmy                                   Address on File
HUDSON, MARCAIS                                 Address on File
Hudson, Stevie                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Huerta Rios, Ernan                              Address on File
HUERTA RODRIGUEZ, STEPHANIE                     Address on File
HUERTA, MARIA                                   Address on File
Huerta, Natalie                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HUERTA, OLIVO                                   Address on File
HUETE, JORGE                                    Address on File
HUETE, MARIA                                    Address on File
HUETE, MARIA                                    Address on File
Huey, Benny                                     Address on File
Huey, Brieanna                                  Address on File
HUEY, LEDARIUS                                  Address on File
Huey, Lezion                                    Address on File
HUEY, RAYSHAWN                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HUEY, VALENCIA                                  Address on File
Huff, Heather                                   Address on File
Huff, Jason                                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Huff, Journey                                   Address on File
Huff, Katrina                                   Address on File
HUFF, LEROY                                     Address on File
HUFFMAN, KOLTON                                 Address on File
Hugghins, Heather                               Address on File
Huggins, Delana                                 Address on File
Hughart, Aubrey                                 Address on File
HUGHES, AMANDA                                  Address on File
Hughes, April                                   Address on File
Hughes, Caitlyn                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Hughes, Courtney                                Address on File
Hughes, Daesheon                                Address on File
HUGHES, DEROSSI                                 Address on File
Hughes, Dwaun                                   Address on File
Hughes, Faleshia                                Address on File
HUGHES, JAMES                                   Address on File
HUGHES, JOSEPH                                  Address on File
HUGHES, MIKAYLA                                 Address on File
HUGHES, MYLISSA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Hughes, Rachel                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
HUGHES, REBECCA                                 Address on File
Hughes, Skyler                                  Address on File
Hughes‐Chatman, Eric                            Address on File
HUGUE, TYRONE                                   Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                  City   State PostalCode   Country
Huizar, Evangelina                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Hukill, Quinton                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Hulan, Abbegayle                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
HULAN, LOGAN                            Address on File
HULBERT, EVAN                           Address on File
HULCHER, KENNETH                        Address on File
HULING, MONICA                          Address on File
HULL, DESMOND                           Address on File
HULL, JENNIFER                          Address on File
HULSEY, SOPHIA                          Address on File
Hummel, Brandon                         Address on File
HUMPHREY, ALEXANDRIA                    Address on File
HUMPHREY, ASHLEE                        Address on File
Humphrey, Danny                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
HUMPHRIES, HAYES                        Address on File
Hundera, Moti                           Address on File
Hundorf, Erik                           Address on File
Hunsaker, Kristie                       Address on File
HUNT COUNTPO BOX 104                    PO BOX 1042                                                                                      GREENVILLE       TX   75403‐1042
Hunt, Brittany                          Address on File
HUNT, CAYDRIAN                          Address on File
Hunt, Cheyenne                          Address on File
Hunt, Desiree                           Address on File
HUNT, EARL                              Address on File
Hunt, Eric                              Address on File
HUNT, MALIK                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
HUNT, RYLAND                            Address on File
HUNT, SUSIE                             Address on File
HUNTER HOLM                             DBA HUNTER HOLM PHOTOGRAPHY          505 TEALRIDGE LN                                            DESOTO           TX   75115
HUNTER, ADRIAN                          Address on File
Hunter, Chasidy                         Address on File
Hunter, Darian                          Address on File
HUNTER, DARRYL                          Address on File
Hunter, Dax                             Address on File
Hunter, Mark                            Address on File
Hunter, Mike                            313 NE 21st Street                                                                               Oklahoma City    OK   73105
Hunter, Tianna                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
HUNTER, TOMMY                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
HUNTER, WILLIAM                         Address on File
HUPP, SHAKILAH                          Address on File
HURBOUGH, MEGAN                         Address on File
Hurd, Andrea                            Address on File
HURD, K                                 Address on File
HURD, LATOSHA                           Address on File
Hurd, Reina                             Address on File
HURLEY, DUSTIN                          Address on File
Hurley, Michelle                        Address on File
HURLEY, WILLIAM                         Address on File
Hurst, Austin                           Address on File
HURST, DERRICK                          Address on File
Hurst, Dyllan                           Address on File
Hurt, Braxton                           Address on File
Hurt, Gregory                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
HURT, JESSE                             Address on File
Hurt, Kekoa                             Address on File
HUSBAND, MITCHELL                       Address on File
HUSMAN, DAKODA                          Address on File

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                                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                Consolidated Creditor Matrix

                           Name                                            Address 1                          Address 2                             Address 3                   City    State    PostalCode   Country
HUSSAIN, WARZ                                          Address on File
HUSSAINI, AISHA                                        Address on File
HUSSAINI, ERIC                                         Address on File
HUSTED, MACKENZI                                       Address on File
HUSTON, TAYLOR                                         Address on File
HUTCHINS II, MICHAEL                                   Address on File
Hutchinson, Reagan                                     Address on File
Hutsler, Randy                                         Address on File
HUTTINGER CCONSTRUCTION COMPANY                        PO BOX 633                                                                                                    BLUE SPRINGS       MO      64013
HUTTON, JOHNATHAN                                      Address on File
HVAC SOLUTIONS                                         655 ELKTON DR STE 200                                                                                         COLORADO SPRINGS   CO      80907‐3513
HYATT, DAVID                                           Address on File
Hyder, Dyonte                                          Address on File
Hyder, Serena                                          300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
Hyles, Kelsey                                          Address on File
HYMES, MALIK                                           Address on File
HYS, DARIUSZ                                           Address on File
Hytche, Ahreanna                                       Address on File
IA Oklahoma City Rockwell, L.L.C.                      3025 Highland Parkway                Suite 350                                                                Downers Grove      IL      60515
IA OKLAHOMA CITY ROCKWELL, LLC                         HEATHER JABLONSKI                    C/O INVENTRUST PROPERTY MGMT               3025 HIGHLAND PKWY STE 350    DOWNERS GROVE      IL      60515
Ibarra, Arlene                                         Address on File
IBARRA, HECTOR                                         Address on File
Ibarra, Isabel                                         300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
IBARRA, JUAN                                           Address on File
Ibarra, Maria                                          300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
IBARRA, MARIA                                          Address on File
IBARRA, TABITHA                                        300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
Ibarra‐Alvarez, Alejandra                              Address on File
IBEAM SYSTEMS INC.                                     5330 W MORRIS HILL RD                                                                                         BOISE              ID      83706
Icduygu, Ada                                           300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
ICE MASTERS                                            2569 W. PAWNEE                                                                                                WICHITA            KS      67213
ICON INTERNATIONAL, INC.                               75 REMITTANCE DRIVE                  DEPT 1487                                                                CHICAGO            IL      60675‐1487
IDIKA, CHUKWUDI                                        Address on File
IEZZI, BREANNA                                         Address on File
Iglehart, Bethany                                      Address on File
IHASZ, MATHEW                                          Address on File
Iiland, Tiffanie                                       Address on File
Ilidan, Ethel                                          300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
Illingworth, William                                   Address on File
ILON, LADIVA                                           Address on File
IMAGE ADVEPO BOX 222812 WACO S                         PO BOX 2225                          812 WACO STREET                                                          WICHITA FALLS      TX      76307
IMAGETAG, INC.                                         1400 E. SOUTHERN AVE.                                                                                         TEMPE              AZ      85282
IMEX                                                   Debbie Arndorfer                     Account Manager

IMPACTIVES DBA BLUE SPRINGS IMPACTING THE GLOBE        12549 95TH PLACE N                                                                                            MAPLE GROVE        MN      55369
Impion Mokuba, Fabrice                                 Address on File
IMPRESSIONS IN STONE                                   1415 S JOPLIN AVENUE                                                                                          TULSA              OK      74112
IMPRIMIS GROUP INC, DBA FREEMAN LEONARD                4835 LBJ FREEWAY STE 1000                                                                                     DALLAS             TX      75244
Ince, Vanessa                                          Address on File
INDEPENDENT SCHOOL DIST 2 OF TULSA DBA SAND SPRINGS 
SCHOOLS                                                CHARLES PAGE HIGH SCHOOL             MICHELLE GEDDIE                            500 N ADAMS RD                SAND SPRINGS       OK      74063
INDIANA DEPT. OF REVENUE                               P. O. BOX 7226                                                                                                INDIANAPOLIS       IN      46207‐7226
Indigo Jack Brothers LLC                               5743 Corsa Avenue                    Suite 213                                                                Westlake Village   CA      91362
INDIGO JACK BROTHERS LLC                               PO BOX 3030                                                                                                   AGOURA HILLS       CA      91376
Ingerson, Brian                                        Address on File
INGLE, DEVIN                                           Address on File
Ingram Jr, Timmie                                      300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062

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                                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                Consolidated Creditor Matrix

                           Name                                           Address 1                           Address 2                Address 3                 City     State    PostalCode   Country
INGRAM, ALISON                                        Address on File
Ingram, Brent                                         Address on File
INGRAM, COLBY                                         Address on File
INGRAM, DE'ANDRE                                      Address on File
INIGUEZ, MICHAEL                                      Address on File
INK LINK MARKETING LLC                                7950 NW 155 ST                        SUITE 108                                                   MIAMI LAKES       FL      33016
INKS, LEVI                                            Address on File
INLAND AMERICAN RETAIL MANAGEMENT, LLC                DBA INLAND AMERICAN RETAIL MGMT.      2901 BUTTERFIELD RD.                                        OAK BROOK         IL      60523
Inman, Brandy                                         Address on File
IN‐N‐OUT BURGER                                       13502 HAMBURGER LANE                                                                              BALDWIN PARK      CA      91706
INNOVATIVE COMPUTER SERVICE, LLC                      108 W. MAIN ST.                       P. O. BOX 1445                                              PURCELL           OK      73080
INOCENCIO COSTILLA                                    320 N 5TH AVE                                                                                     DENISON           TX      75021
INOLA PUBLIC SCHOOLS                                  PO BOX 1149/110 N BROADWAY                                                                        INOLA             OK      74036
Inscore, Chelsey                                      300 East John Carpenter Freeway       Suite 800                                                   Irving            TX      75062
INTERACTIVE HEALTH BENEFITS DBA ACA TRACK             PO BOX 1285                                                                                       WALLED LAKE       MI      48390
INTERFACE SECURITY                                    8339 SOLUTIONS CTR                                                                                CHICAGO           IL      60677‐8003
INTERIOR SYSTEMS INC                                  PO BOX 8707                                                                                       CAROL STREAM      IL      60197‐8707
INTERMETRO INDUSTRIES CORP.                           75 REMITTANCE DRIVE DEPT 3044                                                                     CHICAGO           IL      60675‐3044
INTERNATIIONAL ASS'N OF LIONS CLUBS                   BROKEN ARROW LIONS CLUB               2825 E 33RD ST                                              TULSA             OK      74105
INTERNATIONAL ENVIRONMENTAL MANAGEMENT                P.O. BOX 101398                                                                                   ATLANTA           GA      30392
International Monetary Systems (IMS)                  16901 W. Glendale Drive                                                                           New Berlin        WI      53151
INTERRANTE INTEREST, LTD. 6915 STEFANI DR.            7907 CARUTH COURT                                                                                 DALLAS            TX      75225‐8142
Interrante Interests, Ltd.                            7907 Caruth Court                                                                                 Dallas            TX      75225‐8142
INTERREL CONSULTING                                   1000 BALLPARK                         SUITE 304                                                   ARLINGTON         TX      76011
INTERSTATE LOGOS                                      4334 NORTHWEST EXPWY                                                                              OKLAHOMA CITY     OK      73116
INTHNOI, LUCUS                                        Address on File
INTHNOI, THANET                                       300 East John Carpenter Freeway       Suite 800                                                   Irving            TX      75062
INTRALINKS, INC. P.O. BOX 414476                      PO BOX 392134                                                                                     PITTSBURGH        PA      15251‐9134
IPFS CORPORATION                                      24722 NETWORK PLACE                                                                               CHICAGO           IL      60673‐1247
IQBAL, MOHAMMAD                                       300 East John Carpenter Freeway       Suite 800                                                   Irving            TX      75062
IRON MOUNTAIN                                         P O BOX 915004                                                                                    DALLAS            TX      75391‐5004
Irons, Andrew                                         Address on File
Irons, Heather                                        Address on File
IRVIN, ANDREW                                         Address on File
Irvine, Tasheona                                      Address on File
IRVING FALSE ALARM REDUCTION PROGRAM                  P. O. BOX 840534                                                                                  DALLAS            TX      75284‐0534
Irving Farp                                           PO Box 840534                                                                                     Dallas            TX      75284‐0534
Irving Independent School District                    Tax Collector                         PO Box 152021                                               Irving            TX      75015‐2021
Irving Independent School District                    2621 W. Airport Frwy                                                                              Irving            TX      75062
IRVING INDTAX COLLECPO BOX 152                        TAX COLLECTOR                         PO BOX 152021                                               IRVING            TX      75015‐2021
IRWIN, BAILLIE                                        Address on File
Isaac, Casandra                                       Address on File
Isaacs, Tawnie                                        Address on File
Isaula, Jonathan                                      Address on File
ISBELL, ALEXIS                                        Address on File
Ishimwe, Kevin                                        Address on File
ISIDRO SALMERON, RAFAEL                               Address on File
ISLAM, TOWFIQUL                                       Address on File

ISLAND HOSPITALITY MNGMT V INC HILTON GI COL SPGS N   50 COCOANUT ROW STE 200                                                                           PALM BEACH        FL      33480
ISLAND HOSPITALITY MNGMT V LLC, DBA RESIDENCE INN 
DALLAS PARK CT                                        222 LAKEVIEW AVE STE 200                                                                          WEST PALM BEACH   FL      33401
Island, Darell                                        Address on File
ISMAIL, YASMIN                                        Address on File
ISMAILI, VALMIR                                       Address on File
ISOME, RAMON                                          300 East John Carpenter Freeway       Suite 800                                                   Irving            TX      75062
ISREAL, DANIEL                                        Address on File

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                                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                         Consolidated Creditor Matrix

                            Name                                                    Address 1                          Address 2                          Address 3                 City       State PostalCode   Country
ITV ICE MAKERS, INC.                                            3225 NW 70TH AVE                                                                                           MIAMI              FL    33122
IVERSEN, ALEXANDER                                              Address on File
IVEY, BILLY                                                     Address on File
IVEY, GERI                                                      Address on File
Ivey, Teri                                                      Address on File
IVIE, NICHOLUS                                                  Address on File
IVILL, DONOVAN                                                  Address on File
IVORY, DEMETRAS                                                 300 East John Carpenter Freeway      Suite 800                                                             Irving             TX    75062
IVORY, DEMETRAS                                                 Address on File
IVORY, JOYCELYNN                                                Address on File
Ivy, Greg                                                       Address on File
IVY, NATHAN                                                     Address on File
IVY, PIERRE                                                     Address on File
Ivy, Scott                                                      Address on File
Ivy, Shane                                                      Address on File
IXLAJ, WERNER                                                   Address on File
Ixmatlahua, Roxanne                                             Address on File
Izekor, Charity                                                 Address on File
IZQUIERDO, MASON                                                Address on File
J & B Mechanical                                                Address Unknown
J & K CONSTRUCTION                                              1112 N REDBUD                                                                                              MIDWEST CITY       OK    73110
J Michael Lanni, an individual, and Margaret Ellen Lanni, an 
individual                                                      256 Emerald Bay                                                                                            Laguna Beach       CA    92651
J ZAIGER INC                                                    7003 CABRIOLET DR                                                                                          COLORADO SPRINGS   CO    80923
J&H MASONRY CONSTRUCTION                                        JULIAN HERRADA                       502 N WILHITE                                                         CLEBNURNE          TX    76031
J.P. Morgan (dba Paymentech)                                    Keith D Lavalais                     2200 Ross Avenue                                                      Dallas             TX    75201
JABEDO, ZACK                                                    Address on File
JACINTO, ANA                                                    Address on File
JACK & RACHEL GINDI FAMILY FOUNDATION                           B.A.G. INVESTMENTS, INC.             10100 CULVER BLVD                          SUITE D                    CULVER CITY        CA    90232
JACK, KORTEZ                                                    Address on File
JACK, QUNEISHIA                                                 Address on File
Jack, Raymond                                                   300 East John Carpenter Freeway      Suite 800                                                             Irving             TX    75062
Jackman, Joseph                                                 Address on File
Jackson County                                                  Environmental Health Division        303 W. Walnut St.                                                     Independence       MO    64050
Jackson County                                                  Environmental Health Division        PO Box 160                                                            Grain Valley       MO    64029‐0160
Jackson County                                                  Environmental Health Division        415 E 12th Street                                                     Kansas City        MO    64106
JACKSON COUNTY 303 W WALNUT                                     415 E. 12TH STREET                                                                                         KANSAS CITY        MO    64106
JACKSON, ADRIAN                                                 Address on File
JACKSON, ADRIENNE                                               300 East John Carpenter Freeway      Suite 800                                                             Irving             TX    75062
JACKSON, ALEXIA                                                 300 East John Carpenter Freeway      Suite 800                                                             Irving             TX    75062
JACKSON, ANDREA                                                 P O BOX 40698                                                                                              FORT WORTH         TX    76140
Jackson, Anthony                                                Address on File
Jackson, Asia                                                   300 East John Carpenter Freeway      Suite 800                                                             Irving             TX    75062
JACKSON, ASIANIQUE                                              Address on File
Jackson, Brent                                                  Address on File
JACKSON, BRIAN                                                  Address on File
Jackson, Caleb                                                  Address on File
JACKSON, CALEB                                                  Address on File
Jackson, Carl                                                   Address on File
JACKSON, CARL                                                   Address on File
JACKSON, CATHERINE                                              300 East John Carpenter Freeway      Suite 800                                                             Irving             TX    75062
JACKSON, CATHERINE                                              300 East John Carpenter Freeway      Suite 800                                                             Irving             TX    75062
Jackson, Charissa                                               Address on File
JACKSON, CHARLES                                                Address on File
JACKSON, CHARLES                                                Address on File
JACKSON, CHELSEA                                                Address on File
JACKSON, CHRISTOPHER                                            Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
JACKSON, CLAUDIA                       Address on File
JACKSON, CLIFTON                       Address on File
JACKSON, CURSTIN                       Address on File
Jackson, Daniel                        Address on File
Jackson, David                         Address on File
Jackson, Davon                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JACKSON, DE                            Address on File
JACKSON, DE'ANDRE                      Address on File
Jackson, Deshawn                       Address on File
Jackson, Dezawn                        Address on File
JACKSON, ELEXUS                        Address on File
JACKSON, ELMER                         Address on File
Jackson, Farron                        Address on File
Jackson, Furaha                        Address on File
Jackson, Furaha                        Address on File
JACKSON, GERALD                        Address on File
Jackson, Gerald                        Address on File
JACKSON, HALEY                         Address on File
JACKSON, JACQUELYN                     Address on File
Jackson, Jamaal                        Address on File
JACKSON, JASMINE                       Address on File
JACKSON, JEFFREY                       Address on File
JACKSON, JOHN                          Address on File
Jackson, Jordan                        Address on File
Jackson, Joseph                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JACKSON, JOSHUA                        Address on File
JACKSON, KADISHA                       Address on File
Jackson, Kamia                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JACKSON, KEITH                         Address on File
JACKSON, KELVIN                        Address on File
JACKSON, KENNISHA                      Address on File
JACKSON, KEONTE                        Address on File
Jackson, Kevin                         Address on File
JACKSON, KHAELI                        Address on File
Jackson, Ki'Andre                      Address on File
Jackson, Koesha                        Address on File
JACKSON, LEMAUREUS                     Address on File
JACKSON, LISA                          Address on File
Jackson, Lynda                         Address on File
JACKSON, MARION                        Address on File
JACKSON, MICHELLE                      Address on File
JACKSON, MORGAN                        Address on File
Jackson, Nathaniel                     Address on File
Jackson, Patience                      Address on File
Jackson, Patricia                      Address on File
Jackson, Patrick                       Address on File
Jackson, Plangielle                    Address on File
JACKSON, QUINCY                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Jackson, Ryheem                        Address on File
JACKSON, SEQUITA                       Address on File
JACKSON, SHANNON                       Address on File
JACKSON, SHANTONIA                     Address on File
Jackson, Stevaughn                     Address on File
JACKSON, STEVEN                        Address on File
JACKSON, TAMARIA                       Address on File
Jackson, Tambrelyn                     Address on File
Jackson, Taryn                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                            Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
JACKSON, TAURYN                             Address on File
Jackson, Tiashia                            Address on File
Jackson, Trei                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JACKSON, TRENT                              Address on File
JACKSON, WILLIE                             Address on File
JACKSON, ZA'MONDRA                          Address on File
JACKSON‐GONZALES, SAMUEL                    Address on File
JACKSON‐SSALI, DEMARCUS                     Address on File
JACKY, JASMINE                              Address on File
Jacobo, Luis                                Address on File
JACOBS, CHRISTINA                           Address on File
Jacobs, Jeremy                              Address on File
JACOBS, JEREMY                              Address on File
Jacobs, Kerri                               Address on File
Jacobs, Matthew                             Address on File
JACOBS, MICHAEL                             Address on File
Jacobs, Quenton                             Address on File
JACOBS, TONYA                               Address on File
JACOBS, TYLER                               Address on File
Jacobson, Kayla                             Address on File
Jacobson, Kimbra                            Address on File
JACOBY, JOLENE                              Address on File
JACOBY, VELIA                               Address on File
Jacquez, Brandon                            Address on File
JAHCO VIRGINIA SQUARE LP                    DBA JAHCO VIRGINIA SQUARE, LP        P. O. BOX 14586                                             OKLAHOMA CITY   OK      73113‐0586
JAHCO Virginia Square, L.P.                 1717 Main Street                     Suite 2600                                                  Dallas          TX      75201
JAIME, ALEXIS                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Jaimes, Alexa                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JAIMES, ARACELI                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JALDIN, ROBERT                              Address on File
Jamal, Jordan                               Address on File
JAMALUDDIN, MOHAMMAD                        Address on File
JAMES LANEAIR CONDIT5024 JACKS              5024 JACKSBORO HWY.                                                                              WICHITA FALLS   TX      76302
JAMES, BOBBY                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JAMES, CARNELL                              Address on File
James, DeWayne                              Address on File
James, Etric                                Address on File
JAMES, JONATHAN                             Address on File
JAMES, KORTNEY                              Address on File
James, Kristopher                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JAMES, MACKENZIE                            Address on File
James, Marissa                              Address on File
JAMES, MARTINA                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JAMES, MATHEW                               Address on File
JAMES, MICHAEL                              Address on File
JAMES, VERNON                               Address on File
Jamesmaskrid, Chance                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JAMESON, HOPE                               Address on File
JAMESON, JASMINE                            Address on File
JAMESON, ROBIN                              Address on File
JAMISON, DONOVAN                            Address on File
Jamison, Patrick                            Address on File
Jamison, Samuel                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JANI‐KING OF OKLAHOMA, INC.                 P O BOX 847609                                                                                   DALLAS          TX      75284‐7609
JANJUA, OMAR                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JANJUA, OMAR                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Janjua, Omar                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                           Name                                   Address 1                            Address 2                Address 3                  City   State PostalCode   Country
Janjua, Omar                                  300 East John Carpenter Freeway        Suite 800                                                   Irving           TX   75062
JANOUSHEK, ROBERT                             Address on File
JANOW, ANTHONY                                Address on File
Jans, Christian                               Address on File
Januk, Michael                                300 East John Carpenter Freeway        Suite 800                                                   Irving           TX   75062
Jaramillo, Alan                               Address on File
JARAMILLO, DANIEL                             Address on File
JARAMILLO, DANIEL                             Address on File
Jaramillo, Erik                               Address on File
JARAMILLO, MATEO                              Address on File
JARAMILLO, SARA                               Address on File
JARAMILLO, ZACHARY                            Address on File
Jardine‐Hunt, Ariana                          Address on File
Jareen E. Schmidt Family Two, Ltd.            P. O. Box 122297                                                                                   FORT WORTH       TX   76121
JARES, LANCE                                  Address on File
JARMAILLO, JESIKA                             Address on File
Jarman, Richard                               300 East John Carpenter Freeway        Suite 800                                                   Irving           TX   75062
Jaroszewski, Jordan                           300 East John Carpenter Freeway        Suite 800                                                   Irving           TX   75062
JARRELL, STEPHEN                              Address on File
JARRETT, BRIAN                                Address on File
Jarrett, Siretha                              300 East John Carpenter Freeway        Suite 800                                                   Irving           TX   75062
Jarrow, Quindel                               Address on File
JARVIS, JAMES                                 Address on File
JARVIS, JILL                                  Address on File
JASON FARLEY MEMORIAL FUND                    TTCU                                   1800 S HWY 66                                               CLAREMORE        OK   74019
Jason, Amanda                                 Address on File
JASSO, SOFIA                                  Address on File
JAY GANESH, LLC                               DBA LAQUINTA INN & SUITES              406 HEATHER RD                                              GUTHRIE          OK   73044
JAYASWAL, NIRAL                               Address on File
Jayhawk Plumbing                              Address Unknown
JAY‐JACKSON, FAITH                            Address on File
JEDELE, ZACKERY                               Address on File
JEEMS STEAM WASH                              10410 BROADMOOR LANE                                                                               ROWLETT          TX   75089
Jeff’s Key & Safe Shop                        Address Unknown
JEFFERS, GERRARD                              Address on File
Jefferson, Antonio                            300 East John Carpenter Freeway        Suite 800                                                   Irving           TX   75062
JEFFERSON, BUNNIE                             Address on File
JEFFERSON, CALEB                              Address on File
JEFFERSON, GABREYELLE                         Address on File
JEFFERSON, GREGG                              Address on File
JEFFERSON, JONATE                             Address on File
Jefferson, Jonathan                           Address on File
JEFFERSON, KAHALIF                            Address on File
Jefferson, Randy                              Address on File
Jefferson, Tavion                             300 East John Carpenter Freeway        Suite 800                                                   Irving           TX   75062
JEFFERSON, TERRIC                             Address on File
Jeffery, Amber                                Address on File
JEFFERY, CINNAMON                             Address on File
JEFFNAN USATT: MR. JC/O MILLER                C/O AMERICAN BANK OF TEXAS 142670      P. O. BOX 1234                                              SHERMAN          TX   75091‐1234
JEFFREY, STACIE                               Address on File
JEFFRIES, MARY                                Address on File
Jeffries, Noah                                Address on File
JENG PYNG CHEN DBA HILTON SPRINGS, LLC        923 ENSIGN PEAK COURT                                                                              LAWRENCEVILLE    GA   30044
JENKINS, BLAKE                                Address on File
JENKINS, FELICIA                              Address on File
Jenkins, Isaiah                               Address on File
Jenkins, Johnathon                            Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                        Name                                     Address 1                         Address 2                                 Address 3                   City   State    PostalCode   Country
Jenkins, Keianna                            Address on File
Jenkins, Khadijah                           Address on File
JENKINS, LADEANA                            300 East John Carpenter Freeway      Suite 800                                                                    Irving            TX      75062
JENKINS, MEAGAN                             Address on File
Jenkins, Parker                             Address on File
JENKINS, RESHEA                             Address on File
JENKINS, SYLVIA                             Address on File
Jenkins, Temeka                             300 East John Carpenter Freeway      Suite 800                                                                    Irving            TX      75062
JENKINS, XENOPHER                           Address on File
JENKINS, YOLANDA                            Address on File
JENKS PUBLIC SCHOOLS                        KELLY MADDEN                         JENKS SCHOOL DISTRICT 5                    205 E B STREET                    JENKS             OK      74037
JENNIFER BENTLEY DBA SOFTBALL               JENNIFER BENTLEY                     9042 E SALEM DR                                                              CALREMORE         OK      74019
JENNINGS, AMBER                             Address on File
JENNINGS, ASHLEY                            Address on File
JENNINGS, CODY                              Address on File
Jennings, Dave                              Address on File
JENNINGS, JERRY                             Address on File
Jennings, Julie                             Address on File
Jennings, Lisa                              Address on File
Jennings, Shakevia                          Address on File
Jennings, Terrance                          Address on File
Jensen, Jeffery                             Address on File
JENSEN, LUKE                                Address on File
JENSEN, MATHEW                              Address on File
JENSEN, NICHOLAS                            Address on File
Jensen, Sarah                               Address on File
JENSEN, TAMMY                               300 East John Carpenter Freeway      Suite 800                                                                    Irving            TX      75062
JENT, LUKE                                  Address on File
Jernigan, Richard                           1104 Constitution Drive                                                                                           McKinney          TX      75071
Jerry’s Electric                            Address Unknown
Jessie, Aumessyia                           Address on File
Jessie, Corderious                          Address on File
JESSUP, ALYSSA                              Address on File
Jestes, Katherine                           300 East John Carpenter Freeway      Suite 800                                                                    Irving            TX      75062
JEWELL, BRANDI                              Address on File
JEWELL, CHRISTOPHER                         Address on File
Jezak, John                                 300 East John Carpenter Freeway      Suite 800                                                                    Irving            TX      75062
JIHAD, NA'EEM                               Address on File
JIM NED BAND PARENT ORGANIZATION            SHAWN EARL                           126 OLIVIAS CT                                                               TUSCOLA           TX      79562
JIMENEZ DE MENA, GABRIELA                   300 East John Carpenter Freeway      Suite 800                                                                    Irving            TX      75062
JIMENEZ, ADAL                               Address on File
Jimenez, Alejandro                          Address on File
Jimenez, Anai                               Address on File
Jimenez, Anna                               Address on File
Jimenez, Aracely                            Address on File
Jimenez, Arturo                             Address on File
Jimenez, Brajan                             Address on File
JIMENEZ, CARLOS                             Address on File
Jimenez, Casey                              Address on File
Jimenez, Cecilia                            Address on File
JIMENEZ, DELMY                              Address on File
JIMENEZ, ELIZABETH                          Address on File
Jimenez, Gabriel                            Address on File
JIMENEZ, HALEIGH                            Address on File
JIMENEZ, JACQUELINE                         Address on File
Jimenez, Jermaine                           Address on File
JIMENEZ, JOANNA                             Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                          Name                                     Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
JIMENEZ, JOSEPHINE                             Address on File
Jimenez, Juan                                  Address on File
JIMENEZ, LIZETTE                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
JIMENEZ, MARIA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
JIMENEZ, MARIA                                 Address on File
Jimenez, Miguel                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
JIMENEZ, ROCIO                                 Address on File
Jimenez, Roxanne                               Address on File
Jimenez, Salma                                 300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Jimenez, Stephen                               Address on File
JIMERSON, DAVONDRIA                            Address on File
JIMNED CISD                                    LORRAINE BLYTHE                      201 EAST ST #1                                              BUFFALO GAP       TX      79508
JMS SERVICES                                   931 VALLEY CREEK RD.                                                                             MESQUITE          TX      75181
JOBE, AUSTIN                                   Address on File
Joele Frank                                    622 Third Avenue                                                                                 New York          NY      10017
JOHANNESEN, PATRICK                            Address on File
Johansen, Brenten                              Address on File
JOHN B HOOD BAND                               7625 HUME                                                                                        DALLAS            TX      75227
JOHN J NARKE GENERAL CONTRACTING LLC           NARKE ROOFING & SHEET METAL          2201 RAPER BLVD STE D                                       PANTEGO           TX      76013
John Soules                                    Lynn Morris                          National Accounts
John, Joshua                                   Address on File
JOHN, OSARUMWENSE                              Address on File
JOHNNY, ANGELA                                 Address on File
JOHNS, ESTRELLA                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Johns, Kylemary                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
JOHNS, MARK                                    Address on File
JOHNS, NIKKI                                   Address on File
Johns, Raquel                                  Address on File
JOHNSON COPO BOX 75                            PO BOX 75                                                                                        CLEBNURNE         TX      76033‐0075
Johnson County Environmental Department        11811 S. Sunset Dr.                  Ste. 2700                                                   Olathe            KS      66061
Johnson County Tax Assessor                    PO Box 75                                                                                        Cleburne          TX      76033‐0075
Johnson County Treasurer                       111 S Cherry St                                                                                  Olathe            KS      66061
Johnson County Treasurer                       PO Box 2902                                                                                      Shawnee Mission   KS      66201‐1302
JOHNSON COUNTY WASTEWATER 11811                P. O. BOX 219948                                                                                 KANSAS CITY       MO      64121‐9948
Johnson Jr., Windell                           Address on File
JOHNSON PRINTING SERVICE                       14030 WELCH RD.                                                                                  DALLAS            TX      75244
JOHNSON RYAN, TANYA                            Address on File
Johnson, Aaliyah                               Address on File
JOHNSON, ALASHA                                Address on File
Johnson, Alex                                  Address on File
JOHNSON, ALEXANDER                             Address on File
Johnson, Aleyah                                Address on File
JOHNSON, ALICIA                                Address on File
JOHNSON, ALTON                                 Address on File
Johnson, Anthony                               Address on File
Johnson, Anthony                               Address on File
JOHNSON, ANTONIO                               Address on File
JOHNSON, ARETHEA                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Johnson, Arianna                               Address on File
Johnson, Arius                                 Address on File
Johnson, Asher                                 Address on File
Johnson, Aurion                                Address on File
JOHNSON, BRANDIE                               Address on File
JOHNSON, BRIA                                  Address on File
Johnson, Brittney                              Address on File
Johnson, Bryson                                Address on File
JOHNSON, CAMERON                               Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
JOHNSON, CHARLES                        Address on File
Johnson, Chastin                        Address on File
JOHNSON, CHASTON                        Address on File
JOHNSON, CHAUNCEY                       Address on File
Johnson, Christian                      Address on File
JOHNSON, CHRISTOPHER                    Address on File
JOHNSON, CHRISTOPHER                    Address on File
JOHNSON, CHRISTOPHER                    Address on File
JOHNSON, CHRISTOPHER                    Address on File
Johnson, Cierra                         Address on File
JOHNSON, CORIE                          Address on File
JOHNSON, CORTREAL                       Address on File
JOHNSON, DAISHA                         Address on File
JOHNSON, DAKOTA                         Address on File
JOHNSON, DAMARRCO                       Address on File
JOHNSON, DANA                           Address on File
Johnson, Dannielle                      Address on File
Johnson, Darice                         Address on File
Johnson, Daron                          Address on File
Johnson, Darran                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JOHNSON, DASHAUN                        Address on File
Johnson, Delondria                      Address on File
JOHNSON, DEMARCUS                       Address on File
Johnson, Demarea                        Address on File
JOHNSON, DESTINEY                       Address on File
JOHNSON, DESTINY                        Address on File
JOHNSON, DILLON                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JOHNSON, DONALD                         Address on File
JOHNSON, DREMEONIA                      Address on File
Johnson, Dynasti                        Address on File
Johnson, Egypt                          Address on File
JOHNSON, ELIJAH                         Address on File
JOHNSON, ELIJAH                         Address on File
Johnson, Erica                          Address on File
Johnson, Erwin                          Address on File
JOHNSON, ESSENCE                        Address on File
JOHNSON, HOLLY                          Address on File
JOHNSON, JACOB                          Address on File
Johnson, Jacquelyn                      Address on File
Johnson, Jahsiah                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Johnson, Jalishia                       Address on File
Johnson, James                          Address on File
johnson, james                          Address on File
JOHNSON, JANIECIA                       Address on File
JOHNSON, JARED                          Address on File
Johnson, Jasmine                        Address on File
Johnson, Jason                          Address on File
JOHNSON, JAVIEL                         Address on File
Johnson, Jayquan                        Address on File
JOHNSON, JAZZMINE                       Address on File
Johnson, Jeffrey                        Address on File
JOHNSON, JENNIFER                       Address on File
Johnson, Jennifer                       Address on File
JOHNSON, JERALD                         Address on File
Johnson, Jeremiah                       Address on File
JOHNSON, JEREMY                         Address on File
Johnson, Jesse                          Address on File

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                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                               Consolidated Creditor Matrix

                      Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
JOHNSON, JESSICA                      Address on File
Johnson, Jessica                      Address on File
JOHNSON, JIMMY                        Address on File
JOHNSON, JOHN                         Address on File
Johnson, Jonathan                     Address on File
Johnson, Jonathan                     Address on File
Johnson, Jonathan                     Address on File
Johnson, Jonathon                     Address on File
Johnson, Jordan                       Address on File
Johnson, Joshua                       Address on File
Johnson, Joshua                       Address on File
Johnson, Juanita                      Address on File
JOHNSON, JULIE                        Address on File
Johnson, Julie                        Address on File
Johnson, Justin                       Address on File
JOHNSON, KAITLIN                      Address on File
JOHNSON, KASSIDY                      Address on File
JOHNSON, KATELYNN                     Address on File
Johnson, Kayla                        Address on File
JOHNSON, KAYSA                        Address on File
Johnson, Kenyata                      Address on File
JOHNSON, KEYSHAWN                     Address on File
JOHNSON, KIARA                        Address on File
JOHNSON, KIMBERLY                     Address on File
Johnson, Kivas                        Address on File
Johnson, Kivas                        Address on File
JOHNSON, KRISTEN                      Address on File
Johnson, Kyle                         Address on File
JOHNSON, LAMUEL                       Address on File
Johnson, Latish                       Address on File
JOHNSON, LATOSHA                      Address on File
JOHNSON, LINDA                        Address on File
JOHNSON, LOGAN                        Address on File
Johnson, Maia                         Address on File
Johnson, Makaela                      Address on File
JOHNSON, MAKAYLA                      Address on File
Johnson, Marissa                      Address on File
JOHNSON, MATTHEW                      Address on File
Johnson, Mia                          Address on File
JOHNSON, MICHAEL                      Address on File
JOHNSON, MICHAEL                      Address on File
Johnson, Michael                      Address on File
JOHNSON, MICHELE                      Address on File
Johnson, Michelle                     Address on File
Johnson, Mishayla                     Address on File
Johnson, Monica                       Address on File
Johnson, Morgan                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Johnson, Myaleka                      Address on File
JOHNSON, NAKEISHA                     Address on File
Johnson, Nancy                        Address on File
Johnson, Nate                         Address on File
JOHNSON, NATE                         Address on File
JOHNSON, ORASSA                       Address on File
Johnson, Phaedra                      Address on File
JOHNSON, QUINNESHA                    Address on File
JOHNSON, QUINTON                      Address on File
JOHNSON, RANYTTA                      Address on File

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                        Name                                     Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
JOHNSON, RAVEN                               Address on File
JOHNSON, RICO                                Address on File
Johnson, Robert                              Address on File
JOHNSON, ROGER                               Address on File
JOHNSON, SABRA                               Address on File
JOHNSON, SEAN                                Address on File
JOHNSON, SEMAJ                               Address on File
JOHNSON, SHANIQUE                            Address on File
JOHNSON, SHARONDA                            Address on File
Johnson, Shawn                               Address on File
Johnson, Stacey                              Address on File
Johnson, Stanley                             Address on File
JOHNSON, STEVEN                              Address on File
Johnson, Steven                              Address on File
Johnson, Taryn                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
JOHNSON, TASHALL                             Address on File
JOHNSON, TAYLA                               Address on File
Johnson, Thelma                              Address on File
JOHNSON, THOMAS                              Address on File
JOHNSON, THOMAS                              Address on File
Johnson, Timeashia                           Address on File
Johnson, Tuleah                              Address on File
Johnson, Tyler                               Address on File
JOHNSON, TYLER                               Address on File
JOHNSON, TYREE                               Address on File
JOHNSON, TY'REESE                            Address on File
JOHNSON, TYRONE                              Address on File
JOHNSON, TYSEAN                              Address on File
Johnson, Wayne                               Address on File
Johnson, Xavier                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
JOHNSON, ZA'KYIA                             Address on File
JOHNSON, Z'MARQUEIZ                          Address on File
Johnston, Bryanne                            Address on File
JOHNSTON, CAMERON                            Address on File
JOHNSTON, DEVON                              Address on File
Johnston, Dustin                             Address on File
Johnston, Journey                            Address on File
JOHNSTON, TOBY                               Address on File
JOHNSTON, ZACHARY                            Address on File
JOHNSTONE SUPPLY                             PO BOX 470463                                                                                    TULSA            OK      74147
JOICE, SABRINA                               Address on File
JOLLEY, GABRIEL                              Address on File
JOLLEY, MAXIMUS                              Address on File
Jones Jr, Henry                              Address on File
JONES JR, KENNETH                            Address on File
JONES JR, KEVIN                              Address on File
JONES LANG LASALLE AMERICAS, INC.            95661 TREASURY CENTER                                                                            CHICAGO          IL      60694‐1700
JONES LANG LASALLE ESCROW AGENT              LOCKBOX 233414                       3414 MOMENTUM PLACE                                         CHICAGO          IL      60689
Jones Monroe, Danielle                       Address on File
Jones, Aaliyah                               Address on File
JONES, AARON                                 Address on File
JONES, ADRIANA                               Address on File
Jones, Ahmad                                 Address on File
JONES, ALEXIS                                Address on File
JONES, ALKAEL                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Jones, Alysha                                Address on File
Jones, Armani                                Address on File

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                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                               Consolidated Creditor Matrix

                      Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
JONES, AUSTIN                         Address on File
JONES, BEVERLY                        Address on File
JONES, BIANCA                         Address on File
JONES, BRADLEY                        Address on File
JONES, BRANDON                        Address on File
Jones, Braydee                        Address on File
JONES, BRITTNEY                       Address on File
JONES, BROOKE                         Address on File
Jones, Candice                        Address on File
Jones, Casey                          Address on File
Jones, Chancey                        Address on File
JONES, CHELCIE                        Address on File
JONES, CHEYENNE                       Address on File
JONES, CHEZAREA                       Address on File
JONES, CHRIS                          Address on File
JONES, CHRISTIAN                      Address on File
JONES, CHRISTOPHER                    Address on File
Jones, Cody                           Address on File
JONES, COREY                          Address on File
JONES, CORY                           Address on File
JONES, CRAIG                          Address on File
JONES, DAEBREON                       Address on File
JONES, DALLAS                         Address on File
Jones, Dalton                         Address on File
JONES, DAMION                         Address on File
Jones, Daniel                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JONES, DARRELL                        Address on File
Jones, Daylain                        Address on File
JONES, DEANNA                         Address on File
JONES, DECORIAN                       Address on File
JONES, DEJUAN                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JONES, DEMETRIS                       Address on File
Jones, Denise                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Jones, Destry                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JONES, DOMINIQUE                      Address on File
Jones, EdQuina                        Address on File
JONES, ESTHER                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JONES, ETHAN                          Address on File
Jones, Fitzpatrick                    Address on File
JONES, GARY                           Address on File
Jones, Gaven                          Address on File
JONES, ISAAC                          Address on File
JONES, ISAIAH                         Address on File
Jones, Jacob                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JONES, JAMES                          Address on File
JONES, JAMES                          Address on File
Jones, James                          Address on File
Jones, Jamoni                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Jones, Jared                          Address on File
Jones, Jasmine                        Address on File
Jones, Jaylin                         Address on File
JONES, JEANETTE                       Address on File
Jones, Jennifer                       Address on File
Jones, Jerome                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JONES, JESSICA                        Address on File
Jones, Jodi                           Address on File
Jones, John                           Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                          Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Jones, Kacie                              Address on File
JONES, KAITLIN                            Address on File
JONES, KALEAN                             Address on File
Jones, Kanane                             Address on File
JONES, KARA                               Address on File
JONES, KAYCE                              Address on File
JONES, KEDRICK                            Address on File
JONES, KEYERA                             Address on File
JONES, KIMBERLY                           Address on File
JONES, LACHELLE                           Address on File
Jones, LaShawn                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JONES, LATASHA                            Address on File
JONES, LATIAH                             Address on File
Jones, Lauren                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Jones, Leila                              Address on File
Jones, LeVar                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JONES, LEVITTA                            Address on File
JONES, MAHOGANY                           Address on File
JONES, MALCOLM                            Address on File
JONES, MARIA                              Address on File
JONES, MASON                              Address on File
Jones, Mason                              Address on File
JONES, MAUREEN                            Address on File
Jones, Melodie                            Address on File
Jones, Mercade                            Address on File
Jones, Mica                               Address on File
Jones, Michael                            Address on File
Jones, Micheal‐Stephen                    Address on File
JONES, MIKEY                              Address on File
JONES, NATALIE                            Address on File
JONES, NATASHA                            Address on File
JONES, NICOLE                             Address on File
Jones, Nolan                              Address on File
Jones, Ontiel                             Address on File
Jones, Porsche                            Address on File
Jones, Portia                             Address on File
Jones, Rachael                            Address on File
Jones, Racheal                            Address on File
Jones, Raegan                             Address on File
Jones, Rakyra                             Address on File
JONES, RASHIONIA                          Address on File
Jones, Rayshanett                         Address on File
Jones, Rhonda                             Address on File
Jones, Robert                             Address on File
JONES, ROBERT                             Address on File
Jones, Rodon                              Address on File
Jones, Roy                                Address on File
JONES, SAINT                              Address on File
JONES, SAMUEL                             Address on File
JONES, SARAH                              Address on File
JONES, SARAH                              Address on File
Jones, Shaneric                           Address on File
Jones, Sharon                             Address on File
JONES, SHASMINE                           Address on File
Jones, Shayla                             Address on File
JONES, SHEILA                             Address on File
JONES, SHELBY                             Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
Jones, Sheneequa                       Address on File
JONES, SHERI                           Address on File
Jones, Sherline                        Address on File
JONES, STEVEN                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
JONES, SUDONNA                         Address on File
JONES, TAVHARI                         Address on File
JONES, TAYLER                          Address on File
JONES, TAYLOR                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Jones, Taylor                          Address on File
JONES, THOMAS                          Address on File
JONES, TOBY                            Address on File
JONES, TONYA                           Address on File
JONES, TRACY                           Address on File
JONES, TRISHA                          Address on File
Jones, Tylor                           Address on File
JONES, TYRELLE                         Address on File
JONES, TYRESE                          Address on File
Jones, Tyson                           Address on File
JONES, WILLIAM                         Address on File
Jones, Yakeyah                         Address on File
JONES, ZACHARY                         Address on File
JONES, ZACHERY                         Address on File
JONHSON, IAN                           Address on File
JORDAN III, NOAH                       Address on File
JORDAN JR., QUENTIN                    Address on File
JORDAN, ADAM                           Address on File
JORDAN, ALYSSA                         Address on File
JORDAN, AMANDA                         Address on File
Jordan, Chante                         Address on File
JORDAN, ELIZABETH                      Address on File
Jordan, Emmanuel                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
JORDAN, HEATHER                        Address on File
JORDAN, JANIS                          Address on File
JORDAN, MICHIAL                        Address on File
Jordan, Shauna                         Address on File
JORDAN, SHELBY                         Address on File
Jordan, Victoria                       Address on File
Jorgensen, Julia                       Address on File
JORGENSEN, MARIA                       Address on File
JOSE, ERNEST                           Address on File
Jose, Joshua                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Joseph, Austin                         Address on File
JOSEPH, BRUCE                          Address on File
Joseph, Jessica                        Address on File
JOSEPH, KYAESJIA                       Address on File
Joseph, Natasha                        Address on File
JOSEPH, ROMY                           Address on File
JOSEPH, SANDRA                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
JOSEPH, SIFERLY                        Address on File
Jose's Remodeling                      Address Unknown
Josh Short Plumbing                    Address Unknown
JOSLIN, SEAN                           Address on File
Jost, Colin                            Address on File
Jove, Anahi                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
JOWERS, JUSTIN                         Address on File
JOYCE, AARON                           Address on File
JP Morgan Chase                        3444 N 1st St                                                                                    ABILENE          TX      79603

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                        Name                                    Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
JP Morgan Chase                             3250 Rebecca Ln                                                                                  ABILENE         TX      79605
JP Morgan Chase, Texas                      5434 Hwy 78                                                                                      Sachse          TX      75048
JP Morgan Chase, Texas                      2901 Brown Trail                                                                                 Bedford         TX      76021
JP Morgan Chase, Texas                      1051 East Hwy 377                                                                                Granbury        TX      76048
JP Morgan Chase, Texas                      116 E. Seminary                                                                                  FORT WORTH      TX      76115
JP Morgan Chase, Texas                      1200 West University Drive                                                                       Denton          TX      76201
JPS GRAPHICS                                14030 WELCH RD                                                                                   DALLAS          TX      75244
JUAN SEGUIN HIGH SCHOOL BAND BOOSTER        BEN WHEELER                          7001 SILO RD                                                ARLINGTON       TX      76002
JUAN, FRANCISCA                             Address on File
JUANES, IDOLINA                             Address on File
JUAN'S LANDSCAPING & IRRIGATION             1715 HUFF                                                                                        WICHITA FALLS   TX      76301
JUAN‐SANTOS, DOMINGA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JUAREZ, AARON                               Address on File
JUAREZ, ABRAM                               Address on File
JUAREZ, ALEXIS                              Address on File
JUAREZ, AMELIA                              Address on File
JUAREZ, BEATRIZ                             Address on File
Juarez, Citlalli                            Address on File
JUAREZ, CRISTINA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JUAREZ, DAKOTA                              Address on File
JUAREZ, FERNANDO                            Address on File
JUAREZ, FRANCISCO                           Address on File
Juarez, Iridian                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Juarez, Jackelin                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JUAREZ, JORGE                               Address on File
Juarez, Jorge                               Address on File
JUAREZ, LIDIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
JUAREZ, LILIANA                             Address on File
JUAREZ, LORENZO                             Address on File
JUAREZ, LORENZO                             Address on File
JUAREZ, MARIA                               Address on File
JUAREZ, MARTHA                              Address on File
JUAREZ, MARTHA                              Address on File
Juarez, Miriam                              Address on File
JUAREZ, NANCY                               Address on File
JUAREZ, NATHAN                              Address on File
Juarez, Norma                               Address on File
Juarez, Zuleyma                             Address on File
Juett, David                                Address on File
Julian, Leslie                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Julien, Kathryn                             Address on File
June, Robert                                Address on File
JUNIOR HIGHSTEPPERS                         6530 S 110TH EAST AVE                                                                            TULSA           OK      74133
JUNO COMPA8702 E. 41                        8702 E. 41ST                                                                                     TULSA           OK      74145‐3310
JURADO, DESERA                              Address on File
JUST 4 FUN CORPORATION 5064 STEWART AVE     6010 EARLE BROWN DRIVE               BROOKLYN CENTER                                             MINNEAPOLIS     MN      55430
Justice, Dante                              Address on File
Justice, Santwan                            Address on File
JUSTINIANI, LOURDES                         Address on File
JUSTUS, CHANDLER                            Address on File
JUSTUS, TYLER                               Address on File
K2D, INC.                                   COLORADO PREMIUM FOODS               P O BOX 74008718                                            CHICAGO         IL      60674‐8718
Kabba, Mohamed                              Address on File
KABUANGA, NADEGE                            Address on File
KACAL‐BOYD, DAVIAN                          Address on File
Kachura, Sean                               Address on File
KADRMAS, MADISON                            Address on File

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                                                                                   In re: Taco Bueno Restaurants Inc.., et al.
                                                                                          Consolidated Creditor Matrix

                            Name                                   Address 1                            Address 2                              Address 3                      City   State    PostalCode   Country
KADY‐MURPHY, JESSICA                         Address on File
KAEGEA, AMANI                                Address on File
KAGABO, ALEXIS                               Address on File
KAHALA PROPERTIES LTD                        ATTN: FRANCES WAUGH                      1113 MURFREESBORO RD, STE 106‐346                                            FRANKLIN          TN      37064
Kahala Properties, Ltd.                      1113 Murfreesboro Road                                                                                                Franklin          TN      37064
Kaiser, Anthony                              300 East John Carpenter Freeway          Suite 800                                                                    Irving            TX      75062
KALE, TROY                                   Address on File
Kalkbrenner, Michael                         Address on File
KALMEYER, JARED                              Address on File
KALMEYER, JORDON                             Address on File
Kalua, Shauntae                              300 East John Carpenter Freeway          Suite 800                                                                    Irving            TX      75062
KALUAKINI, JACKELINE                         Address on File
KALVIN, KACHINIA                             Address on File
KAMAI, IKAIKA                                Address on File
Kamal, Kisma                                 Address on File
KAMAL, NASRIN                                Address on File
Kamier, K‐One                                Address on File
Kamler, Jamie                                Address on File
KANE RUSSELL COLEMAN & LOGAN PC              3700 THANKSGIVING TOWER                  1601 ELM STREET                                                              DALLAS            TX      75201
Kane, Sylvia                                 300 East John Carpenter Freeway          Suite 800                                                                    Irving            TX      75062
Kanmore, Josie                               Address on File
KANSAS CITY BOARD OF PUBLIC UTILITIES        P O BOX 219661                                                                                                        KANSAS CITY       MO      64121‐9661
KANSAS CITY HEALTH DEPARTMENT                ENVIRONMENTAL PUBLIC HEALTH PROGRAM      P.O. BOX 809026                            2400 TROOST AVE SUITE 3200        KANSAS CITY       MO      64180‐9026
KANSAS CITY POWER & LIGHT                    P. O. BOX 219330                                                                                                      KANSAS CITY       MO      64121‐9330
Kansas City Tourism Tax                      414 E. 12th St                           City Hall, 2nd Floor                                                         Kansas City       MO      64106
Kansas Department of Revenue                 Scott State Office Bldg.                 120 SE 10th Street                                                           Topeka            KS      66612
Kansas Department of Revenue                 120 SE 10th Street                                                                                                    Topeka            KS      66612
KANSAS DEPARTMENT OF REVENUE                 915 SW HARRISON ST.                                                                                                   TOPEKA            KS      66612‐1588
Kansas Dept. Of Agriculture                  1320 Research Park Drive                                                                                              Manhattan         KS      66502
Kansas Dept. Of Agriculture                  Records Center‐Food Safety               109 Sw 9th St.                                                               Topeka            KS      66612
KANSAS DEPT. OF AGRICULTURE 109 SW 9TH ST.   RECORDS CENTER‐FOOD SAFETY               1320 RESEARCH PARK DRIVE                                                     MANHATTAN         KS      66502
KANSAS GAS SERVICE P.O. BOX 219046           P.O. BOX 219046                                                                                                       KANSAS CITY       MO      64121‐9046
KANSAS LOGOS INC. 2231 SW WANAMAKER RD.      2231 SW WANAMAKER RD. STE. 20                                                                                         TOPEKA            KS      66614
KANSAS SCHOOL FOR THE DEAF ENDOWMENT ASSOC   ENDOWMENT ASSOC                          405 E PARK                                                                   OLATHE            KS      66061
Kantito, Jarity                              Address on File
KANUHA, DEJA                                 Address on File
Kapchinsky, Kylie                            Address on File
Kareem, Lythrice                             Address on File
KARIM, SHAREEF                               Address on File
KARNS, PAUL                                  Address on File
Kassam, Shaun                                Address on File
KAUFFMAN, ANNA                               Address on File
KAUFMAN COUNTY TAX ASSESSOR‐COLLECTOR        ATTN: COUNTY TAX COLLECTOR               PO BOX 339                                                                   KAUFMAN           TX      75142
KAUFMAN, DAVID                               Address on File
KAUR, RAVINDER                               Address on File
KAVANAUGH, TRISTAN                           Address on File
KAY COUNTY TREASURER                         201 S. MAIN ‐ COURTHOUSE                                                                                              NEWKIRK           OK      74647
Kay‐Coffey, Velvet                           Address on File
Kays, Thomas                                 Address on File
KAZ SURVEYING INC.                           1720 WESTMINSTER ST                                                                                                   DENTON            TX      76205
KC ELECTRIC CO                               4300 S VAN BUREN                                                                                                      ENID              OK      73703
KCMO City Treasurer                          Food Protection Program                  2400 Troost Ave                            #3000                             Kansas City       MO      64108
KCMO City Treasurer                          Food Protection Program                  414 E. 12th St.                                                              Kansas City       MO      64106
KCMO City Treasurer                          Environmental Public Health Program      2400 Troost Ave                            Suite 3200                        Kansas City       MO      64180‐9026
KCMO City Treasurer                          Food Protection Program                  PO Box 809026                                                                Kansas City       MO      64180‐9026
KCMO CITY TREASURER                          P O BOX 801751                                                                                                        KANSAS CITY       MO      64180‐1751
KCMO WATER SERVICES DEPT                     P O BOX 807045                                                                                                        KANSAS CITY       MO      64180‐7045

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                                                                                          Consolidated Creditor Matrix

                         Name                                        Address 1                          Address 2                               Address 3                  City   State PostalCode   Country
KCMO WATER SERVICES DEPT‐ FIRE                   P.O. BOX 807045                                                                                                 KANSAS CITY      MO 64180‐7045
KCP&L                                            GREATER MISSOURI OPERATIONS          P. O. BOX 219703                                                           KANSAS CITY      MO 64121‐9703
KD SERVICE GROUP                                 18150 E 32ND PLACE STE E                                                                                        AURORA           CO   80011
Kearney, Cy                                      Address on File
KEARNEY, NYCHELLE                                Address on File
Keathley, Jonathan                               300 East John Carpenter Freeway      Suite 800                                                                  Irving           TX   75062
KEATON, TIMEKIA                                  Address on File
Keck, Alison                                     Address on File
KECK, MEAGHAN                                    Address on File
Keeble, Shane                                    Address on File
Keefover, James                                  Address on File
KEELING, KIMBERLY                                Address on File
KEELING, NIKITA                                  Address on File
KEELY LLC                                        KEELY LOCK AND KEY                   116 W WO;; RPGERS BLVD                                                     CLAREMORE        OK   74017
Keen, Courtney                                   Address on File
KEESEE, TIFFANY                                  Address on File
KEETON PLU 2428 AUTUMN RD.                       704 AKRON                                                                                                       ARDMORE          OK   73401
KEETON, SEAH                                     Address on File
KEETS, KAMEO                                     Address on File
Keiter, Tenna                                    Address on File
KEITH, PHOEBE                                    Address on File
Kelechi‐Opara, Uzoamaka                          Address on File
KELLER BAND BOOSTER                              CYRENA SARDELLA                      PO BOX 1573                                                                KELLER           TX   76244
KELLER FIRE & SAFETY 1138 KANSAS AVE.            1138 KANSAS AVE.                                                                                                KANSAS CITY      KS   66105
Kelley Bean Co.                                  P.O. Box 2488                        Grant Hinze                                General Manager of Sales        Scottsbluff      NE   69363
KELLEY, ADAM                                     Address on File
KELLEY, ALICIA                                   Address on File
Kelley, Ashli                                    Address on File
KELLEY, BLAKE                                    Address on File
Kelley, Britney                                  Address on File
KELLEY, GINA                                     Address on File
KELLEY, JOE                                      Address on File
KELLEY, LEVI                                     Address on File
Kelley, Melissa                                  Address on File
KELLEY, STEPHEN                                  Address on File
KELLEY, WESLEY                                   Address on File
KELLNER, NINA                                    Address on File
Kellogg, Charles                                 Address on File
KELLOUGH, DECORIAN                               Address on File
KELLY DURNIN PALISIS DBA BRAND STRONG CREATIVE   2706 NAVARRO TRAIL                                                                                              EULESS           TX   76039
KELLY SERVICES, INC.                             P O BOX 530437                                                                                                  ATLANTA          GA   30353‐0437
Kelly, Alexander                                 Address on File
Kelly, Aubrianna                                 Address on File
Kelly, Brandon                                   Address on File
Kelly, Chris                                     300 East John Carpenter Freeway      Suite 800                                                                  Irving           TX   75062
Kelly, Jaquez                                    300 East John Carpenter Freeway      Suite 800                                                                  Irving           TX   75062
Kelly, Jayla                                     Address on File
Kelly, Jimmy                                     Address on File
KELLY, LINDSEY                                   Address on File
KELLY, MATTHEW                                   Address on File
KELLY, PATRICIA                                  Address on File
KELLY, SCOTT & MADISON, INC. 23983 NETWORK PL.   23983 NETWORK PLACE                                                                                             CHICAGO          IL   60673‐1239
Kelly, Trayvon                                   Address on File
KELLY, TREY                                      Address on File
KELSO, JUSTIN                                    Address on File
Kelso, Kortney                                   Address on File
KEMERLING, JAY                                   Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode    Country
KEMP, ALEC                                 Address on File
KEMP, WILLIAM                              Address on File
KEMPER, DONNA                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
KENDALL, MICHELLE                          Address on File
Kendrick, Brikale                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
KENDRICK, JENNA                            Address on File
Kendrick, Jennifer                         Address on File
KENDRICK, KRYSTYNA                         Address on File
KENDRICKS, KATRINA                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Kendricks, Kiausha                         Address on File
Kendricks, Mckinnah                        Address on File
KENEALY, MONICA                            Address on File
KENNEBREW, HERBERT                         Address on File
Kennedy Harris, Shavoryea                  Address on File
KENNEDY II, ROBERT                         Address on File
Kennedy, Aaron                             Address on File
Kennedy, Casey                             Address on File
KENNEDY, CORI                              Address on File
Kennedy, Dakeylon                          Address on File
Kennedy, Diedra                            Address on File
Kennedy, Griffin                           Address on File
KENNEDY, HUNTER                            Address on File
KENNEDY, JOSHUA                            Address on File
KENNEDY, JUDY                              Address on File
KENNEDY, LORNA                             Address on File
KENNEDY, PHILIP                            Address on File
Kent, Ayanna                               Address on File
KENT, CHRISTINE                            Address on File
KENT‐GRAHAM, RASHAD                        Address on File
KEPLEY, JESSE                              Address on File
Kerbo, Marvin                              Address on File
Kerby, Kristen                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
KEREKES BRANNON, BRITTNEY                  Address on File
Kerley, Dalton                             Address on File
KERLEY, SOPHIA                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Kerntke, Christopher                       Address on File
Kerr, Brandon                              Address on File
Kerr, Cassandra                            Address on File
Kerr, Michael                              Address on File
KERST, BRANDON                             Address on File
KESLAR REALTY ADVISORS INC                 DBA BUILDING SOLUTIONS               9401 LBJ FRWY, STE 410                                      DALLAS           TX      75243
KESLER, DAWN                               Address on File
KESSELL, ZACHARY                           Address on File
KESSON GROUP                               147 LIBERTY ST                                                                                   TORONTO          ON      M6K 3G3       CANADA
KESTER, GABRIEL                            Address on File
KESTER, JEREMY                             Address on File
KETCHUM, AMANDA                            Address on File
KETCHUM, ERIC                              Address on File
KEY CITY EP.O. BOX 6451                    P.O. BOX 6451                                                                                    ABILENE          TX      79608
Key, Wilton                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
KEYLADA, TIMOTHY                           Address on File
KEYS, CORA                                 Address on File
KEYS, DYWANE                               Address on File
KEYS, MIKEL                                Address on File
Keys, Tamia                                Address on File
KEYS, TAMMY                                Address on File
KEYWORTH, HUNTER                           Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                        Name                                    Address 1                          Address 2                Address 3                  City   State PostalCode   Country
Khadka, Gyanendra                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
KHADKA, GYANENDRA K                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
KHALID, SARWAR                              Address on File
Khanam, Mosammat                            Address on File
Khaskyeh, Mazen                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
KHATRI CHHETRI, SURESH                      Address on File
KHAWAR, NAZIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
KIANIZADEH, MOHAMMAD                        Address on File
KIDD, BAILEY                                Address on File
KIDD, MOLLY                                 Address on File
KIDWELL, JOHNATHAN                          Address on File
KIER, JOSEPH                                Address on File
Kifer, Kaylee                               Address on File
KIGER, WENDY                                Address on File
KILBANE, JOSIAH                             Address on File
Kilgore, Sakethia                           Address on File
KILLINGSWORTH, TONY                         Address on File
KILLOUGH, KELSEY                            Address on File
KILPATRICK, IAN                             Address on File
Kimball, Rhonda                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
KIMBALL, TRUMAN                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
KIMBERLIN ACADEMY                           JEMA COOK                            1520 CUMBERLAND DR                                          GARLAND          TX   75040
KIMBLE, COLBY                               Address on File
KIMBLE, HANNAH                              Address on File
KIMBLE, TIERRA                              Address on File
KIMBRELL, TISHA                             Address on File
KIMBROUGH FIRE EXTINGUISHER INC             P O BOX 13296                                                                                    ARLINGTON        TX   76094‐0296
KIMBROUGH, KENAN                            Address on File
KINCADE, JAMELL                             Address on File
Kincaid, Justin                             Address on File
Kinchen, Breanna                            Address on File
KINDER KOTTAGE CHRISTINA ACADEMY LLC        1340 N EASTERN AVE                                                                               MOORE            OK   73160
Kindley, Wyatt                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
KINDRED, KAYLA                              Address on File
KINDRED, SIERRA                             Address on File
KINETOPOD PRODUCTIONS                       3701 GRAPEVINE MILLS PKWY #733                                                                   GRAPEVINE        TX   76051
KING SR, PATRICK                            Address on File
KING, ANTHONY                               Address on File
KING, BENTON                                Address on File
King, Bianca                                Address on File
KING, BRANDON                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
KING, BRAXTON                               Address on File
King, Brittany                              Address on File
King, Broderick                             Address on File
KING, CASEY                                 Address on File
KING, CHANDLER                              Address on File
KING, CHERRIE                               Address on File
KING, CHRISTOPHER                           Address on File
KING, CHRISTOPHER                           Address on File
KING, ELIZABETH                             Address on File
KING, EMMIE                                 Address on File
KING, GAGE                                  Address on File
KING, JESSICA                               Address on File
King, Joni                                  Address on File
King, Joshua                                Address on File
KING, JOSHUA                                Address on File
KING, KENDRICK                              Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                       Name                                  Address 1                         Address 2                              Address 3                         City   State    PostalCode   Country
KING, LILY                              Address on File
KING, MEGAN                             300 East John Carpenter Freeway      Suite 800                                                                       Irving            TX      75062
King, Nathan                            Address on File
KING, PATRICIA                          Address on File
King, Paul                              Address on File
KING, QUINCY                            Address on File
King, Rickel                            300 East John Carpenter Freeway      Suite 800                                                                       Irving            TX      75062
King, Tabetha                           Address on File
King, Temeca                            Address on File
King, Toccara                           Address on File
KINISON, TRISTION                       Address on File
KINKADE CONSTRUCTION LLC                P O BOX 3445                                                                                                         SHERMAN           TX      75091
Kinnaird, Brianna                       Address on File
KINNARD, NIESHA                         Address on File
KINNEY, ANDREW                          Address on File
KINNEY, BETH                            Address on File
KINYON, LYDIA                           Address on File
Kinyon, Sadie                           Address on File
KINZER, JEFFREY                         Address on File
KIPP, SUMMER                            Address on File
KIRALY, ALLISON                         Address on File
KIRBY REST809 SOUTH                     809 SOUTH EASTMAN ROAD                                                                                               LONGVIEW          TX      75602
Kirby, Ashley                           Address on File
KIRBY, CASSIDY                          Address on File
KIRBY, KARA                             Address on File
Kirk, Dcarla                            Address on File
Kirk, Jacqueline                        300 East John Carpenter Freeway      Suite 800                                                                       Irving            TX      75062
Kirk, Paul                              Address on File
KIRK, RYAN                              Address on File
KIRKENDOLL, JORDAN                      Address on File
Kirkendoll, Malcolm                     Address on File
Kirkham, Shawna                         Address on File
KIRKHUFF, DANIEL                        Address on File
KIRKLAND & ELLIS LLP                    300 N. LASALLE ST., STE. 1018                                                                                        CHICAGO           IL      60654‐3413
Kirkland, Alicia                        Address on File
KIRKLAND, DESERAE                       Address on File
KIRKLAND, JESSE                         Address on File
KIRKLAND, RACHEL                        Address on File
Kirkland, Willie                        Address on File
KIRKPATRICK, ROBERT                     Address on File
KIRKPATRICK, TYLER                      Address on File
KIRKWOOD, DOMINIQUE                     Address on File
Kirkwood, Jzaquelle                     Address on File
KIRKWOOD, ZANE                          Address on File
KIRTLEY, SANDRA                         Address on File
KISER, JOANN                            Address on File
Kitchel, Keely                          Address on File
Kitchel, Lane                           Address on File
Kitchell, Bruce                         Address on File
KITCHENS, JOSEPH                        Address on File
KITCHENS, TONY                          Address on File
KIWANIS CLUB OF ROBSON RANCH            DAVID EVERLY                         8800 MARYLAND CT                                                                DENTON            TX      76207
Kizer, Emily                            Address on File
KIZZIAR, DAWSON                         Address on File
KKR LEGENDS LLC                         C/O LEGACY ASSET MGMT, LLC           JESSICA STARK                              1843 VILLAGE WEST PKWY, SUITE C127   KANSAS CITY       MO      66111
Kleckner, Justin                        Address on File
KLEGIN, STEPHANIE                       Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
KLEIN, ADAM                              Address on File
KLEIN, CHRIS                             Address on File
KLEINECKE, JAMES                         Address on File
Kline Signs                              Address Unknown
KLINE, BRYCE                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
KLING, AMY                               Address on File
KLYCE, COLTON                            Address on File
Knack, Jerrold                           Address on File
KNAPE, JESSICA                           Address on File
KNAPP, ANDREA                            Address on File
KNAPP, HANNAH                            Address on File
Knight, Bailey                           Address on File
Knight, Christyal                        Address on File
KNIGHT, CLAY                             Address on File
KNIGHT, OZIE                             Address on File
KNIGHT, TARA                             Address on File
Knighten II, Isiah                       Address on File
Knighten, Coriel                         Address on File
KNIGHTER, SARAH                          Address on File
Knighton, Terrell                        Address on File
KNOBEL, KATRINA                          Address on File
Knoblock, Jacob                          Address on File
KNOCK OUT SPECIALITIES                   1896 K AVE SUITE 100                                                                             PLANO           TX      75074
KNOCKOUTS YOUTH SOFTBALL TEAM            AUDRY AGUIRRE                        2109 S ROBINSON                                             MOORE           OK      73170
KNOWLES, TYREACE                         Address on File
KNOX, CHELSEA                            Address on File
KNOX, CHERYL                             Address on File
Knox, Christopher                        Address on File
Knox, Cincere                            Address on File
KNOX, CLYDE                              Address on File
KNOX, DEON                               Address on File
KNOX, DEONICA                            Address on File
Knox, Rayquon                            Address on File
KNOX, WILLIAM                            Address on File
Knudson, Christina                       Address on File
Ko, Ro                                   Address on File
Koball‐Smith, Autumn                     Address on File
Koerber, Nathaniel                       Address on File
KOFA, CEPHAS                             Address on File
Kohli, Brandon                           Address on File
KOIRALA, DIWASH                          Address on File
KOLBECK, JANA                            Address on File
KOLLMAR, HILARY                          Address on File
KONEH, KALILU                            Address on File
KONG, KYLE                               Address on File
KONG, ZACHARY                            Address on File
Konneh, Amara                            Address on File
Konneh, Mamadou                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
KOONS, JAY                               Address on File
KORNER, ROBERT                           Address on File
Kosanovich, Kyle                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Kosechata, Bralyn                        Address on File
KOSHIWAY, AUNDREA                        Address on File
KOSIER, LIBBIE                           Address on File
KOSKINA, ISABELLA                        Address on File
Koss, Garett                             Address on File
Kosterlistzky, Annariah                  Address on File

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                        Name                                     Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
KRAFFT, TRISTEN                              Address on File
Kraft Heinz                                  Monica Keith                         National Accounts Manager
KRAKOSKY, MICHAEL                            Address on File
KRALL, HANNAH                                Address on File
Kramer, Marina                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
KRANING, TANDY                               Address on File
KRANTZ, PAULA                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Krantz, Savannah                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
KRASOVIC, MATTHEW                            Address on File
KREASHKO, JOSHUA                             Address on File
Kress, Alyssa                                Address on File
Kretzer, Quentin                             Address on File
KREYMBORG, JUSTIN                            Address on File
KRIESMAN, DUSTIN                             Address on File
KRIG‐FM                                      P. O. BOX 1100                                                                                   BARTLESVILLE    OK      74005
KRISTOPH, TELCYNA                            Address on File
KROMYK, ANYA                                 Address on File
KRONSBEIN, JACOB                             Address on File
Kroon, Joel                                  Address on File
KRUEGER, MITCHELL                            Address on File
Krug, Travis                                 Address on File
KRUM ISD                                     1200 BOBCAT BLVD                                                                                 KRUM            TX      76249
Krupp, Victoria                              Address on File
KRUSE, QUENTON                               Address on File
KTBS LLC                                     P O BOX 44227                                                                                    SHREVEPORT      LA      71134‐4227
KUALOA PARTNERS II, LLC                      PO Box 650                                                                                       Kaaawa          HI      96744
KUALOA PARTNERS II, LLC                      P. O. BOX 650                                                                                    KAAAWA          HI      96730
Kub, Gemettra                                Address on File
Kubesh, Destiny                              Address on File
KUBIAK, STEPHANIE                            Address on File
KUBICEK, LACIE                               Address on File
KUEHN, JELAINA                               Address on File
Kuhn Mechanical                              Address Unknown
KUHNS, TRISTIN                               Address on File
Kuketz, Garrett                              Address on File
KULBISKI, AARON                              Address on File
KULIBERT, VANESSA                            Address on File
Kunnanz, Cole                                Address on File
Kunselman, Ashlee                            Address on File
Kuntz‐Hinsley, Jason                         Address on File
Kuriger, Robbie                              Address on File
Kursh, Jedidah                               Address on File
Kursh, Marcel                                Address on File
KURTZ, HEIDI                                 Address on File
Kurzer, Tamara                               Address on File
Kusba, Katie                                 Address on File
KUSHMAUL, EMILY                              Address on File
Kusin, Gary                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
KUTAK ROCK LLP                               P O BOX 30057                                                                                    OMAHA           NE      68103‐1157
KUYKENDALL, JUSTIN                           Address on File
KYLE, CHRISTOPHER                            Address on File
L&W SUPPLY                                   PO BOX 202753                                                                                    DALLAS          TX      75320
LA BELLE, MICHELLE                           Address on File
La Rosa, Augustine                           Address on File
LABOR READY CENTRAL INC A TRUE BLUE CO       PO BOX 676412                                                                                    DALLAS          TX      75267
LABOR, KIMBERLY                              Address on File
LABOY, THERESA                               Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                       Name                                        Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
Labuguen, Jacob                                Address on File
LACEY, CHRISTINE                               Address on File
Lacey, Cynthia                                 Address on File
Lacey, Kendricka                               Address on File
Lacey, Lorenzo                                 Address on File
Lacher, Andrea                                 Address on File
Lack, Cody                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
LACOUR, BRIAN                                  Address on File
LACOURSE, PAIGEN                               Address on File
Lacue, Dedrick                                 Address on File
LaCuesta, Jensen                               Address on File
LACY, BIRA                                     Address on File
Lacy, Chelsey                                  Address on File
Lacy, Chris                                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
LACY, JARRED                                   Address on File
LADORE, ROSEDASIA                              Address on File
LAFARLETTE, ERICA                              Address on File
LAFERNEY, JESSE                                Address on File
LaFever, Melonie                               Address on File
Lafferty, Paige                                Address on File
Laffita, Daniel                                Address on File
LAFFITY, ERIN                                  Address on File
Lafleur, Rakeecia                              Address on File
LAFLEUR, RAKEEICA                              Address on File
Lafleur, Rickyta                               Address on File
LAFOUNTAIN, ANGELA                             Address on File
LAGARDERE UNLIMITED CONSULTING LLC             235 PARK AVENUE SOUTH                6TH FLOOR                                                   NEW YORK          NY      10003
LAGUNAS, EDGAR                                 Address on File
LAGUNAS, LETICIA                               Address on File
LAGWAY, IAN                                    Address on File
LAHMER AIR CONDITIONING & HEATING              4815 RIVER OAKS BLVD                                                                             RIVER OAKS        TX      76114
LAI, KIM                                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
LAIR, VINCENT                                  Address on File
LAIRD, HARRISON                                Address on File
LAIRSON JR., JOHN                              Address on File
LAKE BROADMOOR LLC                             TERMINALSOLUTIONS                    P O BOX 460026                                              SAN ANTONIO       TX      78246
LAKE, SHANNA                                   Address on File
LAKEVIEW CENTENNIAL HS CLASS OF 2017 BOOSTER   LENA CARSON                          3505 HAYMAN DR                                              GARLAND           TX      75043
LAKIN, KATLYNE                                 Address on File
Lamance, Julia                                 Address on File
LAMAR, JUSTIN                                  Address on File
Lamas, Devan                                   Address on File
Lamb Weston / ConAgra                          Address Unknown
Lamb, Brittany                                 Address on File
LAMB, GAGE                                     Address on File
LAMB, JAYLA                                    Address on File
Lamb, Michael                                  Address on File
Lamb, Savannah                                 300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Lambert, Abbie                                 Address on File
LAMBERT, ABBIE                                 300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
LAMBERT, ED                                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Lambert, Edward                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Lambert, Jordan                                Address on File
LAMBERT, KATHERINE                             Address on File
LAMBETH, LARRY                                 Address on File
Lameda, Justin                                 Address on File
LAMP, JACOB                                    Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                          Name                                  Address 1                          Address 2                Address 3                  City     State PostalCode   Country
Lampier, Haley                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
LAMPKIN, BELNECIA                           Address on File
LANCASTER, GARRETT                          Address on File
LANCASTER, MARKUEL                          Address on File
Lanci, Andrew                               Address on File
LAND AUP.O. BOX 1                           P.O. BOX 1000 DEPT. 574                                                                          MEMPHIS            TN   38148‐0574
LAND TITLE GUARANTEE CO                     102 S TEJON ST                       STE 760                                                     COLORADO SPRINGS   CO   80903
LAND, DERIAN                                Address on File
LAND, DEVIN                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
LAND, FELECIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
LAND, GEMAREO                               Address on File
LANDA, AMBER                                Address on File
Landaverde, Nora                            Address on File
Landeros Medina, Valeria                    Address on File
Landeros, santana                           Address on File
Landers, Dustin                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
LANDFRIED, ROY                              Address on File
LANDIA SPECIALTY CORP. DBA U RENT IT        2280 W MOORE                                                                                     TERRELL            TX   75160
LANDIN, PATRICIA                            Address on File
LANDIS, JANINE                              Address on File
LANDMARK PLUMBING AND HEATING, INC.         6160 LAKE SHORE CRT                                                                              COLORADO SPRINGS   CO   80915
LANDOR, JALEN                               Address on File
LANDRESS, DYLAN                             Address on File
LANDRETH, CORY                              Address on File
Landrum, Braisia                            Address on File
Landrum, Jamitric                           Address on File
LANDRUM, SHIMIKA                            Address on File
LANDRY, COURTNEY                            Address on File
Landry, Jeff                                P.O. Box 94095                                                                                   Baton Rouge        LA   70804‐4095
Landry, Kenneth                             Address on File
LANDWEHR, RITA NEVILLE                      9625 W. MAPLE                                                                                    WICHITA            KS   67209
Lane, Cherri                                Address on File
LANE, DAVID                                 Address on File
Lane, Jasmine                               Address on File
LANE, JESSIKA                               Address on File
LANE, SUMMERDAWN                            Address on File
LANE, TREVOR                                Address on File
LANEY, ORVELL                               Address on File
LANG, JAMES                                 Address on File
Lang, Taig                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
Lang, Tronda                                Address on File
Lang, Zoe                                   300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062
Lange, Ethan                                Address on File
LANGEVIN, ELIZABETH                         Address on File
LANGFORD, JEREMY                            Address on File
LANGFORD, RENOTA                            Address on File
Langley, Alliyah                            Address on File
LANGLEY, GREGORY                            Address on File
LANGLEY, MADISON                            Address on File
LANGLEY, ROBERT                             Address on File
Langley, Sarah                              Address on File
LANGSTER, MATTHEW                           Address on File
Langston, Amanda                            Address on File
LANGSTON, JASON                             Address on File
LANGSTON, MALIK                             Address on File
LANGSTON‐FINGER, ZACHARY                    Address on File
Lanham, Abigail                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX   75062

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                                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                       Consolidated Creditor Matrix

                       Name                                                       Address 1                          Address 2                Address 3                 City   State PostalCode   Country
LANNI, JOHN MICHAEL                                           256 EMERALD BAY                                                                                  LAGUNA BEACH    CA   92651
Lanos, Suli                                                   300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
LANSING, ROBERT                                               Address on File
Lantz, Billy                                                  Address on File
LANTZ, NICHOLAS                                               Address on File
Lantz, Skylar                                                 Address on File
LAPP, JOSEPH                                                  Address on File
Lara Garcia, Ulisses                                          Address on File
LARA, AARON                                                   Address on File
LARA, ADRYEN                                                  Address on File
Lara, Anthony                                                 Address on File
LARA, DINORA                                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
LARA, ELIZABETH                                               Address on File
Lara, Erika                                                   Address on File
LARA, EVA                                                     Address on File
Lara, Israel                                                  Address on File
LARA, JUAN                                                    Address on File
Lara, Kelly                                                   Address on File
LARA, LAURA                                                   300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Lara, Rebecca                                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
LARA, YANETH                                                  Address on File
LARES, LIZBETH                                                Address on File
LARGE, CAMERON                                                Address on File
Largent, Alexis                                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Largent, Daniel                                               Address on File
LARIOS, ALMA                                                  Address on File
Larios, Kristina                                              Address on File
LARK STEWART DBA EVALUATE THE PLATE                           750 E US HWY 80                      SUITE #200‐445                                              FORNEY          TX   75126
LARKINS‐MASON, LACHELLE                                       Address on File

Larry G. Nagle and Shirley R. Nagle, as Co‐Trustees of The 
Nagle 2000 Revocable Trust dated December 13, 2000            18650 Big Timber Road                                                                            Tyler           TX   75703
LARSON, MOLLY                                                 Address on File
LA'RUEX, CHARLES                                              Address on File
LARUSSA, CODY                                                 Address on File
Lary, Josh                                                    Address on File
Lasater, Dillan                                               Address on File
LASTER, RASHEED                                               Address on File
Laster, Samantha                                              Address on File
Laster, Samantha                                              Address on File
LASTER, TYLER                                                 Address on File
Latham, Lakia                                                 Address on File
LATIMER, DEAUNDREA                                            Address on File
LATNEY, CLINTON                                               Address on File
Lats, Daniel                                                  Address on File
Latty, Hunter                                                 Address on File
LAU, RICARDO                                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
LAU, RICARDO                                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Lauderdale, Jacob                                             Address on File
LAUGHTER, KALEB                                               Address on File
Laurence, Jennifer                                            Address on File
LAURENCE, TANNER                                              Address on File
LAURICELLA, CHRISTOPHER                                       Address on File
LAVIOLETTE, TEARI                                             Address on File
Lawhorn, Philip                                               Address on File
LAWN GUY                                                      DBA LAWN GUY                         P. O. BOX 143                                               OCHELATA        OK   74051



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                                                                                       In re: Taco Bueno Restaurants Inc.., et al.
                                                                                              Consolidated Creditor Matrix

                     Name                                        Address 1                                  Address 2                Address 3                   City   State    PostalCode   Country
                                             DBA LAWN RESCUE COMMERCIAL GROUNDS 
LAWN RESCUE COMMERCIAL GROUNDS MAINTENANCE   MAINTENANCE                                  P. O. BOX 67                                                HOLLIDAY          TX      76366
LAWNS LTD                                    1824 AUSTIN AVE.                                                                                         WACO              TX      76701
Lawrence Brothers Construction               Address Unknown
LAWRENCE, ALLISON                            Address on File
LAWRENCE, BREANNA                            Address on File
Lawrence, Jerry                              Address on File
LAWRENCE, MAKENZIE                           Address on File
LAWSON, DENITTA                              Address on File
Lawson, Ivan                                 Address on File
Lawson, Katie                                300 East John Carpenter Freeway              Suite 800                                                   Irving            TX      75062
Lawson, Riley                                Address on File
LAWSON, SCOTT                                300 East John Carpenter Freeway              Suite 800                                                   Irving            TX      75062
Lawson, Stephen                              Address on File

LAWSON'S LANDSCAPING AND IRRIGATION          DBA LAWSON'S LANDSCAPING AND IRRIGATION      612 GRIFFITH AVE                                            TERRELL           TX      75160
LAWTON COMMERCIAL SERVICE LP                 1500 S CENTRAL EXPRESSWAY STE 300                                                                        MCKINNEY          TX      75070
LAWTON FORT SILL CHANBER OF COMMERCE         PO BOX 1376                                                                                              LAWTON            OK      73502
LAWTON LODGING LLC                           135 NW 2ND                                                                                               LAWTON            OK      73501
Lawton Plumbing                              Address Unknown
LAWTON REPROGRAPHIC CENTERS                  14305 INWOOD RD.                                                                                         DALLAS            TX      75244‐3918
Lawyer, Marco                                Address on File
Lay, Asia                                    300 East John Carpenter Freeway              Suite 800                                                   Irving            TX      75062
LAY, LAURA                                   Address on File
Layman, Brandi                               Address on File
LAYMAN, TIANA                                Address on File
Laymance, Steven                             300 East John Carpenter Freeway              Suite 800                                                   Irving            TX      75062
LAYTON, DEANDRE                              Address on File
Lazo, Jose                                   Address on File
LCA BOOSTER CLUB                             NADA OSBORN                                  2715 EAGLES NEST CT                                         MIDLOTHIAN        TX      76065
LE, BRANDON                                  Address on File
Le, David                                    Address on File
Le, Devon                                    Address on File
LE, VU                                       Address on File
Leach, Amanda                                Address on File
LEACH, AUTUMN                                Address on File
Leach, Charles                               Address on File
LEACH, KANE                                  Address on File
LEACH, WENDY                                 300 East John Carpenter Freeway              Suite 800                                                   Irving            TX      75062
LEACH, WENDY                                 Address on File
LEAF CAPITAL FUNDING LLC                     P O BOX 742647                                                                                           CINCINNATI        OH      45274‐2647
LEAL, BRIAN                                  Address on File
Leal, jesus                                  Address on File
LEAL, PEDRO                                  Address on File
Leal, Richard                                Address on File
LEAL, ROSA                                   300 East John Carpenter Freeway              Suite 800                                                   Irving            TX      75062
LEANDER, DANIEL                              Address on File
LEANOS, MANUEL                               Address on File
LEAR, DANIELLE                               Address on File
LEATHERS, BO                                 Address on File
LeBlanc, Christian                           Address on File
LEBRUN, KAYLA                                Address on File
LEBUS, GREGGORY                              Address on File
Lecesne, Phoenix                             Address on File
LEDBETTER, TAYLOR                            Address on File
LEDBETTER, TRAVIS                            Address on File
Lederer, Brooke                              300 East John Carpenter Freeway              Suite 800                                                   Irving            TX      75062

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                  City   State PostalCode   Country
Lederman, Daniel                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Ledesma, Claris                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
LEDESMA, ERIC                            Address on File
LEDESMA, JANET                           Address on File
LEDESMA, MAIDA                           Address on File
Ledezma, Danielle                        Address on File
Ledford, Garrett                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
LEDGERWOOD, NATOSHA                      Address on File
LEE & KEITER ENTERPRISES                 P. O. BOX 7817                                                                                   BEVERLY HILLS    CA   90212
LEE, ARDIEMISHIA                         Address on File
LEE, CASSONDRA                           Address on File
LEE, DAMARION                            Address on File
LEE, DOMINQUE                            Address on File
Lee, Douglas                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
LEE, EVA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
LEE, FREDDRICK                           Address on File
Lee, Heaven                              Address on File
Lee, Howard                              Address on File
LEE, ISIAH                               Address on File
LEE, JACOB                               Address on File
Lee, Janet                               Address on File
Lee, Jawaune                             Address on File
LEE, JIEUN                               Address on File
Lee, Kanaan                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Lee, Keanu                               Address on File
LEE, LAURYN                              Address on File
LEE, MICHAEL                             Address on File
Lee, Omaryana                            Address on File
LEE, RYENNE                              Address on File
LEE, STARLA                              Address on File
Lee, Timara                              Address on File
LEE, TOUYER                              Address on File
Lee, Vanesa                              Address on File
LEEMISA, KEANU‐SHAKUR                    Address on File
LEEPER, JOHNATHAN                        Address on File
LeFevre, Paul                            Address on File
Leffler, Darien                          Address on File
LEFLORE, CURTIS                          Address on File
Legans, Ashlie                           Address on File
LEGETTE LAMAR, RONALD                    Address on File
LEGRAND, DOMINIQUE                       Address on File
Lehigh Hanson, Inc.                      300 E John Carpenter Freeway         Suite 1645                                                  Irving           TX   75062
LEHIGH HANSON, INC.                      P O BOX 660225                                                                                   DALLAS           TX   75266
LEIJA, ALYSSA                            Address on File
LEIJA, CRISTIAN                          Address on File
Leimbach, Philip                         Address on File
LEISURE PARK ELEMENTARY PTA              PAT ALLEN                            4300 JUNIPER PLACE                                          BROKEN ARROW     OK   74011
LEMEUNIER, NICOLE                        Address on File
LEMIRE, HOUSTON                          Address on File
Lemke, Heather                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
LEMLEY, JESSICA                          Address on File
LEMMONS, JACE                            Address on File
Lemons, Sheree                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
LEMPEREUR, NICOLE                        Address on File
LEMUS AYALA, MARIA                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
LEMUS, CONSEPCION                        Address on File
LEMUS, KEVIN                             Address on File

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                                                                                     In re: Taco Bueno Restaurants Inc.., et al.
                                                                                            Consolidated Creditor Matrix

                          Name                                         Address 1                          Address 2                Address 3                 City      State    PostalCode   Country
LENARD, KIMBERLY                                   Address on File
LENDAN COMMUNICATIONS INC.                         1108 DANBURY DR                                                                                  MANSFIELD          TX      76063
Lenhart, Samaria                                   Address on File
LENIGAR, AMY                                       Address on File
LENIGAR, ASHLEIGH                                  Address on File
LENIUS, JACKIE                                     Address on File
LENNON, REBECKAH                                   Address on File
LENNOX INDUSTRIES INC.                             PO BOX 910549                                                                                    DALLAS             TX      75391‐0549
Lenoir, Ramelo                                     Address on File
LENZ ELECTRIC INC.                                 3514 E SAINT VRAIN ST                UNIT A                                                      COLORADO SPRINGS   CO      80909
LEON OROPEZA, MAGDALENA                            Address on File
LEON PEREZ, JULIO                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
LEON, ASTRID                                       Address on File
Leon, Catalina                                     Address on File
Leon, Heriberto                                    Address on File
Leon, Justin                                       Address on File
LEON, MARIA                                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Leon, Rossi                                        Address on File
Leonard, Cody                                      Address on File
LEPAGE, SAMANTHA                                   Address on File
LEPLEY, AUSTIN                                     300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
LEPLEY, AUSTIN                                     Address on File
LEPLEY, SHELBY                                     Address on File
LERMA, ABIGAIL                                     300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
LERMA, ANAHI                                       Address on File
Lerma, Angel                                       Address on File
LERMA, HILLARY                                     Address on File
LERMA, JOAQUINA                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
LESLIE S. WRIGHT LIVING TRUST                      3655 ROYAL WOODS DR.                                                                             SHERMAN OAKS       CA      91403
LESTER, NICOLE                                     Address on File
LEVANO, ROBERT                                     Address on File
LEVARIO, LUZ                                       Address on File
LEVEL 3 FINANCING INC                              LEVEL 3 COMMUNICATIONS LLC           P O BOX 910182                                              DENVER             CO      80291‐0182
Level Lea Farm                                     P. O. Box 156                                                                                    Pescadero          CA      94060
LEVEL LEA FARM, INC.                               P. O. BOX 156                                                                                    PESCADERO          CA      94060‐0156
Leveston, Kabreya                                  Address on File
LEVI KAUFFMAN, JACOB                               Address on File
Levi, Gavin                                        Address on File
LEVINE, MARTHA                                     Address on File
LEVY STRANGE BEFFORT LLC DBA NEWMARK GRUBB LEVY 
STRANGE                                            204 N ROBINSON SUITE 700                                                                         OKLAHOMA CITY      OK      73102
LEVY, ALMOG                                        Address on File
LEVY, JACQUELINE                                   Address on File
LEVY, JAMECIA                                      Address on File
LEVY, JEFFREY                                      Address on File
LEWIS COMMERCIAL ROOFING LLC                       8730 E 43RD ST                                                                                   TULSA              OK      74145
Lewis, Ajoneah                                     Address on File
LEWIS, ANDREA                                      Address on File
LEWIS, ANTYNISSZ                                   Address on File
LEWIS, APRIL                                       Address on File
Lewis, Ashley                                      Address on File
LEWIS, CLAYTON                                     Address on File
LEWIS, COLTON                                      Address on File
LEWIS, COURTNEY                                    Address on File
Lewis, Courtney                                    Address on File
LEWIS, DAVID                                       Address on File
LEWIS, D'LANDREA                                   Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                         Name                                   Address 1                          Address 2                Address 3                     City   State    PostalCode   Country
LEWIS, DOMINIC                              Address on File
LEWIS, EULIS                                Address on File
Lewis, Gia                                  Address on File
LEWIS, GORDON                               Address on File
Lewis, Heather                              Address on File
LEWIS, HEAVEN                               Address on File
LEWIS, HOPE                                 Address on File
Lewis, Jackson                              Address on File
Lewis, Jaclyn                               Address on File
Lewis, Jelani                               Address on File
LEWIS, JEREMY                               Address on File
LEWIS, JESSICA                              Address on File
LEWIS, JOHNNY                               Address on File
LEWIS, JOHNNY                               Address on File
LEWIS, KANDREL                              Address on File
LEWIS, KELSEY                               Address on File
LEWIS, KENNETH                              Address on File
LEWIS, KEVIN                                Address on File
LEWIS, KYLE                                 Address on File
LEWIS, LATOYA                               Address on File
LEWIS, LEAH                                 Address on File
LEWIS, LOVENIQUE                            Address on File
LEWIS, MIKAL                                Address on File
Lewis, Minnie                               Address on File
Lewis, Monique                              Address on File
LEWIS, NATALIE                              Address on File
LEWIS, PARIS                                Address on File
LEWIS, PAUL                                 300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
LEWIS, REGINALD                             Address on File
LEWIS, ROBERT                               Address on File
Lewis, Robert                               Address on File
Lewis, Robert                               Address on File
Lewis, Sharonda                             Address on File
Lewis, Tailor                               Address on File
LEWIS, TORRIK                               Address on File
LEWIS, TYLER                                Address on File
LEWIS, WASHONDRIA                           Address on File
Lewis, Wendy                                Address on File
Lexington Insurance Company                 PO Box 2310                                                                                      Alpharetta          GA      30023‐2970
Leyva, John                                 Address on File
LEZAMA, OSCAR                               Address on File
LG NAYLOR 380 CROSS ROADS LLC               3500 MAPLE AVE #1600                                                                             DALLAS              TX      75219
LIBERTY BANK                                JEFF BAGLEY                          P O BOX 301                                                 HILLTOWN            PA      18927
LIBERTY HIGH SCHOOL BAND BOOSTER            DOUG HIGH                            3472 RESEARCH PKWAY PMB 226                                 COLORADO SPRINGS    CO      80920
LIBOR, MICHAEL                              Address on File
LIBY, CHRISTOPHER                           Address on File
LICEA MONJARAS, MA                          Address on File
LICENSED PHOTO SERVICES, INC.               PROLOOK                              205 W MAIN ST STE A                                         ALLEN               TX      75013
LIDDELL, QUINTON                            Address on File
LIEB, KIMBERLY                              Address on File
Liebig, Micah                               Address on File
LIEBOW, GABRIEL                             Address on File
Lies, Avery                                 Address on File
LIEURANCE, CLETE                            300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
LIEURANCE, JESSICA                          Address on File
LIFE TABERNACLE                             JOSHUA YOUNGBLOOD                    4350 SAYMOR HWY                                             WITCHITA FALLS      TX      76309
LIFT AWAY LIFES CHANGES                     ALISA WORRIX                         6235 CHAPS VIEW                                             FOUNTAIN            CO      80817

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                                                                                   In re: Taco Bueno Restaurants Inc.., et al.
                                                                                          Consolidated Creditor Matrix

                           Name                                      Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
LIGHT, BRICE                                     Address on File
LIGHTCAP, JACOB                                  Address on File
LIGHTING INC. P.O. BOX 471343                    P.O. BOX 22105                                                                                   TULSA           OK      74121‐2105
LIGHTSEY, HEAVYN                                 Address on File
LIGONS, MARIO                                    Address on File
Like, Cheryl                                     Address on File
LILAH B. M2745 EAST                              2745 EAST 11TH STREET                                                                            TULSA           OK      74104
LILE, RANDALL                                    Address on File
LILES, BOBBY                                     Address on File
Lilley, Alex                                     Address on File
LILLEY, BREANNE                                  Address on File
Lilley, James                                    Address on File
Lilley, Joyce                                    Address on File
LILLIG, ELIZA                                    Address on File
LILLY, JULUA                                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Lilly, Levi                                      Address on File
LILOMBA, NOEMIE                                  Address on File
LIM, VIVIAN                                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Lima, Leonardo                                   Address on File
LIMA, MICHAEL                                    Address on File
Limas, Kimberly                                  Address on File
Linander, Valarie                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LINCOLN FINANCIAL GROUP                          P. O. BOX 0821                                                                                   CAROL STREAM    IL      60132
LINCOLN WASTE SOLUTIONS LLC                      2075 SILAS DEANE WAY STE 101                                                                     ROCKY HILL      CT      06067
Lincoln Waste Soultions, LLC                     Address Unknown
LINCOLN, DEJA                                    Address on File
Lincoln, Joey                                    Address on File
LINCOLN, LAVON                                   Address on File
Lindley, Jana                                    Address on File
LINDLY, SHELBY                                   Address on File
LINDSAY, KENNETH                                 Address on File
LINDSEY, HOLLY                                   Address on File
Lindsey, Jason                                   Address on File
Lindsey, Jonathon                                Address on File
LINDSEY, TOMANYSHA                               Address on File
LINDSEY, WADE                                    Address on File
LINDUFF, APRIL                                   Address on File
LINHART, JILL                                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LINHART, JILL                                    Address on File
LINKER, WILLIAM                                  Address on File
Linville, Joshua                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Linwood, Rodney                                  Address on File
Linzy, Logan                                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Linzy, Tiffany                                   Address on File
LIPE, AMBER                                      Address on File
LIPKE‐KENNEDY, NAOMI                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Lipke‐Kennedy, Zane                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LIPMAN ‐ TEXAS LLC                               COMBS PRODUCE                        11990 SHILOH RD                                             DALLAS          TX      75228
LIPSCOMB, STEPHANIE                              Address on File
LIQUID ENVIRONMENTAL SOLUTIONS P.O. BOX 203371   P O BOX 733372                                                                                   DALLAS          TX      75373‐3372
Lira, Candelaria                                 Address on File
Lisenbee, Brandon                                Address on File
LISERIO, ALYSSA                                  Address on File
LISIKA, SAMANTHA                                 Address on File
Lister, Christopher                              Address on File
LITTLE, CHRISTY                                  Address on File
Little, Jacob                                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                         Name                                     Address 1                          Address 2                        Address 3                   City   State    PostalCode   Country
Little, Justin                                Address on File
LITTLE, SHANTAVIA                             Address on File
LITTLETHUNDER, DUSTIN                         Address on File
LIVINGSTON, DEANNA                            Address on File
LIVINGSTON, DENA                              Address on File
LIVINGSTON, KAPRES                            Address on File
LIVINGSTON, KRISTAN                           Address on File
LIVINGSTON, RONALD                            Address on File
LJ SEGELL, LLC                                6203 N Villa                                                                                             Oklahoma City     OK      73112
Llanas, Maria                                 300 East John Carpenter Freeway      Suite 800                                                           Irving            TX      75062
Llanas‐Ramirez, Janeth                        300 East John Carpenter Freeway      Suite 800                                                           Irving            TX      75062
LLEWELLYN, DANIELA                            Address on File
LLOYD, BRANDI                                 Address on File
LLOYD, EURICK                                 Address on File
Lloyd's ‐ Beazley Group                       1270 Avenue of the Americas          12th Floor                                                          New York          NY      10020
Loa, Aisha                                    Address on File
LOA, NADIA                                    Address on File
Loaiza, Eduardo                               300 East John Carpenter Freeway      Suite 800                                                           Irving            TX      75062
LOBRANDON, DENNAH                             Address on File
LOCAL & WESTERN OF TEXAS, INC.                5445 LA SIERRA DRIVE                 SUITE 100                                                           DALLAS            TX      75231
LOCHRIDGE‐225 LAKE A                          P. O. BOX 154187                                                                                         WACO              TX      76715
Locke, Ashley                                 Address on File
LOCKETT, KIMRA                                300 East John Carpenter Freeway      Suite 800                                                           Irving            TX      75062
Lockett, Larry                                300 East John Carpenter Freeway      Suite 800                                                           Irving            TX      75062
Lockett, Shamel                               Address on File
Lockhart, Marshann                            Address on File
LOCKHART, WENDELL                             Address on File
LOCKMAN, AMBER                                Address on File
LOCKNET                                       800 JOHN C WATTS DR                                                                                      NICHOLASVILLE     KY      40356
Lockridge, Savannah                           300 East John Carpenter Freeway      Suite 800                                                           Irving            TX      75062
LOCKRIDGE, XAVIER                             Address on File
Lockton                                       2100 Ross Avenue                     Suite 1200                                                          Dallas            TX      75201
LOERA, LORIE                                  Address on File
LOERA, MARTHA                                 300 East John Carpenter Freeway      Suite 800                                                           Irving            TX      75062
LOERA, OMAR                                   300 East John Carpenter Freeway      Suite 800                                                           Irving            TX      75062
LOFFER, JENNIFER                              Address on File
LOFTIN, MISTY                                 Address on File
LOFTIS, ASHLEE                                Address on File
LOFTIS, NICHOLAS                              Address on File
LOFTIS, ZACHARY                               Address on File
Lofton, Deandra                               Address on File
Logan County Health Dept                      Consumer Protection Div              215 Fairgrounds Rd                         Ste A                    Guthrie           OK      73044
LOGAN, ABBIE                                  Address on File
LOGAN, BENJAMIN                               Address on File
LOGAN, BRIANA                                 Address on File
LOGAN, CHRISTIN                               Address on File
LOGAN, HOLLY                                  Address on File
LOGMEIN INC.                                  500 UNICORN PARK DR.                 P. O. BOX 83308                                                     WOBURN            MA      01801
LOKEY, JORDAN                                 Address on File
LOLLICUP USA INC.                             6185 KIMBALL AVE                                                                                         CHINO             CA      91708
Lomeli, Erika                                 Address on File
London, Pierre                                Address on File
London, Taylon                                Address on File
LONE STAR LIGHT BULB SUPPLY INC.              7012 STRAWBERRY WAY                                                                                      FORT WORTH        TX      76137
Lone, Kylie                                   Address on File
Loneman, Leona                                Address on File
LONESTAR LOGOS & SIGNS, LLC 611 S CONGRESS    3701 BEE CAVES RD                    SUITE 202                                                           AUSTIN            TX      78746

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                          Name                                Address 1                          Address 2                Address 3                   City   State PostalCode   Country
LONG ELECTRIC                             PO BOX 5391                                                                                      ABILENE           TX   79608‐5391
LONG, ALEXANDRA                           Address on File
LONG, ALYSSA                              Address on File
LONG, ANDRE                               Address on File
Long, Christopher                         Address on File
Long, Demarco                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
LONG, DOMINICK                            Address on File
LONG, JASMINE                             Address on File
Long, Jennifer                            Address on File
Long, Jennifer                            Address on File
LONG, KAYRISHA                            Address on File
LONG, KENNEY                              Address on File
LONG, KEVIN                               Address on File
LONG, MICHAEL                             Address on File
LONG, PATRICIA                            Address on File
LONG, ROBERT                              Address on File
Long, Zachary                             Address on File
LONGGREAR, JESSICA                        Address on File
LONGMIRE PLUMBING                         4425 CRAWFORD DRIVE                                                                              ABILENE           TX   79602‐7825
LONGO, JEREMY                             Address on File
LONGORIA, SARA                            Address on File
LONGVIEW G524 N. SEC                      524 N. SECOND ST.                                                                                LONGVIEW          TX   75601
LONGVIEW R24B CHIMNE                      24B CHIMNEY HOLLOW                                                                               ODESSA            TX   79762
Longview Realty                           24B Chimney Hollow                                                                               Odessa            TX   79762
Lono‐santiago, Tiffany                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
LOOMIS                                    DEPT 0757                            P. O. BOX 120001                                            DALLAS            TX   75312
Looney, Auburn                            Address on File
LOONEY, JAMES                             Address on File
Looney, Katie                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
LOONEY, KYLE                              Address on File
LOPES ANGEL, JULIA                        300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Lopez Duran, Marisol                      Address on File
LOPEZ MEJIA, RUFINA                       Address on File
LOPEZ PARRA, NORA                         Address on File
Lopez Perez, Siclari                      Address on File
LOPEZ ROMERO, ODILMAR                     Address on File
Lopez Salazar, Xochitl                    Address on File
LOPEZ, ABEL                               Address on File
Lopez, Adelaida                           Address on File
LOPEZ, ALEXANDRA                          Address on File
LOPEZ, ALEXANDRIA                         Address on File
Lopez, Alexis                             Address on File
LOPEZ, ALMA                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
LOPEZ, ANA                                Address on File
Lopez, Andrew                             Address on File
LOPEZ, ANGELA                             Address on File
Lopez, Anthony                            Address on File
Lopez, Anthony                            Address on File
LOPEZ, ANTHONY                            Address on File
LOPEZ, ANTONIO                            Address on File
LOPEZ, ARMANDO                            Address on File
LOPEZ, ASHLEY                             Address on File
LOPEZ, BEATRIZ                            Address on File
Lopez, Brianna                            Address on File
LOPEZ, CAROL                              Address on File
Lopez, Cassey                             Address on File
Lopez, Cecilia                            Address on File

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                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                               Consolidated Creditor Matrix

                    Name                                Address 1                            Address 2                Address 3                 City   State PostalCode   Country
Lopez, Christine                    300 East John Carpenter Freeway        Suite 800                                                   Irving          TX   75062
LOPEZ, CRYSTAL                      Address on File
LOPEZ, DAMIAN                       Address on File
LOPEZ, DANIEL                       Address on File
LOPEZ, DEYANIRA                     300 East John Carpenter Freeway        Suite 800                                                   Irving          TX   75062
LOPEZ, EDWARD                       GAMBLERS 10U AAA BASEBALL‐F SOLIS      1068 VALLEY BROOK LANE                                      GRAND PRAIRIE   TX   75052
LOPEZ, EFRAIN                       Address on File
LOPEZ, ELIZABETH                    Address on File
LOPEZ, ELVIRA                       Address on File
LOPEZ, ERIKA                        Address on File
Lopez, Estela                       Address on File
LOPEZ, EVA                          300 East John Carpenter Freeway        Suite 800                                                   Irving          TX   75062
LOPEZ, EVER                         Address on File
LOPEZ, GABRIELA                     300 East John Carpenter Freeway        Suite 800                                                   Irving          TX   75062
Lopez, Gabriela                     300 East John Carpenter Freeway        Suite 800                                                   Irving          TX   75062
Lopez, Geoffrey                     Address on File
Lopez, Gloria                       Address on File
LOPEZ, GRACIELLA                    Address on File
Lopez, Guadalupe                    300 East John Carpenter Freeway        Suite 800                                                   Irving          TX   75062
LOPEZ, IVAN                         300 East John Carpenter Freeway        Suite 800                                                   Irving          TX   75062
Lopez, Ivan                         Address on File
LOPEZ, JAZMIN                       Address on File
LOPEZ, JENNIFER                     Address on File
LOPEZ, JESSIE                       Address on File
Lopez, Jesus                        Address on File
LOPEZ, JHONATAN                     Address on File
LOPEZ, JOCELYN                      Address on File
LOPEZ, JOHN                         Address on File
Lopez, Jonathan                     300 East John Carpenter Freeway        Suite 800                                                   Irving          TX   75062
LOPEZ, JORGE                        Address on File
LOPEZ, JOSE                         Address on File
LOPEZ, JOVANI                       Address on File
Lopez, Juan                         Address on File
Lopez, Juana                        Address on File
LOPEZ, KENDRA                       Address on File
LOPEZ, KEVIN                        Address on File
LOPEZ, KEVIN                        Address on File
LOPEZ, KRYSTAL                      Address on File
Lopez, Lina                         Address on File
Lopez, Lisbeth                      Address on File
Lopez, Ma                           300 East John Carpenter Freeway        Suite 800                                                   Irving          TX   75062
Lopez, Marcus                       Address on File
LOPEZ, MARI                         Address on File
Lopez, Maria                        300 East John Carpenter Freeway        Suite 800                                                   Irving          TX   75062
LOPEZ, MARIA                        300 East John Carpenter Freeway        Suite 800                                                   Irving          TX   75062
LOPEZ, MARIA                        300 East John Carpenter Freeway        Suite 800                                                   Irving          TX   75062
LOPEZ, MARIA                        Address on File
LOPEZ, MARIA                        Address on File
LOPEZ, MARIA                        Address on File
LOPEZ, MARIA                        Address on File
Lopez, Maria                        Address on File
LOPEZ, MARIA                        Address on File
Lopez, Maribel                      Address on File
LOPEZ, MARISOL                      Address on File
Lopez, Marylou                      Address on File
LOPEZ, MELANIE                      Address on File
LOPEZ, MELINDA                      Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                      Name                                     Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
LOPEZ, MICHAEL                             Address on File
LOPEZ, MICHELLE                            Address on File
LOPEZ, MIRANDA                             Address on File
LOPEZ, MISAEL                              Address on File
LOPEZ, MISTY                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LOPEZ, MISTY                               Address on File
LOPEZ, MONICA                              Address on File
LOPEZ, NESTOR                              Address on File
LOPEZ, NOEMI                               Address on File
LOPEZ, PATRICIA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LOPEZ, PEDRO                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LOPEZ, PRESCILLA                           Address on File
LOPEZ, PRICILLA                            Address on File
Lopez, Priscila                            Address on File
LOPEZ, RAMIRO                              Address on File
Lopez, Ricardo                             Address on File
LOPEZ, RODRIGO                             Address on File
Lopez, Rosa                                Address on File
LOPEZ, SAMMY                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LOPEZ, SANDRA                              Address on File
LOPEZ, SARAH                               Address on File
LOPEZ, SAUL                                Address on File
LOPEZ, SILVIA                              Address on File
LOPEZ, SOCORRO                             Address on File
LOPEZ, SONIA                               Address on File
LOPEZ, SOPHIA                              Address on File
Lopez, Sury                                Address on File
LOPEZ, SUSANA                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LOPEZ, SUSANO                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LOPEZ, TELMA                               Address on File
LOPEZ, VALENTINA                           Address on File
Lopez, Velicity                            Address on File
LOPEZ, VERONICA                            Address on File
LOPEZ, VERONICA                            Address on File
LOPEZ, VICTOR                              Address on File
Lopez, Wesder                              Address on File
LOPEZ‐MADERA, ERIC                         Address on File
LOPEZ‐ORTIZ, JOSE                          Address on File
LOPEZ‐SOTO, ROSA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Lord, Amber                                Address on File
LORD, PAMELA                               Address on File
Lorenz, patrick                            Address on File
LORENZO, HILDA                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LOSH, BAILEY                               Address on File
LOSOYA, ALICIA                             Address on File
LOTT, CHARLIE                              Address on File
LOTT, CHASE                                Address on File
Lott, Christy                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LOTT, KIERRA                               Address on File
Lougin, Constance                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LOUISIANA DEPARTMENT OF REVENUE            P. O. BOX 751                                                                                    BATON ROUGE     LA      70821‐0751
Love, Alasia                               Address on File
LOVE, ANTHONY                              Address on File
LOVE, ASHLEY                               Address on File
Love, Brendon                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Love, Chase                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
LOVE, GEORGE                               Address on File

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                       Name                                       Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
LOVE, KIARA                                   Address on File
Love, Kimberly                                Address on File
LOVE, MIKAELA                                 Address on File
LOVE, TERRY                                   Address on File
Love‐Harris, Amber                            Address on File
LOVEJOY, BLAIR                                Address on File
LOVEJOY, RICO                                 Address on File
LOVEJOY, ROYAH                                Address on File
LOVELADY, CARRIE                              Address on File
LOVELAND, DAVID                               Address on File
LOVELL, CHRISTOPHER                           Address on File
LOVETT, ASHANTA                               Address on File
LOVING, CATERA                                Address on File
Loving, Wendell                               Address on File
LOVINS, ASHLEY                                Address on File
LOWE, BENJAMIN                                Address on File
LOWE, CONNER                                  Address on File
LOWE, DEFONTA                                 Address on File
LOWE, STEPHAN                                 Address on File
LOWE, URENA                                   Address on File
LOWE, VINCENT                                 Address on File
LOWE, ZACHARY                                 Address on File
Lower, Kristian                               Address on File
LOWERY, DALTON                                Address on File
LOWERY, HEATHER                               Address on File
LOWERY, JADEJA                                Address on File
Lowman, Markita                               Address on File
Lowrance, Miluska                             Address on File
Lowry, Aleeyah                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
LOWRY, TAMIYA                                 Address on File
Lowther, Shelby                               Address on File
LOYA, ALISSA                                  Address on File
LOYA, NICOLE                                  Address on File
Loyd, Cameron                                 Address on File
Loyd, Lorelei                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Loyd, Mellissa                                Address on File
Loyd, Nathan                                  Address on File
LOYOLA, NOHEMI                                Address on File
LOYOLA, RAFAEL                                Address on File
LOZA, ANDREA                                  Address on File
LOZA, LUPE                                    Address on File
LOZA, RICHARD                                 Address on File
LOZADA, EVELIN                                Address on File
Lozada, Terrell                               Address on File
LOZANO, CLAUDIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
LOZANO, DIANA                                 Address on File
LOZANO, GABRIELA                              Address on File
Lozano, Kasey                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
LOZANO, MARCO                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Lozano, Mavybel                               Address on File
Lozano, Modesto                               Address on File
LOZANO, TERESA                                Address on File
LOZANO, YAMNA                                 Address on File
LOZIER, VANESSA                               Address on File
LOZOYA, TIFFANY                               Address on File
LUBBERS, BENJAMIN                             Address on File
LUBBOCK CENTRAL APPRAISAL DISTRICT            P O BOX 10568                        1715 26TH ST                                                LUBBOCK          TX      79408‐3568

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                            Name                                Address 1                          Address 2                Address 3                  City   State PostalCode   Country
LUBBOCK POWER & LIGHT                       P. O. BOX 10541                                                                                  LUBBOCK          TX   79408‐3541
LUCAS, CANDACE                              Address on File
LUCAS, JAMES                                Address on File
LUCAS, JOSEPH                               Address on File
LUCAS, SHAKEYNA                             Address on File
Lucas, Stephen                              Address on File
Lucero, Ashley                              Address on File
Lucero, Melissa                             Address on File
Lucero, Mia                                 Address on File
LUCERO, SANDRA                              Address on File
Lucero‐Avila, Markus                        Address on File
LUCIANO PERGUID                             1250 SHAWS FLAT RD.                  P O BOX 605                                                 SAN MARTIN       CA   95046
Luckett, Shavonna                           Address on File
LUCKINBILL INC                              PO BOX 186                                                                                       ENID             OK   73702‐0186
LUCKY, JORDAN                               Address on File
LUCKY, TANGIE                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
LUDEMAN, ROBERT                             Address on File
LUDVIGSON, BRITNEY                          Address on File
LUELLEN, CHEYANNE                           Address on File
LUERA, STEVEN                               Address on File
LUEVANO, CAMILLE                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
LUEVANO, CAMILLE                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
LUEVANO, NAYEL                              Address on File
Lugardo Sanchez, Nallely                    Address on File
LUGO, CODY                                  Address on File
LUGO, MIRIAM                                Address on File
Lugo, Natalie                               Address on File
LUIGGI, GLORIA                              Address on File
LUJAN, JOE                                  Address on File
Lujan, Teodora                              Address on File
Lukas, Chumeko                              Address on File
LUKENBILL, KYLIE                            Address on File
Lukens, Joey                                Address on File
LUKER, CARLY                                Address on File
Lumpkins, Shikara                           Address on File
Luna, Alexis                                Address on File
LUNA, ANDREA                                Address on File
Luna, Bambi                                 Address on File
LUNA, JUANA                                 Address on File
LUNA, KIMBERLY                              Address on File
LUNA, MARIA                                 Address on File
Luna, Michael                               Address on File
Luna, Roxanna                               Address on File
Luna, Victoria                              Address on File
Luna, Virginia                              Address on File
Lundberg, Kimberly                          Address on File
Lundgren, Krysta                            Address on File
LUNDY, DABRIEON                             Address on File
Lundy, Jabracia                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
LUNDY, JUSTIN                               Address on File
LUNDY, ROBERT                               Address on File
Lunn, Alyssa                                Address on File
LUPER, DOMINIC                              Address on File
LUPTON, LISA                                Address on File
LUSK, DIAMOND                               Address on File
Lusk, Dontaveion                            Address on File
Lusk, Elijah                                Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
Lusk, Vashun                             Address on File
LUSTER, LACEY                            Address on File
LUTHER, HAILIE                           Address on File
LUTRICK, ALEXIS                          Address on File
LUTRICK, ANDREW                          Address on File
LUTRICK, CHEYENNE                        Address on File
LUTRICK, JACKIE                          Address on File
LUVIANO, ROSA                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
LY, JOHN                                 Address on File
Lybbert, Jonathan                        Address on File
Lydia, Briyauna                          Address on File
Lynch, Ashley                            Address on File
Lynch, Billy                             Address on File
Lynch, Kimberly                          Address on File
LYNCH, SARAH                             Address on File
Lynch, Shaterrica                        Address on File
LYNE, BRENT                              Address on File
LYNN, JAMES                              Address on File
LYNN, JOHN                               Address on File
Lynn, Kara                               Address on File
LYNN, SHARON                             Address on File
LYON, BILL                               Address on File
Lyon, Cody                               Address on File
LYON, DEVYN                              Address on File
Lyon, Michael                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Lyon, Zachary                            Address on File
LYONS, BRYCIN                            Address on File
Lyons, Candice                           Address on File
Lyons, David                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
LYONS, JAMES W                           2810 SHAWN DR                                                                                    DENISON          TX      75020
LYONS, MICHAEL                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
LYONS, VICTORIA                          Address on File
Lytle, Samantha                          Address on File
M & S TECHNOLOGIES, INC.                 P. O. BOX 816065                                                                                 DALLAS           TX      75381
M&M PARTNERS                             11000 Bermuda Dunes NE                                                                           Albuquerque      NM      87111
M2G SERVICES LLC                         4825 WASHINGTON AVE                                                                              HOUSTON          TX      77007
Maack, Logan                             Address on File
Maafala, Yvonne                          Address on File
MAAR, ERICA                              Address on File
MABE, MACKENZIE                          Address on File
MABRY, CHASE                             Address on File
MABRY, COLE                              Address on File
Mabry, Levi                              Address on File
Mac Donagh, Garrett                      Address on File
Mac Donagh, Garrett                      Address on File
MACALUSO YGLESIAS, MICAH                 Address on File
MACARENO, PABLO                          Address on File
MACE, NICHOLE                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MACEDO, CAROLINA                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MACEDO, MARICELA                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MACHADO, JANET                           Address on File
Machado, Lorenzo                         Address on File
MACHADO, STEVEN                          Address on File
MACHUCA, BRYAN                           Address on File
MACHUCA, ELVIRA                          Address on File
MACIAS ELIAS, CARLOS                     Address on File
MACIAS, CECILIA                          Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City      State    PostalCode   Country
Macias, Crystal                         Address on File
MACIAS, IRENE                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Macias, Jennifer                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
MACIAS, JENNIFER                        Address on File
MACIAS, JOSE                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
MacIas, Jose                            Address on File
MACIAS, SAMANTHA                        Address on File
Maciel, Martin                          Address on File
MACK, BOBBY                             Address on File
MACK, CLIFFORD                          Address on File
MACK, JORDAN                            Address on File
MACK, KIARI                             Address on File
MACK, SEAN                              Address on File
MACK, SHAMARNA                          Address on File
MACKEY, JACOB                           Address on File
Mackiewicz, Joseph                      Address on File
Macmillan, Charles                      Address on File
MACNAB, KYLE                            Address on File
Macura, Jacob                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
MADDEN, ASHLEY                          Address on File
Madden, Gwendolyn                       Address on File
Madden, Kamron                          Address on File
MADDOX, CHRISTIE                        Address on File
MADDOX, LEISA                           Address on File
Maddox, Victoria                        Address on File
Madewell, Katelyn                       Address on File
Madison, Brynna                         Address on File
MADOLE, ZACK                            Address on File
MADRID TERCERO, YESENIA                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
MADRID, ADRIAN                          Address on File
MADRID, GABRIELA                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
MADRID, JUANITA                         Address on File
MADRIGAL, SILVIA                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
MADRIRSOUBAI, HAILEE                    Address on File
Maduabuchukwu, Sarah                    Address on File
MAE, JESSE                              Address on File
MAELE, BWALYA                           Address on File
MAENNER, JOSHUA                         Address on File
MAGAR, JACOB                            Address on File
MAGAR, JAMESON                          Address on File
MAGEE, AMANDA                           Address on File
MAGGARD JR, DANIEL                      Address on File
MAGGARD, DUSTIN                         Address on File
MAGGARD, LAURA                          Address on File
MAGIC KEY LOCKSMITHS, INC.              464 ROLLING HILLS DR                                                                             COLORADO SPRINGS   CO      80919
MAGNESS, STEPHEN                        Address on File
MAGRINI, IAN                            Address on File
MAGUIRE, TERRY                          Address on File
MAHAFFEY, WILLIAM                       300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
MAHMOOD, HASIA                          Address on File
MAHURIN, TAWNEE                         Address on File
MAIDA, KOAJE                            Address on File
MAILSOUTH, INC DBA MSPARK               PO BOX 848469                                                                                    DALLAS             TX      75284‐8469
MAIN, JEFFREY                           Address on File
Mainoo, Emmanuel                        Address on File
Majette, Sayionia                       Address on File
MAJOR, CURTIS                           Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
MAJOR, KIERSTEN                          Address on File
Majors, Dylan                            Address on File
MAKANJUOLA, MOYINSULA                    Address on File
MAKEPEACE, LILLIE                        Address on File
Makinson, Megan                          Address on File
MAKRES, KYLE                             Address on File
MALACUSKY, BRYSON                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MALBROUGH, DYLAN                         Address on File
Malcolm, Trezunique                      Address on File
MALDONADO, ADRIANA                       Address on File
MALDONADO, ALEX                          Address on File
MALDONADO, COURTNEY                      Address on File
MALDONADO, EDWARD                        Address on File
MALDONADO, JACIEL                        Address on File
Maldonado, Jessica                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Maldonado, Julia                         Address on File
MALDONADO, JULIE                         Address on File
Maldonado, Letticia                      Address on File
Maldonado, Madilyn                       Address on File
MALDONADO, MARIO                         Address on File
Maldonado, Yulisa                        Address on File
MALDONDO, RITA                           Address on File
MALEK, ASHLEY                            Address on File
Malla Shrestha, Mandira                  Address on File
Malmberg, Kyrie                          Address on File
Malnove/Packaging Force                  Address Unknown
Malone, Beneranda                        Address on File
MALONE, ELIZABETH                        Address on File
MALONE, JUSTIN                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Malone, Kyle                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Malone, Marcus                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MALONE, MICHAEL                          Address on File
Malone, Michelle                         Address on File
Malone, Rachel                           Address on File
MALONE, TIFFANY                          Address on File
MALONEY, HERSHAL                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Maltez, Elizabeth                        Address on File
MAMSELLE BOOSTER CLUB                    BRITTANY MANSELL                     2109 BUCKINGHAM RD                                          GARLAND          TX      75042
Manago, Matthew                          Address on File
MANCILLA, ALEJANDRO                      Address on File
MANCILLA, MARCO                          Address on File
MANCINAS, GAYLENE                        Address on File
MANCO, REBECCA                           Address on File
Mandela, Winnie                          Address on File
MANDEVILLE, LEANN                        Address on File
Mandley, Ryan                            Address on File
MANDUJANO OCHOA, ABIGAIL                 Address on File
MANDUJANO, BENJAMIN                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MANDUJANO, CHRISTIAN                     Address on File
MANDUJANO, MARIA                         Address on File
MANDUJANO, MARIANA                       Address on File
MANDUJANO, ROSA                          Address on File
Manegold, Allison                        Address on File
MANES, KARI                              Address on File
MANESS, KIMBERLY                         Address on File
Mangold, Brindy                          Address on File
MANICO, VALERIE                          Address on File

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                                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                      Consolidated Creditor Matrix

                          Name                                                   Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
Manios, Joey                                                 Address on File
MANIOS, REBECCA                                              Address on File
MANIOS, ROSS                                                 Address on File
MANJARREZ, DANIEL                                            Address on File
MANLEY, CINDY                                                Address on File
MANLEY, JORDAN                                               Address on File
MANLY, LISA                                                  Address on File
MANN, AUSTIN                                                 Address on File
Mann, Harry                                                  Address on File
MANN, JAGJIT                                                 Address on File
Mann, Priscilla                                              Address on File
MANN, RANESHIA                                               Address on File
MANN, SENEQUA                                                Address on File
MANN, VERA                                                   Address on File
MANNAR, CANDACE                                              Address on File
MANNES, ADRIANA                                              Address on File
MANNING, ANTHONY                                             Address on File
MANNING, ASHTON                                              Address on File
MANNING, CARNEALUS                                           Address on File
Manning, Christopher                                         Address on File
MANNING, GARETH                                              Address on File
Manning, Grady                                               Address on File
MANNING, JARED                                               Address on File
MANNING, JERIMY                                              Address on File
Manning, Matthew                                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
MANNING, ROGER                                               Address on File
MANNING, STACEY                                              Address on File
MANOUS, SHIVE'SES                                            Address on File
MANSELL, MATTHEW                                             Address on File
MANSFIELD FARP                                               PO BOX 205212                                                                                    DALLAS            TX      75320‐5212
MANSFIELD INDEPENDENT SCHOOL DISTRICT                        605 E. BROAD ST.                                                                                 MANSFIELD         TX      76063
MANSFIELD YOUTH BASEBALL ASSOC                               PO BOX 876                                                                                       MANSFIELD         TX      76063
MANSOURI, KHOSRO                                             Address on File
MANTLE, KEVIN                                                Address on File
Manuel v. Guerrero or Nora b. Guerrero, as Trustees under 
the Manuel V. and Nora B. Guerrero Family Trust dated 
8/16/01                                                      19800 MacArthur Boulevard            #150                                                        Irvine            CA      92612
MANZANARES, VERONICA                                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
MANZANO, JUSTIN                                              Address on File
Manzay, Tyrone                                               Address on File
Mapes, Allyssa                                               Address on File
Maple, Deborah                                               Address on File
Maple, Reginald                                              Address on File
MAPLES FIDUCIARY SERVICES                                    4001 KENNETT PIKE                                                                                WILMINGTON        DE      19807
MAPLES, DUSTY                                                Address on File
MARASHI, REBECCA                                             Address on File
MARBLE, JASMINE                                              Address on File
MARC RESEARCH                                                DBA MARC RESEARCH                    P. O. BOX 844244                                            DALLAS            TX      75284‐4244
MARCELINO, CANDIDO                                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
MARCUM, BLAINE                                               Address on File
MARCUM, SEAN                                                 Address on File
MARES, LEANNA                                                Address on File
MARGARET JC/O JOHNNY                                         C/O JOHNNY VAUGHN                    PO BOX 3142                                                 LONGVIEW          TX      75606
MARHATTA ACHARYA, RANJU                                      Address on File
MARICHALAR, CORYNA                                           Address on File
Marichalar, Zachary                                          Address on File
MARILAND, RONNIE                                             Address on File

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                                                                                       In re: Taco Bueno Restaurants Inc.., et al.
                                                                                              Consolidated Creditor Matrix

                      Name                                               Address 1                          Address 2                Address 3                  City   State PostalCode   Country
Marin, Carlos                                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Marin, Cynthia                                       Address on File
MARIN, MARISA                                        Address on File
Marin, Nicolas                                       Address on File
MARION A GOOD ADDITION LLC                           P. O. BOX 276                                                                                    BLANCO           TX   78606
MARK, HELEN                                          Address on File
MARKASKY, MATTHEW                                    Address on File
MARKCUM, AARON                                       Address on File
Markcum, Richard                                     Address on File
Marker, Candice                                      Address on File
MARKER, JASUN                                        Address on File

MARKET DYNAMICS RESEARCH GROUP INC. 3112 CANAL ST.   1055 ST CHARLES AVE STE 300                                                                      NEW ORLEANS      LA   70130
MARKET VISION, INC.                                  330 PASSAIC AVE                      STE 205                                                     FAIRFIELD        NJ   07004
Markham, Deuntae                                     Address on File
MARKHAM, ERICA                                       Address on File
Markham, Erwin                                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
MARKHAM, JACK                                        Address on File
MARKHAM, LECHARLIE                                   Address on File
Markham, Sanaya                                      Address on File
Markovich, Barbara                                   Address on File
Marks, Keenan                                        Address on File
Marlatt, Lucas                                       Address on File
MARLER, JEFFERY                                      Address on File
Marlin, Kathy                                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Marlow, Raymond                                      Address on File
MARONEY, COREY                                       Address on File
Marquez Romero, Ana                                  Address on File
Marquez, Christian                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
MARQUEZ, ELENA                                       Address on File
MARQUEZ, FRANCISCA                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
MARQUEZ, JESSE                                       Address on File
MARQUEZ, JESSICA                                     Address on File
Marquez, Makayla                                     Address on File
MARQUEZ, MARK                                        Address on File
MARQUEZ, ORLANDO                                     Address on File
MARQUEZ, REINA                                       Address on File
MARQUEZ, ROBERT                                      Address on File
Marquez, Sasha                                       Address on File
Marquis, Alexis                                      Address on File
Marquis, Jeanpaul                                    Address on File
MARR, KAILYN                                         Address on File
Marroquin, SanJuana                                  Address on File
MARS AIR SYSTEMS, LLC                                14716 SOUTH BROADWAY                                                                             GARDENA          CA   90248
Marsh, Thomas                                        Address on File
Marshall, Andrea                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Marshall, David                                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
MARSHALL, DEROSA                                     Address on File
MARSHALL, EARLENE                                    Address on File
Marshall, Francesca                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
MARSHALL, JONATHAN                                   Address on File
MARSHALL, KAYLEE                                     Address on File
Marshall, Marian                                     Address on File
MARSHALL, MAR'RYSHIA                                 Address on File
Marshall, Steven                                     Address on File
MARSHALLL T MOORE ELEMENTARY PTA                     KASEY FORD                           800 N BUTTERNUT PL                                          BROKEN ARROW     OK   74012
MARTEL, PATRICIA                                     Address on File

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                                                                                   In re: Taco Bueno Restaurants Inc.., et al.
                                                                                          Consolidated Creditor Matrix

                          Name                                       Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
MARTEL, SAMANTHA                                 Address on File
Martin Brothers Property Management, L.L.C.      413 Woodhollow Trail                                                                             Edmond          OK      73012
Martin, Aislynn                                  Address on File
MARTIN, ANTHONY                                  Address on File
Martin, Bobby                                    Address on File
MARTIN, BREONA                                   Address on File
Martin, Brian                                    Address on File
MARTIN, BRYAN                                    Address on File
MARTIN, CHELSI                                   Address on File
Martin, Drew                                     Address on File
MARTIN, DYLAN                                    Address on File
MARTIN, ESTEVON                                  Address on File
MARTIN, HOLANA                                   300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTIN, JACK                                     Address on File
MARTIN, JASMINE                                  Address on File
MARTIN, JEFF                                     Address on File
MARTIN, JENIFER                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTIN, JOSEPH                                   Address on File
MARTIN, JOSEPH                                   Address on File
MARTIN, JUSTIN                                   Address on File
MARTIN, KALEN                                    Address on File
MARTIN, KEITH                                    Address on File
MARTIN, KENDRA                                   Address on File
Martin, Kimberly                                 Address on File
Martin, Kristin                                  Address on File
MARTIN, KRISTY                                   Address on File
MARTIN, KYLER                                    Address on File
MARTIN, LAREE                                    Address on File
Martin, Laura                                    Address on File
MARTIN, LORAC                                    Address on File
Martin, Maggi                                    Address on File
MARTIN, MARY                                     Address on File
Martin, Matthew                                  Address on File
Martin, Michael                                  Address on File
MARTIN, MILES                                    Address on File
MARTIN, PAUL                                     Address on File
Martin, Penni                                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTIN, REGGIE                                   Address on File
MARTIN, RHANEL                                   Address on File
MARTIN, ROBERTA                                  Address on File
Martin, Ronda                                    Address on File
Martin, Shakera                                  Address on File
MARTIN, SHALIQUE                                 Address on File
MARTIN, SHERMAN                                  Address on File
MARTIN, SHERRY                                   Address on File
Martin, Stephanie                                Address on File
Martin, Tanishia                                 Address on File
Martin, Tara                                     Address on File
Martin, Terri                                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTIN, TERRI                                    Address on File
Martin, Terrion                                  Address on File
MARTIN, TIANNA                                   Address on File
Martin, Travis                                   Address on File
MARTIN, TRISTEN                                  Address on File
MARTINEK, JAMIE                                  Address on File
MARTINEZ DURAN, ELVIN                            Address on File
MARTINEZ GONZALEZ, JOSE                          Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                          Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Martinez Hernandez, Carolina              Address on File
Martinez, Aaliyah                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, ABEL                            Address on File
Martinez, Aida                            Address on File
MARTINEZ, ALEC                            Address on File
MARTINEZ, ALEJANDRO                       Address on File
MARTINEZ, ALEXANDER                       Address on File
MARTINEZ, ALICIA                          Address on File
MARTINEZ, AMERICA                         Address on File
Martinez, Ana                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Martinez, Andrea                          Address on File
Martinez, Andrew                          Address on File
MARTINEZ, ANGELICA                        Address on File
MARTINEZ, ANGELICA                        Address on File
Martinez, Anjelica                        Address on File
MARTINEZ, APRIL                           Address on File
Martinez, Ashley                          Address on File
Martinez, Ashlie                          Address on File
MARTINEZ, BENITO                          Address on File
MARTINEZ, BENITO                          Address on File
Martinez, Bianca                          Address on File
MARTINEZ, BIENVENIDA                      Address on File
MARTINEZ, BRANDI                          Address on File
MARTINEZ, BRANDI                          Address on File
MARTINEZ, BRENDA                          Address on File
MARTINEZ, BRIANA                          Address on File
MARTINEZ, CAHERI                          Address on File
MARTINEZ, CAITLYN                         Address on File
MARTINEZ, CASEY                           Address on File
Martinez, Cecilia                         Address on File
MARTINEZ, CESAR                           Address on File
MARTINEZ, CHRISTINA                       Address on File
Martinez, Christopher                     Address on File
MARTINEZ, CINDY                           Address on File
MARTINEZ, CLAUDIA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, CORAL                           Address on File
Martinez, Cristel                         Address on File
MARTINEZ, CRISTIAN                        Address on File
Martinez, Cristian                        Address on File
MARTINEZ, CYNTHIA                         Address on File
MARTINEZ, DANIELLE                        Address on File
MARTINEZ, DELORES                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Martinez, Denia                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, DIANA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, DIANA                           Address on File
MARTINEZ, DORA                            Address on File
Martinez, Edwin                           Address on File
MARTINEZ, ELIZABETH                       Address on File
MARTINEZ, ELSA                            Address on File
Martinez, Erica                           Address on File
MARTINEZ, EUGENE                          Address on File
Martinez, Fanci                           Address on File
MARTINEZ, FELIPE                          Address on File
MARTINEZ, FELIX                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, FERNANDO                        Address on File
MARTINEZ, GABRIEL                         Address on File
MARTINEZ, GRACIELA                        Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
MARTINEZ, HECTOR                       Address on File
MARTINEZ, HERMILA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, IDA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, IRMA                         Address on File
Martinez, Isabel                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, IZELY                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Martinez, Jamie                        Address on File
MARTINEZ, JAVIER                       Address on File
MARTINEZ, JAVIER                       Address on File
Martinez, Jeremiah                     Address on File
MARTINEZ, JERRY                        Address on File
MARTINEZ, JESSEY                       Address on File
MARTINEZ, JESSICA                      Address on File
MARTINEZ, JESSICA                      Address on File
Martinez, Jessie                       Address on File
MARTINEZ, JESUS                        Address on File
MARTINEZ, JESUS                        Address on File
Martinez, John                         Address on File
Martinez, Johnny                       Address on File
Martinez, Jonah                        Address on File
MARTINEZ, JONATHAN                     Address on File
Martinez, Jose                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, JOSE                         Address on File
MARTINEZ, JOSEPH                       Address on File
Martinez, Josue                        Address on File
MARTINEZ, JUAN                         Address on File
Martinez, Juan                         Address on File
MARTINEZ, JUDY                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, KAREN                        Address on File
MARTINEZ, LILY                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Martinez, Lisset                       Address on File
Martinez, Luis                         Address on File
MARTINEZ, LUIS                         Address on File
MARTINEZ, MARCO                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, MARIA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, MARIA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, MARIA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MARTINEZ, MARIA                        Address on File
MARTINEZ, MARIA                        Address on File
Martinez, Maria                        Address on File
MARTINEZ, MARICRUZ                     Address on File
Martinez, Marissa                      Address on File
Martinez, Melanie                      Address on File
Martinez, Moises                       Address on File
Martinez, Monica                       Address on File
MARTINEZ, NADIA                        Address on File
MARTINEZ, NADYIA                       Address on File
Martinez, Noel                         Address on File
Martinez, Priscilla                    Address on File
MARTINEZ, RAFAEL                       Address on File
MARTINEZ, RAMON                        Address on File
MARTINEZ, RAMSES                       Address on File
MARTINEZ, RAUL                         Address on File
Martinez, Rey                          Address on File
MARTINEZ, RILEY                        Address on File
Martinez, Rodrigo                      Address on File
MARTINEZ, ROGELIO                      Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                          Name                                     Address 1                          Address 2                Address 3                    City   State    PostalCode   Country
MARTINEZ, ROGELIO                              Address on File
MARTINEZ, SANDRA                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
MARTINEZ, SANDRA                               Address on File
MARTINEZ, SANDRA                               Address on File
MARTINEZ, SARA                                 Address on File
MARTINEZ, SILVIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Martinez, Tasha                                Address on File
MARTINEZ, TECUMSEH                             Address on File
Martinez, Tewa                                 Address on File
MARTINEZ, TIFFANIE                             Address on File
Martinez, Twila                                Address on File
MARTINEZ, VANESSA                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Martinez, Victoria                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
MARTINEZ, WESLEY                               Address on File
MARTINEZ, YANCY                                Address on File
MARTINEZ, YESENIA                              Address on File
Martinez, Yolanda                              Address on File
MARTINEZ‐CINTRON, JOHN                         Address on File
MARTINEZ‐GARCIA, MARIA                         Address on File
MARTINOUICH, ALEX                              Address on File
Martinsen, Vanessa                             Address on File
MARTZ, SARA                                    Address on File
MASAD, MAJID                                   5380 N BEACH ST                                                                                  HALTOM CITY        TX      76137
Mashburn, Cheyenne                             Address on File
MASNER, DUSTIN                                 Address on File
Mason JR, Robert                               Address on File
MASON, ANNETTE                                 Address on File
Mason, BellaRene                               Address on File
MASON, CLARENCE                                Address on File
Mason, Crystal                                 Address on File
MASON, DARRYL                                  Address on File
MASON, DAVID                                   Address on File
Mason, Derrick                                 Address on File
MASON, DON'TAY                                 Address on File
MASON, ELIZABETH                               Address on File
Mason, Jameria                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
MASON, LARRIAH                                 Address on File
Mason, Pamela                                  Address on File
MASON, REBEKAH                                 Address on File
Massachusetts Bay Insurance Company            440 Lincoln Street                                                                               Worcester          MA      1653
MASSEY, JACOB                                  Address on File
MASSINGILL, LYNZI                              Address on File
Masswadeh, Mimi                                Address on File
MASTEN, VICKIE                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
MASTERPIECE STONE INSTALLATION, INC            116 BOOMER RD                                                                                    SHAWNEE            OK      74804
MASTERSON, CLENTIS                             Address on File
MASTROGIA, MARY                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Mata, Esther                                   Address on File
MATA, EVA                                      Address on File
MATA, JOSE                                     Address on File
MATA, JOSE                                     Address on File
MATA, NELLIE                                   Address on File
MATA, NORMA                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Mata, Rocio                                    Address on File
Matehuala, Maria                               Address on File
MATELSKY, BRYANNA                              Address on File
MATEO, JULIA                                   300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062

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                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                               Consolidated Creditor Matrix

                      Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
MATEO, ONAXDA                         Address on File
MATHENA, JIMMY                        Address on File
Matheny, Amanda                       Address on File
MATHEWS III, WILFORD                  Address on File
Mathews, Felicia                      Address on File
MATHEWS, MAHOGANY                     Address on File
Mathews, Shealiegh                    Address on File
MATHEWS, STEPHEN                      Address on File
MATHEWSON, DANIEL                     Address on File
Mathis, Breshawna                     Address on File
MATHIS, CHANCE                        Address on File
MATHIS, FERLANDO                      Address on File
Mathis, Michael                       Address on File
Mathis, Niesha                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MATHIS, SHAQWANIA                     Address on File
Mathis, Taijah                        Address on File
MATHIS‐HAYWOOD, MONICA                Address on File
MATIYENGA, DO                         Address on File
MATIYENGA, STANLEY                    Address on File
Matl, Lawrence                        Address on File
MATLOCK, ANGELA                       Address on File
Matlock, Shafonda                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Matlock, Taylor                       Address on File
MATNEY, AMANDA                        Address on File
MATTHEWS, ANTOINE                     Address on File
Matthews, Ashley                      Address on File
Matthews, Cynthia                     Address on File
Matthews, Derril                      Address on File
Matthews, Diana                       Address on File
MATTHEWS, OLIVIA                      Address on File
Matts, Timothy                        Address on File
MATTSON                               383 VINTAGE PARK DR                                                                              FOSTER CITY      CA      94404
MATUL, ARACELI                        Address on File
MAULDIN, MATTHEW                      Address on File
MAULE, TAMERA                         Address on File
Maultsby, Hayden                      Address on File
Maumalanga, Brianna                   Address on File
Maupin, Austin                        Address on File
MAUPIN, SHAQUILLE                     Address on File
Mauricio, Jacquelyn                   Address on File
MAURICIO, MARIA                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Maurizzio, Heather                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MAXEY III, CURTIS                     Address on File
MAXEY, JAMAAL                         Address on File
Maxey, Zachary                        Address on File
Maxie, Ashton                         Address on File
MAXWELL, BRIAN                        Address on File
MAXWELL, KENNETH                      Address on File
MAXWELL, LESLIE                       Address on File
MAXWELL, LEXUS                        Address on File
MAXWELL, ROBERT J                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MAXWELL, SAMANTHA                     Address on File
MAXWELL, SHANTAE                      Address on File
May, Brandon                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MAY, DEBRA                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
May, Scott                            Address on File
MAY, SHYANN                           Address on File

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                                                                                       In re: Taco Bueno Restaurants Inc.., et al.
                                                                                              Consolidated Creditor Matrix

                          Name                                       Address 1                              Address 2                Address 3                  City   State    PostalCode   Country
Mayberry, Danaysha                               Address on File
MAYCUMBER, SEAN                                  Address on File
Mayers, Difranz                                  Address on File
MAYES, AIMEE                                     Address on File
MAYES, BROOKE                                    Address on File
MAYES, D'KENNA                                   Address on File
Mayes, Douglas                                   Address on File
Mayes, Elizabeth                                 Address on File
Mayes, Lacey                                     Address on File
MAYES, LEWAYNE                                   Address on File
MAYFIELD, BRITTANY                               Address on File
MAYFIELD, TRACY                                  Address on File
MAYHEW, AMBROSIA                                 Address on File
MAYHEW, PATRICIA                                 Address on File
Mayhew, Summer                                   Address on File
Mayhue, Audre                                    Address on File
Mayhue, Freddie                                  Address on File
MAYHUE, TAMESHIELLE                              300 East John Carpenter Freeway          Suite 800                                                   Irving           TX      75062
Maynard, Christopher                             Address on File
Maynard, Christopher                             Address on File
MAYNARD, JAMES                                   Address on File
MAYNARD, NATALIE                                 300 East John Carpenter Freeway          Suite 800                                                   Irving           TX      75062
MAYO DEMONSTRATION PTA                           MEGAN NSEIN                              1127 S COLUMBIA AVE                                         TULSA            OK      74104
MAYO HOOD, CARI                                  Address on File
MAYO, IVAN                                       Address on File
MAYO, JOHNNY                                     Address on File
MAYO, MISAEL                                     Address on File
MAYO, PARIS                                      Address on File
MAYORGA, ROBERTO                                 Address on File
MAYRY, JASON                                     300 East John Carpenter Freeway          Suite 800                                                   Irving           TX      75062
MAYS, ANTONIO                                    Address on File
MAYS, BRYAN                                      Address on File
MAYS, TIERRA                                     300 East John Carpenter Freeway          Suite 800                                                   Irving           TX      75062
Maysonet, Yarilys                                Address on File
Mazanowicz, Steven                               300 East John Carpenter Freeway          Suite 800                                                   Irving           TX      75062
MAZEROLLE, ASHLEY                                Address on File
Mazerolle, Sarah                                 300 East John Carpenter Freeway          Suite 800                                                   Irving           TX      75062
MB Financial Bank N.A.                           800 W Madison St                                                                                     Chicago          IL      60607
MC ARTHUR, TROY                                  Address on File
MC COULLUGH, DESHAUN                             Address on File
MCAFEE, CLARICE                                  Address on File
Mcafee, Kiyahh                                   Address on File
MCALISTER, SARAH                                 Address on File
MCALISTER, TRAVON                                300 East John Carpenter Freeway          Suite 800                                                   Irving           TX      75062
MCALLISTER, GABRIELLE                            Address on File
MCALLISTER, MELLISA                              Address on File
MCALLISTER, TOMMY                                Address on File
MCANANY, VAN CLEAVE, & PHILLIPS, P.A.            10 E. CAMBRIDGE CIRCLE DR. STE. 300                                                                  KANSAS CITY      KS      66103
McAuley, Brandon                                 Address on File
McAuliffe‐ Bevevino, Brandon                     Address on File
McAvoy, Isaac                                    300 East John Carpenter Freeway          Suite 800                                                   Irving           TX      75062
McBee, Terence                                   300 East John Carpenter Freeway          Suite 800                                                   Irving           TX      75062
MCBRAYER, BRENT                                  Address on File
McBrayer, Dyonnedre                              300 East John Carpenter Freeway          Suite 800                                                   Irving           TX      75062
McBrayer, LaDonna                                300 East John Carpenter Freeway          Suite 800                                                   Irving           TX      75062
McBrayer, Rayionna                               300 East John Carpenter Freeway          Suite 800                                                   Irving           TX      75062
MCBRIDE, ALYSSA                                  Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
MCBRIDE, HARRY                           Address on File
MCBROOM, MALEIK                          Address on File
MCBRYAR, KATIE                           Address on File
Mcburney, Haley                          Address on File
McBurney, Hayden                         Address on File
MCCABE, MICHAEL                          Address on File
Mccalister, Javonte                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MCCALISTER, SHA'KOLBI                    Address on File
Mccalister, Shalinda                     Address on File
McCall, Alexis                           Address on File
McCallay, Alicia                         Address on File
McCalley, Charles                        Address on File
MCCALLEY, DEKAETRON                      Address on File
MCCALLISTER, JASON                       Address on File
MCCALLISTER, VANESSA                     Address on File
MCCANN, BRITTNEY                         Address on File
MCCANN, JESSICA                          Address on File
McCargo, Taryn                           Address on File
MCCART, BRANTLEY                         Address on File
MCCARTER, ALEC                           Address on File
Mccarthy, Samantha                       Address on File
MCCARTY, MCKENZI                         Address on File
MCCARTY, PARKER                          Address on File
MCCARTY, QUINTON                         Address on File
McCarty, Shannon                         Address on File
MCCARTY, STEPHANIE                       Address on File
McCarty, Sydney                          Address on File
MCCASKEY, JERED                          23006 W 129TH ST S                                                                               SAPULPA          OK      74006
MCCASLIN, PAIGE                          Address on File
MCCAULEY, RACHEL                         Address on File
MCCAULEY, SELCER                         Address on File
McCausey, Bridget                        Address on File
McCay, Tonya                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
McClain, Adrian                          Address on File
MCCLAIN, ALEXANDER                       Address on File
MCCLAIN, ASHLEY                          Address on File
MCCLAIN, BRITTANY                        Address on File
McClain, Drayden                         Address on File
MCCLAIN, JORDAN                          Address on File
MCCLAIN, NATALIE                         Address on File
McClain, Tacoby                          Address on File
MCCLAIN, TOERAY                          Address on File
MCCLANAHAN, JACOB                        Address on File
McClaren, Angel                          Address on File
MCCLEARY, KYLE                           Address on File
Mcclellan, Arrion                        Address on File
Mcclellan, Jordan                        Address on File
McClellan, Skylar                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Mcclellan, Zachary                       Address on File
McClenan, James                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Mcclendon, Samantha                      Address on File
MCCLENNAN, KOREA                         Address on File
MCCLINTON, CHISTINA                      Address on File
MCCLOUD, LAKESHA                         Address on File
MCCLOUD, LASHONDA                        Address on File
MCCLUNG, LISA                            Address on File
MCCLURE, DEMETRIUS                       Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                          Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
MCCLURE, KALLIE                           Address on File
Mcclure, Xasia                            Address on File
MCCOLLUM, RACHEL                          Address on File
MCCOMBS, SIDNEY                           Address on File
Mcconnell, Dominic                        Address on File
MCCONNELL, PATRICK                        Address on File
McConnell, Richard                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
McCook, William                           Address on File
MCCORD, LATASHA                           Address on File
MCCORD, MIRANDA                           Address on File
McCormick, Jeremy                         Address on File
MCCOY, CANDICE                            Address on File
MCCOY, JASMINE                            Address on File
McCoy, Joel                               Address on File
MCCOY, LASHAUN                            Address on File
MCCOY, PAUL                               Address on File
MCCRARY, ANTWANIA                         Address on File
MCCRAY, TALIA                             Address on File
McCrery, Mathew                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
McCrohan, Ryan                            Address on File
McCrory, Shelby                           Address on File
McCullar, Derek                           Address on File
MCCULLOCH, SHERI                          Address on File
MCCULLOUGH, LINDSAY                       Address on File
MCCULLOUGH, MICHAEL                       Address on File
McCullough, Shashoni                      Address on File
McCully, Brittany                         Address on File
Mccully, Josh                             Address on File
McCully, Shannon                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MCCULLY, TABATHA                          Address on File
MCCUNE, JOHNATHAN                         Address on File
MCCUNE, TYLER                             Address on File
McCurdy, JoAnna                           Address on File
MCCUTCHAN JR, ROBERT L                    212 SW 132ND ST                                                                                  OKLAHOMA CITY   OK      73170
MCDANIEL, DE'ANDRIA                       Address on File
Mcdaniel, Debbie                          Address on File
McDaniel, Kaleb                           Address on File
MCDANIEL, MICHEAL                         Address on File
MCDANIEL, REBECCA                         Address on File
McDaniel, Samantha                        Address on File
McDaniel, Shalisa                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
McDaniels, Elexus                         Address on File
MCDAVID, KELVIN                           Address on File
McDonald Electric                         Address Unknown
Mcdonald, Bryce                           Address on File
MCDONALD, BRYCE                           Address on File
MCDONALD, CHARI                           Address on File
MCDONALD, CLINT                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
McDonald, Dionysus                        Address on File
Mcdonald, Joanna                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MCDONALD, JOSHUA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MCDONALD, KASI                            Address on File
McDonald, Kaylin                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
McDonald, Kevin                           Address on File
McDonald, Molly                           Address on File
Mcdonald, Monica                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MCDONALD, PATRICIA                        Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                      Name                                 Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
McDonald, Robert                       Address on File
MCDONALD, SHAERICA                     Address on File
MCDONALD, STEPHON                      Address on File
MCDONALD, TIMOTHY                      Address on File
MCDONALD, WESLEY                       Address on File
MCDONIEL, RAIN                         Address on File
Mcdonough, Liam                        Address on File
MCDOUGAL, DAKOTA                       Address on File
McDowell, Maximilian                   300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
McElfresh, Haven                       Address on File
McElhaney, Bryan                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Mcelhaney, Hayley                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MCELROY, DESHANIA                      Address on File
McElroy, Lindsey                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
McElvain, Robert                       Address on File
MCELYEA, GERRY                         Address on File
McEntire, Morgan                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MCEUNN, COURTNEY                       Address on File
MCFADDEN, KARL                         Address on File
MCFADDEN, TAE                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MCFALLS, FELICIA                       Address on File
MCFARLAND, GEORGIA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MCFARLIN PLUMBING                      DBA MCFARLIN PLUMBING                800594 S. HWY 18                                            TRYON           OK      74875
MCFRAZIER, BRASHA                      Address on File
MCGANN, CASSANDRA                      Address on File
McGarrah, Dustin                       Address on File
McGary, Nicole                         Address on File
MCGAUGHY, TODD                         Address on File
MCGEE, ANNA                            Address on File
McGee, Atlanta                         Address on File
McGee, Brandon                         Address on File
Mcgee, Brendia                         Address on File
MCGEE, CHARMETREA                      Address on File
MCGEE, DAKOTA                          Address on File
MCGEE, DANGELA                         Address on File
McGee, Dawna                           Address on File
McGee, Errial                          Address on File
Mcgee, James                           Address on File
MCGEE, PAIGE                           Address on File
MCGEE, SHANNA                          Address on File
McGee, Wayne                           Address on File
MCGEHEE, ANGELIQUE                     Address on File
McGill, Paula                          Address on File
MCGINNIS WELDING SUPPLY CO.            DBA MCGINNIS WELDING SUPPLY CO.      400 GALVESTON ST.                                           WICHITA FALLS   TX      76301
MCGINNIS, CHARLES                      Address on File
MCGINNIS, KYLIE                        Address on File
McGirt, Stephanie                      Address on File
Mcgirt, Wajennah                       Address on File
MCGLORIE, MATTHEW                      Address on File
MCGLORIE, RYAN                         Address on File
MCGLOTHLIN, MELISSA                    Address on File
MCGOUGH, ARLIS                         Address on File
MCGOWAN, COLE                          Address on File
MCGOWAN, KAYMERA                       Address on File
McGrath, Caleb                         Address on File
MCGRILLIS, TAYLOR                      Address on File
MCGRUDER, MOSHARE                      Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                       Name                                    Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
Mcgruder, Shamariyea                       Address on File
MCGUE, SHIESHA                             Address on File
MCGUIRE LOCK & SAFE                        4800 NE VIVION RD.                                                                               KANSAS CITY       MO      64119
McGuire, Aaron                             Address on File
MCGUIRE, AMANDA                            Address on File
McGuire, Hailie                            Address on File
MCGUIRE, JACKSON                           Address on File
Mcguire, Katherin                          Address on File
MCGUIRE, KIMBERLY                          Address on File
MCGUIRE, RICHARD                           Address on File
MCGUIRE, SANDY                             Address on File
MCGUIRE, STEVEN                            Address on File
MCHENRY, DAUNDRE                           Address on File
McHenry, Dazmine                           Address on File
MCHENRY, JAMES                             Address on File
McHugh, Melinda                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Mcinnis, Travon                            Address on File
McIntire, Dakota                           Address on File
MCINTOSH, AARON                            Address on File
MCINTOSH, GENE                             Address on File
MCINTOSH, JESSICA                          Address on File
MCINTOSH, JOSHUA                           Address on File
MCINTOSH, MICHAEL                          Address on File
MCINTOSH, RANDALL                          Address on File
MCINTOSH, RYAN                             Address on File
MCINTOSH, TABITHA                          Address on File
MCINTOSH, ZOE                              Address on File
Mcinturff, Robert                          Address on File
McIntyre, Jennifer                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Mcintyre, JoNathan                         Address on File
Mcintyre, Lakeba                           Address on File
Mcintyre, Richelle                         Address on File
MCINTYRE, THERESA                          Address on File
Mciver, Quincy                             Address on File
MCJIMSON‐GREEN, KIERRA                     Address on File
MCJOYFUL LIGHTS LLC                        HARBOR LIGHTS                        5200 KELLER SPRINGS RD #1120                                DALLAS            TX      75248
MCJUNKINS, DARRELL                         Address on File
McKay, Clayton                             Address on File
McKay, Marcus                              Address on File
McKee, Wanda                               Address on File
Mckelroy, Janice                           Address on File
McKenna, Connor                            Address on File
McKenna, Madison                           Address on File
McKennon, Justin                           Address on File
MCKENZIE, ALEXANDRIA                       Address on File
Mckenzie, Mariah                           Address on File
Mckinley, Michael                          Address on File
MCKINNEY HIGH SCHOOL CHOIR BOOSTER CLUB    SANDY PROWANT                        PO BOX 124                                                  MCKINNEY          TX      75070
MCKINNEY, CASEY                            Address on File
MCKINNEY, CHASMINE                         Address on File
MCKINNEY, DAVONTAE                         Address on File
McKinney, DeAundra                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
MCKINNEY, FONDRAE                          300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Mckinney, Fondrae                          Address on File
MCKINNEY, JAMAL                            Address on File
MCKINNEY, SHAWN                            Address on File
MCKINNIE, CHRISTOPHER                      Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                   City   State PostalCode   Country
MCKITRICK, DAVID                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Mcknight, Ashley                         Address on File
MCKNIGHT, BRAYDON                        Address on File
MCKNIGHT, COREY                          Address on File
MCKNIGHT, DEJA                           Address on File
MCKNIGHT, JERONY                         Address on File
Mckoy, Megan                             Address on File
MCLAIN, JORDAN                           Address on File
McLain, Linsey                           Address on File
MCLAUGHLIN, MATTHEW                      Address on File
MCLAURIN, KEZIA                          Address on File
MCLAY, MARCUS                            Address on File
MCLENNAN CPO BOX 406                     PO BOX 406                                                                                       WACO              TX   76703
MCLEOD, DORIS                            Address on File
McLeod, Garrett                          Address on File
MCLEOD, SARA                             Address on File
Mcleod, Tyrique                          Address on File
Mcmackin, Drake                          Address on File
MCMAHAN, DEMARQUIS                       Address on File
Mcmaster, Makayla                        Address on File
McMasters, Michael                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Mcmeans, Sheila                          Address on File
MCMILLAN, CHRISTOPHER                    Address on File
MCMILLAN, DANIEL                         Address on File
MCMILLAN, ELIZABETH                      Address on File
MCMILLEN, RAIANN                         Address on File
McMinn, Anna                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
McnABB, Johnny                           Address on File
McNack, Lanell                           Address on File
MCNALLY, CONNOR                          Address on File
MCNALLY, JOSHUA                          Address on File
MCNATT, HAYLIE                           Address on File
McNeal, Lorenzo                          Address on File
Mcneely, Ashley                          Address on File
Mcneese, David                           Address on File
MCNEIL ELEMENTARY                        BRANDI BARNHILL                      3650 HARDIN RD                                              MCKINNEY          TX   75070
MCNEIL, CHRISTOPHER                      Address on File
Mcneill, Kelsey                          Address on File
MCNELIS, KELSI                           Address on File
MCNEW, JASON                             Address on File
MCNUTT, CRYSTAL                          Address on File
Mcphail, Michael                         Address on File
MCPHERSON, AMANDA                        Address on File
MCPHERSON, BAILEY                        Address on File
MCPHERSON, JUSTIN                        Address on File
MCQUISTON, ANGELA                        Address on File
McRae, A'Drienna                         Address on File
McRavion, De'Von                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
MCREYNOLDS, DEALLEN                      Address on File
McReynolds, Mariah                       Address on File
MCREYNOLDS, WILLIAM                      Address on File
McShane, Aspen                           Address on File
MCSWAIN, CHRISTINA                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
McVay, Mary                              Address on File
Mcvea, Aubrianna                         Address on File
McVea, Michael                           Address on File
McVeigh, Richard                         Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                       Name                                  Address 1                          Address 2                               Address 3                   City   State    PostalCode   Country
MCWHERTER, GARY                          Address on File
MCWHORTER 108 COMMUN                     108 COMMUNITY BLVD.                                                                                             LONGVIEW          TX      75605
MCWHORTER, TARIK                         Address on File
McWilliams, Dimitry                      Address on File
MD MANAGEMENT REAL ESTATE DEVELOPMENT    5201 JOHNSON DR STE 100                                                                                         MISSION           KS      66205
Meacham, Abigail                         Address on File
Mead, Caedon                             Address on File
MEADE, CHRISTINA                         Address on File
MEADOWS, DESIREE                         Address on File
Meadows, James                           Address on File
Meadows, Kernisha                        Address on File
Mealor, Jamie                            Address on File
Means, Darrius                           Address on File
MEANS, JACOB                             Address on File
MEANS, PAUL                              Address on File
MEDARIS, STEVEN                          Address on File
MEDCOR INC.                              P.O. BOX 75570                                                                                                  CLEVELAND         OH      44101‐4755
Medecke, Spirit                          Address on File
MEDICINE CROW, MEGAN                     Address on File
MEDINA, ADRIAN                           Address on File
Medina, Citlaly                          Address on File
MEDINA, COLETTE                          Address on File
MEDINA, CRISTINA                         Address on File
MEDINA, CRISTOBAL                        Address on File
MEDINA, ELITANIA                         Address on File
MEDINA, EMELIO                           Address on File
MEDINA, ERICA                            Address on File
Medina, Ethan                            Address on File
MEDINA, JOHNNY                           Address on File
MEDINA, JUAN                             Address on File
MEDINA, LETICIA                          300 East John Carpenter Freeway      Suite 800                                                                  Irving            TX      75062
MEDINA, MARGARITA                        300 East John Carpenter Freeway      Suite 800                                                                  Irving            TX      75062
MEDINA, MAYELA                           Address on File
Medina, Mikaila                          Address on File
Medina, Omar                             Address on File
Medina, Samantha                         300 East John Carpenter Freeway      Suite 800                                                                  Irving            TX      75062
MEDINA, SARAI                            Address on File
Medley, Anthony                          300 East John Carpenter Freeway      Suite 800                                                                  Irving            TX      75062
MEDLEY, KYLIE                            Address on File
MEDRANO, ALEJANDRO                       Address on File
MEDRANO, CHEYENNE                        Address on File
Medrano, Estefanie                       Address on File
MEDRANO, ISIDRO                          Address on File
MEDRANO, JACQUELYN                       Address on File
MEDRANO, JOHN                            Address on File
MEEHAN, TYLER                            Address on File
Meek, Heather                            Address on File
MEEKER, TIM                              Address on File
MEEK'S LITHOGRAPHING COMPANY             MEEKS GROUP                          6913 E 13TH ST                                                             TULSA             OK      74112
Meeks, Demontre                          Address on File
MEEKS, MERIYA                            Address on File
MegaMex                                  12535 Enfield Park                   Mose Munro                                 Nat. Accts. Manager             San Antonio       TX      78232
MEGAN SALES CHICKASHA OUTLAWS            1027 S 18TH ST                                                                                                  CHICKASHA         OK      73018
Megason, David                           Address on File
Mehagan, Donovan                         Address on File
MEISENBURG, JOSHUA                       Address on File
MEISENHEIMER, STEVEN                     Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
MEISNER, JUSTIN                        Address on File
MEJIA ROBLES, MAIRA                    Address on File
Mejia Suarez, Cecilia                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Mejia, Alison                          Address on File
Mejia, Benjamin                        Address on File
MEJIA, FLORINDA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MEJIA, NERIS                           Address on File
MEJIA, XENIA                           Address on File
MELAKU, FASIKA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MELAKU, FASIKA                         Address on File
MELANSON, SIERRA                       Address on File
Melchor Rojas, Nicole                  Address on File
Melchor, Erick                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MELDA, AARON                           Address on File
Melendez, Karen                        Address on File
MELENDREZ, ZACHARY                     Address on File
MELICK, RYAN                           Address on File
MELLEN, SEAN                           Address on File
Mellor, Michael                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Melton, Athena                         Address on File
MELTON, EMERSON                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MELTON, JOHN                           Address on File
Melton, Justin                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MEMBRENO, CRISTIHAM                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MEMBRENO, CRISTINO                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Membreno, Maria                        Address on File
MENA, JUAN                             Address on File
Menard, Madyson                        Address on File
MENASCO, CHALESE                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MENCHACA, JESUS                        Address on File
Mendenhall, Angelo                     Address on File
MENDEZ, AURA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Mendez, Brenda                         Address on File
Mendez, Crysta                         Address on File
MENDEZ, DIANA                          Address on File
Mendez, Jessica                        Address on File
MENDEZ, KRYSTAL                        Address on File
Mendez, Librado                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Mendez, Lilian                         Address on File
MENDEZ, LUZ                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MENDEZ, MICHOLE                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Mendez, Nichole                        Address on File
MENDEZ, RAQUEL                         Address on File
Mendez, Tabitha                        Address on File
MENDEZ, THERESA                        Address on File
MENDEZ, VICTOR                         Address on File
MENDEZ, XAHIL                          Address on File
MENDO, JORGE                           Address on File
MENDOZA BAUTISTA, PERLA                Address on File
MENDOZA PANTOJA, MARIA                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Mendoza, Aaron                         Address on File
MENDOZA, ANAYELI                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Mendoza, Carlos                        Address on File
MENDOZA, CRISTOPHER                    Address on File
MENDOZA, DESIREE                       Address on File
Mendoza, Elvia                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Mendoza, Isaiah                        Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
MENDOZA, ISMAEL                         Address on File
MENDOZA, JANIA                          Address on File
MENDOZA, JOSE                           Address on File
MENDOZA, JUAN                           Address on File
Mendoza, Keven                          Address on File
MENDOZA, LAURA                          Address on File
MENDOZA, LORENA                         Address on File
Mendoza, Luis                           Address on File
MENDOZA, MARCUS                         Address on File
MENDOZA, MARGARITA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MENDOZA, MARIA                          Address on File
MENDOZA, MARISSA                        Address on File
Mendoza, Mary                           Address on File
MENDOZA, NATALIA                        Address on File
MENDOZA, OMAR                           Address on File
Mendoza, Roy                            Address on File
MENDOZA, SILVESTRE                      Address on File
Meneely, Shawnees                       Address on File
MENEFEE, FELICIA                        Address on File
MENEFEE, STANLEY                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MENESES, KUENTIN                        Address on File
Meneses, Seungmina                      Address on File
MENNSFIELD, AARON                       Address on File
Menschner, Connor                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MEQUIZ, ANICIA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Meraj, Ariba                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MERAZ, NOEMY                            Address on File
Mercadel, DeLawrence                    Address on File
Mercado, Maricela                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MERCADO, NORIDALY                       Address on File
Mercado, Sonia                          Address on File
MERCER, ANNA                            Address on File
MERCER, BRADLEY                         Address on File
MERCER, BRAXTON                         Address on File
MERCER, BRYSON                          Address on File
MERCHANT, JACKIE                        Address on File
MERCHANT, JODIE                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Merchant, John                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Merida, Diana                           Address on File
Merida, Diana                           Address on File
Merida, Francisco                       Address on File
Merida, Pablo                           Address on File
MERKLE, RAELYNN                         Address on File
Merl, Samantha                          Address on File
MERMILLIOD, SAMANTHA                    Address on File
Merrill Corporation                     300 Crescent Court                   Suite 650                                                   Dallas          TX      75201
MERRILL, ANDREW                         Address on File
MERRILL, GEORGE                         Address on File
MERRILL, JAI                            Address on File
Merrill, Samuel                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MERRITT, AARON                          Address on File
Merritt, Chad                           Address on File
MERRITT, JAKIRA                         Address on File
MERRITT, PATRICIA                       Address on File
MERRYMAN, PRESTON                       Address on File
MERTINS, JAMIE                          Address on File
Merworth, Jason                         Address on File

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                        Name                                       Address 1                         Address 2                             Address 3                  City    State    PostalCode   Country
MESQUITE ANIMAL PAWTNERS                      905 VIA AVENIDA                                                                                               MESQUITE          TX      75150
MESQUITE BUCCANEERS                           JESSIE MONROE                        4626 BRIDLEWOOD LANE                                                     BALCH SPRINGS     TX      75180
MESQUITE MOBILE POWERWASH                     905 MIRANDA DR                                                                                                MESQUITE          TX      75149
Mesquite Tax Fund                             757 N. Galloway Ave.                                                                                          Mesquite          TX      75149
Mesquite Tax Fund                             PO Box 850267                                                                                                 Mesquite          TX      75185‐0267
MESQUITE TP O BOX 85                          P O BOX 850267                                                                                                MESQUITE          TX      75185‐0267
MESSENGALE, KAYCIE                            Address on File
Messenger, Makala                             Address on File
Messenger, Mariah                             300 East John Carpenter Freeway      Suite 800                                                                Irving            TX      75062
MESSENGER, MEGAN                              Address on File
MESSER, MELISSA                               Address on File
Messick, Colby                                Address on File
METALOGIX INTERNATIONAL                       PO BOX 83304                                                                                                  WOBURN            MA      01813‐3304
METRO MUD                                     P O BOX 7580                                                                                                  THE WOODLANDS     TX      77387‐7580
METRO NORTH SQUARE, L.P.                      PO BOX 129                           C/O MD MANAGEMENT, INC.                    5201 JOHNSON DR.              SHAWNEE MISSION   KS      66201
METROPLEX REFRIGERATION INC.                  5224 KALTENBRUN                                                                                               FORT WORTH        TX      76119
METROPOLITAN UTILITIES DISTRICT               P.O. BOX 3600                                                                                                 OMAHA             NE      68103‐0600
Metz, Kimberly                                Address on File
Metzler, Cody                                 Address on File
Meyer, Clowey                                 Address on File
MEYER, JASMINE                                Address on File
MEYER, JENNIFER                               Address on File
Meyer, Jesus                                  Address on File
MEYER, KATHERINE                              Address on File
Meyer, Leah                                   Address on File
MEYER, PATRICK                                Address on File
MEYER, SUNSHINE                               Address on File
MEZA ESCALANTE, GRACIELA                      Address on File
MEZA, ANTONIO                                 Address on File
MEZA, DORIS                                   300 East John Carpenter Freeway      Suite 800                                                                Irving            TX      75062
MEZA, ILIANA                                  Address on File
Mezue, Collins                                Address on File
MICHAEL, GLASS                                300 East John Carpenter Freeway      Suite 800                                                                Irving            TX      75062
MICHAEL, TROY                                 Address on File
MICHAEL'S                                     4003 COLLEYVILLE BLVD.                                                                                        COLLEYVILLE       TX      76034
MICHAEL'S AIR CONDITIONING & HEATING INC.     606 W. CENTENNIAL                                                                                             ENID              OK      73701
Michel, Andrew                                Address on File
MICHEL, SAMUEL                                Address on File
MICKETT, DEVIN                                Address on File
MICRONICHE, INC.                              PO BOX 50128                                                                                                  EUGENE            OR      97405
MICROSOFT LICENSING GP                        1950 N. STEMMONS FWY. STE. 5010      LB#842467                                                                DALLAS            TX      75207
MID‐AMERIC3101 S. VAPO BOX 163                3101 S. VAN BUREN                    PO BOX 1632                                                              ENID              OK      73703‐8358
MIDDLETON, ANA                                Address on File
Middleton, Christopher                        Address on File
MIDDLETON, DOMINICK                           Address on File
Middleton, Matthew                            Address on File
MIDGETT, BRIANNA                              Address on File
MIDLAND LOAN SERVICES P.O. BOX 642303         6242 EAST 41ST STREET                                                                                         TULSA             OK      74135
MIDWEST LIGHTING INC                          919 W 38TH ST                                                                                                 CHICAGO           IL      60609
Mier, Gary                                    Address on File
Migdalski, Kameron                            Address on File
MIJARES, KRYSTAL                              Address on File
Mijarez, Matilde                              Address on File
MIKES, DAVIN                                  Address on File
MILAM, BROOKE                                 Address on File
Milam, Tyris                                  Address on File
MILES JR, BARAKAR                             Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                      Name                                    Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
MILES, BLUE                               Address on File
Miles, Charles                            Address on File
Miles, David                              Address on File
MILES, DEMARIO                            Address on File
MILES, ERIS                               Address on File
Miles, Shaqurra                           Address on File
MILESKI, ELISABETH                        Address on File
MILES‐OLIVER, HAYLEE                      Address on File
MILFORD, KAMBRIE                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MILHAM, TANNER                            Address on File
MILLBROOK ELEMENTARY PTO                  11751 S SUNNYBROOK BLVD                                                                          OLATHE          KS      66061
MILLENNIUM VENTURE GROUP, INC.            2240 BLAKE ST                        SUITE 200                                                   DENVER          CO      80205
MILLER JR., RONALD                        Address on File
Miller, Benjamin                          Address on File
Miller, Brandon                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Miller, Brian                             Address on File
MILLER, BROOKE                            Address on File
MILLER, CALVIN                            Address on File
Miller, Chloe                             Address on File
MILLER, DANIEL                            Address on File
MILLER, DASHAUNA                          Address on File
Miller, David                             Address on File
Miller, Donald                            Address on File
MILLER, EDWARD                            Address on File
MILLER, ELLEN                             Address on File
MILLER, ERIN                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MILLER, GABRIELLE                         Address on File
MILLER, HEATHER                           Address on File
Miller, Ian                               Address on File
MILLER, IRESIA                            Address on File
Miller, Jacob                             Address on File
MILLER, JEFFERSON                         Address on File
MILLER, JIKARI                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MILLER, JOANNE                            Address on File
MILLER, JOHN                              Address on File
Miller, Jouvondra                         Address on File
MILLER, KAREN                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Miller, Kaycee                            Address on File
MILLER, KELSEY                            Address on File
Miller, Kenn                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MILLER, KENNETH                           Address on File
MILLER, KYLE                              Address on File
MILLER, LANDON                            Address on File
MILLER, LEVI                              Address on File
MILLER, MATTHEW                           Address on File
MILLER, MCKENSIE                          Address on File
Miller, Nicholas                          Address on File
Miller, Quevius                           Address on File
MILLER, RACHEL                            Address on File
MILLER, ROBERT                            Address on File
MILLER, SANDY                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Miller, Sarafia                           Address on File
Miller, Sarah                             Address on File
MILLER, SHAUNA                            Address on File
Miller, Sheridan                          Address on File
MILLER, VERONICA                          Address on File
Miller, William                           Address on File

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                                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                 Consolidated Creditor Matrix

                            Name                                       Address 1                               Address 2                                Address 3                  City   State PostalCode   Country
Milliser, Brittany                                 300 East John Carpenter Freeway           Suite 800                                                                   Irving           TX   75062
MILLS, BRITTANY                                    Address on File
Mills, Candice                                     Address on File
Mills, Eugene                                      Address on File
MILLS, JAKE                                        Address on File
MILLS, JEREMY                                      Address on File
Mills, Jeremy                                      Address on File
MILLS, KEVIN                                       Address on File
MILLS, NACONA                                      Address on File
MILLS, NATHAN                                      Address on File
MILLS, SHARDE                                      Address on File
Millsap, Joshua                                    Address on File
MILLSAPS, DUSTIN                                   Address on File
MILLWEE, SHELBEE                                   Address on File
MILNER, SHAWN                                      Address on File
MILSAP, MISTY                                      Address on File
Milton, Breona                                     Address on File
Milton, Khalia                                     Address on File
Mims, Abram                                        Address on File
MIMS, AMANDA                                       Address on File
MIMS, CHASITIE                                     Address on File
Mims, Devin                                        Address on File
Mims, Frankie                                      Address on File
MIMS, MERLENA                                      Address on File
Mims, Stephen                                      Address on File
Mindieta, Elysa                                    Address on File
MINER, REBEKAH                                     Address on File
Miner, Shanun                                      300 East John Carpenter Freeway           Suite 800                                                                   Irving           TX   75062
MING, KEATON                                       Address on File
Ming, Michelle                                     300 East John Carpenter Freeway           Suite 800                                                                   Irving           TX   75062
MINGS, JAMES                                       300 East John Carpenter Freeway           Suite 800                                                                   Irving           TX   75062
MINIHAN, STACY                                     Address on File
Mink, Michael                                      Address on File
Minnitt, Sheddrick                                 Address on File
MINOR, DEELAIYA                                    Address on File
Minor, Leslie                                      Address on File
Minor, Melody                                      Address on File
Minor, Timarcus                                    Address on File
MIRAMONTEZ, ANJELICA                               Address on File
Miranda, Francisco                                 Address on File
MIRANDA, JACQUELINE                                Address on File
MIRANDA, JENNIFER                                  Address on File
MIRANDA, JONATHON                                  Address on File
MIRANDA, VICTOR                                    Address on File
Mireles / DBA Culinary Kitchen & Beyond, Raquel    2513 Hickory Ridge Drive                                                                                              Plano            TX   75093
MIRELES, JOSE                                      Address on File
MIRELES, MARTHA                                    Address on File
MIRO, OLADELE                                      Address on File
MIRUS INFORMATION TECHNOLOGY SERVICE               820 GESSNER                               STE 1600                                                                    HOUSTON          TX   77024
MISFIT BRANDS LLC                                  ATTN JORDAN WOLLMAN                       P O BOX 294438                                                              LEWISVILLE       TX   75029
Missouri Department of Revenue                     Harry S Truman State Office Building      Taxation Division                          Taxation Division                Jefferson City   MO   65101
Missouri Department Of Revenue                     301 W. High St.                           Rm. 330                                                                     Jefferson City   MO   65105‐0330
Missouri Department of Revenue                     Taxation Division                         PO Box 3300                                                                 Jefferson City   MO   65105‐3300
Missouri Department of Revenue                     P.O. Box 3300                                                                                                         Jefferson City   MO   65105‐3300
MISSOURI DEPT OF REVENUE                           P O BOX 3365                                                                                                          JEFFERSON CITY   MO   65105‐3365
MISSOURI DIRECTOR OF REVENUE                       P. O. BOX 3020                                                                                                        JEFFERSON CITY   MO   65105‐3020
MISSOURI GAS ENERGY                                DRAWER 3                                                                                                              ST. LOUIS        MO   63171

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                        Name                                    Address 1                           Address 2                Address 3                  City   State PostalCode   Country
MISSOURI LOGOS                              3702 W. TRUMAN BLVD., STE 122                                                                     JEFFERSON CITY   MO 65109
MISSOURI STATE TREASURER                    UNCLAIMED PROPERTY ADMINISTRATOR      P. O. BOX 1272                                              JEFFERSON CITY   MO 65102‐1272
MITCHAM, BETHANY                            Address on File
Mitchell Jr, Darrell                        Address on File
Mitchell, Aletha                            Address on File
Mitchell, Amber                             Address on File
MITCHELL, CHARLES                           Address on File
Mitchell, DeAngila                          300 East John Carpenter Freeway       Suite 800                                                   Irving           TX   75062
MITCHELL, DECARLO                           Address on File
MITCHELL, DENNIS                            Address on File
MITCHELL, DEVONTA                           Address on File
Mitchell, Devonte                           300 East John Carpenter Freeway       Suite 800                                                   Irving           TX   75062
Mitchell, Ebony                             Address on File
Mitchell, Eric                              Address on File
MITCHELL, ERIN                              Address on File
Mitchell, Heather                           Address on File
Mitchell, Jacob                             Address on File
MITCHELL, JAMES                             Address on File
MITCHELL, JEFFREY                           Address on File
MITCHELL, JOBARA                            Address on File
MITCHELL, JULIAN                            300 East John Carpenter Freeway       Suite 800                                                   Irving           TX   75062
MITCHELL, KAILEI                            Address on File
MITCHELL, KENDALL                           Address on File
Mitchell, Kinnon                            300 East John Carpenter Freeway       Suite 800                                                   Irving           TX   75062
MITCHELL, LAURYN                            Address on File
MITCHELL, MADISON                           Address on File
Mitchell, Marion                            Address on File
MITCHELL, MARKETTA                          Address on File
MITCHELL, MELVIN                            Address on File
Mitchell, Monique                           Address on File
MITCHELL, NATANIA                           Address on File
Mitchell, Norma                             300 East John Carpenter Freeway       Suite 800                                                   Irving           TX   75062
Mitchell, Savanna                           Address on File
Mitchell, Siyah                             Address on File
MITCHELL, TEYANNIA                          Address on File
MIZE, BECKY                                 Address on File
Mizzelle, Matthew                           Address on File
MJ LEWIS AND ASSOCIATES INC.                707 W WALNUT                                                                                      DUNCAN           OK   73533
MJJS, LLC                                   12006 Slide Road                                                                                  Lubbock          TX   79424
MN Square Holdings, LLC                     5201 Johnson Drive                    Suite 100                                                   Mission          KS   66205
Moad, Storie                                300 East John Carpenter Freeway       Suite 800                                                   Irving           TX   75062
MOAK, JULIE                                 Address on File
MOBILE DATA LABS INC DBA MILE IQ            PO BOX 842681                                                                                     DALLAS           TX   75284‐2681
MOBILE MINI INC                             4646 EAST VAN BUREN ST 400                                                                        PHOENIX          AZ   85008
MOBILE SHRED IT LLC                         P O BOX 600835                                                                                    DALLAS           TX   75360
MOBLEY, BILL                                300 East John Carpenter Freeway       Suite 800                                                   Irving           TX   75062
Mobley, Chyna                               Address on File
MOBLEY, TEYKIA                              Address on File
MOBO SYSTEMS, INC. DBA OLO                  26 BROADWAY                           FLOOR 24                                                    NEW YORK         NY   10004
MOCHE, LUCY                                 Address on File
MOCK, JAN                                   300 East John Carpenter Freeway       Suite 800                                                   Irving           TX   75062
Moctesuma, Edwin                            300 East John Carpenter Freeway       Suite 800                                                   Irving           TX   75062
Moctezuma, Gustavo                          300 East John Carpenter Freeway       Suite 800                                                   Irving           TX   75062
MODDER, CAROLYN                             Address on File
MODELISTE, KAYLA                            Address on File
MODESTO, KENNEDY                            Address on File
MODESTO, PRICILA                            Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State PostalCode   Country
MODX SYSTEMS LLC                        P O BOX 732451                                                                                   DALLAS          TX   75373‐2451
MOGHADAS, MARZIEH                       Address on File
MOHAMMED, MOHAMMED                      Address on File
MOHLER, ROBERT                          Address on File
MOHRMANN, CHRISTIANA                    Address on File
Mojica Pineda, Amilcar                  Address on File
MOJICA, GREGORIA                        Address on File
Mojica, Joshua                          Address on File
MOLAND, CHASITY                         Address on File
MOLEN, DELANA                           Address on File
MOLINA FLORES, ELISA                    Address on File
MOLINA MONDRAGON, MARIA                 Address on File
MOLINA SUASTEGUI, LEOPOLDO              Address on File
MOLINA, BRYAN                           Address on File
MOLINA, DENISE                          Address on File
MOLINA, GERRAN                          Address on File
Molina, Giovani                         Address on File
Molina, Isaiah                          Address on File
Molina, Jonathan                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
MOLINA, MARTHA                          Address on File
MOLINA, NATHAN                          Address on File
MOLINA, STELLA                          Address on File
MOLLMANS WATER                          P O BOX 95247                                                                                    OKLAHOMA CITY   OK   73143‐5247
MONAHAN, EMILY                          Address on File
MONASCO, WANDA                          Address on File
MONCADA, DENISSE                        Address on File
Mondragon, Mia                          Address on File
Mondragon, Michael                      Address on File
MONEY, CHARLES                          Address on File
Moneymaker, Jason                       Address on File
Mong, Jacey                             Address on File
MONGE, MARILYN                          Address on File
MONJIVAR, MARIANA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
MONK, TYSHEMA                           Address on File
MONREAL, ELSA                           Address on File
MONREAL, FRANCISCO                      Address on File
Monreal, Reyna                          Address on File
MONROE ELEMENTARY PTA                   MARY THOMAS                          4810 N LINN AVE                                             OKLAHOMA CITY   OK   73112
Monroe, Teri                            Address on File
MONROY, MARIBEL                         Address on File
Monse, Dalton                           Address on File
MONSIVIAS, ANGELINE                     Address on File
Montalvo, Andrew                        Address on File
Montanaro, Anthony                      Address on File
MONTANES, JOSE                          Address on File
MONTANEZ, ALBERT                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
MONTANEZ, JOSE                          Address on File
MONTANEZ, LESLY                         Address on File
MONTANO, CRUZ                           Address on File
MONTANO, FLORENCIA                      Address on File
Montano, Jesse                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
MONTEALVO, LETICIA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Monteer, Cole                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Montejo, Ariel                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
MONTELONGO, ELIZABETH                   Address on File
Montemayor, Britney                     Address on File
MONTENEGRO, ISRAEL                      Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
MONTERO, ALAN                            Address on File
Montero, Jocelyn                         Address on File
Monteros, Leticia                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MONTES, ERIKA                            Address on File
MONTES, GABRIEL                          Address on File
MONTES, HECTOR                           Address on File
MONTES, JAZMIN                           Address on File
MONTES, JOSEPH                           Address on File
MONTESINOS, ELIZABETH                    Address on File
MONTEVERDE, BERTHA                       Address on File
MONTGAMERY, DEMICHAEL                    Address on File
MONTGOMERY CROSSING LLC                  3535 WESTHEIMER RD                                                                               HOUSTON          TX      77027
Montgomery Crossing, LLC                 510 Bering Drive                     Suite 530                                                   Houston          TX      77057
MONTGOMERY, AUTUMN                       Address on File
MONTGOMERY, BRANDON                      Address on File
MONTGOMERY, DAWNA                        Address on File
Montgomery, Jilena                       Address on File
MONTGOMERY, MARKESHA                     Address on File
Montgomery, Nikole                       Address on File
MONTGOMERY, SPARKELL                     Address on File
MONTIEL, AMERICA                         Address on File
Montoya, Alexander                       Address on File
Montoya, Elias                           Address on File
MONTOYA, GENNIFER                        Address on File
MONTOYA, JULIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MOOD MEDIA                               P O BOX 71070                                                                                    CHARLOTTE        NC      28272‐1070
Mood:                                    Terri Valenta                        Regional Sales Manager
MOODY, DAVID                             Address on File
MOODY, JESSICA                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Moody, Jessica                           Address on File
Moody, Landon                            Address on File
Moody, Tiffany                           Address on File
MOODY, TONY                              Address on File
MOODY, TRAVIS                            Address on File
MOOMAW, APRIL                            Address on File
MOOMEY, SETH                             Address on File
Moon, Bradley                            Address on File
MOON, SHEENA                             Address on File
MOON, SKYLAR                             Address on File
Mooney, Cleo                             Address on File
Mooney, Darrell                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
MOONEY, STORMIE                          Address on File
MOOR, SYDNEY                             Address on File
MOORE BULLDOGS JEREMIAH RAY WOOTEN       4004 WESTEND AVE                                                                                 MOORE            OK      73160
MOORE ELEMENTARY SCHOOL PTA              MOORE PTA                            800 N BUTTERNUT                                             BROKEN ARROW     OK      74012
Moore Huff, Taihesha                     Address on File
MOORE LIONS GARDNER                      2321 SW 46TH STREET                                                                              OKLAHOMA CITY    OK      73119
MOORE PUBLIC SCHOOL ISD 1‐2              AMBER FLORENCE                       501 N SANTA FE                                              MOORE            OK      73160
MOORE SHOCKERS                           KARA HYDEN                           3909 COUNTRY CLUB DR                                        MOORE            OK      73160
MOORE SUPPLY COMPANY                     127 COULTER AVE                                                                                  ARDMORE          OK      19003
MOORE YANKEES                            MONICA AYRES                         6044 BLACKBIRD DR                                           TINKER AFB       OK      73145
Moore&VanAllen                           100 North Tryon Street               Suite 4700                                                  Charlott         NC      28202
Moore, Abbigal                           Address on File
MOORE, ALEXIA                            Address on File
Moore, Amanda                            Address on File
MOORE, AMANDA                            Address on File
MOORE, AMBER                             Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
MOORE, AMY                              Address on File
MOORE, AMY                              Address on File
MOORE, ASHLEY                           Address on File
MOORE, ASHLEY                           Address on File
MOORE, BARBIE                           Address on File
MOORE, BETHANY                          Address on File
Moore, BreAnna                          Address on File
MOORE, CHAGOIS                          Address on File
MOORE, CHARLES                          Address on File
MOORE, CHRISTI                          Address on File
MOORE, CHRISTINE                        Address on File
MOORE, CHRISTOPHER                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MOORE, CRYSTLE                          Address on File
Moore, Dafinnis                         Address on File
Moore, Darrius                          Address on File
MOORE, ELLA                             Address on File
MOORE, ISHTAH                           Address on File
MOORE, JACQUISHA                        Address on File
MOORE, JAHN                             Address on File
Moore, Jasmine                          Address on File
Moore, Jayla                            Address on File
Moore, Jeanetta                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MOORE, JEREMY                           Address on File
MOORE, JUSTIN                           Address on File
Moore, Justyc                           Address on File
Moore, Katina                           Address on File
Moore, Keith                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MOORE, MARIAH                           Address on File
Moore, Marie                            Address on File
MOORE, MELISSA                          Address on File
Moore, Michael                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MOORE, MICHAEL                          Address on File
MOORE, MICHAEL                          Address on File
MOORE, NICOLE                           Address on File
MOORE, PATRICK                          Address on File
Moore, Quincy                           Address on File
MOORE, RAYMOND                          Address on File
MOORE, REBECCA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MOORE, REBECCA                          Address on File
MOORE, RODRIQUEZ                        Address on File
MOORE, RYAN                             Address on File
Moore, Sarah                            Address on File
MOORE, SAVANNAH                         Address on File
Moore, Taihesha                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MOORE, TANJANIQUE                       Address on File
MOORE, TEVEN                            Address on File
MOORE, THOMAS                           Address on File
MOORE, TIERRA                           Address on File
MOORE, TOSHA                            Address on File
MOORE, TRYSTAN                          Address on File
Moore, Tyler                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MOORE, XAVIER                           Address on File
MOORELAND, DEVYN                        Address on File
MOORING, JOSH                           Address on File
MORA CONSTRUCTION INC                   P O BOX 154897                                                                                   IRVING          TX      75015
MORA, ANNA‐MARIE                        Address on File
Mora, Elizabeth                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062

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                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                               Consolidated Creditor Matrix

                      Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Mora, Jose                            Address on File
MORA, JOSEPH                          Address on File
MORA, MARIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Morado, Keison                        Address on File
Morain, Patrick                       Address on File
MORALES DE CARRERA, ALMA              Address on File
MORALES II, ERIC                      Address on File
MORALES MALDONADO, JOSEPH             Address on File
MORALES VENTURA, ROBERTO              Address on File
MORALES, ALMA                         Address on File
MORALES, ANGEL                        Address on File
MORALES, BERNA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Morales, Cristian                     Address on File
MORALES, EDWIN                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Morales, Francheska                   Address on File
MORALES, FRANK                        Address on File
MORALES, GENEVIEVE                    Address on File
MORALES, JASON                        Address on File
MORALES, JOE                          Address on File
Morales, Jose                         Address on File
MORALES, JUAN                         Address on File
MORALES, KAREN                        Address on File
Morales, Laura                        Address on File
MORALES, MARIA                        Address on File
MORALES, MARIA                        Address on File
MORALES, MARIA                        Address on File
MORALES, NANCY                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MORALES, NEYRA                        Address on File
MORALES, OLIVIA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MORALES, ROBERTA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MORALES, SARAH                        Address on File
MORALES, VICTOR                       Address on File
MORAN, ANDREA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MORAN, HAELY                          Address on File
Moran, Jose                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MORAN, QUINNITA                       Address on File
Morataya, Samantha                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MOREDIRECT INC                        PO BOX 536464                                                                                    PITTSBURGH      PA      15253‐5906
Moree, Zoe                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MOREHEAD, CASEY                       Address on File
MORELAND, DENNIS                      Address on File
MORELOS, DANNY                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MORENO, ADRIANNA                      Address on File
Moreno, Alexus                        Address on File
Moreno, Alfredo                       Address on File
MORENO, EMILIO                        Address on File
MORENO, ERICA                         Address on File
MORENO, FABIOLA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MORENO, GILBERT                       Address on File
MORENO, JESSICA                       Address on File
MORENO, JONATHAN                      Address on File
MORENO, JOSHUA                        Address on File
MORENO, JUAN                          Address on File
MORENO, MARCIA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MORENO, MARTHA                        Address on File
MORENO, MICHELLE                      Address on File
MORENO, MIREYA                        Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
MORENO, NESTOR                         Address on File
MORENO, OSCAR                          Address on File
MORENO, PRESTON                        Address on File
Moreno, Rakel                          Address on File
Moreno, Salvador                       Address on File
Moreno, Susana                         Address on File
MORENO, SYLVIA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MORENZETH, MICHELLE                    Address on File
Morey, Dale                            Address on File
MOREY, MICHAEL                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MOREY, SHANNON                         Address on File
MORGAN, ADDISON                        Address on File
MORGAN, ALEXANDRIA                     Address on File
Morgan, Antoinette                     Address on File
Morgan, Bryan                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Morgan, Christopher                    Address on File
MORGAN, JAZLYN                         Address on File
MORGAN, JENNIFER                       Address on File
Morgan, Joshua                         Address on File
Morgan, Katelyn                        Address on File
MORGAN, KELLY                          Address on File
Morgan, Krystina                       Address on File
MORGAN, LEKEISHA                       Address on File
Morgan, Lucas                          Address on File
Morgan, Moriah                         Address on File
Morgan, Reuben                         Address on File
MORGAN, ROMENE                         Address on File
MORGAN, SAMANTHA                       Address on File
Morgan, Steven                         Address on File
MORGAN, TRISTIAN                       Address on File
Morgan, Tylyn                          Address on File
Morgan, William                        Address on File
Morin, Lindsee                         Address on File
MORIN, SHYANNE                         Address on File
MORITA, STAR                           Address on File
Morken, Blain                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MORRELL, CHANCE                        Address on File
MORRIS, ANDREA                         Address on File
Morris, Antonio                        Address on File
Morris, Christopher                    Address on File
Morris, Haley                          Address on File
MORRIS, JAMES                          Address on File
MORRIS, JENIFER                        Address on File
Morris, Johnny                         Address on File
MORRIS, JOSHUA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Morris, Joshua                         Address on File
MORRIS, KAREN                          Address on File
Morris, Kaylin                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Morris, Kyle                           Address on File
Morris, Margo                          Address on File
Morris, Monica                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Morris, Nicholas                       Address on File
Morris, Noal                           Address on File
MORRIS, REAGAN                         Address on File
Morris, Ronsha                         Address on File
Morris, Sennamen                       Address on File
MORRISON SUPPLY CO                     P O BOX 70                                                                                       FORT WORTH      TX      76101

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                        Name                                    Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
MORRISON, ANTHONY                           Address on File
Morrison, Briana                            Address on File
MORRISON, CALEB                             Address on File
MORRISON, DANTE                             Address on File
MORRISON, FELISHA                           Address on File
MORRISON, SANDRA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Morrison, Steven                            Address on File
MORRISON, TAMMY                             Address on File
Morrow, Billy                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Morrow, Eurell                              Address on File
MORROW, JIMMY                               Address on File
MORROW, KIMBERLY                            Address on File
MORROW, MORESHA                             Address on File
MORROW, STEFAN                              Address on File
Morrow, Sydni                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Morse, Curtias                              Address on File
Morse, Yolita                               Address on File
Morton, Audra                               Address on File
Morton, Noah                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Morua, Brianda                              Address on File
MOSER, BEN                                  Address on File
Moses, Bj                                   Address on File
MOSES, BYANT                                Address on File
Moses, Cody                                 Address on File
MOSHER, STEPHANIE                           Address on File
MOSLEY, AARON                               Address on File
MOSLEY, BRICE                               Address on File
MOSLEY, DAWSON                              Address on File
Mosley, Devin                               Address on File
Mosley, Kaylia                              Address on File
MOSLEY, KEVIN                               Address on File
Mosley, Mckayla                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Mosley, Ray                                 Address on File
MOSLEY, SHAWNDRAMESIA                       Address on File
MOSS, DARIN                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Moss, DayJa                                 Address on File
MOSS, JAMES                                 Address on File
MOSS, JESSICA                               Address on File
MOSS, NOAH                                  Address on File
Mossiah, Raven                              Address on File
Mota, Jessica                               Address on File
MOTA, VALERIA                               Address on File
MOTEN, AARON                                Address on File
MOTES, DAVION                               Address on File
Mother Parkers Iced Tea                     Address Unknown
MOULDS, ROBERT                              Address on File
MOUNDS LITTLE LEAGUE FOOTBALL & CHEER       BOBBIE SMITH                         PO BOX 21                                                   MOUNDS          OK      74047
Mountain, Brent                             Address on File
Mountcastle, Sierra                         Address on File
MOURNING, TRACEY                            Address on File
MOUSE, LEON                                 Address on File
MOUTON, ALEX                                Address on File
MOWATT, TERESA                              Address on File
MOWLES, JEREMY                              Address on File
Mowrer, Collin                              Address on File
MOXLEY, MICHA                               Address on File
Moya, Carlos                                Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                       Name                                  Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Moye, Adriauna                           Address on File
MOYE, MAKIYAH                            Address on File
MOYER, CORY                              Address on File
Moyers, Hannah                           Address on File
Moynihan, Christopher                    Address on File
MR. ELECTRIC                             P.O.BOX 1146                                                                                     HEWITT          TX      76643
MRS BAIRD'P.O. BOX 8                     P.O. BOX 846243                                                                                  DALLAS          TX      75284‐6243
MUCHEMI, DANA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MUHSEN, SERIN                            Address on File
MUHUJWENIMANA, CLAUDE                    Address on File
MUIR, LADONNA                            Address on File
Mulanax, Akelsie                         Address on File
Mullen, Janarius                         Address on File
Mullen, Joseph                           Address on File
MULLER, JOBETTE                          Address on File
MULLICAN, LANEY                          Address on File
MULLICAN, THOMAS                         Address on File
MULLIN PLU118 S. ELM                     118 S. ELM PL                                                                                    BROKEN ARROW    OK      74012‐4031
MULLIN PLUMBING WEST DIVISION            2936 N SHIELDS                                                                                   MOORE           OK      73160
MULLIN, DARNISHA                         Address on File
MULLINS, CORA                            Address on File
Mullins, Jessica                         Address on File
MULLINS, KARA                            Address on File
Mullins, Mary                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MUMBA, CHOOLWE                           Address on File
MUMPI, FLAVIA                            Address on File
Mundell, Dylan                           Address on File
MUNDO, ROCIO                             Address on File
MUNGUIA, ALBA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MUNGUIA, ARIANNA                         Address on File
MUNGUIA, ESMERALDA                       Address on File
Munguia, Mariana                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MUNIER, KYLE                             Address on File
MUNOZ DE CALZADA, LETICIA                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MUNOZ JR, RAFAEL                         Address on File
MUNOZ, ALICIA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Munoz, Bryan                             Address on File
Munoz, Francisca                         Address on File
MUNOZ, GRACIELA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Munoz, Isaiah                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MUNOZ, JAVIER                            Address on File
MUNOZ, JOSE                              Address on File
MUNOZ, LETICIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MUNOZ, MAGDALENA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
MUNOZ, MARGARETT                         Address on File
MUNOZ, MIGUEL                            Address on File
MUNOZ, NATIVIDAD                         Address on File
MUNOZ, OLGA A                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Munoz, Pricila                           Address on File
Munoz, Ricardo                           Address on File
MUNOZ, VICTOR                            Address on File
MUNOZ‐CROW, PHILLIP                      Address on File
Murdock, Nicklaus                        Address on File
Murgatroyd, Danny                        Address on File
MURILLO, ELISEO                          Address on File
MURILLO, NICOLAS                         Address on File
Murimi, Shawn                            Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                        Name                                Address 1                           Address 2                Address 3                 City   State    PostalCode   Country
MURKIN, HANNAH                          Address on File
MURO, INOCENCIA                         Address on File
MURO, STEVEN                            Address on File
MURPHEY, DEAN                           Address on File
Murphy, Alicia                          Address on File
MURPHY, CLARENCE                        Address on File
MURPHY, DILLON                          Address on File
Murphy, Ellen                           Address on File
MURPHY, GERMAINE                        Address on File
Murphy, Heather                         Address on File
Murphy, JaKira                          Address on File
MURPHY, JAMIE                           Address on File
MURPHY, JORDAN                          Address on File
MURPHY, JOSHUA                          Address on File
Murphy, Kassandra                       300 East John Carpenter Freeway       Suite 800                                                   Irving          TX      75062
MURPHY, LATASHA                         300 East John Carpenter Freeway       Suite 800                                                   Irving          TX      75062
MURPHY, MICHAEL                         Address on File
MURPHY, PETER                           Address on File
MURPHY, QUAYLIS                         Address on File
Murphy, Samantha                        Address on File
MURPHY, STEPHEN                         Address on File
MURPHY, TANIA                           Address on File
MURPHY, THURSTON                        Address on File
Murray, Charla                          Address on File
MURRAY, CHRISTOPHER                     Address on File
Murray, Deunte                          Address on File
Murray, Phillip                         Address on File
MURRAY, RACHEL                          Address on File
Murray, Richard                         Address on File
Murray, Stephen                         Address on File
MURRIEL, TROY                           Address on File
MURRILLO, CRISTINA                      Address on File
MURRY, JESSICA                          Address on File
MURRY, KENNETH                          Address on File
MURRY, NELSON                           Address on File
MUSE, DAWNIETTA                         Address on File
MUSE, JABRI                             Address on File
MUSE, MICHELLE                          Address on File
MUSE, RIKKI                             Address on File
MUSE, SIDNEY                            Address on File
Musgrave, Brianna                       Address on File
MUSGROVE, MARION                        Address on File
MUSIC, JENNIFER                         Address on File
Muskogee County Treasurer               400 W Broadway St #220                                                                            Muskogee        OK      74401
Muskogee County Treasurer               PO Box 1587                                                                                       Muskogee        OK      74402‐1587
MUSKOGEE CPO BOX 158                    PO BOX 1587                                                                                       MUSKOGEE        OK      74402‐1587
MUSKOGEE CPO BOX 192                    PO BOX 1927                                                                                       MUSKOGEE        OK      74402‐1927
MUSTANG LIGHTING, INC.                  3520 W. MILLER RD., STE. 130                                                                      GARLAND         TX      75041
MUSTANG SUD                             7985 FM 2931                                                                                      AUBREY          TX      76227‐3940
MUSTIN, TYTIANNA                        Address on File
MUZAK LLC                               P. O. BOX 71070                                                                                   CHARLOTTE       NC      28272‐1070
Mwangi, Joygrace                        Address on File
MY TECH TEXAS LLC                       2201 LONG PRAIRIE RD STE 107‐153                                                                  FLOWER MOUND    TX      75022
MYATT, TANNER                           Address on File
Myeburger, Travis                       Address on File
Myer, Nickilis                          Address on File
MYERS, AKIYA                            Address on File

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                                                                                     In re: Taco Bueno Restaurants Inc.., et al.
                                                                                            Consolidated Creditor Matrix

                             Name                                   Address 1                             Address 2                Address 3                   City    State    PostalCode   Country
MYERS, ASHLEE                                   Address on File
MYERS, COLEENA                                  Address on File
MYERS, CORA                                     Address on File
MYERS, DOMINIQUE                                Address on File
Myers, Emmitt                                   Address on File
Myers, Jeffrey                                  Address on File
MYERS, KAITLIN                                  Address on File
Myers, Kimberly                                 Address on File
MYERS, MIKEL                                    Address on File
MYERS, PATRICIA                                 Address on File
MYERS, SHIRLEY                                  Address on File
MYERS, THOMAS                                   Address on File
MYERS, VANESSA                                  Address on File
Myers‐Reyes, Tina                               Address on File
MYLES, DARRELL                                  Address on File
Myles, Nina                                     Address on File
MYLES, TAMMIA                                   Address on File
MYRIE, LIFE                                     Address on File
N.E.S., INC.                                    619 N CASCADE AVE STE 200                                                                           COLORADO SPRINGS   CO      80903
NABIL, AHMED                                    300 East John Carpenter Freeway         Suite 800                                                   Irving             TX      75062
NABORS, JASON                                   Address on File
NAIL, BRIAN                                     Address on File
NAIL, BRITTANY                                  Address on File
NAILLIEUX, DANIEL                               Address on File
NAILLIEUX, TIFFANY                              Address on File
NAILS, LENEKA                                   Address on File
NAIMAN, LESLEY                                  Address on File
NAJERA, JESSICA                                 300 East John Carpenter Freeway         Suite 800                                                   Irving             TX      75062
NAJERA, MARIA                                   Address on File
Nakanashi, Cheyenne                             Address on File
NAKKULA, LISA                                   Address on File
Nalley, Lisa                                    Address on File
Namwaya, Natalie                                Address on File
NANCE, CHAD                                     Address on File
NANCE, JAMIE                                    Address on File
NANCE, MAGON                                    Address on File
NANKWANGA, REBECCA                              Address on File
NAPPER, ERIC                                    Address on File
NAPPS INDUSTRIES, INC.                          DBA NAPPS HEATING A/C AND PLUMBING      P. O. BOX 2546                                              LONGVIEW           TX      75606‐2546
Narez, Alexis                                   300 East John Carpenter Freeway         Suite 800                                                   Irving             TX      75062
Naro, Mary                                      300 East John Carpenter Freeway         Suite 800                                                   Irving             TX      75062
NARVAEZ, ADRIANA                                Address on File
NARVAIZ, GRISELDA                               300 East John Carpenter Freeway         Suite 800                                                   Irving             TX      75062
Nash, Jesse                                     Address on File
NASRIN, RABEYA                                  Address on File
NATHAN, CHELSEA                                 Address on File
NATIONAL DISTRIBUTIOIN SERVICE, INC.            616 TRADE CENTER BLVD                                                                               CHESTERFIELD       MO      63005
NATIONAL MAIL‐IT INC                            9151 YOUREE DR.                                                                                     SHREVEPORT         LA      71115
NATIONAL MILL DOG RESCUE                        PATTY HORN                              13030 HERRING RD                                            COLORADO SPRINGS   CO      80908
NATIONAL NOTARY ASSOCIATION                     P. O. BOX 541032                                                                                    LOS ANGELES        CA      90054‐1032
NATIONAL PLUMBING                               6600 NW EXPRESSWAY#103                                                                              OKLAHOMA CITY      OK      73132
NATIONAL PPO BOX 143                            PO BOX 14321                                                                                        TULSA              OK      74159
NATIONAL REFRIGERATION & A/C                    P.O. BOX 82‐0107                                                                                    PHILADELPHIA       PA      19182‐0107
NATIONAL RETAIL PROPERTIES INC                  450 S ORANGE AVE STE 900                                                                            ORLANDO            FL      32801
National Retail Properties, LP                  450 South Orange Ave                    Suite 900                                                   Orlando            FL      32801
NATIONAL WASTE & DISPOSAL INC.                  P.O. BOX 1828                                                                                       CATOOSA            OK      74015
NATION'S RESTAURANT NEWS                        10117 PRINCESS PALM DR                  STE 575                                                     TAMPA              FL      33610

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
NAUERT, SANDRA                         Address on File
Nault, Charlene                        Address on File
NAVA MORALES, JESUS                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
NAVA, ADELA                            Address on File
NAVA, ANGELA                           Address on File
NAVA, LUIS                             Address on File
NAVA, MARIA                            Address on File
Navarre, Christopher                   Address on File
NAVARRETE, GRACIELA                    Address on File
NAVARRETE, KEVIN                       Address on File
Navarrete, Ruby                        Address on File
Navarrete, Vanessa                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
NAVARRO, ALYSSA                        Address on File
NAVARRO, CHRISTIAN                     Address on File
NAVARRO, LORENA                        300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
NAVARRO, VERONICA                      Address on File
NAVAS, DIANA                           Address on File
NAVE, REMONTAE                         Address on File
NAVEJAS, EMILIANO                      Address on File
NAVEJAS, JUAN                          300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
NAVEJAS, THOMAS                        Address on File
NAWROT, THOMAS                         Address on File
NAY INVESTEMENTS, INC.                 PO BOX 61                                                                                        LONGVIEW          TX      75606
NCR CORPORATION                        PO BOX 198755                                                                                    ATLANTA           GA      30384‐8755
Ndayisenga, Gloriose                   Address on File
NE OKLAHOMA FUTBALL CLUB               EDDIE HUMES                          PO BOX 228                                                  OWASSO            OK      74055
NEAL, AUSTIN                           Address on File
NEAL, BRAD A                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
NEAL, DEMITRIUS                        Address on File
Neal, Derrick                          Address on File
NEAL, JERMICHEAL                       Address on File
Neal, Kirsten                          300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
NEAL, MARANDA                          Address on File
Neal, Morgan                           Address on File
Neal, Shannon                          Address on File
Neal, Tanner                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
NEAL, VALERIE                          Address on File
NEALY, ZANARI                          Address on File
NEALY, ZECHARI                         Address on File
Neash, Diondre                         Address on File
NEBLETT, NIGIL                         Address on File
NED, JEREMY                            Address on File
NEEDHAM, NICHOLAS                      Address on File
Neel, Haley                            Address on File
Neel, Jonathan                         Address on File
NEGRETE, MARIA                         Address on File
NEGRON, JOSE                           Address on File
Neighbors, Travis                      Address on File
NEILL, KEELI                           Address on File
NEILL, SETH                            Address on File
NEIRA, PETRA                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Neloms, Zachariah                      Address on File
NELSON, ALEXANDER                      Address on File
Nelson, Chablis                        Address on File
NELSON, CHRISTOPER                     Address on File
NELSON, DIANNA                         Address on File
NELSON, JAQYI                          Address on File

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                           Name                                  Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
NELSON, JASON                                Address on File
Nelson, Jessica                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Nelson, Jymece                               Address on File
NELSON, KYLE                                 Address on File
NELSON, SEAN                                 Address on File
NELSON, SHANI                                Address on File
NELSON, TAYLOR                               Address on File
NELSON, TYRELL                               Address on File
NEM, CING                                    Address on File
NEMESIS 7U FOOTBALL                          9101 IANS PLACE                                                                                  MOORE             OK      73160
NENA, CLYNE                                  Address on File
NERF, ROBERT                                 Address on File
NERI, ROSA                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Nesbitt, Brendon                             Address on File
Nesbitt, Sherri                              Address on File
Nesmith, Brett                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
NETRONIX INTEGRATIONS, INC.                  2170 PARAGON DR                                                                                  SAN JOSE          CA      95131
NEUMAN, JUSTIN                               Address on File
NEUMAN, SAVANNAH                             Address on File
NEVAREZ, FRANCESCA                           Address on File
NEVAREZ, REYNA                               Address on File
Neville Landwehr, Rita A                     9625 West Maple                                                                                  Wichita           KS      67209
NEVINS, ASHLEIGH                             Address on File
NEVINS, TAYLOR                               Address on File
New Central Forest S/C Partners, Ltd.        14001 Dallas Parkway                 11th Floor                                                  Dallas            TX      75240
NEW JR., ROBERT                              Address on File
NEW LIFE ASSEMBLY OF GOD                     BRANDY PEOPLES                       12215 N GARNETT RD                                          COLLINSVILLE      OK      74021
NEW WORLD UNTIED METHODIST CHURCH            2201 N DAVIS DR                                                                                  ARLINGTON         TX      76012
NEW, ROBIN                                   Address on File
NEWBERG, DANA                                Address on File
NEWBERRY, PATRICIA                           Address on File
NEWBERRY, SKYLAR                             Address on File
Newby, Shane                                 Address on File
Newell, Michael                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
NEWELL, TORRENCE                             Address on File
NEWMAN INTERNATIONAL ACADEMY                 SHARON STEPHENSON                    2011 SOUTH FIELDER RD                                       ARLINGTON         TX      76013
NEWMAN, BILLY                                Address on File
Newman, Brannon                              Address on File
Newman, Carol                                Address on File
NEWMAN, HEATHER                              Address on File
NEWMAN, JACOB                                Address on File
NEWMAN, JACOB                                Address on File
NEWMAN, JONATHAN                             Address on File
Newman, Kristofer                            Address on File
Newman, Rachell                              Address on File
Newman, Virginia                             Address on File
NEWSOME, SHERONDA                            Address on File
NEWSON, ANNETTRA                             Address on File
NEWSON, CAMERON                              Address on File
NEWSON, LATOYA                               Address on File
NEWSON, QUADRI                               Address on File
NEWSON, SHAJUAN                              Address on File
Newton, Devon                                Address on File
NEWTON, GARY                                 Address on File
NEWTON, GION'TREY                            Address on File
NEWTON, JOSHUA                               Address on File
Newton, Ty'Mari                              Address on File

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                                                                                      In re: Taco Bueno Restaurants Inc.., et al.
                                                                                             Consolidated Creditor Matrix

                        Name                                            Address 1                          Address 2                Address 3                  City   State PostalCode   Country
NEXSTAR BROADCASTING INC.                           P O BOX 840148                                                                                   DALLAS           TX   75284‐0148
NEYHART, KAYLA                                      Address on File
NFHS CLASS OF 2020                                  JENNIFER VARELA                      7101 LYNN DR                                                ROWLETT          TX   75088
Ngeya, Andraya                                      Address on File
NGIRABAKUNZI, SERUGO                                Address on File
NGO, TOAN                                           Address on File
NGO, TRUC‐LY                                        Address on File
Nguyen, Alex                                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
NGUYEN, CHARLIE                                     Address on File
NGUYEN, HAI                                         Address on File
Nguyen, Henry                                       Address on File
NGUYEN, KAITLYN                                     Address on File
NGUYEN, LANCE                                       Address on File
Nguyen, Morgan                                      Address on File
NICCUM, BRANDON                                     Address on File
Nicewarner, Christian                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
NICHIHA USA, INC.                                   3150 AVONDALE MILL RD                                                                            MACON            GA   31216
NICHOLAS V100 PARK A                                100 PARK AVENUE BUILDING #1204                                                                   OKLAHOMA CITY    OK   73102
Nichols Jr, Mickle                                  Address on File
Nichols, Claressa                                   Address on File
NICHOLS, DEBRA                                      Address on File
Nichols, Desiree                                    Address on File
NICHOLS, DOMINICK                                   Address on File
Nichols, James                                      Address on File
Nichols, Jessica                                    Address on File
Nichols, Madison                                    Address on File
NICHOLS, MICHAEL                                    Address on File
NICHOLS, YVONNE                                     Address on File
Nicholson Nash, Elisha                              Address on File
NICHOLSON, DAEJA                                    Address on File
Nicholson, Jacques                                  Address on File
NICKAS, ERIN                                        Address on File
NICKERSON, ANTONIO                                  Address on File
NICKERSON, CHRISTAL                                 Address on File
NICKERSON, ERMA                                     Address on File
Nickerson, Rosheryl                                 Address on File
Nickerson, Tiffany                                  Address on File
Nickerson, William                                  Address on File
Nickols, Corey                                      Address on File
Nicol, Angel                                        Address on File
NICOLL, TYLER                                       Address on File

NICSHE VENTURES, INC DBA MAC EXECUTIVE RECRUITERS   2500 LEGACY DR SUITE 206                                                                         FRISCO           TX   75034
NIEBUR, AMBER                                       Address on File
Nieder, Maxwell                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Nieder, Samuel                                      Address on File
Nieman, Matthew                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Niemann, Samantha                                   Address on File
NIETO, KYLE                                         Address on File
Nieves Nolasco, Rosa                                Address on File
Nieves, Cora L                                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
NIEVES, MILANO                                      Address on File
NILSEN, NICOLE                                      Address on File
Nimmons, Rebekah                                    Address on File
NINO, MATERESA                                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
NINO, WILLIAM                                       Address on File
Nipharack, Seth                                     Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                             Name                                    Address 1                        Address 2                Address 3                  City         State    PostalCode   Country
Nipper, Joshua                                 Address on File
Nisbett, Latonya                               300 East John Carpenter Freeway      Suite 800                                                   Irving                 TX      75062
NISHIMWE, PATRICK                              Address on File
Nitcholas, Tracey                              Address on File
NIX IV, BRAD                                   300 East John Carpenter Freeway      Suite 800                                                   Irving                 TX      75062
Nix, Amanda                                    Address on File
NIX, LATHAN                                    Address on File
Nix, Riley                                     300 East John Carpenter Freeway      Suite 800                                                   Irving                 TX      75062
Nixon, Jasmine                                 300 East John Carpenter Freeway      Suite 800                                                   Irving                 TX      75062
NOBLE, AHMAUD                                  Address on File
NOBLE, BRYAN                                   Address on File
NOBLE, KAYLA                                   300 East John Carpenter Freeway      Suite 800                                                   Irving                 TX      75062
Noble, Lilly                                   Address on File
Nobles, Tommy                                  Address on File
Noblin, Bradley                                300 East John Carpenter Freeway      Suite 800                                                   Irving                 TX      75062
Nofal, Omar                                    Address on File
NOLAN, DEVYN                                   Address on File
Nolan, Ethan                                   Address on File
Nolasco Muniz, Rosalia                         Address on File
Nolasco, Maria                                 300 East John Carpenter Freeway      Suite 800                                                   Irving                 TX      75062
NOLEN, ROBERT                                  Address on File
NOLEN, THOMAS                                  Address on File
NOLL, CHERI                                    Address on File
NOLLIE, O'SHAY                                 Address on File
NORFLEET, CEDRIC                               Address on File
NORGAARD, NICOLAS                              Address on File
NORL, SHEREKA                                  Address on File
NOR‐LAKE, INC.                                 29804 NETWORK PL                                                                                 CHICAGO                IL      60673‐1298
Norman, Justin                                 Address on File
NORMAN, KEOSHA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving                 TX      75062
Norman, Kiara                                  Address on File
Norman, Luke                                   Address on File
NORMAN, NATHAN                                 300 East John Carpenter Freeway      Suite 800                                                   Irving                 TX      75062
NORRIS, IRISHA                                 Address on File
NORRIS, TATYANA                                Address on File
Nor‐Tex A/C & Electrical                       Address Unknown
NORTH POINT ADVISORS, LLC                      580 CALIFORNIA ST., STE. 2000                                                                    SAN FRANCISCO          CA      94104
NORTH POINTE CHURCH YOUTH GROUP                2021 E PARK BLVD                                                                                 PLANO                  TX      75074
NORTH RICHLAND HILLS BAPTIST CHURCH            JO STRONG‐FINANCE DEPT               6955 BLVD 26                                                NORTH RICHLAND HILLS   TX      76180
North Richland Hills Police Dept               PO Box 820609                                                                                    North Richland Hills   TX      76182
North Richland Hills Police Dept               PO Box 840552                                                                                    Dallas                 TX      75284‐0552
North Richland Hills Police Dept               4301 City Point Drive                                                                            North Richland Hills   TX      76180
NORTH RICHLAND HILLS UTILITY                   BILLING DEPT                         P O BOX 961092                                              FORT WORTH             TX      76161‐1092
NORTH RIVERSIDE ELEMENTARY PTA                 ATTN: MICHELLE HAWKINS               7900 N RIVERSIDE DR                                         FORT WORTH             TX      76137
North Star Investment, LLC                     5150 Duck Creek Dr. Ste 107                                                                      Garland                TX      75043
NORTH TEXAS TILE INC.                          ROY RODRIGUEZ                        7324 CR 912                                                 JOSHUA                 TX      76058
NORTH, CHEYENNE                                Address on File
NORTH, DAKOTA                                  Address on File
NORTH, JAMES                                   Address on File
NORTHCUTT, HUDSON                              Address on File
NORTHCUTT, NOAH                                Address on File
NORTHCUTT, SHANE                               Address on File
NORTHCUTT, WILLIAM                             Address on File
NORTHEAST OK FUTBOL CLUB                       05 GIRLS‐U11 C/O GAIL FINNELL        9501 N MEMORIAL DR                                          OWASSO                 OK      74055
NORTHEAST OKLAHOMA FUTBALL CLUB                APRIL NEWELL                         PO BOX 2228                                                 OWASSO                 OK      74055
NORTHRUP, JASMINE                              Address on File
NORTHVIEW ELEMENTARY PTO                       905 N WALKER                                                                                     OLATHE                 KS      66061

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                Address 1                          Address 2                Address 3                  City   State PostalCode   Country
Norton Rose Fulbright US LLP               2200 Ross Avenue                     Suite 3600                                                  Dallas           TX   75201
NORTON, DUSTIN                             Address on File
Norton, Haylee                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Norton, Taylor                             Address on File
NORVELL, ERIC                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
NORVELL, JESSE                             Address on File
NORVELLE, FRANCIS                          Address on File
NORWOOD, AMOS                              Address on File
Norwood, Nicole                            Address on File
Norwood, Seth                              Address on File
Nosa‐Ogiugo, Igbeaku                       Address on File
Notch, Mark                                Address on File
Notch, Mason                               Address on File
Nottingham, Dylan                          Address on File
NOVACK, CHRISTIAN                          Address on File
NOVADINE                                   1400 SUNDAY DRIVE                    STE 103                                                     RALEIGH          NC   27607
Novotny, Derek                             Address on File
Nowell, Samantha                           Address on File
Nowlin, Coley                              Address on File
NOWLIN, HAYDEN                             Address on File
Nowlin, Jace                               Address on File
NOY, JOJUAN                                Address on File
Noyes, Eric                                Address on File
Ntephe, Eden                               Address on File
NUAM, MAN                                  Address on File
NUNES, EFRAIN                              Address on File
NUNEZ, DANIELA                             Address on File
NUNEZ, ESPERANZA                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Nunez, Jose                                Address on File
NUNEZ, ROSA                                Address on File
Nunley, Anthony                            Address on File
NUNLEY, BONNIE                             Address on File
NUNLEY, DEWAUNTE                           Address on File
NUNN, DANIEL                               Address on File
Nunn, Hillary                              Address on File
Nunnally, Nicholas                         Address on File
NUTTER‐PEIRCE, KEYANA                      Address on File
NWAGWU, TAVONNE                            Address on File
NWAIWU, PAUL                               Address on File
NY EXPRESS DRYWALL LTD                     3005 COMMERCE ST                                                                                 DALLAS           TX   75226
Nyama, Lenyuga                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
NYSA                                       CRYSTAL JARVIS                       1001 E ROBINSON ST                                          NORMAN           OK   73011
NZEAKOR, KINGSLEY                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
O CON, RICKIE                              Address on File
OAKES, CHYANNA                             Address on File
Oakes, Jacob                               Address on File
OAKLEY, ERIN                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
OAKLEY, ONASTASHIA                         Address on File
Oates, Paul                                Address on File
Obare, Dennis                              Address on File
Obier, Cody                                Address on File
O'BRIANT, KIMBERLY                         Address on File
O'BRIEN, SAMUEL                            Address on File
Obryan Jr, Ronny                           Address on File
OCAMPO, EDWIN                              Address on File
Ocampo, Rosa                               Address on File
OCASIO, CIARA                              Address on File

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                                                                                      In re: Taco Bueno Restaurants Inc.., et al.
                                                                                             Consolidated Creditor Matrix

                          Name                                      Address 1                              Address 2                Address 3                  City   State    PostalCode   Country
OCHIENG, TONDRA                                Address on File
OCHOA, ALEXIS                                  Address on File
OCHOA, MARIA                                   Address on File
Ochoa, Ruben                                   Address on File
Ochoa, Skylar                                  Address on File
OCHOA, ZAYURY                                  Address on File
OCUN, ABRAHAM                                  Address on File
Odell, Lacey                                   Address on File
O'DELL, TREVIAN                                Address on File
ODEMWINGIE, PETER                              Address on File
ODEN, DILLON                                   Address on File
ODIA, SOLOMON                                  300 East John Carpenter Freeway           Suite 800                                                   Irving           TX      75062
ODOM, CAROLYN                                  Address on File
Odom, Daylan                                   Address on File
Odom, Emily                                    Address on File
Odom, Natalie                                  Address on File
O'Donley, Tara                                 Address on File
ODONNELL, DAKOTA                               Address on File
ODONNELL, ELYSE                                Address on File
OE, HERSHAL J                                  300 East John Carpenter Freeway           Suite 800                                                   Irving           TX      75062
OFFICE DEPOT P.O. BOX 88040                    P. O. BOX 660113                                                                                      DALLAS           TX      75266‐0113
Office Of City Clerk                           City Hall                                 425 East Dewey                                              Sapulpa          OK      74066
OGANS JR., DONALD                              Address on File
OGBURN, ISSAC                                  Address on File
OGDEN, DYLAN                                   Address on File
Ogden, Natalie                                 Address on File
OGE                                            P.O. BOX 24990                                                                                        Oklahoma City    OK      73124‐0090
OGLE, JACOB                                    Address on File
OGLE, KAYCEE                                   Address on File
OGLES, DIANSE                                  Address on File
Oglesby, Athena                                Address on File
OHMAN, CARLY                                   Address on File
OJANGUREN, BILLY                               Address on File
OJEDA, JUAN                                    Address on File
OJEDA, SERGIO                                  Address on File
OK PREMIER INC                                 TRAVIS STEWART                            4014 EL CERRITO                                             NORMAN           OK      73026
OK ST DEPT HEALTH                              P.O. BOX 268815                                                                                       OKLAHOMA CITY    OK      73126‐8815
OKAFOR, CYNTHIA                                Address on File
OKLAHOMA CCOUNTY TREP O BOX 26                 COUNTY TREASURER                          P O BOX 268875                                              OKLAHOMA CITY    OK      73126
Oklahoma City Police Department                Permit And Id Division                    PO Box 268837                                               Oklahoma City    OK      73126
Oklahoma City Police Department                PO Box 268837                                                                                         Oklahoma City    OK      73126
Oklahoma City Police Department                700 Colcord Dr                                                                                        Oklahoma City    OK      73102
Oklahoma City Police Department                Permit & Id Division                      PO Box 288837                                               Oklahoma City    OK      73126‐8837
Oklahoma City Police Department                Permit & Id Division                      PO Box 96‐0187                                              Oklahoma City    OK      73196‐0187
Oklahoma City Police Department                PO Box 96‐0187                                                                                        Oklahoma City    OK      73196‐0187
Oklahoma County                                County Treasurer                          PO Box 268875                                               Oklahoma City    OK      73126
Oklahoma County                                County Treasurer                          320 Robert S. Kerr Avenue                                   Oklahoma City    OK      73102
OKLAHOMA DEPT OF ENVIRONMENTAL QUALITY         P O BOX 1677                                                                                          OKLAHOMA CITY    OK      73101‐1677
OKLAHOMA DEPT OF REHAB‐ SCHOOL FOR THE BLIND   RONNA JOHNSON                             3300 GIBSON ST                                              MUSKOGEE         OK      74403‐2811
OKLAHOMA DISASTER RESTORATION                  P O TOX 471346                                                                                        TULSA            OK      74147
OKLAHOMA HI‐TECH INC.                          DBA SERVICEMASTER RESTORATION BY RSI      P O BOX 54381                                               OKLAHOMA CITY    OK      73154
OKLAHOMA L4334 N.W.                            4334 N.W. EXPRESSWAY STE. 169                                                                         OKLAHOMA CITY    OK      73116‐1515
OKLAHOMA MISFITS                               WILL CARNELY                              25300 E 87TH PLACE                                          BROKEN ARROW     OK      74014
OKLAHOMA NP.O. BOX 1                           P.O. BOX 219296                                                                                       KANSAS CITY      MO      64121‐9296
OKLAHOMA OUTLAWS                               ATTN: JESSICA ANDERSON                    6701 SW 92ND ST                                             Oklahoma City    OK      73169
OKLAHOMA R2701 W CAL                           2701 W CALIFORNIA AVE                                                                                 OKLAHOMA CITY    OK      73107
OKLAHOMA SECRETARY OF STATE                    2300 N. LINCOLN BLVD.                     ROOM 101                                                    OKLAHOMA CITY    OK      73105‐4897

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                         Name                                    Address 1                      Address 2                  Address 3                  City     State    PostalCode   Country
Oklahoma State Dept Of Health              Dept Of Health                       1000 Ne 10th Street                                         Oklahoma City      OK      73117
Oklahoma State Dept Of Health              1000 NE 10th                                                                                     Oklahoma City      OK      73117
Oklahoma State Dept Of Health              PO Box 268815                                                                                    Oklahoma City      OK      73126‐8815
OKLAHOMA STATE DEPT. OF HEALTH             CONSUMER PROTECTION SERVICES         P.O. BOX 268815                                             Oklahoma City      OK      73126‐8815
OKLAHOMA STATE TREASURER                   UNCLAIMED PROPERTY DIVISION          2300 N. LINCOLN BLVD., RM. 217                              OKLAHOMA CITY      OK      73105
Oklahoma Tax Commission                    2501 N. Lincoln Blvd.                                                                            Oklahoma City      OK      73194
Oklahoma Tax Commission                    PO Box 26860                                                                                     Oklahoma City      OK      73126‐0850
Oklahoma Tax Commission                    PO Box 26920                                                                                     Oklahoma City      OK      73126‐0920
Oklahoma Tax Commission                    PO Box 26930                                                                                     Oklahoma City      OK      73126‐0930
Oklahoma Tax Commission                    2501 North Lincoln Boulevard                                                                     Oklahoma City      OK      73194
OKLAHOMA TAX COMMISSION                    P. O. BOX 269027                                                                                 OKLAHOMA CITY      OK      73126‐9027
OKLAHOMA TAX COMMISSION                    P. O. BOX 269207                                                                                 OKLAHOMA CITY      OK      73126‐9027
Oklahoma Tax Commission                    2501 N. Lincoln Blvd.                                                                            Oklahoma           OK      73194
OKLAHOMA TAX COMMISSION POBOX15820         P.O. BOX 26930                                                                                   OKLAHOMA CITY      OK      73126‐0930
OKLAHOMA TP O BOX 26                       P.O. BOX 26890                                                                                   OKLAHOMA CITY      OK      73126‐0890
OKLAHOMA TPO BOX 26920                     PO BOX 26920                                                                                     OKLAHOMA CITY      OK      73126‐0920
Okocha, Funanya                            Address on File
OKONOFUA, AARON                            Address on File
OKORA, GEORGE                              Address on File
okwilagwe, christine                       300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
OLAGUE MORENO, ELIAS                       Address on File
OLANNA, FANNIE                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
OLANNA, KENNETH                            Address on File
OLANNA, WHITNEY                            Address on File
OLATHE NORTH BASKETBALL BOOSTER CLUB       20731 W 123RD ST                                                                                 OLATHE             KS      66061
Olden, Sherri‐lynn                         Address on File
OLE MEXICAN FOODS INC.                     6585 CRESCENT DRIVE                                                                              NORCROSS           GA      30071
Ole Tortillas                              Natalie Douglas                      National Acct Manager
Olea, Luz                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
OLEA, MARIA                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
OLGA, BRUCE                                Address on File
OLIVAR, ANGEL                              Address on File
Olivares, Emmanuel                         300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
OLIVARES, LYSETT                           Address on File
OLIVARES, MARIA                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Olivares, Whitney                          300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Olivas, Carlos                             Address on File
Olivas, Gisselle                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
OLIVAS, MARIA                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
OLIVAS, YAMEL                              Address on File
OLIVER E WATTS, PE‐LS                      CONSULTING ENGINEER,INC.             614 ELKTON DRIVE                                            COLORADO SPRINGS   CO      80907
Oliver, Alexis                             Address on File
Oliver, Allison                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
OLIVER, COURTNEY                           Address on File
OLIVER, DEVON                              Address on File
Oliver, Dominic                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Oliver, Jamya                              Address on File
OLIVER, JASMINE                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Oliver, Misty                              Address on File
Oliver, Robert                             Address on File
Oliver, Tony                               Address on File
OLIVER, XANDRIA                            Address on File
OLIVEROS, JISEL                            Address on File
Olivo, Amanda                              Address on File
OLIVO, KRYSTAL                             Address on File
Olivo, Michael                             Address on File
OLLER, SHAYLA                              Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                       Name                                    Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
OLMOS, ROSA                                Address on File
OLORTEGUI, TIANE                           Address on File
OLSEN, BREANNE                             Address on File
olson, Eugene                              Address on File
OLSON, JASMINE                             Address on File
Olson, Jonathan                            Address on File
Oludimu, Morenikeji                        Address on File
Olvera, Amanda                             Address on File
OLVERA, DANIEL                             Address on File
OLVERA, JUANA                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
OLVERA, LUIS                               Address on File
OLVERA, LUZ                                Address on File
OLVERA, VALENE                             Address on File
OMAHA PUBLIC POWER DISTRICT                P.O. BOX 3995                                                                                    OMAHA            NE      68103
Oman, Amanda                               Address on File
Oman, Mikkie                               Address on File
Ombongi, Hesbon                            Address on File
OMEGA REFRIGERATION & AIR CONDITIONING     219 WILDWOOD DR                                                                                  GEORGETOWN       TX      78633
Omoikhudu, Anatha                          Address on File
OMOSIGHO, MARGARET                         Address on File
ONE SAFE PLACE MEDIA CORP                  1550 WALNUT HILL LN.                                                                             IRVING           TX      75038
O'NEAL, KALON                              Address on File
Oneal, Petrick                             Address on File
ONEAL, TERRENCE                            Address on File
O'NEAL, TONYA                              Address on File
O'Neal, Victoria                           Address on File
O'Neill, Jennifer                          Address on File
ONLEY, CLAUDE                              Address on File
ONORATO, FROST                             Address on File
Onorato, Jaymz                             Address on File
ONTIVEROS, AQUILINA                        Address on File
ONUAMA, CLEMENT                            Address on File
Onyeador, Alex                             Address on File
OOLOGAH ASSEMBLY OF GOD                    625 S MAPLE ST                                                                                   OOLOGAH          OK      74053
OOLOGAH MUSTANGS CLASS OF 2026             AMBER LARGE                          PO BOX 1015                                                 OOLOGAH          OK      74053
OOLOGAH TALALA CHEER 2028                  P O BOX 188                                                                                      OOLOGAH          OK      74053
OPP, JASON                                 Address on File
OPTIMIST CLUB UNLIMITED OF ABILENE         ROBIN HICKS                          P O BOX 3502                                                ABILENE          TX      79604
Opwengo, Bernadette                        Address on File
Oquinn, Luke                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
ORACLE AMERICA INC                         P.O. BOX 203448                                                                                  DALLAS           TX      75320‐3448
ORALIA BRAND                               2021 SOUTH LEWIS, STE 225                                                                        TULSA            OK      74104
ORBECK, CLARISSA                           Address on File
Orbeck, Victoria                           Address on File
ORCA, KEVIN                                Address on File
Orcutt, Grayson                            Address on File
ORDAZ, RUBEN                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Ordorica, Shannon                          Address on File
Oregel, Steve                              Address on File
Orellana, Marlon                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
ORGAN, ARTHUR                              Address on File
Orlando, Michael                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
ORMAN, JENNIFER                            Address on File
ORME, KYLE                                 Address on File
ORME, SHANNON                              Address on File
Orndoff, Jared                             Address on File
Orndoff, Justin                            Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
ORNELAS, JOSE                            Address on File
ORNELAS, JOSUE                           Address on File
ORNELAS, JUVENTINO                       Address on File
Ornelas, Yadira                          Address on File
Orner, Noah                              Address on File
Orona, Juan                              Address on File
Orourke, Tina                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
OROZCO PETTIT, GLORIA                    Address on File
OROZCO, ADAN                             Address on File
OROZCO, ALEXIS                           Address on File
OROZCO, FREDDI                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Orozco, Jose                             Address on File
OROZCO, KEVIN                            Address on File
Orr, Lauren                              Address on File
Orr, Tabitha                             Address on File
Orrostieta, Gabriel                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Orta Duenaz, Karla                       Address on File
ORTA, CELENE                             Address on File
ORTEGA III, VICTOR                       Address on File
Ortega Monroy, Luis                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ORTEGA, BIANCA                           Address on File
ORTEGA, ELENA                            Address on File
Ortega, Emily                            Address on File
ORTEGA, FABIAN                           Address on File
ORTEGA, JESUS                            Address on File
Ortega, Karen                            Address on File
Ortega, Maria                            Address on File
Ortega, Moises                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ORTEGA, NINA                             Address on File
Ortega, Patricia                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ORTEGA, SATURNINO                        Address on File
ORTEGA, SOFIA                            Address on File
ORTEGA, STEPHANIE                        Address on File
Ortegon, Aimee                           Address on File
ORTIZ DUARTE, NORMA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Ortiz, Adrian                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Ortiz, Ambar                             Address on File
ORTIZ, ANA                               Address on File
ORTIZ, ANTONIA                           Address on File
ORTIZ, CLAUDIA                           Address on File
ORTIZ, CLAUDIO                           Address on File
Ortiz, Elena                             Address on File
ORTIZ, ELIZABETH                         Address on File
Ortiz, Fabian                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Ortiz, Jaime                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Ortiz, Jesse                             Address on File
ORTIZ, JOHN                              Address on File
Ortiz, Joseph                            Address on File
Ortiz, Marayha                           Address on File
ORTIZ, MARIA                             Address on File
ORTIZ, MICHAEL                           Address on File
ORTIZ, NANCY                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ORTIZ, NANCY                             Address on File
ORTIZ, SANTOS                            Address on File
ORTIZ, SILVIA                            Address on File
ORTIZ, SONIA                             Address on File
ORTIZ, VERONIKA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                          Name                                   Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Ortiz, Yolanda                               Address on File
Osadolor Hernandez, Patricia                 Address on File
OSBAN, CHRISTOPHER                           Address on File
Osborn, Billie                               Address on File
OSBORN, CAMERON                              Address on File
OSBORN, KIMBERLEY                            Address on File
OSBORN, LANE                                 Address on File
OSBORNE, MICHAEL                             Address on File
OSBORNE, MORGAN                              Address on File
Osborne, Sandra                              Address on File
Osborne, Travion                             Address on File
OSBURN, BRITTANY                             Address on File
OSBURN, ERNEST                               Address on File
OSORIO, DANIELA                              Address on File
OSORIO, DAYANNA                              Address on File
OSORIO‐GAMA, CARMEN                          Address on File
Osornio, Luis                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
OSTRANDER, ZACH                              Address on File
Otano, Ana                                   Address on File
OTERO, LINDA                                 Address on File
Otero, Luz                                   Address on File
OTIS REFRIGERATION SERVICES, INC.            P O BOX 9457                                                                                     WICHITA FALLS   TX      76308
Otis, Zoie                                   Address on File
OTLEY, TAYLOR                                Address on File
Ototo, Sarah                                 Address on File
Ottino, Elijah                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
OTUBU, ASHAKE                                Address on File
OUDEMS, QUAYDARION                           Address on File
OUTHIER, KATIE                               Address on File
OUTLAW, JUANITA                              Address on File
OVALLE, FRANKY                               Address on File
OVERSTREET, DOMINIQUE                        Address on File
OVERSTREET, DOROTHY                          Address on File
OVERSTREET, SHANIA                           Address on File
OVERSTREET, SHELLY                           Address on File
Overton, Eddie                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
OVERTON, LACEY                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
OVIEDO, EPIFANIA                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
OVIEDO, ESMERALDA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
OVIEDO, MARIA                                Address on File
OWADAYO, PETER                               Address on File
OWASSO PUBP.O. BOX 1                         P.O. BOX 180                                                                                     OWASSO          OK      74055‐0180
OWEN, DAKOTA                                 Address on File
Owen, Jakeria                                Address on File
OWEN, JOSHUA                                 Address on File
OWEN, MATTIE                                 Address on File
Owen, Melody                                 Address on File
Owen, Phillip                                Address on File
OWENS, ANTHONY                               Address on File
Owens, Breanna                               Address on File
OWENS, CHRISTOPHER                           Address on File
OWENS, DEANDRE                               Address on File
OWENS, ELIJAH                                Address on File
Owens, Elizabeth                             Address on File
OWENS, GLENDA                                Address on File
Owens, Jimmy                                 Address on File
Owens, Kyle                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
OWENS, LESLEY                            Address on File
Owens, Matthew                           Address on File
Owens, Sabrina                           Address on File
OWENS, SHYLO                             Address on File
Owens, Tabius                            Address on File
OWNBEY, CODY                             Address on File
OXENHAM, JONATHAN                        Address on File
Ozono, Amike                             Address on File
OZUNA, MYRA                              Address on File
Pablo Cortes, Maria                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PABS MGMT INC.                           1400 PRESTON RD #270                                                                             PLANO            TX      75093
PACE PRODU                               9513 E. 55TH STE.B                                                                               TULSA            OK      74145‐8105
Pace, Aerial                             Address on File
Pace, Caleb                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PACE, JUSTIN                             Address on File
PACE, KARLANDA                           Address on File
Pace, Zackary                            Address on File
Pacheco Carmona, Bany                    Address on File
Pacheco, Dan                             Address on File
Pacheco, Domingo                         Address on File
PACHECO, FELICIA                         Address on File
Pacheco, Hailee                          Address on File
PACHECO, KARRIE                          Address on File
PACHECO, LIZA                            Address on File
Pacheco, Lucero                          Address on File
PACHECO, LUIS                            Address on File
Pacheco, Paul                            Address on File
PACHECO, TAYLOR                          Address on File
PACHECO, TONY                            Address on File
Pacific Cheese                           21090 Cabot Blvd.                                                                                Hayward          CA      94545
PACIOREK, DESARAY                        Address on File
PACK, SEAN                               Address on File
PACKER, KENNETH                          Address on File
PACKER, TIA                              Address on File
PACTIV                                   Address Unknown
Padierna, Jonathan                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PADILLA, ALEXIS                          Address on File
Padilla, Angelica                        Address on File
Padilla, Autumn                          Address on File
PADILLA, CARISSA                         Address on File
PADILLA, JOHNATHAN                       Address on File
PADILLA, JOHNNA                          Address on File
PADILLA, JUVENAL                         Address on File
PADILLA, ROBERT                          Address on File
PADILLA, SONIA                           Address on File
PADILLA, TOMAS                           Address on File
PAES, EDGAR                              Address on File
PAEZ, CAROLA                             Address on File
PAEZ, GERARDO                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PAGE JR., GEORGE                         Address on File
Page, Annaliceia                         Address on File
PAGE, CHRISTOPHER                        Address on File
PAGE, CORTEZ                             Address on File
PAGE, MONICA                             Address on File
Page, Rebekah                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PAGE, SHANNON                            Address on File
PAGET, MATTHEW                           Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
PAGOAGA, KARLA                           Address on File
PAIGE HULL, KRISHAMBRIA                  Address on File
PAIGE, AUTUMN                            Address on File
PAIGE, DE'IONTAE                         Address on File
Paindazada, Atiqullah                    Address on File
PAL, AVIK                                Address on File
Palacios Benitez, Linda                  Address on File
PALACIOS, ALEJANDRA                      Address on File
Palacios, Javier                         Address on File
PALACIOS, JUANA                          300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Palacios, Ma                             Address on File
PALACIOS, MARIA                          Address on File
Palacios, Mariano                        Address on File
PALACIOS, RAFAELA                        300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
PALAFOX, DIANA                           Address on File
Palecek, Vincent                         Address on File
Palencia, Cesar                          300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
PALLADIUM CAPITAL MGMT LLP               1270 AVENUE OF THE AMERICAS          SUITE 2200                                                  NEW YORK          NY      10020
Palmblad, Noah                           Address on File
PALMER D. BAILEY, P.C.                   LAW OFFICE OF PALMER BAILEY          1400 PRESTON RD, STE 400                                    PLANO             TX      75093
PALMER, ANESHIA                          Address on File
PALMER, ANTHONY                          Address on File
Palmer, Cassie                           Address on File
PALMER, COLLIN                           Address on File
Palmer, Corey                            Address on File
PALMER, DEMORNAY                         Address on File
Palmer, Jalysa                           Address on File
Palmer, Michael                          Address on File
Palmer, Preston                          Address on File
PALMER, SEAN                             Address on File
PALMER, TA'DARRA                         Address on File
Palmer, Trevor                           Address on File
PALMER, VICKI                            Address on File
Palmquist, Sorena                        300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Palomarez, Antonio                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
PALOMINO, JOSEFINA                       Address on File
PALOS, CYNTHIA                           Address on File
PANDA EMBROIDERY                         DBA PANDA EMBROIDERY                 351 E. HUDGINS ST.                                          GRAPEVINE         TX      76051
PANDEY, PRASHAM                          Address on File
Panick, Rachelle                         Address on File
Pankau, Heather                          Address on File
PANTEGO WAPO BOX 132                     1614 S BOWEN RD                                                                                  PANTEGO           TX      76013
PANTOJA, JESSICA                         Address on File
PANTOJA, ROSA                            Address on File
Papke, Amanda                            Address on File
PARACHIN, MICHAEL                        Address on File
PARADIGM PLUMBING                        1553 RANGER HWY                                                                                  WEATHERFORD       TX      76086
PARCELL, DAVID                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Parchman, Ulanda                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Paredes, Carolina                        Address on File
PAREDES, FLORINA                         Address on File
PAREDES, FRANCISCA                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
PAREDES, LORENA                          Address on File
PAREDES, MARGARITA                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Paredes, Maria                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Paredes, Victor                          Address on File
Paredez, Ines                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062

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                                                                                    In re: Taco Bueno Restaurants Inc.., et al.
                                                                                           Consolidated Creditor Matrix

                           Name                                       Address 1                          Address 2                Address 3                 City      State    PostalCode   Country
PAREDEZ, JULIAN                                   Address on File
PAREDO, DANIELA                                   Address on File
Pareja, David                                     300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
PARENT BOOSTER USA DBA VERDIGIS SENIOR LOCK IN 
BOOSTERS                                          VERDIGIS SENIOR LOCKIN               8061 DUNWOOD RD                                             CLAREMORE          OK      74016
PARENTS OF ACADEMY FOR ADVANCE AND CREATIVE 
LEARNING                                          2510 N CHESTNUT ST                                                                               COLORADO SPRINGS   CO      80907
PARIS, JOSHUA                                     Address on File
PARK LANE BAUER ASSOCIATES                        BAUER ASSOCIATES INC                 4821 S. SHERIDAN STE. 201                                   TULSA              OK      74145
PARK, SHAWN                                       Address on File
PARKER COU1108SANT                                1108 SANTA FE DR                                                                                 WEATHERFORD        TX      76086‐5818
Parker County Appraisal District                  1108 Santa Fe Dr                                                                                 Weatherford        TX      76086‐5818
Parker, Alan                                      Address on File
PARKER, AMBER                                     Address on File
Parker, Aubrianna                                 Address on File
Parker, Bailee                                    Address on File
Parker, Bryan                                     Address on File
Parker, Casey                                     Address on File
PARKER, CHELSEA                                   Address on File
Parker, Ciboney                                   Address on File
PARKER, CONNOR                                    Address on File
Parker, Cordell                                   Address on File
PARKER, ELIZABETH                                 Address on File
Parker, James                                     Address on File
Parker, Jasmine                                   Address on File
Parker, Jimmie                                    Address on File
PARKER, JONATHAN                                  Address on File
PARKER, JOSH                                      Address on File
PARKER, JULISA                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Parker, Katelyn                                   Address on File
Parker, Keorion                                   Address on File
PARKER, MACI                                      Address on File
PARKER, PHILLIP                                   Address on File
Parker, Reggie                                    Address on File
PARKER, SHAUNA                                    Address on File
Parker, Timothy                                   Address on File
PARKER, VICTORIA                                  Address on File
PARKER, YANIA                                     Address on File
Parkhurst, Ashley                                 Address on File
Parks, Kristopher                                 Address on File
PARKS, RENA                                       Address on File
Parks, Shawnee                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
PARNELL, MICHAEL                                  Address on File
PARO, BRANDI                                      Address on File
Parra Bautista, Lizbeth                           Address on File
PARRA CERVANTES, CINDY                            Address on File
PARRA, ANGEL                                      Address on File
Parra, Carol                                      Address on File
Parra, Marian                                     Address on File
Parra, Mireya                                     Address on File
PARRA, ROCIO                                      300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Parra, Ulises                                     Address on File
Parras, Imelda                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Parrie, John                                      Address on File
PARRIE, JORDAN                                    Address on File
Parris, Brooke                                    Address on File
PARRISH, LAURA                                    Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                        Name                                       Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
PARRISH, LIANCE                                Address on File
Parsons, Alysa                                 Address on File
PARSONS, HEATHER                               Address on File
PARSONS, NOAH                                  Address on File
PARSONS, PHILIP                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Parsons, Philip                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Parsons, Stephanie                             Address on File
PARSONS, TREVOR                                Address on File
PARTAIN, FAITH                                 Address on File
PARTAIN, GRACE                                 Address on File
PARTELOW, DAVY                                 Address on File
PARTNERSHIP FOR THE PATHWAY                    17 DOGWOOD LAKE DR.                                                                              TEXARKANA        TX      75503
parton, Legend                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Partridge, LaDonna                             Address on File
PASCHAL, MICHAEL                               Address on File
PASCHALL, ALEC                                 Address on File
PASCO FOOD SERVICE EQUIP. & SERVICE            P.O. BOX 260399                                                                                  PLANO            TX      75026‐0399
Pascual, Jonathan                              Address on File
Pascual, Rafael                                Address on File
PASQUALLE, KAYLA                               Address on File
PASSION FOR CHILDREN'S INC.                    P O BOX 192611                                                                                   DALLAS           TX      75219
PASTOR, AYERIM                                 Address on File
PASTRANA, JOSEPH                               Address on File
Patches, Kaitlin                               Address on File
PATEL, BELA                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PATEL, BHANUBHAI                               Address on File
PATEL, BHARTI                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PATEL, BIMALBHA                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PATEL, DIPIKA                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PATEL, JYOTSANABEN                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PATEL, NIKULABEN                               Address on File
PATEL, PARUL                                   Address on File
PATEL, POOJA                                   Address on File
Patel, Rajesh                                  Address on File
Patel, Vaishaliben                             Address on File
PATIN, SHAREE                                  Address on File
Patino Barrera, Dylan                          Address on File
PATINO NUNEZ, ELIZABETH                        Address on File
PATINO, HERMELINDA                             Address on File
PATINO, MARISOL                                Address on File
PATINO, MARTEENA                               Address on File
Patitucci, Jasmine                             Address on File
PATLAN, EMMA                                   Address on File
Patlan, Mario                                  Address on File
PATNAUDE, BIANKA                               Address on File
PATRICE AND ASSOCIATES                         10020 SOUTHERN MARYLAND BLVD         SUITE 100                                                   DUNKIRK          MD      20754
PATRICIA GARCIA ROSARIO, NORMA                 Address on File
PATRICK, JAMES                                 Address on File
PATRICK, KY                                    Address on File
Patrick, Shawn                                 Address on File
PATRICK, SILAS                                 Address on File
PATRICK, TERRY                                 Address on File
PATTERSON, ANDREW                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PATTERSON, APRIL                               Address on File
Patterson, Brandon                             Address on File
Patterson, Cathryn                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PATTERSON, DONTAE                              Address on File

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                        Name                                      Address 1                         Address 2                Address 3                 City   State    PostalCode   Country
Patterson, Dylan                             Address on File
PATTERSON, JASON                             Address on File
PATTERSON, KALLY                             Address on File
Patterson, Keyario                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PATTERSON, KRISTIN                           Address on File
Patterson, Lavette                           Address on File
PATTERSON, PHILLIP                           Address on File
PATTERSON, RAYMOND                           Address on File
PATTERSON, RICKY                             Address on File
PATTERSON, ROBERT                            Address on File
PATTERSON, TARREL                            Address on File
PATTERSON, VALERIE                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Pattman, Johnny                              Address on File
Patton, Christina                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Patton, Heather                              Address on File
PATTON, JESSIE                               Address on File
Patton, Jonathan                             Address on File
PATTON, KEITH                                Address on File
Paugh, Daniel                                Address on File
PAUKEI, CRYSTAL                              Address on File
Paukei, Tyra                                 Address on File
PAUL KING CO                                 PO BOX 580817                                                                                    TULSA           OK      74158‐0817
PAULEY, AMY                                  Address on File
PAULEY, MARISSA                              Address on File
Paulk, Randon                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PAUPAW, JAMELL                               Address on File
Pavao, Nick                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PAVECON, LTD.                                P. O. BOX 535457                                                                                 GRAND PRAIRIE   TX      75053‐5457
Pavia, Cesar                                 Address on File
PAWAI, DOMINQUA                              Address on File
Pawnee, Daylen                               Address on File
Pawnee, Samuel                               Address on File
Paxton, Ken                                  Capitol Station                      P.O. Box 12548                                              Austin          TX      78711‐2548
Payes, Angel                                 Address on File
PAYFLEX SYSTEMS USA, INC.                    10802 FARNAM DR., STE. 100                                                                       OMAHA           NE      68154
PAYNE COUNTY 315 WEST SIXTH SUITE 101        315 WEST SIXTH SUITE 101                                                                         STILLWATER      OK      74074
Payne County Treasurer                       315 West Sixth Suite 101                                                                         Stillwater      OK      74074
PAYNE II, CALVIN                             Address on File
Payne, Christopher                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PAYNE, CYDNEE                                Address on File
Payne, Evony                                 Address on File
PAYNE, ISAAC                                 Address on File
PAYNE, JAMES                                 Address on File
Payne, Kye                                   Address on File
Payne, Lisa                                  Address on File
Payne, Makayla                               Address on File
PAYNE, RAY                                   Address on File
Payne, Ronald                                Address on File
Payne, Sharece                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Payne, Trenton                               Address on File
PAYNE, VERONICA                              Address on File
Payne, Wayne                                 Address on File
PAYTRONIX SYSTEMS INC.                       ACCOUNTS RECEIVABLE                  80 BRIDGE ST                                                NEWTON          MA      02458
PAZ, ANDRES                                  Address on File
PAZ, JESSICA                                 Address on File
PAZ, JONATHAN                                Address on File
PAZ, KELIN                                   Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
PAZ, NOE                                Address on File
Peace, Destiny                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Peacock, Kaleb                          Address on File
Peacock, Kobie                          Address on File
Peak, James                             Address on File
PEARCE, CANDACE                         Address on File
Pearce, Candice                         Address on File
PEARCE, NICHOLAS                        Address on File
PEARCY, MARSHALL                        Address on File
Pearsall, Ashley                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Pearson, Asa                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Pearson, David                          Address on File
Pearson, Jordon                         Address on File
Pearson, Kenneth                        Address on File
PEARSON, KEVIN                          Address on File
Pearson, Lillian                        Address on File
Pearson, Valisha                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PEASE, SHARL                            Address on File
PECK, KYLEE                             Address on File
Peck, Madysn                            Address on File
PECK, PATRICK                           Address on File
PECKENPAUGH, ELIZA                      Address on File
Pecqueur, Keanu                         Address on File
PEDERSON ELECTRIC CO. INC               DBA TEXAS ELECTRICAL CO.             2140 MERRIT RD                                              GARLAND          TX      75041‐6135
PEDERSON ELECTRIC CO. INC.              DBA TEXAS ELECTRICAL COMPANY         2140 MERRITT ROAD                                           GARLAND          TX      75041‐6135
PEDRO G LOPEZ                           DBA SCRATCH‐N‐PATCH                  1318 CHERRY ST                                              ABILENE          TX      79602
PEDRO, RAYMOND                          Address on File
PEDROZA, GERARDO                        Address on File
Pedroza, Jesus                          Address on File
PEDROZA, MARIA                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PEEL, JUSTIN                            Address on File
Peele, James                            Address on File
PEEPLES, JESSICA                        Address on File
PEERY, CANDACE                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PEEVY, SAVON                            Address on File
PEEVY, SHARRA                           Address on File
PEGHEE‐WALTON, ELISCIA                  Address on File
PEGUES, DENNIS                          Address on File
PEHL, HARVEY                            Address on File
Pekah, Tomilyn                          Address on File
PELSOR, TIM                             Address on File
PELTIER, SHELBY                         Address on File
PELTON, KRISSY                          Address on File
Pena, Abigail                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PENA, ADRIAN                            Address on File
PENA, ALEXIS                            Address on File
PENA, ANGELICA                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PENA, ANGELINA                          Address on File
PENA, CARLOS                            Address on File
PENA, CHERAKEE                          Address on File
PENA, EMILY                             Address on File
Pena, Epifania                          Address on File
PENA, KARLA                             Address on File
PENA, LILIANA                           Address on File
Pena, Luz                               Address on File
PENA, MARCUS                            Address on File
PENA, SAMMUEL                           Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                          Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
PENA, SERGIO                              Address on File
Pena, Sergio                              Address on File
PENA, SOFIA                               Address on File
Pena, Yanidda                             Address on File
Penaflor, Arthur                          Address on File
PENALOZA, MARGARITA                       Address on File
Pendergraft, Tray                         Address on File
Pendergrass, Kai                          Address on File
PENDLETON, DUSTIN                         Address on File
Pendleton, Krista                         Address on File
PENDLETON, TIERRA                         Address on File
PENDLEY, TAYLOR                           Address on File
PENINGER PLUMBING                         7189 FOSTER STUART RD                                                                            AZLE            TX      76020
Penn, Cody                                Address on File
PENN, JODY                                Address on File
PENN, MAURICE                             Address on File
Penn, Shearon                             Address on File
PENN, TABITHA                             Address on File
PENNELL, ZACHARY                          Address on File
PENNETHY, JORDAN                          Address on File
PENNINGTON, CALEB                         Address on File
PENNINGTON, DANIAL                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Pennington, Joshua                        Address on File
PENNINGTON, KAYLEE                        Address on File
Pennington, Meagan                        Address on File
Pennock, Cameron                          Address on File
PENNOCK, CASEY                            Address on File
PENNY, CHERI                              Address on File
PENNY, CHRISTOPHER                        Address on File
Penny, Lauren                             Address on File
Penny, Rashawn                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Penrod, Cody                              Address on File
Pentak, William                           Address on File
PENUEL, JAYMEE                            Address on File
PEPSI‐COLA                                510 W SKULLY DR                                                                                  TULSA           OK      74107
PEPSI‐COLA                                PO BOX 841828                                                                                    DALLAS          TX      75284‐1828
PERALES, CONNIE                           Address on File
Perales, Ivan                             Address on File
PERALES, MEGAN                            Address on File
PERALEZ, MARI                             Address on File
Peralta, Jessica                          Address on File
PERALTAJR, MARIANO                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PERDON, SAMANTHA                          Address on File
Perdue, Amber                             Address on File
PERDUE, AUSTIN                            Address on File
PERDUE, JORDAN                            Address on File
PEREIRA, GENESIS                          Address on File
PEREZ LATALLADI, EMELY                    Address on File
PEREZ RODRIGUEZ, OSCAR                    Address on File
PEREZ ROMERO, PAOLA                       Address on File
PEREZ VASQUEZ, MARCO                      Address on File
PEREZ, ALEJANDRO                          Address on File
Perez, Alejandro                          Address on File
Perez, Aliza                              Address on File
PEREZ, ALLAN                              Address on File
PEREZ, AMAIRANI                           Address on File
PEREZ, ANASTACIA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062

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                                                                       In re: Taco Bueno Restaurants Inc.., et al.
                                                                              Consolidated Creditor Matrix

                     Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
PEREZ, ANGELLIN                      Address on File
Perez, Antonio                       Address on File
PEREZ, AURELIA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Perez, Chloe                         Address on File
Perez, Christana                     Address on File
PEREZ, CLORISSA                      Address on File
Perez, Crisanto                      Address on File
Perez, Cristina                      Address on File
Perez, Crystal                       Address on File
PEREZ, DANIEL                        Address on File
Perez, Delfino                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Perez, Dinora                        Address on File
Perez, Elda                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, EMILEE                        Address on File
PEREZ, EMMANUEL                      Address on File
Perez, Eric                          Address on File
PEREZ, ESTHER                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Perez, Evangelina                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, FERNANDO                      Address on File
PEREZ, FIDELIA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, FREDDY                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, GRACIELA                      Address on File
PEREZ, GUADALUPE                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, IMELDA                        Address on File
Perez, Isrrael                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, JESENIA                       Address on File
Perez, Jim                           Address on File
PEREZ, JOSE                          Address on File
PEREZ, JOSE                          Address on File
PEREZ, JOSUE                         Address on File
PEREZ, LORENA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, MARIA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, MARIA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Perez, Maria                         Address on File
Perez, Maria                         Address on File
PEREZ, MARIAH                        Address on File
PEREZ, MARILYN                       Address on File
Perez, Marti                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, MARTIN                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Perez, Mayra                         Address on File
Perez, Michael                       Address on File
PEREZ, MIGUEL                        Address on File
PEREZ, OLGA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Perez, Olga                          Address on File
Perez, Pablo                         Address on File
Perez, Pablo                         Address on File
PEREZ, PAULA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, PHILLIP                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, RAUL                          Address on File
PEREZ, REGINA                        Address on File
PEREZ, ROCIO                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, RODRIGO                       Address on File
PEREZ, ROSA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, SERINA                        Address on File
PEREZ, SUNNY                         Address on File
PEREZ, SUSANA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PEREZ, TERESA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                        Name                                    Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
PEREZ, THALIA                               Address on File
PEREZ, VICTORIA                             Address on File
PEREZ, VIRIDIANA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Perez, Wilmary                              Address on File
Perez, Yetzzetl                             Address on File
PEREZ, YOLANDA                              Address on File
PERGUIDI, MARCIA                            11190 NEW AVE                                                                                    GILROY          CA      95020
PERGUIDI, WILLIAM C                         11190 NEW AVENUE                                                                                 GILROY          CA      95020
PERIMAN, NANCY                              Address on File
PERKINS, BESSIE                             Address on File
Perkins, Daysha                             Address on File
PERKINS, GEOFFREY                           Address on File
PERKINS, GREGORY                            Address on File
PERKINS, JOANNE                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PERKINS, JOSHUA                             Address on File
PERKINS, JOY                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PERKINS, KE                                 Address on File
PERKINS, KEIDRA                             Address on File
PERKINS, KENDRA                             Address on File
PERKINS, MARK                               Address on File
Perkins, Michael                            Address on File
PERKINS, MICHELLE                           Address on File
Perkins, Patricia                           Address on File
Perkins, Tira                               Address on File
PERKINS, TYNEA                              Address on File
PERKS & PROVISIONS                          DBA PERKS & PROVISIONS               1601 VALWOOD PKWY., STE. 100                                CARROLLTON      TX      75006
PERMA‐PIER                                  2821 E RANDOL MILL RD                                                                            ARLINGTON       TX      76011
Perpina, Kenneth                            Address on File
PERRIGGO, RACHEL                            Address on File
PERRIN, AMBER                               Address on File
Perrine, Charles                            Address on File
PERRON, MICHAEL                             Address on File
PERRY, ANDRE                                Address on File
Perry, Charles                              Address on File
PERRY, DAI'SHAUN                            Address on File
PERRY, DOMONIQUE                            Address on File
Perry, Emily                                Address on File
Perry, Jamir                                Address on File
PERRY, JUDY                                 Address on File
Perry, Karlee                               Address on File
PERRY, KELLY                                Address on File
PERRY, MITCHELL                             Address on File
PERRY, NICHOLAS                             Address on File
PERRY, SHELBY                               Address on File
PERRY, VICTORIA                             Address on File
Perry, William                              Address on File
PERRYMAN, ANDREW                            Address on File
PESINA, JOAQUINA                            Address on File
Pestel, Jeremy                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PETALS & STEMS FLORIST 13319 MONTFORT       13319 MONTFORT                                                                                   DALLAS          TX      75240
Pete, Tyson                                 Address on File
PETER, DAVID                                Address on File
PETER'S ELEMENTARY PTA                      MICHELLE ABRAMS                      2900 W COLLEGE ST                                           BROKEN ARROW    OK      74012
PETERS, ERIC                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PETERS, GERALD                              Address on File
PETERS, JEFFREY                             Address on File
PETERSEN, CHRISTOPHER                       Address on File

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                                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                         Consolidated Creditor Matrix

                          Name                                                      Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
PETERSEN, JOSEPH                                                Address on File
PETERSON, DAJAHNAE                                              Address on File
PETERSON, DAVID                                                 Address on File
Peterson, Doug                                                  State Capitol                        P.O. Box 98920                                              Lincoln          NE      68509‐8920
Peterson, Edward                                                Address on File
Peterson, Haley                                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Peterson, Hannah                                                Address on File
Peterson, Jeremy                                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Peterson, Kim                                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PETERSON, TAVIN                                                 Address on File
Peterson, Timothy                                               Address on File
PETERSON, ZENZILE                                               Address on File
PETRIE, REBECCA                                                 Address on File
PETRILLO, ORION                                                 Address on File
Petterson, Clayton                                              Address on File
PETTERSON, LAMARIO                                              Address on File
Petterson, Wesley                                               Address on File
Petties, Nacoshia                                               Address on File
PETTIJOHN, JAMES                                                Address on File
Pettis, Brandon                                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PETTIT, MYSTACIA                                                Address on File
Pettitt, Jessica                                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PETTUS INC.                                                     6500 E TECUMSEH RD                                                                               NORMAN           OK      73026
Petty, Garrett                                                  Address on File
PETTY, KRYSTAL                                                  Address on File
PEUGH, MIKEL                                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PEVERELLE, NANCY                                                Address on File
PEYSEN, DESIREE                                                 Address on File
Pfoser, Matthew                                                 Address on File
PHAM, HUY                                                       Address on File
PHAM, MEGAN                                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PHAM, UYEN                                                      Address on File
PHAN, KENNY                                                     Address on File
PHANRASY, DANY                                                  Address on File
PHEGLEY, LONNIE                                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PHELPS, MIKAELA                                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PHELPS, NICHOLAS                                                Address on File
Phemister, Andrea                                               Address on File
PHILHOWER, SEAN                                                 Address on File
Philip Yutan & Geok Wa Yutan as Trustees of the Philip Yutan 
and Geok Wa Yutan 1975 Trust                                    969 Hilgard Ave #208                                                                             Los Angeles      CA      90024
PHILIP YUTAN AND GEOK WA YUTAN 1975 TRUST                       969 HILGARD AVE., #208                                                                           LOS ANGELES      CA      90024
Philips, Destiny                                                Address on File
PHILLIP SCHNEIDER DBA PHILIP SCHNEIDER, INC.                    9716 S SHAFER AVE                                                                                OKLAHOMA CITY    OK      73139
PHILLIP, DAIJON                                                 Address on File
Phillippe Jr, Jeff                                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
PHILLIPPE, KELLY                                                Address on File
PHILLIPS, ANTHONY                                               Address on File
PHILLIPS, ASHLEIGH                                              Address on File
PHILLIPS, AUBREY                                                Address on File
Phillips, Breanna                                               Address on File
Phillips, Deondrey                                              Address on File
PHILLIPS, ERIC                                                  Address on File
Phillips, Joshua                                                Address on File
Phillips, Kimberly                                              Address on File
Phillips, Payton                                                Address on File
Phillips, Robert                                                Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                        Name                                       Address 1                          Address 2                Address 3                 City      State    PostalCode   Country
PHILLIPS, SANDRA                               Address on File
PHILLIPS, STEPHANIE                            Address on File
Phillips, Tyler                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Phillips, Tysharion                            Address on File
PHILLIPS, WENDY                                Address on File
PHILP, ANA                                     Address on File
Phipps, Hershell                               Address on File
Phipps, Sarah                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
PHONGSAVANH, DAVID                             Address on File
PHY, BRADLEY                                   Address on File
PHYFFER, JALEN                                 Address on File
PHYTHIAN, BRANDON                              Address on File
PICASSO, EDUARDO                               Address on File
Pichardo, Fedra                                Address on File
PICHARDO, JUAN                                 Address on File
PICHON, IMPRIS                                 Address on File
Pickard, Emily                                 Address on File
Pickens, Christopher                           Address on File
PICKENS, KATHERINE                             Address on File
PICKENS, MARVILLA                              Address on File
Pickett, Ayana                                 Address on File
PICKETT, COLLINS                               Address on File
Pickett, Samantha                              Address on File
Pienta, Loranda                                Address on File
PIEPER, CHRISTOPHER                            Address on File
Pierce, Antony                                 Address on File
Pierce, Brandon                                Address on File
Pierce, Brianna                                Address on File
PIERCE, CALEB                                  Address on File
PIERCE, DAKODA                                 Address on File
PIERCE, DONTE                                  Address on File
Pierce, Melissa                                Address on File
Pierce, Shannon                                Address on File
PIERCY, MIRANDA                                Address on File
PIERRE, EFREM                                  Address on File
Pierson, Alexander                             Address on File
PIERSON, QUENISHA                              Address on File
Pigeon, Cherokee                               Address on File
Pigeon, Roberta                                Address on File
PIGG, JAMEY                                    Address on File
Pijan, David                                   Address on File
Pike, Savannah                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
PIKE, SAVANNAH                                 Address on File
PIKE, SIERRA                                   300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
PIKE, TYLER                                    Address on File
PIKES PEAK REGIONAL BUILDING DEPT              2880 INTERNATIONAL CR                                                                            COLORADO SPRINGS   CO      80910
PIKITI, VALENTINO                              Address on File
Pikovsky, Timothy                              Address on File
PILGRIM, DUSTIE                                Address on File
PILOT, ALEXIA                                  Address on File
PIMPTON, JOHNELL                               Address on File
PINA, BOBBY                                    Address on File
Pina, Jose                                     Address on File
PINA, MARIA                                    Address on File
Pina, Ricardo                                  Address on File
PINE CREEK HIGH SCHOOL FOOTBALL BOOSTER CLUB   110 CHAPEL HILLS DR                                                                              COLORADO SPRINGS   CO      80920
PINEDA, ANGEL                                  Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                        Name                                   Address 1                          Address 2                Address 3                 City      State    PostalCode   Country
PINEDA, CIRIACO                            Address on File
PINEDA, DELMIS                             Address on File
PINEDA, DIEGO                              Address on File
PINEDA, FRANCO                             Address on File
PINEDA, HERLINDA                           Address on File
PINEDA, INES                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
PINEDA, JORGE                              Address on File
PINEDA, JOSE                               Address on File
PINEDA, MARIA                              Address on File
PINEDA, MARIA                              Address on File
PINEDA, MARICRUZ                           Address on File
PINEDA, NANCY                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
PINEDA, OMAR                               Address on File
Pineda, Patricia                           Address on File
PINEDA, RODOLFO                            Address on File
PINEDA, YUSMARY                            Address on File
PINK, MISTY                                Address on File
PINK, TIMOTHY                              Address on File
Pinkston, Jacquelyne                       Address on File
PINNACLE POWER WASHING LTD                 620 LOOMIS AVE                                                                                   COLORADO SPRINGS   CO      80906
PINO, ALONDRA                              Address on File
PINO, JONATHON                             Address on File
PINON, RAMSES                              Address on File
PINONES, GREGORIA                          Address on File
PINTO, CAROLINA                            Address on File
Piper, Byron                               Address on File
Pippin, Emily                              Address on File
PIRIBABADI, MOHAMMADHOSEIN                 Address on File
Pisani, Sophia                             Address on File
PISSO SIERRA, AYDA                         Address on File
PITHER PLU 310 W. METHVIN                  310 W. METHVIN ST.                                                                               LONGVIEW           TX      75601‐6311
PITNEY BOWES P O BOX 856390                P O BOX 371887                                                                                   PITTSBURGH         PA      15250‐7887
PITNEY BOWPO BOX 371887                    P.O. BOX 371896                                                                                  PITTSBURGH         PA      15250‐7896
PITTER, COURTNEY                           Address on File
PITTS, SHAVONA                             Address on File
PITTS, VAZHE                               Address on File
PITTS, ZACARY                              Address on File
Pixley, Tyler                              Address on File
PIZANA, MELISSA                            Address on File
PLACE 38 SHOPPING CTR 901 LAMAR            BLANCA DOMINGUEZ                     4007A CALL FIELD RD                                         WICHITA FALLS      TX      76308
Place 38th Lawton, LLC                     1702 NW Cache Road                                                                               Lawton             OK      73507
PLACE 38TH LAWTON, LLC                     1701 NW CACHE RD                                                                                 LAWTON             OK      73507
Placencia, Arnold                          Address on File
Placker, Tesia                             Address on File
PLANK, TRAVIS                              Address on File
PLANO POLIALARM UNITPO BOX 860             ALARM UNIT                           PO BOX 860358                                               PLANO              TX      75086‐0358
Plano Police Department                    Alarm Unit                           909 14th St                                                 Planot             TX      75074
Plano Police Department                    Alarm Unit                           PO Box 860358                                               Plano              TX      75086‐0358
PLANO RESTAURANT EQUIPMENT LLC             701 E PLANO PKWY                     SUITE 510                                                   PLANO              TX      75074
PLASCENCIA, KARINA                         Address on File
PLATAS, MARIBEL                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
PLATTE COUNTY                              TAX COLLECTOR                        415 THIRD ST., SUITE 40                                     PLATTE CITY        MO      64079
PLAYCORE WISCONSIN, INC.                   111 N RIVER RD                                                                                   NORTH AURORA       IL      60542
Pleasant, Elijah                           Address on File
PLEASANT, MARISSA                          Address on File
PLEASANT, STANLEY                          Address on File
PLEMONS, MIKAYA                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
PLETCHER, CASSIE                         Address on File
PLETCHETERO, MARCO                       Address on File
PLOTNER, ANNA                            Address on File
PLUMBING BY FISHER INC.                  9875 KILL CREEK RD.                                                                              DE SOTO         KS      66018
PLUMB‐QUICK, INC.                        P. O. BOX 5086                                                                                   ROUND ROCK      TX      78683
Plumlee NA, Justin                       Address on File
PLUMLEE, AARRON                          Address on File
Plumlee, Benjamine                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PLUMLEE, JUSTIN                          Address on File
PLUMMER, DAYRAN                          Address on File
PLUMMER, MATTSON                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PLUMMER, ROGER                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
POCKETSTOP LLC                           5646 MILTON ST                       SUITE LL100                                                 DALLAS          TX      75206
PODS ENTERPRISES, INC.                   PO BOX 791003                                                                                    BALTIMORE       MD      21279‐1003
Poe, Alisia                              Address on File
Poe, Caleb                               Address on File
POE, ERIC                                Address on File
Poe, Gregg                               Address on File
Poe, Rikki                               Address on File
POE, TANYA                               Address on File
Poe‐Ramirez, Katelyn                     Address on File
POGGI, BRITTNI                           Address on File
POHOS, KATHERINE                         Address on File
POINTER, DOMINIQUE                       Address on File
POKLUDA, MICHAELA                        Address on File
Polanco, Angiie                          Address on File
POLAND, VICTORIA                         Address on File
POLITIS, STEPHANIE                       Address on File
Polk Holder, Katelynn                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Polk, Chelsea                            Address on File
POLK, ERIC                               Address on File
Polk, Tydarrius                          Address on File
POLLARD, ALEXIS                          Address on File
POLLARD, AMANADA                         Address on File
Pollard, John                            Address on File
POLLARD, MERCEDES                        Address on File
Pollard, Modena                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Polonis, Daniel                          Address on File
POMPEY, DARRYL                           Address on File
PONCA CITY UTILITY AUTHORITY             P.O. BOX 1450                                                                                    PONCA CITY      OK      74602
Ponce de Leon, Citlalli                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Ponce, Berenice                          Address on File
Ponce, Daniela                           Address on File
PONCE, GUILLERMO                         Address on File
Ponce, Jane                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
PONCE, OSVALDO                           Address on File
PONSE, ISAIAH                            Address on File
Pool, Amy                                Address on File
POOL, COURTNEY                           Address on File
Pool, Craig                              Address on File
POOL, DEZIREE                            Address on File
POOL, LACIE                              Address on File
Pool, Mattheau                           Address on File
POOL, RANDY                              Address on File
POOLE, DALVIN                            Address on File
POOLE, EBONI                             Address on File
POOLE, SHELDON                           Address on File

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                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                               Consolidated Creditor Matrix

                         Name                               Address 1                       Address 2                 Address 3                   City   State    PostalCode   Country
Poor, Alexis                             Address on File
POPE, ASHLYN                             Address on File
POPE, COLLIN                             Address on File
Pope, Kordell                            Address on File
POPE, NICOLE                             Address on File
POPLIN, CASEY                            Address on File
POPLIN, JASON                            Address on File
POPOCA, SILVINO                          Address on File
Poppell, Joseph                          Address on File
Porcayo, Rosana                          Address on File
PORRAS, ELMER                            Address on File
Porras, Leticia                          Address on File
PORTER, ALEXIS                           Address on File
Porter, Elshonya                         Address on File
PORTER, JAMIE                            Address on File
PORTER, JAZZMINE                         Address on File
PORTER, JENNIFER                         Address on File
Porter, Karina                           Address on File
PORTER, LESNASHEAYAH                     Address on File
PORTER, LEWIS                            Address on File
PORTER, LYNDEE                           Address on File
Porter, Timothy                          Address on File
PORTILLO, CESAR                          Address on File
PORTILLO, ELVIA                          Address on File
PORTILLO, ELVIA                          Address on File
POSADA, ROSA                             Address on File
POSADA, SELENA                           Address on File
POSADAS, FELICIA                         Address on File
Posadas, Nelly                           Address on File
Posadas, Olivia                          Address on File
Posson, Lukas                            Address on File
Post Mates                               201 3rd Street                                                                                San Francisco     CA      94103
POST, BRANDON                            Address on File
POST, JEAN‐PATRICK                       Address on File
POST, KENSLEY                            Address on File
POSTE, VICTOR                            Address on File
POTTAWATOM325 N. BRO                     325 N. BROADWAY                                                                               SHAWNEE           OK      74801‐6938
Pottawatomie County Treasurer            325 N. Broadway                                                                               Shawnee           OK      74801‐6938
Potter County Tax Office                 900 S Polk St #106                                                                            Amarillo          TX      79101
Potter County Tax Office                 PO Box 2289                                                                                   Amarillo          TX      79105‐2289
POTTER COUNTY TAX OFFICE                 TAX ASSESSOR/COLLECTOR            P O BOX 2289                                                AMARILLO          TX      79105‐2289
POTTER, ALLENDA                          Address on File
POTTER, ANDREW                           Address on File
POTTER, CHRISTOPHER                      Address on File
Potter, Justin                           Address on File
Potter, Maria                            Address on File
POTTS, ALLYAH                            Address on File
POTTS, LYDIA                             Address on File
POTTS, MEAGAN                            Address on File
POUGH, JA                                Address on File
POUGH, PAIGE                             Address on File
Pouncy, ILEATHA                          Address on File
POWDRILL, AARON                          Address on File
POWELL, ALISHA                           Address on File
POWELL, AMBER                            Address on File
Powell, Autenee                          Address on File
Powell, Azahmanay                        Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                                Address 3                  City   State    PostalCode   Country
Powell, Caleb                            Address on File
Powell, Cornelius                        Address on File
POWELL, DEANGELO                         Address on File
Powell, Demoni                           Address on File
Powell, Dustin                           Address on File
POWELL, EBONI                            Address on File
POWELL, GERALD                           Address on File
Powell, Haley                            Address on File
POWELL, HEATH                            Address on File
POWELL, JUSTINA                          Address on File
POWELL, KATHRYN                          Address on File
Powell, Kristin                          Address on File
Powell, Preston                          Address on File
Powell, Stephan                          Address on File
Powell, Tyler                            Address on File
Powell‐Ramey, Elizabeth                  Address on File
POWER, JAMIE                             Address on File
POWERS, ALYSSA                           Address on File
POWERS, PATRICK                          Address on File
POWERS, TABITHA                          Address on File
PPD MULTIMEDIA, INC.                     3700 PORTOLA DRIVE                                                                                               SANTA CRUZ       CA      95062
PRADO, AMANDA                            Address on File
Prado, Bryan                             Address on File
PRADO, JACOB                             Address on File
PRADO, JESUS                             Address on File
Pralle, Jaylinn                          Address on File
PRATER, ADAM                             Address on File
PRATER, ANTREL                           300 East John Carpenter Freeway      Suite 800                                                                   Irving           TX      75062
PRATER, JOHNATHAN                        Address on File
PRATER, NATASHA                          Address on File
PRATHER, JASMINE                         Address on File
Prather, Thomas                          Address on File
PRATT JR, ALLEN                          Address on File
PRATT LLC                                PRATT INDUSTRIES INC                 P O BOX 933949                                                              ATLANTA          GA      31193‐3949
PRATT, DOMINIQUE                         Address on File
Pratt, Larry                             Address on File
PRATT, LINDSEY                           Address on File
PRATT, TAMERA                            Address on File
PREAN, NILA                              300 East John Carpenter Freeway      Suite 800                                                                   Irving           TX      75062
Preble, Danni                            Address on File
PRECILLA, PATTI                          3927 NW 12TH AVE NW                                                                                              NORMAN           OK      73069
PRECIOUS EMERALDS                        11111 E 116TH ST N                                                                                               COLLINSVILLE     OK      74021
Precise Food Ingredients                 1432 Wainwright Way                  Scott Miller                               V.P. Sales and Marketing         Carrollton       TX      75007
PRECISION REPROGRAPHICS INC.             3102 BENTON ST                                                                                                   GARLAND          TX      75042
PRENTICE, LAUREN                         Address on File
PRENTNER, CHARLES                        Address on File
PRESIDENT, BRITTANY                      Address on File
PRESIDENT, SHONNA                        Address on File
PRESLEY, RYAN                            Address on File
PRESSNELL, MIRANDA                       Address on File
Preston, Asiah                           Address on File
PRESUHN, JESSICA                         Address on File
Price, Dillon                            Address on File
PRICE, DOMINIQUE                         Address on File
Price, Dustin                            Address on File
PRICE, FELICIA                           Address on File
Price, Jamari                            Address on File

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                                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                Consolidated Creditor Matrix

                          Name                                          Address 1                             Address 2                Address 3                   City     State PostalCode   Country
Price, JaToy                                        300 East John Carpenter Freeway         Suite 800                                                   Irving              TX   75062
PRICE, JENNIFER                                     Address on File
PRICE, JULIA                                        300 East John Carpenter Freeway         Suite 800                                                   Irving              TX   75062
Price, Justin                                       Address on File
PRICE, KIAMBERSHAE                                  Address on File
PRICE, LATISHA                                      Address on File
Price, Latoya                                       Address on File
PRICE, NAKITA                                       Address on File
PRICE, NATALIE                                      Address on File
Price, Nathan                                       Address on File
PRICE, RYAN                                         Address on File
PRICE, SERGIO                                       Address on File
PRICE, SHEREE                                       Address on File
Price, Stephanie                                    Address on File
PRICE, THOMAS                                       Address on File
PRICE, TORIONNE                                     Address on File
PRICE, TYTAIONE                                     Address on File
PRICEWATERHOUSECOOPERS LLP                          P. O. BOX 952282                                                                                    DALLAS              TX   75395‐2282
Prichett, Tyrin                                     Address on File
PRIDE, BILLY                                        Address on File
PRIDEMORE, KYLA                                     Address on File
Priester, Misty                                     Address on File
PRIETO HERRERA, DIEGO                               Address on File
PRIETO, JOSE                                        Address on File
Prime Clerk                                         830 Third Avenue                        9th Floor                                                   New York            NY   10022
Prince, Babbie                                      Address on File
PRINCE, DEMARIO                                     Address on File
PRINCE, KEYON                                       Address on File
Prince, Monet                                       Address on File
Prince, Patty                                       Address on File
Prior, Patrick                                      Address on File
PRISM ELECTRIC                                      2985 MARKET STREET                                                                                  GARLAND             TX   75041
PRISM ELECTRIC, INC.                                2985 MARKET ST.                                                                                     GARLAND             TX   75041
Pritchett, Shane                                    Address on File
Privette, Alex                                      Address on File
Privette, Michael                                   Address on File
PRIZM ARCHITECTS INTERNATIONAL LTD INC              580 DECKER DR                                                                                       IRVING              TX   75062
PRO AIR INC. 1796 E. KANSAS CITY RD.                1800 E. KANSAS CITY RD                                                                              OLATHE              KS   66061
PROACTIS INC.                                       INTESOURCE                              2111 E HIGHLAND AVE STE B375                                PHOENIX             AZ   85016
PROACTIS Spend Control Managed Services             2111 East Highland Avenue               Suite B‐375                                                 Phoenix             AZ   85016
PROCTER, JOSH                                       Address on File
PROCTOR, BLAIR                                      Address on File
PROCTOR, SHELEISIA                                  Address on File
PROFESSIONAL BASKETBALL CLUB LLC                    PO BOX 268821                                                                                       OKLAHOMA CITY       OK   73126‐8821
PROFESSIONAL MAINTENANCE SERVICES                   DBA PROFESSIONAL MAINTENANCE SVCS.      1548 S. 6TH ST.                                             MUSKOGEE            OK   74401
PROGRESSIVE ENVIRONMENTAL SERVICES dba SWS 
ENVIRONMENTAL SERVICE                               1619 MOYLAN ROAD                                                                                    PANAMA CITY BEACH   FL   32407
PROGRESSIVE WASTE SOLUTIONS OF TX, INC.             DBA WASTE CONNECTIOIN                   P O BOX 660389                                              DALLAS              TX   75266‐0389
PROGRESSIVE WASTE SOLUTIONS OF TX, INC. P.O. BOX 
650470                                              FORT WORTH DISTRICT                     P O BOX 660389                                              DALLAS              TX   75266‐0389
PROJECT ANGEL TREE OF CENTRAL TEXAS                 815 N VALLEY MILLS DR                                                                               WACO                TX   76710
PROMISE HOUSE                                       224 W PAGE                                                                                          DALLAS              TX   75208
Prosper Police Department                           PO Box 307                                                                                          Prosper             TX   75078
Prosper Police Department                           105 S Main St                                                                                       Propser             TX   75078
PROTECTION ONE ALARM MONITORING, INC.               P O BOX 219044                                                                                      KANSAS CITY         MO   64121‐9044
PROTOCALL, LLC                                      303 W LOOP 281                          STE 110 PMB 149                                             LONGVIEW            TX   75605
Proudfit, Landon                                    Address on File

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                                                                                     In re: Taco Bueno Restaurants Inc.., et al.
                                                                                            Consolidated Creditor Matrix

                       Name                                            Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
PROUT, JASON                                       Address on File
PRUETT, DAVID                                      Address on File
Pruett, Jayden                                     Address on File
Pruitt, Derian                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
PRUITT, HEATHER                                    Address on File
PRUITT, KENDRICK                                   Address on File
Pruitt, Pierre                                     Address on File
Pryor, Colby                                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
PRYOR, JESSIE                                      Address on File
PRYOR, MICHELLE                                    Address on File
PRYOR, RHONDA                                      Address on File
Pryor, Shadrick                                    Address on File

PTA TX CONGRESS DBA LINDA JOBE MIDDLE SCHOOL PTA   LINDA JOBE MS PTA                    2491 GERTIE BARRETT ROAD                                    MANSFIELD         TX      76063
Ptolemy Capital                                    5855 Country Road 441                                                                            Princeton         TX      75407
PUA, MARCELINA                                     Address on File
Puckett, Christopher                               Address on File
Puckett, Darrell                                   Address on File
Puempel, Caden                                     Address on File
Puente, Julian                                     Address on File
PUENTES, MARYURI                                   Address on File
Puentez, Malachi                                   Address on File
Puga, Felipe                                       Address on File
PUGH, JORDAN                                       Address on File
PULLEN, FREDRICKA                                  Address on File
PULLEN, LAWRENCE                                   Address on File
PULLEY, JAKE                                       Address on File
Pulse, Devin                                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Purcell, James                                     Address on File
Purcell, Katlen                                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Purcell, Nicholas                                  Address on File
PURCHASERS CHOICE                                  13841 ROSWELL AVE SUITE J                                                                        CHINO             CA      91710
Purdin, Mariah                                     Address on File
Purdom, Kristie                                    Address on File
PURDUE, MEGAN                                      Address on File
PURE FORCE                                         P. O. BOX 100512                                                                                 PASADENA          CA      91189‐0512
Purley, LeAndre                                    300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
PURVIS, GREGORY                                    Address on File
Purvis, Nichole                                    Address on File
PUSHA, TIFFANY                                     Address on File
PUSZTAI, BRET                                      Address on File
Putnam, Katie                                      Address on File
PUTNAM, RYAN                                       Address on File
PWP BASKETBALL                                     CHRIS LONEY                          1717 E 140TH PLACE SOUTH                                    BIXBY             OK      74008
QLVS INC DBA IDEACOM OF AMARILLO                   3910 S GEORGIA ST                                                                                AMARILLO          TX      79109
QSR AUTOMATIONS, INC.                              2301 STANLEY GAULT PKWY.                                                                         LOUISVILLE        KY      40223
QUALITY BRAND MANAGEMENT II LLC                    611 South Elm Street                                                                             BROKEN ARROW      OK      74012
QUALITY BRAND MANAGEMENT LLC                       611 South Elm Street                                                                             BROKEN ARROW      OK      74012
QUALITY BRAND MGMT                                 611 S ELM PLACE                                                                                  BROKEN ARROW      OK      74102
QUALITY BRAND MGMT II, LLC                         611 S ELM PL                                                                                     BROKEN ARROW      OK      74012
QUALITY STAINLESS LLC                              QUALITY FOOD EQUIPMENT               812 SE 82ND ST                                              OKLAHOMA CITY     OK      73149
Qualls, Dusty                                      Address on File
Qualls, Ladena                                     Address on File
Quantrell, Jessica                                 Address on File
QUARLES, VERNON                                    Address on File
QUARTER NOTE CLUB                                  P. O. BOX 1799                                                                                   MUSKOGEE          OK      74403
QUESADA, ELENA                                     Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                         Name                                 Address 1                          Address 2                Address 3                   City    State    PostalCode   Country
QUESADA, ROSEMARY                         Address on File
QUEZADA, DELFINA                          Address on File
QUEZADA, SUMMER                           Address on File
Quick, Marina                             Address on File
QUIGLEY, JONATHAN                         300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
QUILLIN, JEFFEREY                         Address on File
Quinalty, Kolby                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Quinn, Isabelle                           Address on File
Quinney, Cameron                          Address on File
QUINONES, ESTIMA                          Address on File
Quinonez, Anthony                         Address on File
QUINONEZ, CLARA                           Address on File
Quinonez, Moises                          Address on File
QUINTANA, SABAS                           Address on File
QUINTANILLA JR., ROLAND                   Address on File
QUINTANILLA, SELENA                       Address on File
QUINTERO, ANA                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Quintero, Julian                          Address on File
QUINTERO, ROSIBEL                         Address on File
QUINTON, KEVIN                            Address on File
QUIROZ, ANGELITA                          Address on File
Quiroz, Gabriel                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
QUIROZ, THEODORE                          Address on File
Quisenberry, Nicholas                     Address on File
R & S REST4436 WESTW                      4436 WESTWARD                                                                                    WICHITA FALLS      TX      76308
R J GLEESON CONSTRUCTION LLC              4860 PURCELL DR                                                                                  COLORADO SPRINGS   CO      80922
R&S Services                              Address Unknown
R.F. TECHNPO BOX 142542 S. PRA            PO BOX 142                           542 S. PRAIRIE ST                                           BETHALTO           IL      62010
RACHAL, CARLOS                            Address on File
RADER, GREGORY                            Address on File
Rader, MaKenzee                           Address on File
Radford, Jacob                            Address on File
Radford, Nathan                           Address on File
Radons, Erin                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Rae, Julie                                Address on File
RAEMISCH, BLAKE                           Address on File
RAGAN, ALEXANDRA                          Address on File
Ragan, Dustin                             Address on File
RAGAN, GEORGIA                            Address on File
RAGSDALE, NAQUIA                          Address on File
RAHIM, MUNTASIR                           Address on File
Rahimi, Zackey                            Address on File
Railey, Ernest                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
RAINO, KANEISHA                           Address on File
RAINWATER, KEITH                          Address on File
Rakovan, Kayla                            Address on File
RALEY, ANNA                               Address on File
RALEY, CORY                               Address on File
Raley, Kaitlyn                            Address on File
Ralls, Robin                              Address on File
RALSTON, WADE                             Address on File
Ramage, Kerstin                           Address on File
RAMBLIN EXPRESS                           3465 ASTROZON PLACE                                                                              COLORADO SPRINGS   CO      80910
RAMBO, CORTEZ                             Address on File
RAMBO, DEMETRIUS                          Address on File
RAMIREZ MENDEZ, GLORICELDA                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
RAMIREZ REMODEL                           DBA RAMIREZ REMODEL LLC              412 S. 12TH                                                 PONCA CITY         OK      74601

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                       Name                                       Address 1                          Address 2                Address 3                 City   State PostalCode   Country
RAMIREZ TAPING, BED AND PAINTING, INC.        4219 SHELLEY BLVD                                                                                DALLAS          TX   75211
RAMIREZ, ADRIAN                               Address on File
RAMIREZ, ALEJANDRO                            Address on File
RAMIREZ, ALEXANDER                            Address on File
Ramirez, Ana                                  Address on File
RAMIREZ, ANA                                  Address on File
Ramirez, Andrew                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMIREZ, ANITA                                Address on File
RAMIREZ, ANTHONY                              Address on File
RAMIREZ, ANTONIA                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMIREZ, ARICELA                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMIREZ, BERTILIA                             Address on File
RAMIREZ, BRIAN                                Address on File
RAMIREZ, CARINA                               Address on File
RAMIREZ, CARLOS                               Address on File
Ramirez, Carmen                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMIREZ, CARMEN                               Address on File
Ramirez, Cassandra                            Address on File
RAMIREZ, CASSIE                               Address on File
RAMIREZ, CLARA                                Address on File
Ramirez, Cristopher                           Address on File
Ramirez, Dehlila                              Address on File
RAMIREZ, EDUARDO                              Address on File
Ramirez, Edwin                                Address on File
RAMIREZ, ESTEPHEN                             Address on File
RAMIREZ, GRACIELA                             Address on File
Ramirez, Ignacio                              Address on File
Ramirez, Jaime                                Address on File
RAMIREZ, JAIME                                Address on File
RAMIREZ, JANET                                Address on File
Ramirez, Jasmine                              Address on File
RAMIREZ, JESSY                                Address on File
RAMIREZ, JESUS                                Address on File
Ramirez, Joanna                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Ramirez, Jocelyn                              Address on File
Ramirez, Johnathan                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Ramirez, Jonathan                             Address on File
Ramirez, Jose                                 Address on File
Ramirez, Jose                                 Address on File
RAMIREZ, KAREN                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMIREZ, KAREN                                Address on File
Ramirez, Kathy                                Address on File
RAMIREZ, LINDA                                Address on File
RAMIREZ, LUIS                                 Address on File
RAMIREZ, LUIS                                 Address on File
RAMIREZ, MAKAYALA                             Address on File
RAMIREZ, MARIA                                Address on File
RAMIREZ, MARICELA                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMIREZ, MARTIN                               Address on File
RAMIREZ, MARY                                 Address on File
RAMIREZ, MAYRA                                Address on File
Ramirez, Nancy                                Address on File
RAMIREZ, NANCY                                Address on File
Ramirez, Ofelia                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMIREZ, OLGA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Ramirez, Rebecca                              Address on File
RAMIREZ, RENEE                                Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                 City   State PostalCode   Country
RAMIREZ, REYES                           P O BOX 846243                                                                                   DALLAS          TX   75284‐6243
RAMIREZ, ROBERTA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMIREZ, SHARON                          Address on File
RAMIREZ, SHERRI                          Address on File
RAMIREZ, SONIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Ramirez, Stefani                         Address on File
RAMIREZ, VERENIZ                         Address on File
RAMIREZ, VICTOR                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMIREZ, YAJAIRA                         Address on File
RAMIREZ, YASMIN                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Ramirez, Yessika                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMIREZ‐DO, OLGA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMIRO, HUGO                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMON, DANIELLE                          Address on File
RAMON, ELIZABETH                         Address on File
Ramos Mendez, Silvia                     Address on File
RAMOS, APRIL                             Address on File
RAMOS, BEATRIZ                           Address on File
RAMOS, CINTHYA                           Address on File
RAMOS, CYNTHIA                           Address on File
RAMOS, EDWARD                            Address on File
RAMOS, ERICA                             Address on File
RAMOS, ERIK                              Address on File
RAMOS, ERIKA                             Address on File
RAMOS, EVELIN                            Address on File
RAMOS, EVETTE                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMOS, FRANCISCO                         Address on File
Ramos, Jessica                           Address on File
Ramos, Jesus                             Address on File
RAMOS, JOE                               Address on File
RAMOS, JOSHUA                            Address on File
RAMOS, JUAN                              Address on File
RAMOS, LIZETTE                           Address on File
RAMOS, MARLENA                           Address on File
Ramos, Michael                           Address on File
Ramos, Monica                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMOS, OMAR                              Address on File
RAMOS, SONIA                             Address on File
Ramos, Stefany                           Address on File
Ramos, Victor                            Address on File
RAMOS‐BARGAS, JAHCINA                    Address on File
RAMPY, LUKE                              Address on File
RAMSEY, BRYAN                            Address on File
Ramsey, Casey                            Address on File
Ramsey, Charlie                          Address on File
Ramsey, David                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMSEY, DAVID                            Address on File
RAMSEY, GARRETT                          Address on File
RAMSEY, JACEY                            Address on File
RAMSEY, KATILYN                          Address on File
RAMSEY, KRISTEN                          Address on File
Ramsey, Marquis                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RAMSEY, TAWNY                            Address on File
RAMSEY, TERESA G                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Rand, Gregory                            Address on File
RANDAHL, KEEGAN                          Address on File
Randall, Kash                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Randall, Nila                           Address on File
RANDEL, JACQUELINE                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RANDLE, KEIANNA                         Address on File
RANDLE, LATISHA                         Address on File
Randle, Peyton                          Address on File
RANDLE, TARA                            Address on File
RANDLE, TRE'VON                         Address on File
RANDOLPH, JERAMIE                       Address on File
RANDOLPH, MORRIS                        Address on File
Randolph, Timara                        Address on File
RANDY RAY BROWDER                       DBA BROWDER TILING COMPANY           2371 IRON BRIDGE RD                                         LORENA          TX      76655
Raney, Virginia                         Address on File
Rangel III, Abundio                     Address on File
RANGEL, ANDREA                          Address on File
RANGEL, BILLY                           Address on File
Rangel, Gabrielle                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Rangel, Jesus                           Address on File
RANGEL, JOCELYN                         Address on File
Rangel, Keith                           Address on File
Rangel, Kent                            Address on File
RANGEL, MARIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Rangel, Maria                           Address on File
RANGEL, MARTINA                         Address on File
RANGEL, MICHAEL                         Address on File
RANGEL, SANDRA                          Address on File
RANKIN, ANDREW                          Address on File
Ransbottom, Shonna                      Address on File
RANSOM, JOSHUA                          Address on File
RANSOM, LASHA                           Address on File
RANSOM, MACKENZIE                       Address on File
RANSOME, NATASHA                        Address on File
RAPID VALUE SOLUTIONS INC.              7901 STONERIDGE DR                   STE 225                                                     PLEASANTON      CA      94588
Rappe, Ryan                             Address on File
Rascon, Maria                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Rashad, Abdul                           Address on File
Rashleigh, Amber                        Address on File
Ratcliff, Kristain                      Address on File
Ratcliff, Maegan                        Address on File
RATHBURN, JASON                         Address on File
Ratliff, Jonathan                       Address on File
RATTLER, WILBERT                        Address on File
Rauch, Dillian                          Address on File
Rauser, Sara                            Address on File
Ravelo, Breanne                         Address on File
RAWDON, CODY                            Address on File
RAWDON, ROBIN                           Address on File
Ray Hall Electric                       Address Unknown
RAY III, HOWARD                         Address on File
Ray, Andres                             Address on File
RAY, DEVON                              Address on File
Ray, Jaylon                             Address on File
RAY, LATISHA                            Address on File
RAY, STEPHEN                            Address on File
Ray, Tamia                              Address on File
RAYBON, SHAUNDRIA                       Address on File
RAYBURN, JEFF                           Address on File
RAYBURN, JORDAN                         Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                       Name                                      Address 1                         Address 2                             Address 3                    City   State    PostalCode   Country
RAYFORD, EVERETT                            Address on File
Raymo, Barbara                              Address on File
RAYMOND, ANDREW                             Address on File
Raymond, Donjai                             Address on File
RAYMORE PECULIAR PROJECT GRADUATION         LAURI GREY                           PO BOX 1513                                                              RAYMORE            MO      64083
Rayos, Aldo                                 300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
RBA CONSULTING                              294 GROVE LANE E, STE. 100                                                                                    WAYZATA            MN      55391
RCB Bank                                    300 West Patti Page Boulevard                                                                                 Claremore          OK      74018
RCB Bank                                    12200 E 96th St N                                                                                             Owasso             OK      74021
RCB Bank                                    11633 East 86th Street North                                                                                  Owasso             OK      74055
READING, TERRY                              Address on File
READY ACCESS                                1815 ARTHUR DRIVE                                                                                             WEST CHICAGO       IL      60185
REAGAN VOICE PTA                            1601 24TH AVE SE                                                                                              NORMAN             OK      73071
REAGAN, JENNIFER                            Address on File
Rebert, Ra'Chel                             Address on File
REBERT, RADESSA                             Address on File
REBOLLEDO, FRANCISCO                        300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
REBOLLEDO, FRANCISCO                        300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
Recard, Lashay                              Address on File
Recek, Justin                               300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
Recio, Jasmine                              Address on File
Record, Kaley                               Address on File
RED AND BLUE HEATING & AIR                  DBA RED AND BLUE HEATING & AIR       P. O. BOX 1508                                                           ARDMORE            OK      73402‐1508
RED BOOK CONNECT, LLC DBA HOT SCHEDULES     PO BOX 848472                                                                                                 DALLAS             TX      75284‐8472
RED CARPET CHARTERS 6800 CAMILLE AVE.       P.O. BOX 94626                                                                                                OKLAHOMA CITY      OK      73143
Red Plains Plumbing                         Address Unknown
REDBIRD, JEREMY                             Address on File
REDD SR., DONTE                             Address on File
REDDICK, JOSH                               Address on File
REDDICKS, HAILEY                            Address on File
Redic, Jaylen                               300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
Redrick, Izoraya                            300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
REDRICKS, ALEXUS                            Address on File
REDSKINS ORGANIZATION                       WTYFA REDSKINS                       BENTON OVERBY                              3433 SANTA MONICA DR          ABILENE            TX      79605
Redwillow, Wojapi                           Address on File
REDWINE, NICHOLAS                           Address on File
REDWINE, SUSAN                              Address on File
REECE, BRANDON                              Address on File
Reece, George                               Address on File
Reece, Jordin                               Address on File
REECE, KRISTEN                              Address on File
Reece, Misty                                Address on File
REECE, SHALEE                               300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
REECE, TISHIRA                              Address on File
REECE‐SHAW, CATHERINE                       Address on File
REED, BREON                                 Address on File
Reed, Brianna                               Address on File
REED, CAMEO                                 Address on File
REED, CHANCE                                Address on File
REED, CHARITY                               Address on File
REED, DEAN                                  Address on File
REED, DENNIS                                Address on File
REED, ELICIA                                Address on File
Reed, Emily                                 300 East John Carpenter Freeway      Suite 800                                                                Irving             TX      75062
Reed, Jilleanne                             Address on File
Reed, Katrena                               Address on File
Reed, Kelton                                Address on File

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                          Name                                      Address 1                          Address 2                Address 3                   City   State PostalCode   Country
Reed, Mason                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
REED, MELANEY                                   Address on File
REED, PAMELA                                    Address on File
REED, RACHEL                                    Address on File
REED, RYAN                                      Address on File
Reed, Shelby                                    Address on File
Reed, Wallace                                   Address on File
REED, WESLEY                                    Address on File
Reed, William                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
REEDER, JAMES                                   Address on File
REEDY, JORDAN                                   Address on File
REES, ALEXANDER                                 Address on File
Reese, Azariah                                  300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
REESE, PORSHIA                                  Address on File
Reese, Tamanika                                 Address on File
REESE, TAYLOR                                   Address on File
REESE, TONI                                     Address on File
REEVES, ASHLEIGH                                Address on File
Reeves, Brianna                                 300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Reeves, Charles                                 Address on File
Reeves, Janette                                 Address on File
Reeves, Jordon                                  Address on File
REEVES, LACHELL                                 Address on File
REEVES, MIA                                     Address on File
REEVES, MILES                                   Address on File
Reeves, Ryan                                    Address on File
Reeves, Tyler                                   Address on File
REFRIGERATED SPECIALIST INC.                    3040 E MEADOWS                                                                                   MESQUITE          TX   75150
Regalado Favela, Daniel                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
REGALADO FAVELA, TANIA                          Address on File
Regions Bank                                    213 North Fredonia                                                                               Longview          TX   75601
Regions Bank                                    910 East Hawkins Parkway                                                                         Longview          TX   76505
Regions Bank (Smart Safe)                       1111 W Mockingbird Lane                                                                          Dallas            TX   75247
REGIS PROPERTY MANAGEMENT, LLC                  BROWNING PLACE LLC                   P O BOX 207001 LOCKBOX 207001                               DALLAS            TX   75320
REGIS REALTY PRIME, LLC DBA REGIS PRPTY MNGMT   1603 LBJ FREEWAY STE 122                                                                         FARMERS BRANCH    TX   75234
REID, ANGELA                                    Address on File
REID, BARBARA                                   Address on File
Reid, Jordan                                    Address on File
REID, MATTHEW                                   Address on File
Reiling, Susan                                  Address on File
REILING, WILLIAM                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Reimers, Christian                              Address on File
REINCE, CLARISSA                                Address on File
REINERS, SHERDIE                                Address on File
Reinford, Joel                                  Address on File
REINHARDT, ASHLEY                               Address on File
Reitinger, riese                                Address on File
Relerford, Tawuana                              Address on File
RELIANT METRO                                   PO BOX 733007                                                                                    DALLAS            TX   75373‐3007
Remedies, Ryan                                  Address on File
REMINGTON, CIERRA                               Address on File
Reneau, Chrislyn                                Address on File
Reneau, Destiny                                 Address on File
RENEE KINNEY DBA REBEL'S BASEBALL               RENEE KINNEY                         1421 SE 17TH ST                                             MOORE             OK   73160
RENEVILLIA, GABRIELLE                           Address on File
RENFRO, DUSTY                                   Address on File
Renfro, Gage                                    Address on File

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                           Name                                     Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
Renfro, Michael                                 Address on File
Renno Robinett, Justin                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
RENNOW, SUMMER                                  Address on File
Renteria, Angel                                 Address on File
RENTON, ANGELA                                  Address on File
REPAIRS UNLIMITED INC.                          DBA RUI CONSGTRUCTION                1940 MERRIAM LANE                                           KANSAS CITY      KS      66106
Repp, John                                      Address on File
REPUBLIC CONCEPTS, INC. DBA REPUBLIC STONE CO   10833 STATE HIGHWAY 205                                                                          LAVON            TX      75166
REPUBLIC SERVICES                               P. O. BOX 78829                                                                                  PHOENIX          AZ      85062‐8829
REPUBLIC TITLE OF TEXAS, INC.                   2626 HOWELL ST., 10TH FLOOR                                                                      DALLAS           TX      75204‐4064
RESCO                                           DBA RESCO                            P O BOX 1133                                                HEWITT           TX      76643
Resendez, Claudia                               Address on File
Resendez, Little                                Address on File
Resetz, Devon                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
RESMA, ANTHONY                                  Address on File
RESOURCE POINT OF SALE LLC                      1765 N ELSTON AVE                                                                                CHICAGO          IL      60642
RESPO, CURTIS                                   6577 EAST 40TH STREET                                                                            TULSA            OK      74145
Restaurant Equipment Service Company (Resco)    Address Unknown
RESTAURANT FINANCE MONITOR                      2808 ANTHONY LANE S                                                                              MINNEAPOLIS      MN      55418
Restaurant Loss Prevention                      Security Assn                        885 Woodstock Ste 430 #376                                  Roswell          GA      30075‐2274
RESTAURANT LOSS PREVENTION                      AND SECURITY ASSN                    885 WOODSTOCK STE 430 #376                                  ROSWELL          GA      30075‐2274
RESTAURANT MANAGEMENT CAREERS                   5500 E. ATHERTON, #226                                                                           LONG BEACH       CA      90815
RESTAURANT TRENDS                               1735 STATE ROUTE 71, STE. 1                                                                      WALL TOWNSHIP    NJ      07719
RESTO, ARTURO                                   Address on File
Resto, Luis                                     Address on File
RESTO, TORY                                     Address on File
RESURRECTION FREE METHODIS CHURCH               6000 N MACARTHUR BLVD                                                                            OKLAHOMA CITY    OK      73122
RETA, STEPHANIE                                 Address on File
REUNION LLC                                     BANK OF THE LAKES                    12401 E. 86TH ST. N                                         OWASSO           OK      74055
Reunion, L.L.C.                                 415 Timbercrest Road                                                                             Catoosa          OK      74015
Reveles, Kenia                                  Address on File
Revels, Anthony                                 Address on File
REVELS, PAIGE                                   Address on File
REVILLA, ANTHONY                                Address on File
REVILLA, TIFFANY                                Address on File
Rex, Kathryn                                    Address on File
REY, LUZ                                        Address on File
REYES NUNEZ, ANA                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
REYES SANJUAN, LESLIE                           Address on File
REYES, ABRAHAM                                  Address on File
REYES, AILISH                                   Address on File
Reyes, Alexa                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
REYES, ALMA                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Reyes, Amarissa                                 Address on File
Reyes, Arlene                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
REYES, BRANDON                                  Address on File
REYES, CARLOS                                   Address on File
REYES, CAROLINA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
REYES, CHRISTOPHER                              Address on File
Reyes, Delaney                                  Address on File
REYES, EDWARD                                   Address on File
Reyes, Efrain                                   Address on File
REYES, EMILY                                    Address on File
REYES, ESMERALDA                                Address on File
Reyes, Gabriel                                  Address on File
Reyes, Isabel                                   Address on File
REYES, JOAQUIN                                  Address on File

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                       Name                                         Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
REYES, JOSHUA                                   Address on File
REYES, JULIAN                                   Address on File
Reyes, Kevin                                    Address on File
REYES, MARC                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
REYES, MARIBEL                                  Address on File
REYES, MARIO                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
REYES, ROSALBA                                  Address on File
REYES, SANDRA                                   Address on File
REYES, TERRI                                    Address on File
REYES, YOCELIN                                  Address on File
REYNA, ANGELICA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Reyna, Antonio                                  Address on File
REYNA, LAURA                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
REYNA, LILIANA                                  Address on File
REYNA, ROGER                                    Address on File
REYNOLDS ELECTRIC HEATING AND A/C SERVICE LLC   2618 SHERWOOD DR                                                                                 SHERMAN          TX      75092
REYNOLDS, ABBIE                                 Address on File
REYNOLDS, ADAM                                  Address on File
REYNOLDS, ALEXANDRA                             Address on File
Reynolds, Courtney                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Reynolds, Elijah                                Address on File
REYNOLDS, JASON                                 Address on File
REYNOLDS, JOSH                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
REYNOLDS, KARRY                                 Address on File
REYNOLDS, KATELYN                               Address on File
REYNOLDS, LATOYA                                Address on File
Reynolds, Madison                               Address on File
Reynolds, Michelle                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
REYNOS, TANIA                                   Address on File
REYNOSO, JUANA                                  Address on File
RHEA, JAMES                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
RHEA, JIM                                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
RHINE, WILLIAM                                  Address on File
RHINEHART, TONYA                                Address on File
RHOADES ELEMENTARY PTA                          320 E MIDWAY                                                                                     BROKEN ARROW     OK      74012
RHODES, ASHLEY                                  Address on File
RHODES, CALVIN                                  Address on File
Rhodes, Christy                                 Address on File
Rhodes, Dakota                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
RHODES, DEMETRIUS                               Address on File
RHODES, ERIC                                    Address on File
Rhodes, Jonathon                                Address on File
RHODES, ROBERT                                  Address on File
Rhodes, Tina                                    Address on File
Rhone, Fredrick                                 Address on File
RHS CONSTRUCTION SERVICES, LLC                  PO BOX 5255                                                                                      ABILENE          TX      79608
Rhymes, Brianna                                 Address on File
RHYMES, MELINDA                                 Address on File
Ribeiro, Cory                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
RICAHRDSON, STEPHANIE                           Address on File
RICANO, VICTOR                                  9000 VANTAGE POINT DR                APT #1432                                                   DALLAS           TX      75243
RICE, ALEX                                      Address on File
RICE, ARIANA                                    Address on File
Rice, Cavan                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Rice, Elisabeth                                 Address on File
RICE, JEROME                                    Address on File
RICE, KELSEY                                    Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                            Name                                 Address 1                         Address 2                Address 3                     City   State    PostalCode   Country
RICE, RONESHA                               Address on File
RICE, SARAH                                 Address on File
RICE, ZACKARY                               Address on File
RICH, CANDICE                               Address on File
RICH, ROBERT                                Address on File
RICH, TOYRA                                 Address on File
Richard, Diniqua                            Address on File
Richard, Jeremy                             Address on File
Richard, Levi                               Address on File
Richard, Precious                           300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
RICHARD, TRINITY                            Address on File
Richard, Usanga                             Address on File
Richards, Dominique                         Address on File
RICHARDS, HUNTER                            Address on File
RICHARDS, TANIESHA                          Address on File
Richardson Health Dept.                     PO Box 830309                                                                                    Richardson          TX      75083
Richardson Health Dept.                     411 W. Arapaho Rd. #107                                                                          Richardson          TX      75080
Richardson ISD Tax Office                   PO Box 830625                                                                                    Richardson          TX      75083
Richardson ISD Tax Office                   420 S. Greenville Avenue                                                                         Richardson          TX      75081‐4107
RICHARDSON, CHADSTITY                       Address on File
RICHARDSON, CHRISTOPHER                     Address on File
RICHARDSON, CODY                            Address on File
RICHARDSON, COY                             Address on File
Richardson, Coy                             Address on File
Richardson, Daeon                           Address on File
RICHARDSON, DANIEL                          Address on File
Richardson, David                           Address on File
Richardson, Detrianna                       Address on File
RICHARDSON, DILLION                         Address on File
RICHARDSON, DUSTY                           Address on File
Richardson, Jacob                           300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
RICHARDSON, JENA                            Address on File
Richardson, Jerchristopher                  Address on File
RICHARDSON, JERRY                           Address on File
RICHARDSON, JOSEPH                          Address on File
RICHARDSON, KATRINA                         Address on File
RICHARDSON, KE'ARA                          Address on File
Richardson, LaDarrius                       Address on File
Richardson, LaJuan                          300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
Richardson, Lori                            Address on File
RICHARDSON, MIYON                           Address on File
RICHARDSON, NANCY                           Address on File
RICHARDSON, NORMA                           Address on File
RICHARDSON, SIETE                           Address on File
Richardson, Wyniesha                        Address on File
RICHARDSONPO BOX 830                        PO BOX 830309                                                                                    RICHARDSON          TX      75083
Richmond, Colton                            Address on File
RICHMOND, COLTON                            Address on File
RICHMOND, FANNIE                            Address on File
RICHMOND, TIMOTHY                           Address on File
RICHNER, DAYNA                              Address on File
Richter, Dallas                             300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
RICHTER, PAUL                               Address on File
RICK WARREN, COURT CLERK                    320 ROBERT S KERR                    RM409                                                       OKLAHOMA CITY       OK      73102
RICKETT, KAYLA                              Address on File
RICKEY, LIAM                                Address on File
Ricks, Annetta                              Address on File

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                                                                                    In re: Taco Bueno Restaurants Inc.., et al.
                                                                                           Consolidated Creditor Matrix

                      Name                                        Address 1                              Address 2                Address 3                 City   State    PostalCode   Country
Ricks, Christian                              Address on File
Ricks, Sunda                                  Address on File
RICO, ADDIE                                   Address on File
Rico, Antonio                                 Address on File
Rico, Jennifer                                Address on File
RICO, MARIA                                   Address on File
RICO‐PARDO, MARIA                             Address on File
RIDDLE, BRANDON                               Address on File
RIDDLE, DESTINEE                              Address on File
RIDDLE, JENNIFER                              Address on File
RIDDLE, MICHELLE                              Address on File
Riddle, Sarah                                 Address on File
RIDDLE‐SMITH, BETH                            Address on File
Ridens, Felicia                               Address on File
Ridens, Rebekah                               Address on File
RIDEOUT, DARRIS                               Address on File
RIDGEL, ANGEL                                 Address on File
RIDGEVIEW FALLS OWNERS ASSOCIATION            C/O GRUBB & ELLIS/THE WINBURY GROUP      4520 MAIN ST., STE. 1000                                    KANSAS CITY     MO      64111
RIDLEY, RITA                                  Address on File
Rieder, Olivia                                Address on File
RIELL, CAROL                                  300 East John Carpenter Freeway          Suite 800                                                   Irving          TX      75062
RIFF, CODY                                    300 East John Carpenter Freeway          Suite 800                                                   Irving          TX      75062
RIGGINS, KELVIN                               Address on File
RIGGIO, LORETTA                               Address on File
RIGGS, ALINE                                  Address on File
RIGGS, KATRINA                                300 East John Carpenter Freeway          Suite 800                                                   Irving          TX      75062
Riggs, Katrina                                Address on File
RIGGS, MICHAEL                                Address on File
Riggs, Samantha                               Address on File
RIGMAIDEN, JAYVIER                            Address on File
RIGNEY, DANIEL                                Address on File
RIGSBAY, CHASE                                Address on File
Rigsby, Chris                                 Address on File
Rigsby, Christian                             Address on File
RILEY, AARON                                  Address on File
RILEY, ALEX                                   Address on File
Riley, Dustin                                 300 East John Carpenter Freeway          Suite 800                                                   Irving          TX      75062
Riley, Jacob                                  300 East John Carpenter Freeway          Suite 800                                                   Irving          TX      75062
RILEY, MEGHAN                                 Address on File
Riley, Sofia                                  Address on File
RILEY, STEPHANIE                              300 East John Carpenter Freeway          Suite 800                                                   Irving          TX      75062
Riley, Vernon                                 300 East John Carpenter Freeway          Suite 800                                                   Irving          TX      75062
Rinalvi, Michael                              Address on File
RINCON, ELIUT                                 Address on File
RINCON, VICTORIA                              Address on File
RINER, ASHLEY                                 Address on File
RINETTI, JOSEPHINE                            Address on File
Ring, Courtney                                Address on File
Ringlero, Lancer                              Address on File
Ringo, Jacqueline                             Address on File
RINGWALD, KALIB                               Address on File
RINKER, ZACHARY                               Address on File
RIOS, AGUSTIN                                 Address on File
RIOS, ANNA                                    300 East John Carpenter Freeway          Suite 800                                                   Irving          TX      75062
RIOS, ARLEEN                                  Address on File
RIOS, BALBINA                                 Address on File
Rios, Cynthia                                 Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
RIOS, GENARO                           Address on File
RIOS, GUADALUPE                        Address on File
RIOS, JEREMY                           Address on File
RIOS, JESSICA                          Address on File
RIOS, JOSE                             Address on File
RIOS, JOSEPHINE                        Address on File
RIOS, JUAN                             Address on File
RIOS, LISANDRA                         Address on File
RIOS, LORENA                           Address on File
RIOS, LUPE                             Address on File
RIOS, MA                               Address on File
RIOS, MARITZA                          Address on File
Rios, Olga                             Address on File
RIOS, RICHARD                          Address on File
Ripley, Deven                          Address on File
RIPPY, HAYLEIGH                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RISDALL, JUSTIN                        Address on File
RISLEY, EDWARD                         Address on File
RITCHEY, KALEB                         Address on File
Ritchie, Angela                        Address on File
RITCHIE, CODY                          Address on File
RITTER, CATHERINE                      Address on File
Rivapalacio, Emily                     Address on File
RIVAS, CIARA                           Address on File
Rivas, Miguel                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Rivas, Monica                          Address on File
RIVAS, MONICA                          Address on File
RIVAS, ROSALBA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RIVEN, REGINA                          Address on File
RIVERA CARDONA, JENNIFER               Address on File
RIVERA RODRIGUEZ, NATANIEL             Address on File
Rivera, Abril                          Address on File
Rivera, Alexander                      Address on File
RIVERA, ALYCIA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RIVERA, AMY                            Address on File
Rivera, Angeles                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Rivera, Anthony                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RIVERA, BELEN                          Address on File
Rivera, Bertha                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RIVERA, BERTHA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RIVERA, BRANDON                        Address on File
RIVERA, BRISA                          Address on File
Rivera, Christal                       Address on File
RIVERA, CRISTIAN                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RIVERA, DAYANA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RIVERA, DIEGO                          Address on File
RIVERA, ERIK                           Address on File
RIVERA, FRANCISCO                      Address on File
RIVERA, GABRIEL                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Rivera, Huberto                        Address on File
Rivera, Jose                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RIVERA, JOSELIN                        Address on File
Rivera, Josiah                         Address on File
RIVERA, JUAN                           Address on File
RIVERA, JUANA                          Address on File
Rivera, Kyan                           Address on File
RIVERA, LISETTE                        Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                      Name                                      Address 1                          Address 2                Address 3                      City   State PostalCode   Country
RIVERA, LORENA                              300 East John Carpenter Freeway      Suite 800                                                   Irving               TX   75062
RIVERA, LORENA                              Address on File
Rivera, Luis                                300 East John Carpenter Freeway      Suite 800                                                   Irving               TX   75062
Rivera, Lydia                               Address on File
Rivera, Marangeli                           Address on File
RIVERA, MARIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving               TX   75062
RIVERA, MARIA                               Address on File
Rivera, Nataly                              Address on File
RIVERA, SAYDA                               Address on File
RIVERA, SERGIO                              Address on File
Rivera, Sharlim                             Address on File
RIVERS, ANDREA                              Address on File
RIVERS, KAYTLIN                             Address on File
RIVERS, MARTIN                              Address on File
RIVON, KAMAREO                              Address on File
RIX, AMY                                    Address on File
RIZWAN, MOHAMMED                            300 East John Carpenter Freeway      Suite 800                                                   Irving               TX   75062
Roach, Brooke                               Address on File
ROACHO, BLANCA                              Address on File
ROADRUNNER CHARTERS, INC.                   8972 TRINITY BLVD                                                                                HURST                TX   76053
Roane, Shawn                                Address on File
Roanoke 08 A, LP                            12411 Ventura Blvd.                                                                              Studio City          CA   91604
ROAQUE, VICTOR                              Address on File
ROARK, CHADD                                Address on File
ROARK, JOSHUA                               Address on File
ROBASON, JUSTIN                             Address on File
Robb, Denver                                300 East John Carpenter Freeway      Suite 800                                                   Irving               TX   75062
ROBBINS, ANNETTA                            Address on File
ROBBINS, BRADLEY                            Address on File
Robbins, Brittany                           Address on File
ROBBINS, JENNIFER                           Address on File
ROBBINS, JOSHUA                             Address on File
Robbins, Riley                              300 East John Carpenter Freeway      Suite 800                                                   Irving               TX   75062
Robedeaux, Sherrill                         Address on File
Roberson, Allen                             300 East John Carpenter Freeway      Suite 800                                                   Irving               TX   75062
ROBERSON, ANTHONY                           Address on File
ROBERSON, ANTHONY                           Address on File
Roberson, Kimya                             Address on File
ROBERSON, QUANTELL                          Address on File
Roberson, Quayshaun                         Address on File
ROBERSON, ROBERT                            Address on File
Roberson, Ronald                            Address on File
Roberson, Shawndyah                         Address on File
ROBERSON, TYSHAUN                           Address on File
ROBERT HALF MANAGEMENT RESOURCES            PO BOX 743295                                                                                    LOS ANGELES          CA   90074‐3295
ROBERTS, BRIDGETTE                          Address on File
Roberts, Cameron                            300 East John Carpenter Freeway      Suite 800                                                   Irving               TX   75062
ROBERTS, COLE                               Address on File
ROBERTS, COREY                              Address on File
Roberts, Daquan                             Address on File
ROBERTS, EDGAR                              Address on File
Roberts, James                              Address on File
ROBERTS, JAMIE                              Address on File
Roberts, Jennifer                           Address on File
Roberts, Jessica                            Address on File
Roberts, Justin                             Address on File
ROBERTS, KIERRA                             Address on File

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                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                               Consolidated Creditor Matrix

                      Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Roberts, Lacey                        Address on File
ROBERTS, PAUL                         Address on File
Roberts, Richard                      Address on File
ROBERTS, SASHA‐NEVER                  Address on File
Roberts, Seth                         Address on File
ROBERTS, SHARANA                      Address on File
Roberts, Skyler                       Address on File
ROBERTS, WENDELL                      Address on File
ROBERTSON, AISHA                      Address on File
ROBERTSON, ASHLEY                     Address on File
Robertson, Caleb                      Address on File
ROBERTSON, FAITH                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ROBERTSON, JEREMY                     Address on File
ROBERTSON, JOHN                       Address on File
ROBERTSON, JOSHUA                     Address on File
ROBERTSON, KEELIN                     Address on File
Robertson, Kevin                      Address on File
ROBERTSON, MAKAYLA                    Address on File
Robertson, Rebecca                    Address on File
Robertson, Ryan                       Address on File
ROBERTSON, SARAH                      Address on File
ROBERTSON, SYDNEY                     Address on File
ROBESON, JENNIFER                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ROBINS, TYLER                         Address on File
ROBINSON & HOOVER                     1000 ROBINSON RENAISSANCE                                                                        OKLAHOMA CITY   OK      73102
ROBINSON DUNCAN, TYLER                Address on File
ROBINSON, AARON                       Address on File
ROBINSON, BRETT                       Address on File
ROBINSON, BRITTON                     Address on File
ROBINSON, BRYAN                       Address on File
ROBINSON, CARLTON                     Address on File
ROBINSON, CATHY                       Address on File
Robinson, Cecil                       Address on File
ROBINSON, CENTORIZ                    Address on File
ROBINSON, CHEYENNE                    Address on File
ROBINSON, COREY                       Address on File
ROBINSON, COURTNEY                    Address on File
ROBINSON, DARIUS                      Address on File
ROBINSON, DARRON                      Address on File
ROBINSON, DARWIN                      Address on File
Robinson, Destiny                     Address on File
Robinson, Eonna                       Address on File
Robinson, Jacob                       Address on File
Robinson, James                       Address on File
ROBINSON, JAMORTRIA                   Address on File
Robinson, Jared                       Address on File
ROBINSON, JEDARRIUS                   Address on File
ROBINSON, JESSICA                     Address on File
ROBINSON, JOSEPH                      Address on File
Robinson, Joshua                      Address on File
ROBINSON, JUSTIN                      Address on File
Robinson, Kathryne                    Address on File
ROBINSON, KEVAN                       Address on File
ROBINSON, LAKEISHA                    Address on File
Robinson, Melissa                     Address on File
ROBINSON, PARIS                       Address on File
ROBINSON, PERRY                       Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                           Name                                    Address 1                          Address 2                Address 3                     City   State    PostalCode   Country
ROBINSON, RENEE                                Address on File
ROBINSON, ROBERT                               300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
ROBINSON, RODRICK                              Address on File
ROBINSON, SHAQUITA                             Address on File
Robinson, Tamaryae                             Address on File
ROBINSON, TIMOTHY                              Address on File
ROBINSON, TRISTAN                              Address on File
ROBINSON, TYLER                                Address on File
ROBINSON, XAVIER                               Address on File
Robison, Randall                               Address on File
ROBLEDO, LUZ                                   Address on File
Robles, Daniel                                 Address on File
ROBLES, FANNY                                  Address on File
Robles, Rafael                                 Address on File
ROBLES, RAFAEL                                 Address on File
Robles, Ricardo                                Address on File
Robley, Dennis                                 Address on File
ROCHA MARTINEZ, JUAN                           300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
ROCHA, CRESCENIO                               Address on File
Rocha, Rose                                    Address on File
ROCKBROOK ELEMENTARY SCHOOL                    2751 ROCKBROOK DR                                                                                LEWISVILLE          TX      75067
Rockmore, Peyton                               Address on File
ROCKWALL C841 JUSTIN                           841 JUSTIN RD                                                                                    ROCKWALL            TX      75087
Rockwall Central Appraisal District            841 Justin Rd                                                                                    Rockwall            TX      75087
ROCKWALL SERVICE COMPANY                       2105 FM 1139                                                                                     ROCKWALL            TX      75032
RODARTE, SILVESTRE                             Address on File
RODDEN BULLARD, MICHAEL                        Address on File
RODDEN, JENNIFER                               Address on File
Rodden, Tiffany                                300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
RODDY, DAKOTA                                  Address on File
RODECKER, CHRISTIAN                            Address on File
Rodela, Regan                                  Address on File
RODEN, HUNTER                                  Address on File
Rodenberg, Betsy                               Address on File
Rodery, Makenna                                Address on File
RODGERS, BENJAMIN                              Address on File
RODGERS, CRYSTAL                               300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
Rodgers, Daisy                                 Address on File
RODGERS, DENNIS                                Address on File
RODGERS, DEREK                                 Address on File
RODGERS, JAMES                                 Address on File
Rodgers, Ronnie                                300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
Rodgers, Tamra                                 Address on File
RODGERS, TARA                                  Address on File
Rodkey, Harley                                 Address on File
Rodney, Eva                                    Address on File
Rodney, Joseph                                 Address on File
RODOLFO, MARIA                                 Address on File
RODREGUEZ, LATISHA                             Address on File
RODRIGUES, AMBER                               Address on File
RODRIGUEZ DE ALVARADO, SILVIA                  300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
RODRIGUEZ GALINDEZ, ANTONIO                    Address on File
Rodriguez GONZALEZ, Angel                      Address on File
Rodriguez Guzman, Marco                        Address on File
RODRIGUEZ, ADELITA                             Address on File
RODRIGUEZ, ADIRANO                             Address on File
Rodriguez, Adrian                              Address on File

                                                                                                Page 255 of 333
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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State PostalCode   Country
RODRIGUEZ, ADRIANA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, AIMEE                        Address on File
RODRIGUEZ, ALEXANDRA                    Address on File
RODRIGUEZ, ALEXIS                       Address on File
RODRIGUEZ, ALONDRA                      Address on File
RODRIGUEZ, AMANDA                       Address on File
RODRIGUEZ, ANDREW                       Address on File
RODRIGUEZ, ANGEL                        Address on File
RODRIGUEZ, ANTHONY                      Address on File
Rodriguez, Antonio                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, ARACELEY                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, ARACELY                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, ARIEL                        Address on File
RODRIGUEZ, AURA                         Address on File
Rodriguez, Bertha                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, BOBBY                        Address on File
Rodriguez, Cassandra                    Address on File
RODRIGUEZ, CELIA                        Address on File
RODRIGUEZ, CESAR                        Address on File
RODRIGUEZ, CHRYSTAL                     Address on File
RODRIGUEZ, CONNIE                       Address on File
RODRIGUEZ, CRISTINA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, CRISTINA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, CRISTINA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Rodriguez, Cristina                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, CRYSTAL                      Address on File
RODRIGUEZ, DANIEL                       Address on File
RODRIGUEZ, DANIEL                       Address on File
RODRIGUEZ, EDGAR                        Address on File
RODRIGUEZ, ELISEO                       Address on File
RODRIGUEZ, ELIZABETH                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, ERNEST                       Address on File
RODRIGUEZ, FELISIANO                    Address on File
Rodriguez, Fernando                     Address on File
Rodriguez, Francisco                    Address on File
Rodriguez, Gabriel                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, GABRIELA                     Address on File
Rodriguez, Gerardo                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, GERARDO                      Address on File
RODRIGUEZ, GERMAN                       Address on File
RODRIGUEZ, GLORIA                       Address on File
Rodriguez, Grecia                       Address on File
RODRIGUEZ, GRICELDA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, GRISELDA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, HAYLEI                       Address on File
RODRIGUEZ, IBIS                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
RODRIGUEZ, JACOB                        Address on File
RODRIGUEZ, JAMES                        Address on File
Rodriguez, Jaqueline                    Address on File
RODRIGUEZ, JEANETTE                     Address on File
Rodriguez, Jenniefer                    Address on File
RODRIGUEZ, JENNIFER                     Address on File
Rodriguez, Jenniffer                    Address on File
RODRIGUEZ, JESSE                        Address on File
Rodriguez, Jesus                        Address on File
Rodriguez, Joe                          Address on File
RODRIGUEZ, JOE                          Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
RODRIGUEZ, JOHN                         Address on File
RODRIGUEZ, JONATHAN                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RODRIGUEZ, JORGE                        Address on File
RODRIGUEZ, JOSE                         Address on File
RODRIGUEZ, JOSE                         Address on File
RODRIGUEZ, JOSE                         Address on File
RODRIGUEZ, JUAN                         Address on File
RODRIGUEZ, JULIO                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Rodriguez, Kimberly                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RODRIGUEZ, KRISTOL                      Address on File
RODRIGUEZ, LESLIE                       Address on File
RODRIGUEZ, LIGIA                        Address on File
RODRIGUEZ, LUIS                         Address on File
Rodriguez, Luis                         Address on File
RODRIGUEZ, LUIS                         Address on File
Rodriguez, Marcie                       Address on File
Rodriguez, Marcos                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RODRIGUEZ, MARIA                        Address on File
RODRIGUEZ, MARIA                        Address on File
RODRIGUEZ, MARIBEL                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Rodriguez, Maricela                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RODRIGUEZ, MARINA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RODRIGUEZ, MARTHA                       Address on File
RODRIGUEZ, MARTHA                       Address on File
RODRIGUEZ, MIGUEL                       Address on File
RODRIGUEZ, MOSES                        Address on File
RODRIGUEZ, NANCY                        Address on File
Rodriguez, Natalie                      Address on File
RODRIGUEZ, NICHOLAS                     Address on File
RODRIGUEZ, NIDIA                        Address on File
RODRIGUEZ, NOHA                         Address on File
RODRIGUEZ, RAIMUNDO                     Address on File
Rodriguez, Ramon                        Address on File
RODRIGUEZ, RAMON                        Address on File
RODRIGUEZ, RAMONA                       Address on File
RODRIGUEZ, RAUL                         Address on File
RODRIGUEZ, RAYMOND                      Address on File
Rodriguez, Rhonda                       Address on File
Rodriguez, Ricardo                      Address on File
RODRIGUEZ, RICHARD                      Address on File
RODRIGUEZ, RIGO                         Address on File
Rodriguez, Rosalba                      Address on File
RODRIGUEZ, RUBEN                        Address on File
RODRIGUEZ, SANDRA                       Address on File
RODRIGUEZ, SANDRA                       Address on File
Rodriguez, Sarai                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RODRIGUEZ, STEPHANIE                    Address on File
RODRIGUEZ, SYMBRE                       Address on File
RODRIGUEZ, TONY                         Address on File
RODRIGUEZ, VANESSA                      Address on File
RODRIGUEZ, VELIA                        Address on File
Rodriguez, Victor                       Address on File
RODRIGUEZ, VIRGINIA                     Address on File
Rodriguez, Yesenia                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
RODRIGUEZ, YESENIA                      Address on File
RODRIGUEZ, YVETTE                       Address on File
RODRIGUEZ, ZULY                         Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                           Name                                   Address 1                        Address 2                Address 3                    City   State    PostalCode   Country
Rodriguez‐Brown, Christian                  Address on File
RODRIQUEZ, ADRIAN                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
RODRIQUEZ, FAITH                            Address on File
Rodriquez, Joseph                           Address on File
RODRIQUEZ, MIKE                             Address on File
Rodriquez, Monica                           Address on File
Rodriquez, Mya                              Address on File
Rodriquez, Nola                             Address on File
RODRIQUEZ, SILVIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Rodriquez, Stephanie                        Address on File
ROE, MARVIN                                 Address on File
Roebuck, Keonna                             Address on File
ROEBUCK, TIMBER                             Address on File
Roelofsen, Courtland                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Rogers County Assessor                      200 S Lynn Riggs Blvd                                                                            Claremore          OK      74017
ROGERS COUNTY TREASURER                     200 S LYNN RIGGS BLVD                                                                            CLAREMORE          OK      74017
ROGER'S SA906 NW 5TH                        906 NW 5TH STREET                                                                                OKLAHOMA CITY      OK      73106
Rogers, Alicia                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Rogers, Chazen                              Address on File
Rogers, Cynthia                             Address on File
ROGERS, DANA                                Address on File
Rogers, Gabriel                             Address on File
ROGERS, HUNTER                              Address on File
Rogers, Matthew                             Address on File
ROGERS, MICHAEL                             Address on File
ROGERS, RENE                                Address on File
Rogers, Seth                                Address on File
ROGERS, SETINA                              Address on File
ROGERS, SHANTRELL                           Address on File
ROGERS, SHARDAYREON                         Address on File
ROGERS, SHELBY                              Address on File
Rogers, Tinesha                             Address on File
Rogers, Victoria                            Address on File
ROHLFING, SARAH                             Address on File
ROHR, BRANDON                               Address on File
ROJAS, ALEJANDRO                            Address on File
ROJAS, ALEJANDRO                            Address on File
Rojas, Carolina                             Address on File
ROJAS, JAMES                                Address on File
ROJAS, JOSE                                 Address on File
ROJAS, LEE                                  Address on File
ROJAS, MARILYN                              Address on File
ROJO REYES, SHARLINE                        Address on File
Rojo, Emmanuel                              Address on File
ROJO, ISRAEL                                Address on File
ROJO, KARINA                                Address on File
ROLAND, BRANDIE                             Address on File
ROLAND, BRANDON                             Address on File
ROLAND, BYRON                               Address on File
Roland, Delisa                              Address on File
Roland, Kenneth                             Address on File
Roland, Tristan                             Address on File
Roldan, Gabriela                            Address on File
ROLEN, DEVIN                                Address on File
ROLL‐A‐SHADE                                12101 MADERA WAY                                                                                 RIVERSIDE          CA      92503
ROLLING MEADOWS LANDSCAPING INC.            12501 W. 151ST ST.                                                                               OLATHE             KS      66062
ROLLINS, LORETTA                            Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                          Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
ROLLINS, TYEISHA                          Address on File
Romain, Roy                               Address on File
ROMAN, AMANDA                             Address on File
ROMAN, BRENDA                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Roman, Jorge                              Address on File
ROMAN, MARIA                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ROMAN, MARIA                              Address on File
ROMANO JAMES PROPERTIES, LLC              11477 AWENITA COURT                                                                              CHATSWORTH      CA      91311
Romero ‐ DNU, Carlos                      Address on File
ROMERO ANTUNEZ, JUAN                      Address on File
Romero, Alejandra                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Romero, Amber                             Address on File
ROMERO, ANNA                              Address on File
ROMERO, CARLOS                            Address on File
Romero, Dulce                             Address on File
Romero, Eduardo                           Address on File
ROMERO, EDUARDO                           Address on File
ROMERO, ELIZABETH                         Address on File
Romero, Fabian                            Address on File
Romero, Irene                             Address on File
Romero, Ismael                            Address on File
ROMERO, JUAN                              Address on File
ROMERO, KAREN                             Address on File
ROMERO, ROSETTA                           Address on File
Romero, Ruby                              Address on File
ROMERO, SARA                              Address on File
ROMERO, SOFIA                             Address on File
Romero, Sonia                             Address on File
ROMERO, YESSIE                            Address on File
ROMERO‐BALDERAS, JOSE                     Address on File
ROMINE, CHELSEA                           Address on File
ROMO, ALEXANDRA                           Address on File
ROMO, COREY                               Address on File
Romo, Garrett                             Address on File
ROMO, TRAVIS                              Address on File
RONQUILLO, TERESA                         Address on File
ROOK, JONATHAN                            Address on File
ROOKS, MINDY                              Address on File
ROPER, MICHAEL                            Address on File
Roper, Mike                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ROPER, NICHELLE                           Address on File
ROPER, SAMANTHA                           Address on File
ROPES & GRAY LLP                          MAIL CODE: 11104                     P O BOX 11839                                               NEWARK          NJ      07101‐8138
ROPPOLO, TIANNA                           Address on File
ROQUE, CAMILA                             Address on File
ROREX, STEPHANY                           Address on File
RORIGUEZ, ANNA                            Address on File
RORIGUEZ, GEORGE                          Address on File
RORSTROM, JANELLE                         Address on File
ROSA, LUIS                                Address on File
Rosado Echeverria, Betsy                  Address on File
rosado, evelyn                            Address on File
ROSALES, BELIZARIO                        Address on File
ROSALES, CARMEN                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ROSALES, EDRIC                            Address on File
ROSALES, EVER                             Address on File
Rosales, Isaiah                           Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                            Name                               Address 1                          Address 2                            Address 3                 City   State    PostalCode   Country
ROSALES, IVAN                              Address on File
Rosales, Jessica                           Address on File
Rosales, Julian                            Address on File
ROSALES, LUIS                              Address on File
ROSALES, MARIE                             Address on File
ROSALES, RAFAEL                            Address on File
ROSALES, ZACHARY                           Address on File
Rosales‐Valencia, Stephanie                Address on File
ROSAS, ADELINA                             300 East John Carpenter Freeway      Suite 800                                                               Irving          TX      75062
Rosas, Daniel                              Address on File
ROSAS, FRANCISCO                           Address on File
Rosas, Karla                               Address on File
Rosas, Moneah                              Address on File
Rosas, Samantha                            Address on File
ROSE, ADDIE                                Address on File
ROSE, ASHLEY                               Address on File
ROSE, BENNIE                               Address on File
ROSE, BILLY                                Address on File
Rose, Brandon                              Address on File
ROSE, DUSTIN                               Address on File
ROSE, JASMINE                              Address on File
ROSE, LISA                                 Address on File
Rose, MacKenzie                            Address on File
ROSE, MICKEETA                             Address on File
ROSE, NATYA                                Address on File
ROSEBERRY, DESIREE                         Address on File
Rosebriar Caruth Haven, L.P.               P. O. Box 541208                                                                                             Dallas          TX      75354
Rosebriar Prosper Plaza, L.P.              10017 Technology Blvd West                                                                                   Dallas          TX      75220
ROSENBAUM, RYAN                            Address on File
ROSENBERGER, ANDREW                        Address on File
ROSENBERGER, TAYLOR                        Address on File
Roses Southwest                            1701 2nd St. SW                      JC Moreno                                  President                    Albuquerque     NM      87102
ROSILLO, DANIEL                            Address on File
Ross, Cary                                 Address on File
Ross, Cherokee                             Address on File
ROSS, DALE A                               300 East John Carpenter Freeway      Suite 800                                                               Irving          TX      75062
ROSS, JAGLORIE                             Address on File
Ross, Jakarey                              Address on File
Ross, Macie                                Address on File
ROSS, MARAH                                Address on File
Ross, Mark                                 Address on File
ROSS, NICHOLAS                             Address on File
Ross, Qkeyaundria                          Address on File
ROSS, SANDY                                Address on File
ROSS, TASHA                                Address on File
Ross, Tra'Onna                             Address on File
ROTA, ROBERT V                             300 East John Carpenter Freeway      Suite 800                                                               Irving          TX      75062
ROTH, ROYAL                                Address on File
ROTH, STEPHEN                              Address on File
ROTO‐ROOTER SERVICE AND PLUMBING CO.       3817 CONFLANS                                                                                                IRVING          TX      75061
Roundtree, Jocquice                        Address on File
ROUNDTREE, LITICIA                         Address on File
Rounsavall, Michelle                       Address on File
ROUNSAVALL, ROBERT                         Address on File
Roush, John                                Address on File
Rowe, Destiney                             Address on File
ROWLAND, ARTHUR                            Address on File

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                                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                      Consolidated Creditor Matrix

                            Name                                                 Address 1                          Address 2                Address 3                     City   State    PostalCode   Country
ROWLAND, BARBARA                                             Address on File
Rowland, John                                                Address on File
Rowland, Keturah                                             Address on File
ROWLAND, KEVIN                                               Address on File
Rowland, Robert                                              Address on File
ROWLAND, SHALONDA                                            300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
Rowland, Shalonda                                            Address on File
Rowlett Police Department                                    Alarm Program                        PO Box 140936                                               Irving              TX      75014
Rowlett Police Department                                    Attn: Alarm Permits                  PO Box 370                                                  Rowlett             TX      75030‐0370
Rowlett Police Department                                    Alarm Program                        PO Box 630286                                               Irving              TX      75063‐0286
Rowlett Police Department                                    Attn: Alarm Permits                  4401 Rowlett Rd                                             Rowlett             TX      75088
Rowlett Police Department                                    Alarm Program                        4401 Rowlett Rd                                             Rowlett             TX      75088
ROWLETT YOUTH ATHLETIC ASSOCIATION                           DAWN JESMER                          9213 HOGAN DR                                               ROWLETT             TX      75089
Rowsell, Natascha                                            Address on File
Roy Harold Peck, Stella Peck, Michelle Peck, Roy Peck and 
Carol Peck, Trustees of Marital Trust                        2704 Benevento Way                                                                               Cedar Park          TX      78613
Roy, Elliott                                                 300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
ROYAL, DANIELLE                                              Address on File
Royals, Brianna                                              Address on File
ROYBAL, PAMELA                                               Address on File
Roye, Jackson                                                Address on File
ROYER, REVA                                                  Address on File
Rozanski, Samantha                                           Address on File
ROZZELL, HUNTER                                              Address on File
RRR, INC.                                                    PAM REECE                            808 SE 2ND ST                                               LAWTON              OK      73501
RSUI Indemnity Company                                       945 East Paces Ferry RD              Suite 1800                                                  Atlanta             GA      30326‐1160
RUARK, JENNIFER                                              Address on File
Rubalcava, Daniel                                            300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
RUBALCAVA, MARIO                                             Address on File
Rubell, Cynthia                                              Address on File
RUBEN, RICKY                                                 Address on File
RUBIN, NICHOLAS                                              300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
RUBIO, ANABELLA                                              300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
RUBIO, JENNIFER                                              Address on File
RUBIO, JOHN                                                  Address on File
RUBIO, NUNILA                                                Address on File
RUBLE, DAMIEN                                                Address on File
RUCKER, ALEXIS                                               Address on File
Rudley, Lejael                                               Address on File
RUDOLPH, CARTER                                              Address on File
RUDOLPH, SARAH                                               Address on File
RUDY'S FOOD PRODUCTS INC.                                    DBA RUDY'S TORTILLAS                 2115 E BELTLINE RD                                          CARROLLTON          TX      75006
Ruff, Amanda                                                 300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
RUFF, ASHLEY                                                 Address on File
Ruff, Summer                                                 Address on File
Ruggles, Patrick                                             Address on File
RUGGLES, TYLER                                               Address on File
Ruhl, Richard                                                Address on File
Ruis, Jessica                                                300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062
Ruis, Sumer                                                  Address on File
Ruiz Enamorado, Maria                                        Address on File
Ruiz, Chrystian                                              Address on File
RUIZ, CYNTHIA                                                Address on File
RUIZ, GILBERT                                                Address on File
Ruiz, Guadalupe                                              Address on File
RUIZ, JAVIER                                                 Address on File
Ruiz, Jeanette                                               300 East John Carpenter Freeway      Suite 800                                                   Irving              TX      75062

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                      City   State    PostalCode   Country
Ruiz, Jenna                             Address on File
Ruiz, Jimena                            300 East John Carpenter Freeway      Suite 800                                                   Irving               TX      75062
RUIZ, JOYCE                             Address on File
Ruiz, Karina                            Address on File
Ruiz, Luis                              300 East John Carpenter Freeway      Suite 800                                                   Irving               TX      75062
RUIZ, MAYRA                             300 East John Carpenter Freeway      Suite 800                                                   Irving               TX      75062
Ruiz, Mitchell                          Address on File
Ruiz, Salvador                          Address on File
RUIZ, SAUL                              Address on File
RUIZ, SERGIO                            Address on File
Rull n, Jaime                           Address on File
RUMBAUT, MARIA                          Address on File
RUNNELS, ANTONIO                        Address on File
Runnels, Jaya                           Address on File
RUNYAN, WARREN                          Address on File
RUPERT, MATTHEW                         Address on File
Rupprecht, Heath                        Address on File
RUSCHE, MARTHA                          Address on File
Rush, Taylor                            Address on File
Rushin, Joshua                          Address on File
Rushing, James                          Address on File
Rushing, Tamanaca                       Address on File
RUSHING, TEVIN                          300 East John Carpenter Freeway      Suite 800                                                   Irving               TX      75062
RUSHING, TEVIN                          Address on File
RUSS, MATTHEW                           Address on File
Russell, Allison                        Address on File
Russell, Amanda                         Address on File
Russell, Anthony                        Address on File
RUSSELL, CANDI                          300 East John Carpenter Freeway      Suite 800                                                   Irving               TX      75062
RUSSELL, CANDI                          300 East John Carpenter Freeway      Suite 800                                                   Irving               TX      75062
Russell, Carrie                         Address on File
Russell, Destiny                        Address on File
Russell, Faith                          300 East John Carpenter Freeway      Suite 800                                                   Irving               TX      75062
RUSSELL, JORDAN                         Address on File
Russell, Larry                          Address on File
Russell, Mary                           Address on File
RUSSELL, SAMANTHA                       Address on File
RUSSELL, TABYTHA                        Address on File
RUSSELL, TERESA                         Address on File
RUSSELL, WILLIE                         Address on File
Rutayomba, Oleg                         Address on File
RUTH, KAYLE‐ANN                         Address on File
Ruth, Kristian                          Address on File
Rutherford, Abrienne                    300 East John Carpenter Freeway      Suite 800                                                   Irving               TX      75062
Rutherford, Terrick                     Address on File
Rutledge, Jackson                       Address on File
Rutledge, Leslie                        323 Center St.                       Suite 200                                                   Little Rock          AR      72201‐2610
RW SERVICES                             P. O. BOX 231                                                                                    ABILENE              TX      79604
RYALS, CALISTA                          Address on File
Ryals, Steven                           Address on File
Ryan, Bo                                Address on File
Ryan, Kyle                              300 East John Carpenter Freeway      Suite 800                                                   Irving               TX      75062
Ryan, Michael                           Address on File
Ryan, Rachel                            Address on File
RYAN, REBECCA                           Address on File
Ryan, Shane                             Address on File
RYCKMAN, BENJAMIN                       Address on File

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                          Name                                      Address 1                          Address 2                Address 3                  City   State    PostalCode    Country
RYDER, SHANNON                                  Address on File
Ryder, Shyda                                    Address on File
RYERSON, RAYLLA                                 Address on File
Ryzhov, Ilya                                    Address on File
S0MERSET CAPITAL GROUP, LTD.                    612 WHEELERS FARMS ROAD                                                                          MILFORD          CT      06461
SAAVEDRA, ABEL                                  Address on File
SAAVEDRA, JOSUE                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SAAVEDRA, LUZ                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SABATELLI, LISA                                 Address on File
SABES, ZEYLON                                   Address on File
SABOLSKI, CRYSTAL                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SABOLSKI, CRYSTAL                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SABZALIPOUR, RAMIN                              Address on File
SABZALIPOUR, SHAHRAM                            Address on File
SACCUCCI, SPENCER                               Address on File
SACHLEBEN, BETHANY                              Address on File
SACHSE CHAMBER OF COMMERCE                      JOAN SMITH                           5560 HWY 78                                                 SACHSE           TX      75048
SACHSE HIGH SCHOOL CLASS OF 2017 BOOSTER CLUB   3901 MILES ROAD                                                                                  SACHSE           TX      75048
SACHSE HIGH SCHOOL CLASS OF 2018 BOOSTER CLUB   ANNA                                 6312 LAKE CREST DR                                          SACHSE           TX      75048
Saco, Laura                                     Address on File
Sadler, Adrianne                                Address on File
SAENGPHACHANH, KHANNIE                          Address on File
SAENZ, ANTHONY                                  Address on File
SAENZ, BRYAN                                    Address on File
Saenz, Deliah                                   Address on File
SAENZ, IRMA                                     Address on File
SAFETY SERVICES COMPANY                         PO BOX 27148                                                                                     TEMPE            AZ      85282
SAFETYCULTURE PTY LTD                           P O BOX 7175                                                                                     GARBUT                   QLD 4810      AUSTRALIA
SAFFORD, HUNTER                                 Address on File
SAF‐GARD SAFETY SHOE COMPANY                    2701 PATTERSON ST.                                                                               GREENSBORO       NC      27404
SAF‐T‐GLOVE INC                                 PO BOX 535219                                                                                    GRAND PRAIRIE    TX      75053‐5219
Sagastegui, Salvador                            Address on File
SAGE SOFTWARE INC                               14855 COLLECTIONS CENTER DR                                                                      CHICAGO          IL      60693
Sage, Joseph                                    Address on File
Sage, Morgan                                    Address on File
SAGENET                                         P O BOX 843553                                                                                   KANSAS CITY      MO      64184‐3553
Sagoe, Martinez                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SAGRERO, HILDA                                  Address on File
SAID, ABDULL                                    Address on File
SAINT CATHERINE SCHOOL                          4532 S 25TH W AVE                                                                                TULSA            OK      74107
SALAS BOCANEGRA, NIDIA                          Address on File
SALAS, ALVARA                                   Address on File
Salas, Ambrya                                   Address on File
SALAS, CHRISTINA                                Address on File
Salas, Giovanni                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SALAS, JOSE                                     Address on File
SALAS, LANDRE                                   Address on File
SALAS, LETICIA                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Salas, Rogelio                                  Address on File
Salazar de Santos, Maria                        Address on File
SALAZAR VILLARREAL, LESLIE                      300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SALAZAR, APRIL                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SALAZAR, APRIL                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Salazar, Caroline                               Address on File
SALAZAR, CHRISTINA                              Address on File
SALAZAR, CHRISTOPHER                            Address on File
SALAZAR, CRISTIAN                               Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                       Name                                   Address 1                          Address 2                         Address 3                   City   State    PostalCode   Country
SALAZAR, DAVID                            Address on File
Salazar, Elijah                           Address on File
SALAZAR, EMILY                            Address on File
SALAZAR, ESMERALDA                        Address on File
SALAZAR, JOE                              Address on File
SALAZAR, KEVIN                            Address on File
SALAZAR, LARRY                            Address on File
SALAZAR, MA.TRINIDAD                      Address on File
SALAZAR, MARIA                            Address on File
Salazar, Nicole                           Address on File
SALAZAR, NOEMI                            Address on File
SALAZAR, PETRA                            Address on File
SALAZAR, RICHARD                          Address on File
SALAZAR, SABINA                           Address on File
Salazar, Shandi                           Address on File
Salazar, Taylor                           Address on File
SALAZAR, VINCENTE                         300 East John Carpenter Freeway      Suite 800                                                            Irving            TX      75062
Salcedo, Romualda                         Address on File
SALDANA ROJO, FRANCISCA                   Address on File
SALDANA, ADAM                             Address on File
SALDANA, DANIEL                           Address on File
SALDANA, HECTOR                           Address on File
Saldana, Jesus                            Address on File
SALDIVAR, BELEN                           300 East John Carpenter Freeway      Suite 800                                                            Irving            TX      75062
SALDIVAR, MARIANA                         Address on File
SALES, CHRISTOPHER                        Address on File
SALES, DIEGO                              Address on File
SALGADO, JULIAN                           Address on File
Salguero, Carlos                          Address on File
SALIAN, SHELLY                            Address on File
SALINAS, ALDO                             Address on File
SALINAS, ARMANDO                          Address on File
SALINAS, HUGO                             Address on File
Salinas, Isaiah                           Address on File
SALINAS, JUANA                            Address on File
Salinas, Mario                            Address on File
SALINAS, NAI                              Address on File
Salinas, Rafael                           Address on File
Salisbury, Robert                         300 East John Carpenter Freeway      Suite 800                                                            Irving            TX      75062
Saliture, Chris                           300 East John Carpenter Freeway      Suite 800                                                            Irving            TX      75062
SALMON SERVICE COMPANY                    DBA SALMON SERVICE CO.               13004 S. 127TH E AVE.                                                BROKEN ARROW      OK      74011‐5625
SALONGA, ANGEL                            Address on File
SALSBURY, MICHELLE                        300 East John Carpenter Freeway      Suite 800                                                            Irving            TX      75062
Salsman, Danna                            Address on File
SALTER, ELANTHEUS                         Address on File
SALTER, LEON                              Address on File
SALTWATER CREATIVE CO.                    40 CONGRESS ST                       5TH FLOOR                                                            PORTSMOUTH        NH      03801
SALVADOR, LEVI                            Address on File
SALVATIERRA, DIANA                        300 East John Carpenter Freeway      Suite 800                                                            Irving            TX      75062

SALVATION ARMY,A GEORGIA GROUP            GLENNA PITTMAN                       SALVATION ARMY COUNTY CRK SOC SERV 1721 S HICKORY                    SALPULPA          OK      74066
Salyer, Tyler                             Address on File
Sam, Cedar                                Address on File
SAMAD, TRASHEL                            Address on File
SAMMIC LLC                                1225 HARTREY AVENUE                                                                                       EVANSTON          IL      60202
SAMORA, MEGAN                             Address on File
SAMORANOS, SHOUNTA                        Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
SAMPLE, ANDREW                          Address on File
Samples, Jonathon                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SAMPLES, MARTHA                         Address on File
Samples, Noah                           Address on File
Sampleton, Shelby                       Address on File
SAMPLEY, KALUB                          Address on File
SAMPSON, GLORIA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Sampson, Robert                         Address on File
SAMPSON, SARAH                          Address on File
Samuel, Latoya                          Address on File
SAMUEL, LORRAINE                        Address on File
SAMUEL, MARCELLA                        Address on File
SAMUELS, LABRIANA                       Address on File
Samuels, Lashauna                       Address on File
SAMUELS, MICHAEL                        Address on File
Samuels, Stacey                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SAMUELS, ZACHARY                        Address on File
SAMUELSON LILLEY, RACHEL                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANCHES, BLANCA                         Address on File
SANCHES, ELVA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANCHES, SHAUN                          Address on File
SANCHEZ HERNANDEZ, CECILIA              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANCHEZ MARTINEZ, ERNESTO               Address on File
SANCHEZ VALVERDE, ANGELA                Address on File
Sanchez Waldrip, Nomie                  Address on File
SANCHEZ, ABRAHAM                        Address on File
SANCHEZ, ALEJANDO                       Address on File
SANCHEZ, ANGEL                          Address on File
Sanchez, Angel                          Address on File
SANCHEZ, ANTHONY                        Address on File
SANCHEZ, ARELY                          Address on File
SANCHEZ, ARTHUR                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANCHEZ, BRAYAN                         Address on File
SANCHEZ, BRENDA                         Address on File
Sanchez, Bryan                          Address on File
SANCHEZ, CAROLINA                       Address on File
SANCHEZ, CRISTIAN                       Address on File
Sanchez, Davin                          Address on File
SANCHEZ, ELISA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANCHEZ, ELIZA                          Address on File
Sanchez, Elizabeth                      Address on File
Sanchez, Emiliano                       Address on File
SANCHEZ, ENRIQUE                        Address on File
Sanchez, Ernestina                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANCHEZ, ERUBIEL                        Address on File
SANCHEZ, EVA                            Address on File
SANCHEZ, FRANCISCO                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANCHEZ, GERARDO                        Address on File
SANCHEZ, GILBERTO                       Address on File
SANCHEZ, GRISELDA                       Address on File
Sanchez, Guadalupe                      Address on File
Sanchez, Hector                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANCHEZ, ISAIAH                         Address on File
SANCHEZ, JASMINE                        Address on File
SANCHEZ, JENNIFER                       Address on File
Sanchez, Jessica                        Address on File
SANCHEZ, JESUS                          Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
SANCHEZ, JORGE                           Address on File
SANCHEZ, JOSELUIS                        Address on File
Sanchez, Joseph                          Address on File
SANCHEZ, JUANITA                         Address on File
SANCHEZ, JULIA                           Address on File
Sanchez, Julianne                        Address on File
SANCHEZ, KERI                            Address on File
SANCHEZ, LINDSEY                         Address on File
Sanchez, Lizbeth                         Address on File
SANCHEZ, LIZZETH                         Address on File
SANCHEZ, LOLA                            Address on File
SANCHEZ, LORENA                          Address on File
Sanchez, Lucia                           Address on File
SANCHEZ, MARCOS                          Address on File
Sanchez, Maria                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Sanchez, Maria                           Address on File
SANCHEZ, MARIA                           Address on File
SANCHEZ, MARIA                           Address on File
Sanchez, Marytona                        Address on File
SANCHEZ, MELISSA                         Address on File
SANCHEZ, MICAELA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANCHEZ, NADIA                           Address on File
SANCHEZ, NELVA                           Address on File
SANCHEZ, NORA                            Address on File
SANCHEZ, OLIVIA                          Address on File
SANCHEZ, RAFAEL                          Address on File
Sanchez, Ramiro                          Address on File
SANCHEZ, REFUGIA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Sanchez, Refugia                         Address on File
SANCHEZ, RICHARD                         Address on File
SANCHEZ, RICHARD                         Address on File
SANCHEZ, ROMULO                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANCHEZ, SALVADOR                        Address on File
SANCHEZ, SANDRA                          Address on File
SANCHEZ, SANTOS                          Address on File
SANCHEZ, SILVIA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Sanchez, Steven                          Address on File
SANCHEZ, TESSA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANCHEZ, VALERIA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANCHEZ, WILDA                           Address on File
SANDEL, PAULA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SANDEL, PAULA                            Address on File
Sanders Jobe, Marissa                    Address on File
SANDERS, ANGELA                          Address on File
SANDERS, ASHLEY                          Address on File
SANDERS, ASHTON                          Address on File
Sanders, Austen                          Address on File
Sanders, Brendan                         Address on File
SANDERS, DAJOUR                          Address on File
Sanders, Daryus                          Address on File
Sanders, Destanie                        Address on File
SANDERS, DEVON                           Address on File
SANDERS, GAGE                            Address on File
SANDERS, GLENDON                         Address on File
SANDERS, JASMINE                         Address on File
Sanders, Jayce                           Address on File
SANDERS, JAZMINE                         Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                 City   State PostalCode   Country
SANDERS, JOSEPH                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
SANDERS, JOY                             Address on File
SANDERS, KWUAN                           Address on File
SANDERS, LAVONNE                         Address on File
SANDERS, LESLIE                          Address on File
SANDERS, LIBBY                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
SANDERS, MICHAEL                         Address on File
Sanders, Michael                         Address on File
SANDERS, MICHAEL                         Address on File
SANDERS, NATASHA                         Address on File
Sanders, Rebecca                         Address on File
SANDERS, ROBERT                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
SANDERS, ROBERT                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Sanders, Shelly                          Address on File
Sanders, Shotori                         Address on File
SANDERS, TAMEKA                          Address on File
SANDERS, TEENA                           Address on File
SANDERS, TONAE                           Address on File
SANDERS, TRENTON                         Address on File
SANDERS, TREVOR                          Address on File
SANDERSON, MARSHAL                       Address on File
SANDOVAL, ANJELICA                       Address on File
SANDOVAL, DEANNA                         Address on File
SANDOVAL, GLORIA                         Address on File
Sandoval, Herman                         Address on File
SANDOVAL, HERMELINDA                     Address on File
SANDOVAL, JOHN                           Address on File
Sandoval, Julio                          Address on File
Sandoval, Orlando                        Address on File
SANFILIPPO, CYNTHIA                      Address on File
Sanford, Alexus                          Address on File
SANFORD, CLENNIE                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
SANFORD, SHERRICK                        Address on File
Sango, De'Quaydrian                      Address on File
SANGRE RIDGE PTA                         ASHLEY W                             2500 S SANGRE RD                                            STILLWATER      OK   74074
Sanjuan, Bryan                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Sanor, Jaxon                             Address on File
Santacruz, Luz                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
SANTAMARIA, GABINO                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
SANTAMARIA, KENNIA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Santamaria, Rita                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Santamaria, Rosa                         Address on File
SANTANA, ANTHONY                         Address on File
SANTANA, ELIZABETH                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
SANTANA, GUSTAVO                         Address on File
SANTANA, MARIA                           Address on File
Santander, Alex                          Address on File
SANTANDER, ROXANNA                       Address on File
SANTIAGO, ADRIANA                        Address on File
Santiago, Brianne                        Address on File
SANTIAGO, CHRISTOPHER                    Address on File
SANTIAGO, DYLAN                          Address on File
SANTIAGO, ERIC                           Address on File
SANTIAGO, JESUS                          Address on File
SANTIAGO, JESUS                          Address on File
SANTIAGO, LAURA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Santiago, Luis                           Address on File

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                       Name                                     Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
SANTIAGO, MANUELA                           Address on File
SANTIAGO, MARTIN                            Address on File
SANTIAGO, MARVIN                            Address on File
SANTIAGO, MIRELLA                           Address on File
Santiago, Mirella                           Address on File
SANTIAGO, MIRELLA M                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SANTIAGO, MIRIAM                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Santillano, Vanessa                         Address on File
Santizo, Diana                              Address on File
Santizo, Luis                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SANTOGROSSI, HUNTER                         Address on File
SANTOS, ALEJANDRO                           Address on File
Santos, Andrew                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Santos, Candace                             Address on File
SANTOS, CECILIA                             Address on File
SANTOS, DAVID                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SANTOS, DIOSELINA                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SANTOS, FELIX                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Santos, Filogonio                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SANTOS, LUCIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SANTOS, MARGARITA                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SANTOS, MARIA                               Address on File
SANTOS, RAUL                                Address on File
SANTOS, VERONICA                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Santoyo, Juan                               Address on File
SAPULPA PUBLIC SCHOOLS FREEDOM ELEMENTARY   KIMBERLY                             511 E LEE AVE                                               SAPULPA          OK      74066
Sarceno, Geovani                            Address on File
SARGENT, JOSHUA                             Address on File
Sarkodie, Kwame                             Address on File
SARMIENTO, ALICIA                           Address on File
Sarnowski, Mendy                            Address on File
SARPONG, MELVIN                             Address on File
Sarsorito, Brandon                          Address on File
Sartors, Meagan                             Address on File
Sarver, Kathryn                             Address on File
SARVIS, REBECCA                             Address on File
SASS LABS INC.                              121 W WASHINGTON AVE                 #209                                                        SUNNYVALE        CA      94086
SASS LABS, INC.                             SAHIL SAHNI                          1005 MURPHY AVE                                             SUNNYVALE        CA      94086
Sasser, Amy                                 Address on File
Sasser, Mackenzie                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SATHERS, RILEY                              Address on File
SAUCEDA, MARIA                              Address on File
SAUCEDA, MIGUEL                             Address on File
SAUCEDA, SALVADOR                           Address on File
SAUCEDO MELENDEZ, CLAUDIA                   Address on File
SAUCEDO, ADAN                               Address on File
Saucedo, Angelina                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Saucedo, Brianna                            Address on File
SAUCEDO, CARLOS                             Address on File
SAUCEDO, GENE                               Address on File
SAUCEDO, JOSE                               Address on File
SAUCEDO, JUAN                               Address on File
SAUCEDO, MARC                               Address on File
SAUCEDO, PETER                              Address on File
SAUCEDO, RICHARD                            Address on File
Saul, Trevor                                Address on File
Sauls, Jerry                                Address on File

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                                                                                     In re: Taco Bueno Restaurants Inc.., et al.
                                                                                            Consolidated Creditor Matrix

                           Name                                        Address 1                          Address 2                Address 3                 City      State    PostalCode   Country
SAUNDERS, ANTON                                    Address on File
Savage, Courtney                                   Address on File
SAVAGE, CRYSTAL                                    Address on File
SAVALA, MARIAH                                     Address on File
Savala, Matthew                                    Address on File
Savanhak, April                                    Address on File
Savivanh, Andrew                                   Address on File
Savoy, Denzel                                      Address on File
Savoy, Samuel                                      Address on File
SAWVELL, JESSIE                                    Address on File
SAWYER II, WILLIE                                  Address on File
Sawyer Jr, Anthony                                 Address on File
SAWYER, DERRICK                                    Address on File
Sawyer, Katherine                                  Address on File
SAWYER, WILLIE                                     300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Saylors, Bradley                                   Address on File
SBORDONE, CRISTIAN                                 Address on File
SCALES, TRACIE                                     Address on File
Scanlon, Samuel                                    Address on File
SCANTLING, PHILLIP                                 Address on File
SCARBOROUGH, CLARA                                 Address on File
Scarborough, Rebecca                               Address on File
SCARLAT, MIHAELA                                   Address on File
SCHAEFER, KERN                                     Address on File
SCHAEFER, TAYLOR                                   Address on File
SCHARBROUGH, ASHLEY                                Address on File
SCHARBROUGH, KAHELI                                Address on File
SCHATZ CONSULTING ENGINEERS INC                    7473 AIRPORT FREEWAY                                                                             FORT WORTH         TX      76118
Schauer, Christopher                               Address on File
SCHEETZ, JUSTIN                                    Address on File
Scheetz, Justin                                    Address on File
Schelling, Dale                                    Address on File
Scherencel, Andre                                  Address on File
SCHERPENSEEL, JULI‐ANNA                            Address on File
SCHESNY, PETER                                     Address on File
SCHICK, JOSEPH                                     Address on File
SCHIELIE, SEBASTIAN                                Address on File
Schiffbauer, Adam                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
SCHIMELPFENIG                                      ATTN: MELISSA WOOD                   2400 MAUMELLE DR                                            PLANO              TX      75023
SCHINNERER, PABLO                                  Address on File
Schlegel, Faith                                    Address on File
SCHLEPP, ALAN                                      6219 GEMFIELD                                                                                    COLORADO SPRINGS   CO      80918
SCHLEY, YOLANDA                                    Address on File
SCHLITZ, HARRY                                     Address on File
Schmid, Erick                                      300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Schmidt, Derek                                     120 S.W. 10th Ave.                   2nd Floor                                                   Topeka             KS      66612‐1597
Schmidt, Hannah                                    Address on File
SCHMIDT, MICHAEL                                   Address on File
SCHMIDTBERGER, KIMBERLY                            Address on File
SCHMITT, ALEXIS                                    Address on File
Schneider A/C, Heating, & Refrigeration            Address Unknown
SCHNEIDER, DAKOTA                                  Address on File
Schneider, Krista                                  300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
SCHNORF, JESSICA                                   Address on File
SCHNORF, JESSIE                                    300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
SCHOENBERGER, BOBBY                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
SCHOENFELT, ELIZABETH                              Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                        Name                                  Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
SCHOGGINS, TUCKER                         Address on File
SCHOLES, DRAKE                            Address on File
Scholes, Quinn                            Address on File
SCHOLL, KEVIN                             Address on File
Schonborn, Kelsey                         Address on File
Schooley, Natasha                         Address on File
SCHRADER, BEATRICE                        Address on File
SCHRADER, TIMOTHY                         Address on File
Schragin, Liliane                         Address on File
Schreiber, Ryan                           Address on File
Schreppel, Anthony                        Address on File
SCHROCK, MICHELLE                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SCHULDIES, ALISHA                         Address on File
SCHULTE JR., WILLIAM J                    P O BOX 631                                                                                      EL RENO          OK      73036
Schulte, William J                        P. O. Box 631                                                                                    El Reno          OK      73036
SCHUMAN, BRIXTON                          Address on File
SCHUMPERT, RAYSHAWN                       Address on File
SCHUMPERT, RICHARD                        Address on File
SCHURMAN, LUCAS                           Address on File
SCHUSSTER, JEFF                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SCHUSSTER, JEFF                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Schuster, Anna                            Address on File
SCHUTTLER, LARRY                          Address on File
Schwedler, Jackson                        Address on File
SCHWENGELS, MARY                          Address on File
SCOGGINS, CHARLES                         Address on File
SCOGGINS‐SMITH, JAMI                      Address on File
SCOMP, TERI                               Address on File
SCOPE MINISTRIES INTERNATIONAL            700 NE 63RD ST                                                                                   OKLAHOMA CITY    OK      73105
SCOTT & SCOTT, LLP                        550 RESERVE ST                       SUITE 200                                                   SOUTHLAKE        TX      76092
SCOTT OR D13211 WITT                      4032 IDLEWILDE MEADOWS DR.                                                                       MARIETTA         GA      30066
Scott, Alicia                             Address on File
Scott, Amber                              Address on File
Scott, Asher                              Address on File
Scott, Ashley                             Address on File
SCOTT, AUSTIN                             Address on File
Scott, Caroline                           Address on File
SCOTT, CHRISTINA                          Address on File
SCOTT, COREY                              Address on File
SCOTT, DAUCEALNEE                         Address on File
Scott, Demeshek                           Address on File
SCOTT, ELYSHA                             Address on File
SCOTT, ERIC                               Address on File
Scott, Erik                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Scott, Jasmine                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Scott, Justin                             Address on File
Scott, Kendall                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SCOTT, LEANN                              Address on File
SCOTT, MALIK                              Address on File
SCOTT, MALISSA                            Address on File
Scott, Matthew                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SCOTT, MATTHEW                            Address on File
Scott, Michael                            Address on File
Scott, Rahssan                            Address on File
SCOTT, REGEN                              Address on File
SCOTT, SARAH                              Address on File
SCOTT, SHAMAKA                            Address on File

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                                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                       Consolidated Creditor Matrix

                             Name                                                 Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
SCOTT, TIMOTHY                                                Address on File
SCOTT, TINA                                                   Address on File
Scott, Tonia                                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Scott, Trevina                                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SCOTT, TY                                                     Address on File
SCOTT, XAVIER                                                 Address on File
SCOTT‐EVANS, TREVOR                                           Address on File
SCOUTEN, WILLIAM                                              Address on File
SCRIMPSHER, DUSTIN                                            Address on File
SCRUGGS, ILESHA                                               Address on File
SCYFFORE, MOLLIE                                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SEABRIGHT, AMY                                                Address on File
SEAL TEX                                                      8435 DIRECTORS ROW                                                                               DALLAS          TX      75247
SEAMANS, RYAN                                                 Address on File
Seamster, Keisha                                              Address on File
Seanor, Christian                                             Address on File
SEARS, DANYSHIA                                               Address on File
SEARS, JENNIFER                                               Address on File
Sears, Tristan                                                Address on File
SEATON, DALICIA                                               Address on File
Seaton, Kendall                                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SEBALLOS, SAMUEL                                              Address on File
SEBDANI, ALIASGHAR                                            Address on File
SEBREE, AMANDA                                                Address on File
Secchi, Maria                                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SECHRIST, MICHELLE                                            Address on File
SECOND TO NONE, INC.                                          303 DETROIT ST SUITE 1                                                                           ANN ARBOR       MI      48104
Secundino, Daisy                                              Address on File
SECUNDINO, FLOR                                               Address on File
Secundino, Florentino                                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SECUNDINO, JORGE                                              Address on File
SECURITY 1ST TITLE LLC                                        727 N WACO AVE STE 300                                                                           WICHITA         KS      67203
SECURITY SPECIALISTS, INC. 1208 W. 10TH                       AFA REDEMPTION CENTER                1646 WEST CHESTER PIKE STE 31                               WEST CHESTER    PA      19382
Sedgewick County Tax Collector                                PO Box 2961                                                                                      Wichita         KS      67201
Sedgewick County Tax Collector                                525 N Main, Suite 211                                                                            Wichita         KS      67203
SEDGWICK COUNTY‐TAX COLLECTOR PO BOX 2961                     P. O. BOX 2961                                                                                   WICHITA         KS      67201
SEDLACEK, CHRISTOPHER                                         Address on File
See file for ownership; William C. Perguidi 50%; Marcia L. 
Perguidi 50%                                                  11190 New Avenue                                                                                 Gilroy          CA      95020
SEGEL, JEFF                                                   1507 CAMDEN WAY                                                                                  OKLAHOMA CITY   OK      73116
Segel, Scott Randal                                           4032 Idlewilde Meadows Dr                                                                        Marietta        GA      30066
Segell, Jeffrey Alan                                          1507 Camden Way                                                                                  Oklahoma City   OK      73116
SEGOVIA DE TALAMANTES, MARIA                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Segovia, Britney                                              Address on File
SEGUIN, SAMUEL                                                Address on File
SEGURA, GABRIELA                                              Address on File
SEGURA, MAGDALENA                                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Segura, Maria                                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SEGURA, MIGUEL                                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SEGURA, MIGUEL                                                2660 CLAYTON OAKS DR                 #3059                                                       DALLAS          TX      75227
SEGURA, NATALIA                                               Address on File
Segura, Nohemi                                                Address on File
SEGURA, VALERIE                                               Address on File
SEHON, BRANDON                                                Address on File
Sehorn, Mackiah                                               Address on File
Seifert, Cole                                                 Address on File
Selby, Dillon                                                 Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
SELF, KEVIN                                Address on File
SELF, MEKKASIA                             Address on File
Self, Robert                               Address on File
Self, William                              Address on File
SELI, JACOB                                Address on File
SELICA, ZACHARY                            Address on File
Sellers, Brianna                           Address on File
Sellers, Katrina                           Address on File
SELLERS, KAYLEE                            Address on File
Sellers, Savannah                          Address on File
SELLERS, ZACHARY                           Address on File
SELMON, GABRIELLE                          Address on File
SELVERA, SIERRA                            Address on File
Seneca Partners, LLC                       150 N Market                                                                                     Wichita          KS      67202
Sentry Fire & Safety, Inc.                 Address Unknown
SEPEDA, SAMUEL                             Address on File
SEQUOYAH STRONG                            RACHEL HOWELL                        17233 S STONEHEDGE CT                                       CLAREMORE        OK      74017
Seratte, Kasey                             Address on File
SERDENIA, RYAN                             Address on File
SERNA SOTO, GUADALUPE                      Address on File
Serna, Beatriz                             Address on File
Serna, Beatriz                             Address on File
SERNA, BRITTANY                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SERNA, BRITTANY                            Address on File
SERNA, DONNA                               Address on File
SERNA, GLORIA                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Serna, Jeremy                              Address on File
Serra, Olivia                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Serrano, Aldair                            Address on File
SERRANO, ESTEFANY                          Address on File
SERRANO, FRANCISCA                         Address on File
Serrano, Jasmine                           Address on File
Serrano, Lydia                             Address on File
SERRANO, MAYRA                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Serrano, Melissa                           Address on File
SERRANO, SERGIO                            Address on File
SERRANO, YAJAIRA                           Address on File
SERRANO‐MUNOZ, GABRIELA                    Address on File
Serrato, Marlen                            Address on File
SERRATO, TEREZA                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SERRATOS, MARIA                            Address on File
SERVICE SPECIALIST                         DBA EMERGENCY PLUMBING SERVICES      P O BOX 5935                                                TROY             MI      48007
Session, Damondre                          Address on File
Sessoms, Maurice                           Address on File
SETH, RODNEY                               Address on File
Sethman, Gwendolyn                         Address on File
SETTLEPOU                                  3333 LEE PKWY                                                                                    DALLAS           TX      75219
Sevdy, Jordan                              Address on File
SEVENER, SAMANTHA                          Address on File
SEVERSON, ETHAN                            Address on File
Sewell, Dakoda                             Address on File
Sewell, Emalee                             Address on File
SEXTON, CARA                               Address on File
SEYMORE, KEYONNA                           Address on File
Shackelford, Richard                       Address on File
Shadden, Gage                              Address on File
Shadix, Julia                              Address on File

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                                                                                       In re: Taco Bueno Restaurants Inc.., et al.
                                                                                              Consolidated Creditor Matrix

                       Name                                              Address 1                          Address 2                Address 3                   City   State PostalCode   Country
Shakir, Mohammad                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
SHAKUR, KHALEEL                                      Address on File
SHAMLIN, JOSHUA                                      Address on File
SHAMLIN, KEITH                                       Address on File
SHANANAQUET, SUMMER                                  Address on File
Shanks, Angela                                       Address on File
SHANKS, CARDELIA                                     Address on File
SHANNON, ASHLEY                                      Address on File
SHANNON, AVONDRAE                                    Address on File
SHANNON, BRIAN                                       Address on File
Shannon, Emillio                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062

SHANROCK HOLDINGS, INC. DBA GLASS DOCTOR OF AUSTIN   9701 DESSAU RD SUITE 805                                                                         AUSTIN            TX   78754
SHARIF, SHARIFAI                                     Address on File
SHARING LIFE COMMUNITY OUTREACH, INC                 MISTY BACON                          3544 E EMPORIUM CIRCLE                                      MESQUITE          TX   75150
Sharma, Cynthia                                      Address on File
Sharp, Aaron                                         Address on File
Sharp, Anthony                                       Address on File
SHARP, JAMES                                         Address on File
SHARP, MARLEN                                        Address on File
Sharp, Quila                                         Address on File
Sharp, Sarah                                         Address on File
SHARP, TAMARA                                        Address on File
Sharp, Tatum                                         Address on File
SHARP, TIMOTHY                                       Address on File
Sharp, Weissinger                                    Address on File
SHARROCK, ANTHONY                                    Address on File
SHATSWELL, DAKOTA                                    Address on File
SHATSWELL, HUNTER                                    Address on File
SHAUGHNESSY, DEBORAH                                 300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
SHAVER, AMBER                                        Address on File
SHAVER, JACOB                                        Address on File
Shaw, Aaron                                          Address on File
SHAW, ABIGAIL                                        Address on File
SHAW, ALACIEA                                        Address on File
Shaw, Allison                                        Address on File
SHAW, BOBBY                                          Address on File
SHAW, BRANDON                                        Address on File
Shaw, Daijon                                         Address on File
SHAW, MAQUAY                                         Address on File
Shaw, Nickolause                                     Address on File
Shaw, Vincent                                        Address on File
SHAWLEY, VIRGINIA                                    Address on File
SHAY, DYLAN                                          Address on File
Shea, Joseph                                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Shea, Thomas                                         Address on File
Sheats, Joshua                                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Sheeks, Rhyan                                        Address on File
Sheet Metal Repairs                                  Address Unknown
Sheffield, Brodrick                                  Address on File
SHELBURG, DUSTIN                                     Address on File
Shelburn, Brian                                      Address on File
Shelby, Demond                                       Address on File
SHELLS, ROBERT                                       Address on File
SHELLS, SHANNON                                      Address on File
SHELTON III, MACK                                    Address on File
Shelton, Aaron                                       Address on File

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                        Name                                      Address 1                          Address 2                            Address 3                   City   State    PostalCode   Country
SHELTON, ASHLEY                               Address on File
SHELTON, CHRISTINE                            Address on File
SHELTON, COLBY                                Address on File
Shelton, Jacob                                300 East John Carpenter Freeway      Suite 800                                                               Irving            TX      75062
Shelton, Johnny                               Address on File
shelton, kaitlin                              300 East John Carpenter Freeway      Suite 800                                                               Irving            TX      75062
Shelton, Matthew                              300 East John Carpenter Freeway      Suite 800                                                               Irving            TX      75062
SHELTON, MICHAEL                              Address on File
SHELTON, TESSA                                Address on File
SHENEFIELD, WILLIAM                           Address on File
SHENKER 7533 W. 139 TERR., LARISA             300 East John Carpenter Freeway      Suite 800                                                               Irving            TX      75062
SHENKER, LARISA                               Address on File
Shepard, Amiyah                               Address on File
SHEPHERD, ALISHA                              Address on File
SHEPHERD, AMANDA                              Address on File
SHEPHERD, DANIELLE                            Address on File
Shepherd, Jennie                              Address on File
SHEPHERD, KRYSTAL                             Address on File
SHEPHERD, ROBERT                              Address on File
Sheppard, Dominique                           Address on File
SHEPPARD, NICOLAS                             Address on File
SHEPPARD, QUANTEMIAN                          Address on File
SHEPPARD, ROBERT                              Address on File
Sheppard, Timothy                             Address on File
Shepperd, Jacob                               Address on File
SHERBIA, ASHLEY                               Address on File
Sherbourne, Haley                             Address on File
Sherfy, Brandon                               Address on File
Sherfy, Justin                                Address on File
SHERMAN, AMY                                  Address on File
SHERMAN, BRANDON                              Address on File
SHERMAN, CHRISTOPHER                          Address on File
SHERMAN, KORA                                 Address on File
SHERMAN, TYLER                                Address on File
Sherrin, Tracy                                Address on File
SHERROD, SANDI                                Address on File
SHERWOOD, PAUL                                Address on File
SHERWOOD, STEVEN                              Address on File
SHETH, VINOD                                  Address on File
SHI INTERNATIONAL CORP                        P. O. BOX 952121                                                                                             DALLAS            TX      75395‐2121
SHIELDS, BRANDON                              Address on File
SHIELDS, MICHELLE                             300 East John Carpenter Freeway      Suite 800                                                               Irving            TX      75062
Shigley, Lucas                                Address on File
Shillingford, Vicki                           Address on File
SHIMIZU, HENRY                                Address on File
SHINING STARZ SPECIAL CHEER, INC.             STEPHANIE KIRK                       3203 BROCE CT                              SUITE 100                    NORMAN            OK      73072
SHIPE, BRANDON                                Address on File
Shipp, Adrian                                 Address on File
SHIPPEN, CHINA                                Address on File
SHIREY, HUNTER                                Address on File
Shirk, Allison                                Address on File
Shirley, Kevin                                300 East John Carpenter Freeway      Suite 800                                                               Irving            TX      75062
Shivers, Ryan                                 Address on File
SHOCKLEY, TYLER                               Address on File
SHOEMAKER, ERNEST                             Address on File
SHOEMAKER, RICHARD                            Address on File
SHORELINE RESTAURANT CORP                     301 E IH 30                                                                                                  ROCKWALL          TX      75087

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                                                                                   In re: Taco Bueno Restaurants Inc.., et al.
                                                                                          Consolidated Creditor Matrix

                         Name                                        Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
SHORES, TIMOTHY                                  Address on File
Short, Robert                                    Address on File
SHORTER, ASHLEY                                  Address on File
Shortt, Adam                                     Address on File
SHOTTON, JEREMY                                  Address on File
SHOTTS, TAYLOR                                   Address on File
SHOULDERS, GLORIAMORA                            Address on File
Shouse, Matthew                                  Address on File
Shouse, Sarah                                    Address on File
Shouse, William                                  Address on File
SHREFFLER, PETER                                 Address on File
SHRINER, MATTHEW                                 Address on File
Shropshire, Antonysha                            Address on File
Shroyer, Corissa                                 Address on File
SHRUM, JUSTIN                                    Address on File
SHRUM, SARA                                      Address on File
SHUGART, BEVERLY                                 Address on File
SHUMAN INVESTMENTS INC.                          DBA BAR S BAR LEASING                P O BOX 47                                                  TYE              TX      79563
SHUMARD, DUSTIN                                  Address on File
Shumard, Justin                                  Address on File
SHUMARD, KERRI                                   Address on File
SHUPE, JILLIAN                                   Address on File
SIAUGNTER, TAMARA                                Address on File
SIAULAIGA, CHRISTINA                             Address on File
Sidders, Austin                                  Address on File
SIDDIQUI, MUHAMMAD                               Address on File
SIDDIQUI, MUHAMMAD                               Address on File
Sides, Donavan                                   Address on File
SIDIE, TYLER                                     Address on File
sidorenko, viktor                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SIERRA, MARIA                                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SIFUENTES, ARTURO                                Address on File
SIGALA, ANNA                                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Sigala, Briana                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Sigala, Ofelia                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Sigler, Chance                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Sigler, Misty                                    Address on File
SIGMA SOLUTIONS INC. P. O. BOX 677680            PO BOX 733113                                                                                    DALLAS           TX      75373‐3113
SIGN & CRANE SERVICE                             P.O. BOX 1548                                                                                    BROWNWOOD        TX      76804
SIGN MAN                                         2719 W MARSHALL AVE                                                                              LONGVIEW         TX      75604
SIGNATURE STAFF RESOURCES, LLC                   2640 N FM 740                                                                                    HEATH            TX      75032
Signor, Krystal                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SIKES, CHRISTOPER                                Address on File
SIKES, HEATHER                                   Address on File
SIKES, JUSTIN                                    Address on File
Sikes, Kylee                                     Address on File
SILAS, RICHARD                                   Address on File
SILBANUZ, MEIVA                                  Address on File
Silguero, Viviana                                Address on File
SILGUERO, YARITZA                                Address on File
SILKWOOD, BRITANI                                Address on File
SILLIKER, INC.                                   3155 PAYSPHERE CIR                                                                               CHICAGO          IL      60674
SILMON, SHANTRAL                                 Address on File
SILOS, LINDA                                     Address on File
Silva Medina, Edward                             Address on File
SILVA, ALEXANDER                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Silva, Alexander                                 Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                       Name                                    Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
SILVA, ANTHONY                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
SILVA, ANTHONY                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Silva, Jose                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
SILVA, LUCIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Silva, Lupita                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Silva, Patricia                            Address on File
SILVA, REBECCA                             Address on File
SILVA‐CONTRERAS, MIGUEL                    Address on File
Silvas, Reynalda                           Address on File
SILVERIO, DIOSELINA                        Address on File
SILVERIO, ELIZABETH                        Address on File
SILVERIO, MARIA                            Address on File
SILVEY, CHRISTOPHER                        Address on File
Silvius, Kaleb                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
SIMER, ERYN                                Address on File
Simer, Taylor                              Address on File
Simes, January                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
SIMKINS, SHAWNA                            Address on File
SIMMERING, REBECCA                         Address on File
SIMMONS, ERIC                              Address on File
SIMMONS, JAMES                             Address on File
SIMMONS, JAMES                             Address on File
Simmons, Jerimy                            Address on File
SIMMONS, JOSEPH                            Address on File
Simmons, Kaitlin                           Address on File
SIMMONS, KENNETH                           Address on File
Simmons, Michael                           Address on File
SIMMONS, NINA                              Address on File
SIMMONS, SALLY                             Address on File
SIMMONS, ZACKERY                           Address on File
SIMMS, ANALEISE                            Address on File
SIMMS, CADYANN                             Address on File
Simms, Hayden                              Address on File
SIMMS, MODELL                              Address on File
SIMMS, TAELISHA                            Address on File
SIMON ROOFING AND SHEET METAL CORP.        P. O. BOX 951109                                                                                 CLEVELAND         OH      44193
Simon, Cassandra                           Address on File
SIMON, DEVONTE                             Address on File
SIMON, SKYLAR                              Address on File
Simon, Tyrra                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Simpkins, Zayvion                          Address on File
SIMPLEX GRINNELL                           DEPT CH 10320                                                                                    PALATINE          IL      60055‐0320
Simpson, Adam                              Address on File
SIMPSON, ASHLEY                            Address on File
Simpson, Devontae                          Address on File
Simpson, Kyle                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Simpson, Rachael                           Address on File
SIMPSON, SARA                              Address on File
Simpson, Skylar                            Address on File
SIMPSON, TASANDRA                          Address on File
Simpson, Taylor                            Address on File
SIMPSON, TERRION                           Address on File
SIMPSON, TYLER                             Address on File
Sims II, Rolph                             Address on File
Sims Jr, Aundre                            Address on File
Sims, Bryan                                Address on File
SIMS, HILDA                                Address on File

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                                                                                      In re: Taco Bueno Restaurants Inc.., et al.
                                                                                             Consolidated Creditor Matrix

                      Name                                              Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
SIMS, JADEN                                         Address on File
SIMS, JAMES                                         Address on File
Sims, Kathryn                                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
SIMS, MERYAH                                        Address on File
SIMS, MIGUEL                                        Address on File
SIMS, NATHEN                                        Address on File
SIMS, SHEVAJAE                                      Address on File
SIMS, STEVEN                                        Address on File
SIMS, TAMON                                         Address on File
SIMS, THOMAS                                        Address on File
SIMS, TIARA                                         Address on File
SIMS, TIERRA                                        Address on File
SIMS, WILLIAM                                       Address on File
SINGH, SANDRA                                       Address on File
SINGH, VICKEY                                       Address on File
SINGLETARY, SHOREY                                  Address on File
Singleton, Adelynn                                  300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
SINGLETON, MICHAEL                                  Address on File
SINKS, JUSTIN                                       Address on File
SINNETT, DONALD                                     Address on File
SIPEK, MATTHEW                                      Address on File
Sires, Tammy                                        Address on File
SISCO, MICHAEL                                      Address on File
Sisk, Jessica                                       Address on File
SISSON JR, JOHN                                     Address on File
SISSON, HARMON E                                    5409 126th ST                                                                                    OKLAHOMA CITY     OK      73142‐4126
Sisson, James                                       Address on File
SITERO, APRIL                                       Address on File
SITES, APRIL                                        Address on File
SITTON, GERALD                                      Address on File
SIUDA, JAMES                                        Address on File
SIVENDANA, CLARISSE                                 Address on File
Sixta, Austin                                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Skeen, Geniva                                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
SKELTON, CHERYL                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
SKELTON, CHERYL                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
SKELTON, REBECCA                                    Address on File
SKIATOOK BULLDOG BOOSTER CLUB                       16219 WIND HILL CIRCLE                                                                           SKIATOOK          OK      74070
Skinner, Dalton                                     300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
SKINNER, JEFFREY                                    Address on File
SKINNER, SHAUNTIA                                   Address on File
Skipper, Autumn                                     Address on File
SLADE, JA'BRAN                                      Address on File
Slade, Nicholas                                     Address on File
SLAGLE, CALEB                                       Address on File
Slaton, Kierra                                      Address on File
SLAUGHTER CROSSING DBA ROUND ROCK RANCH LTD SOLE 
MBR                                                 P O BOX 162304                                                                                   AUSTIN            TX      78716
Slaughter, Brian                                    Address on File
SLAUGHTER, EDWARD                                   Address on File
Slaughter, Shinita                                  300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
SLAVENS, DAYTON                                     Address on File
SLAYTON, HOUSTON                                    Address on File
Slead, Monica                                       Address on File
Sledge, Cassie                                      Address on File
SLEDGE, JANICE                                      Address on File
Sledge, Rebecca                                     Address on File

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                       Name                                      Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
SLETTE, LILLIAN                              Address on File
SLIGER, BRITTANY                             Address on File
SLINGSHOT 208 N. MARKET ST.                  208 N. MARKET ST., STE. 500                                                                      DALLAS          TX      75202
SLIVENSKY, EMMA                              Address on File
SLIVKA, NATHAN                               Address on File
Sloan, Brent                                 Address on File
Sloan, Kimberly                              Address on File
SLOAN, NOLA                                  Address on File
SLOSSER, JESSE                               Address on File
SLOVAK, JASON                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SM ROCHA LLC                                 12303 AIRPORT WAY                    STE 200                                                     BROOMFIELD      CO      80021
SMALL, BRITTNY                               Address on File
Small, Christian                             Address on File
SMART, DEVARRUS                              Address on File
Smart, Fre'mon                               Address on File
SMC CONSULTING ENGINEERS, P.C. 815 W. MAIN   815 W. MAIN                                                                                      OKLAHOMA CITY   OK      73106
SMELLY, JASON                                Address on File
SMILEY, ETHAN                                Address on File
Smiley, Horace                               Address on File
SMILEY, NICHOLAS                             Address on File
Smith II, Allen                              Address on File
SMITH II, CHARLES                            Address on File
SMITH JR, WALTER                             Address on File
Smith, Aaron                                 Address on File
Smith, Abbie                                 Address on File
Smith, Acqurah                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SMITH, ADAM                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Smith, Adora                                 Address on File
SMITH, ADREANNEA                             Address on File
Smith, Akadias                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Smith, Alana                                 Address on File
Smith, Amanda                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SMITH, AMANDA                                Address on File
Smith, Andrew                                Address on File
SMITH, ANDREW                                Address on File
SMITH, APRIL                                 Address on File
Smith, Ayshawn                               Address on File
Smith, Benjamin                              Address on File
Smith, Benjamin                              Address on File
Smith, Bennie                                Address on File
SMITH, BEVERLY                               Address on File
SMITH, BOBBY                                 Address on File
SMITH, BRANDEN                               Address on File
SMITH, BRANDON                               Address on File
SMITH, BRAXTON                               Address on File
Smith, Breonna                               Address on File
Smith, Cameron                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SMITH, CHARLOTTE                             Address on File
Smith, Chelcie                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SMITH, CHRIS                                 Address on File
SMITH, CHRISTOPHER                           Address on File
SMITH, CRYSTAL                               Address on File
SMITH, CURTIS                                Address on File
SMITH, CYNTHIA                               Address on File
Smith, Dakota                                Address on File
SMITH, DALTON                                Address on File
SMITH, DANIELLE                              Address on File

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                                                                      In re: Taco Bueno Restaurants Inc.., et al.
                                                                             Consolidated Creditor Matrix

                    Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
SMITH, DANTE                        Address on File
Smith, Dante                        Address on File
Smith, Darius                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SMITH, DAUNCY                       Address on File
SMITH, DAVID                        Address on File
SMITH, DAVID                        Address on File
Smith, Dawn                         Address on File
Smith, Dayjavian                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Smith, Delilah                      Address on File
SMITH, DEMONTE                      Address on File
Smith, Destiny                      Address on File
SMITH, DEVANTE                      Address on File
SMITH, DOMINIQUE                    Address on File
Smith, Donald                       Address on File
Smith, Donovan                      Address on File
SMITH, DOROTHY                      Address on File
SMITH, DUSTIN                       Address on File
SMITH, DYLLAN                       Address on File
Smith, Elix                         Address on File
SMITH, ELIZABETH                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Smith, Erich                        Address on File
SMITH, ERIKA                        Address on File
SMITH, ERIN                         Address on File
Smith, Fantacy                      Address on File
SMITH, FELICIA                      Address on File
SMITH, GARY                         Address on File
SMITH, GINELLE                      Address on File
Smith, Gracie                       Address on File
Smith, Henry                        Address on File
SMITH, ISSACHAR                     Address on File
SMITH, JAKE                         Address on File
SMITH, JAMAL                        Address on File
Smith, James                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SMITH, JAMES                        Address on File
SMITH, JAMES                        Address on File
Smith, Jamie                        Address on File
Smith, Jaquan                       Address on File
SMITH, JARROD                       Address on File
SMITH, JAVARIS                      Address on File
Smith, Jeana                        Address on File
SMITH, JEMISHA                      Address on File
Smith, Jennifer                     Address on File
SMITH, JESSICA                      Address on File
Smith, Jessica                      Address on File
SMITH, JESSICA                      Address on File
Smith, Jimmie                       Address on File
Smith, Joanie                       Address on File
SMITH, JOHN                         Address on File
Smith, Jordan                       Address on File
SMITH, JOSEPH                       Address on File
Smith, Joshua                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SMITH, JULIAN                       Address on File
Smith, Justin                       Address on File
SMITH, JUSTIN                       Address on File
SMITH, JUSTINA                      Address on File
Smith, Katlyn                       Address on File
SMITH, KAYLA                        Address on File

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                                                                      In re: Taco Bueno Restaurants Inc.., et al.
                                                                             Consolidated Creditor Matrix

                    Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Smith, Kayla                        Address on File
Smith, Kehia                        Address on File
Smith, Kenneth                      Address on File
SMITH, KENYA                        Address on File
Smith, Khalil                       Address on File
SMITH, KORY                         Address on File
Smith, Kyenne                       Address on File
Smith, La'Tia                       Address on File
SMITH, LATINA                       Address on File
SMITH, LEANDRA                      Address on File
SMITH, LELA                         Address on File
SMITH, LESLIE                       Address on File
SMITH, LEVI                         Address on File
SMITH, LEXA                         Address on File
Smith, Lily                         Address on File
Smith, Madison                      Address on File
SMITH, MALISSA                      Address on File
Smith, Marisa                       Address on File
Smith, Marleigh                     Address on File
Smith, Matthew                      Address on File
Smith, Mauria                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SMITH, MICHAEL                      Address on File
Smith, Michael                      Address on File
Smith, Miyawna                      Address on File
Smith, Monica                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SMITH, NAPSUGAR                     Address on File
Smith, Nasha                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SMITH, NATALIE                      Address on File
Smith, Nathaniel                    Address on File
SMITH, NICHOLAS                     Address on File
SMITH, NICOLE                       Address on File
SMITH, REGINA                       Address on File
SMITH, ROBERT                       Address on File
Smith, Roger                        Address on File
SMITH, ROSLYN                       Address on File
Smith, Samantha                     Address on File
SMITH, SAMUAL                       Address on File
SMITH, SARA                         Address on File
SMITH, SAVANNAH                     Address on File
Smith, Shaun                        Address on File
Smith, Shawanna                     Address on File
Smith, Shawn                        Address on File
Smith, Shayna                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Smith, Skyler                       Address on File
Smith, Steven                       Address on File
Smith, Tabitha                      Address on File
Smith, Tatiana                      Address on File
SMITH, TAYLOR                       Address on File
SMITH, TERESA                       Address on File
SMITH, TERRELL                      Address on File
SMITH, TIARA                        Address on File
SMITH, TIFFANY                      Address on File
SMITH, TIFFANY                      Address on File
SMITH, TRE                          Address on File
SMITH, TRENTON                      Address on File
Smith, Treven                       Address on File
SMITH, TYLER                        Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                         Name                                 Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
Smith, Valencia                           Address on File
SMITH, VERDELL                            Address on File
SMITH, VESTORIS                           Address on File
SMITH, VICTORIA                           Address on File
SMITH, ZACHARY                            Address on File
Smith, Zachary                            Address on File
Smith, Zell                               Address on File
SMITH‐DRESSLER SERVICES, LLC              708 COUNTY RD 1600                                                                               MARLOW           OK      73055
Smith‐Hardin, Bonnie                      Address on File
Smith‐Vega, Lee                           Address on File
SMOAK, KELSEY                             Address on File
SMOK, HEATHER                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Smokes, Christopher                       300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SMORGAS CHORUS                            BRETT RANDOLPH                       1513 W BROWNING CT                                          ANDOVER          KS      67002
Smotherman, Travier                       Address on File
Smothers, Autumn                          Address on File
Smothers, Elizabeth                       Address on File
Smothers, Heather                         Address on File
SMYTHERS, COREY                           Address on File
SNEED, ARRIUS                             Address on File
SNEED, ELIJAH                             Address on File
SNEED, RAPHAEL                            Address on File
Sneed, Rashaan                            Address on File
Sneed‐Jennings, Ashley                    Address on File
SNELL, DILLON                             Address on File
SNELL, ZACHARY                            Address on File
SNIDER, KAYLA                             Address on File
SNIDER, LAYLA                             Address on File
SNIDER, RICHARD                           Address on File
SNINSKY, JOSEPH                           Address on File
SNITZ, JENNIFER                           Address on File
SNODDY, BLAKE                             Address on File
Snoddy, Eduardo                           Address on File
SNODGRASS, JENNIFER                       Address on File
SNOW, ALTON                               Address on File
Snow, Samuel                              Address on File
Snowden, Ben                              Address on File
SNYDER, ALEXANDRIA                        Address on File
SNYDER, HARRY                             Address on File
Snyder, Jennifer                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Snyder, Joey                              Address on File
SNYDER, RACHEL                            Address on File
SNYDER, URIAH                             Address on File
SOBERANIS, IRIS                           Address on File
SOCIETY OF ST. VINCENT DE PAUL            DIOCESAN COUNCIL OF DALLAS           3826 GILBERT AVE                                            DALLAS           TX      75219
SOCO INTENSITY BOOSTER CLUB               AMBER COUGHRON                       445 N 256 ROAD                                              MOUNDS           OK      74047
SOFTWAREONE, INC.                         20875 CROSSROADS CIRCLE SUITE 1                                                                  WAUKESHA         WI      53186
SOGAN, ALEK                               Address on File
Sojo, Crystal                             Address on File
Sokol, Jacob                              Address on File
Solano, Caitlin                           Address on File
Solano, Tesia                             Address on File
SOLE 2 SOUL PERFORMING ARTS               KIM ORR                              14601 S MEMORIAL DR                                         BIXBY            OK      74008
Soliday, Heather                          Address on File
SOLIS DE LEON, FLORINDA                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SOLIS, BAILEE                             Address on File
Solis, Esperanza                          Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                        Name                                  Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
SOLIS, HUGO                               Address on File
Solis, Jessica                            Address on File
SOLIS, MARCO                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Solis, Miguel                             Address on File
SOLIS, MIREYA                             Address on File
SOLIUM OPTIONEASE INC.                    DBA SOLIUM OPTIONEASE INC.           27201 PUERRA REAL STE. 200                                  MISSION VIEJO   CA      92691
SOLIZ, ALEX                               Address on File
Soliz, Desirae                            Address on File
Soliz, Exavier                            Address on File
Solomon, Cathy                            Address on File
SOLOMON, KATHERINE                        Address on File
Solomon, Samuel                           Address on File
SOLOMON, STERLING                         Address on File
SOMERS, JACQUELINE                        Address on File
SOMERVILLE, GLORIA                        Address on File
Sommers, Caleb                            Address on File
Songer, Allan                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SONIC INDUSTRIES SERVICES, INC.           ATTN: JENNIFER BUXTON                300 JOHNNY BENCH DR                                         OKLAHOMA CITY   OK      73104
Sonis, Kaykay                             Address on File
Sonnier, D'Andre                          Address on File
SONNIER, ERIKA                            Address on File
SOONER LOC5515C S. M                      5515C S. MINGO                                                                                   TULSA           OK      74146‐6420
Sorcey, Faith                             Address on File
SORIANO, EFRAIN                           Address on File
SORIANO, EVERARDO                         Address on File
SORIANO, FIDEL                            Address on File
SORIANO, JENNIFER                         Address on File
SORRELS, JAMI                             Address on File
SOSA, ELIMELEC                            Address on File
SOTELO, FRANCISCO                         Address on File
SOTO SR, KENNETH                          Address on File
SOTO, DALIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SOTO, DESTINEY                            Address on File
SOTO, HECTOR                              Address on File
Soto, Humberto                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Soto, Jennifer                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SOTO, JOSE                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Soto, Noe                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SOTO, NORMA                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Soto, Norma                               Address on File
SOTO, RITA                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
SOTO, ROBERT                              Address on File
Soto, Yoana                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Sotomayor, Jacob                          Address on File
SOUNENG, MERRYCLARE                       Address on File
SOURCE POWER & GAS LLC                    P. O. BOX 203690                                                                                 DALLAS          TX      75320‐3690
SOUTH, KATHERINE                          Address on File
Southard, Rhonisha                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Southside Bank                            1204 Henderson Street                                                                            CLEBNURNE       TX      76033
SOUTHWEST C&R, LLC                        JESSE HORTON                         2442 N 1ST                                                  ABILENE         TX      79603
SOUTHWEST RESTAURANT EQUIPMENT INC.       3220 DALWORTH ST                                                                                 ARLINGTON       TX      76011
SOUTHWEST SEARCH                          P. O. BOX 140086                                                                                 DALLAS          TX      75214
Sowell, Matay                             Address on File
SOX 07                                    J ROGERS                             6600 SW 92ND                                                OKLAHOMA CITY   OK      73169
SOZA, DIANA                               Address on File
SPACE, CIERA                              Address on File
Spain, James                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                             Name                                 Address 1                        Address 2                Address 3                 City   State PostalCode   Country
SPAIN, MONET                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
SPALDING, STEPHANIE                         Address on File
SPANIARD, BENJAMIN                          Address on File
SPANN, ALEXANDER                            Address on File
SPANN, MATTHEW                              Address on File
SPARDLEY, VANESSA                           Address on File
SPARKLETTS AND SIERRA SPRINGS               P O BOX 660579                                                                                   DALLAS          TX   75266‐0579
Sparkman, Cheryl                            Address on File
SPARKMAN, MARANDA                           Address on File
Sparks, Caleb                               Address on File
SPARKS, COLTON                              Address on File
SPARKS, JENNIFER                            Address on File
Sparks, Larry                               Address on File
SPARKS, RICKY                               Address on File
Sparks, Sierra                              Address on File
SPARKS, THOMAS                              Address on File
SPARTAN                                     3314 E 51ST ST STE 200‐A                                                                         TULSA           OK   74135
Spartan 98 Limited Partnership              3314 East 51st Street                Suite 200A                                                  Tulsa           OK   74135
SPEAD, JASMINE                              Address on File
SPEARFISH 6119 GREENVILLE                   6119 GREENVILLE AVE                  SUITE 302                                                   DALLAS          TX   75206
SPEARMON, DAMON                             Address on File
Spears, Jonathan                            Address on File
SPEARS, JUSTIS                              Address on File
SPEARS, KALLYN                              Address on File
SPEARS, NATHAN                              Address on File
SPEARS, SHANE                               Address on File
SPECIAL OLYMPICS                            JILL SCOTT                           11800 NORTH ROCKWELL                                        OKLAHOMA CITY   OK   73142
SPECIFIED PRODUCTS, INC.                    4911 OLSON DR                                                                                    DALLAS          TX   75227‐2106
Speck, Kevin                                Address on File
SPECTRUM PRINTING & PROMOTIONS LLC          2029 MCKENZIE DR                     SUITE 150                                                   CARROLLTON      TX   75006
SPEEGLE, KEITH                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
SPEER, LISA                                 Address on File
SPEIGHT, MELLANY                            Address on File
SPENCE, DUSTIN                              Address on File
SPENCE, JORDAN                              Address on File
SPENCE, SCOTT                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
SPENCE, TYLER                               Address on File
Spencer, David                              Address on File
Spencer, Deanna                             Address on File
SPENCER, LEANNA                             Address on File
SPENCER, RENA                               Address on File
SPENCER, RENA                               Address on File
SPENCER, SAMANTHA                           Address on File
SPENCER, STACY                              Address on File
Spencer, Thalasha                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
SPENUZZA, INC DBA IMPERIAL MANUFACTURING    1128 SHERBORN ST                                                                                 CORONA          CA   92879
Spephens, Rolanda                           Address on File
SPERRY PUBLIC SCHOOLS                       DANA HAMERSLEY                       400 W MAIN                                                  SPERRY          OK   74073
SPERRY, TYLER                               Address on File
Spice, Ari                                  Address on File
SPINELLA, DANTE                             Address on File
Spinks, Kayli                               Address on File
SPINKS, TAL'EA                              Address on File
SPIRE                                       DRAWER 2                                                                                         ST. LOUIS       MO   63171
SPIRIT BOOSTER CLUB                         AMBER BUSH                           1160 SE CENTURY DR                                          LEE'S SUMMIT    MO   64081
Spirit Master Funding III, LLC              2727 N Harwood Street                Suite 300                                                   Dallas          TX   75201
Spirit Master Funding X, LLC ‐ TABU I ML    2727 N Harwood Street                Suite 300                                                   Dallas          TX   75201

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                           Name                                 Address 1                       Address 2                   Address 3                  City   State PostalCode   Country
Spirit Master Funding, LLC                  2727 N Harwood Street                Suite 300                                                   Dallas           TX   75201
SPIRIT REALTY, LP                           SPIRIT MASTER FUNDING X LLC          6242 E 41ST LOCKBOX 2860                                    TULSA            OK   74135
SPIRIT XPLOSION BOOSTER CLUB                P O BOX 402                                                                                      CATOOSA          OK   74015
Spivey, Cardell                             Address on File
Spohr, Christine                            Address on File
SPOON, SHASITY                              Address on File
Spooner, Christina                          Address on File
Spoor, Wanda                                Address on File
SPORT ADVEP O BOX 54                        P O BOX 54282                                                                                    TULSA            OK   74155
Spottedcorn, Rex                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
SPOTTEDWOLF, CHRISTIAN                      Address on File
Spradlin, Anna                              Address on File
SPRAGLIN, DONTEL                            Address on File
Spray, Daniel                               Address on File
SPRIGGS, DEJA                               Address on File
Spriggs, Mychal                             Address on File
SPRING CREEK PTA                            6801 S 3RD ST                                                                                    BROKEN ARROW     OK   74011
Springer, Jacob                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
SPRINGER, MELANIE                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Springer, Samantha                          Address on File
SPRINGMAN, JASPER                           Address on File
SPRINKLER TECH                              206 S NOLAN RIVER RD #16                                                                         CLEBNURNE        TX   76033
SPRINKLR INC.                               29 W 35TH ST                         8TH FLOOR                                                   NEW YORK         NY   10001
SPURLOCK, JASON                             Address on File
SPURLOCK, STEPHEN                           Address on File
SRD BOOTBACKERS                             ATTN: ROWLETT HS SRD'S               P O BOX 1966                                                ROWLETT          TX   75030
SS COMMERCIAL BUILDERS LLC                  8101 BOAT CLUB RD                    SUITE 240                                                   FORT WORTH       TX   76179
SS HOLDINGS GROUP LLC                       DBA SCHLESINGER ASSOCIATES           101 WOOD AVE SO. STE 501                                    ISELIN           NJ   08830
SS SPORTS                                   ATTN: MORGAN BATES                   15812 E RIGGS RD                                            INOLA            OK   74036
St Germain, Jared                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
ST JUDE'S RESEARCH                          KATIE CASANOVA/SHARON WOOD           14333 PERKINS RD STE A                                      BATON ROUGE      LA   70810
ST MARY'S CATHOLIC SCHOOL                   CISSY BOYLE                          713 S TRAVIS                                                SHERMAN          TX   75090
ST THERESE CHURCH                           KELLY CASSIDY YOUTH GROUP            PO BOX 297                                                  COLLINSVILLE     OK   74021
ST. PHILIP'S UNITED METHODIST CHURCH        3717 BROADWAY BLVD.                                                                              GARLAND          TX   75043
STAAS, MIKE                                 4914 FORT                                                                                        WACO             TX   76710
Stacey, Ryan                                Address on File
stacy, dixon                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Stacy, Jacob                                Address on File
Stacy, Johnathon                            Address on File
STACY, SEVEN                                Address on File
STAFFORD, JAMES                             Address on File
STAFFORD, MARI                              Address on File
Stafford, Ronnie                            Address on File
STAKE, BEATRICE                             Address on File
Stake, Demetrius                            Address on File
STAKE, LATOYA                               Address on File
Staley, Asante                              Address on File
Staley, E.L.                                Address on File
STAMER, LUKE                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Stamper, Cory                               Address on File
Stamps, Amanda                              Address on File
STANDARD TESTING AND ENGINEERING CO         3400 N LINCOLN BLVD                                                                              OKLAHOMA CITY    OK   73105
STANDEFORD, CLAUDIA                         Address on File
STANDRIDGE, RICKY                           Address on File
STANDS, CASSIDY                             Address on File
STANFIELD, ANDREA                           Address on File
Stanford, Shatae                            Address on File

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                                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                         Consolidated Creditor Matrix

                       Name                                                 Address 1                                  Address 2                                Address 3                               City   State    PostalCode   Country

STANLEY CONVERGENT SECURITY SOLUTIONS DEPT CH 10651    DEPT CH 10651                                                                                                                      PALATINE             IL      60055‐0651
STANLEY, FLOYD                                         Address on File
STANLEY, MICHELLE                                      Address on File
STANLEY, SHARON                                        Address on File
STANLEY‐HUFF, JORDON                                   Address on File
STANLEY‐HUFF, NOAH                                     Address on File
STANMORE, SHALISA                                      Address on File
STANSBERRY, JAMES                                      Address on File
STANTON, MATTHEW                                       Address on File
STAPLES BUSINESS ADVANTAGE                             P O BOX 70242                                                                                                                      PHILADELPHIA         PA      19176‐0242
STAR LUMBER & SUPPLY CO.                               325 S. WEST ST.                                                                                                                    WICHITA              KS      67213
Star Lumber & Supply Co., Inc.                         325 S West St                                                                                                                      Wichita              KS      68213
STAR MANUFACTURING INTERNATIONAL, INC.                 P. O. BOX 60151                                                                                                                    ST. LOUIS            MO      63160‐0151
STAR, RAYFORD                                          Address on File
Starbuck, Christopher                                  Address on File
Starbuck, Robert                                       300 East John Carpenter Freeway               Suite 800                                                                            Irving               TX      75062
Stark, Dustin                                          Address on File
STARKEY, MEAGAN                                        Address on File
STARKLEY, TIMOTHY                                      Address on File
STARKS, TREVOR                                         Address on File
STARLING, MAKAYLA                                      Address on File
STARLITE SIGN                                          7923 E MCKINNEY                                                                                                                    DENTON               TX      76208
Starnes, Rikki                                         Address on File
STARR, ANGELA                                          Address on File
STARR, ERIC                                            300 East John Carpenter Freeway               Suite 800                                                                            Irving               TX      75062
STARR, HOLLY                                           300 East John Carpenter Freeway               Suite 800                                                                            Irving               TX      75062
STARR, HOLLY                                           Address on File
STARR, NICOLE                                          Address on File
STARR, TONY                                            Address on File
Stas, Ernest                                           Address on File
STASYSZEN, JAMI                                        Address on File
STATE OF ARKANSAS P. O. BOX 919                        CORPORATION INCOME TAX SECTION                P O BOX 8149                                                                         LITTLE ROCK          AR      72203‐0919
STATE OF COLORAD CDPHE                                 CO CDPHE                                      4300 CHERRY CREEK RD SOUTH                  ASD‐AR‐B1                                DENVER               CO      80246‐1530
State of Colorado ‐ Department Of Public Health And 
Environment                                            4300 Cherry Creek Drive South                 Asd‐Ar‐B1                                                                            Denver               CO      80246‐1530
State of Colorado Cdphe                                4300 Cherry Creek Rd South                    Asd‐Ar‐B1                                                                            Denver               CO      80246‐1530
STATE OF KANSAS                                        OFFICE OF THE STATE TREASURER                 900 SW JACKSON ST., STE. 201                                                         TOPEKA               KS      66612‐1235
                                                                                                     414 E. 12th Street Treasury Division 1st 
State of Missouri                                      City Hall                                     Floor                                       Room 201W                                Kansas City          MO      64106

State of Missouri                                      414 E. 12th Street                                                                        Treasury Division 1st Floor, Room 201W   Kansas City          MO      64106
STATE OF NEW JERSEY                                    P O BOX 929                                                                                                                        TRENTON              NJ      08625‐0929
STATE OF NEW MEXICO TAXATION & REVENUE DEPT.           P O BOX 25127                                                                                                                      SANTA FE             NM      87504‐5127
State of Texas Comptroller of Public Accounts          Lyndon B. Johnson State Office Building       111 East 17th Street                                                                 Austin               TX      78774
Steckel, Logan                                         300 East John Carpenter Freeway               Suite 800                                                                            Irving               TX      75062
STEDDUM, KEELIE                                        Address on File
Steed, Nicole                                          300 East John Carpenter Freeway               Suite 800                                                                            Irving               TX      75062
STEELE, BREAUNA                                        Address on File
Steele, Derek                                          Address on File
Steele, Jessica                                        Address on File
Steele, Kionte                                         300 East John Carpenter Freeway               Suite 800                                                                            Irving               TX      75062
STEELE, LAQUNDA                                        Address on File
STEELMAN, CHRISTOPHER                                  Address on File
STEEVES, CHANDLER                                      Address on File
STEFFAN, DAVID                                         Address on File
Steffen, Adin                                          Address on File

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                        Name                                          Address 1                        Address 2                Address 3                   City   State PostalCode   Country
STEGEMAN, AMELIA                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
STEGER, ASHLEY                                  Address on File
STEINER CONSULTING GROUP, DLR DIVISION, INC.    DAILY LIVESTOCK REPORT               P O BOX 4872                                                MANCHESTER        NH   03108‐4872
STEINMAN, TYLEA                                 Address on File
Stelly, Ashlie                                  300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Steltzlen, Christopher                          300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
STEP ONE POS                                    41690 IVY ST., STE. B                                                                            MURRIETA          CA   92562
STEPHENS COUNTY HEALTH DEPARTMENT               1401 BOIS D'ARC                                                                                  CUNCAN            OK   73533
STEPHENS, ANGEL                                 300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
STEPHENS, ANTONIO                               Address on File
STEPHENS, CLAY                                  Address on File
Stephens, Emily                                 Address on File
Stephens, Garrett                               Address on File
STEPHENS, JARRIN                                Address on File
Stephens, Jonathan                              Address on File
STEPHENS, NICHOLAS                              Address on File
STEPHENS, PRESTON                               Address on File
STEPHENS, SERENITY                              Address on File
STEPHENS, ZACHARY                               Address on File
STEPP, BRITTANY                                 Address on File
Stepp, James                                    Address on File
Stepp, Robert                                   Address on File
STEPTOE, JAVONTE                                Address on File
Sterling Jr, Bruce                              Address on File
Sterling, Ashley                                Address on File
STERLING, GEORGE                                Address on File
Sterling, Heather                               Address on File
STERLING, VANESSA                               Address on File
STEVEN HENRY GAUDET DBA CHANDLERS COMMERCIAL 
SERVICE                                         1732 COUNTRY MANOR ROAD                                                                          FORT WORTH        TX   76134
Stevens, Christopher                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
STEVENS, DELANA                                 Address on File
STEVENS, DOUGLAS                                Address on File
STEVENS, JESSICA                                Address on File
STEVENS, KERRI                                  Address on File
Stevens, Kyle                                   Address on File
STEVENS, MARK                                   300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Stevens, Matthew                                Address on File
STEVENS, REBECCA                                Address on File
Stevens, Shawna                                 Address on File
STEVENSON, ANGELO                               Address on File
STEVENSON, HUNTER                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
STEVENSON, HUNTER                               Address on File
Stevenson, Kane                                 Address on File
STEVENSON, MITZI                                Address on File
STEVENSON, NICOLE                               Address on File
STEVENSON, QUAVODIS                             Address on File
STEVERNSON, MELISSA                             Address on File
Steverson, Markal                               Address on File
STEVIE BURRIS GENERAL CONTRACTIN LLC            DBA THE CLEANING SERVICE             P O BOX 7332                                                LAWTON            OK   73506
Steward, Destiny                                Address on File
Steward, Janeciya                               Address on File
Steward, Tavian                                 Address on File
Stewart Jr, Kevin                               Address on File
Stewart Sutherland                              Address Unknown
STEWART TITLE COMPANY                           15950 DALLAS PKWY #100                                                                           DALLAS            TX   75248
Stewart, Adrian                                 Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Stewart, Alexus                          Address on File
STEWART, ASHLEY                          Address on File
STEWART, BRANDON                         Address on File
Stewart, Brian                           Address on File
STEWART, DALLAS                          Address on File
STEWART, DESTINY                         Address on File
Stewart, Gary                            Address on File
Stewart, Jesse                           Address on File
STEWART, JOSHUA                          Address on File
STEWART, KEVIN                           Address on File
STEWART, LAUREN                          Address on File
Stewart, Makias                          Address on File
Stewart, Neangela                        Address on File
STEWART, TEDDY                           Address on File
Stewart, Tre'Vaunna                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Stewart, Tyler                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Stewart, Tyler                           Address on File
Stewart, Zack                            Address on File
STICKELL, JARED                          Address on File
STICKLEY, KJIRSTIN                       Address on File
Stigleman, Chelsea                       Address on File
STILL, DANYA                             Address on File
STILL, JONATHON                          Address on File
STILL, MONICA                            Address on File
STILL, SHAWNEE                           Address on File
STILLION, ELIZABETH                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Stills, Donnell                          Address on File
Stillwater Signs                         Address Unknown
STILLWELL, KRISTEN                       Address on File
STINGLEY, JIMMY                          Address on File
Stinson, Amanda                          Address on File
Stinson, Jazreyn                         Address on File
STITH, SHELBY                            Address on File
Stithem, Rodney                          Address on File
STITT, KEVIN                             Address on File
STOBER, AARON                            Address on File
Stockham, Shelby                         Address on File
Stockton, Kenneth                        Address on File
Stockwell Jr, Chester                    Address on File
STODDARD, CHEYENNE                       Address on File
STOGNER, ZACHARY                         Address on File
STOKER, AUDALISEA                        Address on File
Stoker, Brittany                         Address on File
Stoker, Gia                              Address on File
STOKES, JAMES                            Address on File
Stokes, Marcus                           Address on File
Stokes, Mikaela                          Address on File
STOLSWORTH, CHANCE                       Address on File
STOLT, ANDREW                            Address on File
Stone Jr, David                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
STONE, BAILEY                            Address on File
Stone, Levi                              Address on File
STONE, SHADOCKA                          Address on File
STONE, SHARON                            Address on File
STONE, SHAWN                             Address on File
Stone, Tanika                            Address on File
STONE, TAYLOR                            Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
STONE, TEKEYA                           Address on File
STONE, TYLER                            Address on File
STOPP, ELISA                            Address on File
Storm, Robert                           Address on File
STORY, DIANA                            Address on File
STOTLER, JACQUELINE                     Address on File
Stotler, Kristy                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Stouder, Ashley                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
STOUT, BROGAN                           Address on File
STOUT, MICIAN                           Address on File
STOUT, RAECHAL                          Address on File
STOVER, JARED                           Address on File
STOVER, PAOLA                           Address on File
STOWE, CHASE                            Address on File
STOWE, THOMAS                           Address on File
Stracener, Kimberly                     Address on File
STRALEY, CAMERON                        Address on File
STRALEY, NATHAN                         Address on File
STRANBERRY, IASHA                       Address on File
STRANGE, CASEY                          Address on File
Stratos Oil                             Address Unknown
Stratton, August                        Address on File
STRATTON, RICHARD                       Address on File
STRAW, ETHAN                            Address on File
Strickler, John                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
STRINGER, LENDERRICK                    Address on File
Stringer, Tyvon                         Address on File
STRIPING PLUS INC.                      2469 DOREEN ST.                                                                                  GRAND PRAIRIE   TX      75050
STROH, CHRISTIAN                        Address on File
STROHM, DAVID                           Address on File
STRONG, JUSTIN                          Address on File
STROPE, TRISTAN                         Address on File
Strother, Ruth                          Address on File
STRUTZ, LIZZETTE                        Address on File
STUART, ANTHONY                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Stuart, Jeffery                         Address on File
STUBB, BILL                             4216 NORTH PORTLAND #101                                                                         OKLAHOMA CITY   OK      73112
Stubblefield, Guess                     Address on File
STUBBLEFIELD, JANET                     Address on File
STUBBLEFIELD, TIONNE                    Address on File
STUBBS, AARON                           Address on File
STUBBS, GWENNETTA                       Address on File
STUCKER, BRANDON                        Address on File
Stucker, Brianne                        Address on File
STUDABAKER, CECILIA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
STUDABAKER, JOHN                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Stults, Kaemon                          Address on File
STULTZ, FRANK                           Address on File
Stultz, Samantha                        Address on File
STUMPS, KELEIGH                         Address on File
Stunkard, Brian                         Address on File
Sturges, Averiuna                       Address on File
STURGIS, KATHERINE                      Address on File
Sturles, Jeremy                         Address on File
STUTSON, DECOREYIAN                     Address on File
Stutson, Frederick                      Address on File
Stutson, Netrisha                       Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                          Name                                     Address 1                          Address 2                Address 3                  City     State    PostalCode   Country
STUTSON, TOQUAE                                Address on File
STYLES JR., ANTHONY                            Address on File
STYLES, KATHERINE                              Address on File
Suarez Aguilar, Anipania                       Address on File
Suarez, Cesar                                  Address on File
Suarez, Edin                                   Address on File
SUAREZ, FLORENTINA                             Address on File
Suarez, Jose                                   300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
SUAREZ, MIRANDA                                Address on File
SUBEDI, JESSICA                                Address on File
Suddarth, Aubrianna                            Address on File
Suddarth, Gavin                                Address on File
SUDDENLINK MEDIA                               P. O. BOX 951391                                                                                 DALLAS             TX      75395‐1391
SUDDUTH, CHELSEA                               Address on File
SUDDUTH, TYLER                                 Address on File
SUE DINAPOLI OVARIAN CANCER SOCIETY            TANYA GOSE                           3214 PENNSYLVANIA AVE                                       COLORADO SPRINGS   CO      80907
Suetopka‐Garcia, Deshaun                       Address on File
SUGDEN, CYNTHIA                                Address on File
SUGDEN, SYLVIA                                 Address on File
SUHLOP, ANGELA                                 Address on File
SUITERS, DAVID                                 Address on File
Sullivan, Brianna                              300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Sullivan, Dakota                               Address on File
SULLIVAN, DEBORAH                              Address on File
SULLIVAN, GARRETT                              Address on File
Sullivan, Halie                                Address on File
SULLIVAN, JORDAN                               Address on File
SULLIVAN, JOSHUA                               Address on File
Sullivan, Meghan                               Address on File
SULLIVAN, NICHOLAS                             Address on File
SULLIVAN, NIKKI                                Address on File
Sullivan, Robert                               Address on File
SULLIVAN, ROSETTA                              Address on File
SULLIVAN, SARAH                                Address on File
SULLIVAN, TRINITY                              Address on File
SULPHUR SPRINGS ISD                            TAX COLLECTOR                        631 CONNALLY                                                SULPHUR SPRINGS    TX      75482
SULTANA, RAZIA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
SULZEN, STACIE                                 Address on File
SUMMERS, CHARLIE                               Address on File
SUMMERS, KYLE                                  Address on File
SUMMIT RISER SYSTEMS INC                       15245 ALTON PKWY                     SUITE 200                                                   IRVINE             CA      92618
Sumner, Brandi                                 Address on File
SUMNER, DAKOTAH                                Address on File
SUMPTER, KEITH                                 Address on File
Sumpter, Mitchell                              Address on File
SUMPTER, NICHOLAS                              Address on File
Sun Holdings Inc.                              4055 Valley View Ln                  Suite 500                                                   Dallas             TX      75244
SUNBELT RENTALS INC                            P O BOX 409211                                                                                   ATLANTA            GA      30384‐9211
Sunday, Adrian                                 Address on File
Sunday, Shannon                                Address on File
SUNDBERG, JERON                                Address on File
SUNSET HOLDINGS, LLC                           13018 Pinehurst                                                                                  Wichita            KS      67230
SUNSET HOLDINGS, LLC                           ATTN: JAMES VOSBURGH                 13018 PINEHURST                                             WICHITA            KS      67230
SUNSET STONE INC.                              702 PRAIRIE HAWK DR                                                                              CASTLE ROCK        CO      80109
SUPERIOR GRAPHICS & SIGNS 299 1/2              515 S MAIN ST                                                                                    MUSKOGEE           OK      74401
SUPERIOR LANDSCAPE MANAGEMENT                  P. O. BOX 594                                                                                    ANDOVER            KS      67002
SUPRON, CHELSEA                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062

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                                                                                       In re: Taco Bueno Restaurants Inc.., et al.
                                                                                              Consolidated Creditor Matrix

                          Name                                          Address 1                           Address 2                Address 3                  City   State    PostalCode   Country
SURAJ HOSPITALITY LLC dba HAMPTON INN                1530 SW 27TH ST                                                                                  EL RENO          OK      73036
Surlean Meat Co                                                                                                                                       San Antonio      TX
SUSAN G KOMEN                                        MARK ZALAR                           5005 LBJ FREEWAY SUITE 250                                  DALLAS           TX      75244
Susan Yvonne Chiu, Trevocable Intervivos Trust       11642 Bridge Part Ct                                                                             Cupertino        CA      95014
SUSETTE, JAQUELINE                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SUTER, ALISA                                         Address on File
Suter, Steven                                        Address on File
SUTHERLAND, CASSIE                                   Address on File
SUTHERLAND, DUANE                                    Address on File
SUTHERLAND, JESSICA                                  Address on File
Sutterfield, Aaron                                   Address on File
Sutterfield, Nicolas                                 Address on File
Sutterfield, Scott                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SUTTLES, ASHLEY                                      Address on File
Sutton, Brandon                                      Address on File
SUTTON, CAITLIN                                      Address on File
SUTTON, GLENN                                        300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SUTTON, GLENN                                        Address on File
SUTTON, KORY                                         Address on File
Sutton, Krischan                                     Address on File
SUTTON, MICHAEL                                      Address on File
SUZUMU, TONY                                         Address on File
Svitak, Kathrine                                     Address on File
SWADLEY, RICHARD                                     Address on File
SWAIN, ALENNA                                        Address on File
Swaiss, Abigail                                      Address on File
Swall, Stalonteaus                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SWAN, ALICIA                                         Address on File
SWAN, DARIA                                          Address on File
SWAN, KARLA                                          Address on File
SWANSON JR., BRIAN                                   Address on File
Swanson, Christian                                   Address on File
SWARTZ, LUKE                                         Address on File
SWEARINGEN, DULTON                                   Address on File
SWEARINGIN, WENDY                                    Address on File
Sweat, Jordan                                        Address on File
Sweeney, Ashlyn                                      Address on File
SWEENEY, ZACKARY                                     Address on File
SWEET, ALBERT                                        Address on File
SWEET, SHANNON                                       Address on File
SWEETLAND, RYLEIGH                                   Address on File
SWEETMAN, JACKLYN                                    Address on File
Sweezy Jr, Robert                                    Address on File
SWEEZY, SYLVIA                                       Address on File
SWENKE, SHAYNA                                       Address on File

SWIFT CONSTRUCTION DBA CEI ELECTRICAL & MECHANICAL   2900 E 13TH ST                                                                                   KANSAS CITY      MO      64127
Swift Hawk, Darion                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
SWIGART, JONATHAN                                    Address on File
SWILLEY, KYLE                                        Address on File
SWINFORD SAND LLC                                    RICKY K SWINFORD                     801 SW BISHOP RD                                            LAWTON           OK      73501
SWINK HEATING AIR CONDITIONING & ELECTRIC            P. O. BOX 813                                                                                    LONE GROVE       OK      73443
SWINNEY, JANET                                       Address on File
SWITZER LAWN PERFECTIONS, LLC                        P. O. BOX 123                                                                                    SAPULPA          OK      74067
Sword, Hunter                                        Address on File
SYED, IMRAN                                          Address on File
SYKES, DAVID                                         Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                            Name                                   Address 1                          Address 2                          Address 3                     City   State    PostalCode   Country
SYKES, JOSHUA                                  Address on File
SYKES, MALIK                                   Address on File
Sykes, Marc                                    Address on File
SYLVESTER, ADAM                                Address on File
SYLVESTER, CARTISHA                            Address on File
SYNTER RESOURCE GROUP, LLC                     P O BOX 63247                                                                                              CHARLESTON          SC      29149‐3247
SYNTRIO, INC.                                  50 CALIFORNIA ST STE 1500                                                                                  SAN FRANCISCO       CA      94111
SZENDRODI, SARAH                               Address on File
T & S BRASS AND BRONZE WORKS, INC.             P. O. BOX 601161                                                                                           CHARLOTTE           NC      28260‐1161
T BLOTS FW LLC                                 PO BOX 842324                                                                                              DALLAS              TX      75248
T C PARTNERSHIP                                P. O. BOX 411                                                                                              PLAINVIEW           TX      79073
TABER, FLOYD                                   Address on File
Tabor, Katie                                   Address on File
Tabor, Rebbecca                                Address on File
TABU EQUITY I                                  1370 AVENUE OF THE AMERICAS          21ST FLOOR                                                            NEW YORK            NY      10019
TABU Property II, LLC ‐ ML                     1370 Avenue of the Americas          21st floor                                                            New York            NY      10019
TABU Property III, LLC ‐ ML                    1370 Avenue of the Americas          21st floor                                                            New York            NY      10019
TABU Property IV, LLC ‐ ML                     490 South Highland Ave                                                                                     Pittsburgh          PA      15206
TACKER, SHANE                                  Address on File
TACKETT, CHARITY                               Address on File
TACO BRAVO INC                                 DARRELL NETZ                         P O BOX 956                                                           SALLISAW            OK      74955
TACO BRAVO, INC                                1201 W Ruth Ave                                                                                            Sallisaw            OK      74955
TAEGEL, KYLE                                   Address on File
Tafoya, Orion                                  Address on File
TAFT, AUDIE                                    300 East John Carpenter Freeway      Suite 800                                                             Irving              TX      75062
TAFT, AUDIE                                    300 East John Carpenter Freeway      Suite 800                                                             Irving              TX      75062
Taft, LaMia                                    300 East John Carpenter Freeway      Suite 800                                                             Irving              TX      75062
Taft, Mitchell                                 Address on File
Taggart, Pamela                                Address on File
Tagliere IV, Carmine                           Address on File
TAJOYA, MARIA                                  300 East John Carpenter Freeway      Suite 800                                                             Irving              TX      75062
Talamantes, David                              Address on File
TALAMANTES, LAURA                              Address on File
TALBERT, GILDA                                 Address on File
Talbott, Travis                                Address on File
TALKIN, JACOB                                  Address on File
TALLENT, PAULA                                 Address on File
Talley, Faith                                  Address on File
TALTON, ZANE                                   Address on File
TALUKDER, KHALED                               Address on File
TALX CORPORATION 4076 PAYSPHERE CL.            4076 PAYSPHERE CL.                                                                                         CHICAGO             IL      60674
TAMAYO, JISSEL                                 Address on File
TAMEZ, ADRIAN                                  300 East John Carpenter Freeway      Suite 800                                                             Irving              TX      75062
TANCREDI, JOSEPH                               Address on File
TANDEM THEORY LLC                              KEVIN HAGEN                          15400 KNOLL TRAIL DRIVE                    STE 503                    DALLAS              TX      75248
Tanguay, Raymond                               Address on File
TANIMU, OMAR                                   Address on File
TANKERSLEY, KATHLEEN                           Address on File
TANKSLEY, ALICIA                               Address on File
Tanksley‐harrell, Tulina                       Address on File
TANNEHILL, BAILEY                              Address on File
Tanner, Charles                                Address on File
TANNER, DAPHNIE                                300 East John Carpenter Freeway      Suite 800                                                             Irving              TX      75062
TANT, RAYMUNDO                                 Address on File
TAOUFIK, AMANDA                                Address on File
Tapia, Marcelo                                 Address on File
Tapingo                                        111 New Montgomery Street            Suite 600                                                             San Francisco       CA      94105

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                                                                                   In re: Taco Bueno Restaurants Inc.., et al.
                                                                                          Consolidated Creditor Matrix

                           Name                                       Address 1                         Address 2                Address 3                  City   State    PostalCode   Country
Tariah, Derego                                   Address on File
Tarkowski, David                                 Address on File
Tarlton, Destri                                  Address on File
TARLTON, DYLAN                                   Address on File
Tarlton, Misty                                   Address on File
TARRANT CO                                       1101 S. MAIN ST                      STE 2300                                                    FORT WORTH       TX      76104‐4802
TARRANT COASSESSOR‐CP O BOX 96                   RON WRIGHT,ASSESSOR‐COLLECTOR        P O BOX 961018                                              FORT WORTH       TX      76161‐0018
Tarrant County                                   Ron Wright Assessor‐Collector        PO Box 961018                                               Fort Worth       TX      76161‐0018
Tarrant County                                   Ron Wright Assessor‐Collector        100 E. Weatherford                                          Fort Worth       TX      76196
Tarrant County Health Department                 1101 S. Main St.                     Suite 2300                                                  Ft.Worth         TX      76104‐4802
Tarrant County Health Department                 1800 University Drive‐ Ste.135                                                                   Fort Worth       TX      76107‐3405
TARTAN, ILLYSIA                                  Address on File
TARVER, DILLON                                   Address on File
Tarver, Howard                                   Address on File
Tarver, Marty                                    Address on File
Tat, Johnny                                      Address on File
TATE, DARRELL                                    Address on File
Tate, Raterrance                                 Address on File
Tattershall, John                                Address on File
Tatum, Laura                                     Address on File
TATUM, MATTHEW                                   Address on File
Tatum, Patrick                                   Address on File
TAU BETA SIGMA                                   JAI STRICKLER                        1845 FAIRMONT ST BOX 53                                     WICHITA          KS      67260
TAVARES, CAROLINA                                Address on File
TAVAREZ, CRUCITO                                 Address on File
TAVAREZ, DAVID                                   Address on File
TAVIS, STACIE                                    Address on File
TAWKOYTY, SHELDON                                Address on File
TAX APPRAISAL DISTRICT OF BELL COUNTY            P. O. BOX 390                                                                                    BELTON           TX      76513‐0390
TAYLOR COUAPPRAISAL PO BOX 1800                  OF TAYLOR COUNTY                     PO BOX 1800                                                 ABILENE          TX      79604
Taylor County Appraisal District                 PO Box 1800                                                                                      Abilene          TX      79602
Taylor County Appraisal District                 534 S Treadaway Blvd                                                                             Abilene          TX      79602
Taylor, Alexis                                   Address on File
TAYLOR, AMANDA                                   Address on File
TAYLOR, ASHLEY                                   Address on File
TAYLOR, BRANDON                                  Address on File
TAYLOR, BREONNA                                  Address on File
Taylor, Candis                                   Address on File
Taylor, Carlee                                   Address on File
TAYLOR, CHALEN                                   Address on File
TAYLOR, CHEYENNE                                 Address on File
TAYLOR, CHRISTOPHER                              Address on File
Taylor, Colby                                    Address on File
Taylor, Cresha                                   Address on File
Taylor, Dale                                     Address on File
Taylor, Dayven                                   Address on File
TAYLOR, DEJUANDRE                                Address on File
TAYLOR, DEVONTE                                  Address on File
Taylor, Diane                                    Address on File
TAYLOR, ERICA                                    Address on File
TAYLOR, FRAUKE                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Taylor, Gregory                                  Address on File
Taylor, Imani                                    Address on File
TAYLOR, IMANI                                    Address on File
TAYLOR, JAIR                                     Address on File
Taylor, Jaylayvia                                Address on File
TAYLOR, JEFFERY                                  Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                    City   State    PostalCode   Country
TAYLOR, JEREMY                          Address on File
Taylor, Jessica                         Address on File
TAYLOR, JEWELEANN                       Address on File
TAYLOR, JORDAN                          Address on File
Taylor, Joshua                          Address on File
TAYLOR, JUSTIN                          Address on File
Taylor, Kendra                          Address on File
Taylor, Kentrell                        Address on File
Taylor, Klohie                          300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Taylor, Kylon                           Address on File
Taylor, Lacea                           Address on File
Taylor, Lakeisha                        Address on File
Taylor, Lisa                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
TAYLOR, MARCUS                          Address on File
Taylor, McKensey                        300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Taylor, Natasha                         300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
TAYLOR, REBECCA                         Address on File
TAYLOR, REIN                            Address on File
Taylor, Remona                          Address on File
TAYLOR, SAMUEL                          Address on File
TAYLOR, SARAH                           Address on File
Taylor, Sedrick                         Address on File
TAYLOR, SHAWNA                          Address on File
TAYLOR, STACEY                          Address on File
TAYLOR, SUMMER                          Address on File
TAYLOR, SYERRA                          Address on File
TAYLOR, TANNER                          Address on File
TAYLOR, TIARRA                          Address on File
Taylor, Trenton                         Address on File
Taylor, Troy                            Address on File
Taylor, Walter                          Address on File
TB GARDEN OF THE GODS, LLC              1950 CHAMBERS RD                                                                                 AURORA             CO      80011
TB GARRETT CREEK, LLC                   1525 W. 36TH PLACE                                                                               TULSA              OK      74107
TB LAWTON, LLC                          1500 INDUSTRIAL BLVD                 STE 100                                                     ABILENE            TX      79602
TC Partnership                          2210 W 24th St                                                                                   Plainview          TX      79072
TDn2K, LLC                              17304 PRESTON RD                     SUITE 430                                                   DALLAS             TX      75252
Teague, Casey                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Teague, Chaz                            Address on File
TEAGUE, MARCY                           Address on File
TEALER, CHAMPAIGN                       Address on File
Tech‐24                                 Address Unknown
Tecuanhuehue, Nancy                     300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Tecumseh, Demarquion                    Address on File
Tecumseh, Emmanuel                      Address on File
TEDDI LYNELL BANKES‐DOMANN              10159 HILLGRASS CIRCLE                                                                           COLORADO SPRINGS   CO      80920
TEDFORD, TARYN                          Address on File
Tedlock, Justice                        Address on File
Teed, Malechi                           Address on File
Teel, Jackie                            Address on File
TEEL, SHARON                            Address on File
TEJADO IBARRA, GIOVANNI                 Address on File
Tejan, Janelle                          Address on File
TEJEDA, GUSTAVO                         Address on File
Telar, Davontae                         Address on File
TELLADO, RAYMOND                        Address on File
TELLEZ, CECILIA                         Address on File
Tellez, Kevin                           Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                 Address 1                         Address 2                Address 3                    City   State    PostalCode   Country
Tellez, Maximiliano                        Address on File
Tello Gonzalez, Maria                      Address on File
TELLO, MARIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
TELLO, MARIA                               Address on File
TEMP, HR                                   Address on File
TEMPLEMAN, HAELEY                          Address on File
TEMPLETON, SAMMIE                          Address on File
TEMPLIN, ANGEL                             Address on File
Tempson, Daisha                            Address on File
Teng, Akech                                Address on File
Teng, Akech                                Address on File
Tenison, Aaiden                            Address on File
TENISON, CODY                              Address on File
Tennant, Samuel                            Address on File
TENNIES, MATTHEW                           Address on File
TENNISON, ASHREANN                         Address on File
Tenorio, Madison                           Address on File
TENQUER, ROXIE                             RUN FOR LIFE PARTI #4234606          6055 SW ATTERBURY DR                                        LAWTON             OK      73505
TERAN, ANTHONY                             Address on File
TERAN, MIRNA                               300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
TERNING, ASHLEY                            Address on File
Terrazas, Alaysia                          Address on File
TERRAZAS, ROBERTO                          Address on File
TERRELL, DEJUANTE                          Address on File
TERRELL, TORRIE                            Address on File
TERRI S. BIGNELL TRUST                     3940 BANDINI ST                                                                                  SAN DIEGO          CA      92103
TERRY, AMBER                               Address on File
Terry, Catherine                           Address on File
TERRY, CHERYL                              Address on File
TERRY, HAYDEN                              Address on File
TERRY, SHAWNA                              Address on File
test, Donald                               Address on File
TETER'S FAUCET PARTS CORP                  PO BOX 141075                                                                                    DALLAS             TX      75214
TETTS, MELISSA                             Address on File
TEUTLE, JOSE                               Address on File
TEVES, JOSE                                300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
TEVIS, GREGORY                             Address on File
TEXAS A&M AGRILIFE EXTENSION SERV          PO BOX 10420                                                                                     COLLEGE STATION    TX      77842‐2147
TEXAS AIRSYSTEMS                           6029 W CAMPUS CIRCLE DR STE 100                                                                  IRVING             TX      75063
TEXAS BEST PROTEINS LP                     5775 FM 2201                                                                                     SANTO              TX      76472
Texas Comptroller Of Public Accounts       PO Box 149348                                                                                    Austin             TX      78714‐9348
Texas Comptroller Of Public Accounts       111 East 17th Street                                                                             Austin             TX      78774
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS       2655 VILLA CREEK DR. STE. 270                                                                    DALLAS             TX      75234‐7316
TEXAS DEPT. OF TRANSPORTATION              DALLAS DISTRICT OFFICE               4777 US HWY 80 E                                            MESQUITE           TX      75150‐6643
Texas Electrical                           Address Unknown
TEXAS GAS SERVICE                          P.O. BOX 219913                                                                                  KANSAS CITY        MO      64121‐9913
TEXAS PTA‐LIBERTY GROVE ELEMANTARY         10201 LIBERTY GROVE RD                                                                           ROWLETT            TX      75089
TEXAS SIGN SERVICE INC.                    6654 COUNTY ROAD 323                                                                             TERRELL            TX      75160
TEXAS SPECIALTY BEVERAGE, LLC              10740 N STEMMONS FRWY                                                                            DALLAS             TX      75220
TEXAS STATE COMPTROLLER                    UNCLAIMED PROPERTY DIVISION          P.O. BOX 12019                                              AUSTIN             TX      78711‐2019
TEXAS YARD PRO INC.                        P. O. BOX 8988                                                                                   GREENVILLE         TX      75404
THACH, CLAYTON                             Address on File
THACKER, KIRSTI                            Address on File
Thacker, Lauren                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Thayer, Josefa                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Thayer, Kimberly                           Address on File
The City of Euless                         Env. Health Dept.                    201 N. Ector Drive Bldg. C                                  Euless             TX      76039‐1545

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                                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                        Consolidated Creditor Matrix

                         Name                                                      Address 1                          Address 2                Address 3                   City    State    PostalCode   Country
THE CITY OF FORT WORTH                                       200 TEXAS ST                                                                                       FORT WORTH        TX       76102
THE CITY OPO BOX 154                                         PO BOX 1545                                                                                        EULESS            TX       76039‐1545
THE DAY & ZIMMERMAN GROUP INC.                               YOH SERVICES LLC                       P O BOX 654068                                              DALLAS            TX       75265‐4068
THE DELFIELD CO                                              P O BOX 932442                                                                                     ATLANTA           GA       31193‐2442
THE ELLIOT GROUP                                             ALICE ELLIOT                           505 WHITE PLAINS RD., STE. 228                              TARRYTOWN         NY       10591
THE FAMILY GREENHOUSE                                        SCOTT DAST                             101 LAKE VILLAGE DR                                         MCKINNEY          TX       75071
THE J PAUL COMPANY                                           25358B E. STATE HWY. 121               STE. 100                                                    LEWISVILLE        TX       75056
THE LAKES ASSEMBLY                                           CARRI SPARKS                           901 WILLIAMS PO BOX 33                                      ROCKWALL          TX       75087
THE LAMAR                                                    P.O. BOX 96030                                                                                     BATON ROUGE       LA       70896
THE LAWTON                                                   P.O. BOX 2129                                                                                      LAWTON            OK       73502
The Leisy Brewing Company                                    7212 N. Villa Lake Drive                                                                           Peoria            IL       61614
THE LITTLE LIGHT HOUSE 5120 E. 36TH ST.                      5120 E. 36TH ST.                                                                                   TULSA             OK       74135

THE NAGLE 2000 REVOCABLE TRUST DATED DEC 13 2000             18650 BIG TIMBER ROAD                                                                              TYLER             TX       75703
THE NPD GROUP                                                24619 NETWORK PLACE                                                                                CHICAGO           IL       60673‐1246
THE RESTAURANT REPAIR COMPANY                                DBA THE RESTAURANT REPAIR COMPANY      4227 CENTERGATE                                             SAN ANTONIO       TX       78217
THE RICHESON GROUP LLC                                       P O BOX 1299                                                                                       GRAHAM            TX       76450
THE ROBERTS GROUP                                            239 SOUTHLAND DR                       SUITE C                                                     LEXINGTON         KY       40503
THE SHERMAN WILLIAMS COMPANY                                 11226 LEO LANE                                                                                     DALLAS            TX       75229
THE SPARKS AGENCY                                            P. O. BOX 109                                                                                      WILLS POINT       TX       75169
THE SPECIALIZED MARKETING GROUP INC.                         5202 OLD ORCHARD RD                    STE 110                                                     SKOKIE            IL       60077
THE WALDINGER CORPORATION 1800 E LEVEE ST                    PO BOX 1612                                                                                        DES MOINES        IA       50306‐1612
THE WATCHMEN CREW                                            ANGELA DAVIS                           8271 S YORKTOWN CT APT A                                    TULSA             OK       74137
THEESFELD, DYLAN                                             Address on File
THELE, KAYLIEG                                               Address on File
THIBODAUX, EDIE                                              Address on File
Thibodeau, Miranda                                           Address on File
THOMAS DOOLIN & ASSOCIATES dba PEOPLE REPORT                 DBA PEOPLE REPORT                      17304 PRESTON RD., STE. 430                                 DALLAS            TX       75252
Thomas Goodner Estate and Fallis A. Beall d/b/a Elk Plaza 
Shopping Center                                              2401 West Bois D'Arc                                                                               Duncan            OK       73533
THOMAS JEFFERSON PTA                                         MARY DANZ                              8418 S 107TH E AVE                                          TULSA             OK       74133
THOMAS JR, ANTHONY                                           Address on File
THOMAS, ADRIAN                                               Address on File
THOMAS, ANDRE                                                Address on File
THOMAS, ANGEL                                                Address on File
THOMAS, ANGEL                                                Address on File
Thomas, Antonyo                                              Address on File
Thomas, Ashley                                               Address on File
Thomas, Atalia                                               Address on File
Thomas, Billy                                                Address on File
Thomas, Blake                                                300 East John Carpenter Freeway        Suite 800                                                   Irving            TX       75062
Thomas, Brandy                                               Address on File
Thomas, Brenden                                              Address on File
Thomas, Brett                                                Address on File
THOMAS, BRITTANY                                             Address on File
THOMAS, CHAMPAGNE                                            Address on File
Thomas, Chayla                                               Address on File
THOMAS, CHRISTIAN                                            Address on File
THOMAS, CHRISTOPHER                                          Address on File
Thomas, Corey                                                Address on File
THOMAS, DAMEION                                              Address on File
Thomas, Dana                                                 Address on File
THOMAS, D'ANGELO                                             Address on File
Thomas, Dayveon                                              300 East John Carpenter Freeway        Suite 800                                                   Irving            TX       75062
THOMAS, DEIDRE                                               Address on File
THOMAS, DOMINIQUE                                            Address on File
Thomas, Elizabeth                                            Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
THOMAS, ELLYCE                           Address on File
THOMAS, HAILEY                           Address on File
THOMAS, JACKSON                          Address on File
THOMAS, JAYLIN                           Address on File
Thomas, Jazmine                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMAS, JEFF                             Address on File
THOMAS, JEREMY                           Address on File
Thomas, Jordan                           Address on File
THOMAS, JUSTIN                           Address on File
THOMAS, KALYN                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMAS, KALYN                            Address on File
THOMAS, KARESS                           Address on File
THOMAS, KIREE                            Address on File
THOMAS, LAIKEE                           Address on File
THOMAS, LAMONDRA                         Address on File
Thomas, LaREa                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMAS, LARRY                            Address on File
Thomas, Madison                          Address on File
Thomas, Melvin                           Address on File
THOMAS, MICHAEL                          Address on File
THOMAS, MONTREZ                          Address on File
THOMAS, NATALIE                          Address on File
Thomas, Nathaniel                        Address on File
Thomas, Nicholas                         Address on File
THOMAS, PATRICIA                         Address on File
Thomas, Phillip                          Address on File
Thomas, Quirea                           Address on File
THOMAS, RAVEN                            Address on File
Thomas, Rockies                          Address on File
THOMAS, RODNEY                           Address on File
THOMAS, SAMANTHA                         Address on File
Thomas, Sierra                           Address on File
THOMAS, STACY                            Address on File
Thomas, Tadon                            Address on File
Thomas, Tareshia                         Address on File
Thomas, Teliea                           Address on File
Thomas, Theodore                         Address on File
THOMAS, TONY                             Address on File
Thomas, Trenton                          Address on File
THOMASON, JOURNEY                        Address on File
THOMASON, TERRY                          Address on File
THOMASSON, ANDREW                        Address on File
THOMPKINS, RAYLON                        Address on File
Thompson Johnson, Ta'Ree                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMPSON, AARON                          Address on File
Thompson, Alex                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMPSON, ALEXANDER                      Address on File
THOMPSON, AMANDA                         Address on File
THOMPSON, ANDREY                         Address on File
Thompson, Anthony                        Address on File
THOMPSON, ANTONIO                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMPSON, ASHLEY                         Address on File
THOMPSON, AUBRI                          Address on File
THOMPSON, BRANDON                        Address on File
THOMPSON, BREANNA                        Address on File
THOMPSON, BRITTANY                       Address on File
THOMPSON, CAMERON                        Address on File

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                             Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
THOMPSON, CHAR                               Address on File
Thompson, Cheree                             Address on File
THOMPSON, CODY                               Address on File
Thompson, Cory                               Address on File
Thompson, Dalton                             Address on File
Thompson, Danyelle                           Address on File
Thompson, Dominique                          Address on File
thompson, Ebony                              Address on File
Thompson, Eddie                              Address on File
Thompson, India                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMPSON, JACOB                              Address on File
THOMPSON, JAIME                              Address on File
Thompson, Japsiah                            Address on File
Thompson, Jaquez                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMPSON, JEFFERY                            Address on File
THOMPSON, JEREMIAH                           Address on File
THOMPSON, JERLINE                            Address on File
Thompson, Johnathon                          Address on File
Thompson, Johnnysha                          Address on File
Thompson, Jordan                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMPSON, JORDAN                             Address on File
Thompson, Julius                             Address on File
THOMPSON, KEAIRRA                            Address on File
Thompson, Keioutti                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMPSON, KIERSTEN                           Address on File
THOMPSON, LAKISHA                            Address on File
Thompson, Lamarric                           Address on File
THOMPSON, LESLEY                             Address on File
Thompson, Malik                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMPSON, MARQUEZ                            Address on File
Thompson, Marshall                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMPSON, MONICA                             Address on File
Thompson, Nakeisha                           Address on File
THOMPSON, PHILLIP                            Address on File
THOMPSON, RENEE                              Address on File
THOMPSON, RODNEY                             Address on File
Thompson, Rodney                             Address on File
Thompson, Rose                               Address on File
Thompson, Sevin                              Address on File
Thompson, Shaidiron                          Address on File
THOMPSON, SHAINE                             Address on File
THOMPSON, SHERNIEAL                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
THOMPSON, SIDNEY                             Address on File
THOMPSON, SONYA                              Address on File
Thompson, Susan                              Address on File
THOMPSON, TABITHA                            Address on File
Thompson, Tachinia                           Address on File
THOMPSON, TANYELL                            Address on File
THOMPSON, TIANA                              Address on File
Thompson, Tishawn                            Address on File
Thompson, Tonya                              Address on File
Thompson, Tykeiah                            Address on File
Thompson‐Elkins, Hayleigh                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Thomson, Kathryn                             Address on File
THOMSON, OLIVIA                              Address on File
Thornburg, Tyler                             Address on File
THORNTON, ADRIAN                             Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                        Name                                   Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
Thornton, Cory                             Address on File
THORNTON, KIERYN                           Address on File
THORNTON, WILLIAM                          Address on File
Thornton, Zion                             Address on File
Thorpe, Jamie                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
THORPE, JAMIE                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Throneberry, Donna                         Address on File
THS THEATRE PARENT ORGANIZATION            17575 FM 986                                                                                     TERRELL          TX      75160
THURBER, DAVID                             Address on File
THURBER, TRACEY                            Address on File
THURMAN, KAYDE                             12007 S CEDAR AVE                                                                                JENKS            OK      74037
THURMOND, ALLYAH                           Address on File
THURMOND, DESYRAI                          Address on File
THURMOND, JASPER                           Address on File
TICAS, JOSE                                Address on File
TICER, ARTHUR                              Address on File
Tieman, Cody                               Address on File
Tierney, Sean                              Address on File
TIERRA DE ORO LLC                          ATTN: GERALD E. SCHMITZ              2010 EXCHANGE AVE.                                          OKLAHOMA CITY    OK      73108
Tierra De Oro, LLC                         1601 NW Expressway                   Suite 500                                                   Oklahoma City    OK      73118
TIERRABLANCA, MARTHA                       Address on File
Tiffee, Sean                               Address on File
Tiger, Anthony                             Address on File
Tiger, Christopher                         Address on File
TIGER, KADEN                               Address on File
Tiger, Kody                                Address on File
TIGER, MONQUESE                            Address on File
TIGER, RAYMOND                             Address on File
Tiger, Stefanie                            Address on File
TIGNER, SHELLEY                            Address on File
TIJANI, VICTOR                             Address on File
Tijerina, Arturo                           Address on File
Tilghman, Christy                          Address on File
TILIANO, GUADALUPE                         Address on File
TILLEY, DALTON                             Address on File
TILLEY, SHAUNNA                            Address on File
TILLIS, CHRISTIAN                          Address on File
TILLIS, DOMINIQUE                          Address on File
TILLMAN, CHARLES                           Address on File
TILLMAN, LARRY                             Address on File
TILLMAN, MALAYIA                           Address on File
Tillman, Rickey                            Address on File
TIMM, MICHELLE                             Address on File
Timmers, Jonathan                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
TIMMONS, CHARITY                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
TIMMONS, CHELSEA                           Address on File
Timmons, Jacob                             Address on File
TIMMS, JASON                               Address on File
Tinajero, Emmanuel                         Address on File
Tinajero, Jorge                            Address on File
TINSLEY, CARRISE                           Address on File
TIPADO, CANDICE                            Address on File
TIPPETT, ELIZABETH                         Address on File
TIPPY, CAITLIN                             Address on File
Tippy, Citlin                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
TIPTON SAMPLE, ANNELLE                     Address on File
TIPTON, TREVON                             Address on File

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                        Name                                      Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
TIPTON, WESLEY                                Address on File
TITAN BAND BOOSTER ASSOCIATION                ANDY REIN                            6901 COIT RD                                                FRISCO          TX      75035
TITANS BASEBALL BOOSTER                       RITA MOBLEY                          PO BOX 1692                                                 FRISCO          TX      75034
TITONE, ELIJAH                                Address on File
Titsworth, Alexis                             Address on File
TITUS HOME ENHANCEMENTS (LIL PIRATES TBALL)   S STEELMAN                           12007 N I 35 SVC RD                                         OKLAHOMA CITY   OK      73131
TLNY INC                                      C/O OMS ACCOUNTING                   1999 BRYAN ST STE 3200                                      DALLAS          TX      75201
TM ADVERTISING LP                             3030 OLIVE STREET #400                                                                           DALLAS          TX      75219
TMP MFG. CO. INC.                             1101 GRAHAM ST                       P O BOX 269                                                 HYDE            PA      16843
T‐N‐T STRIPING                                22251 WOLFRIDGE RD.                                                                              KILLEEN         TX      76549
TOADER, MICHAEL                               Address on File
TOBALIN, YADIRA                               Address on File
TOBAR, ALEX                                   Address on File
TOBAR, DORA                                   Address on File
Tobar, Karla                                  Address on File
Tobar, Marina                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
TOBIAS CONTRERAS, JENNIFER                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Todd, Bryson                                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
TODD, BRYSON                                  Address on File
Todd, Drevon                                  Address on File
Todd, Kanoa                                   Address on File
TODD, KYLA                                    Address on File
TODD, SABRENAE                                Address on File
TODD, TANETTE                                 Address on File
TODD, TELVIS                                  Address on File
TODDY, MATTHEW                                Address on File
TOLEN, SAMANTHA                               Address on File
TOLES, CHRISTIAN                              Address on File
TOLES, FARRAH                                 Address on File
TOLIVER, AUSTIN                               Address on File
Tom, Melissa                                  Address on File
TOM, SYLVAN                                   Address on File
Tomatzin, Estefany                            Address on File
Tomberlin, Jacob                              Address on File
Tomiska, Jacoby                               Address on File
TOMLINSON, CAMERON                            Address on File
Tomlinson, Caylin                             Address on File
Tomlinson, Devin                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Tomlinson, Heather                            Address on File
TOMLINSON, KIMBERLY                           Address on File
Tomlinson, Tielor                             Address on File
TONEY, MECHE                                  Address on File
TOOKER, DAKOTAH                               Address on File
TOOKER, TRISTEN                               Address on File
Toomer, Aaron                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
TOOTHMAN, CALER                               Address on File
TORGERSON, BRAXTON                            Address on File
TORIBIO, PABLO                                Address on File
TORMOS, PATRICK                               Address on File
TORRAIN, DAVID                                Address on File
TORRES LOPEZ, JONATHAN                        Address on File
TORRES PEREZ, DESIREE                         Address on File
Torres Soria, Claudia                         Address on File
TORRES, ALEJANDRINA                           Address on File
Torres, Alexis                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Torres, Arianna                               Address on File
Torres, Aurimar                               Address on File

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                          Name                                      Address 1                          Address 2                Address 3                 City    State PostalCode   Country
Torres, Camilo                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Torres, Carina                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
TORRES, CRISTINA                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
TORRES, DAISY                                   Address on File
TORRES, DEVIN                                   Address on File
TORRES, DIEGO                                   Address on File
TORRES, ELENA                                   Address on File
TORRES, EMANUEL                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
TORRES, ERNESTO                                 Address on File
TORRES, GINA                                    Address on File
TORRES, HALEY                                   Address on File
TORRES, JASLYN                                  Address on File
Torres, Jasmine                                 Address on File
Torres, Jason                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
TORRES, JOSUE                                   Address on File
TORRES, JUAN                                    Address on File
TORRES, JUDITH                                  Address on File
Torres, Katherine                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
TORRES, MARIA                                   Address on File
Torres, Maria                                   Address on File
TORRES, MATTHEW                                 Address on File
TORRES, MATTHEW                                 Address on File
Torres, Nataly                                  Address on File
Torres, Rayan                                   Address on File
Torres, Ricky                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
TORRES, ROBERTO                                 Address on File
Torres, Savannah                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
TORRES, SILVIA                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
TORRES, SUSANA                                  Address on File
TORRES, SYLVIA                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
TORRES, TELESFORA                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
TORRES, TRENTON                                 Address on File
TORRES‐GARCIA, FRANCISCO                        Address on File
TORRES‐JACOBO, SERGIO                           Address on File
TORREZ, DAVONTIA                                Address on File
TORREZ, RITA                                    Address on File
TORRUCO, CARLOS                                 Address on File
TORTOLANO, GESSICA                              Address on File
TOTAL LAWN CARE                                 DBA TOTAL LAWN CARE                  203 ROYAL RD.                                               LAKESIDE CITY    TX   76308
TOTAL ROOFING & RECONSTRUCTION                  13332 BEE ST.                                                                                    FARMERS BRANCH   TX   75234
Totaro, Tyler                                   300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Toth, Heather                                   Address on File
TOUSSAINT HILL, VICTORIA                        Address on File
TOVAR COLLETT, ANECIA                           Address on File
Tovar, Claudia                                  Address on File
Tovar, Lluvicela                                Address on File
Tovar, Victoria                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
TOWN & COUNTRY REAL ESTATE CO                   2930 EAST 51ST                                                                                   TULSA            OK   74105
Town of Addison                                 PO Box 9009                                                                                      Addison          TX   75001
Town of Addison                                 PO Box 9010                                                                                      Addison          TX   75001
Town of Addison                                 5300 Belt Line Road                                                                              Dallas           TX   75254‐7606
TOWN OF ADDISON 16801 WEST GROVE DR.            ENVIRONMENTAL SERVICES               16801 WESTGROVE DR.                                         ADDISON          TX   75001‐9010
TOWN OF ADDISON UTILITIES‐WATER PO BOX 650399   P. O. BOX 650399                                                                                 DALLAS           TX   75265‐0399
Town of Cross Roads                             1401 Fm 424                                                                                      Cross Roads      TX   76227
TOWN OF FLOWER MOUND                            2121 CROSS TIMBERS RD                                                                            FLOWER MOUND     TX   75028
Town of Pantego                                 1614 S. Bowen Rd.                                                                                Pantego          TX   76013
TOWN OF PROSPER                                 P O BOX 307                                                                                      PROSPER          TX   75078

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                                                                              In re: Taco Bueno Restaurants Inc.., et al.
                                                                                     Consolidated Creditor Matrix

                            Name                                Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
TOWNS, ERIC                                 Address on File
Townsell, Deon                              300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Townsell, Terrell                           Address on File
TOWNSEND, DYLAN                             Address on File
Townsend, Grace                             Address on File
Townsend, Tammie                            Address on File
Townson, Lila                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
TOWNSON, NICHOLAS                           Address on File
Toy, Mark                                   Address on File
TPG GROWTH III MANAGEMENT, LLC              301 COMMERCE ST, SUITE 3300                                                                      FORT WORTH       TX      76102
TPG Growth III Tomatillo, LP                301 Commerce Street                                                                              FORT WORTH       TX      76102
TRAMBLE, AAVRON                             Address on File
Tramble, Rosie                              Address on File
Trammel, Elizabeth                          Address on File
Trammel, Eurika                             Address on File
Trammell, Barbara                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Trammell, John                              Address on File
Trammell, Kristen                           Address on File
TRAN, AARON                                 Address on File
TRAN, DUKE                                  Address on File
Tran, Eliza                                 Address on File
Tran, Jimmy                                 Address on File
TRANCOSO, EVELYN                            Address on File
TRANSOURCE                                  P O BOX 931898                                                                                   ATLANTA          GA      31193
TRANTER, SHELBY                             Address on File
TRAUTLOFF, VIOLET                           Address on File
TRAVERS, BRIA                               Address on File
Travis County Tax Office                    PO Box 149328                                                                                    Austin           TX      78714‐9328
Travis County Tax Office                    5501 Airport Blvd.                                                                               Austin           TX      78751‐1410
TRAVIS MECHANICAL                           1919 OLD DENTON RD                   SUITE 100                                                   CARROLLTON       TX      75006
TRAVIS, BRADLEY                             Address on File
TRAVIS, GUNNAR                              Address on File
Travis, Thomas                              Address on File
Traylor, Devante                            Address on File
TRAYLOR, ERIC                               Address on File
Traywick, Madalyn                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
TREEHOUSE FOODS INC.                        BAY VALLEY FOODS LLC                 21077 NETWORK PLACE                                         CHICAGO          IL      60673‐1210
TREGONING, KYLE                             Address on File
TREJO, HECTOR                               Address on File
TREJO, JACQUELINE                           Address on File
Trejo, Jesus                                Address on File
TREJO, MARIA                                Address on File
Tremblay, Sydney                            Address on File
TREMON, AMANDA                              Address on File
Trenk, Rick                                 Address on File
TRENTHAM, COLTON                            Address on File
TREVINO MCKOY, JALEN                        Address on File
TREVINO, AIDEN                              Address on File
Trevino, Angela                             Address on File
Trevino, Destiny                            Address on File
TREVINO, DORA                               Address on File
Trevino, Emilio                             Address on File
TREVINO, JEREMY                             Address on File
TREVINO, MARIO                              Address on File
TREVINO, MELISSA                            Address on File
TREVINO, PAULA                              Address on File
Trevino, William                            Address on File

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                                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                                Consolidated Creditor Matrix

                        Name                                         Address 1                                Address 2                Address 3                  City   State    PostalCode   Country
TREVIZO, ROXSANNE                                Address on File
TRIANGLE ELECTRIC COMPANY                        AMARILLO'S TRIANGLE ELECTRIC CO, INC.      1414 S HUGHES ST                                            AMARILLO         TX      79102‐1636
TRIBRIDGE HOLDINGS, LLC                          PO BOX 200476                                                                                          PITTSBURGH       PA      15251‐0476
TRI‐COUNTY ELECTRIC COOPERATIVE, INC.            600 NW PARKWAY                                                                                         AZLE             TX      76020
TRIMBLE, APRIL                                   Address on File
Trimble, Kimberly                                300 East John Carpenter Freeway            Suite 800                                                   Irving           TX      75062
TRINITY LUTHERAN SCHOOL                          TRINITY LUTHERAN PTO                       603 CLASSEN BLVD                                            NORMAN           OK      73071
TRINTECH, INC.                                   P O BOX 205367                                                                                         DALLAS           TX      75320‐5367
Triplet, Margo                                   Address on File
Tripp, Zackary                                   Address on File
TRISTAN, ASHLEY                                  Address on File
TRISTAN, ELIAS                                   Address on File
TRISTAN, JUSTIN                                  300 East John Carpenter Freeway            Suite 800                                                   Irving           TX      75062
TRIZILA COMMUNICATIONS, INC.                     TRIZCOM PUBLIC RELATIONS                   14850 MONTFORT STE 190 LB 39                                DALLAS           TX      75254
TROMBLEE, JUSTIN                                 Address on File
TROTTER, DIONTE                                  300 East John Carpenter Freeway            Suite 800                                                   Irving           TX      75062
TROTTY, ALISCIA                                  Address on File
TROUT, BRAJHELLE                                 Address on File
Trout, Marisol                                   Address on File
Trout, Marisol                                   Address on File
Troutman, Diane                                  Address on File
Troxel, Kaitlin                                  Address on File
TROXELL, ERIC                                    Address on File
Troy, Phillip                                    Address on File
TRUEBLOOD, DREESON                               Address on File
TRUJILLO, ADAN                                   Address on File
Trujillo, Daisy                                  Address on File
Trujillo, Lorena                                 Address on File
TRUJILLO, MARIO                                  Address on File
Trujillo‐Smith, Shane                            Address on File
Truluck, Jonathan                                300 East John Carpenter Freeway            Suite 800                                                   Irving           TX      75062
Trumble, Ryan                                    Address on File
TRUNNEL, MARQUEZ                                 Address on File
TRUONG, LILY                                     Address on File
Truslow, Joshua                                  Address on File
TRUSTWAVE HOLDINGS INC.                          75 REMITTANCE DR., STE. 6000                                                                           CHICAGO          IL      60675‐6000
TRYON, ANTHONY                                   Address on File
TSCA‐230                                         P.O. BOX 833009                                                                                        RICHARDSON       TX      75083‐3009
TSCA‐230, L.L.C.                                 301 S Sherman St.                          Suite 100                                                   Richardson       TX      75081
TSOTIGH, JEANA                                   Address on File
TSUI, HENRY                                      Address on File
Tuang, Pau                                       Address on File
TUBBS, MARIA                                     Address on File
TUBBY, BRENDA                                    Address on File
Tubby, Karla                                     Address on File
Tucker, Ashley                                   Address on File
Tucker, Ashley                                   Address on File
Tucker, Billy                                    Address on File
TUCKER, CAGNEY                                   Address on File
TUCKER, CODY                                     Address on File
TUCKER, JADA                                     Address on File
TUCKER, JENNIFER                                 Address on File
TUCKER, KYRSTAN                                  Address on File
TUCKER, MICHAEL                                  Address on File
Tucker, Nathaniel                                Address on File
Tucker, Nea                                      Address on File
Tucker, Rachel                                   Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                 Address 1                         Address 2                                 Address 3                 City   State    PostalCode   Country
Tucker, Sheba                          Address on File
Tucker, Shelby                         Address on File
TUCKER, STANLEY                        Address on File
TUDOR, LEEVI                           Address on File
Tullis, Anthony                        Address on File
TULSA COUNTY CLERK                     500 S. DENVER                                                                                                     TULSA           OK      74103‐3832
Tulsa County Treasurer                 Tulsa Cty Admin Bldg                 500 S Denver                                                                 Tulsa           OK      74103
TULSA CTY TULSA CTY                    TULSA CTY ADMIN BLDG                 500 S DENVER                                                                 TULSA           OK      74103
TULSA GLAS                             PO BOX 14233                                                                                                      TULSA           OK      74159‐1233
TULSA HEALTH DEPARTMENT                P. O. BOX 451                                                                                                     TULSA           OK      74101
TULSA PUBLIC SCHOOLS                   MCCLURE SCHOOL                       SHAWNA SIMPSON                             1770 E 61ST ST                    TULSA           OK      74136
TUNE, SIERRA                           Address on File
TUNE, SUZANNE                          Address on File
Tunnell, Buddy                         Address on File
Tunson, Willie                         Address on File
Turcio, Cindy                          Address on File
Turcios, Holden                        Address on File
TURK, BRANDON                          Address on File
Turnbow, Christopher                   Address on File
Turnbow, Lacey                         Address on File
TURNBULL, JOHNATHAN                    Address on File
Turnbull, Mattisan                     Address on File
TURNER, ANTHONY                        Address on File
TURNER, BRENT                          Address on File
Turner, Bryan                          Address on File
TURNER, CHADRICK                       Address on File
Turner, Deja                           Address on File
TURNER, DYLLAN                         Address on File
TURNER, JAMAL                          Address on File
TURNER, JEREMIAH                       Address on File
TURNER, JUSTICE                        Address on File
TURNER, KELO                           Address on File
TURNER, KEVIN                          Address on File
Turner, Kirby                          Address on File
TURNER, KYLO                           Address on File
Turner, Kyron                          Address on File
Turner, Leanne                         Address on File
TURNER, LEIGH                          Address on File
TURNER, MARCUS                         Address on File
TURNER, NAKITA                         Address on File
Turner, Ramona                         Address on File
Turner, Randall                        300 East John Carpenter Freeway      Suite 800                                                                    Irving          TX      75062
Turner, Robert                         Address on File
TURNER, ROBERT                         Address on File
Turner, Starla                         300 East John Carpenter Freeway      Suite 800                                                                    Irving          TX      75062
TURNER, TAMIKA                         Address on File
TURNER, TAMIKO                         Address on File
Turner, Taneia                         Address on File
Turner, Tayvia                         Address on File
Turner, Tymeshia                       300 East John Carpenter Freeway      Suite 800                                                                    Irving          TX      75062
TURNER, TYREK                          Address on File
Turner, Victoria                       Address on File
TURNER, WENDY                          300 East John Carpenter Freeway      Suite 800                                                                    Irving          TX      75062
TURNEY, KOLE                           Address on File
Turnpaugh, Sarah                       Address on File
Turrubiartes, Roxana                   Address on File
Turrubiartes, Santos                   Address on File

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                           Name                                   Address 1                          Address 2                               Address 3                   City   State    PostalCode   Country
Tuthill, Kaitlin                              Address on File
TUTT, KENDRIC                                 Address on File
TUUCI, LLC                                    2900 NW 35TH ST                                                                                                 MIAMI             FL      33142
TWAHIBU, CHARLES                              Address on File
TWENTYEAST AGENCY LLC                         P O BOX 8227                                                                                                    TYLER             TX      75111
TWIDWELL, CHRIS                               Address on File
Twidwell, Crystal                             Address on File
TWIDWELL, MEGAN                               Address on File
TWITTY, DESHUN                                Address on File
TXHP TERRELL, LLC                             DBA HOLIDAY INN EXPRESS TERRELL      300 TANGER DR                                                              TERRELL           TX      75160
TXU ENERGY                                    P.O. BOX 660161                                                                                                 DALLAS            TX      75266‐0161
TXU ENERGY                                    P. O. BOX 650638                                                                                                DALLAS            TX      75265‐0638
TY‐CHRISTIAN, BISSEN                          300 East John Carpenter Freeway      Suite 800                                                                  Irving            TX      75062
Tyes, Lauren                                  Address on File
TYGART, DARYAN                                Address on File
Tyler, Ariel                                  Address on File
Tyler, Brandon                                Address on File
TYLER, CORD                                   Address on File
Tyler, Doneshia                               Address on File
Tyler, Recardo                                Address on File
TYLER, REISA                                  Address on File
TYLER‐WASHINGTON, LATAVIA                     Address on File
TYNES, DANIEL                                 Address on File
TYRA, DONNA                                   Address on File
Tyree, Kristina                               Address on File
Tyrone, Blake                                 Address on File
Tyson Mexican Original                        2000 Don Tyson Parkway               Kevin Gaffney                              National Account Sales          Springdale        AR      72762
TYSON, INC.                                   2200 DON TYSON PKWY                                                                                             SPRINGDALE        AR      72762‐6900
Tyson, James                                  300 East John Carpenter Freeway      Suite 800                                                                  Irving            TX      75062
Tyson, Mariah                                 300 East John Carpenter Freeway      Suite 800                                                                  Irving            TX      75062
TYSON, REBECCA                                Address on File
Tyson, Wiley                                  Address on File
U S FOOD TRUCKS, LLC                          14901 QUORUM                         STE 900                                                                    DALLAS            TX      75254
U.B.KLEM FURNITURE CO. INC.                   3861 SCHNELLVILLE RD.                                                                                           ST. ANTHONY       IN      47575
Uballe, Sarah                                 Address on File
Uber Technologies, Inc. (UberEATS)            1455 Market Street                   Suite 400                                                                  San Francisco     CA      94103
UDDIN, BASHIR                                 Address on File
UHDEN, JESIAH                                 Address on File
UHL, ABBIGAIL                                 Address on File
Ujano, Nehemiah                               Address on File
UJENIUC, ANGELA                               Address on File
Ulfeng, Dora                                  Address on File
Ulfeng, Pablo                                 Address on File
ULINE                                         ATTN: ACCOUNTS RECEIVABLE            P O BOX 88741                                                              CHICAGO           IL      60680‐1741
ULLAH, MD                                     Address on File
Ulloa Lopez, Angelica                         Address on File
ULLOA, MARIA                                  Address on File
ULLOA, TYLER                                  Address on File
Ulmer, Dustin                                 Address on File
Ulrey, Alicia                                 Address on File
ULTIMATE 07 FASTPITCH CLUB                    MICHELLE TIPPECONNIC                 116 SW 138TH ST                                                            OKLAHOMA CITY     OK      73170
Umana Munoz, Delmy                            Address on File
UMANA, AMINTA                                 300 East John Carpenter Freeway      Suite 800                                                                  Irving            TX      75062
Umana, Karla                                  Address on File
UMANA, MARIA                                  300 East John Carpenter Freeway      Suite 800                                                                  Irving            TX      75062
UMPHREY, WENDY                                Address on File
Uncle Ben's                                   Tara Taylor                          National Accounts

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                                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                                               Consolidated Creditor Matrix

                         Name                                             Address 1                          Address 2                                 Address 3                      City   State    PostalCode   Country
Underhill, Adison                                     Address on File
UNDERHILL, BRENDA                                     Address on File
UNDERWOOD, BEAU                                       Address on File
UNDERWOOD, JASON                                      Address on File
UNDERWOOD, JERELYN                                    Address on File
UNDERWOOD, LAKEISHA                                   Address on File
UNDERWOOD, MATAYO                                     Address on File
UNDERWOOD, MATTHEW                                    Address on File
UNDERWOOD, MONTELL                                    Address on File
UNDERWOOD, PATRICIA                                   Address on File
Underwood, Shanae                                     Address on File
UNDERWOOD, SHAWN                                      Address on File
UNDERWOOD, TONYA                                      Address on File
UNGER, KYLA                                           Address on File
UNGUREANU, ROXANA                                     Address on File
Unified Government License Division                   4601 State Ave.                      Ste. 87                                                                      Kansas City          KS      66102
Unified Government License Division                   4953 State Avenue                                                                                                 Kansas City          KS      66102

UNIFIED GOVERNMENT LICENSE DIVISION 4601 STATE AVE.   4953 STATE AVENUE                                                                                                 KANSAS CITY          KS      66102
UNIFIRST CORPORATION                                  PO BOX 650481                                                                                                     DALLAS               TX      75265‐0481
UNIFIRST HOLDINGS INC.                                4210 SE 22ND AVE.                                                                                                 AMARILLO             TX      79103
UNION 8TH GRADE PTA                                   6501 S GARRETT RD                                                                                                 BROKEN ARROW         OK      74012
UNION BASEBALL BOOSTER CLUB                           LARRY B                              10026‐A S MINGO #246                                                         TULSA                OK      74133
UNION POM BOOSTER                                     6635 S MINGO                                                                                                      TULSA                OK      74133
UNION PS‐UBOTICS PARENT ORGANIZATION                  DIANE DOCKERY                        3813 W FT WORTH ST                                                           BROKEN ARROW         OK      74012
                                                                                           UNION PUBLIC SCHOOL ALTERNATIVE 
UNION PUBLIC SCHOOLS                                  DEBRA BEATTIE                        HIGH SCHOOL                                8506 E 61ST ST                    TULSA                OK      74133
UNION RAIDERS FOOTBALL                                7017 E 77TH ST S                                                                                                  TULSA                OK      74133
UNIQUE DANCING BOSSETTES                              16400 LEDGEMONT LN 308                                                                                            ADDISON              TX      75001
UNITED COOPERATIVE SERV                               P.O. BOX 961079                                                                                                   FORT WORTH           TX      76161‐0079
UNITED PARCEL                                         LOCKBOX 577                                                                                                       CAROL STREAM         IL      60132‐0577
UNITED PRESBYTERIAN CHURCH                            5905 STONEWALL ST                                                                                                 GREENVILLE           TX      75402
UNITED SITE SERVICES OF TEXAS INC.                    50 WASHINGTON ST                     STE 100                                                                      WESTBOROUGH          MA      01581
United States Beef Corp                               4923 East 49th Street                                                                                             Tulsa                OK      74135
UNITED STATES TREASURY                                DEPARTMENT OF THE TREASURY           INTERNAL REVENUE SERVICE                                                     CINCINNATI           OH      45999‐0009
UNITED VAN LINES                                      22304 NETWORK PLACE                                                                                               CHICAGO              IL      60673‐1223
UNT                                                   1621 W Highland Street                                                                                            Denton               TX      76201
UPCHURCH, TOBY                                        Address on File
UPLAND SOFTWARE INC.                                  401 CONGRESS AVE                     SUITE 1850                                                                   AUSTIN               TX      78701‐3788
UPS                                                   P. O. BOX 7247‐0244                                                                                               PHILADELPHIA         PA      19170‐0001
Upshaw, Richard                                       Address on File
Upshaw, Zeke                                          Address on File
Urban, Kristopher                                     300 East John Carpenter Freeway      Suite 800                                                                    Irving               TX      75062
URBINA, EDDY                                          Address on File
URIBE, MARIA                                          Address on File
URNER BARRY PUBLICATIONS INC.                         P. O. BOX 389                                                                                                     TOMS RIVER           NJ      08754
URNESS, JEFF                                          Address on File
Urquhart, Maurice                                     300 East John Carpenter Freeway      Suite 800                                                                    Irving               TX      75062
Urquiza, Elena                                        Address on File
Urrutia, Justine                                      Address on File
US DEPT OF LABOR                                      224 S BOULDER AVE ROOM 320                                                                                        TULSA                OK      74103
US POSTMASC/O CASA B3033 KELLW                        1605 LBJ FREEWAY, STE. 800                                                                                        FARMERS BRANCH       TX      75234
USA DATAFAX INC.                                      821 JUPITER RD., STE. 407                                                                                         PLANO                TX      75074‐7452
USE, DO                                               Address on File
Usenuku, Dien                                         Address on File
UZZAMAN, ASHRAF                                       300 East John Carpenter Freeway      Suite 800                                                                    Irving               TX      75062
VACHA, XRYSTIAN                                       Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                          Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
VACLAVIK, SHADY                           Address on File
VAGGU, MADURI                             Address on File
VAHENA, ANGELICA                          Address on File
Vakauta, Fusi                             Address on File
VALADEZ, JAVIER                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VALASSIS                                  P. O. BOX 3245                                                                                   BOSTON          MA      02241‐3245
VALASSIS DIRECT MAIL INC.                 P. O. BOX 70179                                                                                  LOS ANGELES     CA      90074‐0179
VALCARCEL, ELIMELEC                       Address on File
VALDES, LILIANA                           Address on File
Valdez, Antonio                           Address on File
Valdez, Catalina                          Address on File
VALDEZ, CHEVELLE                          Address on File
Valdez, Damarkus                          Address on File
Valdez, Francia                           Address on File
VALDEZ, JENNIFER                          Address on File
VALDEZ, JESSE                             Address on File
VALDEZ, JORDAN                            Address on File
VALDEZ, JUAN                              Address on File
Valdez, Karen                             Address on File
Valdez, Naomi                             Address on File
Valdez, Paris                             Address on File
VALDEZ, RAQUEL                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Valdez, Reanna                            Address on File
Valdez, Tonsie                            Address on File
VALDEZ, VIRIDIANA                         Address on File
VALDOVINOS, JAIRO                         Address on File
VALENCIA, ANTHONY                         Address on File
VALENCIA, CORY                            Address on File
Valencia, Eugenia                         Address on File
VALENTINE, SHEENA                         Address on File
VALENZUELA, OLGA                          Address on File
Valenzuela, Xavier                        Address on File
VALERIO, JOSE                             Address on File
Valero, Abraham                           Address on File
Valero, Ivan                              Address on File
Vales, Brayonni                           Address on File
VALLE, ROGER                              Address on File
VALLEJO, NESTOR                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Valles, Angela                            Address on File
Valles, Javon                             Address on File
VALLEY GLEN POOL                          TINKA LAMSON                         10734 E 28TH ST                                             TULSA           OK      74129
Valley, Jessica                           Address on File
Vallez, Angel                             Address on File
VALLIER, KAMERON                          Address on File
VALUATION RESEARCH CORPORATION            PO BOX 809061                                                                                    CHICAGO         IL      60680‐9061
VALWOOD IMPROVEMENT AUTHORITY             1740 BRIERCROFT CT                                                                               CARROLLTON      TX      75006
VAN DAELE, JOHN                           Address on File
VAN ORDER, HOLLY                          Address on File
Vanantwerpen, Karl                        Address on File
Vanarsdel, Madison                        Address on File
Vance, Monique                            Address on File
Vandall, Devin                            Address on File
VANDERBIE, NATALIE                        Address on File
Vanderpoel, Shashana                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vandyke, Caleb                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vang, Keneary                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vanhook, Aaron                            Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Vanhorne, Maddison                         Address on File
VANN, COURTNEY                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vanness, Maddie                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VANTINE, CASANDRA                          Address on File
Vantine, Cody                              Address on File
VanTreese, Carrie                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VANVRANKEN, JARROD                         Address on File
VANWINKLE, DILLON                          Address on File
VANWOUDENBERG, DUSTIN                      Address on File
Vanzandt, Avante                           Address on File
VAQUERA, JORGE                             Address on File
VARCASIA, RAZONA                           Address on File
VARELA, CHRISTIAN                          Address on File
VARELA, CRISTIAN                           Address on File
Vargas, Alma                               Address on File
VARGAS, ALMA                               Address on File
Vargas, Analysa                            Address on File
VARGAS, ANGEL                              Address on File
Vargas, Claudia                            Address on File
VARGAS, DAMIANA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VARGAS, FELIPE                             Address on File
Vargas, Juan                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vargas, Juana                              Address on File
Vargas, Justice                            Address on File
Vargas, Laura                              Address on File
VARGAS, LIANNA                             Address on File
Vargas, Mariah                             Address on File
Vargas, Marisela                           Address on File
VARGAS, OMAR                               Address on File
Vargas, Pablo                              Address on File
VARGAS, SONIA                              Address on File
VARGAS, VERONICA                           Address on File
VARIETY CARE                               TARA MCMILLEN                        PO BOX 2098                                                 OKLAHOMA CITY   OK      73107
VARNELL, CODY                              Address on File
VARTA, MOSTAFA                             Address on File
Vasquez Rodriguez, Hector                  Address on File
Vasquez Rodriguez, Hector                  Address on File
VASQUEZ, ALBERTO                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vasquez, Antonio                           Address on File
VASQUEZ, CALEB                             Address on File
Vasquez, Carla                             Address on File
Vasquez, Carlos                            Address on File
VASQUEZ, ERIKA                             Address on File
Vasquez, Ivan                              Address on File
VASQUEZ, JAVIER                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VASQUEZ, JORGE                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vasquez, Laura                             Address on File
VASQUEZ, LAURA                             Address on File
VASQUEZ, LORENA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VASQUEZ, LOURDES                           Address on File
VASQUEZ, MARIA                             Address on File
Vasquez, Nichole                           Address on File
VASQUEZ, RICARDO                           Address on File
Vasquez, Ruby                              Address on File
Vasquez, Virginia                          Address on File
VASSAR, JEREMIAH                           Address on File
VASTINE, KAREN                             Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                          Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
VAUGHAN, CADE                             Address on File
VAUGHAN, KENSEN                           Address on File
Vaughan, Melissa                          Address on File
Vaughn, Allison                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VAUGHN, BRIAN                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VAUGHN, DUSTIN                            Address on File
VAUGHN, JASON                             Address on File
Vaughn, Jordan                            Address on File
VAUGHN, LANNETTE                          Address on File
VAUGHN, THOMAS                            Address on File
VAZQUEZ DE SAPP, OLGA                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VAZQUEZ GARCIA, JUANA                     Address on File
Vazquez Perez, Alejandra                  Address on File
VAZQUEZ SANCHEZ, ALAN                     Address on File
VAZQUEZ, ADRIANA                          Address on File
VAZQUEZ, ANTHONY                          Address on File
VAZQUEZ, CARLOS                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vazquez, Christina                        Address on File
Vazquez, Daniel                           Address on File
VAZQUEZ, DANYS                            Address on File
Vazquez, Devon                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vazquez, Domitila                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vazquez, Eduardo                          Address on File
VAZQUEZ, GUILLERMINA                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vazquez, Jennifer                         Address on File
VAZQUEZ, JOSE                             Address on File
VAZQUEZ, KELLI                            Address on File
Vazquez, Maria                            Address on File
VAZQUEZ, MAURICIO                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VAZQUEZ, PATRICIA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vazquez, Samantha                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VAZQUEZ, SIUL                             Address on File
VAZQUEZ‐MERAZ, JENNIFER                   Address on File
VEACH, MELISSA                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VEALS, DAVID                              Address on File
Veasey, Johnny                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
VEASLEY, TASHA                            Address on File
VEASMAN, STEVEN                           Address on File
VEGA, GABRIEL                             Address on File
VEGA, IVAN                                Address on File
VEGA, JAVIER                              Address on File
VEGA, KIAHNA                              Address on File
Vega, Mario                               Address on File
Vega, Rachael                             Address on File
Vega, Ramon                               Address on File
Vega, Rosa                                300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Vega, Violeta                             Address on File
VEGA, YESICA                              Address on File
VELA, ANGELIQUE                           Address on File
VELA, ARIANA                              Address on File
VELA, SHIANN                              Address on File
VELASQUEZ, AARON                          Address on File
VELASQUEZ, BRANDON                        Address on File
VELASQUEZ, CARLOS                         Address on File
Velasquez, Devon                          Address on File
VELASQUEZ, ESTEBAN                        Address on File
VELASQUEZ, FATIMA                         Address on File

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                                                                                  In re: Taco Bueno Restaurants Inc.., et al.
                                                                                         Consolidated Creditor Matrix

                           Name                                     Address 1                          Address 2                Address 3                   City   State PostalCode   Country
Velasquez, Jackie                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
VELASQUEZ, JENNIFER                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
VELASQUEZ, JENNIFER                             Address on File
Velasquez, Luis                                 Address on File
Velasquez, Tatum                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
VELAZQUES, ROXANA                               Address on File
VELAZQUEZ ACOSTA, GUADALUPE                     Address on File
Velazquez Garcia, Yahaira                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
VELAZQUEZ, CORINA                               Address on File
VELAZQUEZ, DIANA                                Address on File
VELAZQUEZ, EVELIA                               300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
VELAZQUEZ, GUADALUPE                            Address on File
VELAZQUEZ, JOSE                                 Address on File
VELAZQUEZ, JUAN                                 Address on File
VELAZQUEZ, JUANA                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Velazquez, Leonardo                             Address on File
VELAZQUEZ, MARGARITA                            300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
VELAZQUEZ, MARIO                                Address on File
VELAZQUEZ, NELLY                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
VELAZQUEZ, YADIRA                               Address on File
VELEZ G., JOSE                                  Address on File
VELEZ, ROBERTO                                  Address on File
Veliz, Christian                                300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
VELMER HEAP.O. BOX 1                            P.O. BOX 177530                                                                                  IRVING            TX   75017‐7530
VELO, CESAR                                     Address on File
VENABLE, GILBERT                                Address on File
VENCES, ANSELMA                                 Address on File
VENCES, CINDY                                   Address on File
VENEGAS, ANDREA                                 Address on File
VENTURA PONCE, GLADIS                           Address on File
VERA CRUZ PROPERTIES LP                         P O BOX 10326                                                                                    PORTLAND          OR   97296
Vera Rojas, Leslie                              Address on File
VERA, ALMA                                      Address on File
VERA, JOSE                                      Address on File
Vera‐Ilett, Julian                              Address on File
Veranes, Belkis                                 Address on File
VERASTEGUI, BEATRICE                            Address on File
Vercher, Antoin                                 Address on File
VERDIGRIS SENIOR LOCK IN BOOSTERS               8204 EAST 540 ROAD                                                                               CLAREMORE         OK   74019
VERDIGRIS VALLEY ELECTRIC COOP INC.             P. O. BOX 219                                                                                    COLLINSVILLE      OK   74021‐0219
VERIFONE, INC                                   LOCKBOX # 774060                     4060 SOLUTIONS CENTER                                       CHICAGO           IL   60677
VERIZON CONFERENCING P.O. BOX 371838            PO BOX 660794                                                                                    DALLAS            TX   75266‐0206
VERMILYEA, TRISTIN                              Address on File
VERNER, BENJAMIN                                Address on File
VERNER, EARL                                    Address on File
Vernon Plumbing                                 Address Unknown
Vernon, Walker                                  Address on File
Vertison, ChaLeiyah                             Address on File
Vertz, Isaac                                    Address on File
VERTZ, NAOMI                                    Address on File
VESCORP CONTRUCTION, LLC dba CHAVEZ CONCRETE 
CUTTING                                         4422 S PEACHTREE RD                                                                              BALCH SPRINGS     TX   75180
VESLEY, INDIRA                                  300 East John Carpenter Freeway      Suite 800                                                   Irving            TX   75062
Vessey, Cierra                                  Address on File
VESTALS FOODS LLC                               VESTALS CATERING                     601 N HASKELL AVE                                           DALLAS            TX   75246
VIA DATA & MARKETING SERVICES                   1600 COTTONTAIL LN.                                                                              SOMERSET          NJ   08873
VIALPANDO, RANDI                                Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
Vic’s Lawn Care                            Address Unknown
VICENTE, EDGAR                             Address on File
Vick, Kaegen                               Address on File
Vickers, Jeff                              Address on File
VIC'S LAWN SERVICE                         DBA VIC'S LAWN SERVICE               P. O. BOX 6014                                              LUBBOCK           TX      79413
VICTOR, CAILIN                             Address on File
VICTORY CHRISTIAN CENTER                   JEN CONAUGHTY                        4300 N MACARTHUR BLVD                                       OKLAHOMA CITY     OK      73122
VIDATO, ARTHUR                             Address on File
VIDAUNTAE CHARLTON                         C/O GEOFF GARMHAUSEN                 10417 CHAMPIONSHIP CT                                       PROSPECT          KY      40059
VIERA, EMANUEL                             Address on File
VIERRA, AMBER                              Address on File
VIGIL, DOMINIC                             Address on File
Vigil, Isaac                               Address on File
VIGIL, JACOB                               Address on File
VIGIL, SONJIA                              Address on File
VILA GUILLEN, VANIA                        300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Vilano, Gabriel                            Address on File
VILES, COLTON                              Address on File
Villa, Dolores                             300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
VILLA, JESSICA                             Address on File
VILLA, MARIA                               Address on File
Villa, Mia                                 Address on File
VILLA, NEOMI                               Address on File
VILLA, NICHOLAS                            Address on File
VILLALOBOS, BERTHA                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
VILLALOBOS, NICK                           Address on File
VILLALOBOS, ROCIO                          Address on File
VILLALON, SILVIA                           Address on File
Villalpando, Leticia                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
VILLANUEVA ZARAGOZA, DANIELA               Address on File
VILLANUEVA, ESMERALDA                      Address on File
VILLANUEVA, KRYSTAL                        Address on File
Villanueva, Lizbeth                        Address on File
Villanueva, Nathen                         Address on File
Villanueva, Olga                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Villar Godinez, Amy                        Address on File
Villar Godinez, Priscilla                  Address on File
Villarreal, Ismael                         Address on File
Villarreal, Israel                         Address on File
VILLARREAL, KRYSTAL                        Address on File
VILLARREAL, ROSIE                          Address on File
VILLASANA, JENIXA                          Address on File
VILLASANA, MARIA                           Address on File
VILLASENOR, AMBER                          Address on File
VILLAVICENCIO‐RAMIREZ, JOSE                Address on File
Villeda, Luis                              Address on File
VILLEDA, YESENIA                           Address on File
VILLEGAS, BERENICE                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Villegas, Elizabeth                        Address on File
Villegas, Leidy                            Address on File
VILLEGAS, LEONOR                           Address on File
VILLEGAS, ROBERTA                          Address on File
VILLELA, JOSE                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
VILLENA, CASY                              Address on File
VILLENA, EVA                               Address on File
VINCENT, JOEL                              Address on File
Vines, Trenton                             Address on File

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                                                                                In re: Taco Bueno Restaurants Inc.., et al.
                                                                                       Consolidated Creditor Matrix

                           Name                                   Address 1                          Address 2                        Address 3                    City   State    PostalCode   Country
VINEY, ELI                                    Address on File
VINSON & ELKINS LLP                           P O BOX 301019                                                                                           DALLAS             TX      75303‐1019
Vinson, Trevor                                Address on File
VINTON, BRANDON                               Address on File
Vinton, Destiny                               Address on File
Vinyard Foods                                 330 NE 36th St                       Richard Cusack                             Sales                    Oklahoma City      OK      73105
VINYARD FRUIT AND VEGETABLE CO                PO BOX 2778                                                                                              OKLAHOMA CITY      OK      73101
Viola, John                                   300 East John Carpenter Freeway      Suite 800                                                           Irving             TX      75062
Viramontes, Marisol                           Address on File
VIRANI, SHANILA                               Address on File
virgil, dejuan                                Address on File
VISUAL TEACHINGS FROM GENESIS TO REVELATION   JIMMIE GAUTT                         PO BOX 740894                                                       DALLAS             TX      75374
Vite‐Santes, LoriAmanda                       Address on File
VIZUET, MARIA                                 300 East John Carpenter Freeway      Suite 800                                                           Irving             TX      75062
Vizueta, Bryan                                Address on File
VIZZUETT, ANDREA                              300 East John Carpenter Freeway      Suite 800                                                           Irving             TX      75062
VO, DANIEL                                    Address on File
VOGEL, LARRY                                  300 East John Carpenter Freeway      Suite 800                                                           Irving             TX      75062
VOGL, PATIENCE                                Address on File
Vollenhals, Austin                            Address on File
VOND, NICHOLAS                                Address on File
VOSS LIGHTING                                 PO BOX 22159                                                                                             LINCOLN            NE      68542.2159
Voss, Erin                                    300 East John Carpenter Freeway      Suite 800                                                           Irving             TX      75062
Voss, Mellany                                 Address on File
VU, YEN‐SOPHIA                                Address on File
WA PORTER ELEMENTARY PTA                      AMY BAGLEY                           2750 PRESTONDALE DR                                                 HURST              TX      76054
WABASH VALLEY MANUFACTURING, INC.             5298 PAYSPHERE CIRCLE                                                                                    CHICAGO            IL      60674
Wachs Capital Limited Partnership             27450 Sherlock Court                                                                                     Los Altos Hills    CA      94022
WACO CARBO                                    431 LA SALLE AVE.                                                                                        WACO               TX      76706
WACO‐MCLEN225 W. WAC                          225 W. WACO DRIVE                                                                                        WACO               TX      76707
Waco‐McLennon County                          225 W. Waco Drive                                                                                        Waco               TX      76707
WADDLE, CRYSTAL                               Address on File
WADE, BIANCA                                  Address on File
WADE, BRITTANY                                Address on File
WADE, BRITTANY                                Address on File
Wade, Chandler                                Address on File
WADE, CHIANNE                                 Address on File
WADE, GAYLE                                   Address on File
Wade, James                                   300 East John Carpenter Freeway      Suite 800                                                           Irving             TX      75062
WADE, REGINA                                  Address on File
WADE, TYLER                                   Address on File
Wadley, Daquon                                Address on File
WAGENBLATT, JOSHUA                            Address on File
WAGNER, AARON                                 Address on File
WAGNER, GEORGE                                Address on File
WAGNER, MATRISHA                              300 East John Carpenter Freeway      Suite 800                                                           Irving             TX      75062
Wagner, Phillip                               Address on File
Wagner, Shyanne                               Address on File
Wagner, Vance                                 Address on File
WAGNON, THOMAS                                Address on File
WAHKINNEY, ABRAHAM                            Address on File
WAIGWA, NELSON                                Address on File
Wainionpa, Jonathan                           Address on File
Waitman, Aydrianna                            Address on File
WAITS, ANDREW                                 Address on File
WAJDA, TRISTEN                                Address on File
Wakefield, Jaycia                             Address on File

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
WAKEMAN, KASEY                         Address on File
Wakolee, Kira                          Address on File
WALDEN, BRETT                          Address on File
WALDO, NATHANIAL                       Address on File
Waldon, Larry                          Address on File
Waldon, Tosjanae                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WALDRIP, JONATHAN                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Walker Cole, Kelsie                    Address on File
WALKER PARTNERS LLC                    823 WASHINGTON AVE                   SUITE 100                                                   WACO            TX      76701
Walker, Angel                          Address on File
WALKER, ANGIE                          Address on File
WALKER, ANTHONY                        Address on File
WALKER, ANTONIO                        Address on File
Walker, Caleb                          Address on File
WALKER, CAROL                          Address on File
WALKER, CHARLES                        Address on File
Walker, Clairrissa                     Address on File
WALKER, COURTISHA                      Address on File
Walker, Dahmikel                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Walker, Dajsia                         Address on File
Walker, Dale                           Address on File
Walker, Devon                          Address on File
WALKER, DIANA                          Address on File
Walker, Dominique                      Address on File
Walker, Elijah                         Address on File
WALKER, ELOISE                         Address on File
Walker, Erika                          Address on File
Walker, Haley                          Address on File
Walker, Jabrina                        Address on File
WALKER, JAKAYLA                        Address on File
WALKER, JAMES                          Address on File
WALKER, JASMINE                        Address on File
Walker, Jeremiah                       Address on File
Walker, Jerry                          Address on File
Walker, Jordon                         Address on File
Walker, Joshua                         Address on File
Walker, Joshua                         Address on File
Walker, Laci                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WALKER, LADARREN                       Address on File
WALKER, LAKISHA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WALKER, LASHA                          Address on File
WALKER, LORENZO                        Address on File
WALKER, LORRAINE                       Address on File
WALKER, MARCUS                         Address on File
Walker, Michelle                       Address on File
Walker, Nathanial                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WALKER, PATRICE                        Address on File
Walker, Phylicia                       Address on File
Walker, Prince                         Address on File
WALKER, QUINCY                         Address on File
WALKER, RASHAWN                        Address on File
WALKER, REYNA                          Address on File
Walker, Robin                          Address on File
Walker, Russell                        Address on File
WALKER, SAMUEL                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WALKER, STASHA                         Address on File
WALKER, TATIONNA                       Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
WALKER, TA'VION                         Address on File
WALKER, TIA                             Address on File
WALKER, TYRONE                          Address on File
WALKER, VERSEAN                         Address on File
WALKER, WHITNEY                         Address on File
WALKER, ZACHARY                         Address on File
WALL, DAMON                             Address on File
WALL, JOE (WILLIAM)                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WALL, TRACY                             Address on File
WALL, WILLIAM                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Wall, Zachary                           Address on File
Wall, Zoey                              Address on File
WALLACE JR, DANNY                       Address on File
WALLACE, ABRION                         Address on File
WALLACE, AVERY                          Address on File
WALLACE, BRIAN                          Address on File
WALLACE, CAM'RON                        Address on File
WALLACE, DACIA                          Address on File
WALLACE, JOHNATHAN                      Address on File
WALLACE, JUSTIN                         Address on File
Wallace, Kameron                        Address on File
WALLACE, KASSYDI                        Address on File
WALLACE, KAYLA                          Address on File
Wallace, Kayleigh                       Address on File
Wallace, Khyree                         Address on File
WALLACE, MICHAEL                        Address on File
WALLACE, SHAVELLE                       Address on File
WALLACE, SHICOLETTE                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WALLACE, TERESA                         Address on File
Wallace, Tyus                           Address on File
WALLACE‐ALLEN, JASMINE                  Address on File
WALLACE‐TURNER, TICHINA                 Address on File
Wallar, Moria                           Address on File
Wallen, Amber                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WALLER IV, AARON                        Address on File
Waller, Allyssa                         Address on File
Waller, Daeshaun                        Address on File
Waller, Jamie                           Address on File
WALLER, JEROME                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WALLER, KIRK                            Address on File
WALLER, TIMOTHY                         Address on File
WALLER, TRACI                           Address on File
WALLEY, DANNY                           Address on File
WALLEY, SCOTT                           Address on File
WALLIS, CODY                            Address on File
Wallis, Jason                           Address on File
Wallis, Makaria                         Address on File
Walls, Jarvis                           Address on File
WALLS, STEPHANIE                        Address on File
WALLS, TARA                             Address on File
WALSH, ASHLEY                           Address on File
WALSH, BRANDON                          Address on File
WALSH, JOSHUA                           Address on File
WALSH, MICHAEL                          Address on File
Walters, Brandy                         Address on File
WALTERS, BRUTTUS                        Address on File
WALTERS, CODY                           Address on File

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                                                                       In re: Taco Bueno Restaurants Inc.., et al.
                                                                              Consolidated Creditor Matrix

                     Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
WALTERS, ERIC                        Address on File
WALTERS, GARRETT                     Address on File
WALTERS, MICHAEL                     Address on File
Walters, Trevor                      Address on File
Walters, Zachary                     Address on File
WALTON, ADAM                         Address on File
WALTON, LUKE                         Address on File
Walton, TeKarius                     Address on File
Wamego, Cole                         Address on File
WAMEGO, WENDI                        Address on File
Wang, Yuwen                          Address on File
WARD, CHRISTOPHER                    Address on File
Ward, Destiny                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WARD, GABRIEL                        Address on File
Ward, Jazmine                        Address on File
Ward, Jeremy                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Ward, Jessica                        Address on File
WARD, LISA                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Ward, Robert                         Address on File
WARD, ROSA                           Address on File
WARD, RYAN                           Address on File
WARD, SACHINAH                       Address on File
Ward, Sammy                          Address on File
Ward, Shantal                        Address on File
Ward, Starla                         Address on File
WARD, TOMMY                          Address on File
Warden, Devin                        Address on File
WARDEN, MATTHEW                      Address on File
WARDS, JAIMEE                        Address on File
WARDS, TAMMY                         Address on File
WARE II, DAVID                       Address on File
Ware, Brandon                        Address on File
WARE, JORDAN                         Address on File
Ware, Shelby                         Address on File
Warford, Jade                        Address on File
WARFORD, JONATHAN                    Address on File
WARFORD, KAYLA                       Address on File
WARINER, RUSSELL                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Warledo, Frieda                      Address on File
WARNER, BOBBY                        Address on File
WARNER, CHEYENNE                     Address on File
WARNER, CHRIS                        Address on File
Warner, Jonathan                     Address on File
Warning, Joshua                      Address on File
WARNOCK, SUSAN                       Address on File
WARREN, BRIAN                        Address on File
WARREN, BRODRICK                     Address on File
Warren, Chelsea                      Address on File
WARREN, CODY                         Address on File
Warren, Douglas                      Address on File
WARREN, EDNA                         Address on File
WARREN, JAKE                         Address on File
WARREN, JAVIER                       Address on File
WARREN, JESSICA                      Address on File
Warren, Quadrixa                     Address on File
WARREN, SHYREN                       Address on File
WARREN, STEVEN                       Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                         Name                                  Address 1                          Address 2                Address 3                 City   State PostalCode   Country
Warren, Sumaree                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Warrior, Michael                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WARSAME, ZAKIRIYE                          Address on File
Warthon, Brandon                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WASDEN, JAMES                              Address on File
WASDEN, TRACI                              Address on File
WASH, JUNIOR                               Address on File
WASHBURN, ASHTON                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WASHINGTON CO TREAS P O BOX 459            P O BOX 759                          ROOM 101                                                    BARTLESVILLE    OK   74005‐0759
WASHINGTON COUNTY RWD #3                   P. O. BOX 70                                                                                     COLLINSVILLE    OK   74021
Washington County Treasurer                420 S. Johnstone Room 101                                                                        Bartlesville    OK   74003
Washington, Amari                          Address on File
Washington, Anthony                        Address on File
WASHINGTON, ARLANDO                        Address on File
Washington, Artavious                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WASHINGTON, BEVERLY                        Address on File
Washington, Caylon                         Address on File
WASHINGTON, CURTIS                         Address on File
Washington, Damien                         Address on File
WASHINGTON, DANIEL                         Address on File
WASHINGTON, DAVID                          Address on File
WASHINGTON, DREAUN                         Address on File
WASHINGTON, EMMANUEL                       Address on File
Washington, Jalisa                         Address on File
Washington, Jamal                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WASHINGTON, JAMES                          Address on File
WASHINGTON, JAVERYON                       Address on File
Washington, Jennifer                       Address on File
WASHINGTON, JENNIFER                       Address on File
Washington, Jessica                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Washington, Jovun                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WASHINGTON, KASHYREAN                      Address on File
WASHINGTON, KAYATTA                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Washington, Kevin                          Address on File
Washington, Kiara                          Address on File
Washington, Ladosha                        Address on File
Washington, Lillie                         Address on File
Washington, Maegan                         Address on File
Washington, Milton                         Address on File
WASHINGTON, MONICA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WASHINGTON, MONICA                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WASHINGTON, NARIYANA                       Address on File
Washington, Nia                            Address on File
Washington, Nicholas                       Address on File
Washington, Olivia                         Address on File
Washington, Roxana                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Washington, Samantha                       Address on File
WASHINGTON, SHANTA                         Address on File
WASHINGTON, SHENICE                        Address on File
WASHINGTON, TAQUAN                         Address on File
WASHINGTON, TAUNDRA                        Address on File
WASHINGTON, TRICIE                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WASHINGTON, VICTORIA                       Address on File
Washington, Zaybroine                      Address on File
WASHINGTON, ZINA                           Address on File
WASSERSTROM AND SONS INC.                  2300 LOCKBOURNE ROAD                                                                             COLUMBUS        OH   43207
WASTE CONNECTIONS OF KS, INC               2745 NORTH OHIO                                                                                  WICHITA         KS   67219

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                      Name                                      Address 1                         Address 2                           Address 3                City    State    PostalCode   Country
WASTE CONNECTIONS OF OK                    P.O. BOX 660177                                                                                             DALLAS          TX      75266‐0177
WASTE CONNECTIONS OF OK ‐ ROCKWELL         4625 SOUTH ROCKWELL                                                                                         OKLAHOMA CITY   OK      73179‐6415
WASTE MANAGEMENT                           P.O. BOX 660345                                                                                             DALLAS          TX      75266‐0345
WASTE MANAGEMENT OF OKLAHOMA CITY          P.O. BOX 78251                                                                                              PHOENIX         AZ      85062‐8251
WASTE MANAGEMENT OF TEXAS INC              P O BOX 660345                                                                                              DALLAS          TX      75266
Watashe, Marissa                           Address on File
WATERS, DAWN                               Address on File
WATERS, FORREST                            Address on File
Waters, Genaro                             Address on File
WATERS, MALEK                              Address on File
Watkins, Dakota                            300 East John Carpenter Freeway      Suite 800                                                              Irving          TX      75062
WATKINS, HERBERT                           Address on File
WATKINS, JOHN                              Address on File
Watkins, Karen                             Address on File
Watkins, Kimberly                          Address on File
WATKINS, KYLE                              Address on File
Watkins, Lamont                            Address on File
WATKINS, LOAN                              Address on File
Watkins, Nastaja                           Address on File
WATKINS, NICHOLAS                          300 East John Carpenter Freeway      Suite 800                                                              Irving          TX      75062
Watkins, Sarah                             Address on File
WATKINS, SHALEE                            Address on File
Watkins, Shunkedra                         Address on File
Watkins, Torren                            300 East John Carpenter Freeway      Suite 800                                                              Irving          TX      75062
WATLEY, SATIN                              Address on File
WATSON MST PTA TEXAS CONGRESS              KAREN WADE                                                                                                  GARLAND         TX      75041
Watson, Aarika                             Address on File
WATSON, ADRIANA                            Address on File
Watson, Almeta                             300 East John Carpenter Freeway      Suite 800                                                              Irving          TX      75062
WATSON, ALYSSA                             Address on File
WATSON, BREONA                             Address on File
Watson, Cedric                             Address on File
WATSON, HALEY                              Address on File
Watson, Justis                             Address on File
Watson, Paul                               Address on File
Watson, Seth                               Address on File
WATSON, TARRANCE                           Address on File
WATSON, TIMOTHY                            Address on File
WATSON, VICTOR                             Address on File
WATTS, ANDREW                              Address on File
WATTS, APRIL                               Address on File
WATTS, ELIZABETH                           Address on File
WATTS, IAIN                                Address on File
Watts, Keyin                               Address on File
WATTS, MICHELLE                            Address on File
WATTS, NATALIE                             Address on File
WATTS, TIMOTHY                             Address on File
WAYMAN, SETH                               Address on File
WCA WASTE CORPORATION                      P.O. BOX 553166                                                                                             DETROIT         MI      48255‐3166
WCCHD                                      Retail Food Inspection Services      303 S Main St                                                          Georgetown      TX      78626
WCCHD                                      Retail Food Inspection Services      211 Commerce                               Ste. 111                    Round Rock      TX      78664
WEATHER TRENDS INTERNATIONAL, INC.         1495 VALLEY CTR PKWY                 SUITE 300                                                              BETHLEHEM       PA      18017
WEATHERBORN, JUDITH                        300 East John Carpenter Freeway      Suite 800                                                              Irving          TX      75062
WEATHERFORD INDEPENDENT SCHOOL DISTRICT    1100 LONGHORN DR.                                                                                           WEATHERFORD     TX      76086
WEATHERFORD, KORINNE                       Address on File
WEATHERLY, MONNY                           Address on File
Weathersby, Krystal                        Address on File

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                                                                                 In re: Taco Bueno Restaurants Inc.., et al.
                                                                                        Consolidated Creditor Matrix

                       Name                                 Address 1                                 Address 2                Address 3                 City   State    PostalCode   Country
WEATHERSBY, MARVIN                      Address on File
WEATHERTON, RANDEZSHAE                  Address on File
WEAVER, BRANDY                          Address on File
WEAVER, CARL                            Address on File
Weaver, Josefina                        Address on File
WEAVER, KIMBERLY                        300 East John Carpenter Freeway             Suite 800                                                   Irving          TX      75062
Weaver, Mackenzie                       300 East John Carpenter Freeway             Suite 800                                                   Irving          TX      75062
WEAVER, MARY                            Address on File
Weaver, Samuel                          Address on File
WEAVER‐GRAY, VANNESSA                   Address on File
Webb III, Frank                         Address on File
Webb, Dalton                            Address on File
WEBB, EMMANUEL                          Address on File
Webb, Gregory                           Address on File
WEBB, JAMESHA                           Address on File
WEBB, LOGAN                             Address on File
Webb, Mahnatus                          Address on File
WEBB, MALCOLMN                          Address on File
WEBB, MEGAN                             Address on File
Webb, Morgan                            Address on File
WEBB, SAVANNAH                          Address on File
Webb, Shimeka                           Address on File
WEBB, TEARRA                            Address on File
Webb, William                           Address on File
Webb‐Hale, Rycha                        Address on File
Weber Vista, L.P.                       16000 Dallas Parkway #300                                                                               Dallas          TX      75248
WEBER, JOHNATHON                        Address on File
WEBER, SAMANTHA                         Address on File
WEBSTER, DAVION                         Address on File
Webster, Kanria                         Address on File
Webster, Lacey                          Address on File
Webster, ShaiMarii                      Address on File
WEBSTER, ZANE                           Address on File
WEBSTER, ZOEY                           Address on File
Weeden, Arvella                         Address on File
Weeden, Dariyon                         300 East John Carpenter Freeway             Suite 800                                                   Irving          TX      75062
Weeks, Monica                           Address on File
Wegley, Barbara                         Address on File
WEHRLI, DEBRA                           300 East John Carpenter Freeway             Suite 800                                                   Irving          TX      75062
WEIS, ASHLEY                            Address on File
WEIS, JENNIFER                          Address on File
Weischedel, Melissa                     Address on File
WELCH, ALEXANDER                        Address on File
Welch, Demetri                          Address on File
WELCH, LINDA                            Address on File
Welch, Makayla                          300 East John Carpenter Freeway             Suite 800                                                   Irving          TX      75062
WELCH, MARCUS                           Address on File
WELCH, MICHAEL                          Address on File
Welch, Shawn                            Address on File
WELCH, TOMMY                            Address on File
WELDON WILSON ELECTRIC, INC.            4507 DANHILL DRIVE                                                                                      BROWNWOOD       TX      76801
WELLBORN SIGN CO.                       700 E. 10TH                                                                                             AMARILLO        TX      79101
Wells Fargo                             3701 Belt Line Rd                                                                                       Addison         TX      75001
Wells Fargo                             9021 W University Dr McKinney TX 75071                                                                  McKinney        TX      75071
Wells Fargo                             801 E Park Blvd                                                                                         Plano           TX      75074
Wells Fargo                             112 N Catherine St                                                                                      TERRELL         TX      75160
Wells Fargo                             1111North Highway 77                                                                                    Waxahachie      TX      75168

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                                                                                      In re: Taco Bueno Restaurants Inc.., et al.
                                                                                             Consolidated Creditor Matrix

                       Name                                             Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
Wells Fargo                                        5295 S. Cooper St.                                                                                Arlington        TX      76017
Wells Fargo                                        1131 SW Wilshire Boulevard                                                                        BURLESON         TX      76028
Wells Fargo                                        6301 North Beach Street                                                                           FORT WORTH       TX      76102
Wells Fargo                                        8800 Camp Bowie West Blvd                                                                         FORT WORTH       TX      76108
Wells Fargo                                        5651 East Lancaster Avenue                                                                        FORT WORTH       TX      76112
Wells Fargo                                        5900 W Slaughter Ln                                                                               Austin           TX      78749
WELLS FARGO FINANCIAL LEASING DBA GE EQPT SMALL 
TICKET SRS 2014                                    WELLS FARGO VENDOR FIN SERV           PO BOX 105710                                               ATLANTA          GA      30348‐5710
Wells, Corey                                       Address on File
WELLS, DEAJANAY                                    Address on File
Wells, Hunter                                      300 East John Carpenter Freeway       Suite 800                                                   Irving           TX      75062
WELLS, JASON                                       Address on File
Wells, Josh                                        Address on File
Wells, Julia                                       Address on File
WELLS, MARTIN                                      Address on File
Wells, Micasha                                     Address on File
Wells, Tayler                                      Address on File
WELTER, TRAVIS                                     Address on File
WENTWOOD MGMT, LTD                                 DAN BRAGG                             11518 REEDER                                                DALLAS           TX      75229‐2180
WEP LIFESTYLE CENTER                               PROPERTY OWNERS ASSOCIATION INC.      432 S. MUSTANG RD., STE. C                                  YUKON            OK      73099
Werley, Christina                                  Address on File
WERONIECKI, GEOFF                                  300 East John Carpenter Freeway       Suite 800                                                   Irving           TX      75062
Wesson, Rafael                                     Address on File
WEST, AKIRA                                        Address on File
WEST, ALEXANDER                                    Address on File
WEST, ALLEXIA                                      Address on File
West, Ariel                                        300 East John Carpenter Freeway       Suite 800                                                   Irving           TX      75062
WEST, BETH                                         Address on File
WEST, BRADLEY                                      Address on File
West, Chris                                        Address on File
WEST, DANTA                                        Address on File
West, Devin                                        Address on File
West, Jacob                                        Address on File
WEST, JERMAINE                                     Address on File
WEST, JOSHUA                                       Address on File
West, Kaylee                                       Address on File
West, Kenveion                                     Address on File
West, Kiersten                                     300 East John Carpenter Freeway       Suite 800                                                   Irving           TX      75062
West, Kodee                                        Address on File
WEST, KYLE                                         Address on File
WEST, LA                                           Address on File
WEST, MARIAH                                       Address on File
WEST, MELINDA                                      Address on File
WEST, MELVIN                                       Address on File
WEST, ROBERT                                       Address on File
WEST, RYAN                                         Address on File
WEST, SAUTIC                                       Address on File
WESTAR COMMERCIAL REALTY, LLC                      4415 71ST ST STE 12                                                                               LUBBOCK          TX      79424
WESTAR ENERGY                                      ATTN: REMITTANCE                      818 S. KANSAS                                               TOPEKA           KS      66612
WESTAR ENERGY                                      P. O. BOX 758500                                                                                  TOPEKA           KS      66675‐8500
WESTBROOK, DAKOTA                                  Address on File
Westbrook, Samantha                                300 East John Carpenter Freeway       Suite 800                                                   Irving           TX      75062
WESTBY, BRENDA                                     Address on File
WESTERN, TIMERIC                                   Address on File
WESTEX BUENO, LLC                                  1205 Pinehurst Ct.                                                                                San Angelo       TX      76904
WESTFALL, JAKE                                     Address on File
WESTGATE, REESE                                    Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                     Name                                     Address 1                      Address 2                    Address 3                City    State PostalCode   Country
WESTMORE HIGH SCHOOL BAND BOOSTERS        DAVID HARVEY                         12613 S WESTERN AVE                                         OKLAHOMA CITY   OK   73170
WESTMORELAND, BOBBI                       Address on File
WESTMORELAND, SCHANTA                     Address on File
Wetzel, Ethan                             Address on File
WGBH EDUCATIONAL FOUNDATION               P O BOX 414670                                                                                   BOSTON          MA   02241‐4670
Whalen, Savannah                          Address on File
Whaley, Brandon                           Address on File
Whatley, Nathaniel                        Address on File
Wheat, Brianna                            Address on File
Wheaton, Caleb                            Address on File
WHEELAN, NICOLE                           Address on File
Wheeler, Aaron                            Address on File
Wheeler, Clayton                          Address on File
WHEELER, DEVIN                            Address on File
WHEELER, JSON                             Address on File
WHEELER, RYAN                             Address on File
Wheeler, Shelby                           Address on File
WHEELER, VICTOR                           Address on File
WHERE 2 GET IT, INC.                      222 S HARBOR BLVD                                                                                ANAHEIM         CA   92807
WHERRY, NOHEMI                            Address on File
WHIDDON, AUSTIN                           Address on File
WHINERY, JONATHON                         Address on File
Whinery, Larry                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Whinery, Shelby                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WHISENHUNT, EVAN                          Address on File
WHISENHUNT, JOSHUA                        Address on File
WHITAKER, CHARITY                         Address on File
WHITAKER, CLINTON                         Address on File
Whitaker, Hunter                          Address on File
Whitaker, Jaysun                          Address on File
WHITAKER, JESSICA                         Address on File
WHITBEY, BAILEY                           Address on File
White II, Tico                            Address on File
WHITE UNICORN LLC                         1444 OAK LAWN #110                                                                               DALLAS          TX   75207
White, Alexis                             Address on File
White, Amiee                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WHITE, ANTHONY                            Address on File
WHITE, ASHANTI                            Address on File
White, Ashley                             Address on File
WHITE, AYKAIA                             Address on File
WHITE, BETTY                              Address on File
WHITE, BINJIMIN                           Address on File
WHITE, BRANDON                            Address on File
White, Brookelynn                         Address on File
White, Bruntavius                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
White, Cameron                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
White, Cameron                            Address on File
white, Candice                            Address on File
WHITE, CHRISTOPHER                        Address on File
WHITE, CODY                               Address on File
WHITE, COLBY                              Address on File
White, Derdrick                           Address on File
White, Derek                              Address on File
WHITE, DEZYRA                             Address on File
WHITE, EARL                               Address on File
White, Elondra                            Address on File
WHITE, FELIX                              Address on File

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                                                                           In re: Taco Bueno Restaurants Inc.., et al.
                                                                                  Consolidated Creditor Matrix

                         Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
WHITE, HEATHER                           Address on File
WHITE, HUNTER                            Address on File
White, Jarred                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
White, Josh                              Address on File
WHITE, KAYLA                             Address on File
White, Keandreia                         Address on File
WHITE, KENDALL                           Address on File
WHITE, LAKESHA                           Address on File
WHITE, LEONARD                           Address on File
WHITE, LORREN                            Address on File
White, Lynaya                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
White, Makayla                           Address on File
White, Manuel                            Address on File
WHITE, MICHAEL                           Address on File
WHITE, MICHELLE                          Address on File
White, Misty                             Address on File
White, Myesha                            Address on File
WHITE, RODERICK                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WHITE, ROLAND                            Address on File
WHITE, RYAN                              Address on File
WHITE, SAMANTHA                          Address on File
WHITE, SAMUEL                            Address on File
White, Sarah                             Address on File
WHITE, SHAWN                             Address on File
White, Sidney                            Address on File
WHITE, SYLVIA                            Address on File
White, Trace                             Address on File
White, Trevion                           Address on File
White, Vincent                           Address on File
WHITEBEAD, LESLIE                        Address on File
Whitecrow, Erica                         Address on File
WHITED, ALEXIS                           Address on File
Whitehead Jr, Lee                        Address on File
WHITEHEAD, JOHNATHAN                     Address on File
WHITEHEAD, LATOYA                        Address on File
Whitehurst, Daniel                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Whitemon, Jade                           Address on File
Whiteshirt, Mariah                       Address on File
WHITESKUNK, JASON                        Address on File
Whitfield, Kami                          Address on File
Whitfield, LeeAnne                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Whitfield, Ryan                          Address on File
Whities, Mahogany                        Address on File
WHITLEY, CHARIS                          Address on File
WHITLEY, ELISSA                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Whitley, James                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WHITLEY, JENNIFER                        Address on File
WHITLEY, JUSTIN                          Address on File
Whitlock, Dakota                         Address on File
WHITMAN, TAMERA                          Address on File
WHITMILL, AMANDA                         Address on File
Whitson, Hannah                          Address on File
Whitten‐Edwards, Joshua                  Address on File
WHITTINGHILL DISPOSAL SERVICE            6000 S. CHEROKEE                                                                                 MUSKOGEE        OK      74403
Whittington, Elizabeth                   Address on File
Whitworth, Jamee                         Address on File
WHITWORTH, RANDALL                       Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                  Address 1                        Address 2                Address 3                 City   State PostalCode   Country
WHL WELLS ELEMENTARY PTA                   3427 MISSION RIDGE RD                                                                            PLANO           TX   75023
WIACEK, BRENDAN                            Address on File
WIBBELS, JACKSON                           Address on File
Wichita Alarm Program                      PO Box 1162                                                                                      Wichita         KS   67201
Wichita Alarm Program                      455  N Main, 4th Floor                                                                           Wichita         KS   67202
WICHITA COPO BOX 147                       PO BOX 1471                                                                                      WICHITA FALLS   TX   76307‐1471
Wichita County Tax Collector               600 Scott St                         Suite 103                                                   Wichita Falls   TX   76301
Wichita County Tax Collector               PO Box 1471                                                                                      Wichita Falls   TX   76307‐1471
WICHITA FALLS POLICE DEPT ALARM            PUBLIC SAFETY TRAINING CENTER        710 FLOOD ST.                                               WICHITA FALLS   TX   76301
WICHITA FAPUBLIC HEA1700 THIRD             PUBLIC HEALTH DISTRICT               1700 THIRD ST.                                              WICHITA FALLS   TX   76301‐2199
WICKER, BOBBY                              Address on File
WICKER, CLAUDELLE                          Address on File
WICKER, KAREN K                            CANDOR PUBLIC RELATIONS              729 W SHERIDAN AVE STE 100                                  OKLAHOMA CITY   OK   73102
Wickliffe, Teja                            Address on File
WIEDENBECK, DEANNA                         Address on File
WIEGMANN, SCOTT                            Address on File
Wiggins, Angel                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WIGGINS, CARLELLE                          Address on File
WIGGINS, CHELSIE                           Address on File
WIGGINS, CHRISTY                           300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
Wiggins, Jacob                             Address on File
WIGGINS, JESSICA                           Address on File
WIGLEY, CARLOS                             Address on File
Wikel, Zachary                             Address on File
WILBORN, DEJNE'                            Address on File
WILBORN, DESTY'NE                          Address on File
WILBORN, ZEONTAE                           Address on File
Wilbourn, Amanda                           Address on File
WILBOURN, KYLE                             Address on File
Wilbourn, Michael                          Address on File
Wilburn, Alexander                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WILBURN, JULIUS                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX   75062
WILCOX, BREANNA                            Address on File
WILCOX, JASON                              Address on File
Wilder, Cathelina                          Address on File
WILDER, MAURIE                             Address on File
Wilder‐Bey, Ronnie                         Address on File
WILDEVELD JR., GARY                        Address on File
Wiley, Brittany                            Address on File
WILEY, DEMETRIA                            Address on File
WILEY, JUSTIN                              Address on File
Wiley, Kaden                               Address on File
Wiley, Melinda                             Address on File
WILHITE, KNICQUANESIA                      Address on File
WILHOIT, CHRISTOPHER                       Address on File
Wilkerson, Dartaveon                       Address on File
WILKERSON, DEMAREO                         Address on File
WILKERSON, JIMMIE                          Address on File
WILKERSON, KYLE                            Address on File
WILKERSON, TOREY                           Address on File
WILKINS, ELLE                              Address on File
Wilkins, Jai                               Address on File
WILKINSON, JARED                           Address on File
Will, cameron                              Address on File
Willard, Daniel                            Address on File
Willcut, Shailand                          Address on File
Willey, Rebecca                            Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Willhite, Rayna                         Address on File
WILLIAM GAFF DBA HUMANSTORY             14701 DUCK COVE PL                                                                               MIDLOTHIAN      VA      23112
WILLIAMS                                10321 E. 47TH PLACE                                                                              TULSA           OK      74146
WILLIAMS, AARON                         Address on File
WILLIAMS, ALEESHA                       Address on File
Williams, Alessia                       Address on File
Williams, Alexus                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, AMANDA                        Address on File
WILLIAMS, ANDRELL                       Address on File
Williams, Anthony                       Address on File
WILLIAMS, ANTHONY                       Address on File
Williams, Antonio                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, APRIL                         Address on File
Williams, Armoni                        Address on File
Williams, Ashley                        Address on File
WILLIAMS, ASHLEY                        Address on File
WILLIAMS, ATOSHA                        Address on File
WILLIAMS, AUBREY                        Address on File
Williams, Austin                        Address on File
WILLIAMS, BAILEY                        Address on File
Williams, Bianca                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Williams, Brady                         Address on File
Williams, Brandon                       Address on File
WILLIAMS, BRANDON                       Address on File
WILLIAMS, BREANAH                       Address on File
Williams, Breiarry                      Address on File
WILLIAMS, BRIANA                        Address on File
Williams, Brianne                       Address on File
WILLIAMS, CAMETRICE                     Address on File
Williams, Camille                       Address on File
WILLIAMS, CAMRYN                        Address on File
WILLIAMS, CAMTRICE                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Williams, Cedric                        Address on File
Williams, Celophis                      Address on File
Williams, Charles                       Address on File
WILLIAMS, CHERYL                        Address on File
Williams, Christerpher                  Address on File
williams, christine                     Address on File
Williams, Corian                        Address on File
Williams, Courtney                      Address on File
Williams, Crystal                       Address on File
Williams, Crystal                       Address on File
WILLIAMS, CYLE                          Address on File
WILLIAMS, DALLAS                        Address on File
WILLIAMS, D'ANDRE                       Address on File
WILLIAMS, DANIELLE                      Address on File
Williams, Dante                         Address on File
WILLIAMS, DEJA                          Address on File
Williams, Delisa                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, DENZEL                        Address on File
WILLIAMS, DERRICKA                      Address on File
WILLIAMS, DESHON                        Address on File
Williams, Desmond                       Address on File
Williams, Destini                       Address on File
Williams, Detrick                       Address on File
Williams, Diamond                       Address on File
WILLIAMS, DIJONNAISE                    Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Williams, Donovon                       Address on File
Williams, Donovon                       Address on File
WILLIAMS, DORON                         Address on File
WILLIAMS, EMERALD                       Address on File
WILLIAMS, EUGENE                        Address on File
WILLIAMS, EVAN                          Address on File
WILLIAMS, EVELYN                        Address on File
Williams, Frankii                       Address on File
WILLIAMS, GENE                          Address on File
WILLIAMS, GENESIS                       Address on File
Williams, Gift                          Address on File
Williams, Gloria                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Williams, Hermelinda                    Address on File
Williams, Honesty                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, HUNTER                        Address on File
Williams, Jadon                         Address on File
WILLIAMS, JAHLIN                        Address on File
Williams, Jakayla                       Address on File
Williams, Jalisa                        Address on File
Williams, Jamarcus                      Address on File
WILLIAMS, JAMIE                         Address on File
Williams, Janecia                       Address on File
WILLIAMS, JASON                         Address on File
WILLIAMS, JAVONTIOUS                    Address on File
Williams, Jaylen                        Address on File
Williams, Jazmine                       Address on File
WILLIAMS, JENNIFER                      Address on File
WILLIAMS, JESSICA                       Address on File
WILLIAMS, JOHNATHAN                     Address on File
WILLIAMS, JONATHAN                      Address on File
Williams, Jordan                        Address on File
Williams, Jordan                        Address on File
WILLIAMS, JOSHUA                        Address on File
WILLIAMS, KAILEY                        Address on File
WILLIAMS, KAITLYN                       Address on File
WILLIAMS, KALIMAH                       Address on File
WILLIAMS, KAREN                         Address on File
WILLIAMS, KATHLEEN                      DBA POPLAB MARKETING LLC             2115 BAKER ST                                               SAN FRANCISCO   CA      94115
Williams, Kayja                         Address on File
WILLIAMS, KEENAN                        Address on File
Williams, Kelsey                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Williams, Kemaya                        Address on File
Williams, Kenya                         Address on File
Williams, Keyondrea                     Address on File
Williams, Keyshi                        Address on File
Williams, Khrishawna                    300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Williams, Kirstie                       Address on File
Williams, Kiyanna                       Address on File
WILLIAMS, KRISTINA                      Address on File
Williams, Krystal                       Address on File
Williams, Kwame                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Williams, Kyle                          Address on File
WILLIAMS, LAKEISHA                      Address on File
WILLIAMS, LAROY                         Address on File
Williams, Latoya                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, LAUREN                        Address on File
Williams, Leiah                         Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
Williams, Lily                          Address on File
WILLIAMS, LINDSEY                       Address on File
Williams, Lisa                          Address on File
WILLIAMS, LISA                          Address on File
Williams, Lisa                          Address on File
WILLIAMS, MAHOGANY                      Address on File
Williams, Makyrin                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, MARIAH                        Address on File
Williams, Marika                        Address on File
WILLIAMS, MARK                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, MARK                          Address on File
WILLIAMS, MELISSA                       Address on File
Williams, Nadashia                      Address on File
Williams, Nathan                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, NICHOLAS                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Williams, Nicholas                      Address on File
Williams, Olivia                        Address on File
WILLIAMS, PRENTICE                      Address on File
WILLIAMS, QUANISHA                      Address on File
WILLIAMS, RAELYN                        Address on File
Williams, Rayanna                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Williams, Regina                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, RENIDA                        Address on File
Williams, Richard                       Address on File
WILLIAMS, ROBIN                         Address on File
WILLIAMS, RONALD                        Address on File
WILLIAMS, RUSSELL                       Address on File
Williams, Ryan                          Address on File
Williams, Ryon                          Address on File
WILLIAMS, SCOTT                         Address on File
Williams, Scotti                        Address on File
Williams, Serryan                       Address on File
Williams, Shai'Tyana                    Address on File
Williams, Shammond                      Address on File
WILLIAMS, SHAUN                         Address on File
WILLIAMS, SHAUNTAVIA                    Address on File
WILLIAMS, SHONTRELL                     Address on File
WILLIAMS, SIGOURNEY                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, SONYA                         Address on File
WILLIAMS, STACY                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, STACY                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, STARR                         Address on File
Williams, Stephanie                     Address on File
Williams, Tajzay                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Williams, Tandye                        Address on File
WILLIAMS, TAYLOR                        Address on File
WILLIAMS, THADDEUS                      300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WILLIAMS, THOMESHA                      Address on File
Williams, Tija                          Address on File
Williams, Tijerra                       Address on File
Williams, Timothy                       Address on File
WILLIAMS, TINA                          Address on File
Williams, Tosh                          Address on File
Williams, Tristin                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Williams, Tyran                         Address on File
WILLIAMS, URSULA                        Address on File
WILLIAMS, VANDALA                       Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                         Name                                 Address 1                          Address 2                Address 3                   City   State    PostalCode   Country
Williams, Willeta                         Address on File
WILLIAMS, WILLIE                          Address on File
WILLIAMS, XAVIER                          Address on File
Williams, Yazmine                         300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
WILLIAMS, YHOSHUA                         Address on File
WILLIAMS, ZACHARY                         Address on File
WILLIAMSON COUNTY TAX ASSESSOR            904 S MAIN ST                                                                                    GEORGETOWN        TX      78626
WILLIAMSON, BRENDAN                       Address on File
WILLIAMSON, DANI                          Address on File
Williamson, James                         Address on File
Williamson, Melissa                       Address on File
Williamson, Russell                       Address on File
Williams‐Speight, Rita                    Address on File
WILLINGHAM, RENO                          Address on File
WILLIS JR., DALE                          Address on File
WILLIS OF NEW YORK, INC.                  P O BOX 4557                                                                                     NEW YORK          NY      10249‐4557
WILLIS OF TEXAS, INC.                     P O BOX 731739                                                                                   DALLAS            TX      75373‐1739
WILLIS PAVEMENT SERVICES                  DBA WILLIS PAVEMENT SERVICES         11105 N 143RD E AVE.                                        OWASSO            OK      74055
WILLIS SUPPLY COMPANY                     DBA WILLIS SUPPLY COMPANY            1802 BUTTERNUT ST.                                          ABILENE           TX      79602
Willis Towers Watson                      15305 N Dallas Parkway               Suite 1100                                                  Addison           TX      75001
WILLIS, BRYIN                             Address on File
Willis, Cicero                            Address on File
WILLIS, DYLAN                             Address on File
Willis, Jakayla                           Address on File
WILLIS, JEANELL                           Address on File
Willis, Jerry                             Address on File
WILLIS, JESSICA                           Address on File
Willis, La                                Address on File
WILLIS, LATISHA                           Address on File
WILLIS, MATTHEW                           Address on File
WILLIS, MICAELA                           Address on File
Willis, Monica                            Address on File
WILLIS, SHANICE                           Address on File
Willis, Victoria                          Address on File
WILLIS, ZETELIA                           Address on File
Willoughby, Jon                           Address on File
Willoughby, Lennox                        Address on File
Willoughby, Riese                         Address on File
WILLOUGHBY, THOMAS                        Address on File
Willoughby, Tristin                       300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
Wilmath, Emily                            Address on File
Wilson, Adam                              300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
WILSON, ADAM                              Address on File
WILSON, ALEXIS                            Address on File
WILSON, ANGELICA                          Address on File
WILSON, ANURSICA                          Address on File
WILSON, AUTUMN                            Address on File
WILSON, BARBARA                           300 East John Carpenter Freeway      Suite 800                                                   Irving            TX      75062
WILSON, BOBBY                             Address on File
WILSON, BRANDI                            Address on File
WILSON, BROOK                             Address on File
WILSON, CECIL                             Address on File
WILSON, CHALESA                           Address on File
WILSON, CHELSEA                           Address on File
Wilson, Chelsea                           Address on File
WILSON, CHRISTOPHER                       Address on File
WILSON, CORBIN                            Address on File

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                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                               Consolidated Creditor Matrix

                      Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
WILSON, CORRINA                       Address on File
Wilson, Danniel                       Address on File
WILSON, DARIUS                        Address on File
WILSON, DAVID                         Address on File
Wilson, Domonick                      Address on File
Wilson, Donald                        Address on File
Wilson, Frankie                       Address on File
Wilson, Gahnell                       Address on File
Wilson, Hezekiah                      Address on File
WILSON, JAMIMEA                       Address on File
WILSON, JANEY                         Address on File
WILSON, JASMAINE                      Address on File
Wilson, John                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Wilson, Jordan                        Address on File
WILSON, JOSEPH                        Address on File
Wilson, Joy                           Address on File
WILSON, JUSTIN                        Address on File
Wilson, Kala                          Address on File
Wilson, Kameron                       Address on File
Wilson, Kametra                       Address on File
Wilson, Kendrick                      Address on File
WILSON, KEVIN                         Address on File
WILSON, KHALIL                        Address on File
Wilson, Kiara                         Address on File
WILSON, KIMBERLY                      Address on File
Wilson, Lavera                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Wilson, Lindsay                       Address on File
WILSON, LOGAN                         Address on File
WILSON, LUKE                          Address on File
WILSON, MALIK                         Address on File
WILSON, MARIAH                        Address on File
Wilson, Matthew                       Address on File
WILSON, MATTHEW                       Address on File
WILSON, MONIQUE                       Address on File
WILSON, RAQUASIA                      Address on File
WILSON, RODNEY                        Address on File
WILSON, ROMAN                         Address on File
Wilson, Sean                          Address on File
WILSON, SHAWNEES                      Address on File
Wilson, Sterling                      Address on File
WILSON, TAMESHA                       Address on File
WILSON, TERRELL                       Address on File
WILSON, TERREN                        Address on File
WILSON, THEODOR                       Address on File
Wilson, Tonya                         Address on File
WILSON, TRAMESHA                      Address on File
WILSON, TYKEYLAN                      Address on File
Wilson, Tyler                         Address on File
Wilson, Willie                        Address on File
WILT, AUSTIN                          Address on File
Wiltz, Autumn                         300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WIMBERLY, SHELETHA                    Address on File
WINCHELL, DEBRA                       Address on File
Winder, Robin                         Address on File
WINDSTREAM HOLDINGS INC.              P O BOX 2252                                                                                     BIRMINGHAM      AL      35246‐1058
WINE, DEION                           Address on File
WINESBURG, MIKAYLA                    Address on File

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                                                                          In re: Taco Bueno Restaurants Inc.., et al.
                                                                                 Consolidated Creditor Matrix

                        Name                                Address 1                          Address 2                Address 3                    City   State    PostalCode   Country
WINFIELD, GLEN                          Address on File
Winfield, Lakequthia                    Address on File
Winfield, Malik                         Address on File
WING, CASEY                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
WING, CASEY                             300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
WINGATE, CHRISTOPHER                    Address on File
Wingfield, Cedric                       Address on File
WINGO, JESSE                            Address on File
WINKEL, SARAH                           300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
WINKLE, DANNIELLE                       Address on File
WINKLE, DESTINEY                        Address on File
WINKLER, JACK                           Address on File
WINN, ANITA                             Address on File
WINN, CHRISTINA                         Address on File
WINN, KATHRYN                           Address on File
WINN, REBECCA                           Address on File
WINN, SCOTT                             Address on File
WINNEGAR, MATTHEW                       Address on File
WINNER, JOHN                            Address on File
WINNER, MARK                            Address on File
Winona                                  1552 Linville Rd                     Dave Meyer VP                                               Green Bay          WI      54313
WINROW, NIA                             Address on File
WINSLOW, ADAM                           Address on File
WINSLOW, DUSTIN                         Address on File
WINSLOW, KRISTOPHER                     Address on File
WINSLOW, THOMAS                         Address on File
Winsor, Austin                          Address on File
WINSTON, JIMMY                          Address on File
WINSTON, MARTIN                         Address on File
Winston, Shannon                        Address on File
WINTER, ADAM                            Address on File
WINTERS, AUSTIN                         Address on File
WINTERS, TA'MEISHA                      Address on File
Wipperfurth, Zoe                        Address on File
WISDOM, ANGELA                          Address on File
WISDOM, BROOKE                          Address on File
Wisdom, Danielle                        Address on File
Wisdom, Jacob                           Address on File
Wisdom, Katlyn                          Address on File
WISDOM, SONYA                           Address on File
Wise, Deayzha                           Address on File
WISE, JASMINE                           Address on File
Wise, Jullie                            Address on File
Wise, Kimberly                          300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Wiseman, Erick                          Address on File
Wiseman, Haley                          300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Wiseman, Nathan                         Address on File
WISLER, ALEX                            300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Wisler, Michael                         300 East John Carpenter Freeway      Suite 800                                                   Irving             TX      75062
Wisner, Naya                            Address on File
WITHERS, JAMES                          Address on File
Withrow, Shane                          Address on File
WITKOWSKI, LAURA                        Address on File
WITT, ERACA                             Address on File
WITT, MICHAEL                           Address on File
Wittman, Judy                           Address on File
WITTROCK, CORY                          Address on File

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                                                                            In re: Taco Bueno Restaurants Inc.., et al.
                                                                                   Consolidated Creditor Matrix

                          Name                                Address 1                          Address 2                        Address 3                  City    State PostalCode   Country
W‐LD Legends Owner VII, LLC               P.O. Box 505333                                                                                          ST. LOUIS        MO 63150
WM RECYCLE AMERICA                        PO BOX 73356                                                                                             CHICAGO          IL    60673
WME IMG HOLDINGS, LLC                     540 NORTH TRADE ST                                                                                       WINSTON SALEM    NC    27101
WOHLFORTH, QUENTON                        Address on File
WOLF CREEK ELEMENTARY PTA                 TAMMY THOMAS                         3000 W NEW ORLEANS ST                                               BROKEN ARROW     OK    74011
WOLF, ERICA                               Address on File
WOLF, ZACHARY                             Address on File
Wolfe, Amanda                             300 East John Carpenter Freeway      Suite 800                                                           Irving           TX    75062
WOLFE, DIANE                              Address on File
WOLFE, LAURYN                             Address on File
WOLFENBARGER, RACHEL                      Address on File
WOLFORD, TYRONE                           Address on File
WOLKEN, JESSICA                           Address on File
Wollenhaupt, Sherrie                      300 East John Carpenter Freeway      Suite 800                                                           Irving           TX    75062
WOLOWICZ, DENNIS                          300 East John Carpenter Freeway      Suite 800                                                           Irving           TX    75062
WOLOWICZ, DENNIS                          2901 RIDGEVIEW DR                    #1017                                                               PLANO            TX    75025
Womack, Keandra                           Address on File
WONZER, JAWON                             Address on File
WONZER, SETERRIA                          Address on File
WOOD 1042 N WEST 38TH, SHARLENE           300 East John Carpenter Freeway      Suite 800                                                           Irving           TX    75062
Wood, Amber                               Address on File
Wood, Ashley                              300 East John Carpenter Freeway      Suite 800                                                           Irving           TX    75062
Wood, Chris                               Address on File
Wood, Corey                               Address on File
WOOD, DAKOTA                              Address on File
Wood, Dakota                              Address on File
WOOD, DARILL                              Address on File
WOOD, JERAD                               Address on File
WOOD, KAYLA                               Address on File
WOOD, MARY                                Address on File
WOOD, MICHELLE                            Address on File
WOOD, PATRICIA                            300 East John Carpenter Freeway      Suite 800                                                           Irving           TX    75062
Wood, Roy                                 300 East John Carpenter Freeway      Suite 800                                                           Irving           TX    75062
WOOD, ROY                                 300 East John Carpenter Freeway      Suite 800                                                           Irving           TX    75062
WOOD, SHARLENE                            300 East John Carpenter Freeway      Suite 800                                                           Irving           TX    75062
Wood, Susan                               300 East John Carpenter Freeway      Suite 800                                                           Irving           TX    75062
WOOD, TIMOTHY                             Address on File
WOODALL, JESSICA                          Address on File
WOODARD BUILDERS SUPPLY COMPANY           6405 AIRPORT FRWY                    P O BOX 161849                                                      FORT WORTH       TX    76161‐1849
WOODARD, KEVIN                            Address on File
Woodard, Kyle                             Address on File
Woodard, Madison                          300 East John Carpenter Freeway      Suite 800                                                           Irving           TX    75062
Woodard, Marcaulius                       Address on File
WOODARD, TASHA                            Address on File
Woodcock, Corey                           Address on File
WOODCOCK, GAGE                            Address on File
WOODDELL, HAYDEN                          Address on File
Wooden, Chauncey                          Address on File
Wooden, Hassan                            Address on File
Wooden, Kenisha                           Address on File
WOODROW WILSON ELEMENTARY PTO, INC        KELLY                                245 NE SPRUCE AVE                          KELLY                    BARTLESVILLE     OK    74006
Woodruff, Jeffry                          Address on File
Woods, Adonis                             Address on File
WOODS, ANGELICA                           Address on File
Woods, brennen                            Address on File
WOODS, DANIEL                             Address on File
WOODS, DONMIQUE                           Address on File

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                                                                        In re: Taco Bueno Restaurants Inc.., et al.
                                                                               Consolidated Creditor Matrix

                      Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
WOODS, ELISA                          Address on File
Woods, Glory                          Address on File
Woods, Hailey                         Address on File
Woods, Hillmon                        Address on File
Woods, Jacob                          Address on File
Woods, Jahwan                         Address on File
Woods, Jonna                          300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WOODS, MYLES                          Address on File
WOODS, RASHUN                         Address on File
Woods, Reghana                        Address on File
WOODS, ROSALIND                       Address on File
WOODS, TEALA                          Address on File
WOODS, VICTOR                         Address on File
Woodson, Amy                          Address on File
WOODSON, CHEMISE                      Address on File
Woodson, Haley                        300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WOODWARD, JONATHAN                    Address on File
WOODWARD, KEVIN                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Woodward, Samantha                    Address on File
WOOD‐WILSON, MATTHEW                  Address on File
Woody, Clarence                       Address on File
Wooldridge, Tricia                    Address on File
WOOLLUM‐DRY, BROOKLYN                 Address on File
Woollum‐dry, Chelsea                  Address on File
WOOLSEY, JAMIE                        Address on File
WOOLSEY, ROBERT                       Address on File
WOOTEN, BEVERLY                       Address on File
Wooten, Ethan                         Address on File
WOOTEN, FAITH                         Address on File
Wooten, Zion                          Address on File
WORKMAN, NATASHIA                     Address on File
WORKMAN, ROBERT                       Address on File
Works, Angelyn                        Address on File
WORKS, DEVAN                          Address on File
WORKS, MICAH                          Address on File
WORLD MANU350‐B FISC                  350‐B FISCHER AVE                                                                                COSTA MESA      CA      92626‐4508
Worley, Cooper                        Address on File
WORLEY, DENISE                        Address on File
WORLEY, JEREMY                        Address on File
WORLEY, LONNIE                        Address on File
Worley, Tyler                         Address on File
WORMLEY, ELIZABETH                    Address on File
WORREL, AUTUMN                        Address on File
Worster, Amber                        Address on File
WORTH, DEION                          Address on File
WORTMAN, ADAM                         Address on File
WRAY, NATASHA                         Address on File
WREN, DELLA                           Address on File
WRIGHT III, JOHN                      Address on File
Wright, Ashlee                        Address on File
WRIGHT, ASHLEY                        Address on File
WRIGHT, BELINDA                       300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WRIGHT, BRYANT                        Address on File
WRIGHT, CANDACE                       Address on File
WRIGHT, CAROLYN                       Address on File
WRIGHT, DANGELO                       Address on File
Wright, David                         Address on File

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                                                                             In re: Taco Bueno Restaurants Inc.., et al.
                                                                                    Consolidated Creditor Matrix

                           Name                                Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
WRIGHT, DAVID                              Address on File
WRIGHT, DEBRA                              Address on File
Wright, DeShauna                           Address on File
WRIGHT, DYNASTY                            Address on File
WRIGHT, FRANKETTA                          Address on File
WRIGHT, HAKEEM                             Address on File
WRIGHT, HAYLIE                             Address on File
Wright, Hope                               Address on File
WRIGHT, JENNIFER                           Address on File
Wright, Jeri                               Address on File
Wright, Jessica                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Wright, John                               Address on File
WRIGHT, JULIA                              Address on File
Wright, Justine                            Address on File
WRIGHT, KATHERINE                          Address on File
WRIGHT, KERREON                            Address on File
Wright, Maybel                             Address on File
Wright, Michael                            300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WRIGHT, NOEL                               Address on File
Wright, Patrick                            Address on File
WRIGHT, RACHELLE                           Address on File
Wright, Randall                            Address on File
WRIGHT, SKY                                Address on File
Wright, Tekisha                            Address on File
WRIGHT, TOMIKA                             Address on File
WRIGLEY, JIMMY                             Address on File
WRJ FINANCIAL, LTD.                        P O BOX 5425                                                                                     KATY            TX      77491
WROBBEL, NICHOLAS                          Address on File
Wrobel, Joseph                             300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
WRYSINSKI, APRIL                           Address on File
WTU RETAIL ENERGY                          P.O. BOX 650819                                                                                  DALLAS          TX      75265‐0819
Wuchevich, Yvon                            Address on File
WUCHTERL, ALAN                             Address on File
WYCKOFF, BRITTANY                          Address on File
WYCKOFF, SHANNON                           Address on File
Wykes, Becky                               Address on File
Wyly, Sonja                                Address on File
Wynes, Tyler                               Address on File
WYNN, CORY                                 Address on File
Wynn, Elzena                               Address on File
WYRICK, DANIEL                             Address on File
Wyrick, Teneisha                           Address on File
WYSINGER, JEFFERSON                        Address on File
XAVIER, ALLEN                              Address on File
XAVIER, DEBRA                              Address on File
XCEL ENERGY                                P. O. BOX 9477                                                                                   MINNEAPOLIS     MN      55484‐9477
Xia, Shuda                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Xiong, Pa                                  Address on File
XL Speciality Insurane Company             505 Eagleview BLVD                   Suite 100                                                   Exton           PA      19341‐1120
XPIENT                                     11525 CARMEL COMMONS BLVD.                                                                       CHARLOTTE       NC      28226
XPLOSION BASEBALL                          834 CARDAN PL                                                                                    MOORE           OK      73160
Xu, Benjamin                               Address on File
YAGER, TONYA                               Address on File
Yamise Taylor, Antoinette                  300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Yandell, Autumn                            Address on File
YANES, ANA                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
YANES, MARIO                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062

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                                                                         In re: Taco Bueno Restaurants Inc.., et al.
                                                                                Consolidated Creditor Matrix

                       Name                                Address 1                          Address 2                Address 3                  City   State PostalCode   Country
Yanes, Marlin                          300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
YANEZ RODRIGUEZ, JUAN                  Address on File
YANEZ, ANTONIO                         Address on File
YANEZ, GUILLERMINA                     Address on File
YANEZ, JUAN                            Address on File
YARBROUGH, JON                         Address on File
YARDLEY, DONNA                         Address on File
Yazzie, Nelson                         300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
Ybarra, Kaylie                         Address on File
YEAGER, DON                            Address on File
Yearley, Sydney                        Address on File
YELLOWFISH, JAMIE                      Address on File
YEN, MARY                              Address on File
YENG, SOPHIA                           300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
YENG, SOPHIA                           Address on File
YOCUM, ASHLEY                          Address on File
Yocum, Maura                           Address on File
YOKUM, JARED                           Address on File
York, Brittany                         Address on File
YORK, JOEL                             Address on File
York, Shari                            Address on File
Young Electric                         Address Unknown
YOUNG ELECTRIC SIGN COMPANY            P O BOX 11676                                                                                    TACOMA           WA   98411‐6676
YOUNG GUNS 2014                        JESSICA ZACHARIAE                    1134 S CATALINA DR                                          OOLOGAH          OK   74053
YOUNG II, KEENAN                       Address on File
Young, Amanda                          Address on File
YOUNG, AMY                             Address on File
YOUNG, ANDREW                          Address on File
YOUNG, BAILEE                          Address on File
YOUNG, BARRON                          Address on File
YOUNG, BRENT                           Address on File
YOUNG, BRITTNEY                        Address on File
YOUNG, CARLA                           Address on File
Young, Charles Etta                    300 East John Carpenter Freeway      Suite 800                                                   Irving           TX   75062
YOUNG, CHRISTOPHER                     Address on File
Young, Christopher                     Address on File
YOUNG, CORINTHIAN                      Address on File
Young, Dameon                          Address on File
Young, D'Angelo                        Address on File
YOUNG, DANIEL                          Address on File
YOUNG, DAWONE                          Address on File
YOUNG, DIONNA                          Address on File
Young, Dusty                           Address on File
Young, Ebony                           Address on File
YOUNG, HILLREY                         Address on File
YOUNG, JADE                            Address on File
Young, Jamie                           Address on File
YOUNG, JANE                            Address on File
Young, Johnna                          Address on File
YOUNG, KAYLA                           Address on File
Young, Kayla                           Address on File
YOUNG, KELLY                           Address on File
YOUNG, KYON                            Address on File
Young, Larry                           Address on File
Young, Makaila                         Address on File
Young, Matthew                         Address on File
Young, Meosha                          Address on File

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                        Name                                     Address 1                          Address 2                Address 3                 City   State    PostalCode   Country
YOUNG, RAESHAWN                              Address on File
Young, Shannette                             Address on File
YOUNG, TABBATHA                              Address on File
YOUNG, TIMOTHY                               Address on File
YOUNG, TYWAINE                               Address on File
Young, Wendy                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
YOUNGBLOOD, ASHLEY                           Address on File
YOUNGER‐HOLMES ELECTRICAL CONTRACTORS INC.   P O BOX 2030                                                                                     PONCA CITY      OK      74602
Youngpeter, Ryen                             Address on File
YOUR SPEAKEASY LLC                           800 JACKSON ST STE B‐100                                                                         DALLAS          TX      75202
YOUSSEPHZADEH, FEREIDOON                     300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
YOUSSEPHZADEH, FEREIDOON                     Address on File
YOVANOVITCH, LESLIE                          Address on File
YUKON PUBLIC SCHOOLS DISTRICT I‐27           600 MAPLE                                                                                        YUKON           OK      73099
Yzaguirre, Devyjon                           Address on File
ZABIHIAN, REBECCA                            Address on File
ZACH WILLIAMS ELECTRIC LLC                   DBA ZACH WILLIAMS ELECTRIC LLC       607 PIONEER TRAIL                                           SAN MARCOS      TX      78666
ZACHRITZ, HEATHER                            Address on File
Zackery, Chyna                               Address on File
Zaicek, Miranda                              Address on File
Zamarripa, Abel                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Zamarripa, Erik                              Address on File
ZAMARRIPA, LILIANA                           Address on File
Zambrano, Josue                              Address on File
ZAMORA, ANDREW                               Address on File
Zamora, George                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
Zamora, Juan                                 Address on File
Zamora, Kevionte                             Address on File
Zamora, Lucio                                Address on File
ZAMORA, MAYRA                                Address on File
ZAMORA, WENDY                                Address on File
ZAMUDIO, ANA                                 Address on File
ZAMUDIO, JOHNATHAN                           Address on File
ZANDER, CODY                                 Address on File
ZANDER, MORGAN                               Address on File
Zangri, Joseph                               Address on File
ZAPATA, KATY                                 Address on File
Zapata, Natalie                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ZAPATA, RICKY                                Address on File
Zapata, Yesenia                              Address on File
ZAPATERO, LUIS                               Address on File
ZAPATERO, VANESSA                            Address on File
Zarate, Rosalba                              300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ZARAZUA, MARTHA                              Address on File
Zarco, Erik                                  Address on File
ZAVALA, BRYCE                                Address on File
ZAVALA, KATHERINE                            Address on File
ZAVALA, RAUL                                 300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ZAVALA, RODOLFO                              Address on File
ZAYAS, ALEXIS                                Address on File
ZAYAS, MICHAEL                               Address on File
ZAZUETA, ADOLFO                              Address on File
ZEBRASKY, IVIANKA                            Address on File
ZEE, SADIE                                   Address on File
Zegarra, Hilda                               300 East John Carpenter Freeway      Suite 800                                                   Irving          TX      75062
ZELAYA, ADIN                                 Address on File
ZELAYA, MONICA                               Address on File

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                                                                               In re: Taco Bueno Restaurants Inc.., et al.
                                                                                      Consolidated Creditor Matrix

                          Name                                   Address 1                          Address 2                Address 3                  City   State    PostalCode   Country
ZELLER, EMILEE                               Address on File
ZERMENO, BERNEIS                             Address on File
ZERMENO, MARIA                               Address on File
Zeron Villanueva, Karina                     Address on File
Zherebnenko, Annastaciya                     300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
ZIEGLER, JONATHAN                            Address on File
ZIERFUS, KHELSYE                             Address on File
ZIMMER, TIMOTHY                              Address on File
ZIMMERMAN, ALAYNA                            300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Zimmerman, Katelyn                           Address on File
Zimmerman, Michael                           Address on File
Zinn, Marie                                  300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Zinno, Lindsey                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
ZIP RECRUITER, INC                           ACCOUNTS RECEIVABLE                  401 WILSHIRE BLVD 11TH FLR                                  SANTA MONICA     CA      90401
Zirkle, Emma                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
ZLINSKY, KATELYNN                            Address on File
ZLINSKY, MICAH                               Address on File
ZNB TRANSPORTATION SERVICE                   ZIAD KELIFA                          7021 CLOVERHAVEN WAY                                        PLANO            TX      75074
Zombro, Jacob                                Address on File
Zubeldia, Jubilee                            Address on File
ZULA B WILEY LIBRARY FRIENDS                 225 CEDAR ST                                                                                     CEDAR HILL       TX      75104
ZUMACH, CHEROKEE                             Address on File
ZUNIGA, ADRIAN                               300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
ZUNIGA, ALEJANDRA                            Address on File
ZUNIGA, BRENNA                               Address on File
ZUNIGA, EVA                                  Address on File
ZUNIGA, GABRIEL                              Address on File
ZUNIGA, JUAN                                 300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
ZUNIGA, MARISELA                             300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Zuniga, Naomi                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
Zuniga, Sandra                               Address on File
ZUNIGA, TRACE                                300 East John Carpenter Freeway      Suite 800                                                   Irving           TX      75062
ZUNIGA, TRACE                                Address on File
ZUNIGA, VIVIAN                               Address on File
ZUPANIC, EMILIA                              Address on File
ZURICH NORTH AMERICA 8745 PAYSPHERE CL.      8734 PAYSPHERE CL.                                                                               CHICAGO          IL      60674




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